Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 1 of 1030 PageID #:
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                             Nos. 18-587, 18-588, and 18-589

                In the Supreme Court of the United States
                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                       PETITIONERS
                                              v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.


                                 ON WRIT OF CERTIORARI
                         TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT



                                     JOINT APPENDIX
                                        (VOLUME 1)


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                                                    Regents of the University
                                                      of California and
                                                      Janet Napolitano
                                                      (No. 18-587)




                    PETITIONS FOR A WRIT OF CERTIORARI FILED: NOV. 5, 2018
                             CERTIORARI GRANTED: JUNE 28, 2019

                   Additional Captions and Counsel Listed on Inside Cover




                                                                                AR2279
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                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                               ET AL., PETITIONERS
                                         v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL.

                        ON WRIT OF CERTIORARI BEFORE JUDGMENT
                         TO THE UNITED STATES COURT OF APPEALS
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT


                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                      HOMELAND SECURITY, ET AL., PETITIONERS
                                       v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                        ON WRIT OF CERTIORARI BEFORE JUDGMENT
                         TO THE UNITED STATES COURT OF APPEALS
                                FOR THE SECOND CIRCUIT


                          Additional Counsel For Respondents
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                    Jimenez Suarez, Viridiana       (No. 18-587)
                    Chabolla Mendoza, Norma
                    Ramirez, and Jirayut
                    Latthivongskorn
                    (No. 18-587)




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                   International Union
                   Local 521 (No. 18-587)


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                   Microsoft Corporation, and         of Teachers, and United Food
                   Maria De La Cruz Perales           and Commercial Workers
                   Sanchez (No. 18-588)               International Union
                                                      (No. 18-588)

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                 for Respondents                   for Respondents
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                   Vidal, et al. (No. 18-589)      (No. 18-589)




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                          UNITED STATES COURT OF APPEALS
                              FOR THE NINTH CIRCUIT


                               Docket No. 18-15068
                  REGENTS OF THE UNIVERSITY OF OF CALIFORNIA;
                  JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                   PRESIDENT OF THE UNIVERSITY OF CALIFORNIA,
                             PLAINTIFFS-APPELLEES
                                       v.
                    U.S. DEPARTMENT OF HOMELAND SECURITY;
                  KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY AS
                    ACTING SECRETARY OF THE DEPARTMENT OF
                  HOMELAND SECURITY, DEFENDANTS-APPELLANTS


                                   DOCKET ENTRIES

                            DOCKET
                DATE        NUMBER PROCEEDINGS
                1/16/18        1    DOCKETED CAUSE AND EN-
                                    TERED APPEARANCES OF
                                    COUNSEL. SEND MQ: Yes.
                                    The schedule is set as follows:
                                    To be set. Preliminary Injunc-
                                    tion, C. R. 3-3 [10725634] (JBS)
                                    [Entered: 01/16/2018 01:25 PM]
                1/17/18        2    Filed clerk order (Deputy Clerk:
                                    SLL):     The court sua sponte
                                    consolidates     appeal    Nos.
                                    18-15068, 18-15069, 18-15070,
                                    18-15071, and 18-15072.     The
                                    Clerk shall update the dockets
                                    accordingly.   Consolidated ap-
                                    peal Nos. 18-15068, 18-15069,

                                         (1)




                                                                           AR2287
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                         DOCKET
                 DATE    NUMBER PROCEEDINGS
                                   18-15070, 18-15071, and 18-15072,
                                   filed on January 16, 2018, are
                                   preliminary injunction appeals.
                                   Accordingly, Ninth Circuit Rule
                                   3-3 shall apply. The mediation
                                   questionnaire is due three days
                                   after the date of this order. If
                                   they have not already done so,
                                   within 7 calendar days after the
                                   filing date of this order, the par-
                                   ties shall make arrangement3 to
                                   obtain from the court reporter an
                                   official transcript of proceedings
                                   in the district court that will be
                                   included in the record on appeal.
                                   The briefing schedule shall pro-
                                   ceed as follows:       the consoli-
                                   dated opening brief(s) and ex-
                                   cerpts of record are due not later
                                   than February 13, 2018; the con-
                                   solidated answering brief(s) is
                                   due March 13, 2018 or 28 days af-
                                   ter service of the opening brief,
                                   whichever is earlier; and the op-
                                   tional consolidated reply brief(s)
                                   is due within 21 days after ser-
                                   vice of the answering brief. See
                                   9th Cir. R. 3-3(b). All parties on
                                   a side are encouraged to join in a
                                   single brief to the greatest ex-
                                   tent practicable. See 9th Cir. R.
                                   28-4. The parties are reminded
                                   that streamlined requests for ex-




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                                      tensions of time are not available
                                      in preliminary injunction appeals.
                                      See http://www.ca9.uscourts.gov/
                                      content/view.php?pk_id=0000000
                                      638. Any request for an exten-
                                      sion of time must be requested
                                      under     Ninth    Circuit   Rule
                                      31-2.2(b). Failure to file timely
                                      the opening brief shall result in
                                      the automatic dismissal of this
                                      appeal by the Clerk for failure to
                                      prosecute. See 9th Cir. R. 42-1.
                                      [10726638] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072]
                                      (OC) [Entered:         01/17/2018
                                      09:06 AM]
                                  *     *   *   *   *
                 1/26/18     21       Filed clerk order (Deputy Clerk:
                                      MCD): The court sua sponte
                                      expedites appeal Nos. 18-15128,
                                      18-15133, 18-15134, and consoli-
                                      dates them with pending consol-
                                      idated appeal Nos. 18-15068,
                                      18-15069, 18-15070, 18-15071, and
                                      18-15072. The Clerk shall up-
                                      date the docket accordingly.
                                      The following briefing schedule
                                      shall apply to the consolidated
                                      appeals: the consolidated first
                                      brief on cross-appeal by Defen-
                                      dants is due February 13, 2018.
                                      The consolidated second brief on




                                                                            AR2289
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                 DATE      NUMBER PROCEEDINGS
                                      cross-appeal by Plaintiffs is due
                                      March 13, 2018. The consoli-
                                      dated third brief on cross-appeal
                                      by Defendants is due April 10,
                                      2018. The consolidated optional
                                      fourth brief on cross-appeal by
                                      Plaintiffs is due within 21 days
                                      after service of the third brief on
                                      cross-appeal. All parties on a
                                      side are encouraged to join in a
                                      single brief to the greatest ex-
                                      tent practicable. See 9th Cir. R.
                                      28-4.     This order is without
                                      prejudice to any party moving
                                      for appropriate relief following
                                      resolution of the petition for a
                                      writ of certiorari in Supreme Court
                                      Case No. 17-1003. [10740072]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *   *   *
                 2/13/18     31       Submitted (ECF) First Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen, USA
                                      and USDHS in 18-15069, Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump and USA in 18-15070, Ap-
                                      pellants Kirstjen Nielsen, Don-




                                                                            AR2290
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      ald J. Trump, USA and USDHS
                                      in 18-15071, Appellants Kirstjen
                                      Nielsen, Jefferson B. Sessions,
                                      III, Donald J. Trump and
                                      USDHS in 18-15072, 18-15128.
                                      Date of service:     02/13/2018.
                                      [10762501] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Attached
                                      corrected PDF of brief. 02/15/
                                      2018 by RY] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:40 PM]
                 2/13/18     32       Submitted (ECF) excerpts of
                                      record.    Submitted by Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump, USA and USDHS in
                                      18-15128, Appellees Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and     USDHS      in   18-15133,
                                      18-15134.     Date of service:
                                      02/13/2018. [10762529] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *   *   *
                 3/13/18     43       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review. Sub-
                                      mitted by Appellees State of Cal-
                                      ifornia, State of Maine, State of
                                      Maryland and State of Minnesota




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                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15133, 18-15128.
                                   Date of service:      03/13/2018.
                                   [10797115] [18-15068, 18-15069,
                                   18-15133,    18-15128]—[COURT
                                   UPDATE: Spread docket text
                                   to 18-15070, 18-15071, 18-15072,
                                   18-15134. 03/14/2018 by RY]
                                   (Mongan, Michael) [Entered:
                                   03/13/2018 04:24 PM]
                 3/13/18     44    Submitted (ECF) Second Brief
                                   on Cross-Appeal for review.
                                   Submitted by Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, Appellee City of San
                                   Jose in 18-15070, Appellees Janet
                                   Napolitano, Regents of the Uni-
                                   versity of California and City of
                                   San Jose in 18-15128, Appellants
                                   Janet Napolitano, Regents of the
                                   University of California and City
                                   of San Jose in 18-15133. Date of
                                   service: 03/13/2018. [10797237]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:14 PM]




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                           DOCKET
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                 3/13/18     45    Submitted (ECF) supplemental
                                   excerpts of record. Submitted
                                   by Appellees Janet Napolitano
                                   and Regents of the University of
                                   California in 18-15068, Appellee
                                   State of California in 18-15069,
                                   Appellee City of San Jose in
                                   18-15070, Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce
                                   Garcia, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez,
                                   Regents of the University of
                                   California, Service Employees
                                   International Union Local 521
                                   and State of California in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, City of San
                                   Jose, Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez, Re-
                                   gents of the University of Cali-
                                   fornia and State of California in




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                           DOCKET
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                                   Chabolla Mendoza, County of
                                   Santa Clara, Dulce Garcia, Mir-
                                   iam Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Service
                                   Employees International Union
                                   Local 521 in 18-15134. Date of
                                   service: 03/13/2018. [10797304]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:53 PM]
                 3/13/18     46    Submitted (ECF) Second Brief
                                   on Cross-Appeal for review.
                                   Submitted by Appellees Viridi-
                                   ana Chabolla Mendoza, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Dulce Gar-
                                   cia in 18-15071, Appellees County
                                   of Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez, Service Em-
                                   ployees International Union
                                   Local 521 and Dulce Garcia in
                                   18-15128, Appellants Viridiana




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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
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                                      Miriam Gonzalez Avila, Saul
                                      Jimenez Suarez, Jirayut Latthi-
                                      vongskorn and Norma Ramirez
                                      in 18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service Em-
                                      ployees International Union Lo-
                                      cal 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797416]
                                      [18-15068, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Spread
                                      docket text to 18-15069, 18-15070.
                                      03/14/2018 by RY] (Boutrous,
                                      Theodore) [Entered: 03/13/2018
                                      08:41 PM]
                                  *     *   *   *   *
                 4/3/18     134       Submitted (ECF) Third Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen,
                                      USA and USDHS in 18-15069,
                                      Appellants Kirstjen Nielsen,
                                      Donald J. Trump and USA in
                                      18-15070, Appellants Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and USDHS in 18-15071, Appel-




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J. Trump
                                       and    USDHS       in    18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS       in    18-15133,
                                       18-15134.      Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *    *   *
                 4/17/18     139       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Minne-
                                       sota in 18-15069, 18-15128, Ap-
                                       pellants State of California, State
                                       of Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:        04/17/2018.
                                       [10839746] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Mongan, Michael) [Entered:
                                       04/17/2018 12:02 PM]
                                   *     *   *    *   *
                 4/17/18     141       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Submit-




                                                                             AR2296
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 19 of 1030 PageID #:
                                     8286



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       ted by Appellees Janet Napoli-
                                       tano and Regents of the Univer-
                                       sity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-
                                       vice:    04/17/2018.   [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:     04/17/2018
                                       01:41 PM]
                                   *     *   *    *   *
                 4/17/18     143       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Dulce Gar-
                                       cia, Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, Appellees County of
                                       Santa Clara and Service Em-
                                       ployees International Union
                                       Local 521 in 18-15072, Appellees
                                       County of Santa Clara, Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Service Employees In-
                                       ternational Union Local 521 in
                                       18-15128, Appellants Viridiana




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Rami-
                                       rez in 18-15133, Appellants Viri-
                                       diana Chabolla Mendoza, County
                                       of Santa Clara, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn, Norma Ramirez
                                       and Service Employees Interna-
                                       tional Union Local 521 in
                                       18-15134.     Date of service:
                                       04/17/2018. [10840409] [18-15068,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134, 18-15069,
                                       18-15070] (Boutrous, Theodore)
                                       [Entered: 04/17/2018 03:49 PM]
                                   *     *   *    *   *
                 4/25/18     149       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez, Jira-
                                       yut Latthivongskorn and Norma
                                       Ramirez in 18-15133, 18-15134 ci-
                                       tation of supplemental authori-
                                       ties. Date of service: 04/25/2018.




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                                     8288



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       [10849629] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Boutrous, Theodore) [Entered:
                                       04/25/2018 08:55 AM]
                                   *     *   *    *   *
                 4/25/18     151       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez,
                                       Jirayut Latthivongskorn and
                                       Norma Ramirez in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10851189] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT ENTERED
                                       FILING to correct entry [149].]
                                       (RY) [Entered: 04/25/2018 04:36
                                       PM]
                 4/26/18     152       Filed (ECF) Appellees Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       18-15128, Appellants Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15133




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                                     8289



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      citation of supplemental authori-
                                      ties. Date of service: 04/26/2018.
                                      [10852623] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      (Davidson, Jeffrey) [Entered:
                                      04/26/2018 03:05 PM]
                                  *     *   *    *   *
                 5/1/18     157       Filed clerk order (Deputy Clerk:
                                      OC): The parties are ordered to
                                      submit supplemental briefs of no
                                      more than fifteen double-spaced
                                      pages addressing the effect of
                                      Heckler v. Chaney, 470 U.S. 821,
                                      833 n.4 (1985), and Montana Air
                                      Chapter No. 29 v. FLRA, 898
                                      F.2d 753, 756–57 (9th Cir. 1990),
                                      on the question whether 5 U.S.C.
                                      § 701(a)(2) bars judicial review of
                                      the Department of Homeland
                                      Security’s rescission of the De-
                                      ferred Action for Childhood Ar-
                                      rivals program.      The parties
                                      should consider whether the re-
                                      scission is judicially reviewable
                                      as a general enforcement policy,
                                      rather than as a single-shot non-
                                      enforcement decision.          See
                                      Crowley Caribbean Transp., Inc.
                                      v. Pena, 37 F.3d 671, 676 (D.C.
                                      Cir. 1994); NAACP v. Trump,
                                      Nos. 17-1907 & 17-2325, 2018 WL




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the stan-
                                       dard in Crowley). The briefs
                                       shall be filed on or before May
                                       11, 2018. [10857346] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134, 18-80037] (OC) [En-
                                       tered: 05/01/2018 12:58 PM]
                                   *     *   *    *   *
                 5/11/18     166       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15071,
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15133, 18-15134. Date of
                                       service: 05/11/2018. [10870059]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Boutrous,
                                       Theodore) [Entered: 05/11/2018
                                       02:28 PM]
                 5/11/18     167       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellants Kirstjen Nielsen and




                                                                            AR2301
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                                     8291



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   USDHS in 18-15068, Appellants
                                   Kirstjen Nielsen, USA and
                                   USDHS in 18-15069, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and USDHS
                                   in 18-15072, 18-15128, Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15133, 18-15134.      Date of
                                   service: 05/11/2018. [10870142]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Stern, Mark)
                                   [Entered: 05/11/2018 03:04 PM]
                 5/11/18     168   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellees Janet Napolitano and
                                   Regents of the University of Cal-
                                   ifornia in 18-15068, Appellee City
                                   of San Jose in 18-15070, Appel-
                                   lees City of San Jose, Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15128.
                                   Date of service:       05/11/2018.
                                   [10870151] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]




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                                     8292



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       (Davidson, Jeffrey)     [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *    *   *
                 5/11/18     172       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:       05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE:                At-
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]
                                   *     *   *    *   *
                 5/15/18     179       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,     JACQUELINE         H.
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                   *     *   *    *   *
                 5/21/18     182       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-
                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT UPDATE:
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-
                                       enbaum,      Mark)      [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *    *   *
                 6/22/18     184       Filed (ECF) Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen, USA
                                       and USDHS in 18-15069, Appel-
                                       lants Kirstjen Nielsen, Donald J.
                                       Trump and USA in 18-15070,
                                       Appellants Kirstjen Nielsen,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Donald J. Trump, USA and
                                   USDHS in 18-15071, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump, Jefferson B. Sessions,
                                   III and USDHS in 18-15072,
                                   18-15128 citation of supplemental
                                   authorities.    Date of service:
                                   06/22/2018. [10919589] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/22/2018 04:04 PM]
                 6/28/18     185   Filed (ECF) Appellees USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   06/28/2018. [10925146] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/28/2018 08:29 AM]
                 7/2/18      186   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 28 of 1030 PageID #:
                                     8295



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   18-15128, 18-15133,     18-15134]
                                   (Davidson, Jeffrey)     [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18     187    Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]
                 7/2/18     188    Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.    Date of
                                   service: 07/02/2018. [10928704]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 29 of 1030 PageID #:
                                     8296



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18     189    Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/09/2018 12:20 PM]
                 7/9/18     190    Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa




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                                     8297



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,
                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18     191    Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation
                                   of   supplemental     authorities.
                                   Date of service:       08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]




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                                     8298



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   (Wright,     Abby)     [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18     192    Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]
                 8/7/18     193    Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities. Date of ser-
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.




                                                                            AR2309
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                                     8299



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]
                 8/7/18      194   Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/10/18     195   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J.
                                   Trump and USDHS in 18-15072,
                                   18-15128, Appellees Kirstjen




                                                                            AR2310
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                 DATE      NUMBER PROCEEDINGS
                                   Nielsen, Donald J. Trump, USA
                                   and    USDHS       in   18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   08/10/2018. [10972953] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 08/10/2018 10:43 AM]
                 9/13/18     196   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-
                                   ald J. Trump and Kirstjen Niel-
                                   sen in 18-15071, Appellants
                                   USDHS, Donald J. Trump, Jef-
                                   ferson B. Sessions, III and
                                   Kirstjen Nielsen in 18-15072,
                                   18-15128,     Appellees     USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   09/13/2018. [11010690] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 09/13/2018 01:33 PM]




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                                     8301



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 9/17/18      197   Filed (ECF) Appellees Janet Na-
                                    politano and Regents of the Uni-
                                    versity of California in 18-15068,
                                    18-15128 citation of supplemental
                                    authorities.    Date of service:
                                    09/17/2018. [11014639] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Davidson, Jeffrey)
                                    [Entered: 09/17/2018 04:40 PM]
                 10/17/18     198   Filed (ECF) Appellants Kirstjen
                                    Nielsen, Donald J. Trump, USA
                                    and USDHS in 18-15128, Appel-
                                    lees Kirstjen Nielsen, Donald J.
                                    Trump, USA and USDHS in
                                    18-15133, 18-15134 Correspond-
                                    ence: Notice of intent to peti-
                                    tion the Supreme Court for a
                                    writ of certiorari before judg-
                                    ment absent ruling from this
                                    Court..      Date of service:
                                    10/17/2018 [11049590] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Stern, Mark) [En-
                                    tered: 10/17/2018 07:15 AM]
                 11/8/18      199   FILED OPINION (KIM MC-
                                    LANE WARDLAW, JACQUE-
                                    LINE H. NGUYEN and JOHN B.
                                    OWENS) AFFIRMED. Judge:
                                    KMW Authoring, Judge: JBO
                                    Concurring.   FILED AND




                                                                            AR2312
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 35 of 1030 PageID #:
                                     8302



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       ENTERED           JUDGMENT.
                                       [11081386] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (RMM) [Entered:      11/08/2018
                                       09:44 AM]
                                   *     *   *    *   *
                 2/25/19     204       MANDATE ISSUED. (KMW,
                                       JHN and JBO) [11206269]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (QDL) [En-
                                       tered: 02/25/2019 01:06 PM]
                                   *     *   *    *   *




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 36 of 1030 PageID #:
                                     8303



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                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


                                 Docket No. 18-15069
                   STATE OF CALIFORNIA; STATE OF MAINE; STATE OF
                          MINNESOTA; STATE OF MARYLAND,
                               PLAINTIFFS-APPELLEES
                                         v.
                     U.S. DEPARTMENT OF HOMELAND SECURITY,
                   KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY AS
                     ACTING SECRETARY OF THE DEPARTMENT OF
                  HOMELAND SECURITY; UNITED STATES OF AMERICA,
                             DEFENDANTS-APPELLANTS



                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/16/18        1    DOCKETED CAUSE AND EN-
                                     TERED APPEARANCES OF
                                     COUNSEL. SEND MQ: Yes.
                                     The schedule is set as follows:
                                     To be set. Preliminary Injunc-
                                     tion, C. R. 3-3 [10725663] (JBS)
                                     [Entered: 01/16/2018 01:37 PM]
                 1/17/18        2    Filed clerk order (Deputy Clerk:
                                     SLL):     The court sua sponte
                                     consolidates     appeal    Nos.
                                     18-15068, 18-15069, 18-15070,
                                     18-15071, and 18-15072.     The
                                     Clerk shall update the dockets
                                     accordingly.   Consolidated ap-
                                     peal Nos. 18-15068, 18-15069,




                                                                            AR2314
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 37 of 1030 PageID #:
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                         DOCKET
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                                   18-15070, 18-15071, and 18-15072,
                                   filed on January 16, 2018, are
                                   preliminary injunction appeals.
                                   Accordingly, Ninth Circuit Rule
                                   3-3 shall apply. The mediation
                                   questionnaire is due three days
                                   after the date of this order. If
                                   they have not already done so,
                                   within 7 calendar days after the
                                   filing date of this order, the par-
                                   ties shall make arrangement3 to
                                   obtain from the court reporter an
                                   official transcript of proceedings
                                   in the district court that will be
                                   included in the record on appeal.
                                   The briefing schedule shall pro-
                                   ceed as follows:       the consoli-
                                   dated opening brief(s) and ex-
                                   cerpts of record are due not later
                                   than February 13, 2018; the con-
                                   solidated answering brief(s) is
                                   due March 13, 2018 or 28 days af-
                                   ter service of the opening brief,
                                   whichever is earlier; and the op-
                                   tional consolidated reply brief(s)
                                   is due within 21 days after ser-
                                   vice of the answering brief. See
                                   9th Cir. R. 3-3(b). All parties on
                                   a side are encouraged to join in a
                                   single brief to the greatest ex-
                                   tent practicable. See 9th Cir. R.
                                   28-4. The parties are reminded
                                   that streamlined requests for ex-




                                                                            AR2315
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 38 of 1030 PageID #:
                                     8305



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                                      tensions of time are not available
                                      in preliminary injunction appeals.
                                      See http://www.ca9.uscourts.gov/
                                      content/view.php?pk_id=0000000
                                      638. Any request for an exten-
                                      sion of time must be requested
                                      under     Ninth    Circuit   Rule
                                      31-2.2(b). Failure to file timely
                                      the opening brief shall result in
                                      the automatic dismissal of this
                                      appeal by the Clerk for failure to
                                      prosecute. See 9th Cir. R. 42-1.
                                      [10726638] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072]
                                      (OC) [Entered:         01/17/2018
                                      09:06 AM]
                                  *     *   *    *   *
                 1/26/18     22       Filed clerk order (Deputy Clerk:
                                      MCD): The court sua sponte
                                      expedites appeal Nos. 18-15128,
                                      18-15133, 18-15134, and consoli-
                                      dates them with pending consol-
                                      idated appeal Nos. 18-15068,
                                      18-15069, 18-15070, 18-15071, and
                                      18-15072. The Clerk shall up-
                                      date the docket accordingly.
                                      The following briefing schedule
                                      shall apply to the consolidated
                                      appeals: the consolidated first
                                      brief on cross-appeal by Defen-
                                      dants is due February 13, 2018.
                                      The consolidated second brief on




                                                                            AR2316
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                                     8306



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      cross-appeal by Plaintiffs is due
                                      March 13, 2018. The consoli-
                                      dated third brief on cross-appeal
                                      by Defendants is due April 10,
                                      2018. The consolidated optional
                                      fourth brief on cross-appeal by
                                      Plaintiffs is due within 21 days
                                      after service of the third brief on
                                      cross-appeal. All parties on a
                                      side are encouraged to join in a
                                      single brief to the greatest ex-
                                      tent practicable. See 9th Cir. R.
                                      28-4.     This order is without
                                      prejudice to any party moving
                                      for appropriate relief following
                                      resolution of the petition for a
                                      writ of certiorari in Supreme Court
                                      Case No. 17-1003. [10740072]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *    *   *
                 2/13/18     32       Submitted (ECF) First Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen, USA
                                      and USDHS in 18-15069, Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump and USA in 18-15070, Ap-
                                      pellants Kirstjen Nielsen, Don-




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                                     8307



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      ald J. Trump, USA and USDHS
                                      in 18-15071, Appellants Kirstjen
                                      Nielsen, Jefferson B. Sessions,
                                      III, Donald J. Trump and
                                      USDHS in 18-15072, 18-15128.
                                      Date of service:     02/13/2018.
                                      [10762501] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Attached
                                      corrected PDF of brief. 02/15/
                                      2018 by RY] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:40 PM]
                 2/13/18     33       Submitted (ECF) excerpts of
                                      record.    Submitted by Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump, USA and USDHS in
                                      18-15128, Appellees Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and     USDHS      in   18-15133,
                                      18-15134.     Date of service:
                                      02/13/2018. [10762529] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *    *   *
                 3/13/18     41       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review. Sub-
                                      mitted by Appellees State of Cal-
                                      ifornia, State of Maine, State of
                                      Maryland and State of Minnesota




                                                                            AR2318
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                                     8308



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                 DATE      NUMBER PROCEEDINGS
                                   in 18-15069, Appellants State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15133, 18-15128.
                                   Date of service:      03/13/2018.
                                   [10797115] [18-15068, 18-15069,
                                   18-15133,    18-15128]—[COURT
                                   UPDATE: Spread docket text
                                   to 18-15070, 18-15071, 18-15072,
                                   18-15134. 03/14/2018 by RY]
                                   (Mongan, Michael) [Entered:
                                   03/13/2018 04:24 PM]
                 3/13/18     42    Submitted (ECF) Second Brief
                                   on Cross-Appeal for review.
                                   Submitted by Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, Appellee City of San
                                   Jose in 18-15070, Appellees Janet
                                   Napolitano, Regents of the Uni-
                                   versity of California and City of
                                   San Jose in 18-15128, Appellants
                                   Janet Napolitano, Regents of the
                                   University of California and City
                                   of San Jose in 18-15133. Date of
                                   service: 03/13/2018. [10797237]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:14 PM]




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                                     8309



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 3/13/18     43    Submitted (ECF) supplemental
                                   excerpts of record. Submitted
                                   by Appellees Janet Napolitano
                                   and Regents of the University of
                                   California in 18-15068, Appellee
                                   State of California in 18-15069,
                                   Appellee City of San Jose in
                                   18-15070, Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce
                                   Garcia, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez,
                                   Regents of the University of
                                   California, Service Employees
                                   International Union Local 521
                                   and State of California in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, City of San
                                   Jose, Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez, Re-
                                   gents of the University of Cali-
                                   fornia and State of California in




                                                                            AR2320
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                                     8310



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service
                                      Employees International Union
                                      Local 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797304]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (Davidson,
                                      Jeffrey) [Entered:     03/13/2018
                                      05:53 PM]
                                  *     *   *    *   *
                 3/13/18     46       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Viridi-
                                      ana Chabolla Mendoza, Miriam
                                      Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Dulce Gar-
                                      cia in 18-15071, Appellees County
                                      of Santa Clara and Service Em-
                                      ployees International Union
                                      Local 521 in 18-15072, Appellees
                                      Viridiana Chabolla Mendoza,
                                      County of Santa Clara, Miriam
                                      Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez, Service Em-
                                      ployees International Union




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                                     8311



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      Local 521 and Dulce Garcia in
                                      18-15128, Appellants Viridiana
                                      Chabolla Mendoza, Dulce Garcia,
                                      Miriam Gonzalez Avila, Saul
                                      Jimenez Suarez, Jirayut Latthi-
                                      vongskorn and Norma Ramirez
                                      in 18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service Em-
                                      ployees International Union Lo-
                                      cal 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797416]
                                      [18-15068, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Spread
                                      docket text to 18-15069, 18-15070.
                                      03/14/2018 by RY] (Boutrous,
                                      Theodore) [Entered: 03/13/2018
                                      08:41 PM]
                                  *     *   *    *   *
                 4/3/18     133       Submitted (ECF) Third Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen,
                                      USA and USDHS in 18-15069,
                                      Appellants Kirstjen Nielsen,
                                      Donald J. Trump and USA in
                                      18-15070, Appellants Kirstjen




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                                     8312



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                 DATE      NUMBER PROCEEDINGS
                                       Nielsen, Donald J. Trump, USA
                                       and USDHS in 18-15071, Appel-
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J. Trump
                                       and    USDHS       in    18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS       in    18-15133,
                                       18-15134.      Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *    *   *
                 4/17/18     138       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Minne-
                                       sota in 18-15069, 18-15128, Ap-
                                       pellants State of California, State
                                       of Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:        04/17/2018.
                                       [10839746] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Mongan, Michael) [Entered:
                                       04/17/2018 12:02 PM]
                                   *     *   *    *   *




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 4/17/18     140       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Janet Napo-
                                       litano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-
                                       vice:    04/17/2018.    [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:      04/17/2018
                                       01:41 PM]
                                   *     *   *    *   *
                 4/17/18     142       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Dulce Gar-
                                       cia, Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, Appellees County of
                                       Santa Clara and Service Em-
                                       ployees International Union
                                       Local 521 in 18-15072, Appellees
                                       County of Santa Clara, Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Service Employees In-




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                                     8314



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       ternational Union Local 521 in
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Rami-
                                       rez in 18-15133, Appellants Viri-
                                       diana Chabolla Mendoza, County
                                       of Santa Clara, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn, Norma Ramirez
                                       and Service Employees Interna-
                                       tional Union Local 521 in
                                       18-15134.     Date of service:
                                       04/17/2018. [10840409] [18-15068,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134, 18-15069,
                                       18-15070] (Boutrous, Theodore)
                                       [Entered: 04/17/2018 03:49 PM]
                                   *     *   *    *   *
                 4/25/18     148       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez, Jira-
                                       yut Latthivongskorn and Norma
                                       Ramirez in 18-15133, 18-15134 ci-




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 48 of 1030 PageID #:
                                     8315



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       tation of supplemental authori-
                                       ties. Date of service: 04/25/2018.
                                       [10849629] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Boutrous, Theodore) [Entered:
                                       04/25/2018 08:55 AM]
                                   *     *   *    *   *
                 4/25/18     150       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez,
                                       Jirayut Latthivongskorn and
                                       Norma Ramirez in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10851189] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT ENTERED
                                       FILING to correct entry [149].]
                                       (RY) [Entered: 04/25/2018 04:36
                                       PM]
                 4/26/18     151       Filed (ECF) Appellees Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       18-15128, Appellants Janet Na-




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 49 of 1030 PageID #:
                                     8316



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      politano and Regents of the Uni-
                                      versity of California in 18-15133
                                      citation of supplemental authori-
                                      ties. Date of service: 04/26/2018.
                                      [10852623] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      (Davidson, Jeffrey) [Entered:
                                      04/26/2018 03:05 PM]
                                  *     *   *    *   *
                 5/1/18     156       Filed clerk order (Deputy Clerk:
                                      OC): The parties are ordered to
                                      submit supplemental briefs of no
                                      more than fifteen double-spaced
                                      pages addressing the effect of
                                      Heckler v. Chaney, 470 U.S. 821,
                                      833 n.4 (1985), and Montana Air
                                      Chapter No. 29 v. FLRA, 898
                                      F.2d 753, 756–57 (9th Cir. 1990),
                                      on the question whether 5 U.S.C.
                                      § 701(a)(2) bars judicial review of
                                      the Department of Homeland
                                      Security’s rescission of the De-
                                      ferred Action for Childhood Ar-
                                      rivals program.      The parties
                                      should consider whether the re-
                                      scission is judicially reviewable
                                      as a general enforcement policy,
                                      rather than as a single-shot non-
                                      enforcement decision.          See
                                      Crowley Caribbean Transp., Inc.
                                      v. Pena, 37 F.3d 671, 676 (D.C.




                                                                            AR2327
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 50 of 1030 PageID #:
                                     8317



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Cir. 1994); NAACP v. Trump,
                                       Nos. 17-1907 & 17-2325, 2018 WL
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the stan-
                                       dard in Crowley). The briefs
                                       shall be filed on or before May
                                       11, 2018. [10857346] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134, 18-80037] (OC) [En-
                                       tered: 05/01/2018 12:58 PM]
                                   *     *   *    *   *
                 5/11/18     165       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15071,
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15133, 18-15134. Date of
                                       service: 05/11/2018. [10870059]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Boutrous,
                                       Theodore) [Entered: 05/11/2018
                                       02:28 PM]




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                                     8318



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 5/11/18     166   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellants Kirstjen Nielsen and
                                   USDHS in 18-15068, Appellants
                                   Kirstjen Nielsen, USA and
                                   USDHS in 18-15069, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and USDHS
                                   in 18-15072, 18-15128, Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15133, 18-15134.      Date of
                                   service: 05/11/2018. [10870142]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Stern, Mark)
                                   [Entered: 05/11/2018 03:04 PM]
                 5/11/18     167   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellees Janet Napolitano and
                                   Regents of the University of Cal-
                                   ifornia in 18-15068, Appellee City
                                   of San Jose in 18-15070, Appel-
                                   lees City of San Jose, Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15128.
                                   Date of service:       05/11/2018.




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 52 of 1030 PageID #:
                                     8319



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       [10870151] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *    *   *
                 5/11/18     171       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:       05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE:                At-
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]
                                   *     *   *    *   *
                 5/15/18     178       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,     JACQUELINE        H.
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 53 of 1030 PageID #:
                                     8320



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]
                                   *     *   *    *   *
                 5/21/18     181       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-
                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT UPDATE:
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-
                                       enbaum,      Mark)      [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *    *   *
                 6/22/18     183       Filed (ECF) Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen, USA
                                       and USDHS in 18-15069, Appel-
                                       lants Kirstjen Nielsen, Donald J.




                                                                            AR2331
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 54 of 1030 PageID #:
                                     8321



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Trump and USA in 18-15070,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump, USA and
                                   USDHS in 18-15071, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump, Jefferson B. Sessions,
                                   III and USDHS in 18-15072,
                                   18-15128 citation of supplemental
                                   authorities.    Date of service:
                                   06/22/2018. [10919589] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/22/2018 04:04 PM]
                 6/28/18     184   Filed (ECF) Appellees USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   06/28/2018. [10925146] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/28/2018 08:29 AM]
                 7/2/18      185   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 55 of 1030 PageID #:
                                     8322



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18     186    Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]
                 7/2/18     187    Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.    Date of
                                   service: 07/02/2018. [10928704]




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 56 of 1030 PageID #:
                                     8323



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18     188    Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/09/2018 12:20 PM]
                 7/9/18     189    Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 57 of 1030 PageID #:
                                     8324



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,
                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18     190    Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation
                                   of   supplemental     authorities.
                                   Date of service:       08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]




                                                                            AR2335
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 58 of 1030 PageID #:
                                     8325



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   (Wright,     Abby)     [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18     191    Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]
                 8/7/18     192    Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/7/18     193    Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 59 of 1030 PageID #:
                                     8326



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities. Date of ser-
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]
                 8/10/18     194   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J.
                                   Trump and USDHS in 18-15072,
                                   18-15128, Appellees Kirstjen
                                   Nielsen, Donald J. Trump, USA




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 60 of 1030 PageID #:
                                     8327



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   and    USDHS       in   18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   08/10/2018. [10972953] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 08/10/2018 10:43 AM]
                 9/13/18     195   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-
                                   ald J. Trump and Kirstjen Niel-
                                   sen in 18-15071, Appellants
                                   USDHS, Donald J. Trump, Jef-
                                   ferson B. Sessions, III and
                                   Kirstjen Nielsen in 18-15072,
                                   18-15128,     Appellees     USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   09/13/2018. [11010690] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 09/13/2018 01:33 PM]
                 9/17/18     196   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-




                                                                            AR2338
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 61 of 1030 PageID #:
                                     8328



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                    versity of California in 18-15068,
                                    18-15128 citation of supplemental
                                    authorities.    Date of service:
                                    09/17/2018. [11014639] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Davidson, Jeffrey)
                                    [Entered: 09/17/2018 04:40 PM]
                 10/17/18     197   Filed (ECF) Appellants Kirstjen
                                    Nielsen, Donald J. Trump, USA
                                    and USDHS in 18-15128, Appel-
                                    lees Kirstjen Nielsen, Donald J.
                                    Trump, USA and USDHS in
                                    18-15133, 18-15134 Correspond-
                                    ence: Notice of intent to peti-
                                    tion the Supreme Court for a
                                    writ of certiorari before judg-
                                    ment absent ruling from this
                                    Court..      Date of service:
                                    10/17/2018 [11049590] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Stern, Mark) [En-
                                    tered: 10/17/2018 07:15 AM]
                 11/8/18      198   FILED OPINION (KIM MC-
                                    LANE WARDLAW, JACQUE-
                                    LINE H. NGUYEN and JOHN B.
                                    OWENS) AFFIRMED. Judge:
                                    KMW Authoring, Judge: JBO
                                    Concurring.      FILED AND
                                    ENTERED           JUDGMENT.
                                    [11081386] [18-15068, 18-15069,




                                                                            AR2339
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 62 of 1030 PageID #:
                                     8329



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (RMM) [Entered:     11/08/2018
                                       09:44 AM]
                                   *    *   *    *   *
                 2/25/19     203       MANDATE ISSUED. (KMW,
                                       JHN and JBO) [11206269]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (QDL) [En-
                                       tered: 02/25/2019 01:06 PM]
                                   *    *   *    *   *




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                                     8330



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                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


                                    Docket No. 18-15070
                           CITY OF SAN JOSE, PLAINTIFF-APPELLEE
                                             v.
                        DONALD J. TRUMP, PRESIDENT OF THE
                      UNITED STATES, IN HIS OFFICIAL CAPACITY;
                    KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY
                    AS ACTING SECRETARY OF THE DEPARTMENT OF
                  HOMELAND SECURITY; UNITED STATES OF AMERICA,
                             DEFENDANTS-APPELLANTS



                                     DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/16/18         1    DOCKETED CAUSE AND EN-
                                      TERED APPEARANCES OF
                                      COUNSEL. SEND MQ: Yes.
                                      The schedule is set as follows:
                                      To be set. Preliminary Injunc-
                                      tion, C. R. 3-3 [10725678] (JBS)
                                      [Entered: 01/16/2018 01:46 PM]
                 1/17/18         2    Filed clerk order (Deputy Clerk:
                                      SLL):     The court sua sponte
                                      consolidates     appeal     Nos.
                                      18-15068, 18-15069, 18-15070,
                                      18-15071, and 18-15072.      The
                                      Clerk shall update the dockets
                                      accordingly.   Consolidated ap-
                                      peal Nos. 18-15068, 18-15069,
                                      18-15070, 18-15071, and 18-15072,




                                                                            AR2341
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                                   filed on January 16, 2018, are
                                   preliminary injunction appeals.
                                   Accordingly, Ninth Circuit Rule
                                   3-3 shall apply. The mediation
                                   questionnaire is due three days
                                   after the date of this order. If
                                   they have not already done so,
                                   within 7 calendar days after the
                                   filing date of this order, the par-
                                   ties shall make arrangement3 to
                                   obtain from the court reporter an
                                   official transcript of proceedings
                                   in the district court that will be
                                   included in the record on appeal.
                                   The briefing schedule shall pro-
                                   ceed as follows:       the consoli-
                                   dated opening brief(s) and ex-
                                   cerpts of record are due not later
                                   than February 13, 2018; the con-
                                   solidated answering brief(s) is
                                   due March 13, 2018 or 28 days af-
                                   ter service of the opening brief,
                                   whichever is earlier; and the op-
                                   tional consolidated reply brief(s)
                                   is due within 21 days after ser-
                                   vice of the answering brief. See
                                   9th Cir. R. 3-3(b). All parties on
                                   a side are encouraged to join in a
                                   single brief to the greatest ex-
                                   tent practicable. See 9th Cir. R.
                                   28-4. The parties are reminded
                                   that streamlined requests for ex-
                                   tensions of time are not available




                                                                            AR2342
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                                      in preliminary injunction appeals.
                                      See http://www.ca9.uscourts.gov/
                                      content/view.php?pk_id=0000000
                                      638. Any request for an exten-
                                      sion of time must be requested
                                      under     Ninth    Circuit   Rule
                                      31-2.2(b). Failure to file timely
                                      the opening brief shall result in
                                      the automatic dismissal of this
                                      appeal by the Clerk for failure to
                                      prosecute. See 9th Cir. R. 42-1.
                                      [10726638] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072]
                                      (OC) [Entered:         01/17/2018
                                      09:06 AM]
                                  *     *   *    *   *
                 1/26/18     21       Filed clerk order (Deputy Clerk:
                                      MCD): The court sua sponte
                                      expedites appeal Nos. 18-15128,
                                      18-15133, 18-15134, and consoli-
                                      dates them with pending consol-
                                      idated appeal Nos. 18-15068,
                                      18-15069, 18-15070, 18-15071, and
                                      18-15072. The Clerk shall up-
                                      date the docket accordingly.
                                      The following briefing schedule
                                      shall apply to the consolidated
                                      appeals: the consolidated first
                                      brief on cross-appeal by Defen-
                                      dants is due February 13, 2018.
                                      The consolidated second brief on
                                      cross-appeal by Plaintiffs is due




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                 DATE      NUMBER PROCEEDINGS
                                      March 13, 2018. The consoli-
                                      dated third brief on cross-appeal
                                      by Defendants is due April 10,
                                      2018. The consolidated optional
                                      fourth brief on cross-appeal by
                                      Plaintiffs is due within 21 days
                                      after service of the third brief on
                                      cross-appeal. All parties on a
                                      side are encouraged to join in a
                                      single brief to the greatest ex-
                                      tent practicable. See 9th Cir. R.
                                      28-4.     This order is without
                                      prejudice to any party moving
                                      for appropriate relief following
                                      resolution of the petition for a
                                      writ of certiorari in Supreme Court
                                      Case No. 17-1003. [10740072]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *    *   *
                 2/13/18     31       Submitted (ECF) First Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen, USA
                                      and USDHS in 18-15069, Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump and USA in 18-15070, Ap-
                                      pellants Kirstjen Nielsen, Don-
                                      ald J. Trump, USA and USDHS




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      in 18-15071, Appellants Kirstjen
                                      Nielsen, Jefferson B. Sessions,
                                      III, Donald J. Trump and
                                      USDHS in 18-15072, 18-15128.
                                      Date of service:     02/13/2018.
                                      [10762501] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Attached
                                      corrected PDF of brief. 02/15/
                                      2018 by RY] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:40 PM]
                 2/13/18     32       Submitted (ECF) excerpts of
                                      record.    Submitted by Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump, USA and USDHS in
                                      18-15128, Appellees Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and     USDHS      in   18-15133,
                                      18-15134.     Date of service:
                                      02/13/2018. [10762529] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *    *   *
                 3/13/18     40       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Janet
                                      Napolitano and Regents of the
                                      University of California in
                                      18-15068, Appellee City of San




                                                                            AR2345
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Jose in 18-15070, Appellees Janet
                                   Napolitano, Regents of the Uni-
                                   versity of California and City of
                                   San Jose in 18-15128, Appellants
                                   Janet Napolitano, Regents of the
                                   University of California and City
                                   of San Jose in 18-15133. Date of
                                   service: 03/13/2018. [10797237]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:14 PM]
                 3/13/18     41    Submitted (ECF) supplemental
                                   excerpts of record. Submitted
                                   by Appellees Janet Napolitano
                                   and Regents of the University of
                                   California in 18-15068, Appellee
                                   State of California in 18-15069,
                                   Appellee City of San Jose in
                                   18-15070, Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce
                                   Garcia, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Napolitano, Norma Ramirez,
                                      Regents of the University of
                                      California, Service Employees
                                      International Union Local 521
                                      and State of California in
                                      18-15128, Appellants Viridiana
                                      Chabolla Mendoza, City of San
                                      Jose, Dulce Garcia, Miriam Gon-
                                      zalez Avila, Saul Jimenez Suarez,
                                      Jirayut Latthivongskorn, Janet
                                      Napolitano, Norma Ramirez,
                                      Regents of the University of Cal-
                                      ifornia and State of California in
                                      18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service
                                      Employees International Union
                                      Local 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797304]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (Davidson,
                                      Jeffrey) [Entered:     03/13/2018
                                      05:53 PM]
                                  *     *   *    *   *
                 3/13/18     44       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees State of
                                      California, State of Maine, State




                                                                            AR2347
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                                     8337



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   of Maryland and State of Min-
                                   nesota in 18-15069, Appellants
                                   State of California, State of
                                   Maine, State of Maryland and
                                   State of Minnesota in 18-15133,
                                   18-15128. Date of service:
                                   03/13/2018. [10797115] [18-15068,
                                   18-15069, 18-15133, 18-15128]
                                   —[COURT UPDATE: Spread
                                   docket    text    to    18-15070,
                                   18-15071, 18-15072, 18-15134.
                                   03/14/2018 by RY] (Mongan,
                                   Michael) [Entered: 03/13/2018
                                   04:24 PM]
                 3/13/18     45    Submitted (ECF) Second Brief
                                   on Cross-Appeal for review.
                                   Submitted by Appellees Viridi-
                                   ana Chabolla Mendoza, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Dulce Gar-
                                   cia in 18-15071, Appellees County
                                   of Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez, Service Em-
                                   ployees International Union
                                   Local 521 and Dulce Garcia in
                                   18-15128, Appellants Viridiana




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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      Chabolla Mendoza, Dulce Garcia,
                                      Miriam Gonzalez Avila, Saul
                                      Jimenez Suarez, Jirayut Latthi-
                                      vongskorn and Norma Ramirez
                                      in 18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service Em-
                                      ployees International Union Lo-
                                      cal 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797416]
                                      [18-15068, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Spread
                                      docket text to 18-15069, 18-15070.
                                      03/14/2018 by RY] (Boutrous,
                                      Theodore) [Entered: 03/13/2018
                                      08:41 PM]
                                  *     *   *    *   *
                 4/3/18     132       Submitted (ECF) Third Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen,
                                      USA and USDHS in 18-15069,
                                      Appellants Kirstjen Nielsen,
                                      Donald J. Trump and USA in
                                      18-15070, Appellants Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and USDHS in 18-15071, Appel-




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J. Trump
                                       and    USDHS       in    18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS       in    18-15133,
                                       18-15134.      Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *    *   *
                 4/17/18     137       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Minne-
                                       sota in 18-15069, 18-15128, Ap-
                                       pellants State of California, State
                                       of Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:        04/17/2018.
                                       [10839746] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Mongan, Michael) [Entered:
                                       04/17/2018 12:02 PM]
                                   *     *   *    *   *
                 4/17/18     139       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-




                                                                             AR2350
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                                     8340



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       mitted by Appellees Janet Napo-
                                       litano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-
                                       vice:    04/17/2018.    [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:      04/17/2018
                                       01:41 PM]
                                   *     *   *    *   *
                 4/17/18     141       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Dulce Gar-
                                       cia, Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, Appellees County of
                                       Santa Clara and Service Em-
                                       ployees International Union
                                       Local 521 in 18-15072, Appellees
                                       County of Santa Clara, Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Service Employees In-
                                       ternational Union Local 521 in
                                       18-15128, Appellants Viridiana




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Rami-
                                       rez in 18-15133, Appellants Viri-
                                       diana Chabolla Mendoza, County
                                       of Santa Clara, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn, Norma Ramirez
                                       and Service Employees Interna-
                                       tional Union Local 521 in
                                       18-15134.     Date of service:
                                       04/17/2018. [10840409] [18-15068,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134, 18-15069,
                                       18-15070] (Boutrous, Theodore)
                                       [Entered: 04/17/2018 03:49 PM]
                                   *     *   *    *   *
                 4/25/18     147       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez, Jira-
                                       yut Latthivongskorn and Norma
                                       Ramirez in 18-15133, 18-15134 ci-
                                       tation of supplemental authori-
                                       ties. Date of service: 04/25/2018.




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                 DATE      NUMBER PROCEEDINGS
                                       [10849629] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Boutrous, Theodore) [Entered:
                                       04/25/2018 08:55 AM]
                                   *     *   *    *   *
                 4/25/18     149       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez,
                                       Jirayut Latthivongskorn and
                                       Norma Ramirez in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10851189] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT ENTERED
                                       FILING to correct entry [149].]
                                       (RY) [Entered: 04/25/2018 04:36
                                       PM]
                 4/26/18     150       Filed (ECF) Appellees Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       18-15128, Appellants Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15133




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                 DATE     NUMBER PROCEEDINGS
                                      citation of supplemental authori-
                                      ties. Date of service: 04/26/2018.
                                      [10852623] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      (Davidson, Jeffrey) [Entered:
                                      04/26/2018 03:05 PM]
                                  *     *   *    *   *
                 5/1/18     155       Filed clerk order (Deputy Clerk:
                                      OC): The parties are ordered to
                                      submit supplemental briefs of no
                                      more than fifteen double-spaced
                                      pages addressing the effect of
                                      Heckler v. Chaney, 470 U.S. 821,
                                      833 n.4 (1985), and Montana Air
                                      Chapter No. 29 v. FLRA, 898
                                      F.2d 753, 756–57 (9th Cir. 1990),
                                      on the question whether 5 U.S.C.
                                      § 701(a)(2) bars judicial review of
                                      the Department of Homeland
                                      Security’s rescission of the De-
                                      ferred Action for Childhood Ar-
                                      rivals program.      The parties
                                      should consider whether the re-
                                      scission is judicially reviewable
                                      as a general enforcement policy,
                                      rather than as a single-shot non-
                                      enforcement decision.          See
                                      Crowley Caribbean Transp., Inc.
                                      v. Pena, 37 F.3d 671, 676 (D.C.
                                      Cir. 1994); NAACP v. Trump,
                                      Nos. 17-1907 & 17-2325, 2018 WL




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the stan-
                                       dard in Crowley). The briefs
                                       shall be filed on or before May
                                       11, 2018. [10857346] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134, 18-80037] (OC) [En-
                                       tered: 05/01/2018 12:58 PM]
                                   *     *   *    *   *
                 5/11/18     164       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15071,
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15133, 18-15134. Date of
                                       service: 05/11/2018. [10870059]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Boutrous,
                                       Theodore) [Entered: 05/11/2018
                                       02:28 PM]
                 5/11/18     165       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellants Kirstjen Nielsen and




                                                                            AR2355
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   USDHS in 18-15068, Appellants
                                   Kirstjen Nielsen, USA and
                                   USDHS in 18-15069, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and USDHS
                                   in 18-15072, 18-15128, Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15133, 18-15134.      Date of
                                   service: 05/11/2018. [10870142]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Stern, Mark)
                                   [Entered: 05/11/2018 03:04 PM]
                 5/11/18     166   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellees Janet Napolitano and
                                   Regents of the University of Cal-
                                   ifornia in 18-15068, Appellee City
                                   of San Jose in 18-15070, Appel-
                                   lees City of San Jose, Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15128.
                                   Date of service:       05/11/2018.
                                   [10870151] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       (Davidson, Jeffrey)     [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *    *   *
                 5/11/18     170       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:       05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE:                At-
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]
                                   *     *   *    *   *
                 5/15/18     177       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,     JACQUELINE         H.
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]




                                                                            AR2357
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                                     8347



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                   *     *   *    *   *
                 5/21/18     180       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-
                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT UPDATE:
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-
                                       enbaum,      Mark)      [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *    *   *
                 6/22/18     182       Filed (ECF) Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen, USA
                                       and USDHS in 18-15069, Appel-
                                       lants Kirstjen Nielsen, Donald J.
                                       Trump and USA in 18-15070,
                                       Appellants Kirstjen Nielsen,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Donald J. Trump, USA and
                                   USDHS in 18-15071, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump, Jefferson B. Sessions,
                                   III and USDHS in 18-15072,
                                   18-15128 citation of supplemental
                                   authorities.    Date of service:
                                   06/22/2018. [10919589] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/22/2018 04:04 PM]
                 6/28/18     183   Filed (ECF) Appellees USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   06/28/2018. [10925146] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/28/2018 08:29 AM]
                 7/2/18      184   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,




                                                                            AR2359
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                                     8349



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   18-15128, 18-15133,     18-15134]
                                   (Davidson, Jeffrey)     [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18     185    Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]
                 7/2/18     186    Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.    Date of
                                   service: 07/02/2018. [10928704]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread




                                                                            AR2360
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 83 of 1030 PageID #:
                                     8350



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18     187    Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/09/2018 12:20 PM]
                 7/9/18     188    Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa




                                                                            AR2361
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                                     8351



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,
                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18     189    Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation
                                   of   supplemental     authorities.
                                   Date of service:       08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]




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                                     8352



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                 DATE     NUMBER PROCEEDINGS
                                   (Wright,     Abby)     [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18     190    Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]
                 8/7/18     191    Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/7/18     192    Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana




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                 DATE      NUMBER PROCEEDINGS
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities. Date of ser-
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]
                 8/10/18     193   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J.
                                   Trump and USDHS in 18-15072,
                                   18-15128, Appellees Kirstjen
                                   Nielsen, Donald J. Trump, USA




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                                     8354



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                 DATE      NUMBER PROCEEDINGS
                                   and    USDHS       in   18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   08/10/2018. [10972953] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 08/10/2018 10:43 AM]
                 9/13/18     194   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-
                                   ald J. Trump and Kirstjen Niel-
                                   sen in 18-15071, Appellants
                                   USDHS, Donald J. Trump, Jef-
                                   ferson B. Sessions, III and
                                   Kirstjen Nielsen in 18-15072,
                                   18-15128,     Appellees     USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   09/13/2018. [11010690] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 09/13/2018 01:33 PM]
                 9/17/18     195   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-




                                                                            AR2365
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                                     8355



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                    versity of California in 18-15068,
                                    18-15128 citation of supplemental
                                    authorities.    Date of service:
                                    09/17/2018. [11014639] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Davidson, Jeffrey)
                                    [Entered: 09/17/2018 04:40 PM]
                 10/17/18     196   Filed (ECF) Appellants Kirstjen
                                    Nielsen, Donald J. Trump, USA
                                    and USDHS in 18-15128, Appel-
                                    lees Kirstjen Nielsen, Donald J.
                                    Trump, USA and USDHS in
                                    18-15133, 18-15134 Correspond-
                                    ence: Notice of intent to peti-
                                    tion the Supreme Court for a
                                    writ of certiorari before judg-
                                    ment absent ruling from this
                                    Court..      Date of service:
                                    10/17/2018 [11049590] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Stern, Mark) [En-
                                    tered: 10/17/2018 07:15 AM]
                 11/8/18      197   FILED OPINION (KIM MC-
                                    LANE WARDLAW, JACQUE-
                                    LINE H. NGUYEN and JOHN B.
                                    OWENS) AFFIRMED. Judge:
                                    KMW Authoring, Judge: JBO
                                    Concurring.      FILED AND
                                    ENTERED           JUDGMENT.
                                    [11081386] [18-15068, 18-15069,




                                                                            AR2366
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                                     8356



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                 DATE      NUMBER PROCEEDINGS
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (RMM) [Entered:     11/08/2018
                                       09:44 AM]
                                   *    *   *    *   *
                 2/25/19     202       MANDATE ISSUED. (KMW,
                                       JHN and JBO) [11206269]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (QDL) [En-
                                       tered: 02/25/2019 01:06 PM]
                                   *    *   *    *   *




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 90 of 1030 PageID #:
                                     8357



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                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


                                Docket No. 18-15071
                     DULCE GARCIA; MIRIAM GONZALEZ AVILA;
                    SAUL JIMENEZ SUAREZ; VIRIDIANA CHABOLLA
                    MENDOZA; JIRAYUT LATTHIVONGSKORN; NORMA
                         RAMIREZ, PLAINTIFFS-APPELLEES
                                        v.
                    UNITED STATES OF AMERICA; DONALD J. TRUMP,
                    IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE
                   UNITED STATES; U.S. DEPARTMENT OF HOMELAND
                    SECURITY; KIRSTJEN NIELSEN, IN HER OFFICIAL
                        CAPACITY AS ACTING SECRETARY OF THE
                        DEPARTMENT OF HOMELAND SECURITY,
                              DEFENDANTS-APPELLANTS



                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/16/18        1    DOCKETED CAUSE AND EN-
                                     TERED APPEARANCES OF
                                     COUNSEL. SEND MQ: Yes.
                                     The schedule is set as follows:
                                     To be set. Preliminary Injunc-
                                     tion, C.R. 3-3 [10725713] (JBS)
                                     [Entered: 01/16/2018 01:58 PM]
                 1/17/18        2    Filed clerk order (Deputy Clerk:
                                     SLL):     The court sua sponte
                                     consolidates     appeal    Nos.
                                     18-15068, 18-15069, 18-15070,
                                     18-15071, and 18-15072.     The
                                     Clerk shall update the dockets




                                                                            AR2368
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 91 of 1030 PageID #:
                                     8358



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                                   accordingly.     Consolidated ap-
                                   peal Nos. 18-15068, 18-15069,
                                   18-15070, 18-15071, and 18-15072,
                                   filed on January 16, 2018, are
                                   preliminary injunction appeals.
                                   Accordingly, Ninth Circuit Rule
                                   3-3 shall apply. The mediation
                                   questionnaire is due three days
                                   after the date of this order. If
                                   they have not already done so,
                                   within 7 calendar days after the
                                   filing date of this order, the par-
                                   ties shall make arrangement3 to
                                   obtain from the court reporter an
                                   official transcript of proceedings
                                   in the district court that will be
                                   included in the record on appeal.
                                   The briefing schedule shall pro-
                                   ceed as follows:       the consoli-
                                   dated opening brief(s) and ex-
                                   cerpts of record are due not later
                                   than February 13, 2018; the con-
                                   solidated answering brief(s) is
                                   due March 13, 2018 or 28 days af-
                                   ter service of the opening brief,
                                   whichever is earlier; and the op-
                                   tional consolidated reply brief(s)
                                   is due within 21 days after ser-
                                   vice of the answering brief. See
                                   9th Cir. R. 3-3(b). All parties on
                                   a side are encouraged to join in a
                                   single brief to the greatest ex-
                                   tent practicable. See 9th Cir. R.




                                                                            AR2369
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                                      28-4. The parties are reminded
                                      that streamlined requests for ex-
                                      tensions of time are not available
                                      in preliminary injunction appeals.
                                      See http://www.ca9.uscourts.gov/
                                      content/view.php?pk_id=0000000
                                      638. Any request for an exten-
                                      sion of time must be requested
                                      under     Ninth    Circuit   Rule
                                      31-2.2(b). Failure to file timely
                                      the opening brief shall result in
                                      the automatic dismissal of this
                                      appeal by the Clerk for failure to
                                      prosecute. See 9th Cir. R. 42-1.
                                      [10726638] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072]
                                      (OC) [Entered:         01/17/2018
                                      09:06 AM]
                                  *     *   *    *   *
                 1/26/18     21       Filed clerk order (Deputy Clerk:
                                      MCD): The court sua sponte
                                      expedites appeal Nos. 18-15128,
                                      18-15133, 18-15134, and consoli-
                                      dates them with pending consol-
                                      idated appeal Nos. 18-15068,
                                      18-15069, 18-15070, 18-15071, and
                                      18-15072. The Clerk shall up-
                                      date the docket accordingly.
                                      The following briefing schedule
                                      shall apply to the consolidated
                                      appeals: the consolidated first
                                      brief on cross-appeal by Defen-




                                                                            AR2370
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                                     8360



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                 DATE      NUMBER PROCEEDINGS
                                      dants is due February 13, 2018.
                                      The consolidated second brief on
                                      cross-appeal by Plaintiffs is due
                                      March 13, 2018. The consoli-
                                      dated third brief on cross-appeal
                                      by Defendants is due April 10,
                                      2018. The consolidated optional
                                      fourth brief on cross-appeal by
                                      Plaintiffs is due within 21 days
                                      after service of the third brief on
                                      cross-appeal. All parties on a
                                      side are encouraged to join in a
                                      single brief to the greatest ex-
                                      tent practicable. See 9th Cir. R.
                                      28-4.     This order is without
                                      prejudice to any party moving
                                      for appropriate relief following
                                      resolution of the petition for a
                                      writ of certiorari in Supreme Court
                                      Case No. 17-1003. [10740072]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *    *   *
                 2/13/18     31       Submitted (ECF) First Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen, USA
                                      and USDHS in 18-15069, Appel-
                                      lants Kirstjen Nielsen, Donald J.




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                                     8361



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                 DATE      NUMBER PROCEEDINGS
                                      Trump and USA in 18-15070, Ap-
                                      pellants Kirstjen Nielsen, Don-
                                      ald J. Trump, USA and USDHS
                                      in 18-15071, Appellants Kirstjen
                                      Nielsen, Jefferson B. Sessions,
                                      III, Donald J. Trump and
                                      USDHS in 18-15072, 18-15128.
                                      Date of service:     02/13/2018.
                                      [10762501] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Attached
                                      corrected PDF of brief. 02/15/
                                      2018 by RY] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:40 PM]
                 2/13/18     32       Submitted (ECF) excerpts of
                                      record.    Submitted by Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump, USA and USDHS in
                                      18-15128, Appellees Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and     USDHS      in   18-15133,
                                      18-15134.     Date of service:
                                      02/13/2018. [10762529] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *    *   *
                 3/13/18     40       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Janet




                                                                            AR2372
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                 DATE      NUMBER PROCEEDINGS
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, Appellee City of San
                                   Jose in 18-15070, Appellees Janet
                                   Napolitano, Regents of the Uni-
                                   versity of California and City of
                                   San Jose in 18-15128, Appellants
                                   Janet Napolitano, Regents of the
                                   University of California and City
                                   of San Jose in 18-15133. Date of
                                   service: 03/13/2018. [10797237]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:14 PM]
                 3/13/18     41    Submitted (ECF) supplemental
                                   excerpts of record. Submitted
                                   by Appellees Janet Napolitano
                                   and Regents of the University of
                                   California in 18-15068, Appellee
                                   State of California in 18-15069,
                                   Appellee City of San Jose in
                                   18-15070, Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,




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                                      County of Santa Clara, Dulce
                                      Garcia, Saul Jimenez Suarez,
                                      Jirayut Latthivongskorn, Janet
                                      Napolitano, Norma Ramirez,
                                      Regents of the University of
                                      California, Service Employees
                                      International Union Local 521
                                      and State of California in
                                      18-15128, Appellants Viridiana
                                      Chabolla Mendoza, City of San
                                      Jose, Dulce Garcia, Miriam Gon-
                                      zalez Avila, Saul Jimenez Suarez,
                                      Jirayut Latthivongskorn, Janet
                                      Napolitano, Norma Ramirez,
                                      Regents of the University of
                                      California and State of California
                                      in 18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service
                                      Employees International Union
                                      Local 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797304]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (Davidson,
                                      Jeffrey) [Entered:     03/13/2018
                                      05:53 PM]
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                                     8364



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 3/13/18     43    Submitted (ECF) Second Brief
                                   on Cross-Appeal for review.
                                   Submitted by Appellees Viridi-
                                   ana Chabolla Mendoza, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Dulce Gar-
                                   cia in 18-15071, Appellees County
                                   of Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez, Service Em-
                                   ployees International Union
                                   Local 521 and Dulce Garcia in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Lat-
                                   thivongskorn and Norma Ra-
                                   mirez in 18-15133, Appellants
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn, Norma Ra-
                                   mirez and Service Employees
                                   International Union Local 521 in
                                   18-15134.      Date of service:
                                   03/13/2018.            [10797416]




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       [18-15068, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE: Spread
                                       docket    text    to   18-15069,
                                       18-15070.    03/14/2018 by RY]
                                       (Boutrous, Theodore) [Entered:
                                       03/13/2018 08:41 PM]
                 3/13/18     45        Submitted (ECF) Second Brief
                                       on Cross-Appeal for review.
                                       Submitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Min-
                                       nesota in 18-15069, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133,
                                       18-15128. Date of service:
                                       03/13/2018. [10797115] [18-15068,
                                       18-15069, 18-15133, 18-15128]
                                       —[COURT UPDATE: Spread
                                       docket     text    to   18-15070,
                                       18-15071, 18-15072, 18-15134.
                                       03/14/2018 by RY] (Mongan,
                                       Michael) [Entered: 03/13/2018
                                       04:24 PM]
                                   *     *   *    *   *
                 4/3/8       132       Submitted (ECF) Third Brief on
                                       Cross-Appeal for review. Sub-
                                       mitted by Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen,
                                       USA and USDHS in 18-15069,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump and USA in
                                       18-15070, Appellants Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and USDHS in 18-15071, Appel-
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J.
                                       Trump and USDHS in 18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS      in    18-15133,
                                       18-15134.     Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *    *   *
                 4/17/18     137       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Min-
                                       nesota in 18-15069, 18-15128,
                                       Appellants State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15133. Date of service:
                                       04/17/2018. [10839746] [18-15068,
                                       18-15069, 18-15070, 18-18-15071,
                                       18-15072, 18-15128, 18-15133,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15134]      (Mongan, Michael)
                                       [Entered:      04/17/2018 12:02 PM]
                                   *     *   *    *   *
                 4/17/18     139       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Janet Napo-
                                       litano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-
                                       vice: 04/17/2018.       [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:      04/17/2018
                                       01:41 PM]
                                   *     *   *    *   *
                 4/17/18     141       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Dulce Gar-
                                       cia, Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Ra-
                                       mirez in 18-15071, Appellees
                                       County of Santa Clara and Ser-
                                       vice Employees International
                                       Union Local 521 in 18-15072,
                                       Appellees County of Santa Clara,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez,
                                       Jirayut Latthivongskorn, Norma
                                       Ramirez and Service Employees
                                       International Union Local 521 in
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Ra-
                                       mirez in 18-15133, Appellants
                                       Viridiana Chabolla Mendoza,
                                       County of Santa Clara, Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Ra-
                                       mirez and Service Employees
                                       International Union Local 521 in
                                       18-15134.     Date of service:
                                       04/17/2018. [10840409] [18-15068,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134, 18-15069,
                                       18-15070] (Boutrous, Theodore)
                                       [Entered: 04/17/2018 03:49 PM]
                                   *     *   *    *   *
                 4/25/18     147       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Ra-
                                       mirez in 18-15071, 18-15128, Ap-
                                       pellants   Viridiana    Chabolla




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                                     8369



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10849629] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Boutrous, Theodore)
                                       [Entered: 04/25/2018 08:55 AM]
                                   *     *   *    *   *
                 4/25/18     149       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Ra-
                                       mirez in 18-15071, 18-15128, Ap-
                                       pellants Viridiana Chabolla Men-
                                       doza, Dulce Garcia, Miriam Gon-
                                       zalez Avila, Saul Jimenez Suarez,
                                       Jirayut Latthivongskorn and
                                       Norma Ramirez in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10851189] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       15134]—[COURT         ENTERED
                                       FILING to correct entry [148].]
                                       (RY) [Entered:          04/25/2018
                                       04:36 PM]




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 103 of 1030 PageID #:
                                     8370



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 4/26/18     150       Filed (ECF) Appellees Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       18-15128, Appellants Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15133
                                       citation of supplemental authori-
                                       ties. Date of service: 04/26/2018.
                                       [10852623] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       04/26/2018 03:05 PM]
                                   *     *   *    *   *
                 5/1/18      155       Filed clerk order (Deputy Clerk:
                                       OC): The parties are ordered to
                                       submit supplemental briefs of no
                                       more than fifteen double-spaced
                                       pages addressing the effect of
                                       Heckler v. Chaney, 470 U.S. 821,
                                       833 n.4 (1985), and Montana Air
                                       Chapter No. 29 v. FLRA, 898
                                       F.2d 753, 756–57 (9th Cir. 1990),
                                       on the question whether 5 U.S.C.
                                       § 701(a)(2) bars judicial review of
                                       the Department of Homeland
                                       Security’s rescission of the De-
                                       ferred Action for Childhood
                                       Arrivals program. The parties
                                       should consider whether the
                                       rescission is judicially reviewable
                                       as a general enforcement policy,




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                                       rather than as a single-shot non-
                                       enforcement decision.          See
                                       Crowley Caribbean Transp., Inc.
                                       v. Pena, 37 F.3d 671, 676 (D.C.
                                       Cir. 1994); NAACP v. Trump,
                                       Nos. 17-1907 & 17-2325, 2018 WL
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the
                                       standard in Crowley).          The
                                       briefs shall be filed on or before
                                       May     11,    2018.    [10857346]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134, 18-80037]
                                       (OC) [Entered:          05/01/2018
                                       12:58 PM]
                                   *     *   *    *   *
                 5/11/18     164       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15071,
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15133, 18-15134. Date of
                                       service: 05/11/2018. [10870059]
                                       [18-15068, 18-15069, 18-15070,




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                 DATE      NUMBER PROCEEDINGS
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Boutrous,
                                   Theodore) [Entered: 05/11/2018
                                   02:28 PM]
                 5/11/18     165   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellants Kirstjen Nielsen and
                                   USDHS in 18-15068, Appellants
                                   Kirstjen Nielsen, USA and
                                   USDHS in 18-15069, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and USDHS
                                   in 18-15072, 18-15128, Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15133, 18-15134.      Date of
                                   service: 05/11/2018. [10870142]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Stern, Mark)
                                   [Entered: 05/11/2018 03:04 PM]
                 5/11/18     166   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellees Janet Napolitano and
                                   Regents of the University of Cal-
                                   ifornia in 18-15068, Appellee City
                                   of San Jose in 18-15070, Appel-




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                 DATE      NUMBER PROCEEDINGS
                                       lees City of San Jose, Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15128.
                                       Date of service:       05/11/2018.
                                       [10870151] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *    *   *
                 5/11/18     170       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:       05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE:                At-
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]
                                   *     *   *    *   *
                 5/15/18     177       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,  JACQUELINE   H.




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 107 of 1030 PageID #:
                                     8374



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]
                                   *     *   *    *   *
                 5/21/18     180       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-
                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT UPDATE:
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-
                                       enbaum,      Mark)      [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *    *   *




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 6/22/18     182   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen, USA
                                   and USDHS in 18-15069, Appel-
                                   lants Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump, USA and
                                   USDHS in 18-15071, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump, Jefferson B. Sessions,
                                   III and USDHS in 18-15072,
                                   18-15128 citation of supplemental
                                   authorities.    Date of service:
                                   06/22/2018. [10919589] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/22/2018 04:04 PM]
                 6/28/18     183   Filed (ECF) Appellees USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   06/28/2018. [10925146] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/28/2018 08:29 AM]
                 7/2/18      184   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,




                                                                            AR2386
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 109 of 1030 PageID #:
                                     8376



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18      185   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]
                 7/2/18      186   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana




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                 DATE     NUMBER PROCEEDINGS
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.     Date of
                                   service: 07/02/2018. [10928704]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18      187   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/09/2018 12:20 PM]
                 7/9/18      188   Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma




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                 DATE     NUMBER PROCEEDINGS
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,
                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18      189   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation




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                                     8379



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   of   supplemental    authorities.
                                   Date of service:     08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Wright,     Abby)    [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18      190   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]
                 8/7/18      191   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-




                                                                            AR2390
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                                     8380



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   mental authorities. Date of ser-
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]
                 8/7/18      192   Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/10/18     194   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-
                                   ald J. Trump and Kirstjen Niel-




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                 DATE       NUMBER PROCEEDINGS
                                    sen in 18-15071, Appellants
                                    USDHS, Donald J. Trump, Jef-
                                    ferson B. Sessions, III and
                                    Kirstjen Nielsen in 18-15072,
                                    18-15128,     Appellees     USA,
                                    USDHS, Donald J. Trump and
                                    Kirstjen Nielsen in 18-15133,
                                    18-15134 citation of supplemental
                                    authorities.    Date of service:
                                    09/13/2018. [11010690] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Wright, Abby) [En-
                                    tered: 09/13/2018 01:33 PM]
                 9/17/18      195   Filed (ECF) Appellees Janet Na-
                                    politano and Regents of the Uni-
                                    versity of California in 18-15068,
                                    18-15128 citation of supplemental
                                    authorities.    Date of service:
                                    09/17/2018. [11014639] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Davidson, Jeffrey)
                                    [Entered: 09/17/2018 04:40 PM]
                 10/17/18     196   Filed (ECF) Appellants Kirstjen
                                    Nielsen, Donald J. Trump, USA
                                    and USDHS in 18-15128, Appel-
                                    lees Kirstjen Nielsen, Donald J.
                                    Trump, USA and USDHS in
                                    18-15133, 18-15134 Correspond-
                                    ence: Notice of intent to peti-
                                    tion the Supreme Court for a




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                 DATE      NUMBER PROCEEDINGS
                                       writ of certiorari before judg-
                                       ment absent ruling from this
                                       Court..      Date of service:
                                       10/17/2018 [11049590] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 10/17/2018 07:15 AM]
                                   *     *   *     *   *
                 11/8/18     198       FILED OPINION (KIM MC-
                                       LANE WARDLAW, JACQUE-
                                       LINE H. NGUYEN and JOHN B.
                                       OWENS) AFFIRMED. Judge:
                                       KMW Authoring, Judge: JBO
                                       Concurring.      FILED AND
                                       ENTERED           JUDGMENT.
                                       [11081386] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (RMM) [Entered:      11/08/2018
                                       09:44 AM]
                                   *     *   *     *   *
                 2/25/19     203       MANDATE ISSUED. (KMW,
                                       JHN and JBO) [11206269]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (QDL) [En-
                                       tered: 02/25/2019 01:06 PM]
                                   *     *   *     *   *




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                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


                                Docket No. 18-15072
                    COUNTY OF SANTA CLARA; SERVICE EMPLOYEES
                        INTERNATIONAL UNION LOCAL 521,
                              PLAINTIFFS-APPELLEES
                                        v.
                    DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                   PRESIDENT OF THE UNITED STATES; JEFFERSON B.
                     SESSIONS III, ATTORNEY GENERAL; KIRSTJEN
                    NIELSEN, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                     SECURITY; U.S. DEPARTMENT OF HOMELAND
                        SECURITY; DEFENDANTS-APPELLANTS


                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/16/18        1    DOCKETED CAUSE AND EN-
                                     TERED APPEARANCES OF
                                     COUNSEL. SEND MQ: Yes.
                                     The schedule is set as follows:
                                     To be set. Preliminary Injunc-
                                     tion, C. R. 3-3 [10725735] (JBS)
                                     [Entered: 01/16/2018 02:07 PM]
                 1/17/18        2    Filed clerk order (Deputy Clerk:
                                     SLL):     The court sua sponte
                                     consolidates     appeal    Nos.
                                     18-15068, 18-15069, 18-15070,
                                     18-15071, and 18-15072.     The
                                     Clerk shall update the dockets
                                     accordingly.   Consolidated ap-




                                                                            AR2394
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                 DATE     NUMBER PROCEEDINGS
                                   peal Nos. 18-15068, 18-15069,
                                   18-15070, 18-15071, and 18-15072,
                                   filed on January 16, 2018, are
                                   preliminary injunction appeals.
                                   Accordingly, Ninth Circuit Rule
                                   3-3 shall apply. The mediation
                                   questionnaire is due three days
                                   after the date of this order. If
                                   they have not already done so,
                                   within 7 calendar days after the
                                   filing date of this order, the par-
                                   ties shall make arrangement3 to
                                   obtain from the court reporter an
                                   official transcript of proceedings
                                   in the district court that will be
                                   included in the record on appeal.
                                   The briefing schedule shall pro-
                                   ceed as follows:       the consoli-
                                   dated opening brief(s) and ex-
                                   cerpts of record are due not later
                                   than February 13, 2018; the con-
                                   solidated answering brief(s) is
                                   due March 13, 2018 or 28 days af-
                                   ter service of the opening brief,
                                   whichever is earlier; and the op-
                                   tional consolidated reply brief(s)
                                   is due within 21 days after ser-
                                   vice of the answering brief. See
                                   9th Cir. R. 3-3(b). All parties on
                                   a side are encouraged to join in a
                                   single brief to the greatest ex-
                                   tent practicable. See 9th Cir. R.
                                   28-4. The parties are reminded




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 118 of 1030 PageID #:
                                     8385



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                                      that streamlined requests for ex-
                                      tensions of time are not available
                                      in preliminary injunction appeals.
                                      See http://www.ca9.uscourts.gov/
                                      content/view.php?pk_id=0000000
                                      638. Any request for an exten-
                                      sion of time must be requested
                                      under     Ninth    Circuit   Rule
                                      31-2.2(b). Failure to file timely
                                      the opening brief shall result in
                                      the automatic dismissal of this
                                      appeal by the Clerk for failure to
                                      prosecute. See 9th Cir. R. 42-1.
                                      [10726638] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072]
                                      (OC) [Entered:         01/17/2018
                                      09:06 AM]
                                  *     *   *     *   *
                 1/26/18     21       Filed clerk order (Deputy Clerk:
                                      MCD): The court sua sponte
                                      expedites appeal Nos. 18-15128,
                                      18-15133, 18-15134, and consoli-
                                      dates them with pending consol-
                                      idated appeal Nos. 18-15068,
                                      18-15069, 18-15070, 18-15071, and
                                      18-15072. The Clerk shall up-
                                      date the docket accordingly.
                                      The following briefing schedule
                                      shall apply to the consolidated
                                      appeals: the consolidated first
                                      brief on cross-appeal by Defen-
                                      dants is due February 13, 2018.




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      The consolidated second brief on
                                      cross-appeal by Plaintiffs is due
                                      March 13, 2018. The consoli-
                                      dated third brief on cross-appeal
                                      by Defendants is due April 10,
                                      2018. The consolidated optional
                                      fourth brief on cross-appeal by
                                      Plaintiffs is due within 21 days
                                      after service of the third brief on
                                      cross-appeal. All parties on a
                                      side are encouraged to join in a
                                      single brief to the greatest ex-
                                      tent practicable. See 9th Cir. R.
                                      28-4.     This order is without
                                      prejudice to any party moving
                                      for appropriate relief following
                                      resolution of the petition for a
                                      writ of certiorari in Supreme Court
                                      Case No. 17-1003. [10740072]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *     *   *
                 2/13/18     31       Submitted (ECF) First Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen, USA
                                      and USDHS in 18-15069, Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump and USA in 18-15070, Ap-




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      pellants Kirstjen Nielsen, Don-
                                      ald J. Trump, USA and USDHS
                                      in 18-15071, Appellants Kirstjen
                                      Nielsen, Jefferson B. Sessions,
                                      III, Donald J. Trump and
                                      USDHS in 18-15072, 18-15128.
                                      Date of service:     02/13/2018.
                                      [10762501] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Attached
                                      corrected PDF of brief. 02/15/
                                      2018 by RY] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:40 PM]
                 2/13/18     32       Submitted (ECF) excerpts of
                                      record.    Submitted by Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump, USA and USDHS in
                                      18-15128, Appellees Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and     USDHS      in   18-15133,
                                      18-15134.     Date of service:
                                      02/13/2018. [10762529] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *     *   *
                 3/13/18     41       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Janet
                                      Napolitano and Regents of the




                                                                            AR2398
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   University of California in
                                   18-15068, Appellee City of San
                                   Jose in 18-15070, Appellees Janet
                                   Napolitano, Regents of the Uni-
                                   versity of California and City of
                                   San Jose in 18-15128, Appellants
                                   Janet Napolitano, Regents of the
                                   University of California and City
                                   of San Jose in 18-15133. Date of
                                   service: 03/13/2018. [10797237]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:14 PM]
                 3/13/18     42    Submitted (ECF) supplemental
                                   excerpts of record. Submitted
                                   by Appellees Janet Napolitano
                                   and Regents of the University of
                                   California in 18-15068, Appellee
                                   State of California in 18-15069,
                                   Appellee City of San Jose in
                                   18-15070, Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Garcia, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez,
                                   Regents of the University of
                                   California, Service Employees
                                   International Union Local 521
                                   and State of California in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, City of San
                                   Jose, Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez, Re-
                                   gents of the University of Cali-
                                   fornia and State of California in
                                   18-15133, Appellants Viridiana
                                   Chabolla Mendoza, County of
                                   Santa Clara, Dulce Garcia, Mir-
                                   iam Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Service
                                   Employees International Union
                                   Local 521 in 18-15134. Date of
                                   service: 03/13/2018. [10797304]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:53 PM]
                 3/13/18     43    Submitted (ECF) Second Brief
                                   on Cross-Appeal for review.
                                   Submitted by Appellees Viridi-
                                   ana Chabolla Mendoza, Miriam




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                                     8390



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Dulce Gar-
                                   cia in 18-15071, Appellees County
                                   of Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez, Service Em-
                                   ployees International Union
                                   Local 521 and Dulce Garcia in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Lat-
                                   thivongskorn and Norma Ra-
                                   mirez in 18-15133, Appellants
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn, Norma Ra-
                                   mirez and Service Employees
                                   International Union Local 521 in
                                   18-15134.      Date of service:
                                   03/13/2018. [10797416] [18-15068,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133,    18-15134]—[COURT
                                   UPDATE: Spread docket text to
                                   18-15069, 18-15070. 03/14/2018




                                                                            AR2401
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       by RY] (Boutrous, Theodore)
                                       [Entered: 03/13/2018 08:41 PM]
                                   *     *   *     *   *
                 4/3/18      133       Submitted (ECF) Third Brief on
                                       Cross-Appeal for review. Sub-
                                       mitted by Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen,
                                       USA and USDHS in 18-15069,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump and USA in
                                       18-15070, Appellants Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and USDHS in 18-15071, Appel-
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J. Trump
                                       and    USDHS       in    18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS       in    18-15133,
                                       18-15134.      Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                 3/13/18     45        Submitted (ECF) Second Brief
                                       on Cross-Appeal for review.
                                       Submitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Min-
                                       nesota in 18-15069, Appellants




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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133,
                                       18-15128.    Date of service:
                                       03/13/2018.          [10797115]
                                       [18-15068, 18-15069, 18-15133,
                                       18-15128]—[COURT UPDATE:
                                       Spread docket text to 18-15070,
                                       18-15071, 18-15072, 18-15134.
                                       03/14/2018 by RY] (Mongan,
                                       Michael) [Entered: 03/13/2018
                                       04:24 PM]
                                   *     *   *     *   *
                 4/3/18      132       Submitted (ECF) Third Brief on
                                       Cross-Appeal for review. Sub-
                                       mitted by Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen,
                                       USA and USDHS in 18-15069,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump and USA in
                                       18-15070, Appellants Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and USDHS in 18-15071, Appel-
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J.
                                       Trump and USDHS in 18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS      in    18-15133,
                                       18-15134.     Date of service:
                                       04/03/2018. [10822811] [18-15068,




                                                                            AR2403
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                 DATE      NUMBER PROCEEDINGS
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *     *   *
                 4/17/18     137       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Min-
                                       nesota in 18-15069, 18-15128,
                                       Appellants State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15133. Date of service:
                                       04/17/2018. [10839746] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Mongan, Michael)
                                       [Entered: 04/17/2018 12:02 PM]
                                   *     *   *     *   *
                 4/17/18     139       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Janet Napo-
                                       litano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-




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                 DATE      NUMBER PROCEEDINGS
                                       vice:    04/17/2018. [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:   04/17/2018
                                       01:41 PM]
                                   *     *   *     *   *
                 4/17/18     141       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Dulce Gar-
                                       cia, Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, Appellees County of
                                       Santa Clara and Service Em-
                                       ployees International Union
                                       Local 521 in 18-15072, Appellees
                                       County of Santa Clara, Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Service Employees In-
                                       ternational Union Local 521 in
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Rami-
                                       rez in 18-15133, Appellants Viri-
                                       diana Chabolla Mendoza, County
                                       of Santa Clara, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul




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                 DATE      NUMBER PROCEEDINGS
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn, Norma Ramirez
                                       and Service Employees Interna-
                                       tional Union Local 521 in
                                       18-15134.     Date of service:
                                       04/17/2018. [10840409] [18-15068,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134, 18-15069,
                                       18-15070] (Boutrous, Theodore)
                                       [Entered: 04/17/2018 03:49 PM]
                                   *     *   *     *   *
                 4/25/18     147       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez, Jira-
                                       yut Latthivongskorn and Norma
                                       Ramirez in 18-15133, 18-15134 ci-
                                       tation of supplemental authori-
                                       ties. Date of service: 04/25/2018.
                                       [10849629] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Boutrous, Theodore) [Entered:
                                       04/25/2018 08:55 AM]
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 4/25/18     149   Filed (ECF) Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul Ji-
                                   menez Suarez, Jirayut Latthi-
                                   vongskorn and Norma Ramirez
                                   in 18-15071, 18-15128, Appellants
                                   Viridiana Chabolla Mendoza,
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn and
                                   Norma Ramirez in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   04/25/2018. [10851189] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134]—[COURT ENTERED
                                   FILING to correct entry [149].]
                                   (RY) [Entered: 04/25/2018 04:36
                                   PM]
                 4/26/18     150   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 04/26/2018.
                                   [10852623] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]




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                 DATE     NUMBER PROCEEDINGS
                                       (Davidson, Jeffrey)     [Entered:
                                       04/26/2018 03:05 PM]
                                   *     *   *     *   *
                 5/1/18      155       Filed clerk order (Deputy Clerk:
                                       OC): The parties are ordered to
                                       submit supplemental briefs of no
                                       more than fifteen double-spaced
                                       pages addressing the effect of
                                       Heckler v. Chaney, 470 U.S. 821,
                                       833 n.4 (1985), and Montana Air
                                       Chapter No. 29 v. FLRA, 898
                                       F.2d 753, 756–57 (9th Cir. 1990),
                                       on the question whether 5 U.S.C.
                                       § 701(a)(2) bars judicial review of
                                       the Department of Homeland
                                       Security’s rescission of the De-
                                       ferred Action for Childhood Ar-
                                       rivals program.      The parties
                                       should consider whether the re-
                                       scission is judicially reviewable
                                       as a general enforcement policy,
                                       rather than as a single-shot non-
                                       enforcement decision.          See
                                       Crowley Caribbean Transp., Inc.
                                       v. Pena, 37 F.3d 671, 676 (D.C.
                                       Cir. 1994); NAACP v. Trump,
                                       Nos. 17-1907 & 17-2325, 2018 WL
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the stan-
                                       dard in Crowley). The briefs
                                       shall be filed on or before May
                                       11, 2018. [10857346] [18-15068,




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                 DATE      NUMBER PROCEEDINGS
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134, 18-80037] (OC) [En-
                                       tered: 05/01/2018 12:58 PM]
                                   *     *   *     *   *
                 5/11/18     164       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15071,
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15133, 18-15134. Date of
                                       service: 05/11/2018. [10870059]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Boutrous,
                                       Theodore) [Entered: 05/11/2018
                                       02:28 PM]
                 5/11/18     165       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellants Kirstjen Nielsen and
                                       USDHS in 18-15068, Appellants
                                       Kirstjen Nielsen, USA and
                                       USDHS in 18-15069, Appellants
                                       Kirstjen Nielsen, Donald J.
                                       Trump and USA in 18-15070, Ap-




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                 DATE      NUMBER PROCEEDINGS
                                       pellants Kirstjen Nielsen, Don-
                                       ald J. Trump, USA and USDHS
                                       in 18-15071, Appellants Kirstjen
                                       Nielsen, Jefferson B. Sessions,
                                       III, Donald J. Trump and USDHS
                                       in 18-15072, 18-15128, Appellees
                                       Kirstjen Nielsen, Donald J.
                                       Trump, USA and USDHS in
                                       18-15133, 18-15134.      Date of
                                       service: 05/11/2018. [10870142]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Stern, Mark)
                                       [Entered: 05/11/2018 03:04 PM]
                 5/11/18     166       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Janet Napolitano and
                                       Regents of the University of Cal-
                                       ifornia in 18-15068, Appellee City
                                       of San Jose in 18-15070, Appel-
                                       lees City of San Jose, Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15128.
                                       Date of service:       05/11/2018.
                                       [10870151] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *     *   *
                 5/11/18     170       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by




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                                     8400



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:       05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE:                At-
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]
                                   *     *   *     *   *
                 5/15/18     177       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,     JACQUELINE         H.
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]
                                   *     *   *     *   *
                 5/21/18     180       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-




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                                     8401



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                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT UPDATE:
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-
                                       enbaum,      Mark)      [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *     *   *
                 6/22/18     182       Filed (ECF) Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen, USA
                                       and USDHS in 18-15069, Appel-
                                       lants Kirstjen Nielsen, Donald J.
                                       Trump and USA in 18-15070,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump, USA and
                                       USDHS in 18-15071, Appellants
                                       Kirstjen Nielsen, Donald J.
                                       Trump, Jefferson B. Sessions,
                                       III and USDHS in 18-15072,
                                       18-15128 citation of supplemental
                                       authorities.    Date of service:




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                                     8402



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                 DATE      NUMBER PROCEEDINGS
                                   06/22/2018. [10919589] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/22/2018 04:04 PM]
                 6/28/18     183   Filed (ECF) Appellees USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   06/28/2018. [10925146] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/28/2018 08:29 AM]
                 7/2/18      184   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18      185   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-




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                 DATE     NUMBER PROCEEDINGS
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]
                 7/2/18      186   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.     Date of
                                   service: 07/02/2018. [10928704]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18      187   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-




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                                     8404



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                 DATE     NUMBER PROCEEDINGS
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/09/2018 12:20 PM]
                 7/9/18      188   Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,




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                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18      189   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation
                                   of   supplemental     authorities.
                                   Date of service:       08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Wright,      Abby)     [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18      190   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in




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                 DATE     NUMBER PROCEEDINGS
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]
                 8/7/18      191   Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/7/18      192   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities. Date of ser-




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                                     8407



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                 DATE      NUMBER PROCEEDINGS
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]
                 8/10/18     193   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J.
                                   Trump and USDHS in 18-15072,
                                   18-15128, Appellees Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and    USDHS       in   18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   08/10/2018. [10972953] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 08/10/2018 10:43 AM]




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/13/18     194   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-
                                   ald J. Trump and Kirstjen Niel-
                                   sen in 18-15071, Appellants
                                   USDHS, Donald J. Trump, Jef-
                                   ferson B. Sessions, III and
                                   Kirstjen Nielsen in 18-15072,
                                   18-15128,     Appellees     USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   09/13/2018. [11010690] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 09/13/2018 01:33 PM]
                 9/17/18     195   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128 citation of supplemental
                                   authorities.    Date of service:
                                   09/17/2018. [11014639] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 09/17/2018 04:40 PM]




                                                                            AR2419
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 142 of 1030 PageID #:
                                     8409



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 10/17/18     196       Filed (ECF) Appellants Kirstjen
                                        Nielsen, Donald J. Trump, USA
                                        and USDHS in 18-15128, Appel-
                                        lees Kirstjen Nielsen, Donald J.
                                        Trump, USA and USDHS in
                                        18-15133, 18-15134 Correspond-
                                        ence: Notice of intent to peti-
                                        tion the Supreme Court for a
                                        writ of certiorari before judg-
                                        ment absent ruling from this
                                        Court..      Date of service:
                                        10/17/2018 [11049590] [18-15068,
                                        18-15069, 18-15070, 18-15071,
                                        18-15072, 18-15128, 18-15133,
                                        18-15134] (Stern, Mark) [En-
                                        tered: 10/17/2018 07:15 AM]
                 11/8/18      197       FILED OPINION (KIM MC-
                                        LANE WARDLAW, JACQUE-
                                        LINE H. NGUYEN and JOHN B.
                                        OWENS) AFFIRMED. Judge:
                                        KMW Authoring, Judge: JBO
                                        Concurring.      FILED AND
                                        ENTERED           JUDGMENT.
                                        [11081386] [18-15068, 18-15069,
                                        18-15070, 18-15071, 18-15072,
                                        18-15128, 18-15133, 18-15134]
                                        (RMM) [Entered:      11/08/2018
                                        09:44 AM]
                                    *     *   *     *   *
                 2/25/19      202       MANDATE ISSUED. (KMW,
                                        JHN and JBO) [11206269]
                                        [18-15068, 18-15069, 18-15070,




                                                                            AR2420
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                                     8410



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (QDL) [En-
                                      tered: 02/25/2019 01:06 PM]
                                  *    *   *     *   *




                                                                            AR2421
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 144 of 1030 PageID #:
                                     8411



                                         136

                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


                                 Docket No. 18-15128
                     REGENTS OF THE UNIVERSITY OF CALIFORNIA;
                   JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                    PRESIDENT OF THE UNIVERSITY OF CALIFORNIA;
                   STATE OF CALIFORNIA; STATE OF MAINE; STATE OF
                    MINNESOTTA; STATE OF MARYLAND; CITY OF SAN
                    JOSE; DULCE GARCIA; MIRIAM GONZALEZ AVILA;
                     SAUL JIMENEZ SUAREZ; VIRIDIANA CHABOLLA
                    MENDOZA; JIRAYUT LATTHIVONGSKORN; NORMA
                     RAMIREZ; COUNTY OF SANTA CLARA; SERVICE
                    EMPLOYEES INTERNATIONAL UNION LOCAL 521,
                               PLAINTIFFS-APPELLEES
                                         v.
                    UNITED STATES OF AMERICA; DONALD J. TRUMP,
                    IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE
                   UNITED STATES; U.S. DEPARTMENT OF HOMELAND
                    SECURITY; KIRSTJEN NIELSEN, IN HER OFFICIAL
                        CAPACITY AS ACTING SECRETARY OF THE
                        DEPARTMENT OF HOMELAND SECURITY,
                              DEFENDANTS-APPELLANTS



                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/25/18        1    Filed in 18-80004: Filed order
                                     (CARLOS T. BEA and RICH-
                                     ARD A. PAEZ) The petition for
                                     permission to appeal pursuant to
                                     28 U.S.C. § 1292(b) is granted.
                                     Within 14 days after the date of
                                     this order, petitioners shall per-




                                                                            AR2422
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 145 of 1030 PageID #:
                                     8412



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   fect the appeal in accordance
                                   with Federal Rule of Appellate
                                   Procedure 5(d).     [10738869]
                                   (HC) [Entered:      01/25/2018
                                   02:41 PM]
                 1/25/18      2    DOCKETED CAUSE AND EN-
                                   TERED APPEARANCES OF
                                   COUNSEL. SEND MQ: Yes.
                                   The schedule is set as follows:
                                   Mediation Questionnaire due on
                                   02/01/2018. Transcript ordered
                                   by 02/26/2018. Transcript due
                                   03/26/2018. Appellants Kirstjen
                                   Nielsen, Donald J. Trump, U.S.
                                   Department of Homeland Secu-
                                   rity and United States of Ameri-
                                   ca opening brief due 05/07/2018.
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn, Janet Napoli-
                                   tano, Norma Ramirez, Regents
                                   of the University of California,
                                   Service Employees International
                                   Union Local 521, State of Cali-
                                   fornia, State of Maine, State of
                                   Maryland and State of Minnesota
                                   answering brief due 06/04/2018.
                                   Appellant’s optional reply brief is
                                   due 21 days after service of the
                                   answering brief.       [10738887]




                                                                            AR2423
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                                     8413



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                 DATE      NUMBER PROCEEDINGS
                                   (HC) [Entered:          01/25/2018
                                   02:42 PM]
                 1/26/18      3    Filed clerk order (Deputy Clerk:
                                   MCD): The court sua sponte
                                   expedites appeal Nos. 18-15128,
                                   18-15133, 18-15134, and consoli-
                                   dates them with pending consol-
                                   idated appeal Nos. 18-15068,
                                   18-15069, 18-15070, 18-15071, and
                                   18-15072. The Clerk shall up-
                                   date the docket accordingly.
                                   The following briefing schedule
                                   shall apply to the consolidated
                                   appeals: the consolidated first
                                   brief on cross-appeal by Defen-
                                   dants is due February 13, 2018.
                                   The consolidated second brief on
                                   cross-appeal by Plaintiffs is due
                                   March 13, 2018. The consoli-
                                   dated third brief on cross-appeal
                                   by Defendants is due April 10,
                                   2018. The consolidated optional
                                   fourth brief on cross-appeal by
                                   Plaintiffs is due within 21 days
                                   after service of the third brief on
                                   cross-appeal. All parties on a
                                   side are encouraged to join in a
                                   single brief to the greatest ex-
                                   tent practicable. See 9th Cir. R.
                                   28-4. This order is without pre-
                                   judice to any party moving for
                                   appropriate relief following res-
                                   olution of the petition for a writ




                                                                            AR2424
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 147 of 1030 PageID #:
                                     8414



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      of certiorari in Supreme Court
                                      Case No. 17-1003. [10740072]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *     *   *
                 2/13/18     17       Submitted (ECF) First Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen,
                                      USA and USDHS in 18-15069,
                                      Appellants Kirstjen Nielsen,
                                      Donald J. Trump and USA in
                                      18-15070, Appellants Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and USDHS in 18-15071, Appel-
                                      lants Kirstjen Nielsen, Jefferson
                                      B. Sessions, III, Donald J.
                                      Trump and USDHS in 18-15072,
                                      18-15128.     Date of service:
                                      02/13/2018. [10762501] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134]—[COURT UPDATE:
                                      Attached corrected PDF of brief.
                                      02/15/2018 by RY] (Stern, Mark)
                                      [Entered: 02/13/2018 01:40 PM]
                 2/13/18     18       Submitted (ECF) excerpts of
                                      record.    Submitted by Appel-
                                      lants Kirstjen Nielsen, Donald J.




                                                                            AR2425
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                                     8415



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Trump, USA and USDHS in
                                      18-15128, Appellees Kirstjen
                                      Nielsen, Donald J. Trump, USA
                                      and    USDHS      in    18-15133,
                                      18-15134. Date of service:
                                      02/13/2018. [10762529] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *     *   *
                 3/13/18     25       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review. Sub-
                                      mitted by Appellees State of Cal-
                                      ifornia, State of Maine, State of
                                      Maryland and State of Minnesota
                                      in 18-15069, Appellants State of
                                      California, State of Maine, State
                                      of Maryland and State of Min-
                                      nesota in 18-15133, 18-15128.
                                      Date of service:      03/13/2018.
                                      [10797115] [18-15068, 18-15069,
                                      18-15133,    18-15128]—[COURT
                                      UPDATE: Spread docket text
                                      to 18-15070, 18-15071, 18-15072,
                                      18-15134. 03/14/2018 by RY]
                                      (Mongan, Michael) [Entered:
                                      03/13/2018 04:24 PM]
                 3/13/18     26       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Janet
                                      Napolitano and Regents of the




                                                                            AR2426
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 149 of 1030 PageID #:
                                     8416



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   University of California in
                                   18-15068, Appellee City of San
                                   Jose in 18-15070, Appellees Janet
                                   Napolitano, Regents of the Uni-
                                   versity of California and City of
                                   San Jose in 18-15128, Appellants
                                   Janet Napolitano, Regents of the
                                   University of California and City
                                   of San Jose in 18-15133. Date of
                                   service: 03/13/2018. [10797237]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:14 PM]
                 3/13/18     27    Submitted (ECF) supplemental
                                   excerpts of record. Submitted
                                   by Appellees Janet Napolitano
                                   and Regents of the University of
                                   California in 18-15068, Appellee
                                   State of California in 18-15069,
                                   Appellee City of San Jose in
                                   18-15070, Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce




                                                                            AR2427
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                                     8417



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Garcia, Saul Jimenez Suarez,
                                      Jirayut Latthivongskorn, Janet
                                      Napolitano, Norma Ramirez,
                                      Regents of the University of
                                      California, Service Employees
                                      International Union Local 521
                                      and State of California in
                                      18-15128, Appellants Viridiana
                                      Chabolla Mendoza, City of San
                                      Jose, Dulce Garcia, Miriam Gon-
                                      zalez Avila, Saul Jimenez Suarez,
                                      Jirayut Latthivongskorn, Janet
                                      Napolitano, Norma Ramirez, Re-
                                      gents of the University of Cali-
                                      fornia and State of California in
                                      18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service
                                      Employees International Union
                                      Local 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797304]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (Davidson,
                                      Jeffrey) [Entered:     03/13/2018
                                      05:53 PM]
                                  *     *   *     *   *
                 3/13/18     29       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.




                                                                            AR2428
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 151 of 1030 PageID #:
                                     8418



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Submitted by Appellees Viridi-
                                   ana Chabolla Mendoza, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Dulce Gar-
                                   cia in 18-15071, Appellees County
                                   of Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez, Service Em-
                                   ployees International Union
                                   Local 521 and Dulce Garcia in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Latthi-
                                   vongskorn and Norma Ramirez
                                   in 18-15133, Appellants Viridiana
                                   Chabolla Mendoza, County of
                                   Santa Clara, Dulce Garcia, Mir-
                                   iam Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15134. Date of
                                   service: 03/13/2018. [10797416]
                                   [18-15068, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   —[COURT UPDATE: Spread




                                                                            AR2429
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                                     8419



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       docket text to 18-15069, 18-15070.
                                       03/14/2018 by RY] (Boutrous,
                                       Theodore) [Entered: 03/13/2018
                                       08:41 PM]
                                   *     *   *     *   *
                 4/3/18      117       Submitted (ECF) Third Brief on
                                       Cross-Appeal for review. Sub-
                                       mitted by Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen,
                                       USA and USDHS in 18-15069,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump and USA in
                                       18-15070, Appellants Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and USDHS in 18-15071, Appel-
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J. Trump
                                       and    USDHS       in    18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS       in    18-15133,
                                       18-15134.      Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *     *   *
                 4/17/18     122       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-




                                                                            AR2430
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 153 of 1030 PageID #:
                                     8420



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       mitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Minne-
                                       sota in 18-15069, 18-15128, Ap-
                                       pellants State of California, State
                                       of Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:        04/17/2018.
                                       [10839746] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Mongan, Michael) [Entered:
                                       04/17/2018 12:02 PM]
                                   *     *   *     *   *
                 4/17/18     124       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Janet Napo-
                                       litano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-
                                       vice:    04/17/2018.    [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:      04/17/2018
                                       01:41 PM]
                                   *     *   *     *   *




                                                                             AR2431
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 154 of 1030 PageID #:
                                     8421



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 4/17/18     126   Submitted (ECF) Cross-Appeal
                                   Reply Brief for review. Sub-
                                   mitted by Appellees Dulce Gar-
                                   cia, Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Latthi-
                                   vongskorn and Norma Ramirez
                                   in 18-15071, Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   County of Santa Clara, Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn, Norma Rami-
                                   rez and Service Employees In-
                                   ternational Union Local 521 in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Lat-
                                   thivongskorn and Norma Rami-
                                   rez in 18-15133, Appellants Viri-
                                   diana Chabolla Mendoza, County
                                   of Santa Clara, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Lat-
                                   thivongskorn, Norma Ramirez
                                   and Service Employees Interna-
                                   tional Union Local 521 in
                                   18-15134.     Date of service:
                                   04/17/2018. [10840409] [18-15068,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134, 18-15069,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 155 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15070] (Boutrous, Theodore)
                                       [Entered: 04/17/2018 03:49 PM]
                                   *     *   *     *   *
                 4/25/18     132       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez, Jira-
                                       yut Latthivongskorn and Norma
                                       Ramirez in 18-15133, 18-15134 ci-
                                       tation of supplemental authori-
                                       ties. Date of service: 04/25/2018.
                                       [10849629] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Boutrous, Theodore) [Entered:
                                       04/25/2018 08:55 AM]
                                   *     *   *     *   *
                 4/25/18     134       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez,




                                                                            AR2433
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                                     8423



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Jirayut Latthivongskorn and
                                       Norma Ramirez in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10851189] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT ENTERED
                                       FILING to correct entry [149].]
                                       (RY) [Entered: 04/25/2018 04:36
                                       PM]
                 4/26/18     135       Filed (ECF) Appellees Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       18-15128, Appellants Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15133
                                       citation of supplemental authori-
                                       ties. Date of service: 04/26/2018.
                                       [10852623] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       04/26/2018 03:05 PM]
                                   *     *   *     *   *
                 5/1/18      140       Filed clerk order (Deputy Clerk:
                                       OC): The parties are ordered to
                                       submit supplemental briefs of no
                                       more than fifteen double-spaced
                                       pages addressing the effect of
                                       Heckler v. Chaney, 470 U.S. 821,
                                       833 n.4 (1985), and Montana Air




                                                                            AR2434
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                                     8424



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Chapter No. 29 v. FLRA, 898
                                       F.2d 753, 756–57 (9th Cir. 1990),
                                       on the question whether 5 U.S.C.
                                       § 701(a)(2) bars judicial review of
                                       the Department of Homeland
                                       Security’s rescission of the De-
                                       ferred Action for Childhood Ar-
                                       rivals program.      The parties
                                       should consider whether the re-
                                       scission is judicially reviewable
                                       as a general enforcement policy,
                                       rather than as a single-shot non-
                                       enforcement decision.          See
                                       Crowley Caribbean Transp., Inc.
                                       v. Pena, 37 F.3d 671, 676 (D.C.
                                       Cir. 1994); NAACP v. Trump,
                                       Nos. 17-1907 & 17-2325, 2018 WL
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the stan-
                                       dard in Crowley). The briefs
                                       shall be filed on or before May
                                       11, 2018. [10857346] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134, 18-80037] (OC) [En-
                                       tered: 05/01/2018 12:58 PM]
                                   *     *   *     *   *
                 5/11/18     149       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 158 of 1030 PageID #:
                                     8425



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Suarez, Jirayut Latthivongskorn
                                   and Norma Ramirez in 18-15071,
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul Ji-
                                   menez Suarez, Jirayut Latthi-
                                   vongskorn and Norma Ramirez
                                   in 18-15133, 18-15134. Date of
                                   service: 05/11/2018. [10870059]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Boutrous,
                                   Theodore) [Entered: 05/11/2018
                                   02:28 PM]
                 5/11/18     150   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellants Kirstjen Nielsen and
                                   USDHS in 18-15068, Appellants
                                   Kirstjen Nielsen, USA and
                                   USDHS in 18-15069, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and USDHS
                                   in 18-15072, 18-15128, Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15133, 18-15134.     Date of
                                   service: 05/11/2018. [10870142]
                                   [18-15068, 18-15069, 18-15070,




                                                                            AR2436
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                                     8426



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Stern, Mark)
                                       [Entered: 05/11/2018 03:04 PM]
                 5/11/18     151       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Janet Napolitano and
                                       Regents of the University of Cal-
                                       ifornia in 18-15068, Appellee City
                                       of San Jose in 18-15070, Appel-
                                       lees City of San Jose, Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15128.
                                       Date of service:       05/11/2018.
                                       [10870151] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *     *   *
                 5/11/18     155       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:     05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 160 of 1030 PageID #:
                                     8427



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       —[COURT UPDATE:               At-
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]
                                   *     *   *     *   *
                 5/15/18     162       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,     JACQUELINE         H.
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]
                                   *     *   *     *   *
                 5/21/18     165       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-
                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15134]—[COURT UPDATE:
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-
                                       enbaum,      Mark)    [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *     *   *
                 6/22/18     167       Filed (ECF) Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen, USA
                                       and USDHS in 18-15069, Appel-
                                       lants Kirstjen Nielsen, Donald J.
                                       Trump and USA in 18-15070,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump, USA and
                                       USDHS in 18-15071, Appellants
                                       Kirstjen Nielsen, Donald J.
                                       Trump, Jefferson B. Sessions,
                                       III and USDHS in 18-15072,
                                       18-15128 citation of supplemental
                                       authorities.    Date of service:
                                       06/22/2018. [10919589] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Wright, Abby) [En-
                                       tered: 06/22/2018 04:04 PM]
                 6/28/18     168       Filed (ECF) Appellees USA,
                                       USDHS, Donald J. Trump and
                                       Kirstjen Nielsen in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       06/28/2018. [10925146] [18-15068,




                                                                            AR2439
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 162 of 1030 PageID #:
                                     8429



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/28/2018 08:29 AM]
                 7/2/18      169   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18      170   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]




                                                                            AR2440
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                                     8430



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                 7/2/18      171   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.     Date of
                                   service: 07/02/2018. [10928704]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18      172   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]




                                                                            AR2441
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 164 of 1030 PageID #:
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   (Davidson, Jeffrey)     [Entered:
                                   07/09/2018 12:20 PM]
                 7/9/18      173   Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,
                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18      174   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 165 of 1030 PageID #:
                                     8432



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation
                                   of   supplemental     authorities.
                                   Date of service:       08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Wright,      Abby)     [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18      175   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]




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                                     8433



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                 8/7/18      176   Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/7/18     1177   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities. Date of ser-
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,




                                                                            AR2444
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 167 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]
                 8/10/18     178   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J.
                                   Trump and USDHS in 18-15072,
                                   18-15128, Appellees Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and    USDHS       in   18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   08/10/2018. [10972953] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 08/10/2018 10:43 AM]
                 9/13/18     179   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-




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                 DATE       NUMBER PROCEEDINGS
                                    ald J. Trump and Kirstjen Niel-
                                    sen in 18-15071, Appellants
                                    USDHS, Donald J. Trump, Jef-
                                    ferson B. Sessions, III and
                                    Kirstjen Nielsen in 18-15072,
                                    18-15128,     Appellees     USA,
                                    USDHS, Donald J. Trump and
                                    Kirstjen Nielsen in 18-15133,
                                    18-15134 citation of supplemental
                                    authorities.    Date of service:
                                    09/13/2018. [11010690] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Wright, Abby) [En-
                                    tered: 09/13/2018 01:33 PM]
                 9/17/18      180   Filed (ECF) Appellees Janet Na-
                                    politano and Regents of the Uni-
                                    versity of California in 18-15068,
                                    18-15128 citation of supplemental
                                    authorities.    Date of service:
                                    09/17/2018. [11014639] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Davidson, Jeffrey)
                                    [Entered: 09/17/2018 04:40 PM]
                 10/17/18     181   Filed (ECF) Appellants Kirstjen
                                    Nielsen, Donald J. Trump, USA
                                    and USDHS in 18-15128, Appel-
                                    lees Kirstjen Nielsen, Donald J.
                                    Trump, USA and USDHS in
                                    18-15133, 18-15134 Correspond-
                                    ence: Notice of intent to peti-




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                                     8436



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       tion the Supreme Court for a
                                       writ of certiorari before judg-
                                       ment absent ruling from this
                                       Court..      Date of service:
                                       10/17/2018 [11049590] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 10/17/2018 07:15 AM]
                                   *     *   *     *   *
                 11/8/18     183       FILED OPINION (KIM MC-
                                       LANE WARDLAW, JACQUE-
                                       LINE H. NGUYEN and JOHN B.
                                       OWENS) AFFIRMED. Judge:
                                       KMW Authoring, Judge: JBO
                                       Concurring.      FILED AND
                                       ENTERED           JUDGMENT.
                                       [11081386] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (RMM) [Entered:      11/08/2018
                                       09:44 AM]
                                   *     *   *     *   *
                 2/25/19     188       MANDATE ISSUED. (KMW,
                                       JHN and JBO) [11206269]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (QDL) [En-
                                       tered: 02/25/2019 01:06 PM]
                                   *     *   *     *   *




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                                     8437



                                         162

                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


                                 Docket No. 18-15133
                    REGENTS OF THE UNIVERSITY OF OF CALIFORNIA;
                   JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                    PRESIDENT OF THE UNIVERSITY OF CALIFORNIA;
                   STATE OF CALIFORNIA; STATE OF MAINE; STATE OF
                  MINNESOTA; STATE OF MARYLAND; CITY OF SAN JOSE;
                    DULCE GARCIA; MIRIAM GONZALEZ AVILA; SAUL
                  JIMENEZ SUAREZ; VIRIDIANA CHABOLLA MENDOZA;
                     JIRAYUT LATTHIVONGSKORN; NORMA RAMIREZ,
                               PLAINTIFFS-APPELLEES
                                         v.
                    UNITED STATES OF AMERICA; DONALD J. TRUMP,
                    IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE
                   UNITED STATES; U.S. DEPARTMENT OF HOMELAND
                    SECURITY; KIRSTJEN NIELSEN, IN HER OFFICIAL
                        CAPACITY AS ACTING SECRETARY OF THE
                        DEPARTMENT OF HOMELAND SECURITY,
                              DEFENDANTS-APPELLANTS



                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/25/18        1    Filed in 18-80007: Filed order
                                     (CARLOS T. BEA and RICH-
                                     ARD A. PAEZ) The petition for
                                     permission to appeal pursuant to
                                     28 U.S.C. § 1292(b) is granted.
                                     Within 14 days after the date of
                                     this order, petitioners shall per-
                                     fect the appeal in accordance
                                     with Federal Rule of Appellate




                                                                            AR2448
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 171 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Procedure 5(d). [10739055] (HC)
                                      [Entered: 01/25/2018 03:36 PM]
                 1/25/18      2       DOCKETED CAUSE AND
                                      ENTERED         APPEARANCES
                                      OF COUNSEL.          SEND MQ:
                                      Yes.     The schedule is set as
                                      follows:     Mediation Question-
                                      naire due on 02/01/2018. Tran-
                                      script ordered by 02/26/2018.
                                      Transcript due 03/26/2018. Ap-
                                      pellants Viridiana Chabolla Men-
                                      doza, City of San Jose, Dulce
                                      Garcia, Miriam Gonzalez Avila,
                                      Saul Jimenez Suarez, Jirayut
                                      Latthivongskorn, Janet Napoli-
                                      tano, Norma Ramirez, Regents
                                      of the University of California,
                                      State of California, State of
                                      Maine, State of Maryland and
                                      State of Minnesota opening brief
                                      due      05/07/2018.    Appellees
                                      Kirstjen Nielsen, Donald J.
                                      Trump, U.S. Department of
                                      Homeland Security and United
                                      States of America answering
                                      brief due 06/04/2018.       Appel-
                                      lant’s optional reply brief is due
                                      21 days after service of the an-
                                      swering brief. [10739066] (HC)
                                      [Entered: 01/25/2018 03:38 PM]
                                  *     *   *     *   *




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                 DATE      NUMBER PROCEEDINGS
                 1/26/18      3    Filed clerk order (Deputy Clerk:
                                   MCD): The court sua sponte
                                   expedites appeal Nos. 18-15128,
                                   18-15133, 18-15134, and consoli-
                                   dates them with pending consol-
                                   idated appeal Nos. 18-15068,
                                   18-15069, 18-15070, 18-15071, and
                                   18-15072. The Clerk shall up-
                                   date the docket accordingly.
                                   The following briefing schedule
                                   shall apply to the consolidated
                                   appeals: the consolidated first
                                   brief on cross-appeal by Defen-
                                   dants is due February 13, 2018.
                                   The consolidated second brief on
                                   cross-appeal by Plaintiffs is due
                                   March 13, 2018. The consoli-
                                   dated third brief on cross-appeal
                                   by Defendants is due April 10,
                                   2018. The consolidated optional
                                   fourth brief on cross-appeal by
                                   Plaintiffs is due within 21 days
                                   after service of the third brief on
                                   cross-appeal. All parties on a
                                   side are encouraged to join in a
                                   single brief to the greatest ex-
                                   tent practicable. See 9th Cir. R.
                                   28-4.     This order is without
                                   prejudice to any party moving
                                   for appropriate relief following
                                   resolution of the petition for a
                                   writ of certiorari in Supreme Court
                                   Case No. 17-1003. [10740072]




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                 DATE      NUMBER PROCEEDINGS
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *     *   *
                 2/13/18     18       Submitted (ECF) First Brief on
                                      Cross-Appeal for review. Sub-
                                      mitted by Appellants Kirstjen
                                      Nielsen and USDHS in 18-15068,
                                      Appellants Kirstjen Nielsen, USA
                                      and USDHS in 18-15069, Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump and USA in 18-15070, Ap-
                                      pellants Kirstjen Nielsen, Don-
                                      ald J. Trump, USA and USDHS
                                      in 18-15071, Appellants Kirstjen
                                      Nielsen, Jefferson B. Sessions,
                                      III, Donald J. Trump and
                                      USDHS in 18-15072, 18-15128.
                                      Date of service:      02/13/2018.
                                      [10762501] [18-15068, 18-15069,
                                      18-15070, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Attached
                                      corrected PDF of brief. 02/15/
                                      2018 by RY] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:40 PM]
                 2/13/18     19       Submitted (ECF) excerpts of
                                      record.    Submitted by Appel-
                                      lants Kirstjen Nielsen, Donald J.
                                      Trump, USA and USDHS in
                                      18-15128, Appellees Kirstjen




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                                     8441



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Nielsen, Donald J. Trump, USA
                                      and    USDHS      in    18-15133,
                                      18-15134.     Date of service:
                                      02/13/2018. [10762529] [18-15068,
                                      18-15069, 18-15070, 18-15071,
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *     *   *
                 3/13/18     26       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review. Sub-
                                      mitted by Appellees State of Cal-
                                      ifornia, State of Maine, State of
                                      Maryland and State of Minnesota
                                      in 18-15069, Appellants State of
                                      California, State of Maine, State
                                      of Maryland and State of Min-
                                      nesota in 18-15133, 18-15128.
                                      Date of service:      03/13/2018.
                                      [10797115] [18-15068, 18-15069,
                                      18-15133,    18-15128]—[COURT
                                      UPDATE: Spread docket text
                                      to 18-15070, 18-15071, 18-15072,
                                      18-15134. 03/14/2018 by RY]
                                      (Mongan, Michael) [Entered:
                                      03/13/2018 04:24 PM]
                 3/13/18     27       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Janet
                                      Napolitano and Regents of the
                                      University of California in
                                      18-15068, Appellee City of San




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 175 of 1030 PageID #:
                                     8442



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Jose in 18-15070, Appellees Janet
                                   Napolitano, Regents of the Uni-
                                   versity of California and City of
                                   San Jose in 18-15128, Appellants
                                   Janet Napolitano, Regents of the
                                   University of California and City
                                   of San Jose in 18-15133. Date of
                                   service: 03/13/2018. [10797237]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Davidson,
                                   Jeffrey) [Entered:     03/13/2018
                                   05:14 PM]
                 3/13/18     28    Submitted (ECF) supplemental
                                   excerpts of record. Submitted
                                   by Appellees Janet Napolitano
                                   and Regents of the University of
                                   California in 18-15068, Appellee
                                   State of California in 18-15069,
                                   Appellee City of San Jose in
                                   18-15070, Appellees Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce
                                   Garcia, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Napolitano, Norma Ramirez,
                                      Regents of the University of
                                      California, Service Employees
                                      International Union Local 521
                                      and State of California in
                                      18-15128, Appellants Viridiana
                                      Chabolla Mendoza, City of San
                                      Jose, Dulce Garcia, Miriam Gon-
                                      zalez Avila, Saul Jimenez Suarez,
                                      Jirayut Latthivongskorn, Janet
                                      Napolitano, Norma Ramirez, Re-
                                      gents of the University of Cali-
                                      fornia and State of California in
                                      18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service
                                      Employees International Union
                                      Local 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797304]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (Davidson,
                                      Jeffrey) [Entered:     03/13/2018
                                      05:53 PM]
                                  *     *   *     *   *
                 3/13/18     30       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Viridi-
                                      ana Chabolla Mendoza, Miriam




                                                                            AR2454
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Dulce Gar-
                                   cia in 18-15071, Appellees County
                                   of Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   Viridiana Chabolla Mendoza,
                                   County of Santa Clara, Miriam
                                   Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez, Service Em-
                                   ployees International Union
                                   Local 521 and Dulce Garcia in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Latthi-
                                   vongskorn and Norma Ramirez
                                   in 18-15133, Appellants Viridiana
                                   Chabolla Mendoza, County of
                                   Santa Clara, Dulce Garcia, Mir-
                                   iam Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15134. Date of
                                   service: 03/13/2018. [10797416]
                                   [18-15068, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   —[COURT UPDATE: Spread
                                   docket text to 18-15069, 18-15070.
                                   03/14/2018 by RY] (Boutrous,




                                                                            AR2455
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Theodore) [Entered:    03/13/2018
                                       08:41 PM]
                                   *     *   *     *   *
                 4/3/18      118       Submitted (ECF) Third Brief on
                                       Cross-Appeal for review. Sub-
                                       mitted by Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen,
                                       USA and USDHS in 18-15069,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump and USA in
                                       18-15070, Appellants Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and USDHS in 18-15071, Appel-
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J. Trump
                                       and    USDHS       in    18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS       in    18-15133,
                                       18-15134.      Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *     *   *
                 4/17/18     123       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees State of
                                       California, State of Maine, State




                                                                            AR2456
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                                     8446



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       of Maryland and State of Minne-
                                       sota in 18-15069, 18-15128, Ap-
                                       pellants State of California, State
                                       of Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:        04/17/2018.
                                       [10839746] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Mongan, Michael) [Entered:
                                       04/17/2018 12:02 PM]
                                   *     *   *     *   *
                 4/17/18     125       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Janet Napo-
                                       litano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-
                                       vice:    04/17/2018.    [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:      04/17/2018
                                       01:41 PM]
                                   *     *   *     *   *
                 4/17/18     127       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-




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                                     8447



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   mitted by Appellees Dulce Gar-
                                   cia, Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Latthi-
                                   vongskorn and Norma Ramirez
                                   in 18-15071, Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union
                                   Local 521 in 18-15072, Appellees
                                   County of Santa Clara, Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn, Norma Rami-
                                   rez and Service Employees In-
                                   ternational Union Local 521 in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Lat-
                                   thivongskorn and Norma Rami-
                                   rez in 18-15133, Appellants Viri-
                                   diana Chabolla Mendoza, County
                                   of Santa Clara, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Lat-
                                   thivongskorn, Norma Ramirez
                                   and Service Employees Interna-
                                   tional Union Local 521 in
                                   18-15134.     Date of service:
                                   04/17/2018. [10840409] [18-15068,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134, 18-15069,
                                   18-15070] (Boutrous, Theodore)
                                   [Entered: 04/17/2018 03:49 PM]




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                   *     *   *     *   *
                 4/25/18     133       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez, Jira-
                                       yut Latthivongskorn and Norma
                                       Ramirez in 18-15133, 18-15134 ci-
                                       tation of supplemental authori-
                                       ties. Date of service: 04/25/2018.
                                       [10849629] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Boutrous, Theodore) [Entered:
                                       04/25/2018 08:55 AM]
                                   *     *   *     *   *
                 4/25/18     135       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez,
                                       Jirayut Latthivongskorn and
                                       Norma Ramirez in 18-15133,




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                                     8449



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10851189] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT ENTERED
                                       FILING to correct entry [149].]
                                       (RY) [Entered: 04/25/2018 04:36
                                       PM]
                 4/26/18     136       Filed (ECF) Appellees Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       18-15128, Appellants Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15133
                                       citation of supplemental authori-
                                       ties. Date of service: 04/26/2018.
                                       [10852623] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       04/26/2018 03:05 PM]
                                   *     *   *     *   *
                 5/1/18      141       Filed clerk order (Deputy Clerk:
                                       OC): The parties are ordered to
                                       submit supplemental briefs of no
                                       more than fifteen double-spaced
                                       pages addressing the effect of
                                       Heckler v. Chaney, 470 U.S. 821,
                                       833 n.4 (1985), and Montana Air
                                       Chapter No. 29 v. FLRA, 898
                                       F.2d 753, 756–57 (9th Cir. 1990),




                                                                            AR2460
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                                       on the question whether 5 U.S.C.
                                       § 701(a)(2) bars judicial review of
                                       the Department of Homeland
                                       Security’s rescission of the De-
                                       ferred Action for Childhood Ar-
                                       rivals program.      The parties
                                       should consider whether the re-
                                       scission is judicially reviewable
                                       as a general enforcement policy,
                                       rather than as a single-shot non-
                                       enforcement decision.          See
                                       Crowley Caribbean Transp., Inc.
                                       v. Pena, 37 F.3d 671, 676 (D.C.
                                       Cir. 1994); NAACP v. Trump,
                                       Nos. 17-1907 & 17-2325, 2018 WL
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the stan-
                                       dard in Crowley). The briefs
                                       shall be filed on or before May
                                       11, 2018. [10857346] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134, 18-80037] (OC) [En-
                                       tered: 05/01/2018 12:58 PM]
                                   *     *   *     *   *
                 5/11/18     150       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15071,




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                                     8451



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul Ji-
                                   menez Suarez, Jirayut Latthi-
                                   vongskorn and Norma Ramirez
                                   in 18-15133, 18-15134. Date of
                                   service: 05/11/2018. [10870059]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Boutrous,
                                   Theodore) [Entered: 05/11/2018
                                   02:28 PM]
                 5/11/18     151   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellants Kirstjen Nielsen and
                                   USDHS in 18-15068, Appellants
                                   Kirstjen Nielsen, USA and
                                   USDHS in 18-15069, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and USDHS
                                   in 18-15072, 18-15128, Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15133, 18-15134.     Date of
                                   service: 05/11/2018. [10870142]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,




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                 DATE      NUMBER PROCEEDINGS
                                       18-15133, 18-15134] (Stern, Mark)
                                       [Entered: 05/11/2018 03:04 PM]
                 5/11/18     152       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Janet Napolitano and
                                       Regents of the University of Cal-
                                       ifornia in 18-15068, Appellee City
                                       of San Jose in 18-15070, Appel-
                                       lees City of San Jose, Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15128.
                                       Date of service:       05/11/2018.
                                       [10870151] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *     *   *
                 5/11/18     156       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:     05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE:              At-




                                                                            AR2463
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                                     8453



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]
                                   *     *   *     *   *
                 5/15/18     163       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,     JACQUELINE         H.
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]
                                   *     *   *     *   *
                 5/21/18     166       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-
                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT UPDATE:




                                                                            AR2464
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 187 of 1030 PageID #:
                                     8454



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-
                                       enbaum,      Mark)    [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *     *   *
                 6/22/18     168       Filed (ECF) Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen, USA
                                       and USDHS in 18-15069, Appel-
                                       lants Kirstjen Nielsen, Donald J.
                                       Trump and USA in 18-15070,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump, USA and
                                       USDHS in 18-15071, Appellants
                                       Kirstjen Nielsen, Donald J.
                                       Trump, Jefferson B. Sessions,
                                       III and USDHS in 18-15072,
                                       18-15128 citation of supplemental
                                       authorities.    Date of service:
                                       06/22/2018. [10919589] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Wright, Abby) [En-
                                       tered: 06/22/2018 04:04 PM]
                 6/28/18     169       Filed (ECF) Appellees USA,
                                       USDHS, Donald J. Trump and
                                       Kirstjen Nielsen in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       06/28/2018. [10925146] [18-15068,
                                       18-15069, 18-15070, 18-15071,




                                                                            AR2465
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 188 of 1030 PageID #:
                                     8455



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 06/28/2018 08:29 AM]
                 7/2/18      170   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18      171   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]
                 7/2/18      172   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,




                                                                            AR2466
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 189 of 1030 PageID #:
                                     8456



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.     Date of
                                   service: 07/02/2018. [10928704]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18      173   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/09/2018 12:20 PM]




                                                                            AR2467
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 190 of 1030 PageID #:
                                     8457



                                        182

                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                 7/9/18      174   Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,
                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18      175   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen




                                                                            AR2468
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 191 of 1030 PageID #:
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation
                                   of   supplemental     authorities.
                                   Date of service:       08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Wright,      Abby)     [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18      176   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]
                 8/7/18      177   Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in




                                                                            AR2469
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 192 of 1030 PageID #:
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/7/18      178   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities. Date of ser-
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]




                                                                            AR2470
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                                     8460



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 8/10/18     179   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J.
                                   Trump and USDHS in 18-15072,
                                   18-15128, Appellees Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and    USDHS       in   18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   08/10/2018. [10972953] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 08/10/2018 10:43 AM]
                 9/13/18     180   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-
                                   ald J. Trump and Kirstjen Niel-
                                   sen in 18-15071, Appellants
                                   USDHS, Donald J. Trump, Jef-




                                                                            AR2471
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                                     8461



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                    ferson B. Sessions, III and
                                    Kirstjen Nielsen in 18-15072,
                                    18-15128,     Appellees     USA,
                                    USDHS, Donald J. Trump and
                                    Kirstjen Nielsen in 18-15133,
                                    18-15134 citation of supplemental
                                    authorities.    Date of service:
                                    09/13/2018. [11010690] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Wright, Abby) [En-
                                    tered: 09/13/2018 01:33 PM]
                 9/17/18      181   Filed (ECF) Appellees Janet Na-
                                    politano and Regents of the Uni-
                                    versity of California in 18-15068,
                                    18-15128 citation of supplemental
                                    authorities.    Date of service:
                                    09/17/2018. [11014639] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Davidson, Jeffrey)
                                    [Entered: 09/17/2018 04:40 PM]
                 10/17/18     182   Filed (ECF) Appellants Kirstjen
                                    Nielsen, Donald J. Trump, USA
                                    and USDHS in 18-15128, Appel-
                                    lees Kirstjen Nielsen, Donald J.
                                    Trump, USA and USDHS in
                                    18-15133, 18-15134 Correspond-
                                    ence: Notice of intent to peti-
                                    tion the Supreme Court for a
                                    writ of certiorari before judg-
                                    ment absent ruling from this




                                                                            AR2472
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 195 of 1030 PageID #:
                                     8462



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Court..      Date of service:
                                       10/17/2018 [11049590] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 10/17/2018 07:15 AM]
                 11/8/18     183       FILED OPINION (KIM MC-
                                       LANE WARDLAW, JACQUE-
                                       LINE H. NGUYEN and JOHN B.
                                       OWENS) AFFIRMED. Judge:
                                       KMW Authoring, Judge: JBO
                                       Concurring.      FILED AND
                                       ENTERED           JUDGMENT.
                                       [11081386] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (RMM) [Entered:      11/08/2018
                                       09:44 AM]
                                   *     *   *     *   *
                 2/25/19     188       MANDATE ISSUED. (KMW,
                                       JHN and JBO) [11206269]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (QDL) [En-
                                       tered: 02/25/2019 01:06 PM]
                                   *     *   *     *   *




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 196 of 1030 PageID #:
                                     8463



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                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


                                Docket No. 18-15134
                      DULCE GARCIA; MIRIAM GONZALEZ AVILA;
                    SAUL JIMENEZ SUAREZ; VIRIDIANA CHABOLLA
                        MENDOZA; NORMA RAMIREZ; JIRAYUT
                    LATTHIVONGSKORN; COUNTY OF SANTA CLARA;
                  SERVICE EMPLOYEES INTERNATIONAL UNION LOCAL
                            521, PLAINTIFFS-APPELLEES
                                         v.
                   UNITED STATES OF AMERICA; DONALD J. TRUMP, IN
                  HIS OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                  STATES; U.S. DEPARTMENT OF HOMELAND SECURITY;
                   KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY AS
                      ACTING SECRETARY OF THE DEPARTMENT OF
                    HOMELAND SECURITY, DEFENDANTS-APPELLANTS


                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/25/18        1    Filed in 18-80008: Filed order
                                     (RICHARD A. PAEZ and
                                     CARLOS T. BEA) The petition
                                     for permission to appeal pursu-
                                     ant to 28 U.S.C. § 1292(b) is
                                     granted. Within 14 days after
                                     the date of this order, petitioners
                                     shall perfect the appeal in ac-
                                     cordance with Federal Rule of
                                     Appellate      Procedure       5(d).
                                     [10739139]     (HC)      [Entered:
                                     01/25/2018 04:01 PM]




                                                                            AR2474
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 197 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                 1/25/18      2    DOCKETED CAUSE AND EN-
                                   TERED APPEARANCES OF
                                   COUNSEL. SEND MQ: Yes.
                                   The schedule is set as follows:
                                   Mediation Questionnaire due on
                                   02/01/2018. Transcript ordered
                                   by 02/26/2018. Transcript due
                                   03/26/2018.    Appellants Viridi-
                                   ana Chabolla Mendoza, County
                                   of Santa Clara, Dulce Garcia,
                                   Miriam Gonzalez Avila, Saul
                                   Jimenez Suarez, Jirayut Lat-
                                   thivongskorn, Norma Ramirez
                                   and Service Employees Interna-
                                   tional Union Local 521 opening
                                   brief due 05/07/2018. Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, U.S. Department of
                                   Homeland Security and United
                                   States of America answering
                                   brief due 06/04/2018.       Appel-
                                   lant’s optional reply brief is due
                                   21 days after service of the an-
                                   swering brief. [10739148] (HC)
                                   [Entered: 01/25/2018 04:03 PM]
                 1/26/18      3    Filed clerk order (Deputy Clerk:
                                   MCD): The court sua sponte
                                   expedites appeal Nos. 18-15128,
                                   18-15133, 18-15134, and consoli-
                                   dates them with pending consol-
                                   idated appeal Nos. 18-15068,
                                   18-15069, 18-15070, 18-15071, and




                                                                            AR2475
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 198 of 1030 PageID #:
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                                      18-15072. The Clerk shall up-
                                      date the docket accordingly.
                                      The following briefing schedule
                                      shall apply to the consolidated
                                      appeals: the consolidated first
                                      brief on cross-appeal by Defen-
                                      dants is due February 13, 2018.
                                      The consolidated second brief on
                                      cross-appeal by Plaintiffs is due
                                      March 13, 2018. The consoli-
                                      dated third brief on cross-appeal
                                      by Defendants is due April 10,
                                      2018. The consolidated optional
                                      fourth brief on cross-appeal by
                                      Plaintiffs is due within 21 days
                                      after service of the third brief on
                                      cross-appeal. All parties on a
                                      side are encouraged to join in a
                                      single brief to the greatest ex-
                                      tent practicable. See 9th Cir. R.
                                      28-4.     This order is without
                                      prejudice to any party moving
                                      for appropriate relief following
                                      resolution of the petition for a
                                      writ of certiorari in Supreme Court
                                      Case No. 17-1003. [10740072]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (AF) [En-
                                      tered: 01/26/2018 11:43 AM]
                                  *     *   *     *   *




                                                                            AR2476
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 199 of 1030 PageID #:
                                     8466



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 2/13/18     17    Submitted (ECF) First Brief on
                                   Cross-Appeal for review. Sub-
                                   mitted by Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen, USA
                                   and USDHS in 18-15069, Appel-
                                   lants Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and
                                   USDHS in 18-15072, 18-15128.
                                   Date of service:      02/13/2018.
                                   [10762501] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   —[COURT UPDATE: Attached
                                   corrected PDF of brief. 02/15/
                                   2018 by RY] (Stern, Mark) [En-
                                   tered: 02/13/2018 01:40 PM]
                 2/13/18     18    Submitted (ECF) excerpts of
                                   record.    Submitted by Appel-
                                   lants Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15128, Appellees Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and     USDHS      in   18-15133,
                                   18-15134.     Date of service:
                                   02/13/2018. [10762529] [18-15068,
                                   18-15069, 18-15070, 18-15071,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 200 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                                      18-15072, 18-15128, 18-15133,
                                      18-15134] (Stern, Mark) [En-
                                      tered: 02/13/2018 01:50 PM]
                                  *     *   *     *   *
                 3/13/18     25       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Janet
                                      Napolitano and Regents of the
                                      University of California in
                                      18-15068, Appellee City of San
                                      Jose in 18-15070, Appellees Janet
                                      Napolitano, Regents of the Uni-
                                      versity of California and City of
                                      San Jose in 18-15128, Appellants
                                      Janet Napolitano, Regents of the
                                      University of California and City
                                      of San Jose in 18-15133. Date of
                                      service: 03/13/2018. [10797237]
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (Davidson,
                                      Jeffrey) [Entered:     03/13/2018
                                      05:14 PM]
                 3/13/18     26       Submitted (ECF) supplemental
                                      excerpts of record. Submitted
                                      by Appellees Janet Napolitano
                                      and Regents of the University of
                                      California in 18-15068, Appellee
                                      State of California in 18-15069,
                                      Appellee City of San Jose in
                                      18-15070, Appellees Viridiana
                                      Chabolla Mendoza, Dulce Garcia,




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                                     8468



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                 DATE     NUMBER PROCEEDINGS
                                   Saul Jimenez Suarez, Jirayut
                                   Latthivongskorn and Norma
                                   Ramirez in 18-15071, Appellees
                                   County of Santa Clara and Ser-
                                   vice Employees International
                                   Union Local 521 in 18-15072,
                                   Appellees Viridiana Chabolla
                                   Mendoza, City of San Jose,
                                   County of Santa Clara, Dulce
                                   Garcia, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez,
                                   Regents of the University of
                                   California, Service Employees
                                   International Union Local 521
                                   and State of California in
                                   18-15128, Appellants Viridiana
                                   Chabolla Mendoza, City of San
                                   Jose, Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Jirayut Latthivongskorn, Janet
                                   Napolitano, Norma Ramirez, Re-
                                   gents of the University of Cali-
                                   fornia and State of California in
                                   18-15133, Appellants Viridiana
                                   Chabolla Mendoza, County of
                                   Santa Clara, Dulce Garcia, Mir-
                                   iam Gonzalez Avila, Saul Jimenez
                                   Suarez, Jirayut Latthivongskorn,
                                   Norma Ramirez and Service
                                   Employees International Union
                                   Local 521 in 18-15134. Date of
                                   service: 03/13/2018. [10797304]




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                 DATE      NUMBER PROCEEDINGS
                                      [18-15068, 18-15069, 18-15070,
                                      18-15071, 18-15072, 18-15128,
                                      18-15133, 18-15134] (Davidson,
                                      Jeffrey) [Entered:   03/13/2018
                                      05:53 PM]
                                  *     *   *     *   *
                 3/13/18     28       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees Viridi-
                                      ana Chabolla Mendoza, Miriam
                                      Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Dulce Gar-
                                      cia in 18-15071, Appellees County
                                      of Santa Clara and Service Em-
                                      ployees International Union
                                      Local 521 in 18-15072, Appellees
                                      Viridiana Chabolla Mendoza,
                                      County of Santa Clara, Miriam
                                      Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez, Service Em-
                                      ployees International Union
                                      Local 521 and Dulce Garcia in
                                      18-15128, Appellants Viridiana
                                      Chabolla Mendoza, Dulce Garcia,
                                      Miriam Gonzalez Avila, Saul
                                      Jimenez Suarez, Jirayut Latthi-
                                      vongskorn and Norma Ramirez
                                      in 18-15133, Appellants Viridiana
                                      Chabolla Mendoza, County of
                                      Santa Clara, Dulce Garcia, Mir-




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                                     8470



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      iam Gonzalez Avila, Saul Jimenez
                                      Suarez, Jirayut Latthivongskorn,
                                      Norma Ramirez and Service Em-
                                      ployees International Union Lo-
                                      cal 521 in 18-15134. Date of
                                      service: 03/13/2018. [10797416]
                                      [18-15068, 18-15071, 18-15072,
                                      18-15128, 18-15133, 18-15134]
                                      —[COURT UPDATE: Spread
                                      docket text to 18-15069, 18-15070.
                                      03/14/2018 by RY] (Boutrous,
                                      Theodore) [Entered: 03/13/2018
                                      08:41 PM]
                 3/13/18     30       Submitted (ECF) Second Brief
                                      on Cross-Appeal for review.
                                      Submitted by Appellees State of
                                      California, State of Maine, State
                                      of Maryland and State of Min-
                                      nesota in 18-15069, Appellants
                                      State of California, State of
                                      Maine, State of Maryland and
                                      State of Minnesota in 18-15133,
                                      18-15128. Date of service:
                                      03/13/2018. [10797115] [18-15068,
                                      18-15069, 18-15133, 18-15128]—
                                      [COURT UPDATE:            Spread
                                      docket     text    to   18-15070,
                                      18-15071, 18-15072, 18-15134.
                                      03/14/2018 by RY] (Mongan,
                                      Michael) [Entered: 03/13/2018
                                      04:24 PM]
                                  *     *   *     *   *




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 4/3/18      117       Submitted (ECF) Third Brief on
                                       Cross-Appeal for review. Sub-
                                       mitted by Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen,
                                       USA and USDHS in 18-15069,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump and USA in
                                       18-15070, Appellants Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and USDHS in 18-15071, Appel-
                                       lants Kirstjen Nielsen, Jefferson
                                       B. Sessions, III, Donald J.
                                       Trump and USDHS in 18-15072,
                                       18-15128, Appellees Kirstjen
                                       Nielsen, Donald J. Trump, USA
                                       and    USDHS      in    18-15133,
                                       18-15134.     Date of service:
                                       04/03/2018. [10822811] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Stern, Mark) [En-
                                       tered: 04/03/2018 01:55 PM]
                                   *     *   *     *   *
                 4/17/18     122       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees State of
                                       California, State of Maine, State
                                       of Maryland and State of Minne-
                                       sota in 18-15069, 18-15128, Ap-
                                       pellants State of California, State
                                       of Maine, State of Maryland and




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                 DATE      NUMBER PROCEEDINGS
                                       State of Minnesota in 18-15133.
                                       Date of service:     04/17/2018.
                                       [10839746] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Mongan, Michael) [Entered:
                                       04/17/2018 12:02 PM]
                                   *     *   *     *   *
                 4/17/18     124       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Janet Napo-
                                       litano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       Appellee City of San Jose in
                                       18-15070, Appellees Janet Napo-
                                       litano, Regents of the University
                                       of California and City of San
                                       Jose in 18-15128. Date of ser-
                                       vice:    04/17/2018.    [10840021]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (Davidson,
                                       Jeffrey) [Entered:      04/17/2018
                                       01:41 PM]
                                   *     *   *     *   *
                 4/17/18     126       Submitted (ECF) Cross-Appeal
                                       Reply Brief for review. Sub-
                                       mitted by Appellees Dulce Gar-
                                       cia, Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       in 18-15071, Appellees County of
                                       Santa Clara and Service Em-
                                       ployees International Union
                                       Local 521 in 18-15072, Appellees
                                       County of Santa Clara, Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Service Employees In-
                                       ternational Union Local 521 in
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn and Norma Rami-
                                       rez in 18-15133, Appellants Viri-
                                       diana Chabolla Mendoza, County
                                       of Santa Clara, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul
                                       Jimenez Suarez, Jirayut Lat-
                                       thivongskorn, Norma Ramirez
                                       and Service Employees Interna-
                                       tional Union Local 521 in
                                       18-15134.     Date of service:
                                       04/17/2018. [10840409] [18-15068,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134, 18-15069,
                                       18-15070] (Boutrous, Theodore)
                                       [Entered: 04/17/2018 03:49 PM]
                                   *     *   *     *   *
                 4/25/18     132       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,




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                 DATE      NUMBER PROCEEDINGS
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez, Jira-
                                       yut Latthivongskorn and Norma
                                       Ramirez in 18-15133, 18-15134 ci-
                                       tation of supplemental authori-
                                       ties. Date of service: 04/25/2018.
                                       [10849629] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Boutrous, Theodore) [Entered:
                                       04/25/2018 08:55 AM]
                                   *     *   *     *   *
                 4/25/18     134       Filed (ECF) Appellees Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-
                                       vongskorn and Norma Ramirez
                                       in 18-15071, 18-15128, Appellants
                                       Viridiana Chabolla Mendoza,
                                       Dulce Garcia, Miriam Gonzalez
                                       Avila, Saul Jimenez Suarez,
                                       Jirayut Latthivongskorn and
                                       Norma Ramirez in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       04/25/2018. [10851189] [18-15068,
                                       18-15069, 18-15070, 18-15071,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT ENTERED
                                       FILING to correct entry [149].]
                                       (RY) [Entered: 04/25/2018 04:36
                                       PM]
                 4/26/18     135       Filed (ECF) Appellees Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15068,
                                       18-15128, Appellants Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15133
                                       citation of supplemental authori-
                                       ties. Date of service: 04/26/2018.
                                       [10852623] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       04/26/2018 03:05 PM]
                                   *     *   *     *   *
                 5/1/18      140       Filed clerk order (Deputy Clerk:
                                       OC): The parties are ordered to
                                       submit supplemental briefs of no
                                       more than fifteen double-spaced
                                       pages addressing the effect of
                                       Heckler v. Chaney, 470 U.S. 821,
                                       833 n.4 (1985), and Montana Air
                                       Chapter No. 29 v. FLRA, 898
                                       F.2d 753, 756–57 (9th Cir. 1990),
                                       on the question whether 5 U.S.C.
                                       § 701(a)(2) bars judicial review of
                                       the Department of Homeland
                                       Security’s rescission of the De-




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                 DATE      NUMBER PROCEEDINGS
                                       ferred Action for Childhood Ar-
                                       rivals program.      The parties
                                       should consider whether the re-
                                       scission is judicially reviewable
                                       as a general enforcement policy,
                                       rather than as a single-shot non-
                                       enforcement decision.         See
                                       Crowley Caribbean Transp., Inc.
                                       v. Pena, 37 F.3d 671, 676 (D.C.
                                       Cir. 1994); NAACP v. Trump,
                                       Nos. 17-1907 & 17-2325, 2018 WL
                                       1920079, at *11–17 (D.D.C. Apr.
                                       24, 2018) (interpreting the stan-
                                       dard in Crowley). The briefs
                                       shall be filed on or before May
                                       11, 2018. [10857346] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134, 18-80037] (OC) [En-
                                       tered: 05/01/2018 12:58 PM]
                                   *     *   *     *   *
                 5/11/18     149       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees Viridiana Chabolla
                                       Mendoza, Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn
                                       and Norma Ramirez in 18-15071,
                                       18-15128, Appellants Viridiana
                                       Chabolla Mendoza, Dulce Garcia,
                                       Miriam Gonzalez Avila, Saul Ji-
                                       menez Suarez, Jirayut Latthi-




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                                     8477



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   vongskorn and Norma Ramirez
                                   in 18-15133, 18-15134. Date of
                                   service: 05/11/2018. [10870059]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Boutrous,
                                   Theodore) [Entered: 05/11/2018
                                   02:28 PM]
                 5/11/18     150   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by
                                   Appellants Kirstjen Nielsen and
                                   USDHS in 18-15068, Appellants
                                   Kirstjen Nielsen, USA and
                                   USDHS in 18-15069, Appellants
                                   Kirstjen Nielsen, Donald J.
                                   Trump and USA in 18-15070, Ap-
                                   pellants Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15071, Appellants Kirstjen
                                   Nielsen, Jefferson B. Sessions,
                                   III, Donald J. Trump and USDHS
                                   in 18-15072, 18-15128, Appellees
                                   Kirstjen Nielsen, Donald J.
                                   Trump, USA and USDHS in
                                   18-15133, 18-15134.      Date of
                                   service: 05/11/2018. [10870142]
                                   [18-15068, 18-15069, 18-15070,
                                   18-15071, 18-15072, 18-15128,
                                   18-15133, 18-15134] (Stern, Mark)
                                   [Entered: 05/11/2018 03:04 PM]
                 5/11/18     151   Submitted (ECF) Supplemental
                                   Brief for review. Submitted by




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                                     8478



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Appellees Janet Napolitano and
                                       Regents of the University of Cal-
                                       ifornia in 18-15068, Appellee City
                                       of San Jose in 18-15070, Appel-
                                       lees City of San Jose, Janet Na-
                                       politano and Regents of the Uni-
                                       versity of California in 18-15128.
                                       Date of service:       05/11/2018.
                                       [10870151] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (Davidson, Jeffrey) [Entered:
                                       05/11/2018 03:11 PM]
                                   *     *   *     *   *
                 5/11/18     155       Submitted (ECF) Supplemental
                                       Brief for review. Submitted by
                                       Appellees State of California,
                                       State of Maine, State of Mary-
                                       land and State of Minnesota in
                                       18-15069, 18-15128, Appellants
                                       State of California, State of
                                       Maine, State of Maryland and
                                       State of Minnesota in 18-15133.
                                       Date of service:       05/11/2018.
                                       [10870452] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       —[COURT UPDATE:                At-
                                       tached corrected brief. 5/14/2018
                                       by TYL] (Mongan, Michael) [En-
                                       tered: 05/11/2018 05:10 PM]




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                   *     *   *     *   *
                 5/15/18     162       ARGUED AND SUBMITTED
                                       TO KIM MCLANE WARD-
                                       LAW,     JACQUELINE         H.
                                       NGUYEN and JOHN B. OW-
                                       ENS.     [10873596] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Witt, Dusty) [En-
                                       tered: 05/15/2018 04:18 PM]
                                   *     *   *     *   *
                 5/21/18     165       Filed (ECF) Appellees Dulce
                                       Garcia, Miriam Gonzalez Avila,
                                       Saul Jimenez Suarez, Jirayut
                                       Latthivongskorn, Norma Rami-
                                       rez and Viridiana Chabolla Men-
                                       doza in 18-15071, 18-15128, Ap-
                                       pellants Dulce Garcia, Miriam
                                       Gonzalez Avila, Saul Jimenez
                                       Suarez, Jirayut Latthivongskorn,
                                       Norma Ramirez and Viridiana
                                       Chabolla Mendoza in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       05/21/2018. [10880216] [18-15068,
                                       18-15069, 18-15071, 18-15070,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134]—[COURT UPDATE:
                                       Attached searchable version of
                                       letter.   05/21/2018 by RY]—
                                       [Edited 05/21/2018 by RY] (Ros-




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 213 of 1030 PageID #:
                                     8480



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                 DATE      NUMBER PROCEEDINGS
                                       enbaum,      Mark)     [Entered:
                                       05/21/2018 02:59 PM]
                                   *     *   *     *   *
                 6/22/18     167       Filed (ECF) Appellants Kirstjen
                                       Nielsen and USDHS in 18-15068,
                                       Appellants Kirstjen Nielsen, USA
                                       and USDHS in 18-15069, Appel-
                                       lants Kirstjen Nielsen, Donald J.
                                       Trump and USA in 18-15070,
                                       Appellants Kirstjen Nielsen,
                                       Donald J. Trump, USA and
                                       USDHS in 18-15071, Appellants
                                       Kirstjen Nielsen, Donald J.
                                       Trump, Jefferson B. Sessions,
                                       III and USDHS in 18-15072,
                                       18-15128 citation of supplemental
                                       authorities.    Date of service:
                                       06/22/2018. [10919589] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Wright, Abby) [En-
                                       tered: 06/22/2018 04:04 PM]
                 6/28/18     168       Filed (ECF) Appellees USA,
                                       USDHS, Donald J. Trump and
                                       Kirstjen Nielsen in 18-15133,
                                       18-15134 citation of supplemental
                                       authorities.    Date of service:
                                       06/28/2018. [10925146] [18-15068,
                                       18-15069, 18-15070, 18-15071,
                                       18-15072, 18-15128, 18-15133,
                                       18-15134] (Wright, Abby) [En-
                                       tered: 06/28/2018 08:29 AM]




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                 DATE     NUMBER PROCEEDINGS
                 7/2/18      169   Filed (ECF) Appellees Regents
                                   of the University of California
                                   and Janet Napolitano in 18-15068,
                                   18-15128, Appellants Regents of
                                   the University of California and
                                   Janet Napolitano in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928492] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/02/2018 09:51 AM]
                 7/2/18      170   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Minne-
                                   sota in 18-15069, 18-15128, Ap-
                                   pellants State of California, State
                                   of Maine, State of Maryland and
                                   State of Minnesota in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/02/2018.
                                   [10928647] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Mongan, Michael) [Entered:
                                   07/02/2018 10:39 AM]
                 7/2/18      171   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn




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                 DATE     NUMBER PROCEEDINGS
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities.     Date of
                                   service: 07/02/2018. [10928704]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE: Spread
                                   to cases 18-15069, 18-15070,
                                   18-15072, 18-15128, and 18-15133.
                                   7/2/2018 by TYL] (Boutrous,
                                   Theodore) [Entered: 07/02/2018
                                   10:58 AM]
                 7/9/18      172   Filed (ECF) Appellees Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15068,
                                   18-15128, Appellants Janet Na-
                                   politano and Regents of the Uni-
                                   versity of California in 18-15133
                                   citation of supplemental authori-
                                   ties. Date of service: 07/09/2018.
                                   [10935080] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Davidson, Jeffrey) [Entered:
                                   07/09/2018 12:20 PM]
                 7/9/18      173   Filed (ECF) Appellees County of
                                   Santa Clara and Service Em-
                                   ployees International Union Lo-
                                   cal 521 in 18-15072, Appellees




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                 DATE     NUMBER PROCEEDINGS
                                   Dulce Garcia, Miriam Gonzalez
                                   Avila, Saul Jimenez Suarez, Vir-
                                   idiana Chabolla Mendoza, Norma
                                   Ramirez and Jirayut Latthi-
                                   vongskorn in 18-15071, Appel-
                                   lants Dulce Garcia, Miriam Gon-
                                   zalez Avila, Saul Jimenez Suarez,
                                   Viridiana Chabolla Mendoza,
                                   Norma Ramirez, Jirayut Lat-
                                   thivongskorn, County of Santa
                                   Clara and Service Employees
                                   International Union Local 521 in
                                   18-15134 citation of supplemental
                                   authorities. Date of service:
                                   07/09/2018. [10935549] [18-15068,
                                   18-15072, 18-15071, 18-15134]—
                                   [COURT UPDATE:             Spread
                                   docket text to 18-15069, 18-15128,
                                   18-15070, 18-15133. 07/09/2018
                                   by SLM] (Boutrous, Theodore)
                                   [Entered: 07/09/2018 02:56 PM]
                 8/3/18      174   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J. Trump
                                   and USDHS in 18-15072, 18-15128,




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                 DATE     NUMBER PROCEEDINGS
                                   Appellees Kirstjen Nielsen, Don-
                                   ald J. Trump, USA and USDHS
                                   in 18-15133, 18-15134 citation
                                   of   supplemental    authorities.
                                   Date of service:     08/03/2018.
                                   [10964686] [18-15068, 18-15069,
                                   18-15070, 18-15071, 18-15072,
                                   18-15128, 18-15133, 18-15134]
                                   (Wright,     Abby)     [Entered:
                                   08/03/2018 06:34 AM]
                 8/6/18      175   Filed (ECF) Appellees State of
                                   California, State of Maine, State
                                   of Maryland and State of Min-
                                   nesota in 18-15069, 18-15128,
                                   Appellants State of California,
                                   State of Maine, State of Mary-
                                   land and State of Minnesota in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/06/2018. [10967075] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Mongan, Michael)
                                   [Entered: 08/06/2018 11:31 AM]
                 8/7/18      176   Filed (ECF) Appellees Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15071, Appellants Dulce
                                   Garcia, Miriam Gonzalez Avila,
                                   Saul Jimenez Suarez, Viridiana




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Chabolla Mendoza, Norma Rami-
                                   rez and Jirayut Latthivongskorn
                                   in 18-15134 citation of supple-
                                   mental authorities. Date of ser-
                                   vice:   08/07/2018.    [10968935]
                                   [18-15068, 18-15071, 18-15134]
                                   —[COURT UPDATE:              Cor-
                                   rected    order     of    PDF’s.
                                   08/07/2018 by SLM]—[Edited:
                                   spread docket text to 18-15069,
                                   18-15070, 18-15072, 18-15128,
                                   18-15133.    08/07/2018 by RY]
                                   (Boutrous, Theodore) [Entered:
                                   08/07/2018 01:19 PM]
                 8/7/18      177   Filed (ECF) Appellees Janet
                                   Napolitano and Regents of the
                                   University of California in
                                   18-15068, 18-15128, Appellants
                                   Janet Napolitano and Regents of
                                   the University of California in
                                   18-15133 citation of supplemental
                                   authorities.    Date of service:
                                   08/07/2018. [10969011] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Davidson, Jeffrey)
                                   [Entered: 08/07/2018 01:37 PM]
                 8/10/18     178   Filed (ECF) Appellants Kirstjen
                                   Nielsen and USDHS in 18-15068,
                                   Appellants Kirstjen Nielsen,
                                   USA and USDHS in 18-15069,
                                   Appellants Kirstjen Nielsen,




                                                                            AR2496
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 219 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                                   Donald J. Trump and USA in
                                   18-15070, Appellants Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and USDHS in 18-15071, Appel-
                                   lants Kirstjen Nielsen, Jefferson
                                   B. Sessions, III, Donald J.
                                   Trump and USDHS in 18-15072,
                                   18-15128, Appellees Kirstjen
                                   Nielsen, Donald J. Trump, USA
                                   and    USDHS       in   18-15133,
                                   18-15134 citation of supplemental
                                   authorities.    Date of service:
                                   08/10/2018. [10972953] [18-15068,
                                   18-15069, 18-15070, 18-15071,
                                   18-15072, 18-15128, 18-15133,
                                   18-15134] (Wright, Abby) [En-
                                   tered: 08/10/2018 10:43 AM]
                 9/13/18     179   Filed (ECF) Appellants USDHS
                                   and Kirstjen Nielsen in 18-15068,
                                   Appellants USDHS, USA and
                                   Kirstjen Nielsen in 18-15069, Ap-
                                   pellants USA, Donald J. Trump
                                   and Kirstjen Nielsen in 18-15070,
                                   Appellants USDHS, USA, Don-
                                   ald J. Trump and Kirstjen Niel-
                                   sen in 18-15071, Appellants
                                   USDHS, Donald J. Trump, Jef-
                                   ferson B. Sessions, III and
                                   Kirstjen Nielsen in 18-15072,
                                   18-15128,     Appellees     USA,
                                   USDHS, Donald J. Trump and
                                   Kirstjen Nielsen in 18-15133,
                                   18-15134 citation of supplemental




                                                                            AR2497
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 220 of 1030 PageID #:
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                    authorities.   Date of service:
                                    09/13/2018. [11010690] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Wright, Abby) [En-
                                    tered: 09/13/2018 01:33 PM]
                 9/17/18      180   Filed (ECF) Appellees Janet Na-
                                    politano and Regents of the Uni-
                                    versity of California in 18-15068,
                                    18-15128 citation of supplemental
                                    authorities.    Date of service:
                                    09/17/2018. [11014639] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Davidson, Jeffrey)
                                    [Entered: 09/17/2018 04:40 PM]
                 10/17/18     181   Filed (ECF) Appellants Kirstjen
                                    Nielsen, Donald J. Trump, USA
                                    and USDHS in 18-15128, Appel-
                                    lees Kirstjen Nielsen, Donald J.
                                    Trump, USA and USDHS in
                                    18-15133, 18-15134 Correspond-
                                    ence: Notice of intent to peti-
                                    tion the Supreme Court for a
                                    writ of certiorari before judg-
                                    ment absent ruling from this
                                    Court..      Date of service:
                                    10/17/2018 [11049590] [18-15068,
                                    18-15069, 18-15070, 18-15071,
                                    18-15072, 18-15128, 18-15133,
                                    18-15134] (Stern, Mark) [En-
                                    tered: 10/17/2018 07:15 AM]




                                                                            AR2498
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 221 of 1030 PageID #:
                                     8488



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 11/8/18     182       FILED OPINION (KIM MC-
                                       LANE WARDLAW, JACQUE-
                                       LINE H. NGUYEN and JOHN B.
                                       OWENS) AFFIRMED. Judge:
                                       KMW Authoring, Judge: JBO
                                       Concurring.      FILED AND
                                       ENTERED           JUDGMENT.
                                       [11081386] [18-15068, 18-15069,
                                       18-15070, 18-15071, 18-15072,
                                       18-15128, 18-15133, 18-15134]
                                       (RMM) [Entered:      11/08/2018
                                       09:44 AM]
                                   *     *   *     *   *
                 2/25/19     187       MANDATE ISSUED. (KMW,
                                       JHN and JBO) [11206269]
                                       [18-15068, 18-15069, 18-15070,
                                       18-15071, 18-15072, 18-15128,
                                       18-15133, 18-15134] (QDL) [En-
                                       tered: 02/25/2019 01:06 PM]
                                   *     *   *     *   *




                                                                            AR2499
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 222 of 1030 PageID #:
                                     8489



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                         UNITED STATES DISTRICT COURT
                    FOR THE CALIFORNIA NORTHERN DISTRICT
                               (SAN FRANCISCO)


                            Docket No. 3:17-cv-05211-WHA
                    UC REGENTS; JANET NAPOLITANO, IN HER OFFICIAL
                     CAPACITY AS PRESIDENT OF THE UNIVERSITY OF
                               CALIFORNIA, PLAINTIFFS
                                         v.
                      UNITED STATES DEPARTMENT OF HOMELAND
                     SECURITY; KIRSTJEN NIELSON, IN HER OFFICAL
                  CAPACITY AS ACTING SECRETARY OF THE DEPARTMENT
                       OF HOMELAND SECURITY; ASSOCIATION OF
                    CALIFORNIA SCHOOL ADMINISTRATORS; SAN DIEGO
                     UNIFIED SCHOOL DISTRICT; FORMER FEDERAL
                   IMMIGRATION AND HOMELAND SECURITY OFFICIALS,
                                    DEFENDANTS



                                  DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/8/17       1    COMPLAINT for Declaratory
                                   and Injunctive Relief against
                                   Elaine Duke, United States De-
                                   partment of Homeland Security
                                   (Filing fee $ 400, receipt number
                                   0971-11699295).     Filed by Re-
                                   gents of University of California,
                                   Janet Napolitano. (Attachments:
                                   #1 Exhibit A, #2 Exhibit B, #3
                                   Exhibit C, #4 Exhibit D, #5 Civil
                                   Cover Sheet) (Davidson, Jeffrey)
                                   (Filed on 9/8/2017) Modified on




                                                                            AR2500
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 223 of 1030 PageID #:
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                   9/11/2017 (slhS, COURT STAFF).
                                   (Entered: 09/08/2017)
                                   *   *    *    *   *
                 9/18/17      36   ORDER RELATING CASES by
                                   Judge Alsup granting 33 Motion to
                                   Relate Case; granting 34 Stip-
                                   ulation (whalc1, COURT STAFF)
                                   (Filed on 9/18/2017)    (Entered:
                                   09/18/2017)
                                   *   *    *    *   *
                 9/20/17      41   ORDER RELATING CASES by
                                   Hon. William Alsup granting (39)
                                   Motion to Relate Case in case
                                   3:17-cv-05211-WHA.        Associated
                                   Cases:           3:17-cv-05211-WHA,
                                   3:17-cv-05235-WHA           (whalc1,
                                   COURT       STAFF)      (Filed    on
                                   9/20/2017) (Entered: 09/20/2017)

                                   *   *    *    *   *
                 9/20/17      43   ORDER RELATING CASES by
                                   Judge Alsup granting (38) Motion
                                   to Relate Case; granting (42) Stip-
                                   ulation in case 3:17-cv-05211-WHA
                                   (whalc1, COURT STAFF) (Filed on
                                   9/20/2017) (Entered: 09/20/2017)
                                   *   *    *    *   *
                 10/16/17     76   ORDER RELATING CASE by
                                   Judge William Alsup granting (69)
                                   Motion to Relate Case in case




                                                                            AR2501
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 224 of 1030 PageID #:
                                     8491



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   3:17-cv-05211-WHA.Associated Cas-
                                   es:    3:17-cv-05211-WHA, 3:17-cv-
                                   05235-WHA,       3:17-cv-05329-WHA,
                                   3:17-cv-05380-WHA(whalc1, COURT
                                   STAFF) (Filed on 10/16/2017) (En-
                                   tered: 10/16/2017)
                 11/1/17     111   MOTION       for      Preliminary
                                   Injunction—Plaintiffs’ Motion for
                                   Provisional Relie filed by Janet
                                   Napolitano, UC Regents. Motion
                                   Hearing set for 12/20/2017 08:00
                                   AM in Courtroom 8, 19th Floor,
                                   San Francisco before Judge Wil-
                                   liam Alsup. Responses due by
                                   11/22/2017.  Replies    due    by
                                   12/8/2017. (Attachments: #1 Ad-
                                   dendum A—History of Deferred
                                   Action, #2 Request for Judicial
                                   Notice in Support of Plaintiffs’
                                   Motion for Provisional Relief, #3
                                   Proposed Order) (Davidson, Jef-
                                   frey) (Filed on 11/1/2017) (En-
                                   tered: 11/01/2017)
                                   *   *    *    *   *
                 11/1/17     114   MOTION to Dismiss All N.D. Cal.
                                   DACA Cases and Memorandum
                                   in Support filed by Elaine Duke,
                                   United States Department of
                                   Homeland Security.        Motion
                                   Hearing set for 12/20/2017 08:00
                                   AM in Courtroom 8, 19th Floor,
                                   San Francisco before Judge Wil-




                                                                            AR2502
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 225 of 1030 PageID #:
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                    liam Alsup. Responses due by
                                    11/22/2017.    Replies due by
                                    12/8/2017.  (Attachments:    #1
                                    Proposed Order) (Rosenberg,
                                    Brad) (Filed on 11/1/2017) (En-
                                    tered: 11/01/2017)
                                    *   *    *    *   *
                 11/22/17     204   OPPOSITION/RESPONSE            (re
                                    111 MOTION for Preliminary
                                    Injunction—Plaintiffs’ Motion for
                                    Provisional Relie) filed by Elaine
                                    Duke, United States Department
                                    of Homeland Security. (Attach-
                                    ments: #1 Proposed Order) (Bai-
                                    ley, Kate) (Filed on 11/22/2017)
                                    (Entered: 11/22/2017)
                 11/22/17     205   OPPOSITION/RESPONSE            (re
                                    114 MOTION to Dismiss All N.D.
                                    Cal. DACA Cases and Memoran-
                                    dum in Support ) filed by Janet
                                    Napolitano, UC Regents.      (Da-
                                    vidson,    Jeffrey)   (Filed    on
                                    11/22/2017) (Entered: 11/22/2017)
                                    *   *    *    *   *
                 12/8/17      218   REPLY (re 114 MOTION to Dis-
                                    miss All N.D. Cal. DACA Cases
                                    and Memorandum in Support)
                                    filed by Elaine Duke, United States
                                    Department of Homeland Securi-
                                    ty. (Rosenberg, Brad) (Filed on
                                    12/8/2017) (Entered: 12/08/2017)




                                                                            AR2503
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 226 of 1030 PageID #:
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 12/8/17      219   REPLY (re 111 MOTION for Pre-
                                    liminary     Injunction—Plaintiffs’
                                    Motion for Provisional Relie)
                                    filed by Janet Napolitano, UC Re-
                                    gents. (Davidson, Jeffrey) (Filed
                                    on     12/8/2017)    Modified   on
                                    12/8/2017 (sxbS, COURT STAFF).
                                    (Entered: 12/08/2017)
                                    *   *    *    *   *
                 12/20/17     221   Minute Entry for proceedings held
                                    before Judge William Alsup:
                                    Motion Hearing held on 12/20/2017
                                    re 114 MOTION to Dismiss All N.D.
                                    Cal. DACA Cases and Memorandum
                                    in Support filed by Elaine Duke,
                                    United States Department of
                                    Homeland Security; 111 MOTION
                                    for    Preliminary    Injunction—
                                    Plaintiffs’ Motion for Provisional
                                    Relie filed by UC Regents, Janet
                                    Napolitano. Motions are submit-
                                    ted.
                                    Total Time in Court: 3 Hours; 40
                                    Minutes.
                                    Court Reporter: Lydia Zinn.
                                    Plaintiff Attorneys: Jeffrey Da-
                                    vidson, Megan Crowley, Alexander
                                    Berengaut, Mark Lynch, Lanny
                                    Breuer, James Zahradka, Brian
                                    Danitz, Mark Rosenbaum, Ethan
                                    Dettmer, Eric Brown.




                                                                            AR2504
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 227 of 1030 PageID #:
                                     8494



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Defendant Attorneys: Brad Ros-
                                   enberg, Kate Bailey, Brett Shu-
                                   mate.
                                   (This is a text-only entry generated
                                   by the court. There is no docu-
                                   ment associated with this entry.)
                                   (afmS, COURT STAFF)            (Date
                                   Filed:       12/20/2017)   (Entered:
                                   12/20/2017)

                                   *   *    *    *   *
                 1/2/18      227   Request for Judicial Notice re 205
                                   Opposition/Response to Motion,
                                   111 MOTION for Preliminary
                                   Injunction—Plaintiffs’ Motion for
                                   Provisional Relie filed by Janet
                                   Napolitano, UC Regents.        (At-
                                   tachments:     #1 Declaration of
                                   Jeffrey M. Davidson, #2 Exhibit A
                                   to Davidson Declaration, #3 Pro-
                                   posed Order) (Related docu-
                                   ment(s) 205, 111) (Davidson, Jef-
                                   frey) (Filed on 1/2/2018) (Entered:
                                   01/02/2018)
                                   *   *    *    *   *
                 1/5/18      230   RESPONSE to re 227 Request for
                                   Judicial Notice, 228 Order by
                                   Kirstjen Nielson, United States
                                   Department of Homeland Securi-
                                   ty. (Attachments: #1 Declara-
                                   tion of Brad P. Rosenberg (at-
                                   taching exhibit), #2 Proposed




                                                                            AR2505
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 228 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Order) (Rosenberg, Brad) (Filed
                                   on 1/5/2018) (Entered: 01/05/2018)
                                   *   *    *    *   *
                 1/8/18      232   Supplemental Brief re 229 Order
                                   Regarding the Ninth Circuit's
                                   Decision in Hawaii v. Trump
                                   filed by Kirstjen Nielson, United
                                   States Department of Homeland
                                   Security. (Related document(s)
                                   229) (Rosenberg, Brad) (Filed on
                                   1/8/2018) (Entered: 01/08/2018)
                 1/8/18      233   Supplemental Brief Re Hawaii v.
                                   Trump filed by State of California,
                                   State of Maine, State of Maryland,
                                   State of Minnesota. (Zahradka,
                                   James) (Filed on 1/8/2018) (En-
                                   tered: 01/08/2018)
                 1/9/18      234   ORDER DENYING 114 FRCP
                                   12(b)(1) DISMISSAL AND GRANT-
                                   ING 111 PROVISIONAL RELIEF
                                   (granting 227) by Judge William
                                   Alsup. (whalc1, COURT STAFF)
                                   (Filed on 1/9/2018) (Entered:
                                   01/09/2018)
                                   *   *    *    *   *
                 1/12/18     239   ORDER GRANTING IN PART 114
                                   DEFENDANTS'       MOTION    TO
                                   DISMISS UNDER FRCP 12(b)(6)
                                   by Judge William Alsup. (whalc1,




                                                                            AR2506
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 229 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   COURT       STAFF)      (Filed     on
                                   1/12/2018) (Entered:   01/12/2018)

                                   *   *    *    *   *
                 1/16/18     241   NOTICE OF APPEAL to the 9th
                                   Circuit Court of Appeals (case#
                                   18-15068) filed by Kirstjen Nielson,
                                   United States Department of
                                   Homeland Security.        Appeal of
                                   Order on Motion for Preliminary
                                   Injunction 234, Order on Motion to
                                   Dismiss 239 (Appeal fee FEE
                                   WAIVED.) (Rosenberg, Brad)
                                   (Filed on 1/16/2018) Modified on
                                   1/26/2018 (sxbS, COURT STAFF).
                                   (Entered: 01/16/2018)
                                   *   *    *    *   *




                                                                            AR2507
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 230 of 1030 PageID #:
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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                            Docket No. 3:17-cv-05235-WHA
                    STATE OF CALIFORNIA; STATE OF MAINE; STATE OF
                     MINNESOTA; STATE OF MARYLAND, PLAINTIFFS
                                           v.
                            UNITED STATES DEPARTMENT OF
                    HOMELAND SECURITY; KIRSTJEN NIELSEN, IN HER
                    OFFICIAL CAPACITY AS ACTING SECRETARY OF THE
                     DEPARTMENT OF HOMELAND SECURITY; UNITED
                           STATES OF AMERICA, DEFENDANTS


                                  DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/11/17      1     COMPLAINT for Declaratory
                                    and Injunctive Relief against All
                                    Defendants (Filing fee $400, re-
                                    ceipt number 0971-11704330.).
                                    Filed by State of Minnesota,
                                    State of California, State of Mar-
                                    yland, State of Maine.        (At-
                                    tachments: # 1 Exhibit A, #2
                                    Exhibit B, #3 Exhibit C, #4
                                    Exhibit D, #5 Exhibit E, #6
                                    Exhibit F, #7 Exhibit G, #8
                                    Exhibit H, #9 Exhibit I, #10
                                    Exhibit J, #11 Exhibit K, #12
                                    Exhibit L, #13 Exhibit M, #14
                                    Exhibit N, #15 Exhibit O, #16
                                    Exhibit P) (Zahradka, James)




                                                                            AR2508
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                       (Filed on 9/11/2017) (Entered:
                                       09/11/2017)
                                   *     *   *     *   *
                 9/18/17      18       ORDER RELATING CASE. Signed
                                       by Judge Alsup on 9/18/2017.
                                       (whalc1, COURT STAFF) (Filed on
                                       9/18/2017) (Entered: 09/18/2017)
                                   *     *   *     *   *
                 9/20/17      22       ORDER       RELATING        CASES
                                       by Hon. William Alsup granting
                                       (39) Motion to Relate Case in case
                                       3:17-cv-05211-WHA.      Associated
                                       Cases:         3:17-cv-05211-WHA,
                                       3:17-cv-05235-WHA          (whalc1,
                                       COURT       STAFF)     (Filed   on
                                       9/20/2017) (Entered: 09/20/2017)
                 9/20/17      23       ORDER RELATING CASES by
                                       Judge Alsup granting (38) Motion
                                       to Relate Case; granting (42) Stip-
                                       ulation in case 3:17-cv-05211-WHA
                                       (whalc1, COURT STAFF) (Filed on
                                       9/20/2017) (Entered: 09/20/2017)

                                   *     *   *     *   *
                 10/16/17     37       ORDER RELATING CASE by
                                       Judge William Alsup granting
                                       (69) Motion to Relate Case in
                                       case 3:17-cv-05211-WHA. Associ-
                                       ated Cases: 3:17-cv-05211-WHA,
                                       3:17-cv-05235-WHA, 3:17-cv-05329-WHA,
                                       3:17-cv-05380-WHA             (whalc1,




                                                                                AR2509
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      COURT        STAFF)      (Filed    on
                                      10/16/2017) (Entered:   10/16/2017)

                                  *     *   *     *   *
                 1/9/17      83       ORDER DENYING 114 FRCP
                                      12(b)(1)    DISMISSAL      AND
                                      GRANTING 111 PROVISIONAL
                                      RELIEF (granting 227) by Judge
                                      William Alsup. (whalc1, COURT
                                      STAFF) (Filed on 1/9/2018) (En-
                                      tered: 01/09/2018)

                                  *     *   *     *   *
                 1/12/18     88       ORDER GRANTING IN PART
                                      114 DEFENDANTS’ MOTION TO
                                      DISMISS UNDER FRCP 12(b)(6)
                                      by     Judge     William     Alsup.
                                      (whalc1, COURT STAFF) (Filed
                                      on 1/12/2018) (Entered: 01/12/2018)

                                  *     *   *     *   *




                                                                              AR2510
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                                     8500



                                             225

                         UNITED STATES DISTRICT COURT
                    FOR THE CALIFORNIA NORTHERN DISTRICT
                               (SAN FRANCISCO)


                             Docket No. 3:17-cv-05329-WHA
                      CITY OF SAN JOSE, A MUNICIPAL CORPORATION,
                                        PLAINTIFF
                                              v.
                     DONALD J. TRUMP, PRESIDENT OF THE UNITED
                      STATES, IN HIS OFFICIAL CAPACITY; KIRSTJE
                     NIELSEN, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                   SECURITY; UNITED STATES OF AMERICA; SAN DIEGO
                                UNIFIED, DEFENDANTS


                                  DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/14/17      1        COMPLAINT against Elaine C.
                                       Duke,    Donald   J.    Trump,
                                       UNITED STATES OF AMER-
                                       ICA ( Filing fee $ 400, receipt
                                       number 0971-11714888.). Filed
                                       by City Of San Jose. (Attach-
                                       ments: # 1 Civil Cover Sheet,
                                       # 2 CERTIFICATE OF IN-
                                       TERESTED ENTITIES OR
                                       PERSONS) (Fineman, Nancy)
                                       (Filed on 9/14/2017) (Entered:
                                       09/14/2017)
                                   *     *   *     *   *




                                                                            AR2511
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 9/20/17      13       ORDER      RELATING      CASES
                                       Signed by Judge Alsup on
                                       9/20/2017.     (whalc1, COURT
                                       STAFF) (Filed on 9/20/2017) (En-
                                       tered: 09/20/2017)
                 9/20/17               Related cases: Create association to
                                       3:17-cv-05211-WHA. (sxbS, COURT
                                       STAFF) (Filed on 9/20/2017) (En-
                                       tered: 09/21/2017)
                 9/20/17               Related cases: Create association to
                                       3:17-cv-05235-WHA. (sxbS, COURT
                                       STAFF) (Filed on 9/20/2017) (En-
                                       tered: 09/21/2017)
                 9/20/17               Related cases: Create association to
                                       3:17-cv-05380-WHA. (sxbS, COURT
                                       STAFF) (Filed on 9/20/2017) (En-
                                       tered: 09/21/2017)
                                   *     *   *     *   *
                 10/16/17     28       ORDER RELATING CASE by
                                       Judge William Alsup granting (69)
                                       Motion to Relate Case in case
                                       3:17-cv-05211-WHA.Associated Cas-
                                       es: 3:17-cv-05211-WHA, 3:17-cv-05235-
                                       WHA, 3:17-cv-05329-WHA, 3:17-cv-
                                       05380-WHA        (whalc1,    COURT
                                       STAFF) (Filed on 10/16/2017) (En-
                                       tered: 10/16/2017)
                                   *     *   *     *   *
                 12/20/17     61       Minute Entry for proceedings
                                       held before Judge William Alsup:




                                                                               AR2512
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 235 of 1030 PageID #:
                                     8502



                                            227

                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      Motion Hearing held on 12/20/2017
                                      re 114 MOTION to Dismiss All
                                      N.D. Cal. DACA Cases and Mem-
                                      orandum in Support filed by
                                      Elaine Duke, United States De-
                                      partment of Homeland Security;
                                      111 MOTION for Preliminary
                                      Injunction—Plaintiffs’ Motion for
                                      Provisional Relie filed by UC
                                      Regents, Janet Napolitano. Mo-
                                      tions are submitted.
                                      Total Time in Court: 3 Hours; 40
                                      Minutes.
                                      Court Reporter: Lydia Zinn.
                                      Plaintiff Attorneys:   Jeffrey
                                      Davidson, Megan Crowley, Alex-
                                      ander Berengaut, Mark Lynch,
                                      Lanny Breuer, James Zahradka,
                                      Brian Danitz, Mark Rosenbaum,
                                      Ethan Dettmer, Eric Brown.
                                      Defendant Attorneys:     Brad
                                      Rosenberg, Kate Bailey, Brett
                                      Shumate.
                                      (This is a text-only entry gener-
                                      ated by the court. There is no
                                      document associated with this
                                      entry.) (afmS, COURT STAFF)
                                      (Date Filed:     12/20/2017) (En-
                                      tered: 12/20/2017)
                                  *     *   *     *   *




                                                                            AR2513
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 236 of 1030 PageID #:
                                     8503



                                            228

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 1/9/18      66       ORDER DENYING 114 FRCP
                                      12(b)(1)    DISMISSAL      AND
                                      GRANTING 111 PROVISIONAL
                                      RELIEF (granting 227) by Judge
                                      William Alsup. (whalc1, COURT
                                      STAFF) (Filed on 1/9/2018) (En-
                                      tered: 01/09/2018)
                                  *     *   *     *   *
                 1/12/18     71       ORDER GRANTING IN PART
                                      114 DEFENDANTS’ MOTION TO
                                      DISMISS UNDER FRCP 12(b)(6)
                                      by Judge William Alsup. (whalc1,
                                      COURT       STAFF)    (Filed   on
                                      1/12/2018) (Entered: 01/12/2018)
                 1/16/18     72       NOTICE OF APPEAL to the
                                      9th Circuit Court of Appeals filed
                                      by Kirstjen Nielson, Donald J.
                                      Trump, United States of Ameri-
                                      ca. Appeal of Order on Motion
                                      for Preliminary Injunction 66,
                                      Order on Motion to Dismiss 71
                                      (Appeal fee FEE WAIVED.)
                                      (Rosenberg, Brad) (Filed on
                                      1/16/2018) (Entered: 01/16/2018)
                                  *     *   *     *   *




                                                                            AR2514
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 237 of 1030 PageID #:
                                     8504



                                        229

                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                            Docket No. 3:17-cv-05380-WHA
                      DULCE GARCIA; MIRIAM GONZALEZ AVILA; SAUL
                    JIMENEZ SUAREZ; VIRIDIANA CHABOLLA MENDOZA;
                      JIRAYUT LATTHIVONGSKORN; NORMA RAMIREZ,
                                     PLAINTIFFS
                                        v.
                 UNITED STATES OF AMERICA; DONALD J. TRUMP, IN HIS
                   OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                  STATES; U.S. DEPARTMENT OF HOMELAND SECURITY;
                   KIRSTJEN NIELSON, IN HER OFFICIAL CAPACITY AS
                 ACTING SECRETARY OF THE DEPARTMENT OF HOMELAND
                                SECURITY, DEFENDANTS


                                  DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/18/17      1    COMPLAINT for Declaratory
                                   and Injunctive Relief against All
                                   Defendants. Filed by Saul Jim-
                                   enez Suarez, Miriam Gonzalez
                                   Avila, Viridiana Chabolla Mendo-
                                   za, Dulce Garcia, Jirayut Latthi-
                                   vongskorn. (Attachments: # 1
                                   Civil Cover Sheet, # 2 Payment of
                                   Fees) (Boutrous, Theodore) (Filed
                                   on 9/18/2017) (Filing fee $400.00,
                                   receipt # 0971-11722776) Modified
                                   on 9/18/2017 (haS, COURT
                                   STAFF). Modified on 9/20/2017




                                                                            AR2515
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 238 of 1030 PageID #:
                                     8505



                                           230

                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                   (gbaS, COURT STAFF). (En-
                                   tered: 09/18/2017)
                                   *   *    *    *   *
                 9/20/17      6    ORDER        RELATING       CASES
                                   Signed by Judge Alsup on 9/20/2017.
                                   (whalc1, COURT STAFF) (Filed on
                                   9/20/2017) (Entered: 09/20/2017)
                                   *   *    *    *   *
                 9/20/17           Related cases: Create association
                                   to    3:17-cv-05211-WHA.     (sxbS,
                                   COURT       STAFF)    (Filed     on
                                   9/20/2017) (Entered: 09/21/2017)
                 9/20/17           Related cases: Create association
                                   to    3:17-cv-05235-WHA.     (sxbS,
                                   COURT       STAFF)    (Filed     on
                                   9/20/2017) (Entered: 09/21/2017)
                                   *   *    *    *   *
                 10/16/17     24   ORDER RELATING CASE by
                                   Judge William Alsup granting (69)
                                   Motion      to  Relate      Case   in
                                   case 3:17-cv-05211-WHA. Associ-
                                   ated Cases: 3:17-cv-05211-WHA,
                                   3:17-cv-05235-WHA, 3:17-cv-05329-WHA,
                                   3:17-cv-05380-WHA (whalc1, COURT
                                   STAFF) (Filed on 10/16/2017) (En-
                                   tered: 10/16/2017)
                                   *   *    *    *   *
                 12/20/17     55   Minute Entry for proceedings held
                                   before Judge William Alsup:




                                                                            AR2516
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 239 of 1030 PageID #:
                                     8506



                                           231

                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   Motion Hearing held on 12/20/2017
                                   re 114 MOTION to Dismiss All N.D.
                                   Cal. DACA Cases and Memoran-
                                   dum in Support filed by Elaine
                                   Duke, United States Department
                                   of Homeland Security; 111 MO-
                                   TION for Preliminary Injunction—
                                   Plaintiffs’ Motion for Provisional
                                   Relie filed by UC Regents, Janet
                                   Napolitano. Motions are submit-
                                   ted.
                                   Total Time in Court: 3 Hours; 40
                                   Minutes.
                                   Court Reporter: Lydia Zinn.
                                   Plaintiff Attorneys: Jeffrey Da-
                                   vidson, Megan Crowley, Alexander
                                   Berengaut, Mark Lynch, Lanny
                                   Breuer, James Zahradka, Brian
                                   Danitz, Mark Rosenbaum, Ethan
                                   Dettmer, Eric Brown.
                                   Defendant Attorneys: Brad Ros-
                                   enberg, Kate Bailey, Brett Shu-
                                   mate.
                                   (This is a text-only entry generated
                                   by the court. There is no docu-
                                   ment associated with this entry.)
                                   (afmS, COURT STAFF) (Date
                                   Filed:       12/20/2017) (Entered:
                                   12/20/2017)

                                   *   *    *    *   *




                                                                            AR2517
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 240 of 1030 PageID #:
                                     8507



                                           232

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 1/9/18      60    ORDER DENYING 114 FRCP
                                   12(b)(1)    DISMISSAL      AND
                                   GRANTING 111 PROVISIONAL
                                   RELIEF (granting 227) by Judge
                                   William Alsup. (whalc1, COURT
                                   STAFF) (Filed on 1/9/2018) (En-
                                   tered: 01/09/2018)
                                   *   *    *    *   *
                 1/12/18     65    ORDER GRANTING IN PART 114
                                   DEFENDANTS’ MOTION TO DIS-
                                   MISS UNDER FRCP 12(b)(6) by
                                   Judge William Alsup.      (whalc1,
                                   COURT       STAFF)    (Filed     on
                                   1/12/2018) (Entered: 01/12/2018)
                 1/16/18     66    NOTICE OF APPEAL to the 9th
                                   Circuit Court of Appeals filed by
                                   Kirstjen Nielson, Donald J.
                                   Trump, U.S. Department of
                                   Homeland Security, United States
                                   of America. Appeal of Order on
                                   Motion for Preliminary Injunction
                                   60, Order on Motion to Dismiss 65
                                   (Appeal fee FEE WAIVED.)
                                   (Rosenberg, Brad) (Filed on
                                   1/16/2018) (Entered: 01/16/2018)
                                   *   *    *    *   *




                                                                            AR2518
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 241 of 1030 PageID #:
                                     8508



                                            233

                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                           Docket No. 3:17-cv-05813-WHA
                   COUNTY OF SANTA CLARA; SERVICE EMPLOYEES IN-
                     TERNATIONAL UNION LOCAL 521, PLAINTIFFS
                                            v.
                     DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNITED STATES; JEFFERSON
                   BEAUREGARD SESSIONS, IN HIS OFFICIAL CAPACITY AS
                  ATTORNEY GENERAL OF THE UNITED STATES; KIRSTJEN
                     NIELSON, IN HER OFFICIAL CAPACITY AS ACTING
                     SECRETARY OF THE DEPARTMENT OF HOMELAND
                  SECURITY; U.S. DEPARTMENT OF HOMELAND SECURITY,
                                       DEFENDANTS



                                  DOCKET ENTRIES

                            DOCKET
                 DATE       NUMBER PROCEEDINGS

                                   *    *    *    *   *
                 10/10/17     1     COMPLAINT FOR DECLARA-
                                    TORY AND INJUNCTIVE RE-
                                    LIEF against All Defendants
                                    (Filing fee $400, receipt number
                                    0971-11783372.). Filed by Coun-
                                    ty of Santa Clara, SEIU Local
                                    521. (Attachments: # 1 Civil
                                    Cover Sheet) (Brown, Eric) (Filed
                                    on      10/10/2017)     (Entered:
                                    10/10/2017)




                                                                            AR2519
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 242 of 1030 PageID #:
                                     8509



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS

                                   *   *    *    *   *
                 10/16/17     10   ORDER         RELATING        CASE.
                                   Signed by Judge Alsup on 10/16/2017.
                                   (whalc1, COURT STAFF) (Filed on
                                   10/16/2017) (Entered:     10/16/2017)
                                   Related cases: Create association
                                   to 3:17-cv-05211-WHA.          (sxbS,
                                   COURT        STAFF)    (Filed     on
                                   10/16/2017) (Entered: 10/17/2017)
                 10/16/17          Related cases: Create association
                                   to 3:17-cv-05235-WHA.        (sxbS,
                                   COURT       STAFF)    (Filed    on
                                   10/16/2017) (Entered: 10/17/2017)
                 10/16/17          Related cases: Create association
                                   to 3:17-cv-05380-WHA.        (sxbS,
                                   COURT       STAFF)    (Filed    on
                                   10/16/2017) (Entered: 10/17/2017)
                 10/16/17          Related cases: Create association
                                   to    3:17-cv-05329-WHA.     (sxbS,
                                   COURT       STAFF)    (Filed    on
                                   10/16/2017) (Entered: 10/17/2017)

                                   *   *    *    *   *
                 12/20/17     43   Minute Entry for proceedings held
                                   before Judge William Alsup:
                                   Motion Hearing held on 12/20/2017
                                   re 114 MOTION to Dismiss All N.D.
                                   Cal. DACA Cases and Memoran-
                                   dum in Support filed by Elaine
                                   Duke, United States Department of
                                   Homeland Security; 111 MOTION




                                                                            AR2520
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 243 of 1030 PageID #:
                                     8510



                                           235

                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                   for   Preliminary     Injunction—
                                   Plaintiffs’ Motion for Provisional
                                   Relie filed by UC Regents, Janet
                                   Napolitano. Motions are submit-
                                   ted.
                                   Total Time in Court: 3 Hours; 40
                                   Minutes.
                                   Court Reporter: Lydia Zinn.
                                   Plaintiff Attorneys: Jeffrey Da-
                                   vidson, Megan Crowley, Alexander
                                   Berengaut, Mark Lynch, Lanny
                                   Breuer, James Zahradka, Brian
                                   Danitz, Mark Rosenbaum, Ethan
                                   Dettmer,        Eric      Brown.
                                   Defendant Attorneys: Brad Ros-
                                   enberg, Kate Bailey, Brett Shu-
                                   mate.
                                   (This is a text-only entry generated
                                   by the court. There is no document
                                   associated with this entry.) (afmS,
                                   COURT STAFF) (Date Filed:
                                   12/20/2017) (Entered: 12/20/2017)

                                   *   *    *    *   *
                 1/9/18      48    ORDER DENYING 114 FRCP
                                   12(b)(1)    DISMISSAL      AND
                                   GRANTING 111 PROVISIONAL
                                   RELIEF (granting 227) by Judge
                                   William Alsup. (whalc1, COURT
                                   STAFF) (Filed on 1/9/2018) (En-
                                   tered: 01/09/2018)




                                                                            AR2521
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 244 of 1030 PageID #:
                                     8511



                                           236

                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                   *   *    *    *   *
                 1/12/18     53    ORDER GRANTING IN PART 114
                                   DEFENDANTS’ MOTION TO DIS-
                                   MISS UNDER FRCP 12(b)(6) by
                                   Judge William Alsup.      (whalc1,
                                   COURT       STAFF)    (Filed     on
                                   1/12/2018) (Entered: 01/12/2018)
                 1/16/18     54    NOTICE OF APPEAL to the 9th
                                   Circuit Court of Appeals filed by
                                   Kirstjen Nielson, Jefferson Beau-
                                   regard Sessions, Donald J.
                                   Trump, U.S. Department of
                                   Homeland Security. Appeal of
                                   Order on Motion for Preliminary
                                   Injunction 48, Order on Motion to
                                   Dismiss 53 (Appeal fee FEE
                                   WAIVED.) (Rosenberg, Brad)
                                   (Filed on 1/16/2018) (Entered:
                                   01/16/2018)
                                   *   *    *    *   *




                                                                            AR2522
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 245 of 1030 PageID #:
                                     8512



                                            237

                       UNITED STATES COURT OF APPEALS
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                 Docket No. 18-5243
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                      OF COLORED PEOPLE, (NAACP), NATIONAL
                   HEADQUARTERS; AMERICAN FEDERATION OF TEACH-
                    ERS, AFL-CIO; UNITED FOOD AND COMMERCIAL
                       INTERNATIONAL UNION, AFL-CIO, CLC,
                              PLAINTIFFS-APPELLEES
                                        v.
                      DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                  PRESIDENT OF THE UNITED STATES; WILLIAM P. BARR,
                   IN HIS OFFICIAL CAPACITY AS ATTORNEY GENERAL OF
                    THE UNITED STATES; KEVIN K. MCALEENAN, IN HIS
                   OFFICIAL CAPACITY AS ACTING SECRETARY OF HOME-
                    LAND SECURITY; UNITED STATES CITIZENSHIP AND
                   IMMIGRATION SERVICES; IMMIGRATION AND CUSTOMS
                     ENFORCEMENT; UNITED STATES DEPARTMENT OF
                   HOMELAND SECURITY; UNITED STATES OF AMERICA,
                                DEFENDANTS-APPELLANTS



                                 DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 8/10/18              US CIVIL CASE docketed.
                                      [18-5243] [Entered: 08/10/2018
                                      01:05 PM]
                                  *     *   *     *   *
                 8/13/18              CLERK’S ORDER [1745168]
                                      filed consolidating cases 18-5245
                                      (Consolidation started 08/13/2018)




                                                                            AR2523
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 246 of 1030 PageID #:
                                     8513



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                      with 18-5243 [18-5243, 18-5245]
                                      [Entered: 08/13/2018 11:08 AM]
                                  *     *   *     *   *
                 11/26/18             JOINT APPENDIX [1761389]
                                      filed by DHS, Immigration and
                                      Customs Enforcement, Kirstjen
                                      M. Nielsen, Jefferson B. Sessions,
                                      III, Donald J. Trump, United
                                      States Citizenship and Immigra-
                                      tion Services and USA in
                                      18-5243, DHS, Kirstjen M. Niel-
                                      sen and USA in 18-5245. [Vol-
                                      umes:       2] [Service Date:
                                      11/26/2018] [18-5243, 18-5245]
                                      (Stern,     Mark)       [Entered:
                                      11/26/2018 04:42 PM]
                 11/26/18             APPELLANT BRIEF [1761428]
                                      filed by DHS, Immigration and
                                      Customs Enforcement, Kirstjen
                                      M. Nielsen, Jefferson B. Ses-
                                      sions, III, Donald J. Trump,
                                      United States Citizenship and
                                      Immigration Services and USA
                                      in 18-5243, DHS, Kirstjen M.
                                      Nielsen and USA in 18-5245
                                      [Service Date:        11/26/2018]
                                      Length of Brief: 11,622 words.
                                      [18-5243, 18-5245] (Stern, Mark)
                                      [Entered: 11/26/2018 07:22 PM]
                                  *     *   *     *   *




                                                                            AR2524
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 247 of 1030 PageID #:
                                     8514



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 1/7/19               APPELLEE BRIEF [1767318]
                                      filed by American Federation of
                                      Teachers, AFL-CIO, NAACP and
                                      United Food and Commercial In-
                                      ternational Union, AFL-CIO,
                                      CLC in 18-5243, Maria De La Cruz
                                      Perales Sanchez, Microsoft Cor-
                                      poration and Trustees of Princeton
                                      University in 18-5245 [Service
                                      Date:     01/07/2019] Length of
                                      Brief: 12,993 Words. [18-5243,
                                      18-5245] (Perrelli, Thomas) [En-
                                      tered: 01/07/2019 10:35 PM]
                 1/9/19               CORRECTED            APPELLEE
                                      BRIEF [1767662] filed by Amer-
                                      ican Federation of Teachers,
                                      AFL-CIO, NAACP and United
                                      Food and Commercial Interna-
                                      tional Union, AFL-CIO, CLC in
                                      18-5243, Maria De La Cruz Per-
                                      ales Sanchez, Microsoft Corpora-
                                      tion and Trustees of Princeton
                                      University in 18-5245 [Service
                                      Date:    01/09/2019] Length of
                                      Brief: 12,993 words. [18-5243,
                                      18-5245] (Perrelli, Thomas) [En-
                                      tered: 01/09/2019 02:30 PM]
                                  *     *   *     *   *
                 1/22/19              APPELLANT REPLY BRIEF
                                      [1769602] filed by DHS, Immi-
                                      gration and Customs Enforce-
                                      ment, Kirstjen M. Nielsen, Don-




                                                                            AR2525
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 248 of 1030 PageID #:
                                     8515



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      ald J. Trump, United States Citi-
                                      zenship and Immigration Services,
                                      USA and Matthew G. Whitaker in
                                      18-5243, DHS, Kirstjen M. Niel-
                                      sen and USA in 18-5245 [Service
                                      Date:     01/22/2019] Length of
                                      Brief: 6,500 words. [18-5243,
                                      18-5245] (Stern, Mark) [Entered:
                                      01/22/2019 04:43 PM]
                                  *     *   *     *   *
                 2/22/19              ORAL ARGUMENT HELD
                                      before Judges Griffith, Millett and
                                      Edwards.      [18-5243, 18-5245]
                                      [Entered: 02/22/2019 09:43 AM]
                                  *     *   *     *   *
                 5/21/19              LETTER [1788881] pursuant to
                                      FRAP 28j advising of additional
                                      authorities filed by American
                                      Federation       of    Teachers,
                                      AFL-CIO, NAACP and United
                                      Food and Commercial Interna-
                                      tional Union, AFL-CIO, CLC in
                                      18-5243, Maria De La Cruz Per-
                                      ales Sanchez, Microsoft Corpora-
                                      tion and Trustees of Princeton
                                      University in 18-5245 [Service
                                      Date:      05/21/2019] [18-5243,
                                      18-5245] (Harrison, Lindsay)
                                      [Entered: 05/21/2019 11:46 PM]
                                  *     *   *     *   *




                                                                            AR2526
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 249 of 1030 PageID #:
                                     8516



                                         241

                         UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT
                               (WASHINGTON, D.C.)


                             Docket No. 1:17-cv-01907-JDB
                     NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                       OF COLORED PEOPLE (NAACP), NATIONAL
                      HEADQUARTERS; AMERICAN FEDERATION OF
                  TEACHERS, AFL-CIO; UNITED FOOD AND COMMERCIAL
                   INTERNATIONAL UNION, AFL-CIO, CLC, PLAINTIFFS
                                         v.
                      DONALD TRUMP, IN HIS OFFICIAL CAPACITY AS
                   PRESIDENT OF THE UNITED STATES; JEFFERSON B.
                  SESSIONS, III, IN HIS OFFICIAL CAPACITY AS ATTORNEY
                  GENERAL OF THE UNITED STATES; ELAINE C. DUKE, IN
                   HER OFFICIAL CAPACITY AS ACTING SECRETARY OF
                     HOMELAND SECURITY; U.S. CITIZENSHIP AND
                    IMMIGRATION SERVICES; U.S. IMMIGRATION AND
                      CUSTOMS ENFORCEMENT; DEPARTMENT OF
                  HOMELAND SECURITY; UNITED STATES OF AMERICA,
                                     DEFENDANTS



                                  DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/18/17      1     COMPLAINT by NAACP against
                                    DONALD TRUMP, JEFFER-
                                    SON    BEAUREGARD     SES-
                                    SIONS III, ELAINE C. DUKE,
                                    U.S. CITIZENSHIP AND IM-
                                    MIGRATION SERVICES, U.S.
                                    IMMIGRATION AND CUS-
                                    TOMS ENFORCEMENT, DE-
                                    PARTMENT OF HOMELAND




                                                                            AR2527
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 250 of 1030 PageID #:
                                     8517



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                       SECURITY, UNITED STATES
                                       OF AMERICA (Filing fee $ 400
                                       receipt number 0090-5120614)
                                       filed by NATIONAL ASSOCIA-
                                       TION FOR THE ADVANCE-
                                       MENT OF COLORED PEO-
                                       PLE. (Attachments: # 1 Civil
                                       Cover Sheet, # 2 Summons US
                                       Attorneys Office) (Sellers, Jo-
                                       seph) (Entered: 09/18/2017)
                                   *     *   *     *   *
                 10/24/17     10       FIRST     AMENDED        COM-
                                       PLAINT     against    DEPART-
                                       MENT OF HOMELAND SE-
                                       CURITY, ELAINE C. DUKE,
                                       JEFFERSON BEAUREGARD
                                       SESSIONS,      III,   DONALD
                                       TRUMP, U.S. CITIZENSHIP
                                       AND IMMIGRATION SER-
                                       VICES, U.S. IMMIGRATION
                                       AND CUSTOMS ENFORCE-
                                       MENT, UNITED STATES OF
                                       AMERICA filed by NATIONAL
                                       ASSOCIATION         FOR   THE
                                       ADVANCEMENT OF COL-
                                       ORED PEOPLE, AMERICAN
                                       FEDERATION OF TEACH-
                                       ERS,    AFL-CIO,       UNITED
                                       FOOD AND COMMERCIAL
                                       INTERNATIONAL           UNION,
                                       AFL-CIO, CLC. (znmw) (En-
                                       tered: 10/25/2017)




                                                                            AR2528
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 251 of 1030 PageID #:
                                     8518



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                  *     *   *     *   *
                 11/8/17     15       MOTION to Dismiss, MOTION
                                      for Summary Judgment by DE-
                                      PARTMENT OF HOMELAND
                                      SECURITY,       ELAINE        C.
                                      DUKE, JEFFERSON BEAU-
                                      REGARD       SESSIONS,      III,
                                      DONALD TRUMP, U.S. CITI-
                                      ZENSHIP AND IMMIGRA-
                                      TION SERVICES, U.S. IMMI-
                                      GRATION AND CUSTOMS
                                      ENFORCEMENT,          UNITED
                                      STATES OF AMERICA (At-
                                      tachments: # 1 Certified Index
                                      of Administrative Record, # 2
                                      Text of Proposed Order) (Bailey,
                                      Kate) Modified event title on
                                      11/9/2017 (znmw).     (Entered:
                                      11/08/2017)
                                  *     *   *     *   *
                 1/18/18              MINUTE ORDER:             On the
                                      Court’s own motion, and upon
                                      consideration of the entire record
                                      herein, it is hereby ORDERED
                                      that this case is CONSOLI-
                                      DATED with Civil Action No.
                                      17-2325 for purposes of the dis-
                                      positive motions currently pend-
                                      ing in both cases; it is further
                                      ORDERED that all filings with
                                      respect to those motions shall be




                                                                            AR2529
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 252 of 1030 PageID #:
                                     8519



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      made jointly and shall be filed
                                      only in 17-2325; it is further
                                      ORDERED that counsel of rec-
                                      ord in both cases shall receive
                                      electronic notice of any filings
                                      made in either case; and it is
                                      further ORDERED that counsel
                                      in both cases shall determine how
                                      to divide their argument time at
                                      the motions hearing currently set
                                      for Friday, February 2, 2018 at
                                      9:30 a.m. before Judge John D.
                                      Bates.      SO ORDERED—by
                                      Judge John D. Bates on 1/18/2018.
                                      (tb) (Entered: 01/18/2018)
                                  *     *   *     *   *
                 4/24/18     22       ORDER granting in part, deny-
                                      ing in part, and deferring in part
                                      15 the government’s motion to
                                      dismiss; granting in part and de-
                                      nying in part plaintiffs’ motion
                                      for summary judgment; and
                                      disposing of the remaining mo-
                                      tions pending in this case. See
                                      text of Order for details. Signed
                                      by Judge John D. Bates on
                                      4/24/2018.     (lcjdb1) (Entered:
                                      04/24/2018)
                 4/24/18     23       MEMORANDUM           OPINION.
                                      Signed by Judge John D. Bates
                                      on 4/24/2018.   (lcjdb1) (Main
                                      Document    23   replaced   on




                                                                            AR2530
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 253 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                                      4/26/2018) (ztd).       (Entered:
                                      04/24/2018)
                                  *     *   *     *   *
                 8/3/18      26       ORDER denying defendants’
                                      motion to revise the Court’s April
                                      24, 2018 Order. See text of Or-
                                      der for details. Signed by Judge
                                      John D. Bates on 8/3/2018.
                                      (lcjdb1) (Entered: 08/03/2018)
                 8/3/18      27       MEMORANDUM           OPINION.
                                      Signed by Judge John D. Bates
                                      on 8/3/2018. (lcjdb1) (Entered:
                                      08/03/2018)
                                  *     *   *     *   *
                 8/17/18     31       ORDER granting the govern-
                                      ment’s motion to clarify and
                                      granting in part and denying in
                                      part the government’s motion to
                                      stay.   See text of Order for
                                      details. Signed by Judge John
                                      D. Bates on 8/17/2018. (lcjdb1)
                                      (Entered: 08/17/2018)
                 8/17/18     32       MEMORANDUM           OPINION.
                                      Signed by Judge John D. Bates
                                      on 8/17/2018. (lcjdb1) (Entered:
                                      08/17/2018)




                                                                            AR2531
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 254 of 1030 PageID #:
                                     8521



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                         UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT
                               (WASHINGTON, D.C.)


                            Docket No. 1:17-cv-02325-JDB
                    TRUSTEES OF PRINCETON UNIVERSITY; MICROSOFT
                  CORPORATION; MARIA DE LA CRUZ PERALES SANCHEZ;
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                    COLORED PEOPLE; UNITED FOOD AND COMMERCIAL
                   INTERNATIONAL UNION, AFL-CIO, CLC, PLAINTIFFS
                                         v.
                   UNITED STATES OF AMERICA; U.S. DEPARTMENT OF
                    HOMELAND SECURITY; ELAINE C. DUKE, IN HER
                   OFFICIAL CAPACITY AS ACTING SECRETARY OF THE
                  DEPARTMENT OF HOMELAND SECURITY; DEPARTMENT
                   OF HOMELAND SECURITY; ELAINE C. DUKE, IN HER
                      OFFICIAL CAPACITY AS ACTING SECRETARY OF
                  HOMELAND SECURITY; JEFFERSON B. SESSIONS, III,
                   IN HIS OFFICIAL CAPACITY AS ATTORNEY GENERAL
                   OF THE UNITED STATES; DONALD J. TRUMP, IN HIS
                   OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                      STATES; U.S. CITIZENSHIP AND IMMIGRATION
                       SERVICES; U.S. IMMIGRATION AND CUSTOMS
                     ENFORCEMENT; UNITED STATES OF AMERICA,
                                    DEFENDANTS



                                  DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 11/3/17      1    COMPLAINT against U.S. DE-
                                   PARTMENT OF HOMELAND
                                   SECURITY, UNITED STATES
                                   OF AMERICA, ELAINE C.
                                   DUKE (Filing fee $400 receipt




                                                                            AR2532
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 255 of 1030 PageID #:
                                     8522



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                       number 0090-5190077) filed by
                                       TRUSTEES OF PRINCETON
                                       UNIVERSITY, MARIA DE LA
                                       CRUZ PERALES SANCHEZ,
                                       MICROSOFT CORPORATION.
                                       (Attachments: # 1 Civil Cover
                                       Sheet, # 2 Summons, # 3 Sum-
                                       mons, # 4 Summons) (Perrelli,
                                       Thomas) (Entered: 11/03/2017)
                                   *     *   *     *   *
                 11/22/17     8        MOTION       to    Dismiss     by
                                       ELAINE C. DUKE, U.S. DE-
                                       PARTMENT OF HOMELAND
                                       SECURITY, UNITED STATES
                                       OF AMERICA (Attachments:
                                       # 1 Memorandum in Support,
                                       # 2 Text of Proposed Order, # 3
                                       Certified Index of Administrative
                                       Record) (Westmoreland, Rachael).
                                       Added MOTION for Summary
                                       Judgment on 11/27/2017 (znmw).
                                       (Entered: 11/22/2017)
                                   *     *   *     *   *
                 12/15/17     23       Memorandum in opposition to re
                                       8 MOTION to Dismiss MOTION
                                       for Summary Judgment filed by
                                       MARIA DE LA CRUZ PER-
                                       ALES SANCHEZ, MICRO-
                                       SOFT CORPORATION, TRUS-
                                       TEES OF PRINCETON UNI-
                                       VERSITY. (Attachments: # 1




                                                                            AR2533
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 256 of 1030 PageID #:
                                     8523



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                       Text of Proposed Order, # 2
                                       Certificate of Service) (Perrelli,
                                       Thomas) (Entered: 12/15/2017)
                                   *     *   *     *   *
                 12/15/17     28       MOTION for Summary Judg-
                                       ment and/or, MOTION for Pre-
                                       liminary Injunction by MARIA
                                       DE LA CRUZ PERALES
                                       SANCHEZ,           MICROSOFT
                                       CORPORATION, TRUSTEES
                                       OF PRINCETON UNIVERSI-
                                       TY (Attachments: # 1 Memo-
                                       randum in Support, # 2 Declara-
                                       tion of Lindsay C. Harrison, # 3
                                       Request for Judicial Notice, # 4
                                       Text of Proposed Order on Mo-
                                       tion for Summary Judgment, # 5
                                       Text of Proposed Order on Mo-
                                       tion for Preliminary Injunction,
                                       # 6 Certificate of Service, # 7
                                       Appendix A. Table of Contents,
                                       # 8 Appendix B. Declarations—
                                       Exhibits A-Q, # 9 Appendix C.
                                       Exhibits 1-24, # 10 Appendix D.
                                       Exhibits 25-43, # 11 Appendix E.
                                       Exhibits 44-59, # 12 Appendix F.
                                       Exhibits 60-78, # 13 Appendix G.
                                       Exhibits 79-98, # 14 Appendix H.
                                       Exhibits 99-108 and ND Cal
                                       Topical Index, # 15 Appendix I.
                                       Exhibits 109-120, # 16 Appendix
                                       J. Exhibits 121-141, # 17 Ap-




                                                                            AR2534
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 257 of 1030 PageID #:
                                     8524



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      pendix K. Declarations—Exhibits
                                      R-CC, # 18 Appendix L. Ex-
                                      hibits 142-143 and Topical Index)
                                      (Perrelli, Thomas) (Entered:
                                      12/15/2017)
                                  *     *   *     *   *
                 1/18/18              MINUTE ORDER: On the
                                      Court’s own motion, and upon
                                      consideration of the entire record
                                      herein, it is hereby ORDERED
                                      that this case is CONSOLI-
                                      DATED with Civil Action No.
                                      17-1907 for purposes of the dis-
                                      positive motions currently pend-
                                      ing in both cases; it is further
                                      ORDERED that all filings with
                                      respect to those motions shall be
                                      made jointly and shall be filed
                                      only in this case; it is further
                                      ORDERED that counsel of rec-
                                      ord in both cases shall receive
                                      electronic notice of any filings
                                      made in either case; and it is
                                      further ORDERED that counsel
                                      in both cases shall determine how
                                      to divide their argument time at
                                      the motions hearing currently set
                                      for Friday, February 2, 2018.
                                      SO ORDERED.            Signed by
                                      Judge John D. Bates on
                                      1/18/2018.     (lcjdb1) (Entered:
                                      01/18/2018)




                                                                            AR2535
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 258 of 1030 PageID #:
                                     8525



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                  *     *   *     *   *
                 1/22/18     55       Memorandum in opposition to re
                                      28 MOTION for Summary Judg-
                                      ment and/or MOTION for Pre-
                                      liminary Injunction filed by DE-
                                      PARTMENT OF HOMELAND
                                      SECURITY, ELAINE C. DUKE,
                                      ELAINE C. DUKE, JEFFER-
                                      SON     BEAUREGARD          SES-
                                      SIONS, III, U.S. CITIZENSHIP
                                      AND IMMIGRATION SER-
                                      VICES, U.S. DEPARTMENT
                                      OF HOMELAND SECURITY,
                                      U.S.    IMMIGRATION         AND
                                      CUSTOMS ENFORCEMENT,
                                      UNITED STATES OF AMER-
                                      ICA     (17-cv-1902),   UNITED
                                      STATES        OF      AMERICA.
                                      (Westmoreland, Rachael) (En-
                                      tered: 01/22/2018)
                 1/22/18     56       REPLY to opposition to motion
                                      re 8 MOTION to Dismiss MO-
                                      TION for Summary Judgment
                                      filed by DEPARTMENT OF
                                      HOMELAND         SECURITY,
                                      ELAINE C. DUKE, ELAINE C.
                                      DUKE, JEFFERSON BEAU-
                                      REGARD     SESSIONS,     III,
                                      DONALD TRUMP, U.S. CITI-
                                      ZENSHIP AND IMMIGRATION
                                      SERVICES,   U.S.    DEPART-
                                      MENT OF HOMELAND SE-




                                                                            AR2536
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 259 of 1030 PageID #:
                                     8526



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      CURITY, U.S. IMMIGRATION
                                      AND CUSTOMS ENFORCE-
                                      MENT, UNITED STATES OF
                                      AMERICA (17-cv-1902), UNIT-
                                      ED STATES OF AMERICA.
                                      (Westmoreland, Rachael) (En-
                                      tered: 01/22/2018)
                                  *     *   *     *   *
                 2/6/18      58       REPLY to opposition to motion
                                      re 28 MOTION for Summary
                                      Judgment and/or MOTION for
                                      Preliminary Injunction filed by
                                      MARIA DE LA CRUZ PER-
                                      ALES SANCHEZ, MICRO-
                                      SOFT CORPORATION, TRUS-
                                      TEES OF PRINCETON UNI-
                                      VERSITY. (Attachments: # 1
                                      Appendix M. Exhibit DD, # 2
                                      Certificate of Service) (Perrelli,
                                      Thomas) (Entered: 02/06/2018)
                                  *     *   *     *   *
                 3/14/18              Minute Entry: Motions Hearing
                                      held on 3/14/2018 before Judge
                                      John D. Bates re: 8 MOTION
                                      to Dismiss MOTION for Sum-
                                      mary Judgment filed by UNIT-
                                      ED STATES OF AMERICA,
                                      ELAINE C. DUKE, U.S. DE-
                                      PARTMENT OF HOMELAND
                                      SECURITY and 28 MOTION for
                                      Summary Judgment and/or MO-




                                                                            AR2537
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 260 of 1030 PageID #:
                                     8527



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      TION for Preliminary Injunction
                                      filed by MARIA DE LA CRUZ
                                      PERALES SANCHEZ, TRUS-
                                      TEES OF PRINCETON UNI-
                                      VERSITY, MICROSOFT COR-
                                      PORATION. Motions heard and
                                      taken under advisement. (Court
                                      Reporter Bryan Wayne) (tb)
                                      (Entered: 03/14/2018)
                                  *     *   *     *   *
                 4/24/18     69       ORDER granting in part, deny-
                                      ing in part, and deferring in part
                                      8 defendants’ motion to dismiss;
                                      granting in part and denying in
                                      part 28 plaintiffs’ motion for sum-
                                      mary judgment; and disposing of
                                      the remaining motions pending in
                                      this case. See text of Order for
                                      details. Signed by Judge John
                                      D. Bates on 4/24/2018. (lcjdb1)
                                      (Entered: 04/24/2018)
                 4/24/18     70       MEMORANDUM AND OPIN-
                                      ION. Signed by Judge John D.
                                      Bates on 4/24/2018.   (lcjdb1)
                                      (Main Document 70 replaced on
                                      4/26/2018)  (ztd).  (Entered:
                                      04/24/2018)
                 6/22/18     71       NOTICE of Filing by DEPART-
                                      MENT OF HOMELAND SE-
                                      CURITY, ELAINE C. DUKE,
                                      ELAINE C. DUKE, JEFFER-




                                                                            AR2538
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 261 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      SON    BEAUREGARD        SES-
                                      SIONS, III, DONALD TRUMP,
                                      U.S. CITIZENSHIP AND IM-
                                      MIGRATION SERVICES, U.S.
                                      DEPARTMENT OF HOME-
                                      LAND SECURITY, U.S. IM-
                                      MIGRATION AND CUSTOMS
                                      ENFORCEMENT,          UNITED
                                      STATES        OF      AMERI-
                                      CA(17-cv-1902),       UNITED
                                      STATES OF AMERICA (At-
                                      tachments:   # 1 Exhibit A—
                                      Memorandum) (Davis, Kathryn)
                                      (Entered: 06/22/2018)
                                  *     *   *     *   *
                 7/11/18     74       MOTION for Order Revising the
                                      Court’s April 24, 2018 Order by
                                      DEPARTMENT OF HOME-
                                      LAND SECURITY, ELAINE C.
                                      DUKE, ELAINE C. DUKE,
                                      JEFFERSON BEAUREGARD
                                      SESSIONS,       III,  DONALD
                                      TRUMP, U.S. CITIZENSHIP
                                      AND IMMIGRATION SER-
                                      VICES, U.S. DEPARTMENT
                                      OF HOMELAND SECURITY,
                                      U.S.    IMMIGRATION       AND
                                      CUSTOMS ENFORCEMENT,
                                      UNITED STATES OF AMER-
                                      ICA     (17-cv-1902),  UNITED
                                      STATES OF AMERICA (At-
                                      tachments: # 1 Text of Pro-




                                                                            AR2539
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 262 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   posed Order) (Davis, Kathryn)
                                   (Entered: 07/11/2018)
                 7/23/18     75    Memorandum in opposition to re
                                   74 MOTION for Order Revising
                                   the Court’s April 24, 2018 Order
                                   filed by MARIA DE LA CRUZ
                                   PERALES SANCHEZ, MICRO-
                                   SOFT CORPORATION, TRUS-
                                   TEES OF PRINCETON UNI-
                                   VERSITY.     (Perrelli, Thomas)
                                   (Entered: 07/23/2018)
                 7/27/18     76    REPLY to opposition to motion
                                   re 74 MOTION for Order Revis-
                                   ing the Court’s April 24, 2018
                                   Order filed by DEPARTMENT
                                   OF HOMELAND SECURITY,
                                   ELAINE C. DUKE, ELAINE C.
                                   DUKE, JEFFERSON BEAU-
                                   REGARD SESSIONS, III, U.S.
                                   CITIZENSHIP AND IMMI-
                                   GRATION SERVICES, U.S.
                                   DEPARTMENT OF HOME-
                                   LAND SECURITY, U.S. IM-
                                   MIGRATION AND CUSTOMS
                                   ENFORCEMENT,         UNITED
                                   STATES        OF    AMERICA
                                   (17-cv-1902), UNITED STATES
                                   OF     AMERICA.         (Davis,
                                   Kathryn) (Entered: 07/27/2018)
                 8/3/18      77    ORDER denying 74 defendants’
                                   motion to revise 69 the Court’s
                                   April 24, 2018 Order. See text




                                                                            AR2540
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 263 of 1030 PageID #:
                                     8530



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                 DATE      NUMBER PROCEEDINGS
                                      of Order for details. Signed by
                                      Judge John D. Bates on 8/3/2018.
                                      (lcjdb1) (Entered: 08/03/2018)
                 8/3/18      78       MEMORANDUM           OPINION.
                                      Signed by Judge John D. Bates
                                      on 8/3/2018. (lcjdb1) (Entered:
                                      08/03/2018)
                                  *     *   *     *   *
                 8/14/18     82       MOTION to Stay re 77 Order on
                                      Motion for Order, 69 Order on
                                      Motion for Miscellaneous Relief,,
                                      Order on Motion for Summary
                                      Judgment,, Order on Motion for
                                      Preliminary Injunction,, Order
                                      on Motion to Dismiss,,,, Order on
                                      Motion for Leave to File,, Order
                                      on Motion for Leave to Appear
                                      Pro Hac Vice,,,,,,,,,,,,,,,,,,,,,,,, Or-
                                      der on Motion to Withdraw as
                                      Attorney, Pending Appeal by
                                      DEPARTMENT OF HOME-
                                      LAND SECURITY, ELAINE C.
                                      DUKE, ELAINE C. DUKE,
                                      JEFFERSON BEAUREGARD
                                      SESSIONS,      III,        DONALD
                                      TRUMP, U.S. CITIZENSHIP
                                      AND IMMIGRATION SER-
                                      VICES, U.S. DEPARTMENT
                                      OF HOMELAND SECURITY,
                                      U.S.   IMMIGRATION                 AND
                                      CUSTOMS ENFORCEMENT,
                                      UNITED STATES OF AMER-




                                                                                 AR2541
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 264 of 1030 PageID #:
                                     8531



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   ICA    (17-cv-1902),  UNITED
                                   STATES OF AMERICA (At-
                                   tachments:    # 1 Exhibit 1—
                                   Renaud Decl., # 2 Text of Pro-
                                   posed Order) (Davis, Kathryn)
                                   (Entered: 08/14/2018)
                 8/15/18     83    RESPONSE re 82 MOTION to
                                   Stay re 77 Order on Motion for
                                   Order, 69 Order on Motion for
                                   Miscellaneous Relief,, Order on
                                   Motion for Summary Judgment,,
                                   Order on Motion for Preliminary
                                   Injunction,, Order on Motion to
                                   Dismiss,,,, Order on Motion for
                                   Leave to File,, filed by MARIA
                                   DE LA CRUZ PERALES
                                   SANCHEZ,            MICROSOFT
                                   CORPORATION, TRUSTEES
                                   OF PRINCETON UNIVERSI-
                                   TY. (Attachments: # 1 Exhibit
                                   A) (Perrelli, Thomas) (Entered:
                                   08/15/2018)
                 8/16/18     84    REPLY to opposition to motion
                                   re 82 MOTION to Stay re 77
                                   Order on Motion for Order, 69
                                   Order on Motion for Miscellane-
                                   ous Relief,, Order on Motion for
                                   Summary Judgment,, Order on
                                   Motion for Preliminary Injunc-
                                   tion,, Order on Motion to Dis-
                                   miss,,,, Order on Motion for
                                   Leave to File,, filed by DE-




                                                                            AR2542
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 265 of 1030 PageID #:
                                     8532



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   PARTMENT OF HOMELAND
                                   SECURITY,         ELAINE     C.
                                   DUKE, ELAINE C. DUKE,
                                   JEFFERSON BEAUREGARD
                                   SESSIONS,       III,  DONALD
                                   TRUMP, U.S. CITIZENSHIP
                                   AND IMMIGRATION SER-
                                   VICES, U.S. DEPARTMENT
                                   OF HOMELAND SECURITY,
                                   U.S.    IMMIGRATION       AND
                                   CUSTOMS ENFORCEMENT,
                                   UNITED STATES OF AMER-
                                   ICA     (17-cv-1902), UNITED
                                   STATES OF AMERICA. (Da-
                                   vis,     Kathryn)     (Entered:
                                   08/16/2018)
                 8/17/18     85    ORDER granting 81 the gov-
                                   ernment’s motion to clarify and
                                   granting in part and denying in
                                   part 82 the government’s motion
                                   to stay. See text of Order for
                                   details. Signed by Judge John
                                   D. Bates on 8/17/2018. (lcjdb1)
                                   (Entered: 08/17/2018)
                 8/17/18     86    MEMORANDUM           OPINION.
                                   Signed by Judge John D. Bates
                                   on 8/17/2018. (lcjdb1) (Entered:
                                   08/17/2018)




                                                                            AR2543
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 266 of 1030 PageID #:
                                     8533



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                           UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT


                                 Docket No. 18-122
                   KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                    SECURITY; JEFFERSON B. SESSIONS III, UNITED
                    STATES ATTORNEY GENERAL; DONALD J. TRUMP,
                                        PETITIONERS
                                               v.
                  MARTIN JONATHAN BATALL VIDAL; MAKE THE ROAD
                  NEW YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                  CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS;
                   ANTONIO ALARCON; ELIANA FERNANDEZ; CARLOS
                    VARGAS; MARIANO MONDRAGON; CAROLINA FUNG
                   FENG, ON BEHALF OF THEMSELVES AND ALL OTHER
                   SIMILARLY SITUATED INDIVIDUALS, RESPONDENTS



                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/16/18        1       MOTION, for leave to appeal
                                        (28 U.S.C. 1292(b)), on behalf of
                                        Petitioner Kirstjen M. Nielsen,
                                        Jefferson B. Sessions III and
                                        Donald J. Trump, FILED.
                                        Service date 01/16/2018 by email.
                                        [2214662] [18-122] [Entered:
                                        01/17/2018 09:17 AM]
                                    *     *   *     *   *
                 1/19/18       13       OPPOSITION TO THE MO-
                                        TION FOR LEAVE TO AP-
                                        PEAL, [1], on behalf of Respon-




                                                                            AR2544
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 267 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      dent Antonio Alarcon, Carolina
                                      Fung Feng, Eliana Fernandez,
                                      Make the Road New York, Mari-
                                      ano Mondragon, Carlos Vargas
                                      and Martin Jonathan Batall
                                      Vidal, FILED.      Service date
                                      01/19/2018 by CM/ECF. [2217875]
                                      [18-122]—[Edited 01/22/2018 by
                                      DGB] [Entered:        01/19/2018
                                      11:44 PM]
                                  *     *   *     *   *
                 1/24/18     28       REPLY TO OPPOSITION [13],
                                      on behalf of Petitioner Kirstjen
                                      M. Nielsen, Donald J. Trump and
                                      Jefferson B. Sessions III,
                                      FILED. Service date 01/24/2018
                                      by CM/ECF.        [2220723] [28]
                                      [18-122] [Entered:    01/24/2018
                                      03:56 PM]
                 1/26/18     41       LETTER, on behalf of Petitioner
                                      Kirstjen M. Nielsen, Jefferson B.
                                      Sessions III and Donald J.
                                      Trump, informing the court that
                                      the 9th circuit granted a similar
                                      petition on 01/25/18, RECEIVED.
                                      Service date 01/26/2018 by
                                      CM/ECF. [2223074] [18-122]—
                                      [Edited 01/29/2018 by DGB]
                                      [Entered: 01/26/2018 04:43 PM]
                                  *     *   *     *   *




                                                                            AR2545
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 268 of 1030 PageID #:
                                     8535



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 2/14/18     47       FRAP 28( j) LETTER, dated
                                      02/14/2018, on behalf of Re-
                                      spondent Antonio Alarcon, Caro-
                                      lina Fung Feng, Eliana Fernan-
                                      dez, Make the Road New York,
                                      Mariano Mondragon, Carlos
                                      Vargas and Martin Jonathan
                                      Batall    Vidal,   RECEIVED.
                                      Service date 02/14/2018 by CM/
                                      ECF. [2236431] [18-122] [En-
                                      tered: 02/14/2018 06:22 PM]
                                  *     *   *     *   *
                 4/10/18     51       FRAP 28( j) LETTER, dated
                                      04/10/2018, on behalf of Re-
                                      spondent Antonio Alarcon, Caro-
                                      lina Fung Feng, Eliana Fernan-
                                      dez, Make the Road New York,
                                      Mariano Mondragon, Carlos
                                      Vargas and Martin Jonathan
                                      Batall    Vidal,   RECEIVED.
                                      Service date 04/10/2018 by
                                      CM/ECF.      [2275792] [18-122]
                                      [Entered: 04/10/2018 01:40 PM]
                 4/10/18     53       FRAP 28( j) LETTER, dated
                                      04/10/2018, on behalf of Petition-
                                      er Kirstjen M. Nielsen, Jefferson
                                      B. Sessions III and Donald J.
                                      Trump, RECEIVED.          Service
                                      date 04/10/2018 by CM/ECF.
                                      [2275969] [18-122] [Entered:
                                      04/10/2018 03:36 PM]




                                                                            AR2546
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 5/4/18      59       ORDER, directing appeals 18-122,
                                      18-123, 18-1313, 18-1314, to be
                                      heard in tandem, FILED.
                                      [2295623] [18-122] [Entered:
                                      05/04/2018 01:52 PM]
                                  *     *   *     *   *
                 5/22/18     68       ORDER, that the appeals dock-
                                      eted under 18-1521 and 18-1525
                                      shall be heard on the merits in
                                      tandem with the four petitions
                                      for leave to appeal docketed un-
                                      der 18-122, 18-123, 18-1313, and
                                      18-1314, in the event the Court
                                      grants the petitions for leave to
                                      appeal. Appellants must file a
                                      scheduling notification letter
                                      within 14 days after the Court
                                      determines the petitions for leave
                                      to appeal, FILED.       [2309267]
                                      [18-122]—[Edited 05/23/2018 by
                                      RD] [Entered: 05/23/2018 09:09
                                      AM]
                                  *     *   *     *   *
                 7/5/18      75       LEAVE TO APPEAL, pursuant
                                      to court order, dated 07/05/2018,
                                      GRANTED. The appeal docket
                                      number is 18-1985. [2338974]
                                      [18-122] [Entered:     07/05/2018
                                      03:37 PM]
                                  *     *   *     *   *




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                           UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT


                                  Docket No. 18-123
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES;
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                      SECURITY; UNITED STATES CITIZENSHIP AND
                  IMMIGRATION SERVICES; UNITED STATES IMMIGRATION
                    AND CUSTOMS ENFORCEMENT; UNITED STATES OF
                       AMERICA; UNITED STATES DEPARTMENT OF
                          HOMELAND SECURITY, PETITIONERS
                                         v.
                    STATE OF NEW YORK; STATE OF MASSACHUSETTS;
                    STATE OF WASHINGTON; STATE OF CONNECTICUT;
                  STATE OF DELAWARE; DISTRICT OF COLUMBIA; STATE
                     OF HAWAII; STATE OF ILLINOIS; STATE OF IOWA;
                  STATE OF NEW MEXICO; STATE OF NORTH CAROLINA;
                  STATE OF OREGON; STATE OF PENNSYLVANIA; STATE
                   OF RHODE ISLAND; STATE OF VERMONT; STATE OF
                      VIRGINIA; STATE OF COLORADO, RESPONDENTS


                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 1/16/18        1    MOTION, for leave to appeal
                                     (28 U.S.C. 1292(b)), on behalf of
                                     Petitioner Kirstjen M. Nielsen,
                                     Donald J. Trump, United States
                                     Citizenship and Immigration
                                     Services, United States Depart-
                                     ment of Homeland Security,
                                     United States Immigration and
                                     Customs Enforcement and United
                                     States of America, FILED.




                                                                            AR2548
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 271 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Service date 01/16/2018 by email.
                                      [2214735] [18-123] [Entered:
                                      01/17/2018 09:56 AM]
                                  *     *   *     *   *
                 1/20/18     12       OPPOSITION TO MOTION, for
                                      leave to appeal (28 U.S.C.
                                      1292(b)) [1], on behalf of Re-
                                      spondent District of Columbia,
                                      State of Colorado, State of Con-
                                      necticut, State of Delaware,
                                      State of Hawaii, State of Illinois,
                                      State of Iowa, State of Massa-
                                      chusetts, State of New Mexico,
                                      State of New York, State of
                                      North Carolina, State of Oregon,
                                      State of Pennsylvania, State of
                                      Rhode Island, State of Vermont,
                                      State of Virginia and State of
                                      Washington, FILED.        Service
                                      date 01/20/2018 by CM/ECF.
                                      [2217877] [18-123] [Entered:
                                      01/20/2018 04:34 AM]
                 1/24/18     16       REPLY TO OPPOSITION [12],
                                      on behalf of Petitioner Kirstjen
                                      M. Nielsen, Donald J. Trump,
                                      United States Citizenship and
                                      Immigration Services, United
                                      States Department of Homeland
                                      Security, United States Immi-
                                      gration and Customs Enforce-
                                      ment and United States of
                                      America, FILED. Service date




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 272 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      01/24/2018      by      CM/ECF.
                                      [2220729] [16] [18-123] [Entered:
                                      01/24/2018 03:58 PM]
                                  *     *   *     *   *
                 1/26/18     27       LETTER, on behalf of Petitioner
                                      Kirstjen M. Nielsen, Donald J.
                                      Trump, United States Citizen-
                                      ship and Immigration Services,
                                      United States Department of
                                      Homeland       Security,     United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America, informing the court
                                      that the 9th circuit granted a
                                      similar petition on 01/25/18, RE-
                                      CEIVED. Service date 01/26/
                                      2018 by CM/ECF.           [2223078]
                                      [18-123]—[Edited 01/29/2018 by
                                      DGB] [Entered:           01/26/2018
                                      04:43 PM]
                                  *     *   *     *   *
                 4/10/18     33       FRAP 28( j) LETTER, dated
                                      04/10/2018, on behalf of Petition-
                                      er Kirstjen M. Nielsen, Donald J.
                                      Trump, United States Citizen-
                                      ship and Immigration Services,
                                      United States Department of
                                      Homeland      Security,   United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America, RECEIVED. Ser-




                                                                            AR2550
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 273 of 1030 PageID #:
                                     8540



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      vice date 04/10/2018 by CM/ECF.
                                      [2275972] [18-123] [Entered:
                                      04/10/2018 03:37 PM]
                 5/4/18      39       ORDER,       directing    appeals
                                      18-122, 18-123, 18-1313, 18-1314,
                                      to be heard in tandem, FILED.
                                      [2295627] [18-123] [Entered:
                                      05/04/2018 01:54 PM]
                                  *     *   *     *   *
                 5/22/18     48       ORDER, that the appeals dock-
                                      eted under 18-1521 and 18-1525
                                      shall be heard on the merits in
                                      tandem with the four petitions
                                      for leave to appeal docketed
                                      under 18-122, 18-123, 18-1313,
                                      and 18-1314, in the event the
                                      Court grants the petitions for
                                      leave to appeal.      Appellants
                                      must file a scheduling notifica-
                                      tion letter within 14 days after
                                      the Court determines the peti-
                                      tions for leave to appeal.
                                      FILED [2309269] [18-123]—
                                      [Edited 05/23/2018 by RD] [En-
                                      tered: 05/23/2018 09:09 AM]
                 7/5/18      54       LEAVE TO APPEAL, pursuant
                                      to court order, dated 07/05/2018,
                                      GRANTED. The appeal docket
                                      number is 18-1987. [2338964]
                                      [18-123]—[Edited 07/06/2018 by




                                                                            AR2551
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 274 of 1030 PageID #:
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      YL] [Entered:      07/05/2018 03:34
                                      PM]
                                  *    *   *     *   *




                                                                            AR2552
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 275 of 1030 PageID #:
                                     8542



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                           UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT


                                  Docket No. 18-485
                  MARTIN JONATHAN BATALL VIDAL; MAKE THE ROAD
                  NEW YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                  CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS;
                   ANTONIO ALARCON; ELIANA FERNANDEZ; CARLOS
                    VARGAS; MARIANO MONDRAGON; CAROLINA FUNG
                   FENG, ON BEHALF OF THEMSELVES AND ALL OTHER
                   SIMILARLY SITUATED INDIVIDUALS; STATE OF NEW
                      YORK; STATE OF MASSACHUSETTS; STATE OF
                    WASHINGTON; STATE OF CONNECTICUT; STATE OF
                     DELAWARE; DISTRICT OF COLUMBIA; STATE OF
                   HAWAII; STATE OF ILLINOIS; STATE OF IOWA; STATE
                  OF NEW MEXICO; STATE OF NORTH CAROLINA; STATE
                    OF OREGON; STATE OF PENNSYLVANIA; STATE OF
                   RHODE ISLAND; STATE OF VERMONT; STATE OF VIR-
                  GINIA; STATE OF COLORADO, PLAINTIFFS-APPELLEES
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES;
                     UNITED STATES CITIZENSHIP AND IMMIGRATION
                  SERVICES; UNITED STATES IMMIGRATION AND CUSTOMS
                  ENFORCEMENT; UNITED STATES OF AMERICA; UNITED
                     STATES DEPARTMENT OF HOMELAND SECURITY;
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                   SECURITY; MATTHEW G. WHITAKER, ACTING UNITED
                             STATES ATTORNEY GENERAL,
                              DEFENDANTS-APPELLANTS



                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 2/20/18        1    NOTICE OF CIVIL APPEAL,
                                     with district court docket, on




                                                                            AR2553
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 276 of 1030 PageID #:
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions
                                      III and Donald J. Trump,
                                      FILED.       [2240954] [18-485]
                                      [Entered: 02/22/2018 10:21 AM]
                                  *     *   *     *   *
                 3/8/18      61       MOTION ORDER, granting
                                      motion to consolidate appeals
                                      [26] filed by Appellant Donald J.
                                      Trump, Jefferson B. Sessions III
                                      and Kirstjen M. Nielsen, grant-
                                      ing motion to expedite appeal
                                      [26] filed by Appellant Donald J.
                                      Trump, Jefferson B. Sessions III
                                      and Kirstjen M. Nielsen; to
                                      the following extent: Plaintiff-
                                      Appellees’ response briefs are
                                      due 04/04/2018, Government’s
                                      reply brief is due 04/16/2018, and
                                      the optional cross-appeal reply
                                      briefs are due 05/07/2018, by
                                      CFD, Circuit Judge, FILED.
                                      [2252300] [61] [18-485] [Entered:
                                      03/08/2018 02:37 PM]
                 3/8/18      62       MOTION ORDER, granting
                                      motion to consolidate appeals
                                      [2249984-4] filed by Appellant
                                      Donald J. Trump, United States
                                      of America, United States Im-
                                      migration and Customs Enforce-
                                      ment, United States Citizenship
                                      and Immigration Services, United




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 277 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       States Department of Homeland
                                       Security and Kirstjen M. Nielsen
                                       in 18-488; granting motion to
                                       expedite appeal [2249984-2] filed
                                       by Appellant Donald J. Trump,
                                       United States of America, United
                                       States Immigration and Customs
                                       Enforcement, United States
                                       Citizenship and Immigration
                                       Services, United States Depart-
                                       ment of Homeland Security and
                                       Kirstjen M. Nielsen in 18-488; to
                                       the following extent: Plaintiff-
                                       Appellees’ response briefs are
                                       due 04/04/2018, Government’s
                                       reply brief is due 04/16/2018, and
                                       the optional cross-appeal reply
                                       briefs are due 05/07/2018, by
                                       CFD, Circuit Judge, FILED.
                                       [2252311] [62] [18-488, 18-485]
                                       [Entered: 03/08/2018 02:43 PM]
                 3/8/18      63        NOTE: See lead case, 18-485,
                                       containing complete set of docket
                                       entries.     [2252315] [18-488,
                                       18-485] [Entered:     03/08/2018
                                       02:45 PM]
                                   *     *   *     *   *
                 3/16/18     114       JOINT APPENDIX, volume 1 of
                                       14, (pp. 1-208), on behalf of Ap-
                                       pellant Kirstjen M. Nielsen,
                                       Jefferson B. Sessions III, Donald
                                       J. Trump, United States Citi-




                                                                            AR2555
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by CM/
                                   ECF.         [2259112]    [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:06 PM]
                 3/16/18     115   JOINT APPENDIX, volume 2 of
                                   14, (pp. 209-468), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-488, FILED. Ser-
                                   vice date 03/07/2018 by CM/ECF.
                                   [2259116] [18-485, 18-488] [En-
                                   tered: 03/16/2018 05:08 PM]
                 3/16/18     116   JOINT APPENDIX, volume 3 of
                                   14, (pp. 469-768), on behalf of Ap-
                                   pellant Kirstjen M. Nielsen, Jef-
                                   ferson B. Sessions III, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.        [2259117] [18-485,
                                   18-488] [Entered: 03/16/2018
                                   05:10 PM]
                 3/16/18     117   JOINT APPENDIX, volume 4 of
                                   14, (pp. 769-1068), on behalf of




                                                                            AR2557
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland       Security,   United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-488, FILED. Ser-
                                   vice date 03/07/2018 by CM/ECF.
                                   [2259118] [18-485, 18-488] [En-
                                   tered: 03/16/2018 05:12 PM]
                 3/16/18     118   JOINT APPENDIX, volume 5 of
                                   14, (pp. 1069-1368), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 281 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland    Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.     [2259124] [18-485,
                                   18-488] [Entered:     03/16/2018
                                   05:26 PM]
                 3/16/18     119   BRIEF & SPECIAL APPEN-
                                   DIX, on behalf of Appellant
                                   Kirstjen M. Nielsen, Jefferson B.
                                   Sessions III, Donald J. Trump,
                                   United States Citizenship and
                                   Immigration Services, United
                                   States Department of Homeland
                                   Security, United States Immi-
                                   gration and Customs Enforce-
                                   ment and United States of
                                   America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland     Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259125] [18-485,




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   18-488] [Entered:      03/16/2018
                                   05:27 PM]
                 3/16/18     120   JOINT APPENDIX, volume 6 of
                                   14, (pp. 1369-1668), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259129] [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:29 PM]
                 3/16/18     121   JOINT APPENDIX, volume 7 of
                                   14, (pp. 1669-1968), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of




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                                     8550



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland    Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.     [2259131] [18-485,
                                   18-488] [Entered:     03/16/2018
                                   05:31 PM]
                 3/16/18     122   JOINT APPENDIX, volume 8 of
                                   14, (pp. 1969-2268), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-




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                 DATE      NUMBER PROCEEDINGS
                                   forcement and United States of
                                   America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.     [2259132] [18-485,
                                   18-488] [Entered:   03/16/2018
                                   05:32 PM]
                 3/16/18     123   JOINT APPENDIX, volume 9 of
                                   14, (pp. 2269-2568), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-488, FILED. Ser-
                                   vice date 03/07/2018 by CM/ECF.
                                   [2259135] [18-485, 18-488] [En-
                                   tered: 03/16/2018 05:34 PM]
                 3/16/18     124   JOINT APPENDIX, volume 10
                                   of 14, (pp. 2569-2868), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 285 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   J. Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland     Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland     Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.      [2259136] [18-485,
                                   18-488] [Entered:      03/16/2018
                                   05:35 PM]
                 3/16/18     125   JOINT APPENDIX, volume 11
                                   of 14, (pp. 2869-3168), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,




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                 DATE      NUMBER PROCEEDINGS
                                   United States Department of
                                   Homeland    Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.     [2259137] [18-485,
                                   18-488] [Entered:     03/16/2018
                                   05:36 PM]
                 3/16/18     126   JOINT APPENDIX, volume 12
                                   of 14, (pp. 3169-3468), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259139] [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:38 PM]




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                 3/16/18     127   JOINT APPENDIX, volume 13
                                   of 14, (pp. 3469-3768), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259141] [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:39 PM]
                 3/16/18     128   JOINT APPENDIX, volume 14
                                   of 14, (pp. 3769-4036), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs




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                                       Enforcement and United States
                                       of America in 18-485, Appellant
                                       Kirstjen M. Nielsen, Donald J.
                                       Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland     Security,    United
                                       States Immigration and Customs
                                       Enforcement and United States
                                       of America in 18-488, FILED.
                                       Service date 03/07/2018 by
                                       CM/ECF.      [2259142] [18-485,
                                       18-488] [Entered:      03/16/2018
                                       05:41 PM]
                                   *     *   *     *   *
                 4/5/18      157       BRIEF, on behalf of Appellee
                                       District of Columbia, State of
                                       Colorado, State of Connecticut,
                                       State of Delaware, State of Ha-
                                       waii, State of Illinois, State of
                                       Iowa, State of Massachusetts,
                                       State of New Mexico, State of
                                       New York, State of North Caro-
                                       lina, State of Oregon, State of
                                       Pennsylvania, State of Rhode
                                       Island, State of Vermont, State
                                       of Virginia and State of Wash-
                                       ington in 18-485, 18-488, FILED.
                                       Service date 04/05/2018 by
                                       CM/ECF.       [2272595] [18-485,
                                       18-488] [Entered:      04/05/2018
                                       11:09 AM]




                                                                            AR2566
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                 DATE      NUMBER PROCEEDINGS

                                   *     *   *     *   *
                 4/12/18     255       BRIEF, on behalf of Appellee
                                       Antonio Alarcon, Carolina Fung
                                       Feng, Eliana Fernandez, Make
                                       the Road New York, Mariano
                                       Mondragon, Carlos Vargas and
                                       Martin Jonathan Batall Vidal in
                                       18-485, FILED. Service date
                                       04/12/2018     by     CM/ECF.
                                       [2278130] [18-485, 18-488] [En-
                                       tered: 04/12/2018 03:48 PM]
                 4/12/18     256       SUPPLEMENTAL            APPEN-
                                       DIX, on behalf of Appellee Anto-
                                       nio Alarcon, Carolina Fung Feng,
                                       Eliana Fernandez, Make the Road
                                       New York, Mariano Mondragon,
                                       Carlos Vargas and Martin Jona-
                                       than Batall Vidal in 18-485,
                                       FILED. Service date 04/12/2018
                                       by CM/ECF. [2278134] [18-485,
                                       18-488] [Entered:      04/12/2018
                                       03:49 PM]
                                   *     *   *     *   *
                 4/16/18     290       REPLY BRIEF, on behalf of
                                       Appellant Kirstjen M. Nielsen,
                                       Jefferson B. Sessions III, Donald
                                       J. Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland Security, United States
                                       Immigration and Customs En-




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                                       forcement and United States of
                                       America in 18-485, Appellant
                                       Kirstjen M. Nielsen, Donald J.
                                       Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland    Security,    United
                                       States Immigration and Customs
                                       Enforcement and United States
                                       of America in 18-488, FILED.
                                       Service date 04/16/2018 by
                                       CM/ECF.     [2280256] [18-485,
                                       18-488] [Entered:     04/16/2018
                                       03:11 PM]
                                   *     *   *     *   *
                 4/23/18     354       FRAP 28( j) LETTER, dated
                                       04/23/2018, on behalf of Appellee
                                       District of Columbia, State of
                                       Colorado, State of Connecticut,
                                       State of Delaware, State of Ha-
                                       waii, State of Illinois, State of
                                       Iowa, State of Massachusetts,
                                       State of New Mexico, State of
                                       New York, State of North Caro-
                                       lina, State of Oregon, State of
                                       Pennsylvania, State of Rhode
                                       Island, State of Vermont, State
                                       of Virginia and State of Wash-
                                       ington, RECEIVED. Service
                                       date 04/23/2018 by CM/ECF.
                                       [2286081] [18-485] [Entered:
                                       04/23/2018 04:10 PM]




                                                                            AR2568
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                   *     *   *     *   *
                 4/30/18     424       FRAP 28( j) LETTER, dated
                                       04/30/2018, on behalf of Appellee
                                       Antonio Alarcon, Carolina Fung
                                       Feng, Eliana Fernandez, Make
                                       the Road New York, Mariano
                                       Mondragon, Carlos Vargas and
                                       Martin Jonathan Batall Vidal,
                                       RECEIVED.          Service date
                                       04/30/2018      by      CM/ECF.
                                       [2291675] [18-485] [Entered:
                                       04/30/2018 05:49 PM]
                                   *     *   *     *   *
                 6/1/18      483       FRAP 28( j) LETTER, dated
                                       06/01/2018, on behalf of Appel-
                                       lant Kirstjen M. Nielsen, Jeffer-
                                       son B. Sessions III, Donald J.
                                       Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland      Security,   United
                                       States Immigration and Customs
                                       Enforcement and United States
                                       of America, RECEIVED. Ser-
                                       vice date 06/01/2018 by CM/ECF.
                                       [2316179] [18-485] [Entered:
                                       06/01/2018 03:25 PM]
                 6/22/18     486       FRAP 28( j) LETTER, dated
                                       06/22/2018, on behalf of Appel-
                                       lant Kirstjen M. Nielsen, Jeffer-
                                       son B. Sessions III, Donald J.




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                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,   United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America, RECEIVED. Ser-
                                   vice date 06/22/2018 by CM/ECF.
                                   [2331355] [18-485] [Entered:
                                   06/22/2018 07:08 PM]
                 7/5/18      490   ORDER,       directing    appeals
                                   18-485, 18-488, 18-1521, 18-1525,
                                   18-1985,    18-1986,     18-1987,
                                   18-1988 to be heard in tandem,
                                   FILED.       [2339212] [18-485,
                                   18-488] [Entered: 07/06/2018
                                   08:27 AM]
                 7/23/18     492   MOTION, to consolidate appeals,
                                   on behalf of Appellant Kirstjen
                                   M. Nielsen, Jefferson B. Sessions
                                   III, Donald J. Trump, United
                                   States Citizenship and Immigra-
                                   tion Services, United States De-
                                   partment of Homeland Security
                                   and United States Immigration
                                   and Customs Enforcement in
                                   18-485, Appellant Kirstjen M.
                                   Nielsen, Donald J. Trump, Unit-
                                   ed States Citizenship and Immi-
                                   gration Services, United States
                                   Department of Homeland Secu-
                                   rity and United States Immigra-




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                 DATE      NUMBER PROCEEDINGS
                                       tion and Customs Enforcement
                                       in 18-488, FILED. Service date
                                       07/23/2018     by     CM/ECF.
                                       [2350832] [18-485, 18-488] [En-
                                       tered: 07/23/2018 03:55 PM]
                 7/25/18     496       MOTION ORDER, granting mo-
                                       tion to consolidate appeals, to ex-
                                       pedite and for reduced word lim-
                                       its in the briefs [492] filed by Ap-
                                       pellant Donald J. Trump, United
                                       States Immigration and Customs
                                       Enforcement, United States
                                       Citizenship and Immigration
                                       Services, United States Depart-
                                       ment of Homeland Security,
                                       Jefferson B. Sessions III and
                                       Kirstjen M. Nielsen, Appellant
                                       Donald J. Trump, United States
                                       Immigration and Customs En-
                                       forcement, United States Citi-
                                       zenship and Immigration Ser-
                                       vices, United States Department
                                       of Homeland Security and Kirs-
                                       tjen M. Nielsen, by DC, Circuit
                                       Judge, FILED. [2352641] [496]
                                       [18-485,     18-488]       [Entered:
                                       07/25/2018 01:20 PM]
                                   *     *   *     *   *
                 7/25/18     499       MOTION ORDER, granting mo-
                                       tion to consolidate appeals, to ex-
                                       pedite and for reduced word lim-
                                       its in the briefs [2350786-2] filed




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 294 of 1030 PageID #:
                                     8561



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                 DATE      NUMBER PROCEEDINGS
                                       by Appellant Donald J. Trump,
                                       Jefferson B. Sessions III and
                                       Kirstjen M. Nielsen in 18-1521,
                                       granting motion to consolidate
                                       appeals [2350790-2] filed by Ap-
                                       pellant Donald J. Trump, United
                                       States of America, United States
                                       Immigration and Customs En-
                                       forcement, United States Citi-
                                       zenship and Immigration Ser-
                                       vices, United States Department
                                       of Homeland Security and Kirs-
                                       tjen M. Nielsen in 18-1525, by
                                       DC, Circuit Judge, FILED.
                                       [2352673] [499] [18-1521, 18-485,
                                       18-488, 18-1525, 18-1985, 18-1986,
                                       18-1987,    18-1988]    [Entered:
                                       07/25/2018 01:40 PM]
                                   *     *   *     *   *
                 7/27/18     504       CORRECTED BRIEF, on be-
                                       half of Appellee District of Co-
                                       lumbia, State of Colorado, State
                                       of Connecticut, State of Dela-
                                       ware, State of Hawaii, State of
                                       Illinois, State of Iowa, State of
                                       Massachusetts, State of New
                                       Mexico, State of New York, State
                                       of North Carolina, State of Ore-
                                       gon, State of Pennsylvania, State
                                       of Rhode Island, State of Ver-
                                       mont, State of Virginia and State
                                       of Washington in 18-485, 18-488,




                                                                            AR2572
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                                     8562



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                 DATE      NUMBER PROCEEDINGS
                                       FILED. Service date 07/27/2018
                                       by CM/ECF. [2354626] [18-485,
                                       18-488] [Entered:   07/27/2018
                                       02:51 PM]
                                   *     *   *     *   *
                 8/15/18     507       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellant Kirstjen M.
                                       Nielsen, Jefferson B. Sessions
                                       III, Donald J. Trump, United
                                       States Citizenship and Immigra-
                                       tion Services, United States
                                       Department of Homeland Secu-
                                       rity, United States Immigration
                                       and Customs Enforcement and
                                       United States of America in
                                       18-485, Appellant Kirstjen M.
                                       Nielsen, Donald J. Trump, Unit-
                                       ed States Citizenship and Immi-
                                       gration Services, United States
                                       Department of Homeland Secu-
                                       rity, United States Immigration
                                       and Customs Enforcement and
                                       United States of America in
                                       18-488, FILED. Service date
                                       08/15/2018      by     CM/ECF.
                                       [2368771]     [18-485,  18-1521,
                                       18-1525,     18-1985,   18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 08/15/2018 02:44 PM]
                                   *     *   *     *   *




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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/25/18     538       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellee Martin Jona-
                                       than Batall Vidal in 18-485,
                                       18-1521, FILED. Service date
                                       09/25/2018     by     CM/ECF.
                                       [2396808]    [18-485,   18-1521,
                                       18-1525,    18-1985,    18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 09/25/2018 03:34 PM]
                                   *     *   *     *   *
                 9/27/18     540       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellee District of
                                       Columbia, State of Colorado,
                                       State of Connecticut, State of
                                       Delaware, State of Hawaii, State
                                       of Illinois, State of Iowa, State of
                                       Massachusetts, State of New
                                       Mexico, State of New York, State
                                       of North Carolina, State of Ore-
                                       gon, State of Pennsylvania, State
                                       of Rhode Island, State of Ver-
                                       mont, State of Virginia and State
                                       of Washington in 18-485, 18-1987,
                                       18-1988, 18-488, FILED. Ser-
                                       vice date 09/27/2018 by CM/ECF.
                                       [2398834]       [18-485,    18-1521,
                                       18-1525,       18-1985,     18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 09/27/2018 04:57 PM]
                                   *     *   *     *   *




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                 DATE       NUMBER PROCEEDINGS
                 10/30/18     561       SUPPLEMENTAL               REPLY
                                        BRIEF, on behalf of Appellant
                                        Kirstjen M. Nielsen, Jefferson B.
                                        Sessions III, Donald J. Trump,
                                        United States Citizenship and
                                        Immigration Services, United
                                        States Department of Homeland
                                        Security, United States Immi-
                                        gration and Customs Enforce-
                                        ment and United States of Amer-
                                        ica in 18-485, Appellant Kirstjen
                                        M. Nielsen, Donald J. Trump,
                                        United States Citizenship and
                                        Immigration Services, United
                                        States Department of Homeland
                                        Security, United States Immi-
                                        gration and Customs Enforce-
                                        ment and United States of Amer-
                                        ica in 18-488, FILED. Service
                                        date 10/05/2018 by CM/ECF.
                                        [2421686]     [18-485,     18-1521,
                                        18-1525, 18-1985, 18-1986, 18-1987,
                                        18-1988,     18-488]     [Entered:
                                        10/30/2018 01:07 PM]
                                    *     *   *     *   *
                 1/25/19      618       CASE, before DJ, RDS, DC,
                                        HEARD.        [2482363] [18-485,
                                        18-488, 18-1521, 18-1525, 18-1985,
                                        18-1986, 18-1987, 18-1988] [En-
                                        tered: 01/25/2019 11:18 AM]
                                    *     *   *     *   *




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                                     8565



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 5/18/19     635   FRAP 28( j) LETTER, dated
                                   05/18/2019, on behalf of Appellee
                                   District of Columbia, State of
                                   Colorado, State of Connecticut,
                                   State of Delaware, State of Ha-
                                   waii, State of Illinois, State of
                                   Iowa, State of Massachusetts,
                                   State of New Mexico, State of
                                   New York, State of North Caro-
                                   lina, State of Oregon, State of
                                   Pennsylvania, State of Rhode
                                   Island, State of Vermont, State
                                   of Virginia and State of Wash-
                                   ington, RECEIVED.         Service
                                   date 05/18/2019 by CM/ECF.
                                   [2567046] [18-485] [Entered:
                                   05/18/2019 01:16 PM]
                 5/20/19     638   FRAP 28( j) LETTER, dated
                                   05/20/2019, on behalf of Appellee
                                   District of Columbia, State of
                                   Colorado, State of Connecticut,
                                   State of Delaware, State of Ha-
                                   waii, State of Illinois, State of
                                   Iowa, State of Massachusetts,
                                   State of New Mexico, State of
                                   New York, State of North Caro-
                                   lina, State of Oregon, State of
                                   Pennsylvania, State of Rhode
                                   Island, State of Vermont, State
                                   of Virginia and State of Wash-
                                   ington, RECEIVED.         Service
                                   date 05/20/2019 by CM/ECF.




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                 DATE     NUMBER PROCEEDINGS
                                      [2568209] [18-485]     [Entered:
                                      05/20/2019 06:04 PM]
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                                     8567



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                           UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT


                                    Docket No. 18-488
                    STATE OF NEW YORK; STATE OF MASSACHUSETTS;
                    STATE OF WASHINGTON; STATE OF CONNECTICUT;
                      STATE OF DELAWARE; DISTRICT OF COLUMBIA;
                  STATE OF HAWAII; STATE OF ILLINOIS; STATE OF IOWA;
                   STATE OF NEW MEXICO; STATE OF NORTH CAROLINA;
                  STATE OF OREGON; STATE OF PENNSYLVANIA; STATE OF
                      RHODE ISLAND; STATE OF VERMONT; STATE OF
                  VIRGINIA; STATE OF COLORADO, PLAINTIFFS-APPELLEES
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES;
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                      SECURITY; UNITED STATES CITIZENSHIP AND
                  IMMIGRATION SERVICES; UNITED STATES IMMIGRATION
                    AND CUSTOMS ENFORCEMENT; UNITED STATES OF
                       AMERICA; UNITED STATES DEPARTMENT OF
                    HOMELAND SECURITY, DEFENDANTS-APPELLANTS


                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 2/20/18        1     NOTICE OF CIVIL APPEAL,
                                      with district court docket, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Donald J. Trump, Unit-
                                      ed States Citizenship and Immi-
                                      gration Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America,




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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      FILED.           [2241054] [18-488]
                                      [Entered:       02/22/2018 11:07 AM]
                                  *     *   *     *   *
                 3/8/18      47       MOTION ORDER, granting
                                      motion to consolidate appeals [17]
                                      filed by Appellant Donald J.
                                      Trump, United States of Ameri-
                                      ca, United States Immigration
                                      and Customs Enforcement, United
                                      States Citizenship and Immigra-
                                      tion Services, United States De-
                                      partment of Homeland Security
                                      and Kirstjen M. Nielsen in 18-488;
                                      granting motion to expedite ap-
                                      peal [17] filed by Appellant Don-
                                      ald J. Trump, United States of
                                      America, United States Immi-
                                      gration and Customs Enforce-
                                      ment, United States Citizenship
                                      and Immigration Services, Unit-
                                      ed States Department of Home-
                                      land Security and Kirstjen M.
                                      Nielsen in 18-488; to the following
                                      extent:    Plaintiff-Appellees’ re-
                                      sponse briefs are due 04/04/2018,
                                      Government’s reply brief is due
                                      04/16/2018, and the optional
                                      cross-appeal reply briefs are due
                                      05/07/2018, by CFD, Circuit
                                      Judge, FILED. [2252311] [47]
                                      [18-488,      18-485]    [Entered:
                                      03/08/2018 02:43 PM]




                                                                             AR2579
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                 DATE      NUMBER PROCEEDINGS
                 3/8/18      48       NOTE: See lead case, 18-485,
                                      containing complete set of docket
                                      entries.     [2252315] [18-488,
                                      18-485] [Entered:     03/08/2018
                                      02:45 PM]
                                  *     *   *     *   *
                 3/16/18     76       JOINT APPENDIX, volume 1 of
                                      14, (pp. 1-208), on behalf of Ap-
                                      pellant Kirstjen M. Nielsen,
                                      Jefferson B. Sessions III, Donald
                                      J. Trump, United States Citizen-
                                      ship and Immigration Services,
                                      United States Department of
                                      Homeland      Security,    United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America in 18-485, Appellant
                                      Kirstjen M. Nielsen, Donald J.
                                      Trump, United States Citizen-
                                      ship and Immigration Services,
                                      United States Department of
                                      Homeland      Security,    United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America in 18-488, FILED.
                                      Service date 03/07/2018 by
                                      CM/ECF.       [2259112] [18-485,
                                      18-488] [Entered:       03/16/2018
                                      05:06 PM]
                 3/16/18     77       JOINT APPENDIX, volume 2 of
                                      14, (pp. 209-468), on behalf of
                                      Appellant Kirstjen M. Nielsen,




                                                                            AR2580
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259116] [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:08 PM]
                 3/16/18     78    JOINT APPENDIX, volume 3 of
                                   14, (pp. 469-768), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-




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                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland    Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.      [2259117] [18-485,
                                   18-488] [Entered:     03/16/2018
                                   05:10 PM]
                 3/16/18     79    JOINT APPENDIX, volume 4 of
                                   14, (pp. 769-1068), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259118] [18-485,




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                                   18-488] [Entered:      03/16/2018
                                   05:12 PM]
                 3/16/18     80    JOINT APPENDIX, volume 5 of
                                   14, (pp. 1069-1368), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259124] [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:26 PM]
                 3/16/18     81    BRIEF & SPECIAL APPEN-
                                   DIX, on behalf of Appellant
                                   Kirstjen M. Nielsen, Jefferson B.
                                   Sessions III, Donald J. Trump,
                                   United States Citizenship and
                                   Immigration Services, United
                                   States Department of Homeland




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                                   Security, United States Immigra-
                                   tion and Customs Enforcement
                                   and United States of America in
                                   18-485, Appellant Kirstjen M.
                                   Nielsen, Donald J. Trump, Unit-
                                   ed States Citizenship and Immi-
                                   gration Services, United States
                                   Department of Homeland Secu-
                                   rity, United States Immigration
                                   and Customs Enforcement and
                                   United States of America in
                                   18-488, FILED.      Service date
                                   03/07/2018     by      CM/ECF.
                                   [2259125] [18-485, 18-488] [En-
                                   tered: 03/16/2018 05:27 PM]
                 3/16/18     82    JOINT APPENDIX, volume 6 of
                                   14, (pp. 1369-1668), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States




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                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.     [2259129] [18-485,
                                   18-488] [Entered:   03/16/2018
                                   05:29 PM]
                 3/16/18     83    JOINT APPENDIX, volume 7 of
                                   14, (pp. 1669-1968), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259131] [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:31 PM]
                 3/16/18     84    JOINT APPENDIX, volume 8 of
                                   14, (pp. 1969-2268), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald




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                                   J. Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland     Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.      [2259132] [18-485,
                                   18-488] [Entered:      03/16/2018
                                   05:32 PM]
                 3/16/18     85    JOINT APPENDIX, volume 9 of
                                   14, (pp. 2269-2568), on behalf of
                                   Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,




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                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.     [2259135] [18-485,
                                   18-488] [Entered:    03/16/2018
                                   05:34 PM]
                 3/16/18     86    JOINT APPENDIX, volume 10
                                   of 14, (pp. 2569-2868), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland Security, United States
                                   Immigration and Customs En-
                                   forcement and United States of
                                   America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259136] [18-485,
                                   18-488] [Entered:      03/16/2018
                                   05:35 PM]




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                 3/16/18     87    JOINT APPENDIX, volume 11
                                   of 14, (pp. 2869-3168), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.       [2259137] [18-485,
                                   18-488] [Entered:       03/16/2018
                                   05:36 PM]
                 3/16/18     88    JOINT APPENDIX, volume 12
                                   of 14, (pp. 3169-3468), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs




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                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland     Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.
                                   Service date 03/07/2018 by
                                   CM/ECF.      [2259139] [18-485,
                                   18-488] [Entered:      03/16/2018
                                   05:38 PM]
                 3/16/18     89    JOINT APPENDIX, volume 13
                                   of 14, (pp. 3469-3768), on behalf
                                   of Appellant Kirstjen M. Nielsen,
                                   Jefferson B. Sessions III, Donald
                                   J. Trump, United States Citi-
                                   zenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-485, Appellant
                                   Kirstjen M. Nielsen, Donald J.
                                   Trump, United States Citizen-
                                   ship and Immigration Services,
                                   United States Department of
                                   Homeland      Security,    United
                                   States Immigration and Customs
                                   Enforcement and United States
                                   of America in 18-488, FILED.




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                                       Service date 03/07/2018 by
                                       CM/ECF.     [2259141] [18-485,
                                       18-488] [Entered:   03/16/2018
                                       05:39 PM]
                 3/16/18     90        JOINT APPENDIX, volume 14
                                       of 14, (pp. 3769-4036), on behalf
                                       of Appellant Kirstjen M. Nielsen,
                                       Jefferson B. Sessions III, Donald
                                       J. Trump, United States Citi-
                                       zenship and Immigration Ser-
                                       vices, United States Department
                                       of Homeland Security, United
                                       States Immigration and Customs
                                       Enforcement and United States
                                       of America in 18-485, Appellant
                                       Kirstjen M. Nielsen, Donald J.
                                       Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland Security, United States
                                       Immigration and Customs En-
                                       forcement and United States of
                                       America in 18-488, FILED. Ser-
                                       vice date 03/07/2018 by CM/ECF.
                                       [2259142] [18-485, 18-488] [En-
                                       tered: 03/16/2018 05:41 PM]
                                   *     *   *     *   *
                 4/5/18      119       BRIEF, on behalf of Appellee
                                       District of Columbia, State of
                                       Colorado, State of Connecticut,
                                       State of Delaware, State of Ha-
                                       waii, State of Illinois, State of




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                                       Iowa, State of Massachusetts,
                                       State of New Mexico, State of
                                       New York, State of North Caro-
                                       lina, State of Oregon, State of
                                       Pennsylvania, State of Rhode
                                       Island, State of Vermont, State of
                                       Virginia and State of Washington
                                       in 18-485, 18-488, FILED. Ser-
                                       vice date 04/05/2018 by CM/ECF.
                                       [2272595] [18-485, 18-488] [En-
                                       tered: 04/05/2018 11:09 AM]
                                   *     *   *     *   *
                 4/12/18     207       BRIEF, on behalf of Appellee
                                       Antonio Alarcon, Carolina Fung
                                       Feng, Eliana Fernandez, Make
                                       the Road New York, Mariano
                                       Mondragon, Carlos Vargas and
                                       Martin Jonathan Batall Vidal in
                                       18-485, FILED.     Service date
                                       04/12/2018     by     CM/ECF.
                                       [2278130] [18-485, 18-488] [En-
                                       tered: 04/12/2018 03:48 PM]
                 4/12/18     208       SUPPLEMENTAL            APPEN-
                                       DIX, on behalf of Appellee Anto-
                                       nio Alarcon, Carolina Fung Feng,
                                       Eliana Fernandez, Make the
                                       Road    New York,        Mariano
                                       Mondragon, Carlos Vargas and
                                       Martin Jonathan Batall Vidal in
                                       18-485, FILED.      Service date
                                       04/12/2018     by      CM/ECF.




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                                       [2278134] [18-485, 18-488] [En-
                                       tered: 04/12/2018 03:49 PM]
                                   *     *   *     *   *
                 4/16/18     241       REPLY BRIEF, on behalf of
                                       Appellant Kirstjen M. Nielsen,
                                       Jefferson B. Sessions III, Donald
                                       J. Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland Security, United States
                                       Immigration and Customs En-
                                       forcement and United States of
                                       America in 18-485, Appellant
                                       Kirstjen M. Nielsen, Donald J.
                                       Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland      Security,    United
                                       States Immigration and Customs
                                       Enforcement and United States
                                       of America in 18-488, FILED.
                                       Service date 04/16/2018 by
                                       CM/ECF.       [2280256] [18-485,
                                       18-488] [Entered:       04/16/2018
                                       03:11 PM]
                                   *     *   *     *   *
                 4/23/18     302       FRAP 28( j) LETTER, dated
                                       04/23/2018, on behalf of Appellee
                                       District of Columbia, State of
                                       Colorado, State of Connecticut,
                                       State of Delaware, State of Ha-




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                                       waii, State of Illinois, State of
                                       Iowa, State of Massachusetts,
                                       State of New Mexico, State of
                                       New York, State of North Caro-
                                       lina, State of Oregon, State of
                                       Pennsylvania, State of Rhode
                                       Island, State of Vermont, State of
                                       Virginia and State of Washing-
                                       ton, RECEIVED. Service date
                                       04/23/2018       by     CM/ECF.
                                       [2286075] [18-488] [Entered:
                                       04/23/2018 04:07 PM]
                                   *     *   *     *   *
                 6/22/18     427       FRAP 28( j) LETTER, dated
                                       06/22/2018, on behalf of Appellant
                                       Kirstjen M. Nielsen, Donald J.
                                       Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland Security, United States
                                       Immigration and Customs En-
                                       forcement and United States of
                                       America, RECEIVED. Service
                                       date 06/22/2018 by CM/ECF.
                                       [2331356] [18-488] [Entered:
                                       06/22/2018 07:10 PM]
                 7/5/18      431       ORDER,       directing    appeals
                                       18-485, 18-488, 18-1521, 18-1525,
                                       18-1985,    18-1986,     18-1987,
                                       18-1988 to be heard in tandem,
                                       FILED.        [2339212] [18-485,




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                                   18-488] [Entered:       07/06/2018
                                   08:27 AM]
                 7/23/18     433   MOTION, to consolidate appeals,
                                   on behalf of Appellant Kirstjen
                                   M. Nielsen, Jefferson B. Sessions
                                   III, Donald J. Trump, United
                                   States Citizenship and Immigra-
                                   tion Services, United States De-
                                   partment of Homeland Security
                                   and United States Immigration
                                   and Customs Enforcement in
                                   18-485, Appellant Kirstjen M.
                                   Nielsen, Donald J. Trump, Unit-
                                   ed States Citizenship and Immi-
                                   gration Services, United States
                                   Department of Homeland Secu-
                                   rity and United States Immigra-
                                   tion and Customs Enforcement in
                                   18-488, FILED.      Service date
                                   07/23/2018      by     CM/ECF.
                                   [2350832] [18-485, 18-488] [En-
                                   tered: 07/23/2018 03:55 PM]
                 7/25/18     437   MOTION ORDER, granting mo-
                                   tion to consolidate appeals, to ex-
                                   pedite and for reduced word lim-
                                   its in the briefs [433] filed by Ap-
                                   pellant Donald J. Trump, United
                                   States Immigration and Customs
                                   Enforcement, United States Ci-
                                   tizenship and Immigration Ser-
                                   vices, United States Department
                                   of Homeland Security, Jefferson




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                                       B. Sessions III and Kirstjen M.
                                       Nielsen, Appellant Donald J.
                                       Trump, United States Immigra-
                                       tion and Customs Enforcement,
                                       United States Citizenship and
                                       Immigration Services, United
                                       States Department of Homeland
                                       Security and Kirstjen M. Nielsen,
                                       by DC, Circuit Judge, FILED.
                                       [2352641] [437] [18-485, 18-488]
                                       [Entered: 07/25/2018 01:20 PM]
                                   *     *   *     *   *
                 7/25/18     440       MOTION ORDER, granting mo-
                                       tion to consolidate appeals, to ex-
                                       pedite and for reduced word lim-
                                       its in the briefs [2350786-2] filed
                                       by Appellant Donald J. Trump,
                                       Jefferson B. Sessions III and
                                       Kirstjen M. Nielsen in 18-1521,
                                       granting motion to consolidate
                                       appeals [2350790-2] filed by Ap-
                                       pellant Donald J. Trump, United
                                       States of America, United States
                                       Immigration and Customs En-
                                       forcement, United States Citi-
                                       zenship and Immigration Ser-
                                       vices, United States Department
                                       of Homeland Security and
                                       Kirstjen M. Nielsen in 18-1525,
                                       by DC, Circuit Judge, FILED.
                                       [2352673] [440] [18-1521, 18-485,
                                       18-488, 18-1525, 18-1985, 18-1986,




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                                       18-1987,    18-1988]    [Entered:
                                       07/25/2018 01:40 PM]
                                   *     *   *     *   *
                 7/27/18     443       CORRECTED BRIEF, on behalf
                                       of Appellee District of Columbia,
                                       State of Colorado, State of Con-
                                       necticut, State of Delaware, State
                                       of Hawaii, State of Illinois, State
                                       of Iowa, State of Massachusetts,
                                       State of New Mexico, State of
                                       New York, State of North Caro-
                                       lina, State of Oregon, State of
                                       Pennsylvania, State of Rhode
                                       Island, State of Vermont, State of
                                       Virginia and State of Washington
                                       in 18-485, 18-488, FILED. Ser-
                                       vice date 07/27/2018 by CM/ECF.
                                       [2354626] [18-485, 18-488] [En-
                                       tered: 07/27/2018 02:51 PM]
                                   *     *   *     *   *
                 8/15/18     445       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellant Kirstjen M.
                                       Nielsen, Jefferson B. Sessions
                                       III, Donald J. Trump, United
                                       States Citizenship and Immigra-
                                       tion Services, United States De-
                                       partment of Homeland Security,
                                       United States Immigration and
                                       Customs Enforcement and Unit-
                                       ed States of America in 18-485,
                                       Appellant Kirstjen M. Nielsen,




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                                       Donald J. Trump, United States
                                       Citizenship and Immigration Ser-
                                       vices, United States Department
                                       of Homeland Security, United
                                       States Immigration and Customs
                                       Enforcement and United States
                                       of America in 18-488, FILED.
                                       Service date 08/15/2018 by CM/
                                       ECF. [2368771] [18-485, 18-1521,
                                       18-1525, 18-1985, 18-1986, 18-1987,
                                       18-1988,     18-488]    [Entered:
                                       08/15/2018 02:44 PM]
                                   *     *   *     *   *
                 9/25/18     462       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellee Martin Jona-
                                       than Batall Vidal in 18-485,
                                       18-1521, FILED. Service date
                                       09/25/2018     by     CM/ECF.
                                       [2396808]    [18-485,   18-1521,
                                       18-1525,    18-1985,    18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 09/25/2018 03:34 PM]
                                   *     *   *     *   *
                 9/27/18     464       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellee District of Col-
                                       umbia, State of Colorado, State
                                       of Connecticut, State of Dela-
                                       ware, State of Hawaii, State of
                                       Illinois, State of Iowa, State of
                                       Massachusetts, State of New
                                       Mexico, State of New York, State




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                                        of North Carolina, State of Ore-
                                        gon, State of Pennsylvania, State
                                        of Rhode Island, State of Ver-
                                        mont, State of Virginia and State
                                        of Washington in 18-485, 18-1987,
                                        18-1988, 18-488, FILED. Ser-
                                        vice date 09/27/2018 by CM/ECF.
                                        [2398834]     [18-485,   18-1521,
                                        18-1525,     18-1985,    18-1986,
                                        18-1987, 18-1988, 18-488] [En-
                                        tered: 09/27/2018 04:57 PM]
                                    *     *   *     *   *
                 10/30/18     477       SUPPLEMENTAL             REPLY
                                        BRIEF, on behalf of Appellant
                                        Kirstjen M. Nielsen, Jefferson B.
                                        Sessions III, Donald J. Trump,
                                        United States Citizenship and
                                        Immigration Services, United
                                        States Department of Homeland
                                        Security, United States Immi-
                                        gration and Customs Enforce-
                                        ment and United States of
                                        America in 18-485, Appellant
                                        Kirstjen M. Nielsen, Donald J.
                                        Trump, United States Citizen-
                                        ship and Immigration Services,
                                        United States Department of
                                        Homeland     Security,    United
                                        States Immigration and Customs
                                        Enforcement and United States
                                        of America in 18-488, FILED.
                                        Service date 10/05/2018 by




                                                                            AR2598
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 321 of 1030 PageID #:
                                     8588



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                 DATE      NUMBER PROCEEDINGS
                                       CM/ECF.       [2421686] [18-485,
                                       18-1521,     18-1525,     18-1985,
                                       18-1986, 18-1987, 18-1988, 18-488]
                                       [Entered: 10/30/2018 01:07 PM]
                                   *     *   *     *   *
                 1/25/19     520       CASE, before DJ, RDS, DC,
                                       HEARD.        [2482363] [18-485,
                                       18-488, 18-1521, 18-1525, 18-1985,
                                       18-1986, 18-1987, 18-1988] [En-
                                       tered: 01/25/2019 11:18 AM]
                                   *     *   *     *   *




                                                                            AR2599
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 322 of 1030 PageID #:
                                     8589



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                          UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT


                                 Docket No. 18-1313
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                     SECURITY; JEFFERSON B. SESSIONS III, UNITED
                     STATES ATTORNEY GENERAL; DONALD J. TRUMP,
                                     PETITIONERS
                                          v.
                  MARTIN JONATHAN BATALL VIDAL; MAKE THE ROAD
                  NEW YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                  CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS;
                   ANTONIO ALARCON; ELIANA FERNANDEZ; CARLOS
                    VARGAS; MARIANO MONDRAGON; CAROLINA FUNG
                   FENG, ON BEHALF OF THEMSELVES AND ALL OTHER
                   SIMILARLY SITUATED INDIVIDUALS, RESPONDENTS



                                   DOCKET ENTRIES

                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 5/3/18        1    MOTION, for leave to appeal
                                    (28 U.S.C. 1292(b)), on behalf of
                                    Petitioner Kirstjen M. Nielsen,
                                    Jefferson B. Sessions III and
                                    Donald J. Trump in 18-1313,
                                    FILED. Service date 05/03/2018
                                    by email. [2294201] [18-1313]
                                    [Entered: 05/03/2018 10:18 AM]
                 5/4/18        6    ORDER,       directing    appeals
                                    18-122, 18-123, 18-1313, 18-1314,
                                    to be heard in tandem, FILED.
                                    [2295650] [18-1313] [Entered:
                                    05/04/2018 02:07 PM]




                                                                            AR2600
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 323 of 1030 PageID #:
                                     8590



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                          DOCKET
                 DATE     NUMBER PROCEEDINGS

                                  *     *   *     *   *
                 5/8/18      14       BRIEF, on behalf of Respondent
                                      Antonio Alarcon, Carolina Fung
                                      Feng, Eliana Fernandez, Make
                                      the Road New York, Mariano
                                      Mondragon, Carlos Vargas and
                                      Martin Jonathan Batall Vidal,
                                      FILED. Service date 05/08/2018
                                      by CM/ECF. [2298397] [18-1313]
                                      [Entered: 05/08/2018 08:37 PM]
                                  *     *   *     *   *
                 5/9/18      16       NON-OPPOSITION               RE-
                                      SPONSE TO MOTION, for leave
                                      to appeal (28 U.S.C. 1292(b)) [1],
                                      on behalf of Respondent Antonio
                                      Alarcon, Carolina Fung Feng,
                                      Eliana Fernandez, Make the
                                      Road New York, Mariano
                                      Mondragon, Carlos Vargas and
                                      Martin Jonathan Batall Vidal,
                                      FILED. Service date 05/09/2018
                                      by CM/ECF. [2298764] [18-1313]
                                      —[Edited 05/09/2018 by DGB]
                                      [Entered: 05/09/2018 11:35 AM]
                                  *     *   *     *   *




                                                                            AR2601
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 324 of 1030 PageID #:
                                     8591



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 5/22/18     38       ORDER, that the appeals dock-
                                      eted under 18-1521 and 18-1525
                                      shall be heard on the merits in
                                      tandem with the four petitions
                                      for leave to appeal docketed
                                      under 18-122, 18-123, 18-1313,
                                      and 18-1314, in the event the
                                      Court grants the petitions for
                                      leave to appeal.        Appellants
                                      must file a scheduling notifica-
                                      tion letter within 14 days after
                                      the Court determines the peti-
                                      tions for leave to appeal. FILED.
                                      [2309275] [18-1313] [Entered:
                                      05/23/2018 09:13 AM]
                                  *     *   *     *   *
                 7/5/18      44       LEAVE TO APPEAL, pursuant
                                      to court order, dated 07/05/2018,
                                      GRANTED. The appeal docket
                                      number is 18-1986. [2338986]
                                      [18-1313] [Entered: 07/05/2018
                                      03:41 PM]
                                  *     *   *     *   *




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 325 of 1030 PageID #:
                                     8592



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                          UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT


                                 Docket No. 18-1314
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES;
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                      SECURITY; UNITED STATES CITIZENSHIP AND
                  IMMIGRATION SERVICES; UNITED STATES IMMIGRATION
                    AND CUSTOMS ENFORCEMENT; UNITED STATES OF
                       AMERICA; UNITED STATES DEPARTMENT OF
                          HOMELAND SECURITY, PETITIONERS
                                         v.
                    STATE OF NEW YORK; STATE OF MASSACHUSETTS;
                    STATE OF WASHINGTON; STATE OF CONNECTICUT;
                  STATE OF DELAWARE; DISTRICT OF COLUMBIA; STATE
                     OF HAWAII; STATE OF ILLINOIS; STATE OF IOWA;
                  STATE OF NEW MEXICO; STATE OF NORTH CAROLINA;
                  STATE OF OREGON; STATE OF PENNSYLVANIA; STATE
                   OF RHODE ISLAND; STATE OF VERMONT; STATE OF
                      VIRGINIA; STATE OF COLORADO, RESPONDENTS


                                   DOCKET ENTRIES

                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 5/3/18        1    MOTION, for leave to appeal
                                    (28 U.S.C. 1292(b)), on behalf of
                                    Petitioner Kirstjen M. Nielsen,
                                    Donald J. Trump, United States
                                    Citizenship and Immigration
                                    Services, United States Depart-
                                    ment of Homeland Security,
                                    United States Immigration and
                                    Customs     Enforcement      and
                                    United States of America in




                                                                            AR2603
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 326 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      18-1314, FILED. Service date
                                      05/03/2018 by email. [2294229]
                                      [18-1314] [Entered: 05/03/2018
                                      10:34 AM]
                 5/4/18       6       ORDER,       directing    appeals
                                      18-122, 18-123, 18-1313, 18-1314,
                                      to be heard in tandem, FILED.
                                      [2295653] [18-1314] [Entered:
                                      05/04/2018 02:08 PM]
                                  *     *   *     *   *
                 5/22/18     17       ORDER, that the appeals dock-
                                      eted under 18-1521 and 18-1525
                                      shall be heard on the merits in
                                      tandem with the four petitions
                                      for leave to appeal docketed
                                      under 18-122, 18-123, 18-1313,
                                      and 18-1314, in the event the
                                      Court grants the petitions for
                                      leave to appeal. Appellants must
                                      file a scheduling notification let-
                                      ter within 14 days after the Court
                                      determines the petitions for leave
                                      to appeal. FILED. [2309278]
                                      [18-1314] [Entered: 05/23/2018
                                      09:16 AM]
                 7/5/18      22       LEAVE TO APPEAL, pursuant
                                      to court order, dated 07/05/2018,
                                      GRANTED. The appeal docket
                                      number is 18-1988. [2338979]
                                      [18-1314]—[Edited 07/06/2018 by




                                                                            AR2604
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 327 of 1030 PageID #:
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                      YL] [Entered:      07/05/2018 03:39
                                      PM]
                                  *    *   *     *   *




                                                                            AR2605
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 328 of 1030 PageID #:
                                     8595



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                           UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT


                                   Docket No. 18-1521
                   MARTIN JONATHAN BATALL VIDAL; MAKE THE ROAD
                    NEW YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                   CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS;
                     ANTONIO ALARCON; ELIANA FERNANDEZ; CARLOS
                     VARGAS; MARIANO MONDRAGON; CAROLINA FUNG
                    FENG, ON BEHALF OF THEMSELVES AND ALL OTHER
                           SIMILARLY SITUATED INDIVIDUALS,
                                 PLAINTIFFS-APPELLEES
                                           v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES;
                   KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                        SECURITY; JEFFERSON B. SESSIONS III;
                   MATTHEW G. WHITAKER, DEFENDANTS-APPELLANTS


                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 5/21/18        1       NOTICE OF CIVIL APPEAL,
                                        with district court docket, on
                                        behalf of Appellant Kirstjen M.
                                        Nielsen, Jefferson B. Sessions
                                        III and Donald J. Trump,
                                        FILED.      [2308060] [18-1521]
                                        [Entered: 05/21/2018 04:42 PM]
                                    *     *   *     *   *
                 5/22/18        8       ORDER, that the appeals dock-
                                        eted under 18-1521 and 18-1525
                                        shall be heard on the merits in




                                                                            AR2606
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 329 of 1030 PageID #:
                                     8596



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      tandem with the four petitions
                                      for leave to appeal docketed
                                      under 18-122, 18-123, 18-1313,
                                      and 18-1314, in the event the
                                      Court grants the petitions for
                                      leave to appeal.      Appellants
                                      must file a scheduling notifica-
                                      tion letter within 14 days after
                                      the Court determines the peti-
                                      tions for leave to appeal.
                                      FILED.       [2308658] [18-1521]
                                      [Entered: 05/22/2018 01:12 PM]
                                  *     *   *     *   *
                 7/5/18      22       ORDER,       directing    appeals
                                      18-485, 18-488, 18-1521, 18-1525,
                                      18-1985,    18-1986,     18-1987,
                                      18-1988 to be heard in tandem,
                                      FILED.      [2339213] [18-1521]
                                      [Entered: 07/06/2018 08:29 AM]
                 7/23/18     24       MOTION, to consolidate appeals,
                                      on behalf of Appellant Kirstjen
                                      M. Nielsen, Jefferson B. Sessions
                                      III and Donald J. Trump,
                                      FILED. Service date 07/23/2018
                                      by CM/ECF. [2350786] [18-1521]
                                      [Entered: 07/23/2018 03:42 PM]
                                  *     *   *     *   *
                 7/25/18     32       MOTION ORDER, granting mo-
                                      tion to consolidate appeals, to ex-
                                      pedite and for reduced word lim-
                                      its in the briefs [24] filed by




                                                                            AR2607
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 330 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Appellant Donald J. Trump,
                                      Jefferson B. Sessions III and
                                      Kirstjen M. Nielsen in 18-1521,
                                      granting motion to consolidate
                                      appeals [2350790-2] filed by
                                      Appellant Donald J. Trump,
                                      United States of America, United
                                      States Immigration and Customs
                                      Enforcement, United States Ci-
                                      tizenship and Immigration Ser-
                                      vices, United States Department
                                      of Homeland Security and
                                      Kirstjen M. Nielsen in 18-1525,
                                      by DC, Circuit Judge, FILED.
                                      [2352673] [32] [18-1521, 18-485,
                                      18-488, 18-1525, 18-1985, 18-1986,
                                      18-1987,    18-1988]    [Entered:
                                      07/25/2018 01:40 PM]
                                  *     *   *     *   *
                 8/15/18     35       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions III,
                                      Donald J. Trump, United States
                                      Citizenship and Immigration Ser-
                                      vices, United States Department
                                      of Homeland Security, United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America in 18-485, Appellant
                                      Kirstjen M. Nielsen, Donald J.
                                      Trump, United States Citizen-
                                      ship and Immigration Services,




                                                                            AR2608
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 331 of 1030 PageID #:
                                     8598



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      United States Department of
                                      Homeland Security, United States
                                      Immigration and Customs En-
                                      forcement and United States of
                                      America in 18-488, FILED.
                                      Service date 08/15/2018 by
                                      CM/ECF.       [2368771] [18-485,
                                      18-1521,     18-1525,     18-1985,
                                      18-1986, 18-1987, 18-1988, 18-488]
                                      [Entered: 08/15/2018 02:44 PM]
                                  *     *   *     *   *
                 9/25/18     53       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee Martin Jona-
                                      than Batall Vidal in 18-485,
                                      18-1521, FILED. Service date
                                      09/25/2018     by     CM/ECF.
                                      [2396808]    [18-485,   18-1521,
                                      18-1525,    18-1985,    18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 09/25/2018 03:34 PM]
                                  *     *   *     *   *
                 9/27/18     55       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee District of
                                      Columbia, State of Colorado,
                                      State of Connecticut, State of
                                      Delaware, State of Hawaii, State
                                      of Illinois, State of Iowa, State of
                                      Massachusetts, State of New
                                      Mexico, State of New York, State
                                      of North Carolina, State of Ore-
                                      gon, State of Pennsylvania, State




                                                                             AR2609
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 332 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                                      of Rhode Island, State of Ver-
                                      mont, State of Virginia and State
                                      of Washington in 18-485, 18-1987,
                                      18-1988, 18-488, FILED. Ser-
                                      vice date 09/27/2018 by CM/ECF.
                                      [2398834]     [18-485,   18-1521,
                                      18-1525,     18-1985,    18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 09/27/2018 04:57 PM]
                                  *     *   *     *   *
                 10/5/18     63       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions
                                      III, Donald J. Trump, United
                                      States Citizenship and Immigra-
                                      tion Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-485, Appellant Kirstjen M.
                                      Nielsen, Donald J. Trump, Unit-
                                      ed States Citizenship and Immi-
                                      gration Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-488, FILED. Service date
                                      10/05/2018      by     CM/ECF.
                                      [2404586]     [18-485,  18-1521,
                                      18-1525,     18-1985,   18-1986,




                                                                            AR2610
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                                     8600



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                 DATE       NUMBER PROCEEDINGS
                                        18-1987, 18-1988, 18-488] [En-
                                        tered: 10/05/2018 01:19 PM]
                                    *     *   *     *   *
                 10/30/18     67        SUPPLEMENTAL             REPLY
                                        BRIEF, on behalf of Appellant
                                        Kirstjen M. Nielsen, Jefferson B.
                                        Sessions III, Donald J. Trump,
                                        United States Citizenship and
                                        Immigration Services, United
                                        States Department of Homeland
                                        Security, United States Immigra-
                                        tion and Customs Enforcement
                                        and United States of America in
                                        18-485, Appellant Kirstjen M.
                                        Nielsen, Donald J. Trump, Unit-
                                        ed States Citizenship and Immi-
                                        gration Services, United States
                                        Department of Homeland Secu-
                                        rity, United States Immigration
                                        and Customs Enforcement and
                                        United States of America in
                                        18-488, FILED. Service date
                                        10/05/2018      by     CM/ECF.
                                        [2421686]    [18-485,    18-1521,
                                        18-1525,    18-1985,     18-1986,
                                        18-1987, 18-1988, 18-488] [En-
                                        tered: 10/30/2018 01:07 PM]
                                    *     *   *     *   *
                 1/25/19      111       CASE, before DJ, RDS, DC,
                                        HEARD.        [2482363] [18-485,
                                        18-488, 18-1521, 18-1525, 18-1985,




                                                                             AR2611
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 334 of 1030 PageID #:
                                     8601



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                 DATE     NUMBER PROCEEDINGS
                                      18-1986, 18-1987, 18-1988] [En-
                                      tered: 01/25/2019 11:18 AM]
                                  *     *   *     *   *




                                                                            AR2612
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 335 of 1030 PageID #:
                                     8602



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                           UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT


                                    Docket No. 18-1525
                    STATE OF NEW YORK; STATE OF MASSACHUSETTS;
                    STATE OF WASHINGTON; STATE OF CONNECTICUT;
                      STATE OF DELAWARE; DISTRICT OF COLUMBIA;
                  STATE OF HAWAII; STATE OF ILLINOIS; STATE OF IOWA;
                   STATE OF NEW MEXICO; STATE OF NORTH CAROLINA;
                  STATE OF OREGON; STATE OF PENNSYLVANIA; STATE OF
                      RHODE ISLAND; STATE OF VERMONT; STATE OF
                  VIRGINIA; STATE OF COLORADO, PLAINTIFFS-APPELLEES
                                          v.
                    DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                  PRESIDENT OF THE UNITED STATES; UNITED STATES
                  DEPARTMENT OF HOMELAND SECURITY; KIRSTJEN M.
                  NIELSEN, IN HER OFFICIAL CAPACITY; UNITED STATES
                   CITIZENSHIP AND IMMIGRATION SERVICES; UNITED
                  STATES IMMIGRATION AND CUSTOMS ENFORCEMENT;
                             UNITED STATES OF AMERICA,
                              DEFENDANTS-APPELLANTS



                                    DOCKET ENTRIES

                             DOCKET
                 DATE        NUMBER PROCEEDINGS
                 5/21/18        1     NOTICE OF INTERLOCU-
                                      TORY CIVIL APPEAL, with
                                      district court docket, on behalf of
                                      Appellants Kirstjen M. Nielsen,
                                      Donald J. Trump, United States
                                      Citizenship and Immigration Ser-
                                      vices, United States Department
                                      of Homeland Security, United
                                      States Immigration and Customs




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 336 of 1030 PageID #:
                                     8603



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Enforcement and United States
                                      of America, FILED. [2308064]
                                      [18-1525]—[Edited 05/21/2018 by
                                      TT] [Entered: 05/21/2018 04:44
                                      PM]

                                  *     *   *     *   *
                 5/22/18      6       ORDER, that the appeals dock-
                                      eted under 18-1521 and 18-1525
                                      shall be heard on the merits in
                                      tandem with the four petitions
                                      for leave to appeal docketed
                                      under 18-122, 18-123, 18-1313,
                                      and 18-1314, in the event the
                                      Court grants the petitions for
                                      leave to appeal. Appellants must
                                      file a scheduling notification let-
                                      ter within 14 days after the Court
                                      determines the petitions for leave
                                      to appeal. FILED. [2308644]
                                      [18-1525]—[Edited 05/23/2018 by
                                      RD] [Entered: 05/22/2018 01:04
                                      PM]
                                  *     *   *     *   *
                 7/5/18      16       ORDER, directing appeals 18-485,
                                      18-488, 18-1521, 18-1525, 18-1985,
                                      18-1986, 18-1987, 18-1988 to be
                                      heard in tandem, FILED.
                                      [2339214] [18-1525] [Entered:
                                      07/06/2018 08:29 AM]
                                  *     *   *     *   *




                                                                            AR2614
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 337 of 1030 PageID #:
                                     8604



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 7/23/18     23       MOTION, to consolidate appeals,
                                      on behalf of Appellant Kirstjen
                                      M. Nielsen, Donald J. Trump,
                                      United States Citizenship and
                                      Immigration Services, United
                                      States Department of Homeland
                                      Security, United States Immi-
                                      gration and Customs Enforce-
                                      ment and United States of
                                      America, FILED. Service date
                                      07/23/2018      by    CM/ECF.
                                      [2350790] [18-1525] [Entered:
                                      07/23/2018 03:44 PM]
                                  *     *   *     *   *
                 7/25/18     29       MOTION ORDER, granting
                                      motion to consolidate appeals, to
                                      expedite and for reduced word
                                      limits in the briefs [2350786-2]
                                      filed by Appellant Donald J.
                                      Trump, Jefferson B. Sessions III
                                      and Kirstjen M. Nielsen in
                                      18-1521, granting motion to con-
                                      solidate appeals [23] filed by
                                      Appellant Donald J. Trump,
                                      United States of America, United
                                      States Immigration and Customs
                                      Enforcement,     United   States
                                      Citizenship and Immigration
                                      Services, United States Depart-
                                      ment of Homeland Security and
                                      Kirstjen M. Nielsen in 18-1525,
                                      by DC, Circuit Judge, FILED.




                                                                            AR2615
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 338 of 1030 PageID #:
                                     8605



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      [2352673] [29] [18-1521, 18-485,
                                      18-488, 18-1525, 18-1985, 18-1986,
                                      18-1987,    18-1988]    [Entered:
                                      07/25/2018 01:40 PM]
                                  *     *   *     *   *
                 8/15/18     32       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions
                                      III, Donald J. Trump, United
                                      States Citizenship and Immigra-
                                      tion Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-485, Appellant Kirstjen M.
                                      Nielsen, Donald J. Trump, Unit-
                                      ed States Citizenship and Immi-
                                      gration Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-488, FILED.       Service date
                                      08/15/2018      by      CM/ECF.
                                      [2368771]     [18-485,    18-1521,
                                      18-1525,     18-1985,     18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 08/15/2018 02:44 PM]
                                  *     *   *     *   *




                                                                            AR2616
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                                     8606



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 9/25/18     48       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee Martin Jona-
                                      than Batall Vidal in 18-485,
                                      18-1521, FILED. Service date
                                      09/25/2018     by     CM/ECF.
                                      [2396808]    [18-485,   18-1521,
                                      18-1525,    18-1985,    18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 09/25/2018 03:34 PM]
                                  *     *   *     *   *
                 9/27/18     50       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee District of
                                      Columbia, State of Colorado,
                                      State of Connecticut, State of
                                      Delaware, State of Hawaii, State
                                      of Illinois, State of Iowa, State of
                                      Massachusetts, State of New
                                      Mexico, State of New York, State
                                      of North Carolina, State of Ore-
                                      gon, State of Pennsylvania, State
                                      of Rhode Island, State of Ver-
                                      mont, State of Virginia and State
                                      of Washington in 18-485, 18-1987,
                                      18-1988, 18-488, FILED. Ser-
                                      vice date 09/27/2018 by CM/ECF.
                                      [2398834]       [18-485,    18-1521,
                                      18-1525,       18-1985,     18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 09/27/2018 04:57 PM]
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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 340 of 1030 PageID #:
                                     8607



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                 DATE       NUMBER PROCEEDINGS
                 10/30/18     62        SUPPLEMENTAL              REPLY
                                        BRIEF, on behalf of Appellant
                                        Kirstjen M. Nielsen, Jefferson B.
                                        Sessions III, Donald J. Trump,
                                        United States Citizenship and
                                        Immigration Services, United
                                        States Department of Homeland
                                        Security, United States Immi-
                                        gration and Customs Enforce-
                                        ment and United States of
                                        America in 18-485, Appellant
                                        Kirstjen M. Nielsen, Donald J.
                                        Trump, United States Citizen-
                                        ship and Immigration Services,
                                        United States Department of
                                        Homeland      Security,    United
                                        States Immigration and Customs
                                        Enforcement and United States
                                        of America in 18-488, FILED.
                                        Service date 10/05/2018 by
                                        CM/ECF.       [2421686] [18-485,
                                        18-1521,     18-1525,     18-1985,
                                        18-1986, 18-1987, 18-1988, 18-488]
                                        [Entered: 10/30/2018 01:07 PM]
                                    *     *   *     *   *
                 1/25/19      105       CASE, before DJ, RDS, DC,
                                        HEARD.        [2482363] [18-485,
                                        18-488, 18-1521, 18-1525, 18-1985,
                                        18-1986, 18-1987, 18-1988] [En-
                                        tered: 01/25/2019 11:18 AM]
                                    *     *   *     *   *




                                                                             AR2618
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 341 of 1030 PageID #:
                                     8608



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                          UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT


                                  Docket No. 18-1985
                  MARTIN JONATHAN BATALL VIDAL; MAKE THE ROAD
                  NEW YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                  CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS;
                   ANTONIO ALARCON; ELIANA FERNANDEZ; CARLOS
                    VARGAS; MARIANO MONDRAGON; CAROLINA FUNG
                   FENG, ON BEHALF OF THEMSELVES AND ALL OTHER
                          SIMILARLY SITUATED INDIVIDUALS,
                                PLAINTIFFS-APPELLEES
                                          v.
                   KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                    SECURITY; JEFFERSON B. SESSIONS III, UNITED
                    STATES ATTORNEY GENERAL; DONALD J. TRUMP,
                         PRESIDENT OF THE UNITED STATES,
                             DEFENDANTS-APPELLANTS



                                   DOCKET ENTRIES

                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 7/5/18        1    NOTICE OF CIVIL APPEAL,
                                    with district court docket, on
                                    behalf of Appellant Kirstjen M.
                                    Nielsen, Jefferson B. Sessions
                                    III and Donald J. Trump,
                                    FILED.      [2338991] [18-1985]
                                    [Entered: 07/05/2018 03:44 PM]
                 7/5/18        2    ORDER,       directing    appeals
                                    18-485, 18-488, 18-1521, 18-1525,
                                    18-1985,    18-1986,     18-1987,
                                    18-1988 to be heard in tandem,




                                                                            AR2619
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 342 of 1030 PageID #:
                                     8609



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      FILED.           [2339207] [18-1985]
                                      [Entered:       07/06/2018 08:21 AM]
                 7/23/18      8       MOTION, to consolidate appeals,
                                      on behalf of Appellant Kirstjen
                                      M. Nielsen, Jefferson B. Sessions
                                      III and Donald J. Trump,
                                      FILED. Service date 07/23/2018
                                      by CM/ECF. [2350782] [18-1985]
                                      [Entered: 07/23/2018 03:42 PM]
                                  *     *   *     *   *
                 7/25/18     14       MOTION ORDER, granting
                                      motion to consolidate appeals, to
                                      expedite and for reduced word
                                      limits in the briefs [2350786-2]
                                      filed by Appellant Donald J.
                                      Trump, Jefferson B. Sessions III
                                      and Kirstjen M. Nielsen in
                                      18-1521, granting motion to con-
                                      solidate appeals [2350790-2] filed
                                      by Appellant Donald J. Trump,
                                      United States of America, United
                                      States Immigration and Customs
                                      Enforcement,     United     States
                                      Citizenship and Immigration
                                      Services, United States Depart-
                                      ment of Homeland Security and
                                      Kirstjen M. Nielsen in 18-1525,
                                      by DC, Circuit Judge, FILED.
                                      [2352673] [14] [18-1521, 18-485,
                                      18-488, 18-1525, 18-1985, 18-1986,
                                      18-1987,    18-1988]    [Entered:
                                      07/25/2018 01:40 PM]




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 343 of 1030 PageID #:
                                     8610



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                  *     *   *     *   *
                 8/15/18     18       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions
                                      III, Donald J. Trump, United
                                      States Citizenship and Immigra-
                                      tion Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-485, Appellant Kirstjen M.
                                      Nielsen, Donald J. Trump, Unit-
                                      ed States Citizenship and Immi-
                                      gration Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-488, FILED.       Service date
                                      08/15/2018      by      CM/ECF.
                                      [2368771]     [18-485,    18-1521,
                                      18-1525,     18-1985,     18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 08/15/2018 02:44 PM]
                                  *     *   *     *   *
                 9/25/18     36       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee Martin Jona-
                                      than Batall Vidal in 18-485,
                                      18-1521, FILED. Service date
                                      09/25/2018    by     CM/ECF.




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                                     8611



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                       [2396808]     [18-485,     18-1521,
                                       18-1525, 18-1985, 18-1986, 18-1987,
                                       18-1988,     18-488]     [Entered:
                                       09/25/2018 03:34 PM]
                                   *     *   *     *   *
                 9/27/18      38       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellee District of
                                       Columbia, State of Colorado,
                                       State of Connecticut, State of
                                       Delaware, State of Hawaii, State
                                       of Illinois, State of Iowa, State of
                                       Massachusetts, State of New
                                       Mexico, State of New York, State
                                       of North Carolina, State of Ore-
                                       gon, State of Pennsylvania, State
                                       of Rhode Island, State of Ver-
                                       mont, State of Virginia and State
                                       of Washington in 18-485, 18-1987,
                                       18-1988, 18-488, FILED. Ser-
                                       vice date 09/27/2018 by CM/ECF.
                                       [2398834]       [18-485,    18-1521,
                                       18-1525,       18-1985,     18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 09/27/2018 04:57 PM]
                                   *     *   *     *   *
                 10/30/18     49       SUPPLEMENTAL             REPLY
                                       BRIEF, on behalf of Appellant
                                       Kirstjen M. Nielsen, Jefferson B.
                                       Sessions III, Donald J. Trump,
                                       United States Citizenship and
                                       Immigration Services, United




                                                                              AR2622
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 345 of 1030 PageID #:
                                     8612



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      States Department of Homeland
                                      Security, United States Immi-
                                      gration and Customs Enforce-
                                      ment and United States of
                                      America in 18-485, Appellant
                                      Kirstjen M. Nielsen, Donald J.
                                      Trump, United States Citizen-
                                      ship and Immigration Services,
                                      United States Department of
                                      Homeland      Security,     United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America in 18-488, FILED.
                                      Service date 10/05/2018 by
                                      CM/ECF.        [2421686] [18-485,
                                      18-1521, 18-1525, 18-1985, 18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 10/30/2018 01:07 PM]
                                  *     *   *     *   *
                 1/25/19     95       CASE, before DJ, RDS, DC,
                                      HEARD.        [2482363] [18-485,
                                      18-488, 18-1521, 18-1525, 18-1985,
                                      18-1986, 18-1987, 18-1988] [En-
                                      tered: 01/25/2019 11:18 AM]
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                                     8613



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                          UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT


                                   Docket No. 18-1986
                  MARTIN JONATHAN BATALL VIDAL; MAKE THE ROAD
                  NEW YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                  CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS;
                   ANTONIO ALARCON; ELIANA FERNANDEZ; CARLOS
                    VARGAS; MARIANO MONDRAGON; CAROLINA FUNG
                   FENG, ON BEHALF OF THEMSELVES AND ALL OTHER
                          SIMILARLY SITUATED INDIVIDUALS,
                                PLAINTIFFS-APPELLEES
                                         v.
                   KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                    SECURITY; JEFFERSON B. SESSIONS III, UNITED
                      STATES ATTORNEY GENERAL; MATTHEW G.
                   WHITAKER, UNITED STATES ATTORNEY GENERAL;
                    DONALD J. TRUMP, PRESIDENT OF THE UNITED
                         STATES, DEFENDANTS-APPELLANTS


                                   DOCKET ENTRIES

                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 7/5/18        1     NOTICE OF CIVIL APPEAL,
                                     with district court docket, on be-
                                     half of Appellant Kirstjen M.
                                     Nielsen, Jefferson B. Sessions III
                                     and Donald J. Trump, FILED.
                                     [2339035] [18-1986] [Entered:
                                     07/05/2018 04:06 PM]
                 7/5/18        2     ORDER, directing appeals 18-485,
                                     18-488, 18-1521, 18-1525, 18-1985,
                                     18-1986, 18-1987, 18-1988 to be




                                                                            AR2624
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 347 of 1030 PageID #:
                                     8614



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      heard in tandem, FILED.
                                      [2339208] [18-1986] [Entered:
                                      07/06/2018 08:23 AM]
                                  *     *   *     *   *
                 7/23/18      7       MOTION, to consolidate appeals,
                                      on behalf of Appellant Kirstjen
                                      M. Nielsen, Jefferson B. Sessions
                                      III and Donald J. Trump, FILED.
                                      Service date 07/23/2018 by CM/
                                      ECF. [2350780] [18-1986] [En-
                                      tered: 07/23/2018 03:41 PM]
                                  *     *   *     *   *
                 7/25/18     13       MOTION ORDER, granting mo-
                                      tion to consolidate appeals, to ex-
                                      pedite and for reduced word lim-
                                      its in the briefs [2350786-2] filed
                                      by Appellant Donald J. Trump,
                                      Jefferson B. Sessions III and
                                      Kirstjen M. Nielsen in 18-1521,
                                      granting motion to consolidate
                                      appeals [2350790-2] filed by
                                      Appellant Donald J. Trump,
                                      United States of America, United
                                      States Immigration and Customs
                                      Enforcement, United States Ci-
                                      tizenship and Immigration Ser-
                                      vices, United States Department
                                      of Homeland Security and Kirst-
                                      jen M. Nielsen in 18-1525, by
                                      DC, Circuit Judge, FILED.
                                      [2352673] [13] [18-1521, 18-485,




                                                                            AR2625
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 348 of 1030 PageID #:
                                     8615



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      18-488, 18-1525, 18-1985, 18-1986,
                                      18-1987,    18-1988]    [Entered:
                                      07/25/2018 01:40 PM]
                                  *     *   *     *   *
                 8/15/18     17       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions
                                      III, Donald J. Trump, United
                                      States Citizenship and Immigra-
                                      tion Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-485, Appellant Kirstjen M.
                                      Nielsen, Donald J. Trump, Unit-
                                      ed States Citizenship and Immi-
                                      gration Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-488, FILED. Service date
                                      08/15/2018 by CM/ECF. [2368771]
                                      [18-485, 18-1521, 18-1525, 18-1985,
                                      18-1986, 18-1987, 18-1988, 18-488]
                                      [Entered: 08/15/2018 02:44 PM]
                                  *     *   *     *   *
                 9/25/18     35       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee Martin Jona-
                                      than Batall Vidal in 18-485,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 349 of 1030 PageID #:
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                 DATE       NUMBER PROCEEDINGS
                                       18-1521, FILED. Service date
                                       09/25/2018      by      CM/ECF.
                                       [2396808]     [18-485,     18-1521,
                                       18-1525, 18-1985, 18-1986, 18-1987,
                                       18-1988,     18-488]     [Entered:
                                       09/25/2018 03:34 PM]
                                   *     *   *     *   *
                 9/27/18      37       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellee District of
                                       Columbia, State of Colorado, State
                                       of Connecticut, State of Dela-
                                       ware, State of Hawaii, State of
                                       Illinois, State of Iowa, State of
                                       Massachusetts, State of New
                                       Mexico, State of New York, State
                                       of North Carolina, State of Ore-
                                       gon, State of Pennsylvania, State
                                       of Rhode Island, State of Ver-
                                       mont, State of Virginia and State
                                       of Washington in 18-485, 18-1987,
                                       18-1988, 18-488, FILED. Ser-
                                       vice date 09/27/2018 by CM/ECF.
                                       [2398834]     [18-485,    18-1521,
                                       18-1525, 18-1985,18-1986, 18-1987,
                                       18-1988,     18-488]    [Entered:
                                       09/27/2018 04:57 PM]
                                   *     *   *     *   *
                 10/30/18     48       SUPPLEMENTAL             REPLY
                                       BRIEF, on behalf of Appellant
                                       Kirstjen M. Nielsen, Jefferson B.
                                       Sessions III, Donald J. Trump,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 350 of 1030 PageID #:
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                                      United States Citizenship and
                                      Immigration Services, United
                                      States Department of Homeland
                                      Security, United States Immi-
                                      gration and Customs Enforce-
                                      ment and United States of
                                      America in 18-485, Appellant
                                      Kirstjen M. Nielsen, Donald J.
                                      Trump, United States Citizen-
                                      ship and Immigration Services,
                                      United States Department of
                                      Homeland       Security,    United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America in 18-488, FILED.
                                      Service date 10/05/2018 by CM/
                                      ECF. [2421686] [18-485, 18-1521,
                                      18-1525, 18-1985, 18-1986, 18-1987,
                                      18-1988,     18-488]     [Entered:
                                      10/30/2018 01:07 PM]
                                  *     *   *     *   *
                 1/25/19     94       CASE, before DJ, RDS, DC,
                                      HEARD.        [2482363] [18-485,
                                      18-488, 18-1521, 18-1525, 18-1985,
                                      18-1986, 18-1987, 18-1988] [En-
                                      tered: 01/25/2019 11:18 AM]
                                  *     *   *     *   *




                                                                            AR2628
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 351 of 1030 PageID #:
                                     8618



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                          UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT


                                   Docket No. 18-1987
                     STATE OF NEW YORK; STATE OF MASSACHUSETTS;
                      STATE OF WASHINGTON; STATE OF DELAWARE;
                   DISTRICT OF COLUMBIA; STATE OF HAWAII; STATE OF
                    ILLINOIS; STATE OF IOWA; STATE OF NEW MEXICO;
                  STATE OF NORTH CAROLINA; STATE OF OREGON; STATE
                  OF PENNSYLVANIA; STATE OF RHODE ISLAND; STATE OF
                   VERMONT; STATE OF VIRGINIA; STATE OF COLORADO;
                     STATE OF CONNECTICUT, PLAINTIFFS-APPELLEES
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES;
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                      SECURITY; UNITED STATES CITIZENSHIP AND
                  IMMIGRATION SERVICES; UNITED STATES IMMIGRATION
                    AND CUSTOMS ENFORCEMENT; UNITED STATES OF
                       AMERICA; UNITED STATES DEPARTMENT OF
                    HOMELAND SECURITY, DEFENDANTS-APPELLANTS


                                   DOCKET ENTRIES

                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 7/5/18        1     NOTICE OF CIVIL APPEAL,
                                     with district court docket, on
                                     behalf of Appellant Kirstjen M.
                                     Nielsen, Donald J. Trump, Unit-
                                     ed States Citizenship and Immi-
                                     gration Services, United States
                                     Department of Homeland Secu-
                                     rity, United States Immigration
                                     and Customs Enforcement and
                                     United States of America,




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 352 of 1030 PageID #:
                                     8619



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      FILED.           [2339108] [18-1987]
                                      [Entered:       07/05/2018 04:41 PM]
                 7/5/18       2       ORDER,       directing    appeals
                                      18-485, 18-488, 18-1521, 18-1525,
                                      18-1985,    18-1986,     18-1987,
                                      18-1988 to be heard in tandem,
                                      FILED.      [2339209] [18-1987]
                                      [Entered: 07/06/2018 08:24 AM]
                                  *     *   *     *   *
                 7/23/18      9       MOTION, to consolidate appeals,
                                      on behalf of Appellant Kirstjen
                                      M. Nielsen, Donald J. Trump,
                                      United States Citizenship and
                                      Immigration Services, United
                                      States Department of Homeland
                                      Security, United States Immigra-
                                      tion and Customs Enforcement
                                      and United States of America,
                                      FILED. Service date 07/23/2018
                                      by CM/ECF. [2350747] [18-1987]
                                      [Entered: 07/23/2018 03:28 PM]
                                  *     *   *     *   *
                 7/25/18     15       MOTION ORDER, granting
                                      motion to consolidate appeals, to
                                      expedite and for reduced word
                                      limits in the briefs [2350786-2]
                                      filed by Appellant Donald J.
                                      Trump, Jefferson B. Sessions III
                                      and Kirstjen M. Nielsen in
                                      18-1521, granting motion to con-
                                      solidate appeals [2350790-2] filed




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 353 of 1030 PageID #:
                                     8620



                                            345

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      by Appellant Donald J. Trump,
                                      United States of America, United
                                      States Immigration and Customs
                                      Enforcement, United States Citi-
                                      zenship and Immigration Ser-
                                      vices, United States Department
                                      of Homeland Security and Kirs-
                                      tjen M. Nielsen in 18-1525, by
                                      DC, Circuit Judge, FILED.
                                      [2352673] [15] [18-1521, 18-485,
                                      18-488, 18-1525, 18-1985, 18-1986,
                                      18-1987,    18-1988]    [Entered:
                                      07/25/2018 01:40 PM]
                                  *     *   *     *   *
                 8/15/18     18       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions
                                      III, Donald J. Trump, United
                                      States Citizenship and Immigra-
                                      tion Services, United States De-
                                      partment of Homeland Security,
                                      United States Immigration and
                                      Customs Enforcement and Unit-
                                      ed States of America in 18-485,
                                      Appellant Kirstjen M. Nielsen,
                                      Donald J. Trump, United States
                                      Citizenship and Immigration Ser-
                                      vices, United States Department
                                      of Homeland Security, United
                                      States Immigration and Customs
                                      Enforcement and United States
                                      of America in 18-488, FILED.




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 354 of 1030 PageID #:
                                     8621



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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Service date 08/15/2018 by
                                      CM/ECF.        [2368771] [18-485,
                                      18-1521, 18-1525, 18-1985, 18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 08/15/2018 02:44 PM]
                                  *     *   *     *   *
                 9/25/18     34       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee Martin Jona-
                                      than Batall Vidal in 18-485,
                                      18-1521, FILED. Service date
                                      09/25/2018     by     CM/ECF.
                                      [2396808]    [18-485,   18-1521,
                                      18-1525,    18-1985,    18-1986,
                                      18-1987, 18-1988, 18-488] [En-
                                      tered: 09/25/2018 03:34 PM]
                                  *     *   *     *   *
                 9/27/18     36       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee District of Co-
                                      lumbia, State of Colorado, State of
                                      Connecticut, State of Delaware,
                                      State of Hawaii, State of Illinois,
                                      State of Iowa, State of Massa-
                                      chusetts, State of New Mexico,
                                      State of New York, State of
                                      North Carolina, State of Oregon,
                                      State of Pennsylvania, State of
                                      Rhode Island, State of Vermont,
                                      State of Virginia and State of
                                      Washington in 18-485, 18-1987,
                                      18-1988, 18-488, FILED. Ser-
                                      vice date 09/27/2018 by CM/ECF.




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 355 of 1030 PageID #:
                                     8622



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                       [2398834]    [18-485,   18-1521,
                                       18-1525,    18-1985,    18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 09/27/2018 04:57 PM]
                                   *     *   *     *   *
                 10/30/18     47       SUPPLEMENTAL               REPLY
                                       BRIEF, on behalf of Appellant
                                       Kirstjen M. Nielsen, Jefferson B.
                                       Sessions III, Donald J. Trump,
                                       United States Citizenship and
                                       Immigration Services, United
                                       States Department of Homeland
                                       Security, United States Immi-
                                       gration and Customs Enforce-
                                       ment and United States of
                                       America in 18-485, Appellant
                                       Kirstjen M. Nielsen, Donald J.
                                       Trump, United States Citizen-
                                       ship and Immigration Services,
                                       United States Department of
                                       Homeland Security, United States
                                       Immigration and Customs En-
                                       forcement and United States of
                                       America in 18-488, FILED.
                                       Service date 10/05/2018 by
                                       CM/ECF.        [2421686] [18-485,
                                       18-1521, 18-1525, 18-1985, 18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 10/30/2018 01:07 PM]
                                   *     *   *     *   *




                                                                             AR2633
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 356 of 1030 PageID #:
                                     8623



                                            348

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 1/25/19     92       CASE, before DJ, RDS, DC,
                                      HEARD.        [2482363] [18-485,
                                      18-488, 18-1521, 18-1525, 18-1985,
                                      18-1986, 18-1987, 18-1988] [En-
                                      tered: 01/25/2019 11:18 AM]
                                  *     *   *     *   *




                                                                            AR2634
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 357 of 1030 PageID #:
                                     8624



                                          349

                          UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT


                                   Docket No. 18-1988
                    STATE OF NEW YORK; STATE OF MASSACHUSETTS;
                    STATE OF WASHINGTON; STATE OF CONNECTICUT;
                      STATE OF DELAWARE; DISTRICT OF COLUMBIA;
                  STATE OF HAWAII; STATE OF ILLINOIS; STATE OF IOWA;
                   STATE OF NEW MEXICO; STATE OF NORTH CAROLINA;
                   STATE OF OREGON; STATE OF PENNSYLVANIA; STATE
                    OF RHODE ISLAND; STATE OF VERMONT; STATE OF
                        VIRGINIA; STATE OF COLORADO; STATE OF
                         CONNECTICUT, PLAINTIFFS-APPELLEES
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES;
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                      SECURITY; UNITED STATES CITIZENSHIP AND
                  IMMIGRATION SERVICES; UNITED STATES IMMIGRATION
                    AND CUSTOMS ENFORCEMENT; UNITED STATES OF
                       AMERICA; UNITED STATES DEPARTMENT OF
                    HOMELAND SECURITY, DEFENDANTS-APPELLANTS


                                   DOCKET ENTRIES

                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                 7/5/18        1     NOTICE OF CIVIL APPEAL,
                                     with district court docket, on be-
                                     half of Appellant Kirstjen M.
                                     Nielsen, Donald J. Trump, Unit-
                                     ed States Citizenship and Immi-
                                     gration Services, United States
                                     Department of Homeland Secu-
                                     rity, United States Immigration
                                     and Customs Enforcement and




                                                                            AR2635
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 358 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      United States of America,
                                      FILED.    [2339153] [18-1988]
                                      [Entered: 07/05/2018 05:06 PM]
                 7/5/18       2       ORDER,       directing     appeals
                                      18-485, 18-488, 18-1521, 18-1525,
                                      18-1985, 18-1986, 18-1987, 18-1988
                                      to be heard in tandem, FILED.
                                      [2339211] [18-1988] [Entered:
                                      07/06/2018 08:25 AM]
                                  *     *   *     *   *
                 7/25/18     15       MOTION ORDER, granting mo-
                                      tion to consolidate appeals, to ex-
                                      pedite and for reduced word lim-
                                      its in the briefs [2350786-2] filed
                                      by Appellant Donald J. Trump,
                                      Jefferson B. Sessions III and
                                      Kirstjen M. Nielsen in 18-1521,
                                      granting motion to consolidate
                                      appeals [2350790-2] filed by
                                      Appellant Donald J. Trump,
                                      United States of America, United
                                      States Immigration and Customs
                                      Enforcement, United States Citi-
                                      zenship and Immigration Ser-
                                      vices, United States Department
                                      of Homeland Security and
                                      Kirstjen M. Nielsen in 18-1525,
                                      by DC, Circuit Judge, FILED.
                                      [2352673] [15] [18-1521, 18-485,
                                      18-488, 18-1525, 18-1985, 18-1986,
                                      18-1987,    18-1988]    [Entered:
                                      07/25/2018 01:40 PM]




                                                                            AR2636
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 359 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS

                                  *     *   *     *   *
                 8/15/18     18       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellant Kirstjen M.
                                      Nielsen, Jefferson B. Sessions
                                      III, Donald J. Trump, United
                                      States Citizenship and Immigra-
                                      tion Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-485, Appellant Kirstjen M.
                                      Nielsen, Donald J. Trump, Unit-
                                      ed States Citizenship and Immi-
                                      gration Services, United States
                                      Department of Homeland Secu-
                                      rity, United States Immigration
                                      and Customs Enforcement and
                                      United States of America in
                                      18-488, FILED. Service date
                                      08/15/2018 by CM/ECF. [2368771]
                                      [18-485, 18-1521, 18-1525, 18-1985,
                                      18-1986, 18-1987, 18-1988, 18-488]
                                      [Entered: 08/15/2018 02:44 PM]
                                  *     *   *     *   *
                 9/25/18     34       SUPPLEMENTAL BRIEF, on
                                      behalf of Appellee Martin Jona-
                                      than Batall Vidal in 18-485,
                                      18-1521, FILED. Service date
                                      09/25/2018    by     CM/ECF.
                                      [2396808]   [18-485,   18-1521,




                                                                            AR2637
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 360 of 1030 PageID #:
                                     8627



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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                       18-1525,    18-1985,    18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 09/25/2018 03:34 PM]
                                   *     *   *     *   *
                 9/27/18      36       SUPPLEMENTAL BRIEF, on
                                       behalf of Appellee District of
                                       Columbia, State of Colorado,
                                       State of Connecticut, State of
                                       Delaware, State of Hawaii, State
                                       of Illinois, State of Iowa, State of
                                       Massachusetts, State of New
                                       Mexico, State of New York, State
                                       of North Carolina, State of Ore-
                                       gon, State of Pennsylvania, State
                                       of Rhode Island, State of Ver-
                                       mont, State of Virginia and State
                                       of Washington in 18-485, 18-1987,
                                       18-1988, 18-488, FILED. Ser-
                                       vice date 09/27/2018 by CM/ECF.
                                       [2398834]       [18-485,    18-1521,
                                       18-1525,       18-1985,     18-1986,
                                       18-1987, 18-1988, 18-488] [En-
                                       tered: 09/27/2018 04:57 PM]
                                   *     *   *     *   *
                 10/30/18     47       SUPPLEMENTAL             REPLY
                                       BRIEF, on behalf of Appellant
                                       Kirstjen M. Nielsen, Jefferson B.
                                       Sessions III, Donald J. Trump,
                                       United States Citizenship and
                                       Immigration Services, United
                                       States Department of Homeland




                                                                              AR2638
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 361 of 1030 PageID #:
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                                      Security, United States Immi-
                                      gration and Customs Enforce-
                                      ment and United States of
                                      America in 18-485, Appellant
                                      Kirstjen M. Nielsen, Donald J.
                                      Trump, United States Citizen-
                                      ship and Immigration Services,
                                      United States Department of
                                      Homeland Security, United States
                                      Immigration and Customs En-
                                      forcement and United States of
                                      America in 18-488, FILED. Ser-
                                      vice date 10/05/2018 by CM/ECF.
                                      [2421686]     [18-485,     18-1521,
                                      18-1525, 18-1985, 18-1986, 18-1987,
                                      18-1988,     18-488]     [Entered:
                                      10/30/2018 01:07 PM]
                                  *     *   *     *   *
                 1/25/19     93       CASE, before DJ, RDS, DC,
                                      HEARD.        [2482363] [18-485,
                                      18-488, 18-1521, 18-1525, 18-1985,
                                      18-1986, 18-1987, 18-1988] [En-
                                      tered: 01/25/2019 11:18 AM]
                                  *     *   *     *   *




                                                                            AR2639
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 362 of 1030 PageID #:
                                     8629



                                        354

                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK
                                 (BROOKLYN)


                           Docket No. 1:16-cv-04756-NGG-JO
                  MARTIN JONATHAN BATALL VIDAL; MAKE THE ROAD
                  NEW YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                  CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS;
                   ANTONIO ALARCON; ELIANA FERNANDEZ; CARLOS
                    VARGAS; MARIANO MONDRAGON; CAROLINA FUNG
                   FENG, ON BEHALF OF THEMSELVES AND ALL OTHER
                     SIMILARLY SITUATED INDIVIDUALS, PLAINTIFFS
                                         v.
                   KATHY A. BARAN, DIRECTOR CALIFORNIA SERVICE
                   CENTER; KELVIN MEDLOCK, ASSOCIATE DIRECTOR,
                    CALIFORNIA SERVICE CENTER; SUSAN M. CURDA,
                      DISTRICT DIRECTOR; DONALD W. NEUFIELD,
                        ASSOCIATE DIRECTOR, SERVICE CENTER
                   OPERATIONS, U.S. CITIZENSHIP AND IMMIGRATION
                     SERVICES; LEON RODRIGUEZ, DIRECTOR, U.S.
                  CITIZENSHIP AND IMMIGRATION SERVICES; KIRSTJEN
                       M. NIELSEN, SECRETARY, DEPARTMENT OF
                    HOMELAND SECURITY; JEFFERSON B. SESSIONS,
                     ATTORNEY GENERAL OF THE UNITED STATES;
                         DONALD J. TRUMP, PRESIDENT OF THE
                            UNITED STATES, DEFENDANTS


                                  DOCKET ENTRIES

                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                 8/25/16      1     COMPLAINT against All De-
                                    fendants filing fee $ 400, receipt
                                    number 0207-8866017 Was the
                                    Disclosure Statement on Civil




                                                                            AR2640
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 363 of 1030 PageID #:
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                 DATE       NUMBER PROCEEDINGS
                                       Cover Sheet completed—YES,,
                                       filed by Martin Jonathan Batalla
                                       Vidal. (Attachments: #1 Ex-
                                       hibit, #2 Exhibit, #3 Exhibit, #4
                                       Exhibit, #5 Exhibit, #6 Civil
                                       Cover Sheet) (Taylor, Amy) (En-
                                       tered: 08/25/2016)
                                   *     *   *     *   *
                 9/29/16      29       AMENDED           COMPLAINT
                                       against All Defendants, filed by
                                       Martin Jonathan Batalla Vidal,
                                       Make the Road New York. (At-
                                       tachments:     #1 Exhibit, #2
                                       Exhibit, #3 Exhibit, #4 Exhibit,
                                       #5 Exhibit, #6 Exhibit) (Wishnie,
                                       Michael) (Entered: 09/29/2016)
                                   *     *   *     *   *
                 9/19/17      60       AMENDED COMPLAINT Sec-
                                       ond against Elaine C. Duke,
                                       Jefferson Beauregard Sessions,
                                       Donald J. Trump, filed by Make
                                       the Road New York, Martin
                                       Jonathan Batalla Vidal.    (At-
                                       tachments:   #1 Exhibit A-G)
                                       (Wishnie, Michael) (Entered:
                                       09/19/2017)
                                   *     *   *     *   *
                 10/27/17     95       MOTION to Dismiss by Elaine C.
                                       Duke, Jefferson Beauregard Ses-
                                       sions, Donald J. Trump.    Re-




                                                                            AR2641
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 364 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       sponses due by 11/1/2017 (At-
                                       tachments: #1 Memorandum in
                                       Support) (Pezzi, Stephen). (En-
                                       tered: 10/27/2017)
                                   *     *   *     *   *
                 11/1/17     102       RESPONSE in Opposition re 95
                                       MOTION to Dismiss filed by
                                       Antonio Alarcon, Martin Jona-
                                       than Batalla Vidal, Carolina
                                       Fung Feng, Eliana Fernandez,
                                       Make the Road New York,
                                       Mariano     Mondragon,    Carlos
                                       Vargas.     (Attachments:    #1
                                       Certificate of Service) (Hanson,
                                       Jessica) (Entered: 11/01/2017)
                                   *     *   *     *   *
                 11/9/17     104       MEMORANDUM & ORDER,
                                       For the reasons stated above.
                                       Defendants’ motion to dismiss for
                                       lack of subject-matter jurisdic-
                                       tion (Dkt. 95) is GRANTED IN
                                       PART and DENIED IN PART.
                                       The following claims are dis-
                                       missed: Batalla Vidal v. Duke,
                                       No. 16-CV-4756: Fourth claim
                                       for relief (Due Process Clause—
                                       Notice); New York v. Trump,
                                       No. 17-CV-5228: Second claim
                                       for relief (Due Process Clause—
                                       Information-Use Policy); Third
                                       claim for relief (Equitable




                                                                            AR2642
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 365 of 1030 PageID #:
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                        Estoppel—Information-Use Pol-
                                        icy); Seventh claim for relief (Due
                                        Process Clause—Notice).         De-
                                        fendants’ motion to dismiss for
                                        lack of subject-matter jurisdic-
                                        tion is denied with respect to all
                                        other claims. The court RE-
                                        SERVES RULING on Defend-
                                        ants’ motion to dismiss for failure
                                        to state a claim. So Ordered by
                                        Judge Nicholas G. Garaufis on
                                        11/9/2017. (Lee, Tiffeny) (En-
                                        tered: 11/09/2017)
                                    *     *   *     *   *
                 12/11/17     113       AMENDED            COMPLAINT
                                        THIRD against Elaine C. Duke,
                                        Jefferson Beauregard Sessions,
                                        Donald J. Trump, filed by Mari-
                                        ano Mondragon, Make the Road
                                        New York, Carlos Vargas, Anto-
                                        nio Alarcon, Carolina Fung Feng,
                                        Eliana Fernandez, Martin Jona-
                                        than Batalla Vidal.      (Attach-
                                        ments: #1 Exhibit A-M) (Han-
                                        son,      Jessica)     (Entered:
                                        12/11/2017)
                                    *     *   *     *   *
                 12/15/17     123       MOTION for Preliminary Injunc-
                                        tion by Antonio Alarcon, Martin
                                        Jonathan Batalla Vidal, Carolina
                                        Fung Feng, Eliana Fernandez,




                                                                              AR2643
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 366 of 1030 PageID #:
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                            DOCKET
                 DATE       NUMBER PROCEEDINGS
                                        Make the Road New York, Mar-
                                        iano Mondragon, Carlos Vargas.
                                        (Attachments:    #1 Memoran-
                                        dum in Support, #2 Table of
                                        Exhibits, #3 Exhibit Exhibit
                                        A-M, Part 1, #4 Exhibit Exhibit
                                        A-M, Part 2, # 5 Exhibit Exhibit
                                        N-Z, #6 Exhibit Exhibit AA-MM,
                                        Part 1, #7 Exhibit Exhibit
                                        AA-MM, Part 2, #8 Exhibit Ex-
                                        hibit AA-MM, Part 3, #9 Exhibit
                                        Exhibit AA-MM, Part 4, #10
                                        Exhibit Exhibit NN-ZZ, Part 1,
                                        #11 Exhibit Exhibit NN-ZZ,
                                        Part 2, #12 Exhibit Exhibit
                                        NN-ZZ, Part 3, #13 Exhibit
                                        Exhibit AAA-RRR) (Tumlin,
                                        Karen) (Entered: 12/15/2017)
                                    *     *   *     *   *
                 12/26/17     207       MOTION to Dismiss Third
                                        Amended Complaint by Kirstjen
                                        M. Nielsen, Jefferson Beaure-
                                        gard Sessions, Donald J. Trump.
                                        Responses due by 1/13/2018 (At-
                                        tachments: #1 Memorandum in
                                        Support) (Pezzi, Stephen) (En-
                                        tered: 12/26/2017)
                                    *     *   *     *   *
                 12/28/17     219       MOTION for Certificate of Ap-
                                        pealability by Kathy A. Baran,
                                        Susan M. Curda, Kelvin Medlock,




                                                                            AR2644
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 367 of 1030 PageID #:
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                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                                       Donald W. Neufeld, Kirstjen M.
                                       Nielsen, Leon Rodriguez, Jef-
                                       ferson Beauregard Sessions,
                                       Donald J. Trump.      (Attach-
                                       ments: #1 Memorandum in Sup-
                                       port) (Westmoreland, Rachael)
                                       (Entered: 12/28/2017)
                                   *     *   *     *   *
                 1/3/18      226       MEMORANDUM in Opposition
                                       re 219 MOTION for Certificate of
                                       Appealability filed by Antonio
                                       Alarcon, Martin Jonathan Batalla
                                       Vidal, Carolina Fung Feng, Eli-
                                       ana Fernandez, Make the Road
                                       New York, Mariano Mondragon,
                                       Carlos Vargas. (Joachin, May-
                                       ra) (Entered: 01/03/2018)
                                   *     *   *     *   *
                 1/5/18      231       REPLY in Support re 219 MO-
                                       TION for Certificate of Appeala-
                                       bility filed by All Defendants.
                                       (Westmoreland, Rachael) (En-
                                       tered: 01/05/2018)
                                   *     *   *     *   *
                 1/8/18      233       MEMORANDUM & ORDER,
                                       For the reasons stated above,
                                       Defendants’ motion for the court
                                       to certify its November 9th M&O
                                       for interlocutory appeal pursuant
                                       to 28 U.S.C. § 1292(b) (Dkt. 219




                                                                            AR2645
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 368 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                                       in No. 16-CV-4756; Dkt 184 in
                                       No. 17-CV-5228) is GRANTED.
                                       Discovery and record supplemen-
                                       tation in these cases are stayed
                                       pending the Second Circuit’s
                                       decision on Defendants’ antici-
                                       pated interlocutory appeal. (See
                                       Dec. 27, 2017, USCA Order at 4.)
                                       So Ordered by Judge Nicholas G.
                                       Garaufis on 1/8/2018. (Lee, Tif-
                                       feny) (Entered: 01/08/2018)
                 1/8/18      234       NOTICE OF INTERLOCU-
                                       TORY APPEAL as to 104 Order
                                       on Motion to Dismiss,,,,,,, by
                                       Kirstjen M. Nielsen, Jefferson
                                       Beauregard Sessions, Donald J.
                                       Trump. (Pezzi, Stephen) (En-
                                       tered: 01/08/2018)
                                   *     *   *     *   *
                 1/13/18     239       MEMORANDUM in Opposition
                                       re 123 MOTION for Preliminary
                                       Injunction filed by Kirstjen M.
                                       Nielsen, Jefferson Beauregard
                                       Sessions, Donald J. Trump.
                                       (Pezzi,    Stephen)   (Entered:
                                       01/13/2018)
                 1/13/18     240       MEMORANDUM in Opposition
                                       re 207 MOTION to Dismiss
                                       Third Amended Complaint filed
                                       by All Plaintiffs. (Attachments:
                                       # 1 Exhibit Exhibits A-L)




                                                                            AR2646
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 369 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       (Wishnie, Michael)      (Entered:
                                       01/13/2018)
                                   *     *   *     *   *
                 1/30/18               Minute Entry for proceedings
                                       held before Judge Nicholas G.
                                       Garaufis:     Argument held on
                                       1/30/2018 on Plaintiffs’ motions
                                       for preliminary injunction (Dkt.
                                       123 in No. 16-CV-4756; Dkt. 96 in
                                       No. 17-CV-5228); Defendants’
                                       motion to dismiss (Dkt. 207 in
                                       No. 16-CV-4756; Dkt. 71 in No.
                                       17-CV-5228); and the Batalla
                                       Vidal Plaintiffs’ motion for class
                                       certification (Dkt. 124 in No.
                                       16-CV-4756).      Counsel for all
                                       parties present.       The court
                                       reserved decision on the motions.
                                       (Court Reporter Holly Driscoll)
                                       (Scott,     Conrad)     (Entered:
                                       01/30/2018)
                                   *     *   *     *   *
                 2/13/18     254       MEMORANDUM & ORDER,
                                       Plaintiffs’ motions for prelimi-
                                       nary injunction (Dkt. 123 in No.
                                       16-CV-4756; Dkt. 96 in No.
                                       17-CV-5228) are GRANTED.
                                       The Batalla Vidal Plaintiffs’ mo-
                                       tion for class certification (Dkt.
                                       124) is DENIED as moot. So
                                       Ordered by Judge Nicholas G.




                                                                            AR2647
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 370 of 1030 PageID #:
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       Garaufis on 2/13/2018.     (Lee,
                                       Tiffeny) (Entered: 02/13/2018)
                 2/13/18     255       AMENDED MEMORANDUM
                                       & ORDER AND PRELIMI-
                                       NARY INJUNCTION.           The
                                       Memorandum & Order filed ear-
                                       lier today is withdrawn.   Or-
                                       dered by Judge Nicholas G.
                                       Garaufis on 2/13/2018. (Scott,
                                       Conrad) (Entered: 02/13/2018)
                                   *     *   *     *   *
                 2/20/18     257       NOTICE OF INTERLOCU-
                                       TORY APPEAL as to 255 Order
                                       by Kirstjen M. Nielsen, Jefferson
                                       Beauregard Sessions, Donald J.
                                       Trump. (Pezzi, Stephen) (En-
                                       tered: 02/20/2018)
                                   *     *   *     *   *
                 3/29/18     260       MEMORANDUM & ORDER,
                                       For the reasons stated above,
                                       Defendants’ motions to dismiss
                                       the Batalla Vidal Plaintiffs’ third
                                       amended complaint and the State
                                       Plaintiffs’ amended complaint
                                       (Dkt. 207 in No. 16-CV-4756; No.
                                       71 in No. 17-CV-5228) are
                                       GRANTED IN PART and DE-
                                       NIED IN PART. The Batalla
                                       Vidal Plaintiffs’ first, third, and
                                       fourth claims for relief are dis-
                                       missed, and the second claim for




                                                                             AR2648
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 371 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                                       relief is dismissed to the extent it
                                       alleges that Defendants weak-
                                       ened DHS’s information-use
                                       policy. The sixth claim for relief
                                       is dismissed in part, as stated
                                       above. The State Plaintiffs’ fifth
                                       and sixth claims for relief are
                                       dismissed.       So Ordered by
                                       Judge Nicholas G. Garaufis on
                                       3/29/2018. (Lee, Tiffeny) (En-
                                       tered: 03/29/2018)
                                   *     *   *     *   *
                 4/13/18     264       MOTION for Leave to Appeal,
                                       Pursuant to 28 U.S.C. 1292(b),
                                       the Court’s March 29, 2018 Order
                                       by Kirstjen M. Nielsen, Jefferson
                                       Beauregard Sessions, Donald J.
                                       Trump.      (Attachments:      #1
                                       Memorandum in Support) (Pezzi,
                                       Stephen) (Entered: 04/13/2018)
                                   *     *   *     *   *
                 4/18/18     265       RESPONSE in Opposition re 264
                                       MOTION for Leave to Appeal,
                                       Pursuant to 28 U.S.C. 1292(b),
                                       the Court’s March 29, 2018 Order
                                       filed by All Plaintiffs. (Hanson,
                                       Jessica) (Entered: 04/18/2018)
                                   *     *   *     *   *
                 4/30/18     269       ORDER, Defendants’ motion to
                                       certify the court's March 29 M&O




                                                                              AR2649
Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 372 of 1030 PageID #:
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                 DATE      NUMBER PROCEEDINGS
                                       for interlocutory appeal (Dkt. 264
                                       in No. 16-CV-4756; Dkt. 217 in
                                       No. I7-CV-5228) is granted. So
                                       Ordered by Judge Nicholas G.
                                       Garaufis on 4/30/2018. (Lee,
                                       Tiffeny) (Entered: 04/30/2018)
                                   *     *   *     *   *
                 5/21/18     271       NOTICE OF INTERLOCU-
                                       TORY APPEAL as to 260 Order
                                       on Motion to Dismiss for Failure
                                       to State a Claim,,,,, by Kirstjen
                                       M. Nielsen, Jefferson Beaure-
                                       gard Sessions, Donald J. Trump.
                                       (Pezzi,    Stephen)     (Entered:
                                       05/21/2018)
                                   *     *   *     *   *
                 5/29/18     273       ANSWER to 113 Amended Com-
                                       plaint, (Third) by Kirstjen M.
                                       Nielsen, Jefferson Beauregard
                                       Sessions, Donald J. Trump.
                                       (Pezzi,    Stephen)  (Entered:
                                       05/29/2018)
                                   *     *   *     *   *




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Case 1:16-cv-04756-NGG-VMS Document 319-8 Filed 09/04/20 Page 373 of 1030 PageID #:
                                     8640



                                         365

                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK
                                 (BROOKLYN)


                           Docket No. 1:17-cv-05228-NGG-JO
                    STATE OF NEW YORK; STATE OF MASSACHUSETTS;
                    STATE OF WASHINGTON; STATE OF CONNECTICUT;
                  STATE OF DELAWARE; DISTRICT OF COLUMBIA; STATE
                  OF HAWAII; STATE OF ILLINOIS; STATE OF IOWA; STATE
                   OF NEW MEXICO; STATE OF NORTH CAROLINA; STATE
                     OF OREGON; STATE OF PENNSYLVANIA; STATE OF
                      RHODE ISLAND; STATE OF VERMONT; STATE OF
                       VIRGINIA, STATE OF COLORADO, PLAINTIFFS
                                          v.
                      DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY
                         AS PRESIDENT OF THE UNITED STATES;
                      U.S. DEPARTMENT OF HOMELAND SECURITY;
                   KIRSTJEN M. NIELSEN, IN HER OFFICIAL CAPACITY;
                     U.S. CITIZENSHIP AND IMMIGRATION SERVCES;
                    U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT;
                       UNITED STATES OF AMERICA, DEFENDANTS


                                  DOCKET ENTRIES

                          DOCKET
                 DATE     NUMBER PROCEEDINGS
                 9/6/17       1     COMPLAINT State of New
                                    York, et al. against All Defend-
                                    ants filing fee $ 400, receipt num-
                                    ber 0207-9807840 Was the Dis-
                                    closure Statement on Civil Cover
                                    Sheet completed—NO,, filed by
                                    State of North Carolina, State of
                                    Hawaii, State of Massachussetts,
                                    State Of New York, State of




                                                                            AR2651
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                      Virginia, State of Pennsylvania,
                                      District of Columbia, State of
                                      Washington, State of Iowa, State
                                      of Oregon, State of Rhode Island,
                                      State of Vermont, State of Illi-
                                      nois, State of Connecticut, State
                                      of New Mexico, State of Dela-
                                      ware. (Attachments: # 1 Civil
                                      Cover Sheet, # 2 Appendix, # 3
                                      Proposed Summons Elaine C.
                                      Duke, # 4 Proposed Summons
                                      DHS HQ, # 5 Proposed Sum-
                                      mons Donald Trump, # 6 Pro-
                                      posed Summons ICE, # 7 Pro-
                                      posed Summons USCIS HQ, # 8
                                      Proposed     Summons      USCIS
                                      NYC, # 9 Proposed Summons
                                      USA (DOJ)) (Rosado, Lourdes)
                                      (Entered: 09/06/2017)
                                  *     *   *     *   *
                 10/4/17     54       AMENDED COMPLAINT from
                                      Plaintiff States against All De-
                                      fendants, filed by State of North
                                      Carolina, State of Hawaii, State
                                      of Massachusetts, State Of New
                                      York, State of Virginia, State of
                                      Pennsylvania, District of Colum-
                                      bia, State of Washington, State
                                      of Iowa, State of Oregon, State of
                                      Rhode Island, State of Vermont,
                                      State of Illinois, State of Con-
                                      necticut, State of New Mexico,




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                                       State of Delaware, State of Col-
                                       orado. (Attachments: # 1 Ap-
                                       pendix Exhibit List) (Khan,
                                       Sania) (Entered: 10/04/2017)
                                   *     *   *     *   *
                 10/27/17     71       MOTION to Dismiss by U.S.
                                       Citizenship and Immigration
                                       Services, U.S. Department of
                                       Homeland Security, U.S. Immi-
                                       gration and Customs Enforce-
                                       ment, United States of America.
                                       Responses due by 11/1/2017
                                       (Attachments: # 1 Memoran-
                                       dum in Support) (Pezzi, Ste-
                                       phen). (Entered: 10/27/2017)
                                   *     *   *     *   *
                 10/27/17     74       NOTICE by Donald Trump,
                                       Elaine C. Duke, U.S. Citizenship
                                       and Immigration Services, U.S.
                                       Department of Homeland Secu-
                                       rity, U.S. Immigration and Cus-
                                       toms     Enforcement,     United
                                       States of America re 71 MO-
                                       TION to Dismiss—Errata to
                                       Memorandum of Law in support
                                       of Defendants’ Motion to Dis-
                                       miss (Marutollo, Joseph) (En-
                                       tered: 10/27/2017)
                                   *     *   *     *   *




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                 11/1/17     81       MEMORANDUM in Opposition
                                      re 71 MOTION to Dismiss Re:
                                      FRCP12(b) (1) filed by All Plain-
                                      tiffs. (Khan, Sania) (Entered:
                                      11/01/2017)
                 11/1/17     82       MEMORANDUM in Opposition
                                      re 71 MOTION to Dismiss
                                      CORRECTED filed by All Plain-
                                      tiffs. (Khan, Sania) (Entered:
                                      11/01/2017)
                                  *     *   *     *   *
                 11/9/17     85       MEMORANDUM & ORDER,
                                      For the reasons stated above.
                                      Defendants’ motion to dismiss
                                      for lack of subject-matter juris-
                                      diction (Dkt. 95 ) is GRANTED
                                      IN PART and DENIED IN
                                      PART.      The following claims
                                      are dismissed: Batalla Vidal v.
                                      Duke, No. 16-CV-4756: Fourth
                                      claim for relief (Due Process
                                      Clause—Notice); New York v.
                                      Trump, No. 17-CV-5228: Sec-
                                      ond claim for relief (Due Process
                                      Clause—Information-Use Poli-
                                      cy); Third claim for relief (Equi-
                                      table     Estoppel—Information-
                                      Use Policy); Seventh claim for
                                      relief (Due Process Clause—
                                      Notice). Defendants’ motion to
                                      dismiss for lack of subject-matter
                                      jurisdiction is denied with re-




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                                        spect to all other claims. The
                                        court RESERVES RULING on
                                        Defendants’ motion to dismiss
                                        for failure to state a claim. So
                                        Ordered by Judge Nicholas G.
                                        Garaufis on 11/9/2017.      (Lee,
                                        Tiffeny) (Entered: 11/09/2017)
                                    *     *   *     *   *
                 12/15/17     96        First MOTION for Preliminary
                                        Injunction by District of Colum-
                                        bia, State Of New York, State of
                                        Colorado, State of Connecticut,
                                        State of Delaware, State of Ha-
                                        waii, State of Illinois, State of
                                        Iowa, State of Massachusetts,
                                        State of New Mexico, State of
                                        North Carolina, State of Oregon,
                                        State of Pennsylvania, State of
                                        Rhode Island, State of Vermont,
                                        State of Virginia, State of Wash-
                                        ington.    (Attachments:     # 1
                                        Memorandum in Support Pre-
                                        liminary Injunction, # 2 Appen-
                                        dix Exhibit List, # 3 Proposed
                                        Order for Preliminary Injunc-
                                        tion) (Khan, Sania) (Entered:
                                        12/15/2017)
                                    *     *   *     *   *
                 12/28/17     184       MOTION for Certificate of Ap-
                                        pealability by Donald Trump,
                                        Kirstjen M. Nielsen, U.S. Citi-




                                                                            AR2655
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                                       zenship and Immigration Services,
                                       U.S. Department of Homeland
                                       Security, U.S. Immigration and
                                       Customs Enforcement, United
                                       States of America. (Attachments:
                                       # 1 Memorandum in Support)
                                       (Westmoreland, Rachael) (En-
                                       tered: 12/28/2017)
                                   *     *   *     *   *
                 1/3/18      193       MEMORANDUM in Opposition
                                       re 184 MOTION for Certificate
                                       of Appealability And Motion for
                                       Stay filed by All Plaintiffs.
                                       (Lucas,     Diane)    (Entered:
                                       01/03/2018)
                                   *     *   *     *   *
                 1/5/18      196       REPLY in Support re 184 MO-
                                       TION for Certificate of Appeala-
                                       bility filed by All Defendants.
                                       (Westmoreland, Rachael) (En-
                                       tered: 01/05/2018)
                                   *     *   *     *   *
                 1/8/18      198       MEMORANDUM & ORDER,
                                       For the reasons stated above,
                                       Defendants’ motion for the court
                                       to certify its November 9th M&O
                                       for interlocutory appeal pursuant
                                       to 28 U.S.C. § 1292(b) (Dkt. 219
                                       in No. 16-CV-4756; Dkt 184 in
                                       No. 17-CV-5228) is GRANTED.




                                                                            AR2656
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                                       Discovery and record supple-
                                       mentation in these cases are
                                       stayed pending the Second Cir-
                                       cuit’s decision on Defendants’
                                       anticipated interlocutory appeal.
                                       (See Dec. 27, 2017, USCA Order
                                       at 4.) So Ordered by Judge
                                       Nicholas G. Garaufis on 1/8/2018.
                                       (Lee,     Tiffeny)      (Entered:
                                       01/08/2018)
                 1/8/18      199       NOTICE OF INTERLOCU-
                                       TORY APPEAL as to 85 Order
                                       on Motion to Dismiss,,,,,,, by
                                       Donald Trump, Kirstjen M.
                                       Nielsen, U.S. Citizenship and
                                       Immigration Services, U.S. De-
                                       partment of Homeland Security,
                                       U.S. Immigration and Customs
                                       Enforcement, United States of
                                       America. (Pezzi, Stephen) (En-
                                       tered: 01/08/2018)
                                   *     *   *     *   *
                 1/12/18     202       MEMORANDUM in Opposition
                                       re 71 MOTION to Dismiss Mo-
                                       tion to Dismiss for Failure to
                                       State a Claim filed by All Plain-
                                       tiffs. (Lucas, Diane) (Entered:
                                       01/12/2018)
                                   *     *   *     *   *
                 1/13/18     204       MEMORANDUM in Opposition
                                       re 96 First MOTION for Prelim-




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                                       inary Injunction filed by All De-
                                       fendants. (Pezzi, Stephen) (En-
                                       tered: 01/13/2018)
                                   *     *   *     *   *
                 2/13/18     208       MEMORANDUM & ORDER,
                                       Plaintiffs’ motions for prelimi-
                                       nary injunction (Dkt. 123 in No.
                                       16-CV-4756; Dkt. 96 in No.
                                       17-CV-5228) are GRANTED.
                                       The Batalla Vidal Plaintiffs’
                                       motion for class certification
                                       (Dkt. 124) is DENIED as moot.
                                       So Ordered by Judge Nicholas G.
                                       Garaufis on 2/13/2018. (Lee, Tif-
                                       feny) (Entered: 02/13/2018)
                 2/13/18     209       AMENDED MEMORANDUM
                                       & ORDER AND PRELIMI-
                                       NARY       INJUNCTION.       The
                                       Memorandum & Order filed
                                       earlier today is withdrawn. Or-
                                       dered by Judge Nicholas G. Gar-
                                       aufis on 2/13/2018. (Scott, Con-
                                       rad) (Entered: 02/13/2018)
                 2/20/18     210       NOTICE OF INTERLOCU-
                                       TORY APPEAL as to 209 Order
                                       by Donald Trump, Kirstjen M.
                                       Nielsen, U.S. Citizenship and
                                       Immigration Services, U.S. De-
                                       partment of Homeland Security,
                                       U.S. Immigration and Customs
                                       Enforcement, United States of




                                                                            AR2658
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                           DOCKET
                 DATE      NUMBER PROCEEDINGS
                                       America. (Pezzi, Stephen) (En-
                                       tered: 02/20/2018)
                                   *     *   *     *   *
                 3/29/18     215       MEMORANDUM & ORDER,
                                       For the reasons stated above,
                                       Defendants’ motions to dismiss
                                       the Batalla Vidal Plaintiffs' third
                                       amended complaint and the State
                                       Plaintiffs’ amended complaint
                                       (Dkt. 207 in No. 16-CV-4756; No.
                                       71 in No. 17-CV-5228) are
                                       GRANTED IN PART and DE-
                                       NIED IN PART. The Batalla
                                       Vidal Plaintiffs’ first, third, and
                                       fourth claims for relief are dis-
                                       missed, and the second claim for
                                       relief is dismissed to the extent it
                                       alleges that Defendants weak-
                                       ened DHS's information-use
                                       policy. The sixth claim for re-
                                       lief is dismissed in part, as stated
                                       above.      The State Plaintiffs’
                                       fifth and sixth claims for relief
                                       are dismissed. So Ordered by
                                       Judge Nicholas G. Garaufis on
                                       3/29/2018. (Lee, Tiffeny) (En-
                                       tered: 03/29/2018)
                                   *     *   *     *   *
                 4/13/18     217       MOTION for Leave to Appeal,
                                       Pursuant to 28 U.S.C. 1292(b),
                                       the Court’s March 29, 2018 Order




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                 DATE      NUMBER PROCEEDINGS
                                       by Donald Trump, Kirstjen M.
                                       Nielsen, U.S. Citizenship and
                                       Immigration Services, U.S. De-
                                       partment of Homeland Security,
                                       U.S. Immigration and Customs
                                       Enforcement, United States of
                                       America. (Attachments: # 1
                                       Memorandum in Support) (Pezzi,
                                       Stephen) (Entered: 04/13/2018)
                                   *     *   *     *   *
                 4/19/18     218       Letter Regarding Motion for
                                       Certification Under 28 U.S.C.
                                       1292(b) by Donald Trump,
                                       Kirstjen M. Nielsen, U.S. Citi-
                                       zenship and Immigration Ser-
                                       vices, U.S. Department of Home-
                                       land Security, U.S. Immigration
                                       and     Customs    Enforcement,
                                       United States of America (Pezzi,
                                       Stephen) (Entered: 04/19/2018)
                                   *     *   *     *   *
                 4/30/18     220       ORDER, Defendants’ motion to
                                       certify the court’s March 29
                                       M&O for interlocutory appeal
                                       (Dkt. 264 in No. 16-CV-4756;
                                       Dkt. 217 in No. I7-CV- 5228) is
                                       granted. So Ordered by Judge
                                       Nicholas    G.   Garaufis   on
                                       4/30/2018. (Lee, Tiffeny) (En-
                                       tered: 04/30/2018)




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                 5/21/18     225       NOTICE OF INTERLOCU-
                                       TORY APPEAL as to 215 Order
                                       on Motion to Dismiss,,, Order on
                                       Motion to Dismiss for Failure to
                                       State a Claim,, by Donald
                                       Trump, Kirstjen M. Nielsen, U.S.
                                       Citizenship and Immigration
                                       Services, U.S. Department of
                                       Homeland Security, U.S. Immi-
                                       gration and Customs Enforce-
                                       ment, United States of America.
                                       (Pezzi,    Stephen)    (Entered:
                                       05/21/2018)
                                   *     *   *     *   *
                 5/29/18     227       ANSWER to 54 Amended Com-
                                       plaint, by All Defendants. (Pezzi,
                                       Stephen) (Entered: 05/29/2018)
                                   *     *   *     *   *




                                                                            AR2661
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                              Nos. 18-587, 18-588, and 18-589

                 In the Supreme Court of the United States
                      DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                        PETITIONERS
                                               v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.


                                  ON WRIT OF CERTIORARI
                          TO THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT



                                      JOINT APPENDIX
                                         (VOLUME 2)


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                                                       Janet Napolitano
                                                       (No. 18-587)




                     PETITIONS FOR A WRIT OF CERTIORARI FILED: NOV. 5, 2018
                              CERTIORARI GRANTED: JUNE 28, 2019

                    Additional Captions and Counsel Listed on Inside Cover




                                                                                 AR2662
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                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                ET AL., PETITIONERS
                                          v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                               COLORED PEOPLE, ET AL.

                         ON WRIT OF CERTIORARI BEFORE JUDGMENT
                          TO THE UNITED STATES COURT OF APPEALS
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT


                      KEVIN K. MCALEENAN, ACTING SECRETARY OF
                       HOMELAND SECURITY, ET AL., PETITIONERS
                                        v.
                        MARTIN JONATHAN BATALLA VIDAL, ET AL.

                         ON WRIT OF CERTIORARI BEFORE JUDGMENT
                          TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE SECOND CIRCUIT


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                     Gonzalez Avila, Saul            Maryland, and Minnesota
                     Jimenez Suarez, Viridiana       (No. 18-587)
                     Chabolla Mendoza, Norma
                     Ramirez, and Jirayut
                     Latthivongskorn
                     (No. 18-587)




                                                                                      AR2663
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                    Microsoft Corporation, and         of Teachers, and United Food
                    Maria De La Cruz Perales           and Commercial Workers
                    Sanchez (No. 18-588)               International Union
                                                       (No. 18-588)

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                    Vidal, et al. (No. 18-589)      (No. 18-589)




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                      Amended complaint (17-cv-05228)
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                         Authority to Prioritize Removal of Certain
                         Aliens Unlawfully Present in the United
                         States and to Defer Removal of Others
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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 (SAN JOSE)


                              Case No. 3:17-cv-05813-WHA
                   COUNTY OF SANTA CLARA AND SERVICE EMPLOYEES
                     INTERNATIONAL UNION LOCAL 521, PLAINTIFFS
                                            v.
                    DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                    PRESIDENT OF THE UNITED STATES; JEFFERSON
                  BEAUREGARD SESSIONS, IN HIS OFFICIAL CAPACITY AS
                   ATTORNEY GENERAL OF THE UNITED STATES; AND
                  ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                   SECURITY; AND U.S. DEPARTMENT OF HOMELAND
                              SECURITY, DEFENDANTS


                                   Filed: Oct. 10, 2017

                        COMPLAINT FOR DECLARATORY AND
                              INJUNCTIVE RELIEF


                                    INTRODUCTION
                    1.    Plaintiffs County of Santa Clara (“County”)
                 and Service Employees International Union Local 521
                 (“Local 521”), acting in its capacity as the representa-
                 tive of more than 10,000 County employees, challenge
                 the actions of Defendants President Donald J. Trump,
                 Attorney General Jefferson Beauregard Sessions, and
                 Acting Department of Homeland Security (“DHS”)
                 Secretary Elaine Duke related to the rescission of the
                 Deferred Action for Childhood Arrivals (“DACA”) pro-
                 gram. DACA affords a two-year period of “deferred




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                 action” status for young people who were brought to
                 this country as children, meaning that recipients are
                 not subject to immigration enforcement actions during
                 that time. Recipients are also afforded the oppor-
                 tunity to receive work authorization, allowing them to
                 work legally, report income, and pay taxes. Because
                 of DACA, approximately 800,000 young people, brought
                 to this country as children, have been able to come out
                 of the shadows of American life, work legally to sup-
                 port themselves and their families, go to school, pay
                 taxes, and participate more fully in their communities.
                 The DACA program has been hugely successful. But
                 the benefits the program provided communities locally
                 and nationally are now at risk, as are the futures of
                 DACA recipients.
                    2.    Because of the stringent requirements govern-
                 ing eligibility for the DACA program from its incep-
                 tion, DACA recipients are undeniably contributing mem-
                 bers of society who pose no threat to public safety or na-
                 tional security. These individuals find themselves on
                 the wrong side of America’s immigration laws through no
                 fault of their own, and have made substantial contribu-
                 tions to their communities despite the constant threat
                 of removal they faced prior to receiving DACA status.
                    3.    DACA has conferred innumerable benefits on
                 recipients, their families, and their communities. DACA
                 recipients can live their lives in the open and more fully
                 participate in civic life, including by working legally,
                 attending college (and receiving financial aid to do so),
                 opening bank accounts, paying taxes, and living free of
                 the daily fear of deportation. The families of DACA
                 recipients benefit from the higher wages many recipi-
                 ents are able to earn and the stability of knowing that
                 loved ones will not be separated. The communities in




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                 which DACA recipients live benefit not only from the
                 taxes paid by recipients as they work legally and report
                 income, but also from DACA recipients’ increased will-
                 ingness to interact with government institutions, such
                 as by contacting and cooperating with law enforcement.
                    4.    To induce individuals to apply for DACA, the
                 federal government assured potential applicants that
                 the information they provided in connection with the
                 program would not be used for immigration enforce-
                 ment. These representations, made consistently through-
                 out the life of the DACA program, were crucial to en-
                 couraging participation.        The government asked
                 DACA applicants to take a leap of faith in identifying
                 themselves and, indirectly, their families, to the very
                 government agency that possesses the authority to de-
                 tain them and ultimately to deport them from the coun-
                 try. DACA applicants were asked to provide informa-
                 tion concerning, among other things, their names, ad-
                 dresses, places of birth, dates of entry to the United
                 States, and any criminal histories. Because of the
                 huge risk undertaken by DACA applicants in providing
                 this information to the federal government, most were
                 willing to do so only in reliance on the government’s re-
                 peated assurances that this information would not be
                 used for immigration enforcement purposes.
                    5.   The DACA program also provided recipients
                 the opportunity to renew their deferred action status at
                 the end of each two-year period for which status is
                 granted. From the time that DACA was implemented
                 until Defendants’ recent actions, the federal govern-
                 ment has consistently assured DACA applicants that
                 they will remain eligible for renewed status and work
                 authorization as long as they comply with all of the
                 conditions of the program. This opportunity to renew




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                 is a critical aspect of the program because it would
                 make little sense for individuals to risk coming forward
                 to identify themselves as lacking regular immigration
                 status in exchange for a temporary benefit. Similarly,
                 it would make little sense for employers, like the Coun-
                 ty, to expend the time and resources to hire and train
                 DACA recipients if their work authorization were so
                 limited.
                     6.   Despite the program’s extensive benefits, on
                 September 5, 2017, Acting Secretary Duke issued a
                 memorandum formally rescinding DACA. The mem-
                 orandum stated that DHS would not consider any ini-
                 tial DACA applications received after September 5,
                 2017 and explained that those individuals who current-
                 ly have DACA status and work authorization would no
                 longer be able to renew that status after October 5,
                 2017. Unlike the administrative actions creating the
                 DACA program, which afforded officials significant
                 discretion to decide on a case-by-case basis when it is
                 appropriate to grant deferred action status and work
                 authorization, the policy announced by Acting Secre-
                 tary Duke’s September 5 memorandum is categorical—
                 the DACA program is discontinued and no individual,
                 no matter how deserving, will be able to apply for de-
                 ferred action and work authorization pursuant to
                 DACA. Acting Secretary Duke’s memorandum did
                 not explain the administration’s reasons for rescinding
                 DACA (other than to speculate that it may be held
                 unlawful, despite the federal government’s previous
                 position to the contrary), and gave no indication that
                 the administration had considered the benefits of the
                 program before ending it so abruptly.
                    7.  Defendants’ actions in rescinding the DACA
                 program are unlawful. First, they violate the Due




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                 Process Clause of the Fifth Amendment because they
                 deprive Plaintiffs of constitutionally protected inter-
                 ests, including Plaintiffs’ interests in their mutual em-
                 ployment agreements and DACA recipients’ interest in
                 the continuation of the DACA program, upon which
                 they have been induced to rely. Indeed, the DACA
                 program permitted recipients to work legally, to par-
                 ticipate in other government programs, to open bank
                 accounts, and to participate in civic life in myriad ways
                 which will now be unavailable to them. Each of these
                 activities gives rise to an interest protected by the Due
                 Process Clause. Yet, deprivation of these interests
                 has been accomplished without the due process required
                 by law. Moreover, insofar as the government uses the
                 information provided by DACA applicants for immi-
                 gration enforcement purposes—and having broken one
                 promise, there is no reason to believe that Defendants
                 intend to keep this subsidiary promise—such use will
                 independently violate the Due Process Clause. Under
                 the Due Process Clause the government may not in-
                 duce vulnerable individuals to share information to ob-
                 tain a benefit with the promise that such information
                 will not be used against them, only to turn around and
                 use that information against them. Immigration en-
                 forcement, like all government law enforcement, must
                 be fundamentally fair.
                    8.    Second, Defendants’ actions violate the Admin-
                 istrative Procedure Act (“APA”), 5 U.S.C. § 706(2)(A),
                 because they constitute arbitrary and capricious decision-
                 making. Indeed, this case presents an archetypal ex-
                 ample of arbitrary decision-making in that Defendants
                 have terminated a program implemented five years
                 ago, and upon which millions of Americans (DACA
                 recipients, their families, and employers) have come to
                 rely, with no explanation whatsoever for the abrupt




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                 about-face, much less the type of careful analysis one
                 would expect before such a consequential action is
                 taken. The APA requires that administrative agen-
                 cies provide a reasoned explanation for their actions,
                 and this obligation is especially important where the
                 agency action in question reverses a prior policy that
                 has engendered reliance by affected parties. Defen-
                 dants’ total disregard for Plaintiffs’ and similarly situ-
                 ated parties’ reliance on the DACA program is evident
                 in their failure to provide any reasoned explanation for
                 the rescission that takes into account the program’s
                 benefits.
                    9.    Third, Defendants’ actions violate the Equal
                 Protection component of the Fifth Amendment. The
                 Fifth Amendment requires that the federal govern-
                 ment afford all individuals equal protection of the laws
                 and refrain from discriminating against disfavored
                 classes. In this case, it is inarguable that the rescis-
                 sion of DACA falls most heavily on two historically
                 persecuted minorities, Latinos and Mexican immi-
                 grants. Indeed, 93% of the approved DACA applica-
                 tions (initial and renewal) since the program was im-
                 plemented are from immigrants from Latin America
                 and almost 80% are from immigrants from Mexico.
                 Moreover, there is extensive evidence, not least of
                 which are the President’s own statements, that the re-
                 scission was motivated by impermissible animus. Two
                 years ago, the President launched his campaign by an-
                 nouncing: “When Mexico sends its people, they’re not
                 sending their best. . . . They’re sending people that
                 have lots of problems, and they’re bring those prob-
                 lems with us [sic]. They’re bringing drugs. They’re
                 bringing crime. They’re rapists.” This hostility to-
                 ward immigrants, and particularly Mexican immigrants,
                 remained a theme throughout his campaign and the




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                 first months of his administration. Coupled with the
                 lack of a legitimate explanation for the rescission and
                 the irregular (and unlawful) process by which the re-
                 scission was accomplished, the President’s repeated
                 statements of animus show that the rescission was
                 motivated by animus in violation of the Fifth Amend-
                 ment.
                    10. For all of these reasons, Plaintiffs ask this
                 Court to declare the rescission of DACA unlawful and
                 unenforceable, and to enjoin and restrain Defendants
                 from taking further steps to rescind the program.
                 Further, the Court should declare that Defendants are
                 equitably estopped from rescinding the program or
                 using information provided in connection with DACA
                 applications for purposes of immigration enforcement,
                 and should enjoin and restrain Defendants from doing
                 so. The DACA program has worked to the benefit of
                 DACA recipients, their employers, local communities,
                 and American society as a whole. All of these stake-
                 holders deserve better.
                             JURISDICTION AND VENUE
                    11. This Court has jurisdiction pursuant to
                 28 U.S.C. §§ 1331, 1361, and 2201-2202, because this
                 action arises under the Due Process Clause and Equal
                 Protection component of the Fifth Amendment and the
                 Administrative Procedure Act, 5 U.S.C. § 551 et seq.
                 This Court has additional remedial authority under the
                 APA, 5 U.S.C. §§ 701-06.
                    12. There exists an actual and justiciable contro-
                 versy between Plaintiffs and Defendants requiring res-
                 olution by this Court. Plaintiffs have no adequate rem-
                 edy at law.




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                    13. Venue is proper in the Northern District of
                 California because Plaintiff County of Santa Clara is a
                 public entity in this judicial district and a substantial
                 part of the events or omissions giving rise to this action
                 have occurred or will occur in this District. 28 U.S.C.
                 §§ 1391(b)(2), 1391(e)(1). Plaintiff Local 521 is located
                 in the Northern District of California and many of its
                 members, on behalf of whom it brings this lawsuit, re-
                 side and are employed within the Northern District of
                 California. This is a civil action in which Defendants
                 are agencies of the United States or officers thereof
                 and no real property is involved in this action.
                    14. Intra-district assignment is proper in San Jose
                 pursuant to Local Rules 3-2(c) and (e) because a sub-
                 stantial part of the events or omissions which give rise
                 to Plaintiffs’ claims occurred in Santa Clara County.
                                        PARTIES
                    15. Plaintiff County of Santa Clara is a charter
                 county organized and existing under the laws of the
                 State of California. With an estimated population of
                 more than 1.9 million people, Santa Clara County is the
                 largest county in the Bay Area and the sixth largest
                 county in California. As a county of immigrants, the
                 County has especially benefited from DACA and is es-
                 pecially harmed by the program’s rescission. Thirty-
                 eight percent of Santa Clara County residents are for-
                 eign born, and approximately sixty percent of children
                 in the county have at least one parent who is foreign
                 born. Santa Clara County has the highest percentage
                 of foreign-born residents of all counties in California.
                 More than half of county residents speak a language
                 other than English at home, and more than 100 lan-
                 guages and dialects are spoken within the county.




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                    16. The County is the level of government tasked
                 with provision of core safety-net services to this di-
                 verse community; it employs a workforce of more than
                 18,000, and must ensure that this workforce possesses
                 the skills necessary to effectively serve this community.
                 The County employs DACA recipients in key positions
                 throughout the organization, providing upward mobili-
                 ty to young people who deserve the opportunity to
                 serve their communities through the public sector, and
                 leveraging the unique experience and skills these em-
                 ployees bring to the County government.
                     17. The County also operates the In-Home Sup-
                 portive Services (“IHSS”) program, which provides
                 in-home care in the form of assistance with activities of
                 daily living, to eligible aged, blind, and disabled indi-
                 viduals who would otherwise be unable to remain safely
                 in their own homes. The IHSS program is funded
                 through a combination of federal, state, and county
                 funds, and provides services to over 22,000 IHSS bene-
                 ficiaries in Santa Clara County.
                    18. Plaintiff Service Employees International Un-
                 ion Local 521 is a labor union that represents approxi-
                 mately 40,000 public- and private-sector workers in the
                 central Bay Area and California’s Central Valley, in-
                 cluding more than 10,000 who are employed by the
                 County of Santa Clara. Local 521 is an affiliate of the
                 Service Employees International Union (“SEIU”),
                 which represents 2.2 million working men and women
                 around the world. A large percentage of Local 521’s
                 membership is Latino and many are first-generation
                 immigrants. The primary mission of Local 521 is to
                 organize, represent, and empower employees.




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                    19. In addition, Local 521 works in partnership
                 with SEIU and other groups to combat discrimination
                 and mobilize for immigration reform at the national
                 level. Local 521’s efforts include its Committee on
                 Comprehensive Immigration Reform, a member-based
                 committee that engages in organizing, advocacy, and
                 education to help undocumented workers. Local 521
                 has conducted “know your rights” information sessions
                 and workshops, engaged in legislative advocacy on
                 immigration-related bills at the state level, held com-
                 munity forums on DACA and Deferred Action for
                 Parents of Americans and Lawful Permanent Resi-
                 dents in conjunction with the California Attorney Gen-
                 eral, and participated as an amicus in litigation brought
                 by the County of Santa Clara and others challenging
                 the Trump administration’s threat to cut off federal
                 funding to sanctuary cities and counties. Local 521
                 has members who are DACA recipients, including
                 members who work for the County of Santa Clara.
                 These members are able to work and, thus, to be Local
                 521 members, because of the work authorization they
                 obtain through the DACA program.
                    20. Local 521 brings this action as an associational
                 plaintiff on behalf of its members who are DACA re-
                 cipients, asserting claims on behalf of those members.
                 Local 521 also brings this lawsuit to protect the rights
                 and interests of its members and prospective members,
                 to preserve its ability to organize new members who
                 are DACA recipients, and to preserve its representa-
                 tional relationship with current DACA recipients.
                    21. Defendant Donald J. Trump is the President of
                 the United States. President Trump made the deci-
                 sion to rescind the DACA program and is sued in his
                 official capacity.




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                    22. Defendant Jefferson Beauregard Sessions is
                 the Attorney General of the United States. Attorney
                 General Sessions announced the rescission of the DACA
                 program and has ultimate authority over the Depart-
                 ment of Justice’s prosecution of violations of immigra-
                 tion laws. He is sued in his official capacity.
                     23. Defendant Elaine Duke is the Acting Secre-
                 tary of the Department of Homeland Security (“DHS”).
                 Acting Secretary Duke is responsible for managing
                 DHS, and oversees the United States Citizenship and
                 Immigration Service (“USCIS”) and the Immigration
                 and Customs Enforcement (“ICE”). Her responsibil-
                 ities include the administration and enforcement of pol-
                 icies and practices related to DACA. She is sued in
                 her official capacity.
                    24. Defendant DHS is a federal agency responsi-
                 ble for implementing, administering and enforcing the
                 nation’s immigration laws and policies, including the
                 DACA program. DHS is a Department of the Execu-
                 tive Branch and is an agency within the meaning of
                 5 U.S.C. § 552(f )(1).
                               FACTUAL BACKGROUND
                 The DACA Program
                    25. DHS announced the DACA program in 2012,
                 in a memorandum issued by former DHS Secretary
                 Janet Napolitano. The reasoning behind the program
                 was that it made no sense to punish individuals who
                 were brought to the United States as children, through
                 no fault of their own, and who had proven themselves
                 to be trustworthy, contributing members of their com-
                 munities. DACA was also intended to generate the
                 wide-reaching benefits that would accrue to recipients,
                 their families and their communities, as undocumented




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                 individuals were permitted to live and work without the
                 ever-present threat of deportation.
                     26. DACA allows people who were brought to the
                 United States as children and who meet certain criteria
                 to apply for temporary deferral of deportation (some-
                 times referred to as “deferred action”) and for work
                 authorization. According to USCIS, as of March 31,
                 2017, approximately 800,000 young people have been
                 granted deferred action under DACA in the five years
                 the program has been in place. Applicants are eligible
                 for deferred action status under DACA only if they:
                 (i) were under the age of 31 on June 15, 2012; (ii) were
                 brought to the United States before their 16th birth-
                 day; (iii) continuously resided in the United States
                 since June 15, 2007 to the present; (iv) were physically
                 present in the United States on June 15, 2012, and at
                 the time they made their DACA application; (v) did not
                 have lawful immigration status on June 15, 2012; (vi)
                 are currently in school, have graduated or obtained a
                 GED, or were honorably discharged from the United
                 States military or Coast Guard; and (vii) have not been
                 convicted of a felony, significant misdemeanor, or three
                 or more misdemeanors, and do not pose a threat to na-
                 tional security or public safety.
                    27. To apply for deferred action status under
                 DACA, applicants are required to pay a substantial fee
                 of $495, submit a detailed application, and submit to a
                 background check and any other screening that DHS
                 deems necessary.
                    28. Pursuant to DACA, deferred action status, as
                 well as work authorization, is granted for two-year per-
                 iods. From the time DACA was first implemented,
                 however, applicants were told that they would have the
                 opportunity to apply for renewal of deferred action sta-




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                 tus and were given detailed instructions for doing so.
                 In particular, recipients were instructed that they
                 should apply for renewal approximately 120 days (but
                 no more than 150 days) before the expiration of their
                 2-year period. Recipients were told that they would
                 be eligible for renewal if they met the requirements for
                 an initial DACA application and also: (i) had not de-
                 parted the United States on or after June 15, 2007; (ii)
                 continuously resided in the United States since sub-
                 mission of their most recent DACA application; and (iii)
                 had not in the interim been convicted of a disqualifying
                 crime or otherwise posed a threat to national security
                 or public safety. The opportunity to renew is a crucial
                 aspect of the DACA program. There is little reason
                 for eligible individuals to run the risk of identifying
                 themselves as lacking regular immigration status for a
                 temporary benefit and, similarly, there is little reason
                 for employers to take the time and effort to hire and
                 train DACA recipients who have received work au-
                 thorization unless there is some assurance that those
                 individuals will be eligible to renew that authorization.
                    29. As part of the DACA application process, De-
                 fendants solicited extensive information from DACA
                 recipients, including names, addresses, birthdates, coun-
                 try of origin, and educational and criminal history.
                 Most significantly, by issuing an open invitation to ap-
                 ply for DACA, the government asked undocumented
                 immigrants to take a leap of faith and identify them-
                 selves and, indirectly, their families to the federal gov-
                 ernment and acknowledge their undocumented status.
                 To assuage fears that the DACA program was a cynical
                 trap, Defendants expressly promised that the infor-
                 mation provided by DACA applicants would not be
                 used against them or their families for immigration en-
                 forcement purposes, except in narrow, specified cir-




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                 cumstances that would not normally apply to individu-
                 als eligible for DACA.
                     30. The DACA program has been tremendously
                 successful, creating much-needed stability for DACA
                 recipients, their families and their communities, which
                 has resulted in extensive benefits to all of those groups.
                 Under DACA, law-abiding, long-term U.S. residents
                 who lack legal immigration status have access to better
                 jobs and improved working conditions. Because un-
                 documented immigrants who lack work authorization
                 must seek jobs that minimize their risk of being identi-
                 fied and deported, they often do not work in jobs that
                 best fit their education, skills, and abilities, or those
                 that would maximize their earning potential. Patrick
                 Oakford, Center for American Progress, Administra-
                 tive Action on Immigration Reform, The Fiscal Bene-
                 fits of Temporary Work Permits, at 6 (September 2014),
                 available at: https://cdn.americanprogress.org/wp-content/
                 uploads/2014/09/OakfordAdminRelief.pdf (last visited
                 Oct. 9, 2017). Making workers eligible to apply for de-
                 ferred action and work permits allows them greater oc-
                 cupational mobility, enabling them to seek out a wider
                 range of potential career opportunities. Moreover,
                 “[t]he interaction between our broken immigration sys-
                 tem and employment and labor laws have made un-
                 documented workers more susceptible to exploitation
                 in the workplace, leading them to earn lower wages
                 than they otherwise could.” Id. at 5. Eliminating
                 the fear of retaliatory reporting of immigration viola-
                 tions and potential deportation allows these workers to
                 better protect their own workplace rights and those of
                 their co-workers, leading to higher real wages and fewer
                 violations of employment and labor laws and regula-
                 tions.




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                     31. Those who have received DACA status enjoy
                 increased earning potential, producing a positive mul-
                 tiplier effect on local economies. Fiscal Policy Insti-
                 tute, President’s Immigration Action Expected to Bene-
                 fit Economy (Nov. 21, 2014), available at: http://bit.ly/
                 1FbnS7q (last visited Oct. 9, 2017) (estimating that
                 wages for those eligible for work authorization will
                 increase by five to 10 percent); Oakford, Administra-
                 tive Action on Immigration Reform, The Fiscal Bene-
                 fits of Temporary Work Permits, at 3 (“Temporary
                 work permits would increase the earnings of undocu-
                 mented immigrants by about 8.5 percent as they are
                 able to work legally and find jobs that match their
                 skills.”). Indeed, the upward mobility afforded by
                 DACA is apparent from the results of a national survey
                 of 1,402 young adults who were approved for DACA
                 through June 2013:
                    Since receiving DACA, young adult immigrants
                    have become more integrated into the nation’s eco-
                    nomic institutions. Approximately 61% of DACA
                    recipients surveyed have obtained a new job since
                    receiving DACA.         Meanwhile, over half have
                    opened their first bank account, and 38% have ob-
                    tained their first credit card.
                 Roberto G. Gonzales and Veronica Terriquez, Ameri-
                 can Immigration Council, How DACA is Impacting the
                 Lives of Those who are now DACAmented: Prelimi-
                 nary Findings from the National UnDACAmented
                 Research Project (Aug. 15, 2013), available at: http://bit.
                 ly/1jaS0tq (last visited Oct. 9, 2017). In short, DACA
                 created significant economic benefits for qualifying in-
                 dividuals and for the nation at large by permitting
                 greater levels of contribution to the workforce by edu-




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                 cated individuals who previously had limited employ-
                 ment opportunities.
                 The County’s Employment Relationships With DACA
                 Recipients
                    32. The County is one of the largest employers in
                 the region, with more than 18,000 employees perform-
                 ing a vast array of functions to meet the needs of this
                 diverse community. One of the main ways in which
                 the County has benefited from the DACA program is
                 through its employment relationships with DACA re-
                 cipients. In particular, the County currently employs
                 many DACA recipients as full-time employees. The
                 County has expended significant resources, both time
                 and money, in training these employees and relies upon
                 them to provide County services. Because DACA re-
                 cipients are under no obligation to identify themselves
                 as such when they apply for a job, and they present the
                 same form of work authorization card as other catego-
                 ries of immigrants, the County cannot determine with
                 certainty the total number of DACA recipients it em-
                 ploys.
                    33. DACA recipients are also employed through
                 the County’s In-Home Supportive Services program,
                 which is funded through a combination of federal, state,
                 and county funds.
                    34. DACA recipients have special skills that make
                 them especially valuable employees of the County.
                 For example, over ninety-five percent of DACA recip-
                 ients are bilingual. The County values this skill be-
                 cause it must employ a workforce that is able to meet
                 residents’ language needs to ensure meaningful access
                 to County services, programs, and benefits. See County
                 of Santa Clara, Board Policy 3.58. Indeed, forty-six
                 percent of clients currently receiving health, financial,




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                 or employment assistance through the County Depart-
                 ment of Employment and Benefit Services speak a
                 primary language other than English. Santa Clara
                 Valley Medical Center, a public hospital owned and
                 operated by the County, is required by law to provide
                 qualified interpreters to limited-English-proficient
                 individuals and relies on medical interpreters to satisfy
                 that requirement. It takes an average of five to six
                 months to fill interpreter vacancies for the County’s
                 hospital and clinics, and the County has had difficulty
                 filling several open positions.
                     35. If the DACA recipients currently employed by
                 the County were to lose their work authorization, the
                 County would be forced to expend significant resources
                 to temporarily cover those employees’ responsibilities,
                 conduct searches for replacements, and train new em-
                 ployees. On average, it takes the County 81 days to
                 fill a vacancy. Nearly all County employees, including
                 Local 521 members, are covered by merit system rules
                 and collective bargaining agreements that protect them
                 against arbitrary dismissal and other adverse employ-
                 ment actions, and that include anti-discrimination pro-
                 visions. Despite these protections, County employment
                 is contingent on valid work authorization. Without the
                 DACA program, these valued employees will be unable
                 to work for the County or, indeed, to work in any legal
                 capacity for any employer, public or private, within
                 Santa Clara County or the United States.
                    36. The County also employs at least three DACA
                 recipients in its New Americans Fellowship Program.
                 This program aims to identify, recruit, develop, and
                 equip DACA-eligible youth with the skills and tools to
                 serve as ambassadors to the Santa Clara County com-
                 munity. Fellows commit to working at least 20 hours




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                 per week, for a period of no less than 10 weeks, on a
                 project-based fellowship under the supervision of a
                 County Department, the County Office of Immigrant
                 Relations, or a Member of the Board of Supervisors’
                 Office. Examples of the types of projects on which
                 fellows work include:
                    •   Research on improving/bridging relationships
                        between law enforcement and the immigrant
                        community;
                    •   Developing a plan for a “Community Safety Ini-
                        tiative” focused on establishing problem-solving
                        relationships between the immigrant and refu-
                        gee population and local law enforcement;
                    •   Developing the framework for a “Civics Em-
                        powerment Education Program” to establish the
                        curriculum for immigrants and refugees who
                        want to learn more about law and policy;
                    •   Creating a training in civic participation to in-
                        form the community about federal, state, and
                        county government structures and delivering
                        presentations to decision-making bodies;
                    •   Providing information to the undocumented
                        population, including the following: know your
                        rights at home, in the work place, and when
                        seeking services via immigration consultants;
                    •   Fraud prevention and education;
                    •   Drafting or updating existing resources on fam-
                        ily emergency plans;
                    •   Increasing awareness of public services pro-
                        grams such as Medi-Cal, CalFresh, and Covered
                        California;




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                    •   Launching a countywide campaign to promote
                        financial literacy among immigrants and refu-
                        gees; and
                    •   Collaborating with banking institutions on pro-
                        viding financial planning tools for immigrants
                        and refugees.
                     37. The County began the New Americans Fellow-
                 ship Program in July 2017. Since that time, 20 fellows
                 have participated in the program and contributed sig-
                 nificantly to the County and their communities. The
                 County assigned ten fellows to County departments
                 and community-based organizations throughout Santa
                 Clara County and ten fellows participated in the “Sili-
                 con Valley Dream Summer,” a fellowship program that
                 places immigrant youth at community-based and social
                 justice organizations.     The County has allocated
                 funding to support additional fellows during the 2017-
                 2018 fiscal year, but planning for the next cohort of
                 fellows has been put on hold due to Defendants’ ac-
                 tions. Like other forms of County employment, the
                 New Americans Fellowship Program cannot survive
                 Defendants’ rescission of DACA, for once existing work
                 authorizations expire, DACA participant-employees
                 will no longer be able to work for the County and the
                 County will lose this bridge to their communities.
                 Reliance on the DACA Program and the Government’s
                 Representations
                    38. Trusting the federal government’s representa-
                 tions about the program, hundreds of thousands of
                 young people from across the country have applied for
                 and received DACA status since the program was
                 initiated in 2012. The DACA program has changed
                 the lives of DACA recipients. Prior to DACA, many
                 law-abiding undocumented young people saw little pur-




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                 pose to completing higher education because they
                 would be unable to work legally upon graduation.
                 DACA gave them the ability to attend college, work to
                 earn money to pay for higher education, and to utilize
                 their degrees to attain high-skilled jobs. It also gave
                 them access to health care, and the opportunity to
                 become more integrated into their communities. DACA
                 gave these young people hope that a better life was
                 possible, and allowed them to emerge from the shad-
                 ows of society to serve their communities, including
                 through work for government agencies like the County
                 of Santa Clara.
                    39. Loss of DACA status and work authorization
                 would be devastating for County workers who depend
                 on the DACA program to maintain employment, health
                 insurance, and other benefits. Indeed, several County
                 employees with DACA status desired to join as indi-
                 vidual plaintiffs in this litigation challenging the DACA
                 rescission, but ultimately chose not to come forward
                 out of fear that Defendants would retaliate against
                 them or their families.
                    40. The County has also relied on the govern-
                 ment’s representations concerning the DACA program.
                 The County has expended significant time and financial
                 resources in hiring and training DACA recipients for
                 various positions in County. Those employees carry
                 out important functions in County government and
                 make significant contributions in providing services to
                 County residents. There is little reason for employers
                 like the County to take the time and effort to hire and
                 train DACA recipients who have received work author-
                 ization unless there is some assurance that those indi-
                 viduals will be eligible to renew that authorization.




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                 Other Benefits to the County from the DACA Program
                    41. Santa Clara County is home to Silicon Valley,
                 where many of the country’s leading high-tech and
                 Internet-based companies are located. Technology
                 companies based in the county, including Apple and
                 Google, employ tens of thousands of workers. Simi-
                 larly, health care providers, including Kaiser Perma-
                 nente, Stanford Hospital and Clinics, and the County’s
                 own hospital and clinics, employ additional tens of
                 thousands.      Many of these organizations employ
                 DACA recipients. For example, Tim Cook, CEO of
                 Apple, recently noted that 250 Apple employees are
                 “Dreamers,” or DACA recipients. Silicon Valley is
                 projected to face a shortfall of 72,500 private sector
                 workers by the year 2020, and immigration policies
                 such as DACA, which increase the availability of skilled
                 workers, help address this shortfall. Indeed, Silicon
                 Valley has long been reliant on the contributions of
                 immigrants. One study noted that immigrants launched
                 a quarter of all engineering and technology companies
                 in the United States from 1995 to 2005, Vivek Wadhwa
                 et al., America’s New Immigrant Entrepreneurs:
                 Part I, Duke Science, Tech. & Innovation Paper No. 23
                 (Jan. 4, 2007), available at: https://papers.ssrn.com/sol3/
                 papers.cfm?abstract_id=990152## (last visited Oct. 9,
                 2017), and over half of Silicon Valley start-ups in the
                 same period count at least one immigrant as a key
                 founder, Richard T. Herman, Immigrant, Inc.: Why
                 Immigrant Entrepreneurs Are Driving the New Eco-
                 nomy (and how they will save the American worker)
                 5 (2009).
                    42. In 2016, the Migration Policy Institute (MPI)
                 estimated that there were 23,000 DACA-eligible indi-
                 viduals in Santa Clara County, including 15,000 who




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                 were immediately eligible. MPI, Deferred Action for
                 Childhood Arrivals Data Tools, available at: http://
                 www.migrationpolicy.org/programs/data-hub/deferred-
                 action-childhood-arrivals-daca-profiles (last visited Oct.
                 9, 2017). According to MPI’s estimates, Santa Clara
                 County has the twelfth largest DACA-eligible population
                 among counties nationwide, and the largest DACA-
                 eligible population of all northern California counties.
                 MPI, National and County Estimates of Populations
                 Eligible for Deferred Action for Childhood Arrivals
                 Program, 2016, available at: http://www.migrationpolicy.
                 org/sites/default/files/datahub/State-County-DACA-
                 Estimates.xlsx (last visited Oct. 9, 2017).
                    43. Ninety-one percent of DACA recipients are
                 employed. John W. Schoen, DACA Deportations Could
                 Cost US Economy More than $400 Billion, CNBC.com
                 (Sept. 5, 2017), available at: https://www.cnbc.com/2017
                 /09/05/daca-deportations-could-cost-us-economy-more-
                 than-400-billion.html (last visited Oct. 9, 2017). It is
                 estimated that if DACA recipients lose the ability to
                 work legally, California alone would suffer a GDP loss
                 of approximately $11.3 billion a year. Id. As one of
                 the counties with the largest number of DACA recipi-
                 ents, much of this negative economic effect will be felt
                 in Santa Clara County.
                    44. Moreover, because they are able to work le-
                 gally, DACA recipients are employed in more highly
                 compensated jobs and contribute more in state and
                 local taxes than they would without DACA. One re-
                 cent study estimates that the 1.3 million young people
                 immediately eligible for DACA contribute $2 billion a
                 year in state and local taxes. Institute on Taxation
                 and Economic Policy, State & Local Tax Contributions
                 of Young Undocumented Immigrants (Apr. 25, 2017),




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                 available at: https://itep.org/state-local-tax-contributions-
                 of-young-undocumented-immigrants/ (last visited Oct.
                 9, 2017). Indeed, “DACA-eligible individuals pay on
                 average 8.9 percent of their income in state and local
                 taxes. Their effective tax rate is higher than the
                 average rate paid by the top 1% of taxpayers in state
                 and local taxes. . . . ” Id. “Repealing the tem-
                 porary legal status and work authorizations permitted
                 by DACA would reduce estimated state and local rev-
                 enues by nearly $800 million. . . . ” Id. The
                 same study estimates that DACA eligible individuals
                 contribute more than $530 million in state and local
                 taxes in California alone and, because Santa Clara
                 County has a large number of DACA-eligible residents,
                 the County stands to lose significant tax revenue be-
                 cause of the rescission of DACA.
                    45. In addition to its broad negative effects on the
                 County’s economy and fisc, the rescission of DACA will
                 make it more difficult and expensive for the County to
                 provide services to its residents. For example, DACA
                 recipients who do not have employer-sponsored insur-
                 ance and who satisfy income-eligibility requirements
                 qualify for “full-scope” coverage under Medi-Cal, Cali-
                 fornia’s Medicaid program. Through Medi-Cal, DACA
                 recipients receive coverage for a core set of health ben-
                 efits, including preventative care, doctor’s visits, immu-
                 nizations, prescriptions, and mental health and sub-
                 stance abuse services. If these individuals lose de-
                 ferred action status, they will be eligible only for very
                 limited Medi-Cal coverage of emergency and pregnancy-
                 related services, increasing their reliance on other
                 safety-net health care services provided by the County.




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                    46. The County operates the Santa Clara Valley
                 Medical Center (“SCVMC”), a public safety-net Level I
                 trauma hospital that provides critical health care ser-
                 vices to poor and uninsured County residents. Pay-
                 ments from these patients and from public insurance
                 programs such as Medi-Cal do not cover the costs of
                 services they receive at SCVMC. As a result, each
                 year the County provides a substantial subsidy to
                 SCVMC to cover deficits incurred by SCVMC in serv-
                 ing these patients. During the first three quarters of
                 Fiscal Year 2017, SCVMC operated at a deficit of well
                 over $90 million. Rescission of the DACA program
                 will negatively affect SCVMC. Because DACA recip-
                 ients who are now employed pursuant to work authori-
                 zation granted under the program will lose their jobs—
                 and their employer-sponsored health insurance—
                 former DACA recipients, and family members who
                 were covered by the recipient’s insurance, are more
                 likely to fall back on safety-net hospitals like SCVMC.
                 Additionally, lacking employer-sponsored health insur-
                 ance, unable to access full-scope Medi-Cal, and bur-
                 dened with a fear of detention and deportation, these
                 individuals are less likely to obtain regular check-ups
                 and routine, preventative care. As a result, they will
                 be more likely to seek medical care only when health
                 problems worsen—often at SCVMC’s Emergency
                 Department—at which point care becomes more diffi-
                 cult and more expensive. The rescission of DACA will
                 increase the County’s costs in subsidizing free and
                 below-cost care at SCVMC.
                    47. In addition to health care, the County provides
                 (and is often required to provide) many other services
                 to community members regardless of immigration
                 status, and it will become more difficult to provide these
                 services to DACA recipients after they lose deferred




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                 action status because of their renewed hesitancy to in-
                 teract with the government for fear of detention and
                 deportation. At the same time, it will be even more
                 critical for individuals who lose DACA status to access
                 County services—and the County will need to spend
                 more to support them—because the same individuals
                 will be losing work authorization and, thus, the ability
                 to work legally to support themselves and their fami-
                 lies.
                    48. For example, the County invests significant
                 resources in programs to provide housing to the home-
                 less and to prevent homelessness. In fiscal year (FY)
                 2015, the County allocated over $73.8 million in re-
                 sources to housing and related services countywide
                 and, in 2015, the Board of Supervisors approved in-
                 creasing these expenditures by a total of $33.9 million
                 over FY 2016-2018. In addition to providing housing
                 to homeless individuals and families who utilize other
                 County services, the County also funds homelessness
                 prevention and emergency housing programs, includ-
                 ing homeless shelters, a cold weather shelter program,
                 interim housing for the chronically homeless, and
                 24-hour care shelter placements. Because DACA re-
                 cipients are able to obtain work authorization and work
                 legally, the program has helped recipients support
                 themselves and their families, greatly reducing their
                 risk of homelessness and reliance on County services.
                 These benefits are lost with rescission of the DACA
                 program.
                    49. The DACA program also reduces reliance on
                 the County’s safety-net services by keeping families
                 together. Twenty-five percent of DACA recipients
                 have at least one U.S.-born child. Dara Lind, 9 facts
                 that explain DACA, the immigration program Trump




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                 is threatening to end, Vox.com (Sept. 5, 2017), available
                 at: https://www.vox.com/policy-and-politics/2017/8/31/
                 16226934/daca-trump-dreamers-immigration (last vis-
                 ited Oct. 9, 2017). If these parents lose DACA status
                 and are subject to deportation, some of their U.S. citi-
                 zen children may enter the foster care system. The
                 County provides financial support to foster parents to
                 meet the basic needs of foster youth placed in their
                 care. In the 2017 fiscal year, the County invested $25
                 million in foster care youth, and rescission of the
                 DACA program could bring more young people into the
                 system, increasing costs and placing greater strains on
                 County resources.
                     50. Rescission of DACA would also hinder the
                 County’s ability to protect the public health and the
                 safety of its residents. The County’s Public Health
                 Department (“PHD”) runs numerous programs that
                 protect the health not only of the individual served, but
                 of the wider community. PHD provides immunization
                 clinics, tuberculosis testing, STD testing, and other
                 services that prevent the spread of communicable dis-
                 eases. DACA has improved PHD’s ability to provide
                 these critical services to immigrant communities by al-
                 leviating the fear of deportation that often prevents
                 undocumented immigrants from seeking government
                 services. If DACA recipients lose their deferred
                 action status, they—and their U.S. citizen children—
                 may be less likely to receive necessary immunizations
                 and testing, thereby increasing health risks for the
                 community as a whole.
                    51. For similar reasons, DACA has had a positive
                 effect on the relationship between immigrant commu-
                 nities and local law enforcement. Because of a justi-
                 fied fear of detention and deportation, undocumented




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                 individuals are often hesitant to contact law enforce-
                 ment even when they are victims of crimes. By pro-
                 viding an assurance that they are protected from im-
                 migration enforcement actions, DACA has permitted
                 recipients to be more willing to report crimes, act as
                 witnesses, and otherwise cooperate with local law en-
                 forcement, as well as with other emergency services
                 and first responders. This improved relationship is
                 invaluable not just to DACA recipients themselves, but
                 also to their communities and the County.
                    52. DACA has had a similar effect on the County’s
                 Code Enforcement Division, which enforces zoning and
                 building ordinances to ensure safe living conditions for
                 county residents. The County has received reports
                 that some tenants are reluctant to come forward with
                 reports of code violations because landlords have threat-
                 ened to report immigrants to ICE. DACA status
                 substantially reduces that threat, thereby helping the
                 County ensure that unsafe or unsanitary housing con-
                 ditions are abated for the safety and benefit of the en-
                 tire community.
                    53. DACA’s benefits to the County are also evi-
                 denced by the County’s willingness to invest in DACA
                 recipients. For example, the County previously allo-
                 cated $200,000 for outreach and education concerning
                 the DACA program, to ensure that eligible County res-
                 idents know of and have support necessary to apply
                 for DACA status. Just after the administration’s an-
                 nouncement that DACA would be rescinded, the
                 County allocated an additional $200,000 from its emer-
                 gency reserve to establish an emergency program to
                 help DACA recipients submit renewal applications be-
                 fore the administration’s arbitrary October 5, 2017
                 deadline.   Additionally, the County has allocated




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                 $400,000 to the New Americans Fellowship Program,
                 described above.
                    54. In light of the many ways in which the County
                 has benefited from the DACA program, on August 15,
                 2017, the County’s Board of Supervisors unanimously
                 adopted a resolution affirming its support for the DACA
                 program and its commitment to immigrant youth and
                 young adults.
                 Rescission of the DACA Program
                     55. The administration’s decision to rescind the
                 DACA program was announced by Attorney General
                 Jefferson Sessions at a press conference on September
                 5, 2017. In his statement, Attorney General Sessions
                 made a number of factual assertions concerning the
                 DACA program that are demonstrably false, including
                 the statement that DACA had “denied jobs to hundreds
                 of thousands of Americans” and that DACA “contrib-
                 uted to a surge of unaccompanied minors on the south-
                 ern border that yielded terrible humanitarian conse-
                 quences.” Notably, the Attorney General provided no
                 evidence to support these assertions and gave no indi-
                 cation that the administration had studied DACA or its
                 effects in any meaningful or systematic fashion. Ra-
                 ther, he simply assumed that DACA had negative ef-
                 fects, completely ignored the program’s positive ef-
                 fects, and concluded that “[o]ur collective wisdom is
                 that the policy is vulnerable to the same legal and con-
                 stitutional challenges that the courts recognized with
                 respect to the [Deferred Action for Parents of Ameri-
                 cans and Lawful Permanent Residents] program.”
                    56. Shortly after the press conference, Acting Sec-
                 retary Duke issued a memorandum formally rescinding
                 DACA. The memorandum stated that DHS would not
                 consider any initial DACA applications received after




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                 September 5, 2017. As for individuals who currently
                 have DACA status and work authorization, the memo-
                 randum stated that DHS would adjudicate pending
                 renewal requests properly filed and accepted by DHS
                 as of September 5, 2017, and renewal requests properly
                 filed and accepted by DHS by October 5, 2017 from in-
                 dividuals whose DACA benefits expire between Sep-
                 tember 5, 2017 and March 5, 2018. All other DACA
                 renewal requests, including any requests received after
                 October 5, 2017, would be rejected.
                    57. Acting Secretary Duke’s memorandum did not
                 explain the administration’s reasons for rescinding
                 DACA and gave no indication that the administration
                 had considered the benefits of the program before
                 abruptly ending it. Rather, the memorandum simply
                 refers to the Attorney General’s speculation that the
                 DACA program may be held unlawful, explaining that
                 the Fifth Circuit had held different programs (De-
                 ferred Action for the Parents of Americans and Lawful
                 Permanent Residents (“DAPA”) and an expansion of
                 the DACA) to be unlawful, and that this decision was
                 affirmed by an equally divided Supreme Court. Sec-
                 retary Duke’s memorandum cites a September 4, 2017
                 letter from Attorney General Sessions, which provides
                 no legal analysis whatsoever and simply concludes that
                 “it is likely that potentially imminent litigation would
                 yield similar results with respect to DACA.”
                     58. On the same day that Attorney General Ses-
                 sions announced the rescission of DACA, DHS pub-
                 lished guidance in the form of “frequently asked ques-
                 tions” (“FAQs”) concerning the rescission of DACA.
                 These FAQs reflect a changed orientation toward the
                 use of DACA applicants’ information for immigration
                 enforcement. Previously, applicants had been told




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                 that “Information provided in [a DACA] request is
                 protected from disclosure to ICE and CBP [U.S. Cus-
                 toms and Border Protection] for the purpose of immi-
                 gration enforcement proceedings unless the requestor
                 meets the criteria for the issuance of a Notice to Ap-
                 pear or a referral to ICE under the criteria set forth in
                 USCIS’ Notice to Appear guidance. . . . ” USCIS,
                 DACA Frequently Asked Questions, available at: https://
                 www.uscis.gov/archive/frequently-asked-questions (last
                 visited Oct. 9, 2017). By contrast, the September 5,
                 2017 guidance provides: “Information provided to
                 USCIS in DACA requests will not be proactively pro-
                 vided to ICE and CBP for the purpose of immigration
                 enforcement proceedings, unless the requestor meets
                 the criteria for the issuance of a Notice to Appear or a
                 referral to ICE under the criteria set forth in USCIS’
                 Notice to Appear guidance. . . . ” DHS, Frequently
                 Asked Questions: Rescission of Deferred Action for
                 Childhood Arrivals (Sept. 5, 2017) (emphasis added),
                 available at: https://www.dhs.gov/news/2017/09/05/
                 frequently-asked-questions-rescission-deferred-action-
                 childhood-arrivals-daca (last visited Oct. 9, 2017).
                 This change appears to indicate that information pro-
                 vided by DACA applicants will be used for immigration
                 enforcement purposes, and made available to ICE and
                 CBP upon request, even if not “proactively provided.”
                              FIRST CLAIM FOR RELIEF
                                Violation of Due Process
                                  U.S. Const. amend. V
                    59. Plaintiffs re-allege and incorporate by refer-
                 ence all the allegations set forth in this Complaint.
                    60. The County has a constitutionally protected in-
                 terest in its employment relationships with its employ-
                 ees, including DACA recipients, as well as protected




                                                                             AR2699
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                 interests in the benefits that flow from those relation-
                 ships. The County employs DACA recipients as full-
                 time and part-time employees, and as fellows in the
                 County’s New Americans Fellowship Program. The
                 County has made significant investments of employee-
                 time and money to hire and train those employees.
                 The rescission of the DACA program, and DACA re-
                 cipients’ consequent inability to apply for renewed
                 work authorization, will necessarily result in the ter-
                 mination of those employment relationships. The
                 County will therefore lose not only its investment in
                 these employees, but also the benefit of their expertise
                 and experience.
                    61. County employees and others who participate
                 in the DACA program, including Local 521 members,
                 have a constitutionally protected interest in their jobs.
                 As a result of the rescission, when their current two-
                 year authorization expires, employees who participate
                 in the DACA program will no longer be able to keep
                 their jobs with the County or with other employers.
                    62. The County has a constitutionally protected
                 interest in the programs and services it offers to County
                 residents, including the funds expended to support those
                 programs. It will become more difficult to provide
                 these services to DACA recipients after they lose de-
                 ferred action status because of their renewed hesitancy
                 to interact with the government for fear of detention
                 and deportation. At the same time, it will be even
                 more critical for individuals who lose DACA status to
                 access County services—and the County will need to
                 spend more to support them—because the same indi-
                 viduals will be losing work authorization and, thus, the
                 ability to work legally to support themselves and their
                 families.




                                                                             AR2700
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                    63. Rescission of the DACA program and Defen-
                 dants’ actions in accordance therewith unlawfully de-
                 prive the County, its employees and its residents of
                 these and other constitutionally protected interests
                 without due process of law. Such deprivation oc-
                 curred with no notice or opportunity to be heard.
                     64. Moreover, to the extent that Defendants seek
                 to use for purposes of immigration enforcement the
                 information that DACA recipients provided in connec-
                 tion with their applications, such use would also violate
                 due process. The Due Process Clause of the Fifth
                 Amendment requires that the federal government’s im-
                 migration enforcement actions be fundamentally fair.
                 Defendants induced DACA applicants to provide this
                 information with the express promise that it would not
                 be used against the applicant in immigration enforce-
                 ment proceedings. For Defendants to turn around
                 and now use this information as they previously prom-
                 ised they would not, would abuse DACA applicants’
                 trust in government and offend fundamental principles
                 of fairness and justice.
                     65. Rescission of the DACA program violated the
                 Due Process Clause of the Fifth Amendment to the
                 United States Constitution. Likewise, use of the in-
                 formation DACA recipients provided to Defendants as
                 part of their DACA applications to target DACA re-
                 cipients or their families for removal or to support re-
                 moval proceedings would violate the Due Process Clause
                 of the Fifth Amendment.
                    66. The County, its employees and its residents,
                 and Local 521 and its members have been harmed and
                 continue to be harmed by these unlawful acts.




                                                                             AR2701
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                             SECOND CLAIM FOR RELIEF
                        Violation of Administrative Procedure Act
                         Arbitrary and Capricious Agency Action
                                      5 U.S.C. § 706
                    67. Plaintiffs re-allege and incorporate by refer-
                 ence all the allegations set forth in this Complaint.
                    68. The Department of Homeland Security is sub-
                 ject to the requirements of the APA. See 5 U.S.C.
                 § 703. The termination of the DACA program is final
                 agency action subject to judicial review because it
                 marks the “consummation of the . . . decisionmak-
                 ing process” and is one “from which legal consequences
                 will flow.” Bennett v. Spear, 520 U.S. 154, 178 (1997)
                 (internal quotation marks omitted).
                    69. Under 5 U.S.C. § 706(2), courts shall “hold un-
                 lawful and set aside” agency action found to be arbi-
                 trary, capricious, and abuse of discretion, or otherwise
                 not in accordance with law; contrary to a constitutional
                 right, power, privilege, or immunity; in excess of stat-
                 utory jurisdiction, authority, or limitations, or short of
                 statutory right; without observance of procedure re-
                 quired by law.
                   70. Rescission of the DACA program is final
                 agency action subject to APA review by this Court.
                    71. Defendants’ actions rescinding DACA are ar-
                 bitrary and capricious, an abuse of discretion, and not
                 in accordance with law because, among other things,
                 Defendants have not identified a reasonable explana-
                 tion for their decision to do so. Nor in rescinding the
                 DACA program did Defendants consider all relevant
                 factors, including the benefits provided by the pro-
                 gram. Not only have Defendants failed to meaning-
                 fully assess the benefits of the DACA program, but




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                 they have not addressed the comprehensive legal ar-
                 guments previously developed by DHS itself and the
                 Department of Justice’s Office of Legal Counsel as to
                 why the DACA program is a lawful exercise of prose-
                 cutorial discretion. The failure to address these legal
                 opinions, or offer any legal reasoning, is especially
                 egregious in this case, given that the only rationale for
                 rescinding DACA offered in Defendant Duke’s Sep-
                 tember 5 memorandum is that the program is likely to
                 be found unlawful. Defendants have committed a clear
                 error in judgment.
                    72. Defendants also disregarded the serious reli-
                 ance interests created by the DACA program, includ-
                 ing those of the County and DACA recipients. On the
                 basis of Defendants’ representations that the DACA
                 program would provide them an avenue to come out of
                 the shadows and participate more fully in their com-
                 munities, and that the information they provided to
                 Defendants would not be used against them in immi-
                 gration proceedings, DACA recipients applied for de-
                 ferred action status and organized their lives around
                 the expectation that they would be permitted to main-
                 tain that status as long as they were in compliance with
                 program requirements. Where “longstanding policies
                 may have ‘engendered serious reliance interests,’ ” those
                 interests “must be taken into account.” Encino Mo-
                 torcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016)
                 (quoting FCC v. Fox Tele. Stations, Inc., 556 U.S. 502,
                 515 (2009)). “[A] reasoned explanation is needed for
                 disregarding facts and circumstances that underlay or
                 were engendered by the prior policy,” id. (quoting Fox,
                 556 U.S. at 516), and “[i]t follows that an ‘[u]nexplained
                 inconsistency’ in agency policy is ‘a reason for holding
                 an interpretation to be an arbitrary and capricious
                 change from agency practice.” Id. (quoting Nat’l Cable




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                 & Telecomm. Ass’n v. Brand X Internet Servs., 545 U.S.
                 967, 981 (2005)).
                    73. The County, its employees, and its residents,
                 and Local 521 and its members have been harmed and
                 continue to be harmed by these unlawful acts.
                              THIRD CLAIM FOR RELIEF
                              Violation of Equal Protection
                                  U.S. Const. amend. V
                    74. Plaintiffs re-allege and incorporate by refer-
                 ence all of the allegations set forth in this Complaint.
                    75. Defendants’ actions rescinding DACA target
                 Latinos and, specifically, immigrants from Mexico, and
                 are motivated by animus toward these groups. Of the
                 approximately 1.59 million DACA applications (both
                 initial and renewal) that were approved from the be-
                 ginning of the program through March 2017, approxi-
                 mately 1.48 million, or approximately 93%, were sub-
                 mitted by people from countries in Latin America and
                 approximately, 1.24 million, or approximately 80%,
                 were from Mexican immigrants. Accordingly, the over-
                 whelming majority of the direct beneficiaries of the
                 DACA program have been Latinos and Mexican immi-
                 grants. There is no question but that rescission of the
                 DACA program imposes a disproportionate burden on
                 Latinos generally and, specifically, persons from Mexico.
                    76. The rescission is motivated by impermissible
                 animus. From the moment he launched his campaign,
                 President Trump has publicly announced his animus
                 toward Latinos and Mexican immigrants. Indeed,
                 such animus was a feature of his campaign, in which
                 President Trump distinguished himself with his hard-
                 line stance on immigration, highlighted by harsh rhet-
                 oric disparaging Mexican immigrants. In the speech




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                 in which he announced his candidacy, President Trump
                 stated: “When Mexico sends its people, they’re not
                 sending their best. . . . They’re sending people that
                 have lots of problems, and they’re bring those prob-
                 lems with us [sic]. They’re bringing drugs. They’re
                 bringing crime. They’re rapists.” As an afterthought,
                 he added, “[a]nd some, I assume, are good people.”
                 Later, then-candidate Trump repeatedly disparaged
                 the federal district judge presiding over a case brought
                 by students alleging they were defrauded by Trump
                 University, calling the judge a “hater” who is “very
                 hostile” to President Trump because, as the President
                 has explained on different occasions, he “happens to be
                 Spanish,” is “Hispanic,” or “happens to be, we believe,
                 Mexican.” More recently, in August 2017, at a rally in
                 Phoenix, President Trump referred to undocumented
                 immigrants as “animals” who are responsible for “the
                 drugs, the gangs, the cartels, the crisis of smuggling
                 and trafficking.” Throughout his campaign and in his
                 first months in office, the President has maintained this
                 attitude, culminating in the decision to rescind the
                 DACA program.
                    77. Moreover, other factors indicative of an intent
                 to discriminate are present in this case. In rescinding
                 the DACA program, Defendants departed significantly
                 from normal procedures. In particular, Defendants
                 elected to entirely forego the APA procedures required
                 for implementation of a categorical rule such as the re-
                 scission of DACA. Additionally, the purported justifica-
                 tions offered for the rescission are plainly pretextual.
                 The September 5, 2017 memorandum from Defendant
                 Secretary Duke announcing the rescission explains
                 only that the Fifth Circuit had held the different DAPA
                 program and an expansion of DACA to be unlawful,
                 and that this decision was affirmed by an equally di-




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                 vided Supreme Court. Secretary Duke’s memorandum
                 cites a September 4, 2017 letter from Attorney General
                 Sessions, which provides no legal analysis whatsoever
                 and simply concludes that “it is likely that potentially
                 imminent litigation would yield similar results with
                 respect to DACA.” No court has considered the law-
                 fulness of the DACA program at issue here.
                    78. As such, the rescission of DACA deprives La-
                 tino DACA recipients of equal protection of the laws,
                 guaranteed by the Fifth Amendment. The County,
                 Local 521, and its members are harmed and continue to
                 be harmed by Defendants’ actions.
                            FOURTH CLAIM FOR RELIEF
                         Declaratory Relief—Equitable Estoppel
                    79. Plaintiffs re-allege and incorporate by refer-
                 ence all of the allegations set forth in this Complaint.
                    80. The federal government, by its conduct and
                 explicit statements, represented to eligible applicants
                 that the information applicants provided in connection
                 with applications for deferred action status would not
                 be used in immigration enforcement proceedings, ex-
                 cept in certain limited circumstances, and that DACA
                 recipients would have the opportunity to apply for
                 renewed deferred action status at the end of their
                 respective two-year authorization periods.
                    81. In reliance on these assurances, DACA appli-
                 cants identified themselves to the government, acknow-
                 ledging their undocumented status, and provided im-
                 portant information about themselves and their family
                 members that exposed them to the risk of deportation.
                    82. From the initial implementation of DACA to
                 the announcement rescinding the program, the govern-
                 ment continuously made representations about the val-




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                 idity and legality of the program, the use of informa-
                 tion provided by applicants, and the continuing oppor-
                 tunity to apply for renewal of deferred action status.
                    83. DACA recipients rearranged their lives, dar-
                 ing to become more visible and more integrated into
                 the fabric of their communities, including by seeking
                 employment, pursuing higher education, and paying
                 taxes. But now they are at a heightened risk of re-
                 moval and deportation because of their reliance on the
                 government’s prior statements.
                    84. Therefore, Defendants should be equitably es-
                 topped from terminating the DACA program and from
                 using information provided pursuant to DACA for im-
                 migration enforcement purposes, except as previously
                 authorized under DACA.
                   85. An actual controversy between Plaintiffs and
                 Defendants exists as to whether Defendants should be
                 equitably estopped.
                    86. Plaintiffs are entitled to a declaration that De-
                 fendants are equitably estopped.
                                PRAYER FOR RELIEF
                 WHEREFORE, Plaintiffs respectfully request that the
                 Court grant the following relief:
                    A. Vacate and set aside the rescission of the
                 DACA program and any other action taken by De-
                 fendants in furtherance of the rescission;
                    B. Declare that the rescission of DACA and De-
                 fendants’ actions in connection therewith are void and
                 without legal force or effect;




                                                                            AR2707
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                    C. Declare that the rescission of DACA and De-
                 fendants’ actions in connection therewith are arbitrary,
                 capricious, an abuse of discretion, otherwise not in ac-
                 cordance with law, and without observance of proce-
                 dure required by law in violation of 5 U.S.C. §§ 702-06;
                    D. Declare that the rescission of DACA and De-
                 fendants’ action in connection therewith violate the
                 Constitution and laws of the United States;
                    E. Declare that Defendants are equitably es-
                 topped from terminating the DACA program or from
                 using information provided pursuant to DACA for im-
                 migration enforcement purposes, except as previously
                 authorized under the program;
                    F. Preliminarily and permanently enjoin and re-
                 strain Defendants, their agents, servants, employees,
                 attorneys, and all persons in active concert or partici-
                 pation with any of them, from implementing or enforc-
                 ing the rescission of DACA and from taking any other
                 action that is not in compliance with applicable law;
                    G. Preliminarily and permanently enjoin and re-
                 strain Defendants, their agents, servants, employees,
                 attorneys, and all persons in active concert or partici-
                 pation with any of them, from sharing or otherwise using
                 information provided pursuant to the DACA program for
                 immigration enforcement purposes, except as previ-
                 ously authorized under the program;
                   H. Award Plaintiffs reasonable attorneys’ fees
                 and costs; and
                     I.    Grant Plaintiffs such further and additional re-
                 lief as the Court deems just and proper.




                                                                              AR2708
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                 Dated:     Oct. 10, 2017

                                Respectfully submitted,
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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                                 Case No. 3:17-cv-05380
                     DULCE GARCIA, MIRIAM GONZALEZ AVILA, SAUL
                   JIMENEZ SUAREZ, VIRIDIANA CHABOLLA MENDOZA,
                   NORMA RAMIREZ, AND JIRAYUT LATTHIVONGSKORN,
                                       PLAINTIFFS
                                            v.
                   UNITED STATES OF AMERICA; DONALD J. TRUMP, IN
                  HIS OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                  STATES; U.S. DEPARTMENT OF HOMELAND SECURITY;
                    AND ELAINE DUKE, IN HER OFFICIAL CAPACITY AS
                      ACTING SECRETARY OF HOMELAND SECURITY,
                                     DEFENDANTS


                                  Filed: Sept. 18, 2017

                        COMPLAINT FOR DECLARATORY AND
                              INJUNCTIVE RELIEF


                                    INTRODUCTION
                    The young women and men filing this lawsuit em-
                 body the American Dream. Brought to this country
                 as children and raised in families that often struggled
                 with poverty and homelessness, each has achieved re-
                 markable success through hard work, fierce determi-
                 nation, and incredible resilience. These are charac-
                 teristics that have defined Americans throughout our
                 Nation’s history. Plaintiffs in this case are also alike
                 in that each has committed to helping others, choosing
                 to direct their time, energy, and considerable talents




                                                                            AR2710
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                 toward defending, healing, educating, and uplifting in-
                 dividuals and communities that are too often ignored.
                 While each of the Plaintiffs is remarkable in his or her
                 own right, their stories of success—and their commit-
                 ment to serving others—are common among the nearly
                 800,000 young people who have come to rely on the
                 Deferred Action for Childhood Arrivals (“DACA”)
                 program.
                    The decision to end the DACA program is a broken
                 promise and an unprecedented violation of the consti-
                 tutional rights of Plaintiffs and other young people who
                 relied on the federal government to honor that prom-
                 ise. The government established the DACA program
                 with great fanfare in 2012. Under DACA, individuals
                 who were brought to the United States as children and
                 meet certain criteria, and who are investigated and
                 found to pose no threat to public safety or national
                 security, are granted deferred action and work author-
                 ization for a two-year period, subject to renewal. These
                 young people are commonly referred to as “Dreamers”
                 in recognition of the fact that they have long called this
                 country home and aspire to be part of the American
                 Dream.
                    To apply for DACA, eligible individuals are required
                 to provide the government with highly sensitive per-
                 sonal information, pay a substantial fee, and submit to
                 a rigorous Department of Homeland Security back-
                 ground check. Initially, the DACA program was met
                 with skepticism in immigrant communities, as many
                 Dreamers were understandably reluctant to voluntarily
                 disclose information (including their current home ad-
                 dress) that could facilitate their removal from the
                 United States and place their family members at risk.
                 To combat this fear the government launched an ex-




                                                                              AR2711
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                 tensive outreach campaign urging Dreamers to apply
                 for DACA, repeatedly promising that they would be
                 able to renew their DACA status and that information
                 they provided in connection with the program would
                 not be used for immigration enforcement purposes.
                 As a result, hundreds of thousands of young people ap-
                 plied for, and were granted, DACA status. The gov-
                 ernment quickly realized the administrative, law en-
                 forcement, public safety, and economic benefits it
                 sought in establishing the program.
                     In creating DACA, the government offered Plain-
                 tiffs and other Dreamers a straightforward deal—if
                 they stepped forward, shared sensitive personal infor-
                 mation, and passed a background check, they would be
                 granted renewable protection and would be allowed to
                 live and work in the United States provided that they
                 played by the rules. DACA also provided access to
                 important benefits, and enabled recipients to open
                 bank accounts, obtain credit cards, start businesses,
                 purchase homes and cars, and conduct other aspects of
                 daily life that were otherwise often unavailable to
                 them. In so doing, DACA has allowed Plaintiffs and
                 nearly 800,000 young people to become contributing
                 members of society and pursue the American Dream.
                    In taking the irreversible step of identifying them-
                 selves to the government, Plaintiffs and other Dream-
                 ers trusted the government to honor its word and up-
                 hold its end of the bargain. In reliance on the gov-
                 ernment’s promises, DACA recipients took out student
                 loans, accepted job offers, moved to new cities, started
                 businesses, bought homes and cars, and made numer-
                 ous other life changing decisions. They allowed them-
                 selves to fall in love, get married, and start families,
                 trusting that the security and work authorization pro-




                                                                            AR2712
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                 vided under DACA would enable them to care for (and
                 remain in this country with) their spouses and children.
                    The transformative impact DACA had for Plaintiffs
                 cannot be overstated. Brought to this country as
                 young children, Plaintiffs have spent virtually their
                 entire lives in the United States. They consider them-
                 selves to be Americans and call our nation home. Yet
                 for much of their lives, Plaintiffs were denied basic
                 opportunities and prohibited from realizing their full
                 potential. But DACA changed everything. Beyond a
                 work permit and access to a professional license, DACA
                 provided Plaintiffs the certainty and security necessary
                 to enroll in graduate programs, open businesses, hire
                 employees, build relationships with clients, patients, and
                 students, and begin to start families of their own.
                 Plaintiffs were able to take these risks, and enjoy the
                 benefits of their hard work, because they trusted the
                 government to honor its promises and live up to its
                 word.
                    Notwithstanding the severe harm it will inflict, the
                 government arbitrarily decided to break its promises to
                 Plaintiffs and hundreds of thousands of other Dreamers
                 by terminating the DACA program. This cruel bait
                 and switch, which was motivated by unconstitutional
                 bias against Mexicans and Latinos, violates the equal
                 protection component of the Fifth Amendment, the due
                 process rights of Plaintiffs and other DACA recipients,
                 and federal law, including the Administrative Proce-
                 dure Act. Plaintiffs therefore seek equitable and in-
                 junctive relief to enjoin this unlawful and unconstitu-
                 tional action, and respectfully request that the Court
                 compel the government to honor its promises and up-
                 hold its end of the DACA bargain.




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                             JURISDICTION, VENUE, AND
                            INTRADISTRICT ASSIGNMENT
                    1.    This Court has jurisdiction under 28 U.S.C.
                 § 1331 because this action arises under the Constitution
                 and laws of the United States. This Court has addi-
                 tional remedial authority under the Declaratory Judg-
                 ment Act, 28 U.S.C. § 2201 et seq., and the Administra-
                 tive Procedure Act, 5 U.S.C. §§ 701-706.
                    2.    Venue is proper in the Northern District of
                 California pursuant to 28 U.S.C. § 1391(b)(2) and (e)(1)
                 because at least one plaintiff resides in this District, a
                 substantial part of the events or omissions giving rise
                 to this action occurred in this District, and each defen-
                 dant is an agency of the United States or an officer of
                 the United States sued in his or her official capacity.
                    3.    Pursuant to Local Rules 3-2(c) and (d), intra-
                 district assignment is proper in San Francisco or Oak-
                 land because a substantial part of the events or omis-
                 sions which give rise to the claim occurred in the Coun-
                 ties of San Francisco and Alameda.
                                        PARTIES
                    4.    Plaintiff Dulce Garcia (“Ms. Garcia”) is a
                 DACA recipient and an attorney in San Diego, Califor-
                 nia. Ms. Garcia earned her bachelor’s degree from
                 the University of California, San Diego and her law
                 degree from the Cleveland-Marshall College of Law.
                 She was brought to the United States from Mexico
                 when she was four years old. The government’s deci-
                 sion to terminate the DACA program will deprive Ms.
                 Garcia of her DACA status and the numerous valuable
                 benefits she is entitled to by virtue of that status. The
                 termination of DACA also will frustrate Ms. Garcia’s




                                                                              AR2714
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                 ability to represent her clients and harm the dozens of
                 individuals who rely on her counsel.
                    5.    Plaintiff Viridiana Chabolla Mendoza (“Ms.
                 Chabolla”) is a DACA recipient and a first-year law
                 student at the University of California, Irvine School of
                 Law. Ms. Chabolla was brought to the United States
                 from Mexico when she was two years old. The gov-
                 ernment’s decision to terminate the DACA program
                 will deprive Ms. Mendoza of her DACA status and the
                 numerous valuable benefits she is entitled to by virtue
                 of that status. The termination of DACA also will
                 frustrate Ms. Chabolla’s ability to fulfill her dream of
                 working as a lawyer and helping individuals from dis-
                 advantaged and underrepresented communities obtain
                 justice through the legal system.
                    6.    Plaintiff Jirayut (“New”) Latthivongskorn
                 (“Mr. Latthivongskorn”) is a DACA recipient and a
                 fourth-year medical student at the University of Cali-
                 fornia, San Francisco (“UCSF”) School of Medicine.
                 He is also a candidate for a Master of Public Health
                 degree from the T.H. Chan School of Public Health at
                 Harvard University. Mr. Latthivongskorn was brought
                 to the United States from Thailand when he was nine
                 years old. The government’s decision to terminate the
                 DACA program will deprive Mr. Latthivongskorn of
                 his DACA status and the numerous valuable benefits
                 he is entitled to by virtue of that status. The termina-
                 tion of DACA also will frustrate Mr. Latthivongskorn’s
                 ability to fulfill his dream of becoming a doctor and
                 providing care to underserved and unprivileged com-
                 munities.
                   7.   Plaintiff Norma Ramirez (“Ms. Ramirez”) is a
                 DACA recipient and a candidate for a Ph.D. in Clinical
                 Psychology from the Fuller Theological Seminary in




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                 Pasadena, California. Ms. Ramirez was brought to
                 the United States from Mexico when she was five years
                 old. The government’s decision to terminate the
                 DACA program will deprive Ms. Ramirez of her DACA
                 status and the numerous valuable benefits she is enti-
                 tled to by virtue of that status. The termination of
                 DACA also will frustrate Ms. Ramirez’s ability to real-
                 ize her dream of opening a free multidisciplinary ther-
                 apy clinic to immigrant youth and their families.
                    8.     Plaintiff Miriam Gonzalez Avila (“Ms. Gonza-
                 lez”) is a DACA recipient and a teacher at Crown Pre-
                 paratory Academy in Los Angeles, California. She is
                 also a candidate for a Master of Arts in Urban Educa-
                 tion from Loyola Marymount University. Ms. Gonza-
                 lez was brought to the United States from Mexico when
                 she was six years old. The government’s decision to
                 terminate the DACA program will deprive Ms. Gonza-
                 lez of her DACA status and the numerous valuable
                 benefits she is entitled to by virtue of that status. The
                 termination of DACA also will frustrate Ms. Gonzalez’s
                 ability to teach children in underserved communities,
                 thereby harming the children, families, and community
                 who have come to rely on her.
                    9.     Plaintiff Saul Jimenez Suarez (“Mr. Jimenez”)
                 is a DACA recipient and a special education teacher,
                 coach, and mentor in Los Angeles, California. Mr.
                 Jimenez was brought to the United States from Mexico
                 when he was one year old. The government’s decision
                 to terminate the DACA program will deprive Mr.
                 Jimenez of his DACA status and the numerous valuable
                 benefits he is entitled to by virtue of that status. The
                 termination of DACA also will frustrate Mr. Jimenez’s
                 ability to teach and coach young people, including those
                 with special needs, thereby harming dozens of families




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                 and making poorer the community that he is serving
                 and making a better place.
                     10. Defendant United States of America includes
                 all government agencies and departments responsible
                 for the implementation, administration, and termina-
                 tion of the DACA program.
                    11. Defendant Donald J. Trump is the President of
                 the United States. President Trump made the deci-
                 sion to terminate the DACA program and is sued in his
                 official capacity.
                    12. Defendant Department of Homeland Security
                 (“DHS”) is a cabinet department of the federal gov-
                 ernment with responsibility for, among other things,
                 administering and enforcing the nation’s immigration
                 laws.
                    13. Defendant Elaine Duke is the Acting Secre-
                 tary of Homeland Security and is sued in her official
                 capacity. Secretary Duke is responsible for managing
                 DHS, including the administration and enforcement of
                 policies and practices related to DACA.
                                STATEMENT OF FACTS
                 Establishment of the DACA Program
                    14. On June 15, 2012, then-Secretary of Homeland
                 Security Janet Napolitano issued a memorandum es-
                 tablishing the DACA program (the “2012 DACA Mem-
                 orandum”).     Under DACA, individuals who were
                 brought to the United States as young children and
                 who met certain specific criteria could request deferred
                 action for a period of two years, subject to renewal.
                 In exchange, DACA applicants were required to pro-
                 vide the government with highly sensitive personal




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                 information, submit to a rigorous background check,
                 and pay a considerable fee. 1
                    15. Deferred action is a well-established form of
                 prosecutorial discretion under which the government
                 defers removal action against an individual for a speci-
                 fied period, subject to renewal. The 2012 DACA Mem-
                 orandum explained that DACA covers “certain young
                 people who were brought to this country as children
                 and know only this country as home” and that the im-
                 migration laws are not “designed to remove productive
                 young people to countries where they may not have
                 lived or even speak the language.” 2
                    16. The 2012 DACA Memorandum established
                 specific criteria that “should be satisfied before an in-
                 dividual is considered for an exercise of prosecutorial
                 discretion.” 3 They are that the applicant:
                      •   came to the United States under the age of six-
                          teen;
                      •   has continuously resided in the United States for
                          at least five years preceding the date of the mem-
                          orandum and is present in the United States on
                          the date of the memorandum;
                      •   is currently in school, has graduated from high
                          school, has obtained a general education devel-
                          opment certificate, or is an honorably dis-

                  1
                     Memorandum from Secretary Janet Napolitano, Exercising
                 Prosecutorial Discretion with Respect to Individuals Who Came
                 to the United States as Children, at 1-2 (June 15, 2012), https://
                 www.dhs.gov/xlibrary/assets/s1-exercising-prosecutorial-discretion-
                 individuals-who-came-to-us-as-children.pdf (hereinafter “2012 DACA
                 Memorandum”).
                   2
                     Id.
                   3
                     Id. at 1.




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                          charged veteran of the Coast Guard or Armed
                          Forces of the United States;
                      •   has not been convicted of a felony offense, a sig-
                          nificant misdemeanor offense, multiple misde-
                          meanor offenses, or otherwise poses a threat to
                          national security or public safety; and
                      •   is not above the age of thirty. 4
                    17. The 2012 DACA Memorandum further pro-
                 vided that “[n]o individual should receive deferred
                 action . . . unless they first pass a background
                 check and requests for relief . . . are to be decided
                 on a case by case basis.” 5
                     18. USCIS describes DACA as follows: “De-
                 ferred action is a discretionary determination to defer
                 a removal action of an individual as an act of prosecu-
                 torial discretion. For purposes of future inadmissibil-
                 ity based upon unlawful presence, an individual whose
                 case has been deferred is not considered to be unlaw-
                 fully present during the period in which deferred action
                 is in effect. An individual who has received deferred
                 action is authorized by DHS to be present in the United
                 States, and is therefore considered by DHS to be law-
                 fully present during the period deferred action is in
                 effect. However, deferred action does not confer law-
                 ful status upon an individual, nor does it excuse any
                 previous or subsequent periods of unlawful presence.” 6



                  4
                    Id.
                  5
                    Id. at 2.
                  6
                    USCIS DACA FAQs (Archived), Question 1, https://www.uscis.
                 gov/archive/frequently-asked-questions (hereinafter “USCIS DACA
                 FAQs”).




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                    19. Like other forms of deferred action, DACA
                 serves the government’s interests by allowing the gov-
                 ernment to prioritize resources and exercise discretion
                 for its own convenience. DACA also has provided the
                 government with tremendous law enforcement, public
                 safety, and economic benefits. As the government has
                 recognized, our nation “continue[s] to benefit . . .
                 from the contributions of those young people who have
                 come forward and want nothing more than to contrib-
                 ute to our country and our shared future.” 7
                 The DACA Application and Renewal Process
                    20. To apply for DACA, applicants must submit
                 extensive documentation establishing that they meet
                 the relevant criteria. 8 Applicants must also submit a
                 Form I-765 Application for Employment Authorization,
                 and pay $495 in fees. 9
                    21. DACA applicants must also undergo biometric
                 and biographic background checks. When conducting
                 these checks, DHS reviews the applicant’s biometric
                 and biographic information “against a variety of data-
                 bases maintained by DHS and other federal govern-
                 ment agencies.” 10 If any information “indicates that
                 [the applicant’s] presence in the United States threat-
                 ens public safety or national security,” the applicant



                  7
                      Letter from Secretary Jeh Charles Johnson to U.S. Represen-
                 tative Judy Chu (Dec. 30, 2016), https://chu.house.gov/sites/chu.
                 house.gov/files/documents/DHS.Signed%20Response%20to%20Chu
                 %2012.30.16.pdf (hereinafter “Secretary Johnson Letter”).
                   8
                      USCIS DACA FAQs, Questions 28-41
                   9
                      Id., Question 7; see also USCIS, I-821D, Consideration of De-
                 ferred Action for Childhood Arrivals, https://www.uscis.gov/i-821d.
                   10
                       USCIS DACA FAQs, Question 23.




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                 will be ineligible for DACA absent “exceptional cir-
                 cumstances.” 11
                    22. DACA is not limited to a single, two-year de-
                 ferral of action. On the contrary, the ability to renew
                 DACA status is an essential element of the program
                 and one of the main benefits used to induce Dreamers
                 to step forward, subject themselves to a rigorous back-
                 ground investigation, and share sensitive personal in-
                 formation with the government. Indeed, the govern-
                 ment clearly understood from the very beginning that
                 Dreamers would not apply for DACA, and the program
                 would not be successful, unless they were promised the
                 opportunity to renew their DACA status.
                    23. To that end, the 2012 DACA Memorandum ex-
                 plicitly directs that DACA be “subject to renewal, in
                 order to prevent low priority individuals from being
                 placed into removal proceedings or removed from the
                 United States.” 12 That memorandum also makes clear
                 that DACA is meant to protect “productive young
                 people” who “were brought to this country as children
                 and know only this country as home” and not merely
                 postpone their removal for two years. 13
                   24. DHS also established a straightforward re-
                 newal process for DACA and “strongly encourage[d]”
                 DACA recipients to submit their renewal request in
                 advance of the relevant expiration date. 14 Moreover,
                 DACA renewal does not require DACA recipients to
                 meet all of the initial criteria for the program, nor does


                  11
                     Id., Question 65.
                  12
                     2012 DACA Memorandum, at 3 (emphasis added).
                  13
                     Id.
                  14
                     USCIS DACA FAQs, Question 49.




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                 it require them to submit additional documents. 15 On
                 the contrary, to qualify for renewal, DACA recipients
                 are required to meet three basic criteria: (1) they
                 must not have left the United States without advance
                 parole; (2) they must have continuously resided in the
                 United States after submitting their DACA applica-
                 tion; and (3) they must not have been convicted of a
                 felony, a significant misdemeanor, or three or more
                 misdemeanors, or otherwise pose a threat to national
                 security or public safety. 16
                    25. DHS “Standard Operating Procedures” also
                 provide that, absent an “Egregious Public Safety” issue
                 or other special circumstances, DACA status should
                 not be revoked until the government has provided a
                 “Notice of Intent to Terminate” which “thoroughly ex-
                 plain[s]” the grounds for the termination. 17 DHS
                 policy further provides that the recipients of such no-
                 tice should be afforded 33 days to “file a brief or
                 statement contesting the grounds cited in the Notice of
                 Intent to Terminate” prior to termination of DACA
                 status. 18
                    26. Collectively, these policies and procedures, and
                 the representations of numerous government officials,
                 created a clear and reasonable expectation among DACA
                 recipients that they would be entitled to continuously
                 renew their DACA status so long as they stayed out of
                 trouble and played by the rules.

                  15
                      Id., Questions 53-54.
                  16
                      Id., Question 51.
                   17
                      See DHS National Standard Operating Procedures (SOP): De-
                 ferred Action for Childhood Arrivals (DACA), at 132, 144-45 (Apr.
                 4, 2013), https://cliniclegal.org/sites/default/files/attachments/daca_
                 sop_4-4-13.pdf (the “DACA SOP”).
                   18
                      Id.




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                 Benefits Provided Under the DACA Program
                     27. DACA confers numerous important benefits on
                 those who apply for and are granted DACA status.
                 Notably, DACA recipients are granted the right not to
                 be arrested or detained based solely on their immigra-
                 tion status during the time period their deferred action
                 is in effect. 19
                    28. DACA recipients are also eligible for work au-
                 thorization under longstanding regulations. As USCIS
                 has explained, “an individual whose case has been de-
                 ferred is eligible to receive employment authorization
                 for the period of deferred action. . . . ” 20
                    29. DACA recipients are eligible to receive certain
                 public benefits. These include Social Security, retire-
                 ment, and disability benefits, and, in certain states,
                 benefits such as driver’s licenses, health care, financial
                 aid, tuition benefits, and unemployment insurance. 21
                    30. DACA also serves as a gateway to numerous
                 other important public and private practical benefits,
                 and enables recipients to open bank accounts, obtain
                 credit cards, start businesses, purchase homes and


                  19
                      See USCIS DACA FAQs, Question 9 (“[I]f an individual meets
                 the guidelines for DACA, CBP or ICE should exercise their discre-
                 tion on a case-by-case basis to prevent qualifying individuals from
                 being apprehended.”); 2012 DACA Memorandum, at 2; see also
                 Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053, 1058-59 (9th Cir.
                 2014).
                   20
                      USCIS DACA FAQs, Question 1.
                   21
                      See 8 U.S.C. §§ 1611(b)(2)-(3), 1621(d); Texas v. United States,
                 809 F.3d 134, 148 (5th Cir. 2015); Ariz. Dream Act Coal. v. Brewer,
                 81 F. Supp. 3d 795, 811 (D. Ariz. 2015); see also, e.g., Cal. Educ.
                 Code §§ 66021.6-66021.7, 68130.5, 76300.5; Cal. Code Regs. tit. 22,
                 § 50301.3.




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                 cars, and conduct other aspects of daily life that would
                 otherwise often be unavailable to them.
                     31. DACA also confers certain immigration bene-
                 fits and the ability to travel abroad. For example,
                 DACA recipients do not accrue time under 8 U.S.C.
                 § 1182(a)(9)(B)(i), and may briefly depart the U.S. and
                 legally return under certain circumstances. 22
                    32. As the government has recognized, DACA has
                 enabled hundreds of thousands of young people “to
                 enroll in colleges and universities, complete their edu-
                 cation, start businesses that help improve our economy,
                 and give back to our communities as teachers, medical
                 professionals, engineers, and entrepreneurs—all on the
                 books.” 23
                 The Government’s Promises and Its Efforts to Promote
                 DACA
                    33. When the DACA program was first launched,
                 many eligible Dreamers were understandably reluctant
                 to step forward and voluntarily disclose sensitive per-
                 sonal information (including their current home ad-
                 dress) that could facilitate their removal from the
                 United States and place their family members at risk.
                 In response, the government launched an extensive
                 outreach campaign and vigorously promoted the DACA
                 program. Among other efforts, the government pro-
                 vided advice and guidance to civic organizations and
                 education professionals about “best practices” they
                 could use to encourage eligible individuals to apply for
                 the program. The government also hosted informa-
                 tional workshops, and senior government officials—


                  22
                       See USCIS DACA FAQs, Question 57.
                  23
                       Secretary Johnson Letter, at 2.




                                                                            AR2724
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                 including President Obama—encouraged young people
                 to apply for the program.
                    34. The government reiterated these promises in
                 its official correspondence, vowing that DACA recipi-
                 ents would not lose their benefits—including the ability
                 to renew their DACA status—absent specified miscon-
                 duct. For example, the approval notice granting de-
                 ferred action under DACA lists only “fraud or misrep-
                 resentation” in the application process or “[s]ubse-
                 quent criminal activity” as grounds for revoking
                 DACA. 24
                    35. The government also made promises about in-
                 formation provided by DACA recipients as part of its
                 efforts to promote the program. In particular, since
                 the inception of the DACA program, the government
                 has repeatedly represented to applicants, Congress,
                 and the general public that information provided by
                 DACA applicants about themselves or others (includ-
                 ing family members) would not be used for immigration
                 enforcement purposes absent special circumstances.
                    36. As then-Secretary of Homeland Security Jeh
                 Johnson explained, “[s]ince DACA was announced in
                 2012, DHS has consistently made clear that informa-
                 tion provided by applicants . . . will not later be
                 used for immigration enforcement purposes except
                 where it is independently determined that a case in-
                 volves a national security or public safety threat, crim-
                 inal activity, fraud, or limited other circumstances where
                 issuance of a notice to appear is required by law.” 25


                  24
                     The University of Washington, I-797 DACA Approval Sample,
                 https://registrar.washington.edu/i-797-daca-approval_sample.
                  25
                     Secretary Johnson Letter, at 1.




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                    37. Secretary Johnson further explained that this
                 approach was the “long-standing and consistent prac-
                 tice of DHS (and its predecessor INS)” for many “dec-
                 ades” in the use of information “submitted by people
                 seeking deferred action” under a wide variety of pro-
                 grams, as well as applicants seeking immigration “ben-
                 efits or relief ” under a number of other programs. 26
                 According to Secretary Johnson, “DACA applicants
                 most assuredly relied” upon “these representations”
                 and the agency’s “consistent practice” stretching back
                 decades. 27
                    38. The government’s promise not to use infor-
                 mation provided by applicants for immigration en-
                 forcement purposes also appears in the USCIS’s offi-
                 cial instructions regarding the DACA application pro-
                 cess. Those instructions provide:
                       Information provided in this request is protected
                       from disclosure to ICE and U.S. Customs and
                       Border Protection (CBP) for the purpose of immi-
                       gration enforcement proceedings unless the re-
                       questor meets the criteria for the issuance of a No-
                       tice To Appear or a referral to ICE under the criteria
                       set forth in USCIS’ Notice to Appear guidance (www.
                       uscis.gov/NTA). The information may be shared
                       with national security and law enforcement agencies,
                       including ICE and CBP, for purposes other than
                       removal, including for assistance in the considera-
                       tion of deferred action for childhood arrivals request
                       itself, to identify or prevent fraudulent claims, for
                       national security purposes, or for the investigation
                       or prosecution of a criminal offense.      The above


                  26
                       Id. 1-2.
                  27
                       Id. at 1.




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                       information sharing clause covers family members
                       and guardians, in addition to the requestor. 28
                    39. The same promise appears on the DHS web-
                 site, which states that “[i]nformation provided in this
                 request [for DACA] is protected from disclosure to ICE
                 and CBP for the purpose of immigration enforcement
                 proceedings unless the requestor meets the criteria for
                 the issuance of a Notice To Appear or a referral to ICE
                 under the criteria set forth in USCIS’ Notice to Appear
                 guidance (www.uscis.gov/NTA). Individuals whose cases
                 are deferred pursuant to DACA will not be referred to
                 ICE.” 29
                    40. That same promise is also included in DHS’s
                 official, and statutorily-required, Privacy Impact As-
                 sessment for the DACA program. 30
                    41. Numerous public officials from both political
                 parties have reinforced these promises and have rec-
                 ognized that Dreamers have relied on the government
                 to keep its word. For example, in December 2016, then-
                 Secretary of Homeland Security Jeh Charles Johnson


                  28
                      Instructions for Consideration of Deferred Action for Child-
                 hood Arrivals, USCIS Form I-821D at 13 (Jan. 9, 2017 ed.), https://
                 www.uscis.gov/sites/default/files/files/form/i-821dinstr.pdf (empha-
                 sis added).
                   29
                      USCIS DACA FAQs, Question 19. The referenced Notice to
                 Appearance guidance is USCIS Policy Memorandum 602-0050
                 (Nov. 7, 2011) (“Revised Guidance for the Referral of Cases and
                 Issuance of Notices to Appear (NTAs) in Cases Involving Inadmis-
                 sible and Removable Aliens”).
                   30
                      DHS, Privacy Impact Assessment, USCIS, Deferred Action for
                 Childhood Arrivals 13 (Aug. 15, 2012), https://www.dhs.gov/sites/
                 default/files/publications/privacy/privacy_pia_uscis_daca.pdf; see
                 E-Government Act of 2002 Sec. 208(b), Pub L. No. 107-347, 116 Stat.
                 2899, 2921 (codified as amended at 44 U.S.C. § 3501 note).




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                 acknowledged that there are hundreds of thousands of
                 Dreamers who have “relied on the U.S. government’s
                 representations” about DACA, and he asserted that
                 “representations made by the U.S. government, upon
                 which DACA applicants most assuredly relied, must
                 continue to be honored.” 31
                    42. In January 2017, Speaker of the House Paul
                 Ryan stated that the government must ensure that
                 “the rug doesn’t get pulled out from under” Dreamers,
                 who have “organize[d] [their] li[ves] around” the DACA
                 program. 32
                    43. Also in January 2017, Senator Lindsey Gra-
                 ham stated that the government should not “pull the
                 rug out and push these young men and women—who
                 came out of the shadows and registered with the federal
                 government—back into the darkness.” 33
                    44. In February 2017, Congressman Raúl Grijalva
                 described DACA as a “commitment,” and called for
                 “the federal government to honor its word to protect”
                 Dreamers. 34
                    45. On February 20, 2017, then-Secretary of Home-
                 land Security John F. Kelly issued a memorandum that

                  31
                      Secretary Johnson Letter, at 1.
                  32
                      Transcript of CNN Town Hall Meeting with House Speaker
                 Paul Ryan, CNN (Jan. 12, 2017), http://cnn.it/2oyJXJJ.
                   33
                      Lindsey Graham, Graham, Durbin Reintroduce BRIDGE Act
                 To Protect Undocumented Youth From Deportation (Jan. 12, 2017),
                 https://www.lgraham.senate.gov/public/index.cfm/2017/1/graham-
                 durbin-reintroduce-bridge-act-to-protect-undocumented-youth-
                 from-deportation.
                   34
                      Congressional Progressive Caucus Leaders Respond to ICE
                 Arrest of DACA Recipient (Feb. 16, 2017), https://cpc-grijalva.house.
                 gov/press-releases/congressional-progressive-caucus-leaders-respond-
                 to-ice-arrest-of-daca-recipient.




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                 “immediately rescinded” all “conflicting directives, mem-
                 oranda, or field guidance regarding the enforcement of
                 our immigration laws and priorities for removal,” but
                 specifically exempted the 2012 DACA Memorandum. 35
                    46. On March 29, 2017, then-Secretary Kelly reaf-
                 firmed that “DACA status” is a “commitment . . .
                 by the government towards the DACA person, or the
                 so-called Dreamer.” 36
                    47. On April 21, 2017, President Trump said that
                 his administration is “not after the dreamers” and sug-
                 gested that “[t]he dreamers should rest easy.” When
                 asked if “the policy of [his] administration [is] to allow
                 the dreamers to stay,” President Trump answered,
                 “Yes.” 37
                 Ms. Garcia Relied on the Government’s Promises
                 Regarding DACA
                    48. Dulce Garcia was brought to the United States
                 from Mexico when she was four years old. Ms. Garcia
                 was raised in a low-income, underserved neighborhood
                 in San Diego, California. Throughout her childhood,
                 Ms. Garcia lacked health care and her family struggled
                 with poverty and occasional periods of homelessness.


                  35
                      Memorandum from Secretary John Kelly, Enforcement of the
                 Immigration Laws to Serve the National Interest, at 2 (Feb. 20,
                 2017), https://www.dhs.gov/sites/default/files/publications/17_0220_
                 S1_Enforcement-of-the-Immigration-Laws-to-Serve-the-National-
                 Interest.pdf (hereinafter “Secretary Kelly Memo”).
                   36
                      Ted Hesson & Seung Min Kim, Wary Democrats Look to Kelly
                 for Answers on Immigration, Politico (Mar. 29, 2017), http://politi.
                 co/2mR3gSN.
                   37
                      Transcript of AP Interview With Trump, CBS News (Associ-
                 ated Press) (Apr. 24, 2017), https://www.cbsnews.com/news/
                 transcript-of-ap-interview-with-trump.




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                    49. Although she grew up fearing the police and
                 immigration authorities, Ms. Garcia did not learn that
                 she was undocumented until high school. Around this
                 time, Ms. Garcia began to discover the limitations of
                 being undocumented and was advised by her high
                 school guidance counselor that she would be unable to
                 enroll in college or secure federal financial aid despite
                 her academic record.
                    50. Refusing to yield to these limitations, Ms. Gar-
                 cia continuously sought to enroll at a local community
                 college, despite repeatedly being denied admission be-
                 cause of her immigration status. Eventually, Ms. Gar-
                 cia secured admission to the school. Ms. Garcia later
                 transferred to the University of California, San Diego
                 (“UCSD”), graduating in 2009 with a bachelor’s degree
                 in political science and securing honors every quarter
                 she was enrolled at UCSD. During this time, Ms.
                 Garcia worked full time as a legal assistant at a small
                 law firm, which solidified her childhood dream of be-
                 coming an attorney, and often sought out second and
                 third jobs in order to pay for tuition and books.
                    51. Ms. Garcia matriculated at the Cleveland-
                 Marshall College of Law in Cleveland, Ohio in 2011.
                 Because tuition was a flat rate regardless of the num-
                 ber of units, Ms. Garcia sought the Dean’s approval to
                 take extra classes during her second and third years.
                 Ms. Garcia also worked throughout law school as legal
                 assistant to cover tuition and her living expenses.
                    52. During her last year of law school, when money
                 was especially tight, Ms. Garcia’s mother gave her
                 $5,000 to help pay for tuition. This sum represented
                 most of Ms. Garcia’s mother’s life savings, which she
                 had earned working the night shift as a hotel house-
                 keeper.




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                    53. During Ms. Garcia’s second year of law school,
                 the government announced the DACA program. Ms.
                 Garcia was overjoyed and broke down in tears when
                 she heard the announcement. Although she was ini-
                 tially skeptical, Ms. Garcia decided that she could trust
                 the government to honor its promises. In reliance on
                 the government’s promises, she applied for DACA,
                 providing the government with her personal informa-
                 tion and the required fees. Ms. Garcia passed the
                 background check and was granted DACA status in
                 2014. In reliance on the government’s promises, Ms.
                 Garcia successfully reapplied for DACA status and
                 work authorization in 2016. Ms. Garcia was admitted
                 to the California Bar in May 2016.
                    54. Being granted DACA status was a transform-
                 ative experience for Ms. Garcia. DACA freed Ms.
                 Garcia from the constant worry that she would be de-
                 tained and deported every time she stepped outside her
                 home. It also gave her the confidence to hire several
                 employees, build a thriving law practice, and represent
                 dozens of clients in immigration, civil litigation, and
                 criminal defense cases. Finally, DACA enabled Ms.
                 Garcia to dream about becoming a mother, allowing her
                 to take the first steps toward becoming a foster parent,
                 with the ultimate goal of adopting a child.
                    55. Ms. Garcia trusted the government to honor its
                 promises and advised others that information provided
                 as part of DACA would not be used for immigration en-
                 forcement purposes. Even after the new administra-
                 tion was sworn into office, Ms. Garcia continued to
                 trust the government, helping to create a video encour-
                 aging eligible young people to apply for DACA.




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                 Ms. Chabolla Relied on the Government’s Promises
                 Regarding DACA
                    56. Viridiana Chabolla was brought to the United
                 States from Mexico when she was two years old. Ms.
                 Chabolla grew up in Los Angeles, California. Ms.
                 Chabolla confronted the reality of her undocumented
                 status from an early age, and was unable to participate
                 in certain club and community activities that required a
                 Social Security number.
                    57. Ms. Chabolla was inspired to pursue a career
                 in law by her grandfather, who suggested that becom-
                 ing an attorney would give her “the power to fight
                 injustice with words.” Ms. Chabolla was further in-
                 spired after meeting a Latino judge from East Los
                 Angeles, whose eloquence, impressive academic cre-
                 dentials, and commitment to the community left a deep
                 impression on her.
                    58. Ms. Chabolla enrolled in Pomona College in
                 the fall of 2009 and graduated with a Bachelor of Arts
                 degree in Sociology and Chicana/o-Latina/o Studies in
                 May 2013. Ms. Chabolla received numerous honors
                 and awards and was deeply involved in campus life.
                 At the same time, Ms. Chabolla sought out ways to give
                 back to her community, helping to coordinate academic
                 and enrichment activities, SAT preparation classes,
                 and college information sessions for hundreds of stu-
                 dents from economically disadvantaged and underrep-
                 resented backgrounds. Ms. Chabolla also created and
                 taught an elective course on the U.S. Civil Rights Move-
                 ment to high school students.
                    59. In 2012, during her final year of college, Ms.
                 Chabolla applied for and was granted DACA status.
                 In reliance on the promises made by the government,
                 Ms. Chabolla disclosed personal information about her-




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                 self and her family, paid the required fee, and submit-
                 ted to a DHS background check. In reliance on the
                 government’s promises, Ms. Chabolla successfully
                 reapplied for DACA status in 2014 and again in 2016.
                     60. After graduating from Pomona, Ms. Chabolla
                 was hired as a community organizer at Public Counsel,
                 the nation’s largest pro bono law firm. In that capac-
                 ity, Ms. Chabolla assisted with landmark civil rights
                 litigation involving educational inequities in the public
                 education system, as well as with efforts to provide es-
                 sential services to homeless veterans, women, and
                 youth in Los Angeles County.
                    61. Ms. Chabolla’s experiences at Public Counsel
                 solidified her interest in helping underserved individu-
                 als and communities obtain justice through the legal
                 system. In pursuit of this goal, Ms. Chabolla secured
                 a special fellowship from the law firm of Munger, Tolles
                 & Olson LLP, and enrolled earlier this year as a Public
                 Interest Scholar at the University of California, Irvine
                 School of Law.
                 Mr. Latthivongskorn Relied on the Government’s Prom-
                 ises Regarding DACA
                     62. New Latthivongskorn was brought to the
                 United States from Thailand when he was nine years
                 old. Mr. Latthivongskorn was raised in California.
                 His parents first settled in Fremont, California, where
                 they worked cleaning toilets and mopping floors, and
                 later waiting tables at various restaurants. In 2004,
                 Mr. Latthivongskorn’s parents moved the family to
                 Sacramento to open their own restaurant, hoping that
                 it would allow them to earn enough money to be able to
                 send their children to college.




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                    63. Growing up, Mr. Latthivongskorn lived with
                 the constant fear that he or his parents might be de-
                 ported. Mr. Latthivongskorn began to more acutely
                 experience the challenges of being undocumented as he
                 grew older, often searching for excuses such as being
                 “deathly afraid of driving” to explain to classmates why
                 he lacked a driver’s license.
                    64. Mr. Latthivongskorn was inspired to become a
                 doctor after his mother was diagnosed with ovarian
                 tumors during his junior year of high school. Not only
                 did Mr. Latthivongskorn witness the incredible power
                 of medicine to help those in need, but he also experi-
                 enced the barriers that low-income immigrants face in
                 navigating the health care system. After this experi-
                 ence, Mr. Latthivongskorn decided that he wanted to
                 devote his life to improving access to health care for
                 immigrant and low-income communities.
                    65. Mr. Latthivongskorn’s parents taught him that
                 hard work and education were the keys to success. In
                 addition to waiting tables, washing dishes, and mop-
                 ping floors in his family’s restaurant on nights and
                 weekends, Mr. Latthivongskorn immersed himself in
                 his studies, taking honors and AP classes. As a result
                 of his hard work, Mr. Latthivongskorn graduated as
                 salutatorian of his high school class and was accepted
                 to UC Berkeley.
                    66. Because he lacked a Social Security number,
                 Mr. Latthivongskorn was ineligible for federal financial
                 aid. However, due to his record of achievement, Mr.
                 Latthivongskorn was offered a prestigious scholarship
                 that promised to cover a significant portion of his edu-
                 cational expenses for four years. This scholarship was
                 revoked only weeks before classes began after UC
                 Berkeley learned that Mr. Latthivongskorn lacked legal




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                 status. Mr. Latthivongskorn was devastated and con-
                 sidered attending a community college, but his family
                 insisted that he enroll at UC Berkeley.
                    67. While Mr. Latthivongskorn thrived at UC
                 Berkeley, he constantly worried about how to finance
                 his education. To help pay for school, Mr. Latthi-
                 vongskorn worked as a busboy at a Thai restaurant and
                 secured scholarships from several nonprofit organiza-
                 tions. Despite his demanding academic and work
                 commitments, Mr. Latthivongskorn devoted significant
                 time to volunteering with several local nonprofit or-
                 ganizations.
                    68. In 2011, Mr. Latthivongskorn was robbed at
                 gun point just five blocks from the UC Berkeley cam-
                 pus. He decided not to report the crime to the police
                 out of fear that stepping forward to law enforcement
                 might lead to him being deported.
                     69. While at UC Berkeley, Mr. Latthivongskorn
                 also developed into an activist and learned the power of
                 grassroots community organizing. Among other ef-
                 forts, Mr. Latthivongskorn advocated for federal leg-
                 islation to assist Dreamers, and testified before the
                 California Legislature in support of the California
                 DREAM Act in 2011 and the California TRUST Act in
                 2013.
                    70. In 2012, Mr. Latthivongskorn co-founded Pre-
                 Health Dreamers (“PHD”), a national nonprofit organ-
                 ization that provides advising, resources, and advocacy
                 for undocumented students interested in pursuing
                 careers in health care and science. In January 2017,
                 Forbes Magazine named Mr. Latthivongskorn to its
                 “30 Under 30 in Education” list, commending him for
                 being “on the frontline of getting undocumented stu-




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                 dents into medical professions and on the path to be-
                 coming physicians and health care professionals.”
                    71. In 2012, Mr. Latthivongskorn graduated with
                 honors from UC Berkeley, earning a degree in Molec-
                 ular & Cellular Biology and Distinction in General
                 Scholarship. In spite of his excellent academic record,
                 Mr. Latthivongskorn was told by the deans of admis-
                 sions at several medical schools that he should not ap-
                 ply to their programs because he was undocumented
                 and that no medical school would invest their resources
                 in training someone who might not be able to stay in
                 the United States. Refusing to take “no” for an an-
                 swer, Mr. Latthivongskorn applied to medical school
                 anyway, but was initially turned down.
                    72. Exactly one month after Mr. Latthivongskorn
                 graduated from UC Berkeley, the government an-
                 nounced the DACA program. Believing that he could
                 rely on the government to honor its promises, Mr.
                 Latthivongskorn applied for DACA in the fall of 2012.
                 He passed the background check and was granted
                 DACA status on January 24, 2013. In reliance on the
                 government’s promises, Mr. Latthivongskorn success-
                 fully reapplied for DACA status and work authoriza-
                 tion in 2014 and then again in 2016.
                    73. Being granted DACA status changed Mr.
                 Latthivongskorn’s life.     Because DACA recipients
                 were granted permission to stay in the United States
                 on a renewable basis, medical schools became willing to
                 invest in these students for the several years it takes to
                 complete medical school and residency programs. Mr.
                 Latthivongskorn reapplied to medical schools, and in
                 2014, he enrolled at UCSF, one of the most prestigious
                 and selective medical schools in the country. Mr.
                 Latthivongskorn is part of the Program in Medical




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                 Education for the Urban Underserved (“PRIME-US”),
                 and is committed to using his degree to improve health
                 care delivery systems and assist urban underserved
                 communities.
                    74. In April 2017, Mr. Latthivongskorn was awarded
                 a prestigious U.S. Public Health Service Excellence in
                 Public Health Award, which is given to medical stu-
                 dents who have helped to advance the U.S. Public Health
                 Service’s mission to “protect, promote, and advance the
                 health and safety of our Nation.”
                    75. In August 2017, Mr. Latthivongskorn began
                 pursuing a Master of Public Health at Harvard Uni-
                 versity. His goal is to develop a better understanding
                 of health care policy so that he can help to end health
                 disparities and increase access to affordable, quality
                 health care, particularly for immigrants and other un-
                 derserved communities.
                 Ms. Ramirez Relied on the Government’s Promises
                 Regarding DACA
                    76. Norma Ramirez was brought to the United
                 States from Mexico when she was five years old. Ms.
                 Ramirez attended public high school, where she was an
                 honor roll student. Her undocumented status made
                 an impact on her in high school when she was denied a
                 driver’s license and learned that her dreams of going to
                 college might be out of reach.
                    77. Ms. Ramirez attended the College of Southern
                 Nevada, and later the University of Nevada, Las Ve-
                 gas, where she earned a bachelor’s degree in psychol-
                 ogy in 2014.
                   78. Ms. Ramirez could not believe the news in 2012
                 when her pastor sent her a text message telling her
                 about the DACA program. Relying on the govern-




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                 ment’s promises under the DACA program, Ms. Ra-
                 mirez applied for DACA status on August 15, 2012.
                 Her application was approved on November 1, 2012.
                 In further reliance on the government’s promises, Ms.
                 Ramirez twice reapplied for DACA status and work
                 authorization, and was reapproved in September 2014
                 and October 2016.
                    79. Ms. Ramirez has been inspired to continue her
                 education in clinical psychology in part because her
                 experiences as a volunteer mentor have exposed her to
                 the suffering of countless individuals who do not have
                 access to mental health services, much less access to
                 practitioners who speak their native language or share
                 an understanding of the immigrant experience. Her
                 motivation also stems from her own difficulties in find-
                 ing a supportive environment to discuss the challenges
                 and barriers she has faced as an undocumented immi-
                 grant.
                    80. In 2015, Ms. Ramirez began her graduate work
                 at the Fuller Theological Seminary in Pasadena, Cali-
                 fornia. She earned her Master’s degree in Clinical
                 Psychology in 2017 and is currently pursuing her Ph.D.
                 in Clinical Psychology. Since 2016, Ms. Ramirez has
                 worked at an outpatient clinic in Monrovia, California,
                 providing school and home-based therapy to patients in
                 English and Spanish, and also has served as a member
                 of the Board of Directors for the Immigration Re-
                 source Center of San Gabriel Valley.
                    81. DACA enabled Ms. Ramirez to pursue her
                 dream of establishing a free clinic that provides mental
                 health services to immigrant youth, Latinos, and their
                 families. As a Dreamer, Ms. Ramirez understands the
                 challenges faced by many of her patients, and is able to




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                 secure their trust in a way that many other mental
                 health practitioners cannot.
                 Ms. Gonzalez Relied on the Government’s Promises
                 Regarding DACA
                    82. Miriam Gonzalez was brought to the United
                 States from Mexico when she was six years old. She
                 was raised in Los Angeles, California, and graduated
                 from Roosevelt High School in 2011.
                    83. Ms. Gonzalez first learned she was undocu-
                 mented in the seventh grade, after talking with her
                 friends about getting a summer job at an elementary
                 school. When she asked her parents for her Social
                 Security number so that she could apply to work with
                 her friends, they informed her that she was undocu-
                 mented and had no Social Security number.
                    84. In spite of their undocumented status, Ms.
                 Gonzalez’s parents pushed her to get good grades, with
                 the hope that she would go to college. In high school,
                 Ms. Gonzalez began telling her teachers that she was
                 undocumented, and they provided her with resources
                 about the application process and about a California
                 law allowing undocumented students to pay in-state
                 tuition.
                    85. Relying on the government’s promises under
                 the DACA program, Ms. Gonzalez applied for DACA
                 status and work authorization in December 2012. Her
                 application was approved in February 2013. In fur-
                 ther reliance on the government’s promises, Ms. Gon-
                 zalez successfully reapplied for DACA status and work
                 authorization in December 2014 and October 2016.
                    86. Ms. Gonzalez attended college at the Univer-
                 sity of California, Los Angeles (“UCLA”), graduating
                 in 2016 with a Bachelor of Arts in Anthropology and a




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                 minor in Classical Civilizations. She was named to the
                 Dean’s Honors List for her academic performance in
                 the spring of 2015. While at UCLA, Ms. Gonzalez
                 earned money by tutoring elementary, middle, and
                 high school students, and by working as a campus
                 parking assistant.
                    87. Ms. Gonzalez has been active in community
                 service since a young age, focusing her energy on im-
                 migrants’ rights and education for the underserved.
                 While at UCLA, she helped to host the 2014 Immigrant
                 Youth Empowerment Conference—the largest immi-
                 grant youth conference in the country—as well as an
                 Educators Conference, a DACA clinic, and several ad-
                 ditional immigrants’ rights workshops. Ms. Gonzalez
                 also mentored two students at Van Nuys High School,
                 motivating them to pursue a higher education and ad-
                 vising them on the college application process.
                    88. Ms. Gonzalez ultimately decided that she could
                 give the most to her community by teaching students in
                 underserved communities.      After graduating from
                 UCLA in 2016, Ms. Gonzalez was accepted into the selec-
                 tive Teach For America (“TFA”) program. Through
                 TFA, Ms. Gonzalez currently teaches Math and Read-
                 ing Intervention to struggling middle school students
                 at Crown Preparatory Academy in Los Angeles.
                    89. In 2017, Ms. Gonzalez received her Prelimi-
                 nary Multiple Subject Teaching Credential from Loyola
                 Marymount University, which is valid until 2022. Ms.
                 Gonzalez is currently studying at Loyola Marymount to
                 obtain a Master of Arts degree in Urban Education,
                 with a focus in Policy and Administration. Upon her
                 expected completion of her master’s program and her
                 service with TFA in the spring of 2018, Ms. Gonzalez
                 hopes to continue to teach in the Los Angeles area,




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                 mentoring and inspiring young students from disad-
                 vantaged communities to pursue a higher education
                 and achieve their full potential.
                 Mr. Jimenez Relied on the Government’s Promises
                 Regarding DACA
                    90. Saul Jimenez was brought to the United States
                 from Mexico when he was one year old. Mr. Jimenez
                 was raised in the Boyle Heights neighborhood of Los
                 Angeles, California. He attended Roosevelt High
                 School, where he was a star athlete. Among other
                 achievements, he was captain of the football team and
                 an all-league wide receiver. Mr. Jimenez worked
                 throughout high school, helping his parents make ends
                 meet by delivering newspapers and washing dishes at
                 an Italian restaurant.
                    91. Following high school, Mr. Jimenez played
                 football for two years at East Los Angeles Community
                 College, viewing his commitment to the game as a
                 ticket to a four-year university. At the same time, Mr.
                 Jimenez was also working two or three jobs, and often
                 struggled to stay awake during practice and team
                 meetings. Mr. Jimenez explored becoming a fire-
                 fighter and considered a career in law enforcement, but
                 learned that his legal status prevented him from serv-
                 ing his community in these ways.
                    92. In 2007, Mr. Jimenez’s hard work paid off and
                 he was awarded a football scholarship to Oklahoma
                 Panhandle State University.     Mr. Jimenez again
                 served as team captain and was chosen by his team-
                 mates as defensive MVP—now playing as an outside
                 linebacker.
                    93. In Oklahoma, Mr. Jimenez began mentoring
                 high school students through the U.S. Department of




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                 Education’s Upward Bound program. Mr. Jimenez
                 quickly found that he enjoyed working with young
                 people and was able to connect with and help many of
                 his students.
                    94. In 2010, Mr. Jimenez returned to Boyle
                 Heights, working in low-wage jobs in warehouses and
                 restaurants to support his parents and himself.
                 However, after the government announced the DACA
                 program in 2012, Mr. Jimenez began to believe that he
                 could build a career for himself, and worked to improve
                 his resume.
                    95. Relying on the government’s promises under
                 the DACA program, Mr. Jimenez successfully applied
                 for DACA status in 2012. In further reliance on the
                 government’s promises, Mr. Jimenez successfully re-
                 applied for DACA status and work authorization in
                 2014.
                    96. Shortly after receiving DACA status, Mr.
                 Jimenez secured three part-time teaching and men-
                 torship positions, working as a tutor, a sports coach in
                 an after- school program, and as a manager at an ado-
                 lescent rehabilitation center at night. After a few
                 months, Mr. Jimenez accepted a full-time position as a
                 program coordinator with the national nonprofit
                 HealthCorps, which enabled him to continue to pursue
                 his interest in teaching and mentorship.
                    97. In August 2016, Mr. Jimenez began working as
                 a substitute teacher in the Los Angeles Unified School
                 District. Mr. Jimenez is now a full-time special edu-
                 cation teacher at Stevenson Middle School, where he
                 helps students with learning disabilities overcome their
                 challenges.




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                    98. Mr. Jimenez has also pursued coaching as a
                 further means to inspire and uplift young people. In
                 recent years, Mr. Jimenez has also served as the head
                 junior varsity football coach, the head girls junior var-
                 sity soccer coach, and an assistant varsity football
                 coach at Roosevelt High School. Through coaching,
                 Mr. Jimenez seeks to teach young people skills and les-
                 sons that will apply broadly and benefit them throughout
                 their lives.
                 President Trump’s Statements and Actions Prior to
                 Ending DACA
                    99. The government’s decision to end the DACA
                 program was motivated by improper discriminatory
                 intent and animus toward Mexican nationals, individu-
                 als of Mexican heritage, and Latinos, who together ac-
                 count for 93 percent of approved DACA applications.
                    100. According to USCIS, approximately 79 per-
                 cent of approved DACA applications through March 31,
                 2017, have been submitted by Mexican nationals. 38 No
                 other nationality makes up more than 4 percent of
                 approved DACA applications. 39 93 percent of ap-
                 proved DACA applications have been submitted by
                 individuals from Latin American countries. 40
                    101. President Trump’s statements and actions re-
                 flect a pattern of bias against Mexicans and Latinos.

                  38
                     USCIS, Form I-821D Consideration of Deferred Action for
                 Childhood Arrivals by Fiscal Year, Quarter, Intake, Biometrics and
                 Case Status Fiscal Year 2012-2017 (Mar. 31, 2017), https://www.
                 uscis.gov/sites/default/files/USCIS/Resources/Reports%20and%20
                 Studies/Immigration%20Forms%20Data/All%20Form%20Types/
                 DACA/daca_performancedata_fy2017_qtr2.pdf.
                  39
                     Id.
                  40
                     Id.




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                 For example, on February 24, 2015, President Trump
                 demanded that Mexico “stop sending criminals over
                 our border.” 41 On March 5, 2015, President Trump
                 tweeted that he “want[ed] nothing to do with Mexico
                 other than to build an impenetrable WALL. . . . ” 42
                    102. On June 16, 2015, during his speech launching
                 his presidential campaign, President Trump character-
                 ized immigrants from Mexico as criminals, “rapists,”
                 and “people that have lots of problems.” 43 President
                 Trump later asserted that these remarks were “100
                 percent correct.” 44
                    103. Three days later, President Trump tweeted
                 that “[d]ruggies, drug dealers, rapists and killers are
                 coming across the southern border,” and asked, “When
                 will the U.S. get smart and stop this travesty?” 45
                    104. On August 6, 2015, during the first Republican
                 presidential debate, President Trump said “the Mexi-
                 can government is much smarter, much sharper, much
                 more cunning. And they send the bad ones over be-




                  41
                      Donald J. Trump, Tweet on February 24, 2015 at 4:47 PM.
                  42
                      Donald J. Trump, Tweet on March 5, 2015 at 4:50 PM.
                   43
                      Donald J. Trump, Presidential Announcement Speech (June
                 16, 2015), available at http://time.com/3923128/donald-trump-
                 announcement-speech/.
                   44
                      Sandra Guy, Trump in Chicago: Says he’s ‘100 percent cor-
                 rect’ about Mexicans, blasts U.S. as ‘laughingstock’—‘we’re all a
                 bunch of clowns’, Chicago Sun Times (June 24, 2016), http://chicago.
                 suntimes.com/news/trump-in-chicago-says-hes-100-percent-correct-
                 about-mexicans-blasts-u-s-as-laughingstock-were-all-a-bunch-of-
                 clowns/.
                   45
                      Donald J. Trump, Tweet on June 19, 2015, at 7:22 PM.




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                 cause they don’t want to pay for them, they don’t want
                 to take care of them.” 46
                    105. On August 21, 2015, two men urinated on a
                 sleeping Latino man and then beat him with a metal
                 pole. At the police station, they stated “Donald
                 Trump was right; all these illegals need to be deport-
                 ed.”     When asked about the incident, President
                 Trump failed to condemn the men, instead stating that
                 they were “passionate.” Specifically, President Trump
                 said, “[i]t would be a shame . . . I will say that peo-
                 ple who are following me are very passionate. They
                 love this country and they want this country to be great
                 again. They are passionate.” 47
                    106. On August 24, 2015, President Trump tweeted,
                 “Jeb Bush is crazy, who cares that he speaks Mexican,
                 this is America, English!!” 48
                    107. On September 25, 2015, President Trump sug-
                 gested that the United States would no longer “take
                 care” of “anchor babies” from Mexico. 49
                    108. In May and June 2016, President Trump re-
                 peatedly attacked United States District Judge Gonzalo

                  46
                      Andrew O’Reilly, At GOP debate, Trump says ‘stupid’ U.S. lead-
                 ers are being duped by Mexico, Fox News (Aug. 6, 2015), http://
                 www.foxnews.com/politics/2015/08/06/at-republican-debate-trump-
                 says-mexico-is-sending-criminals-because-us.html.
                   47
                      Adrian Walker, ‘Passionate’ Trump fans behind homeless man’s
                 beating?, The Boston Globe (Aug. 21, 2015), https://www.bostonglobe.
                 com/metro/2015/08/20/after-two-brothers-allegedly-beat-homeless-
                 man-one-them-admiringly-quote-donald-trump-deporting-illegals/
                 I4NXR3Dr7litLi2NB4f 9TN/story.html.
                   48
                      Donald J. Trump, Tweet on August 24, 2015 at 7:14 PM.
                   49
                      Donald J. Trump, Speech in Oklahoma City, OK at 41:31-42:30
                 YouTube (Sept. 25, 2015), https://www.youtube.com/watch?v=
                 2j4bY7NAFww.




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                 Curiel, asserting that because he was “of Mexican
                 heritage” he had “an absolute” and “inherent conflict of
                 interest” that precluded him from hearing a lawsuit
                 against President Trump’s eponymous university. 50
                 Speaker of the House Paul Ryan characterized Presi-
                 dent Trump’s comments as “the textbook definition of a
                 racist comment.” 51 Senator Susan Collins similarly
                 asserted that President Trump’s “statement that Judge
                 Curiel could not rule fairly because of his Mexican
                 heritage” was “absolutely unacceptable.” 52
                    109. On August 31, 2016, President Trump raised
                 concerns about immigrants, saying “we have no idea
                 who these people are, where they come from. I al-
                 ways say Trojan Horse.” 53
                    110. In August 2017, President Trump asserted
                 that a group of white supremacists marching in Char-
                 lottesville, Virginia included “some very fine people.” 54


                  50
                      Daniel White, Donald Trump Ramps Up Attacks Against
                 Judge in Trump University Case, Time (June 2, 2016), http://time.
                 com/4356045/donald-trump-judge-gonzalo-curiel/.
                   51
                      Sarah McCammon, Trump Says Comments About Judge
                 ‘Have Been Misconstrued’, Nat’l Pub. Radio (June 7, 2016),
                 http://www.npr.org/2016/06/07/481013560/ryan-trumps-criticism-
                 of-judge-textbook-definition-of-a-racist-comment.
                   52
                      Susan Collins, U.S. Senator Susan Collins’ Statement on Don-
                 ald Trump’s Comments on the Judiciary (June 6, 2016), https://
                 www.collins.senate.gov/newsroom/us-senator-susan-collins%E2%80
                 %99-statement-donald-trump%E2%80%99s-comments-judiciary.
                   53
                      Transcript of Donald Trump’s Immigration Speech, N.Y. Times
                 (Sept. 1, 2016), https://www.nytimes.com/2016/09/02/us/politics/
                 transcript-trump-immigration-speech.html?mcubz=0.
                   54
                      Meghan Keneally, Trump lashes out at ‘alt-left’ in Charlottesville,
                 says ‘fine people on both sides’, ABC News (Aug. 15, 2017), http://
                 abcnews.go.com/Politics/trump-lashes-alt-left-charlottesville-
                 fine-people-sides/story?id=49235032.




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                 Former Massachusetts Governor Mitt Romney sug-
                 gested that these comments “caused racists to re-
                 joice,” 55 while Senator Lindsay Graham noted that the
                 President was “now receiving praise from some of the
                 most racist and hate-filled individuals and groups in
                 our country.” 56 Former Ku Klux Klan leader David
                 Duke thanked President Trump for his “honesty and
                 courage.” 57
                    111. On August 22, 2017, during a rally in Phoenix,
                 Arizona, President Trump described unauthorized
                 immigrants as “animals” who bring “the drugs, the
                 gangs, the cartels, the crisis of smuggling and traffick-
                 ing.” 58
                    112. On August 25, 2017, President Trump par-
                 doned former Maricopa County Sheriff Joseph Arpaio,
                 who had been convicted of criminal contempt by United
                 States District Judge Susan R. Bolton for intentionally
                 disobeying a federal court order to cease targeting
                 Latinos. A comprehensive investigation by the United

                  55
                      Emma Kinery, Mitt Romney: President Trump’s Charlottes-
                 ville comments ‘caused racists to rejoice’, USA Today (Aug. 18, 2017),
                 https://www.usatoday.com/story/news/politics/onpolitics/2017/08/18/
                 mitt-romney-criticizes-president-trump-charlottesville-statement/
                 579410001/.
                   56
                      Eugene Scott & Miranda Green, Trump, Graham feud over
                 President’s Charlottesville response, CNN Politics (Aug. 17, 2017),
                 http://www.cnn.com/2017/08/16/politics/lindsey-graham-donald-trump-
                 charlottesville/index.html.
                   57
                      Z. Byron Wolf, Trump’s defense of the ‘very fine people’ at
                 Charlottesville white nationalist march has David Duke gushing,
                 CNN Politics (Aug. 15, 2017), http://www.cnn.com/2017/08/15/
                 politics/donald-trump-david-duke-charlottesville/index.html.
                   58
                      President Trump Speaks Live in Phoenix, Arizona with
                 Campaign-Style Rally, CNN (Aug. 22, 2017), http://www.cnn.com/
                 TRANSCRIPTS/1708/22/cnnt.01.html.




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                 States Department of Justice found that under Sheriff
                 Arpaio’s leadership the Maricopa County Sheriff ’s
                 Office engaged in a pattern and practice of unconstitu-
                 tional conduct and violations of federal law based on its
                 blatantly discriminatory practices against Latinos. 59
                 Among other conclusions, the Justice Department
                 investigation uncovered “a pervasive culture of dis-
                 criminatory bias against Latinos” and noted that Sher-
                 iff Arpaio’s officers routinely referred to Latinos as
                 “wetbacks,” “Mexican bitches,” “fucking Mexicans,”
                 and “stupid Mexicans.” In pardoning Sheriff Arpaio,
                 President Trump praised him as an “American patriot”60
                 and suggested that he was “convicted for doing his
                 job.” 61
                    113. President Trump’s recent comments and ac-
                 tions reflect an ongoing pattern and practice of bias
                 stretching back decades. In 1973, the United States
                 Department of Justice sued President Trump after a
                 federal investigation found that his company had en-
                 gaged in systematic racial discrimination. To settle
                 this lawsuit, President Trump agreed to a settlement in




                  59
                      U.S. Dep’t of Justice, Office of Pub. Affairs, Department of
                 Justice Releases Investigative Findings on the Maricopa County
                 Sheriff ’s Office (Dec. 15, 2011), https://www.justice.gov/opa/pr/
                 department-justice-releases-investigative-findings-maricopa-county-
                 sheriff-s-office.
                   60
                      Donald J. Trump, Tweet on August 25, 2017, at 7:00 PM.
                   61
                      Julie Hirschfeld Davis & Maggie Haberman, Trump Pardons
                 Joe Arpaio, Who Became Face of Crackdown on Illegal Immigra-
                 tion, N.Y. Times (Aug. 25, 2017), https://www.nytimes.com/2017/
                 08/25/us/politics/joe-arpaio-trump-pardon-sheriff-arizona.html.




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                 which he promised not to discriminate further against
                 people of color. 62
                 The Termination of the DACA Program
                    114. Throughout the first eight months of 2017, the
                 Trump Administration sent strong signals that
                 Dreamers could and should continue to rely on the gov-
                 ernment’s promises regarding the DACA program.
                 As noted above, then-Secretary of Homeland Security
                 John D. Kelly specifically exempted DACA from the
                 Administration’s broad repeal of other immigration
                 programs, and reaffirmed that DACA status is a “com-
                 mitment” by the government. 63 On April 21, 2017,
                 President Trump said that his administration is “not
                 after the dreamers,” suggested that “[t]he dreamers
                 should rest easy,” and responded to the question of
                 whether “the policy of [his] administration [is] to allow
                 the dreamers to stay,” by answering “Yes.” 64
                    115. On June 29, 2017, officials from ten states 65
                 that had previously challenged another deferred action

                  62
                      Michael Kranish & Robert O’Harrow, Jr., Inside the govern-
                 ment’s racial bias case against Donald Trump’s company, and
                 how he fought it, The Washington Post (Jan. 23, 2016), https://www.
                 washingtonpost.com/politics/inside-the-governments-racial-bias-case-
                 against-donald-trumps-company-and-how-he-fought-it/2016/01/23/
                 fb90163e-bfbe-11e5-bcda-62a36b394160_story.html?utm_term=.
                 b640592cbc5a.
                   63
                      Secretary Kelly Memo, supra note 35; Hesson & Kim, supra
                 note 36.
                   64
                      Transcript of AP Interview With Trump, supra note 37.
                   65
                      On September 1, 2017, Tennessee Attorney General Herbert
                 H. Slattery III reversed course and decided Tennessee would not
                 join the suit, citing “a human element to this [issue]” that “should
                 not be ignored.” See Letter from Tennessee Attorney General
                 Herbert H. Slattery III to Sens. Lamar Alexander and Bob Corker
                 (Sept. 1, 2017), http://static1.1.sqspcdn.com/static/f/373699/2767305




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                 program, Deferred Action for Parents of Americans
                 and Lawful Permanent Residents (“DAPA”), sent a
                 letter to Attorney General Jeff Sessions, asserting that
                 the DACA program is unlawful. The states threat-
                 ened to challenge DACA in court unless the federal
                 government rescinded the DACA program by Sep-
                 tember 5, 2017. 66
                     116. On July 21, 2017, attorneys general from
                 twenty states sent a letter to President Trump urging
                 him to maintain DACA and defend the program in
                 court, asserting that the arguments of the states which
                 were threatening to bring suit were “wrong as a matter
                 of law and policy.” 67
                    117. On August 31, 2017, hundreds of America’s
                 leading business executives sent a letter to President
                 Trump urging him to preserve the DACA program. 68
                 The letter explains that “Dreamers are vital to the fu-




                 8/1504293882007/DACA%2Bletter%2B9-1-2017.pdf. Attorney Gen-
                 eral Slattery further acknowledged that DACA recipients “have an
                 appreciation for the opportunities afforded them by our country,”
                 and that “[m]any . . . have outstanding accomplishments and
                 laudable ambitions, which if achieved, will be of great benefit and
                 service” to the United States. Id.
                   66
                      Letter from Texas Attorney General Ken Paxton, et al., to U.S.
                 Attorney General Jeff Sessions (June 29, 2017), https://www.
                 texasattorneygeneral.gov/files/epress/DACA_letter_6_29_2017.pdf.
                   67
                      Letter from California Attorney General Xavier Becerra, et al.,
                 to President Donald J. Trump (July 21, 2017), https://oag.ca.gov/
                 system/files/attachments/press_releases/7-21-17%20%20Letter%
                 20 from%20State%20AGs%20to%20President%20Trump%20re%20
                 DACA.final_.pdf.
                   68
                      Letter to President Donald J. Trump, et al., (Aug. 31, 2017),
                 https://dreamers.fwd.us/business-leaders.




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                 ture of our companies and our economy” and are part
                 of America’s “global competitive advantage.” 69
                    118. On September 4, 2017, Attorney General Ses-
                 sions wrote to Acting Secretary of Homeland Security
                 Duke, describing his assessment that “DACA was ef-
                 fectuated by the previous administration through exec-
                 utive action, without proper statutory authority;” that
                 DACA “was an unconstitutional exercise of authority
                 by the Executive Branch;” and that “it is likely that po-
                 tentially imminent litigation would yield similar results
                 [as the DAPA litigation] with respect to DACA.” 70
                    119. On September 5, 2017, Attorney General Ses-
                 sions announced the government’s decision to end the
                 DACA program. In his remarks, Attorney General
                 Sessions recognized that DACA “essentially provided a
                 legal status for recipients for a renewable two-year
                 term, work authorization and other benefits, including
                 participation in the social security program,” but as-
                 serted that the program “is vulnerable to the same
                 legal and constitutional challenges that the courts
                 recognized with respect to the DAPA program.” 71
                    120. Attorney General Sessions’s comments regard-
                 ing the legality of the DACA program contradict con-
                 clusions previously reached by both the Department of
                 Justice and the Department of Homeland Security.

                  69
                      Id.
                  70
                      Letter from U.S. Attorney General Jefferson B. Sessions to
                 Acting Secretary of Homeland Security Elaine C. Duke (Sept. 4,
                 2017), https://www.dhs.gov/sites/default/files/publications/17_0904_
                 DOJ_AG-letter-DACA.pdf.
                   71
                      U.S. Dep’t of Justice, Office of Pub. Affairs, Attorney General
                 Sessions Delivers Remarks on DACA (Sept. 5, 2017), https://www.
                 justice.gov/opa/speech/attorney-general-sessions-delivers-remarks-
                 daca.




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                 Specifically, the Department of Justice’s Office of Le-
                 gal Counsel (“OLC”) provided a detailed analysis of
                 DAPA in 2014, concluding that DAPA—as well as
                 DACA—was a lawful exercise of the Executive Branch’s
                 “discretion to enforce the immigration laws.” 72 More
                 recently, in its brief before the U.S. Supreme Court in
                 United States v. Texas, DHS concluded that programs
                 like DACA are “lawful exercise[s]” of the Executive
                 Branch’s “broad statutory authority” to administer and
                 enforce the Immigration and Nationality Act, 8 U.S.C.
                 § 1101, et seq. 73
                    121. Nonetheless, on the same date as Attorney
                 General Sessions’s announcement, Acting Secretary of
                 Homeland Security Duke issued a memorandum for-
                 mally rescinding the DACA program (the “Rescission
                 Memorandum”). 74 Unlike OLC’s 2014 analysis, the
                 Rescission Memorandum provides no reasoned evalua-
                 tion of the legality and merits of the program. In-
                 stead, it states that the threat of litigation by numerous
                 state attorneys general provoked the decision to ter-
                 minate DACA.
                   122. In addition to the Rescission Memorandum,
                 Secretary Duke also issued an accompanying state-
                 ment asserting that the government had decided to end


                  72
                      Dep’t of Homeland Sec.’s Auth. to Prioritize Removal of Cer-
                 tain Aliens Unlawfully Present in the U.S. & to Defer Removal of
                 Others, 2014 WL 10788677 (Op. O.L.C. Nov. 19, 2014).
                   73
                      See Brief for Petitioners at 42, United States v. Texas, 136 S. Ct.
                 2271 (2016) (No. 15-674), 2016 WL 836758 at *42.
                   74
                      Memorandum from Acting Secretary Elaine C. Duke, Rescis-
                 sion of the June 15, 2012 Memorandum Entitled “Exercising Pros-
                 ecutorial Discretion with Respect to Individuals Who Came to the
                 United States as Children” (Sept. 5, 2017), https://www.dhs.gov/
                 news/2017/09/05/memorandum-rescission-daca.




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                 DACA rather than “allow the judiciary to potentially
                 shut the program down completely and immediately.” 75
                 Secretary Duke also expressed “sympath[y]” and “frus-
                 trat[ion]” on “behalf ” of DACA recipients, candidly ac-
                 knowledging that “DACA was fundamentally a lie.” 76
                    123. Under the Rescission Memorandum, the fed-
                 eral government will continue to process DACA appli-
                 cations received by September 5, 2017. Furthermore,
                 the federal government will issue renewals for recipi-
                 ents whose permits expire before March 5, 2018, pro-
                 vided they apply for renewal by October 5, 2017. The
                 government will not approve any new or pending ap-
                 plications for advanced parole.
                     124. In a statement also issued on September 5,
                 2017, President Trump claimed that he decided to end
                 DACA because he had been advised that “the program
                 is unlawful and unconstitutional and cannot be success-
                 fully defended in court,” and because DACA “helped
                 spur a humanitarian crisis—the massive surge of un-
                 accompanied minors from Central America including,
                 in some cases, young people who would become mem-
                 bers of violent gangs throughout our country, such as
                 MS-13.” 77
                    125. The government also has taken affirmative
                 steps to reduce the protections applicable to infor-

                  75
                      Statement from Acting Secretary Duke on the Rescission Of
                 Deferred Action For Childhood Arrivals (DACA) (Sept. 5, 2017),
                 https://www.dhs.gov/news/2017/09/05/statement-acting-secretary-
                 duke-rescission-deferred-action-childhood-arrivals-daca (empha-
                 sis added).
                   76
                      Id.
                   77
                      Statement from President Donald J. Trump (Sept. 5, 2017),
                 https://www.whitehouse.gov/the-press-office/2017/09/05/statement-
                 president-donald-j-trump.




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                 mation provided in connection with the DACA pro-
                 gram. In January 2017, President Trump issued an
                 Executive Order directing all agencies, including DHS,
                 to “ensure that their privacy policies exclude persons
                 who are not United States citizens or lawful permanent
                 residents from the protections of the Privacy Act re-
                 garding personally identifiable information.” 78 DHS
                 has confirmed that its new privacy policy “permits the
                 sharing of information about immigrants and non-
                 immigrants with federal, state, and local law enforce-
                 ment.” 79
                     126. The Rescission Memorandum also provides no
                 assurance that information provided in connection with
                 DACA applications or renewal requests will not be
                 used for immigration enforcement purposes. To the
                 contrary, DHS posted public guidance about the impact
                 of the rescission on the same day that the Rescission
                 Memorandum was issued. This guidance backtracks
                 on the government’s prior repeated assurances that
                 “[i]nformation provided in [a DACA] request is pro-
                 tected from disclosure to ICE and CBP for the purpose
                 of immigration enforcement proceedings. . . . ” 80


                  78
                      Exec. Order No. 13768, “Enhancing Public Safety in the Inte-
                 rior of the United States” (Jan. 25, 2017), https://www.whitehouse.gov/
                 the-press-office/2017/01/25/presidential-executive-order-enhancing-
                 public-safety-interior-united.
                   79
                      DHS, Privacy Policy 2017-01 Questions & Answers, at 3 (Apr.
                 27, 2017), https://www.dhs.gov/sites/default/files/publications/Privacy
                 %20Policy%20Questions%20%20Answers%2C%2020170427%2C%20
                 Final.pdf.
                   80
                      USCIS DACA FAQs, Question 19 (emphasis added). The ref-
                 erenced Notice to Appearance guidance is USCIS Policy Memoran-
                 dum 602-0050 (Nov. 7, 2011) (“Revised Guidance for the Referral of
                 Cases and Issuance of Notices to Appear (NTAs) in Cases Involv-
                 ing Inadmissible and Removable Aliens”).




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                 Now, rather than affirmatively “protect[ing] [this in-
                 formation] from disclosure,” the government repre-
                 sents only that such sensitive information “will not be
                 proactively provided to ICE and CBP for the purpose of
                 immigration enforcement proceedings. . . . ” 81 And
                 even this policy “may not be relied upon” by any party
                 and can be changed “at any time without notice.” 82
                    127. Despite terminating DACA, other uses of de-
                 ferred action and programs benefitting other groups of
                 immigrants remain in effect.
                 The Termination of the DACA Program Will Inflict
                 Severe Harm
                     128. The termination of the DACA program will
                 severely harm Plaintiffs and hundreds of thousands of
                 other young Dreamers. Among other things, Plain-
                 tiffs stand to lose their ability to access numerous fed-
                 eral, state, and practical benefits, and to reside in the
                 United States with their families. Nearly 800,000 other
                 young people will similarly face the prospect of losing
                 their jobs, being denied vital benefits, and being sepa-
                 rated from the family, friends, colleagues, and commu-
                 nities that love and rely on them. The termination of
                 the DACA program will also harm the students, pa-
                 tients, clients, community members, family, and friends
                 who have come to rely on Plaintiffs for essential ser-
                 vices and emotional and financial support.
                    129. With the sensitive personal information they
                 provided to the federal government no longer “pro-

                  81
                     DHS, Frequently Asked Questions: Rescission of Deferred
                 Action for Childhood Arrivals (DACA) (Sept. 5, 2017) (emphasis
                 added), https://www.dhs.gov/news/2017/09/05/frequently-asked-
                 questions-rescission-deferred-action-childhood-arrivals-daca.
                  82
                     Id.




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                 tected from disclosure,” Plaintiffs and other DACA re-
                 cipients face the imminent risk that such information
                 could be used against them “at any time,” “without no-
                 tice,” for purposes of immigration enforcement, in-
                 cluding detention or deportation.
                    130. Terminating DACA will also cause widespread
                 economic harm. 83 DACA has enabled approximately
                 800,000 hardworking, ambitious, and educated young
                 people to enter the labor force. Over 90 percent of
                 DACA recipients are employed, and over 95 percent
                 are bilingual, a valuable skill that is increasingly needed
                 by American companies. 84
                    131. Terminating the DACA program will also have
                 a negative impact on the economy and American com-
                 petitiveness. 85
                    132. On August 31, 2017, in recognition of these
                 costs and their concern for Dreamers, hundreds of
                 America’s most important business leaders sent a let-
                 ter to President Trump emphasizing the benefits of the
                 DACA program and urging him to preserve it. The
                 letter explains that “Dreamers are vital to the future of




                  83
                      See, e.g., Ike Brannon & Logan Albright, The Economic and
                 Fiscal Impact of Repealing DACA, The Cato Institute (Jan. 18,
                 2017), https://www.cato.org/blog/economic-fiscal-impact-repealing-
                 daca; Immigrant Legal Resource Center, Money on the Table:
                 The Economic Cost of Ending DACA (Dec. 2016), https://www.ilrc.
                 org/sites/default/files/resources/2016-12-13_ilrc_report_-_money_
                 on_ the_table_economic_costs_of_ending_daca.pdf.
                   84
                      Id.
                   85
                      See Ike Brannon & Logan Albright, supra note 83 (concluding
                 that terminating DACA will cost the federal government $60 billion
                 in lost revenue and reduce GDP by $215 billion).




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                 our companies and our economy” and part of America’s
                 “global competitive advantage.” 86
                                    CAUSES OF ACTION
                                        FIRST COUNT
                         FIFTH AMENDMENT—DUE PROCESS
                    133. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    134. Immigrants who are physically present in the
                 United States are guaranteed the protections of the
                 Due Process Clause. See Zadvydas v. Davis, 533 U.S.
                 678, 693 (2001).
                     135. The Constitution “imposes constraints on gov-
                 ernmental decisions which deprive individuals of ‘lib-
                 erty’ or ‘property’ interests within the meaning of the
                 Due Process Clause of the Fifth or Fourteenth Amend-
                 ment.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
                 A threshold inquiry in any case involving a violation of
                 procedural due process “is whether the plaintiffs have
                 a protected property or liberty interest and, if so, the
                 extent or scope of that interest.” Nozzi v. Hous.
                 Auth. of L.A., 806 F.3d 1178, 1190-91 (9th Cir. 2015)
                 (citing Bd. of Regents of State Colls. v. Roth, 408 U.S.
                 564, 569-70 (1972)).
                    136. The property interests protected by the Due
                 Process Clause “extend beyond tangible property and
                 include anything to which a plaintiff has a ‘legitimate
                 claim of entitlement.’ ” Nozzi, 806 F.3d at 1191 (quot-

                  86
                     Letter to President Donald J. Trump, Speaker Paul Ryan,
                 Leader Nancy Pelosi, Leader Mitch McConnell, and Leader Charles
                 E. Schumer (Aug. 31, 2017), https://dreamers.fwd.us/business-
                 leaders.




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                 ing Roth, 408 U.S. at 576-77). “A legitimate claim of
                 entitlement is created [by] . . . ‘rules or under-
                 standings that secure certain benefits and that support
                 claims of entitlement to those benefits.’ ” Id. (quoting
                 Roth, 408 U.S. at 577).
                    137. In addition to freedom from detention, Zad-
                 vydas, 533 U.S. at 690, the term “liberty” also encom-
                 passes the ability to work, raise a family, and “form the
                 other enduring attachments of normal life.” Morris-
                 sey v. Brewer, 408 U.S. 471, 482 (1972) (citing Roth,
                 408 U.S. at 572).
                    138. DACA recipients, including Plaintiffs, have
                 constitutionally protected liberty and property inter-
                 ests in their DACA status and the numerous benefits
                 conferred thereunder, including the ability to renew
                 their DACA status every two years. These protected
                 interests exist by virtue of the government’s decision to
                 grant DACA recipients certain benefits and its re-
                 peated representations and promises regarding the
                 DACA program. See Goldberg v. Kelly, 397 U.S. 254,
                 262 (1970); Perry v. Sindermann, 408 U.S. 593, 601
                 (1972) (“A person’s interest in a benefit is a ‘property’
                 interest for due process purposes if there are such
                 rules or mutually explicit understandings that support
                 his claim of entitlement to the benefit and that he may
                 invoke at a hearing.”).
                     139. In establishing and continuously operating
                 DACA under a well-defined framework of highly spe-
                 cific criteria—including nearly 150 pages of specific
                 instructions for managing the program—the govern-
                 ment created a reasonable expectation among Plaintiffs
                 and other DACA recipients that they are entitled to the
                 benefits provided under the program, including the
                 ability to seek renewal of their DACA status, as long as




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                 they continue to play by the rules and meet the pro-
                 gram’s nondiscretionary criteria for renewal.
                    140. DACA status is uniquely valuable to Plaintiffs
                 and other Dreamers in that it serves as a gateway to
                 numerous essential benefits. Revocation of DACA ef-
                 fectively deprives these young people of the ability to
                 be fully contributing members of society.
                    141. The ability to renew DACA status at regular
                 intervals has always been an essential element of the
                 program and part of the deal offered by the govern-
                 ment. The prospect of renewal was one of the primary
                 benefits the government used to induce Plaintiffs and
                 other Dreamers to step forward, disclose highly sensi-
                 tive personal information, and subject themselves to a
                 rigorous background investigation.
                    142. The government’s arbitrary termination of the
                 DACA program and deprivation of the opportunity to
                 renew DACA status violates the due process rights of
                 Plaintiffs and other DACA recipients.
                    143. The government’s decision to terminate DACA
                 after vigorously promoting the program and coaxing
                 hundreds of thousands of highly vulnerable young peo-
                 ple to step forward is an unconstitutional bait-and-
                 switch. See, e.g., Cox v. State of La., 379 U.S. 559, 571
                 (1965); Raley v. State of Ohio, 360 U.S. 423, 438-39
                 (1959). The government promised Plaintiffs and other
                 young people that if they disclosed highly sensitive
                 personal information, passed a background check, and
                 played by the rules, they would be able to live and work
                 in the United States. The government’s termination
                 of the DACA program is a breach of that promise.
                 For the government to now “say . . . ‘The joke is
                 on you. You shouldn’t have trusted us,’ is hardly wor-
                 thy of our great government.” Moda Health Plan,




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                 Inc. v. United States, 130 Fed. Cl. 436, 466 (Fed. Cl.
                 2017) (quoting Brandt v. Hickel, 427 F.2d 53, 57
                 (9th Cir. 1970)).
                    144. The Due Process Clause also forbids the gov-
                 ernment from breaking its promises, especially where,
                 as here, individuals, have been induced to undertake
                 actions with potentially devastating consequences in
                 reliance on those promises.
                    145. The use of information provided by Plaintiffs
                 and other DACA applicants for immigration enforce-
                 ment actions has particularly egregious due process
                 implications. These individuals disclosed sensitive per-
                 sonal information in reliance on the government’s explicit
                 and repeated assurances that it would not be used for
                 immigration enforcement purposes and would in fact
                 be “protected from disclosure” to ICE and CBP. The
                 government has already violated its promises regard-
                 ing DACA, and there is little reason to believe it will
                 not similarly breach its representations regarding
                 information sharing. Cf. Raley, 360 U.S. at 438 (“con-
                 victing a citizen for exercising a privilege which the
                 State clearly had told him was available to him,” was
                 the “most indefensible sort of entrapment by the State”).
                 Indeed, the government already has breached its prior
                 commitments to affirmatively “protect[] [sensitive in-
                 formation] from disclosure,” now asserting only that it
                 will not “proactively provide[]” such information to ICE
                 and CBP for the purpose of immigration enforcement
                 proceedings.
                    146. The Due Process Clause also requires that the
                 federal government’s immigration enforcement actions
                 be fundamentally fair. Here, the government’s arbi-
                 trary decisions to terminate DACA and change the




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                 policy regarding the use of information provided by
                 DACA applicants are fundamentally unfair.
                    147. Defendants’ violations of the Due Process
                 Clause have harmed Plaintiffs and will continue to cause
                 ongoing harm to Plaintiffs.
                                    SECOND COUNT
                     FIFTH AMENDMENT—EQUAL PROTECTION
                    148. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    149. The Fifth Amendment forbids federal officials
                 from acting with a discriminatory intent or purpose.
                 See United States v. Windsor, 133 S. Ct. 2675, 2695
                 (2013); Bolling v. Sharpe, 347 U.S. 497, 500 (1954).
                     150. To succeed on an equal protection claim, plain-
                 tiffs must show that the defendants “discriminated
                 against them as members of an identifiable class and
                 that the discrimination was intentional.” Flores v.
                 Morgan Hill Unified Sch. Dist., 324 F.3d 1130, 1134
                 (9th Cir. 2003) (citation omitted). “Determining whether
                 invidious discriminatory purpose was a motivating fac-
                 tor demands a sensitive inquiry into such circumstan-
                 tial and direct evidence of intent as may be available.”
                 Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,
                 429 U.S. 252, 266 (1977). “The court analyzes whether
                 a discriminatory purpose motivated the defendant by
                 examining the events leading up to the challenged de-
                 cision and the legislative history behind it, the defend-
                 ant’s departure from normal procedures or substantive
                 conclusions, and the historical background of the deci-
                 sion and whether it creates a disparate impact.” Avenue
                 6E Invs., LLC v. City of Yuma, Ariz., 818 F.3d 493, 504
                 (9th Cir. 2016).




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                    151. As set forth above, the termination of DACA
                 was motivated by improper discriminatory intent and
                 bias against Mexican nationals, individuals of Mexican
                 descent, and Latinos, who together account for 93 per-
                 cent of approved DACA applications.
                    152. President Trump has a history of tweets, cam-
                 paign speeches, debate responses, and other state-
                 ments alleging that Mexican and Latino immigrants
                 are rapists, criminals, and otherwise bad people. More-
                 over, shortly before terminating DACA, President Trump
                 pardoned former Maricopa County Sheriff Joe Arpaio
                 for a criminal contempt of court conviction related to
                 Sheriff Arpaio’s discriminatory practices against Lati-
                 nos, asserting that the Sheriff had been convicted of
                 contempt merely for “doing his job.”
                    153. President Trump’s statements and actions, in-
                 cluding the termination of the DACA program, ap-
                 pealed to voters who harbor hostility toward Mexican
                 and Latino immigrants.
                    154. The government did not follow its normal pro-
                 cedures in reversing course and terminating the DACA
                 program. In 2014, the OLC concluded, after conduct-
                 ing a detailed analysis, that DACA was a lawful exer-
                 cise of the Executive Branch’s discretion. The govern-
                 ment has made similar arguments to the Supreme
                 Court. By contrast, Attorney General Sessions’s one-
                 page letter to Acting Secretary Duke contained virtu-
                 ally no legal analysis, and Acting Secretary Duke’s
                 Rescission Memorandum relied largely on Attorney
                 General Sessions’s letter.
                    155. There are many strong policy reasons to main-
                 tain the DACA program. DACA has provided the
                 government with enormous benefits, including an effi-
                 cient allocation of immigration enforcement resources.




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                 DACA has also provided enormous benefits to Ameri-
                 can businesses and the broader economy. And DACA
                 has helped communities throughout the United States,
                 who are able to benefit from the talents and contribu-
                 tions of DACA recipients.
                    156. DACA is a promise from the government to
                 DACA recipients and those who rely on them. Sepa-
                 rate from the policy rationales set forth above, the gov-
                 ernment is obligated to honor its commitments under
                 the DACA program.
                    157. The government continues to operate pro-
                 grams that benefit other groups of immigrants. Be-
                 cause Mexicans and Latinos account for 93 percent of
                 approved DACA applications, they will be dispropor-
                 tionately impacted by the termination of the DACA
                 program.
                    158. The history, procedure, substance, context,
                 and impact of the decision to terminate DACA demon-
                 strate that the decision was motivated by discrimina-
                 tory animus against Mexican and Latino immigrants.
                 Because it was motivated by a discriminatory purpose,
                 the decision to terminate DACA violates the equal
                 protection guarantee of the Due Process Clause of the
                 Fifth Amendment.
                    159. Defendants’ violations have caused ongoing
                 harm to Plaintiffs and other Dreamers.
                                     THIRD COUNT
                        ADMINISTRATIVE PROCEDURE ACT—
                          CONSTITUTIONAL VIOLATIONS
                    160. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.




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                    161. Defendants are subject to the Administrative
                 Procedure Act (“APA”). See 5 U.S.C. § 703. The
                 termination of the DACA program is final agency ac-
                 tion subject to judicial review because it marks the
                 “consummation of the . . . decisionmaking process”
                 and is one “from which legal consequences will flow.”
                 Bennett v. Spear, 520 U.S. 154, 178 (1997) (internal
                 quotation marks omitted).
                    162. The “comprehensive” scope of the APA pro-
                 vides a “default” “remed[y] for all interactions between
                 individuals and all federal agencies.” W. Radio Servs.
                 Co. v. U.S. Forest Serv., 578 F.3d 1116, 1123 (9th Cir.
                 2009).
                    163. The APA requires that courts “shall . . .
                 hold unlawful and set aside agency action, findings, and
                 conclusions found to be . . . not in accordance with
                 law . . . [or] contrary to constitutional right, power,
                 privilege, or immunity.” 5 U.S.C. § 706(2)(A), (B).
                    164. For the reasons set forth above, the decision to
                 terminate the DACA program is unconstitutional in
                 numerous respects and therefore must be vacated.
                                    FOURTH COUNT
                 ADMINISTRATIVE PROCEDURE ACT—ARBITRARY
                          AND CAPRICIOUS ACTION
                    165. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    166. Defendants are subject to the APA. See
                 5 U.S.C. § 703. The termination of the DACA pro-
                 gram is final agency action subject to judicial review
                 because it marks the “consummation of the . . .
                 decisionmaking process” and is one “from which legal




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                 consequences will flow.” Bennett, 520 U.S. at 178 (in-
                 ternal quotation marks omitted).
                    167. The “comprehensive” scope of the APA pro-
                 vides a “default” “remed[y] for all interactions between
                 individuals and all federal agencies.” W. Radio Servs.
                 Co., 578 F.3d at 1123.
                    168. The APA requires that courts “shall . . .
                 hold unlawful and set aside agency action, findings, and
                 conclusions found to be . . . arbitrary, capricious,
                 an abuse of discretion, or otherwise not in accordance
                 with law” or “without observance of procedure re-
                 quired by law.” 5 U.S.C. § 706(2)(A), (E).
                    169. In creating DACA, the government promised
                 Plaintiffs that if they stepped forward, shared highly
                 sensitive personal information, and passed a back-
                 ground check, they would be granted renewable pro-
                 tection and would be allowed to live and work in the
                 United States as long as they played by the rules.
                 The government also specifically and consistently pro-
                 mised that information disclosed through the DACA
                 program would not be used for immigration enforce-
                 ment purposes outside certain limited circumstances.
                    170. Plaintiffs and nearly 800,000 vulnerable young
                 people reasonably relied on the government’s assur-
                 ances and promises in taking the irreversible step of
                 identifying themselves and providing the government
                 with highly sensitive and potentially compromising
                 personal information. DACA recipients also made
                 numerous life-altering personal and professional deci-
                 sions in reliance on the government’s promises re-
                 garding DACA.
                    171. A government decision reversing a prior policy
                 is “arbitrary and capricious” when it fails “tak[e] into




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                 account” these types of “serious reliance interests.”
                 Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1209
                 (2015).
                    172. The government’s disregard for the reasonable
                 reliance of Plaintiffs and hundreds of thousands of
                 other vulnerable young people is the hallmark of arbi-
                 trary and capricious action and an abuse of discretion,
                 and the decision to terminate the DACA program is
                 therefore in violation of the APA and must be vacated.
                    173. The government’s decision to terminate the
                 DACA program is also arbitrary and capricious be-
                 cause the purported rationale for that decision is in-
                 consistent with DHS’s new policy. See Motor Vehicle
                 Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
                 Co., 463 U.S. 29, 55-56 (1983) (holding that the agency
                 “failed to offer the rational connection between facts
                 and judgment required to pass muster under the arbi-
                 trary capricious standard”). In particular, the gov-
                 ernment terminated DACA because it purportedly con-
                 cluded that the Executive Branch lacks authority to
                 continue the program, yet DHS will continue to adju-
                 dicate pending DACA applications, as well as renewal
                 applications it receives before October 5, 2017 (for in-
                 dividuals whose benefits expire before March 5, 2018),
                 thereby extending DACA for an additional two and a
                 half years.
                     174. The government’s decision to set an October 5,
                 2017 deadline for accepting DACA renewal applications
                 is also arbitrary. The Rescission Memorandum does
                 not provide a reasoned analysis to support this short
                 deadline, and the government has failed to provide suf-
                 ficient time and notice to DACA recipients. On in-
                 formation and belief, the government has sent false and
                 misleading renewal notices to certain DACA recipients,




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                 which have failed to advise them of the October 5, 2017
                 deadline. Moreover, this short deadline is especially
                 troubling for low-income DACA recipients, who have
                 little time to gather the significant funds required to
                 submit a DACA renewal application.
                    175. Moreover, the decision to terminate DACA is
                 also arbitrary and capricious because the government
                 itself previously determined that DACA is a lawful ex-
                 ercise of the Executive Branch’s immigration enforce-
                 ment authority, and the government failed to conduct
                 or provide a reasoned analysis for its change of policy.
                 See Nat’l Wildlife Fed’n v. Burford, 871 F.2d 849, 855
                 (9th Cir. 1989) (“a shift from settled policy requires a
                 showing of reasoned analysis”).
                    176. The government’s decision to terminate DACA
                 is also in violation of the APA because the stated ra-
                 tionale for ending the program is pretextual and incor-
                 rect as a matter of law.
                                     FIFTH COUNT
                       ADMINISTRATIVE PROCEDURE ACT—
                       NOTICE-AND-COMMENT RULEMAKING
                    177. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    178. The APA, 5 U.S.C. §§ 553 and 706(2)(D), re-
                 quires that federal agencies conduct rulemaking before
                 engaging in action that impacts substantive rights.
                    179. DHS is an “agency” under the APA, and the
                 Rescission Memorandum and the actions that DHS has
                 taken to implement the Rescission Memorandum are
                 “rules” under the APA. See 5 U.S.C. § 551(1), (4).




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                    180. In implementing the Rescission Memorandum,
                 federal agencies have changed the substantive criteria
                 by which individual DACA grantees work, live, attend
                 school, obtain credit, and travel in the United States.
                 Defendants did not follow the procedures required by
                 the APA before taking action impacting these substan-
                 tive rights.
                    181. With exceptions that are not applicable here,
                 agency rules must go through notice-and-comment
                 rulemaking. See 5 U.S.C. § 553.
                    182. Defendants promulgated and implemented
                 these rules without authority and without notice-and-
                 comment rulemaking in violation of the APA.
                    183. Plaintiffs will be impacted because they have
                 not had the opportunity to comment on the rescission
                 of DACA.
                    184. Defendants’ violation has caused ongoing harm
                 to Plaintiffs and other Dreamers.
                                      SIXTH COUNT
                          REGULATORY FLEXIBILITY ACT—
                       REGULATORY FLEXIBILITY ANALYSES
                    185. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    186. The Regulatory Flexibility Act, 5 U.S.C.
                 §§ 601-12 (“RFA”), requires federal agencies to analyze
                 the impact of rules they promulgate on small entities
                 and publish initial and final versions of those analyses
                 for public comment. 5 U.S.C. §§ 603-04.




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                    187. “Small entit[ies]” for purposes of the RFA in-
                 cludes “small organization[s]” and “small business[es].”
                 See 5 U.S.C. §§ 601(3), (4), (6).
                    188. The actions that DHS has taken to implement
                 the DHS Memorandum are “rules” under the RFA.
                 See 5 U.S.C. § 601(2).
                    189. Defendants have not issued the required anal-
                 yses of DHS’s new rules.
                     190. Defendants’ failure to issue the initial and final
                 Regulatory Flexibility Analyses violates the RFA and
                 is unlawful.
                    191. Defendants’ violations cause ongoing harm to
                 Plaintiffs and other Dreamers.
                                    SEVENTH COUNT
                                EQUITABLE ESTOPPEL
                    192. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    193. Through its conduct and statements, the gov-
                 ernment represented to Plaintiffs and other DACA ap-
                 plicants that DACA was lawful and that information
                 collected in connection with the DACA program would
                 not be used for immigration enforcement purposes ab-
                 sent special circumstances.
                    194. In reliance on the government’s repeated as-
                 surances, Plaintiffs and other DACA applicants risked
                 removal and deportation and came forward and identi-
                 fied themselves to the government, and provided sensi-
                 tive personal information, including their fingerprints
                 and personal history, in order to participate in DACA.




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                    195. Throughout the life of DACA, the government
                 has continued to make affirmative representations
                 about the use of information as well as the validity and
                 legality of DACA. Plaintiffs and other DACA appli-
                 cants relied on the government’s continuing represen-
                 tations to their detriment.
                    196. DACA beneficiaries rearranged their lives to
                 become fully visible and contributing members of soci-
                 ety, including by seeking employment, pursuing higher
                 education, and paying taxes, but are now at real risk of
                 removal and deportation.
                    197. Accordingly, Defendants should be equitably
                 estopped from terminating the DACA program or from
                 using information provided pursuant to DACA for im-
                 migration enforcement purposes, except as previously
                 authorized under DACA.
                   198. An actual controversy between Plaintiffs and
                 Defendants exists as to whether Defendants should be
                 equitably estopped.
                    199. Plaintiffs are entitled to a declaration that De-
                 fendants are equitably estopped.
                                    EIGHTH COUNT
                          DECLARATORY JUDGMENT THAT
                                DACA IS LAWFUL
                    200. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    201. The DACA program was a lawful exercise of
                 the Executive Branch’s discretion to enforce the immi-
                 gration laws. Indeed, after performing a thorough
                 analysis, the government itself concluded that DACA




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                 was lawful. 87 However, the government now claims,
                 as the basis for its rescission of the program, that
                 DACA is unlawful. 88
                    202. The Declaratory Judgment Act, 28 U.S.C.
                 § 2201, allows the court, “[i]n a case of actual contro-
                 versy within its jurisdiction,” to “declare the rights and
                 other legal relations of any interested party seeking
                 such declaration, whether or not further relief is or
                 could be sought.” 28 U.S.C. § 2201(a).
                    203. As DACA beneficiaries, Plaintiffs have an in-
                 terest in the legality of the DACA program. The gov-
                 ernment’s decision to terminate DACA on the purpor-
                 ted basis that the DACA program was unlawful has
                 harmed Plaintiffs and continues to cause ongoing harm
                 to Plaintiffs.
                   204. There is an actual controversy regarding
                 whether the DACA program is lawful.
                    205. Plaintiffs are entitled to a declaratory judg-
                 ment pursuant to 28 U.S.C. § 2201(a) that the DACA
                 program was lawful and is lawful today.




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                      See Dep’t of Homeland Sec.’s Auth. to Prioritize Removal of
                 Certain Aliens Unlawfully Present in the U.S. & to Defer Removal
                 of Others, 2014 WL 10788677 (Op. O.L.C. Nov. 19, 2014).
                   88
                      See Memorandum from Acting Secretary Elaine C. Duke, Re-
                 scission of the June 15, 2012 Memorandum Entitled “Exercising
                 Prosecutorial Discretion with Respect to Individuals Who Came to
                 the United States as Children” (Sept. 5, 2017), https://www.dhs.gov/
                 news/2017/09/05/memorandum-rescission-daca.




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                                PRAYER FOR RELIEF
                 WHEREFORE, Plaintiffs pray that this Court grant
                 the following relief:
                    (1) Issue a declaratory judgment pursuant to
                        28 U.S.C. § 2201(a) that the DACA program is
                        lawful and constitutional;
                    (2) Issue a declaratory judgment pursuant to
                        28 U.S.C. § 2201(a) and 5 U.S.C. § 706(2) that
                        the termination of the DACA program was un-
                        lawful and unconstitutional;
                    (3) Issue a declaratory judgment pursuant to
                        28 U.S.C. § 2201(a) that Defendants are equita-
                        bly estopped from terminating the DACA pro-
                        gram or from using information provided pur-
                        suant to DACA for immigration enforcement
                        purposes, except as previously authorized un-
                        der the program;
                    (4) Issue an injunction invalidating the Rescission
                        Memorandum, preserving the status quo, and
                        enjoining Defendants from terminating the
                        DACA program;
                    (5) Issue an injunction enjoining Defendants from
                        sharing or otherwise using information provid-
                        ed pursuant to the DACA program for immi-
                        gration enforcement purposes except as previ-
                        ously authorized under the DACA program;
                        and
                    (6) Grant any other and further relief that this
                        Court may deem just and proper.

                 DATED: Sept. 18, 2017
                 San Francisco, California




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                                Respectfully submitted,

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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                 (SAN JOSE)


                                    Case No. 3:17-cv-05329-WHA
                     CITY OF SAN JOSE, A MUNICIPAL CORPORATION,
                                             PLAINTIFF
                                                 v.
                     DONALD J. TRUMP, PRESIDENT OF THE UNITED
                  STATES, IN HIS OFFICIAL CAPACITY, ELAINE C. DUKE,
                  IN HER OFFICIAL CAPACITY, AND THE UNITED STATES
                              OF AMERICA, DEFENDANTS


                                       Filed: Sept. 14, 2017

                                         COMPLAINT FOR:
                           1.    VIOLATION OF FIFTH AMENDMENT
                                     EQUAL PROTECTION
                      2.        VIOLATION OF 5 U.S.C. §§ 553 & 706(2)(D)




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                 I.   INTRODUCTION
                    1.    For the last five years, young people who have
                 lived in the United States since they were children,
                 even though they were born in another country, have
                 had the right to live, work and attend college if they
                 met stringent requirements as set forth by the De-
                 ferred Action for Childhood Arrivals (“DACA”).
                 Exhibit 1. The success of these DREAMers, as they
                 are known, has been an incredible story. About
                 800,000 people who otherwise would not have had the
                 opportunity to attend college or work have now had
                 that ability, thus enriching the lives of themselves,
                 their families, and their communities. Under DACA,
                 Plaintiff, the City of San Jose (“San Jose”) has been
                 able to hire these DACA recipients, which has benefited
                 the cities and their residents.
                    2.   During the 2016 election campaign, rhetoric
                 about immigration became nasty. One of the candi-
                 dates who made extremely outrageous and false state-
                 ments about immigrants was defendant Donald J.
                 Trump as he ran for the office of President. After he
                 was elected and sworn into office, President Trump’s
                 anti-immigrant rhetoric continued. Both he and sen-
                 ior members of this administration have made anti-
                 immigrant statements.
                    3.    Yet, throughout the campaign and President
                 Trump’s presidency, he has made positive and reas-
                 suring comments about DACA and the DREAMers.
                 On April 24, 2017 in an interview with the Associated
                 Press, for example, President Trump told undocumented
                 immigrants who were brought to the United States as
                 children that they could rest easy.




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                       AP: A lot of the dreamers have been hoping to
                       hear something from you. I don’t want to give
                       them the wrong message with this.
                       TRUMP:     Here is what they can hear: The
                       dreamers should rest easy. OK? I’ll give you
                       that. The dreamers should rest easy. . . .
                   4.   President Trump’s stated opinion is shared by
                 most Americans. Since the United States is a land of
                 immigrants, most Americans realize the importance of
                 immigrants to this country.
                    5.   Despite President Trump’s promises to
                 DREAMers, he broke his promise. He directed his
                 Attorney General to make an announcement on Sep-
                 tember 5, 2017, that DACA would be rescinded, Exhibit
                 2 and then Defendant Elaine C. Duke (“Secretary
                 Duke”) as the Acting Secretary of the Department of
                 Homeland Security, issued a memorandum that re-
                 scinded DACA, although it deferred rescission for six
                 months. Exhibit 3. Secretary Duke’s memorandum,
                 contrary to law, was issued without providing notice of
                 the change and an opportunity to be heard. The rea-
                 sons for the issuance were contrary to the facts, and
                 arbitrary and capricious.
                    6.   As a result of Defendants’ actions, the lives of
                 the DACA recipients, over a quarter of whom live in
                 California, have been sent into upheaval. Fear and
                 uncertainty have invaded their lives. Not only have
                 they been injured, but so too has San Jose.
                 II.   JURISDICTION AND VENUE
                    7.   The Court has jurisdiction under 28 U.S.C.
                 §§ 1331 and 1346. This Court has further remedial
                 authority under the Declaratory Judgment Act,
                 28 U.S.C. §§ 2201 and 2202 et seq.




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                    8.    Venue properly lies within the Northern Dis-
                 trict of California because Plaintiff, the City of San
                 Jose, is a public entity in this judicial district and a
                 substantial part of the events or omissions giving rise
                 to this action will occur or have occurred in this Dis-
                 trict. 28 U.S.C. § 1391(e).
                 III. PARTIES
                         A.   Plaintiff
                     9.   Plaintiff San Jose is a municipal corporation,
                 organized as a Charter City under the California Con-
                 stitution and the laws of the State of California and is
                 located in the County of Santa Clara. It is the tenth
                 largest city in the United States. San Jose has always
                 been a place for immigrants with almost 40% of its
                 current population having been born in another coun-
                 try. San Jose, which had been home to the Ohlone
                 Indians for hundreds of years, was founded by Spain on
                 November 29, 1777, as El Pueblo de San Jose de Gua-
                 dalupe. In 1821, San Jose became part of Mexico.
                 After the Treaty of Guadalupe Hidalgo ceded Califor-
                 nia to the United States at the end of the Mexican-
                 American War in 1848, San Jose became its first in-
                 corporated U.S. city.
                     10. San Jose is bringing this action on its own be-
                 half and on the behalf of its employees who are DACA
                 recipients. As described below, San Jose has suffered
                 its own injury in fact. It also has third party standing
                 to bring this action on behalf of its employees because
                 San Jose has a concrete interest in the outcome of the
                 dispute; San Jose has a close relationship with its em-
                 ployees, whose rights it is asserting, and there is a hin-
                 drance to the employees to protect their own interests.
                 Powers v. Ohio, 499 U.S. 400, 410-11, (1991); Singleton
                 v. Wulff, 428 U.S. 106, 113-16 (1976); Wedges/Ledges of




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                 Cal., Inc. v. City of Phoenix, Ariz., 24 F.3d 56, 62
                 (9th Cir. 1994). Where here, San Jose is asserting the
                 same right, to allow DACA recipient employees to have
                 the right to legally work for San Jose, San Jose’s and
                 its employees rights are inextricably bound up, which
                 satisfies the requirement that San Jose’s interest is
                 sufficiently aligned with that of its employees. Vice-
                 roy Gold Corp. v. Aubry, 75 F.3d 482, 488-89 (9th Cir.
                 1996). The fact that the employees are undocumented
                 immigrants with fear of provoking the attention of the
                 immigration authorities or creating other legal risks
                 satisfies the requirement that there is a hindrance to
                 San Jose’s employees protecting their own interests,
                 especially in light of Defendants’ demonstrated hostility
                 to them. Young Apartments, Inc. v. Town of Jupiter,
                 529 F.3d 1027, 1044 (11th Cir. 2008).
                         B.   Defendants
                    11. Defendant Donald J. Trump has been since
                 January 20, 2017, the President of the United States.
                 He is sued in his official capacity. As a candidate, he
                 railed against immigrants. When he announced his
                 candidacy in June 2015, for example, he stated: “The
                 U.S. has become a dumping ground for everybody
                 else’s problems. Thank you. It’s true, and these are
                 the best and the finest. When Mexico sends its peo-
                 ple, they’re not sending their best. They’re not send-
                 ing you. They’re not sending you. They’re sending
                 people that have lots of problems, and they’re bringing
                 those problems to us. They’re bringing drugs. They’re
                 bringing crime. They’re rapists. And some, I assume,
                 are good people.” There was no factual support for
                 this statement. Despite his animus towards immigrants,
                 he has consistently indicated his support for DACA,
                 including tweeting on September 7, 2017, after DACA




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                 was rescinded, that “For all those (DACA) that are
                 concerned about status during the 6 month period, you
                 have nothing to worry about—No action!”
                    12. Defendant Elaine C. Duke is the acting Secre-
                 tary of the Department of Homeland Security, a cabi-
                 net department of the United States government with
                 the primary mission of securing borders of the United
                 States. Acting Secretary Duke issued the memoran-
                 dum rescinding DACA, and she and the Department of
                 Homeland Security are responsible for implementing
                 the rescission of DACA.
                   13. Defendant United States of America is sued
                 under 28 U.S.C. § 1346.
                 IV. FACTUAL ALLEGATIONS
                    14. The Statue of Liberty has stood as a welcom-
                 ing beacon of hope and inspiration to the millions of
                 immigrants who have come to the United States through
                 New York. Inscribed on the statue are the stirring
                 words of Emma Lazarus to: “Give me your tired,
                 your poor, your huddled masses yearning to breathe
                 free.”
                     15. The reality has been far different than the
                 Statue of Liberty’s inscription as some groups in the
                 United States have, throughout the nation’s history,
                 tried to limit citizenship to groups of people some found
                 undesirable: Irish, Italians, Jews, Chinese, Mexicans
                 and the list goes on. Yet, most of the immigrants who
                 have come to the United States simply want to make a
                 better life for themselves and their families and to fit in
                 to their new country. Our country would not be the
                 greatest country in the world without the diversity of
                 its citizenship achieved through immigration.




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                    A.   Immigrants Contribute to the Success of the
                         United States and California Cities
                    16. Studies demonstrate the positive impact immi-
                 grants, even undocumented immigrants, have on the
                 United States. In April of 2016, the U.S. Chamber
                 of Commerce published a report entitled Immigra-
                 tion Myths and Faces, www.uschamber.com/reports/
                 immigration-myths. The report demonstrates that
                 most common negative contentions regarding immi-
                 grants are false. For example, with citation to evi-
                 dence, the Chamber of Commerce demonstrates that
                 immigrants do not take away jobs from U.S. citizens,
                 do not drive down the wages of the U.S. workers, but to
                 the contrary, immigrants are necessary for the U.S.
                 economy. The Chamber also demonstrates that immi-
                 grants, even undocumented immigrants, pay taxes.
                 Undocumented immigrants are not eligible for federal
                 public benefit programs like Social Security, Medicaid,
                 Medicare, and food stamps. The Chamber report demon-
                 strates that undocumented immigrants do not commit
                 more crime than citizens. FBI data demonstrates
                 that as the number of undocumented immigrants tri-
                 pled from 1990, violent crime declined 48% and prop-
                 erty crime declined 41%. A report from the conserva-
                 tive Americas Majority Foundation found that crime
                 rates are lowest in states with the highest immigration
                 growth rates. Immigrants are less likely than people
                 born in the United States to commit crimes or be in-
                 carcerated.
                     17. San Jose has been an extremely diverse region
                 since the mid-1800s, which has led to immigrants grav-
                 itating to such areas where there are already estab-
                 lished immigrant communities. Waves of immigrants,
                 from China and Mexico, Vietnam, India, and Northern




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                 Europe, have played a fundamental role in the creation
                 of three profoundly different industries: first mining,
                 then agriculture, and finally technology in San Jose and
                 the Silicon Valley. http://www.sanjoseca.gov/Document
                 Center/View/19862.
                    B.   In 2012, DACA Is Implemented
                     18. Throughout the later part of the last century
                 and the first part of this century, politicians could not
                 agree on a comprehensive immigration policy. Immi-
                 grants who would have had a clear path to citizenship
                 in the past found citizenship almost impossible to achieve.
                 Yet, immigrants who had no hope in their country of
                 birth came to the United States without documentation
                 for a better life. In the process, they have enriched
                 our country. Many of these immigrants brought their
                 entire families, including their young children.
                    19. By 2012, there were millions of residents who
                 came here as children, but they did not have documen-
                 tation to remain in this country. As Congress stalled
                 in enacting any meaningful immigration reform, there
                 was a groundswell to protect these young people from
                 deportation and allow them to live productive lives to
                 enrich themselves, their families and their adopted coun-
                 try.
                    20. In June of 2012, President Barack Obama,
                 through an Executive Order, enacted DACA. He stated
                 that he believed it was “the right thing to do” to protect
                 young people who do not know any country but America.
                 On June 15, 2012, then Secretary of Homeland Security
                 Janet Napolitano issued a memorandum establishing
                 the DACA program. Exhibit 1. DACA is in essence
                 a deferred prosecution agreement.




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                     21. The 2012 DACA Memorandum established
                 that an applicant would be considered for an exercise of
                 prosecutorial discretion only by satisfying each of the
                 following criteria:
                    •   came to the United States under the age of six-
                        teen;
                    •   had continuously resided in the United States
                        for at least five years preceding the date of the
                        memorandum and is present in the United
                        States on the date of the memorandum;
                    •   was currently in school, had graduated from
                        high school, had obtained a general education
                        development certificate, or was an honorably
                        discharged veteran of the Coast Guard or Armed
                        Forces of the United States;
                    •   had not been convicted of a felony offense, a sig-
                        nificant misdemeanor offense, multiple misde-
                        meanor offenses, or otherwise poses a threat to
                        national security or public safety; and
                    •   was not above the age of thirty.
                    22. In addition to simply being eligible for this
                 program, undocumented immigrants must also pay a
                 $495 application fee, submit several forms, and produce
                 documents showing they meet the requirements.
                 Moreover, if a DACA qualifying immigrant wants to
                 travel abroad there is an additional fee and application
                 requirement required. Those applying are also vetted
                 for any criminal history or threat to national security
                 and must be students or have completed school or mil-
                 itary service. If approved, action to deport them is
                 deferred for two years, along with the opportunity to
                 renew, along with gaining eligibility for basics like a
                 driving license, college enrollment or a work permit.




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                    23. In exchange for DACA applicants providing
                 sensitive and private information regarding their en-
                 tire lives, the United States government promised to
                 keep the information confidential and not to use it, ex-
                 cept in limited circumstances, for any purposes except
                 for DACA purposes.
                    C.   DACA Has Provided 800,000 Young People Who
                         Have Known No Other Country than the United
                         States a Chance to Attend College and/or Work
                    24. The rewards of DACA have been enormous,
                 not only to the immigrants who came to this country as
                 children, but to the nation. First-generation immi-
                 grants who enter the United States as children tend to
                 pay, on average, more in taxes over their lifetimes than
                 they receive in benefits, regardless of their education
                 level. DACA recipients end up contributing more
                 than the average, because they are not eligible for any
                 federal means-tested welfare: cash assistance, food
                 stamps, Medicaid, health-care tax credits or anything
                 else.
                    25. Moreover, DACA recipients also are better
                 educated than the average immigrant. Applicants must
                 have at least a high school degree to enter the program.
                 An additional 36 percent of DACA recipients who are
                 older than 25 have a bachelor’s degree, and an addi-
                 tional 32 percent are pursuing a bachelor’s degree.
                    26. Further, while studies show that undocumented
                 immigrants are much less likely to end up in prison,
                 this fact is especially true for DACA recipients since
                 applicants must also pass a background check, indicat-
                 ing even lower levels of criminal behavior than the av-
                 erage American citizen.




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                    27. DACA has been a success as it has allowed
                 over 800,000 recipients to work and go to college in the
                 United States thus enriching our economy and security.
                    D.   San Jose and Silicon Valley Have Benefitted
                         From DACA
                    28. For San Jose, the ability to hire DACA recipi-
                 ents has been extremely beneficial. San Jose, like the
                 rest of the Silicon Valley, has the need for a skilled
                 work force. Unemployment in Santa Clara County is
                 low and competition for employees is fierce. When
                 DACA was enacted, San Jose was able to hire DACA
                 grantees. San Jose spent time and resources training
                 these employees and they hold jobs vital to the opera-
                 tion of San Jose.
                    29. San Jose is also home to tech companies, like
                 Cisco and Adobe, who need skilled workers. These
                 companies also hired DACA recipients as did other
                 Silicon Valley companies, like Apple, Facebook, and
                 Google, and many employees live in San Jose.
                    E.   While President Trump Has Been Ant-
                         Immigrant, He Has Been Supportive of DACA
                         Recipients
                          1. Anti-Immigrant Statements by the President
                             and His Administration
                    30. Donald Trump during his campaign for Presi-
                 dent and since becoming President has demonstrated
                 an animus to immigrants. His administration, espe-
                 cially people in the Department of Justice and Depart-
                 ment of Homeland Security, has been just as anti-
                 immigrant as the President. Their statements dem-
                 onstrate this discrimination.




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                    31. Candidate Trump’s statements against immi-
                 grants were bombastic and incorrect. For example,
                 Trump repeatedly denigrated Mexican immigrants in
                 particular, even comparing them to rapists in his pres-
                 idential bid announcement “When Mexico send its peo-
                 ple, they’re not sending their best. They’re not sending
                 you. They’re not sending you. They’re sending people
                 that have lots of problems and they’re bringing those
                 problems with us. They’re bringing drugs. They’re
                 bringing crime. They’re rapists. And some, I as-
                 sume are good people.” (https://www.washingtonpost.
                 com/news/post-politics/wp/2015/06/16/full-text-donald-
                 trump-announces-a-presidential-bid/?utm_term=.f6c79
                 452d595)
                    32. During the first Republican presidential de-
                 bate, candidate Trump doubled down on his disparag-
                 ing thoughts about Mexican immigrants, claiming that
                 “The Mexican government is much smarter, much
                 sharper, much more cunning. And they send the bad
                 ones over because they don’t want to pay for them.
                 They don’t want to take care of them.” (https://www.
                 nbcnews.com/news/latino/trump-claims-debate-mexico-
                 sends-bad-ones-u-sn405661)
                    33. During another presidential debate in October
                 2016, candidate Trump once again broadly assaulted
                 immigrant families and communities with his views on
                 immigration by declaring “We have some bad hombres
                 here and we’re going to get them out.” (https:www.
                 cnce.com/2016/10/19/trump-we-have-some-bad-hombres-
                 and-were-going-to-get-them-out.html)
                    34. After becoming President, President Trump’s
                 statements have not become Presidential, but continue
                 to be bombastic and incorrect. For example, Presi-
                 dent Trump again negatively referred to Mexicans as




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                 ‘hombres’ in a phone call with Mexico’s President,
                 condemning these immigrants by saying “You have
                 some pretty tough hombres in Mexico that you may
                 need help with, and we are willing to help you with that
                 big-league. But they have to be knocked out and you
                 have not done a good job of knocking them out.” (http://
                 www.cnn.com/2017/08/09/politics/best-lines-trump-mexico-
                 australia-call/index.html)
                    35. President Trump and his administration fur-
                 ther clarified their stance on immigration, as Immigra-
                 tion and Customs Enforcement Acting Director Thomas
                 Homan testified that “every immigrant in this country
                 without papers should be uncomfortable. You should
                 look over your shoulder. And you need to be wor-
                 ried.” These sentiments were once again repeated in
                 an interview later that week, when Homan stated that
                 “Trump and his administration have made clear that
                 any undocumented immigrant could be arrested and
                 face deportation proceedings at any time, unless they
                 have current and valid protection under DACA.”
                 (http://www.cnn.com/2017/06/16/politics/ice-immigrants-
                 should-be-afraid-homan/index.html)
                    36. United States Attorney General Jeff Sessions
                 further reiterated these sentiments coming from the
                 Trump administration as he responded to immigration
                 on Fox News in April 2017 by stating “Everybody in
                 the country illegally is subject to being deported, so
                 people come here and they stay here a few years and
                 somehow they think they are not subject to being
                 deported—well, they are. The policy is that if people
                 are here unlawfully, they’re subject to being deported.
                 Our priority is clear . . . we can’t promise people
                 who are here unlawfully that they’re not going to be
                 deported.” http://www.foxnews.com/polticis/2017/04/19/




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                 sessions-defends-immigration-policies-after-reported-
                 dreamer-deportation.html).
                          2. Despite His Anti-Immigration Rhetoric,
                             Trump Has Demonstrated His Support of
                             DACA
                    37. Even as he has railed at immigrants, President
                 Trump has repeatedly stated his support for DACA
                 recipients. For example, in an interview with TIME
                 magazine on the campaign trail in December 2016,
                 President Trump signaled that he could find a way to
                 accommodate the DREAMers “We’re going to work
                 something out that’s going to make people happy and
                 proud. They got brought here at a very young age,
                 they’ve worked here, they’ve gone to school here. Some
                 were good students. Some have wonderful jobs. And
                 they’re in never-never land because they don’t know
                 what’s going to happen.” (http://time.com/time-person-
                 of-the-year-2016-donald-trump/?iid=buttonrecirc)
                    38. President Trump made statements in an inter-
                 view with Fox & Friends on January 18, 2017, promis-
                 ing “It’s a plan that’s going to be very firm, but it’s
                 going to have a lot of heart. And we’re going to be
                 looking into that situation. . . . That’s a very tough
                 situation, but I think they’re going to end up being very
                 happy.” (http://wwwpolitico.com/story/2017/01/trump-
                 immigration-plan-233748)
                    39. President Trump reiterated this position the
                 next week in an interview with David Muir of ABC
                 News, claiming that “[DACA grantees] shouldn’t be
                 very worried. I do have a big heart. We’re going to
                 take care of everybody.” (http://abcnews.go.com/Politics/
                 transcript-abc-news-anchor-david-muir-interviews-
                 president/story?id=45047602)




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                     40. At a press conference in February of 2017,
                 President Trump announced “We’re going to show
                 great heart . . . you have some absolutely incredi-
                 ble kids—I would say mostly. They were brought
                 here in such a way. It’s a very—it’s a very very tough
                 subject. We are going to deal with DACA with heart.
                 I have to deal with a lot of politicians, don’t forget.
                 And I have to convince them that what I’m saying is, is
                 right . . . But the DACA situation is a very very—
                 it’s a very difficult thing for me because you know, I
                 love these kids. I love kids. I have kids and grand-
                 kids and I find it very, very hard doing what the law
                 says exactly to do.” (https://www.whitehouse.gov/the-
                 press-office/2017/02/16/remarks-president-trump-press-
                 conference)
                    41. In an Associated Press interview in April of
                 2017, President Trump said his administration is “not
                 after the dreamers, we are after the criminals” and that
                 “The dreamers should rest easy” since his Administra-
                 tion’s policy is not to deport DACA grantees. (https//
                 apnews.com/79f 2c79805f14c3f8ac878c5df 21cdfd/Trump-
                 tells-‘dreamers’-to-rest-easy,%20-targets-criminaks)
                    42. Even in a written statement issued shortly af-
                 ter the Attorney General, Jeff Sessions, announced the
                 policy to terminate DACA, President Trump declared
                 “I do not favor punishing children, most of whom are
                 now adults, for the actions of their parents. But we
                 must also recognize that we are [a] nation of oppor-
                 tunity because we are a nation of laws.” (http://deadline.
                 com/2017/09/donald-trump-daca-statement-punishing-
                 children-1202161542/)
                    43. In addition to his written statement after Sec-
                 retary Sessions’ announcement terminating DACA, Pres-
                 ident Trump also tweeted that he “will revisit this




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                 issue!” if DACA was not legalized by Congress in the
                 allotted 6 month time span. (https://twitter.com/real
                 Donald Trump)
                    F.   The Rescission of DACA
                    44. On September 5, 2017, President Trump,
                 through Attorney General Sessions announced the re-
                 scission of DACA. Exhibit 2. On the same day, Elaine
                 Duke, the Acting Secretary of the Department of
                 Homeland Security, issued a memorandum rescinding
                 DACA. Exhibit 3. The memo was issued without
                 compliance with the Administrative Procedures Act.
                 There was no notification that there was going to be a
                 change in DACA, no notice to be heard, and no factual
                 findings or analysis to demonstrate that DACA should
                 be rescinded.
                    G.   San Jose Has Taken Action to Try to Help Its
                         Immigrant Residents, But Has Limited Ability to
                         Effectuate Change, Except With this Lawsuit
                    45. When Donald Trump was elected President,
                 residents of San Jose were concerned about the
                 President-elect’s immigration positions. In response,
                 in January of 2017, the City Council, approved a plan
                 proposed by Mayor Sam Liccardo to educate immi-
                 grants about their rights, helping schools with “safety
                 plans,” and allowing churches to provide sanctuary to
                 undocumented residents if needed. The plan also cre-
                 ated “safe spaces” in city-owned facilities, such as librar-
                 ies, to provide pro-bono legal services.
                    46. In response to the Defendants’ rescission of
                 DACA, San Jose confirmed its support of its immigrant
                 residents and DACA recipients specifically. Mayor
                 Sam Liccardo, for example, issued the following state-
                 ment:




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                        The Attorney Generals announcement of the
                    Trump Administration’s rescission of DACA aban-
                    dons 800,000 of America’s hardest-working, most
                    patriotic residents. Punting the issue to Congress,
                    without any affirmative leadership to enact a legis-
                    lative solution, amounts to a cowardly cop-out, plac-
                    ing the futures of these young women and men in
                    serious jeopardy.
                        To San Jose’s tens of thousands of DREAMers,
                    we reiterate: “We’ve got your back.” I will seek
                    to challenge the Administration’s actions in court,
                    after consulting with our Council and City Attorney
                    regarding our options in the week ahead.
                    History will not forgive Donald Trump for aban-
                    doning our DREAMers.
                    47. Santa Clara County Board of Supervisor’s
                 Chair Dave Cortese stated: “Trump’s plan to elimi-
                 nate DACA is by far his most callous attempt as of yet.
                 The lives, dreams, and futures of thousands of DACA
                 recipients are not a bargaining chip for this Admin-
                 istration to play with. I remain committed to them
                 and to their cause. I urge every DREAMer out there
                 to remain resilient and hopeful. Because together, we
                 will rise.”
                    48. The Silicon Valley Organization, stated through
                 its Executive Vice President: “Not only is the roll-
                 back of DACA immoral, but it is also terrible for Amer-
                 ica’s competitive economic advantage. Our economic
                 strength is our diversity; it is our greatest asset and
                 our key difference maker. To put 800,000 Americans,
                 whose sole ‘infraction’ was arriving here as children, on
                 a path to lose citizenship will upend a large portion of
                 this key strength. Rescinding DACA sends the mes-
                 sage that America’s door to opportunity is slammed




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                 tighter, and that is not the message that Silicon Valley
                 business leaders want our government to send to the
                 world at a time when expanding opportunity is the key
                 to long-term innovative success.”
                    H.   The Rescission of DACA Has Harmed San Jose
                    49. The rescission of DACA has already had and
                 will continue to have an impact, not only on the lives of
                 the DACA recipients, but on San Jose who has suffered
                 a concrete and specific injury by the rescission. Based
                 upon the rescission of DACA, San Jose has had to take
                 steps to deal with the fact that starting on March 5,
                 2018, the date that the DACA rescission goes into
                 effect, it will lose employees, who are DACA recipients.
                 In order for an employer to hire an employee, the em-
                 ployer must confirm that the employee has the legal right
                 to work in the United States. See 8 C.F.R. § 274A.1
                 et seq. Cities who employ people without the right to
                 work face steep penalties and criminal penalties.
                 However, it is also illegal for the cities to terminate
                 employees because of their nationality or immigration
                 status. Thus San Jose is facing the uncertainty of not
                 knowing whether they will be able to continue to retain
                 these valuable employees in their work force. With
                 the rescission of DACA, the DACA recipients will be
                 losing their right to work for San Jose. In order for
                 San Jose to end the employment relationship with an
                 employee and to make sure that there is a smooth
                 transition without the loss of city services, San Jose
                 must start planning now. Accordingly, even though
                 the DACA rescission allows DACA recipients to work
                 until March 5, 2018, San Jose has not been able to wait
                 until then to make plans to have this change in work
                 force. It has expended and will continue to extend




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                 time and resources to react to this loss of experienced
                 employees.
                     50. The acts of Defendants have decreased the ef-
                 ficiency of the work performed by San Jose. The
                 impact of the DACA rescission on DACA recipients has
                 been catastrophic as they face a future of uncertainty
                 and fear. San Jose has had to expend time and re-
                 sources to deal with the loss of productivity and em-
                 ployee morale because of the rescission of DACA,
                 which is another injury. FPL Food, LLC v. United
                 States Dep’t of Agric., 671 F. Supp. 2d 1339, 1358
                 (S.D. Ga. 2009).
                    51. Additionally, because of the taxes that DACA
                 recipients pay, San Jose is facing the loss of tax reve-
                 nues. It has had to start expending time and re-
                 sources to deal with this loss of funds.
                 V.     CLAIMS FOR RELIEF
                           (All Claims Are Against All Defendants)
                                FIRST CLAIM FOR RELIEF
                      (Violation of Fifth Amendment—Equal Protection)
                    52. San Jose repeats and incorporates by refer-
                 ence each allegation of the prior paragraphs as if fully
                 set forth herein.
                    53. The Due Process Clause of the Fifth Amend-
                 ment of the United States Constitution prohibits the
                 federal government from denying equal protection of
                 the laws.
                    54. As set forth above, Defendants’ actions target
                 individuals for discriminatory treatment based on their
                 national origin, without lawful justification. Defend-
                 ants’ actions were motivated, at least in part, by a




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                 discriminatory intent to harm a particular group and
                 treat them differently under the law.
                    55. Defendants’ discriminatory actions cannot be
                 sufficiently justified by federal interests.
                     56. Through their actions as set forth above, De-
                 fendants have violated the equal protection guarantee
                 of the Fifth Amendment.
                    57. Defendants’ actions has caused and continues
                 to cause ongoing harm to San Jose including their
                 DACA employees, as hereinbefore described.
                    58. The City of San Jose seeks a declaration that
                 the rescission of DACA is unconstitutional and a tem-
                 porary, preliminary, and permanent injunction enjoin-
                 ing the rescission of DACA and enjoining the deporta-
                 tion of any DACA recipient.
                    WHEREFORE, San Jose prays for relief as here-
                 inafter set forth.
                             SECOND CLAIM FOR RELIEF
                        (Violation of 5 U.S.C. §§ 553 & 706(2)(D))
                    59. San Jose repeats and incorporates by refer-
                 ence each allegation of the prior paragraphs as if fully
                 set forth herein.
                    60. DACCA is a federal rule and therefore, before
                 rescinding DACA, Defendants were required to comply
                 with the Administrative Procedure Act, which requires
                 that federal agencies go through a process of notice
                 and comment before repealing any substantive rule.
                 5 U.S.C. § 553.
                    61. By rescinding DACA without providing proper
                 notice and an opportunity to comment, Defendants
                 have violated 5 U.S.C. § 706(2)(D) because the rescis-




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                 sion was done without proper observance of the proce-
                 dure of law.
                    62. Even if Defendants believed that DACA itself
                 was defective for not complying with the Administra-
                 tive Procedure Act, which it was not, Defendants were
                 required to comply with the Administrative Procedure
                 Act. Consumer Energy Council v. Fed. Energy Regu-
                 latory Com., 673 F.2d 425, 447 and n.79 (D.C. Cir. 1982);
                 Hou Ching Chow v. Attorney General, 362 F. Supp. 1288
                 (D.D.C. 1973).
                    63. Accordingly, San Jose seeks a declaration that
                 Defendants’ actions violate 5 U.S.C. § 553 and § 706
                 and finding that the rescission of DACA is contrary to
                 law. San Jose also seeks a temporary preliminary and
                 permanent injunction enjoining the rescission of DACA
                 and enjoining the deportation of any DACA recipient.
                    WHEREFORE, San Jose prays for relief as here-
                 inafter set forth
                 VI. PRAYER FOR RELIEF
                    Wherefore, San Jose prays for the following relief:
                    1.   A declaration that Defendants’ action are un-
                 constitutional and/or violate 5 U.S.C. §§ 553 and 706
                 and finding that the rescission of DACA is contrary to
                 law;
                    2.   Enjoin Defendants from rescinding the DACA
                 program and enjoin Defendants from taking any steps
                 to deport any DACA recipients
                    3.   The costs of bringing this suit, including rea-
                 sonable attorneys’ fees; and
                    4.     All other relief to which San Jose may be enti-
                 tled at law or in equity.




                                                                             AR2796
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                 Dated:   Sept. 14, 2017

                    COTCHETT, PITRE & McCARTHY, LLP
                    By:   /s/   JOSEPH W. COTCHETT
                                JOSEPH W. COTCHETT
                    OFFICE OF THE CITY ATTORNEY
                    By:   /s/   RICHARD DOYLE
                                RICHARD DOYLE
                    Attorneys for Plaintiff City of San Jose

                                ATTESTATION OF FILING
                    I, Nancy L. Fineman, hereby attest, pursuant to
                 Northern District of California, Local Rule 5-1(i)(3)
                 that concurrence to the filing of this document has been
                 obtained from each signatory hereto.
                          /s/   NANCY L. FINEMAN
                                NANCY L. FINEMAN
                                Attorney for Plaintiff City of San Jose




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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA


                               Civil Case No. 3:17-cv-05235
                   STATE OF CALIFORNIA, STATE OF MAINE, STATE OF
                   MARYLAND, AND STATE OF MINNESOTA, PLAINTIFFS
                                             v.
                      U.S. DEPARMTENT OF HOMELAND SECURITY;
                      ELAINE C. DUKE, IN HER OFFICIAL CAPACITY
                    AS ACTING SECRETARY OF HOMELAND SECURITY;
                    AND UNITED STATES OF AMERICA, DEFENDANTS


                                  Filed: Sept. 11, 2017

                           COMPLAINT FOR DECLARATORY
                             AND INJUNCTIVE RELIEF


                                    INTRODUCTION
                    1.    The State of California is home to, by far, more
                 grantees of Deferred Action for Childhood Arrivals
                 (“DACA”) than any other state, and the States of Cali-
                 fornia, Maine, Maryland, and Minnesota (collectively,
                 “Plaintiff States”) combined are home to more than
                 238,000 DACA grantees. Defendants’ actions in re-
                 scinding DACA are illegal and seriously harm Plaintiff
                 States’ interests in ways that have already started to
                 materialize and that threaten to last for generations.
                 This program has allowed nearly 800,000 young people
                 (including over 220,000 Californians) who have come of
                 age in the United States—many of whom have known
                 no other home—to come out of the shadows and study
                 and work here without fear of deportation, enriching




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                 our States and communities. DACA is a humane pol-
                 icy with a proven track record of success, and Defend-
                 ants’ rescission of DACA violates fundamental notions
                 of justice.
                    2.    On September 5, 2017, Defendant Acting Sec-
                 retary of the Department of Homeland Security Elaine
                 Duke (“Duke”) issued a memorandum rescinding
                 DACA. Ex. A, Memorandum from Elaine C. Duke,
                 Acting Sec’y of Homeland Security to James W. McCa-
                 ment, Acting Dir., U.S. Citizenship and Immigration
                 Services (“USCIS”), et al., Rescission of the June 15,
                 2012 Memorandum Entitled “Exercising Prosecutorial
                 Discretion with Respect to Individuals Who Came to
                 the United States as Children” (Sept. 5, 2017) (“DACA
                 Rescission Memorandum”). Pursuant to that memo-
                 randum, Defendant Department of Homeland Security
                 (“DHS”) immediately ceased accepting new applica-
                 tions under the DACA program, immediately ceased
                 granting advance parole (i.e., authorization for DACA
                 grantees to leave the country), and declared that it will
                 only issue renewals for current grantees whose DACA
                 protection expires on or before March 5, 2018; these
                 current grantees must apply for renewal by October 5,
                 2017.
                    3.   The Trump Administration’s elimination of
                 DACA was unlawful on a number of grounds. First,
                 the DACA Rescission Memorandum violates the due
                 process guarantee of the Fifth Amendment to the
                 United States Constitution by substantially altering
                 DHS’s prior assurances regarding the use of infor-
                 mation contained in DACA applications; Defendants
                 should be equitably estopped from acting contrary to
                 these assurances. Second, DHS promulgated this rule
                 without providing notice or the opportunity to comment




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                 as required by the Administrative Procedure Act
                 (“APA”), thereby depriving Plaintiff States of the op-
                 portunity to present important evidence to DHS about
                 the overwhelming success of the DACA program in
                 Plaintiff States as part of the rulemaking process.
                 Third, DHS violated the substantive requirements of
                 the APA by proffering a legally insufficient justifica-
                 tion for rescinding DACA, obscuring the true policy
                 rationale for this substantial change, and otherwise vio-
                 lating independent constitutional and statutory provi-
                 sions. Fourth, federal law does not permit this sub-
                 stantive change in DHS policy to be made without an
                 analysis of the negative impact of rescinding DACA on
                 small businesses, non-profits, and local government en-
                 tities, including those in Plaintiff States. Finally, De-
                 fendants have discriminated against this class of young
                 immigrants in violation of the equal protection guaran-
                 tee of the Fifth Amendment by depriving them of their
                 interests in pursuing a livelihood and furthering their
                 education. These interests are substantial, and De-
                 fendants deprived DACA grantees of them without a
                 sufficient justification.
                    4.    DACA grantees residing in Plaintiff States are
                 employed by companies and non-profits, large and
                 small, as well as State and municipal agencies, all of
                 which benefit from their skills and productivity.
                 Through their employment and broader participation
                 in the economy, DACA grantees contribute to the eco-
                 nomic activity of Plaintiff States and the United States
                 generally. As residents of Plaintiff States, DACA
                 grantees have also pursued educational opportunities
                 at post-secondary institutions, enriching the educational
                 experiences of all students and faculty by contributing
                 their diverse life experiences and perspectives, while
                 building upward career mobility for themselves. In




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                 addition to substantially benefitting from DACA them-
                 selves, DACA grantees have taken advantage of the
                 opportunities available to them under this program in a
                 manner that has significantly enhanced Plaintiff States
                 in a number of ways, helping to advance their sover-
                 eign, quasi-sovereign, and proprietary interests.
                    5.    As a direct result of the decision to eliminate
                 DACA, DACA grantees will lose their work authoriza-
                 tion, requiring their employers to terminate them as
                 employees. As a result of losing employment, DACA
                 grantees face the loss of employer-based health insur-
                 ance, which has not only benefited them personally, but
                 has reduced Plaintiff States’ expenditures on health-
                 care to uninsured people and enhanced public health
                 overall. While education laws in California and other
                 states will permit most DACA grantees who are in
                 school to maintain their enrollment in post-secondary
                 educational institutions even if they lose DACA protec-
                 tion, many are expected to disenroll because their in-
                 ability to work will create financial obstacles to main-
                 taining enrollment. And others will disenroll simply
                 because they may no longer be able to achieve career
                 objectives commensurate with their skills and qualifi-
                 cations; still others may be afraid to interact with any
                 government entity, even public schools or hospitals,
                 once they lose DACA’s protection from deportation.
                 Those DACA grantees who choose to remain enrolled
                 will be unable to participate equally in other opportuni-
                 ties generally available to students, such as paid in-
                 ternships and externships, as well as study abroad pro-
                 grams.
                    6.   Under the DACA program, grantees were au-
                 thorized to apply for advance parole, which allowed
                 many of them to return to the United States after visit-




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                 ing their families outside the country when family
                 emergencies arose. Defendants have abruptly termi-
                 nated this authorization, even refusing to adjudicate al-
                 ready pending applications submitted by DACA grant-
                 ees. As a result of the termination, thousands of res-
                 idents will be unable to visit family members or travel
                 outside the United States for educational or employ-
                 ment purposes. It is also uncertain whether residents
                 whose advance parole requests were previously ap-
                 proved and who are currently traveling abroad will face
                 greater difficulty in being permitted to return home to
                 the United States.
                    7.   DACA grantees came to the United States
                 through no volition of their own. They grew up in this
                 country and many have known no other home. Prior
                 to DACA, they faced fear of deportation, hardship, and
                 stigma due to their status. DACA has allowed them
                 the stability and security they need to build their lives
                 in the open. Through their sudden and unlawful ac-
                 tions, Defendants are attempting to push DACA grant-
                 ees back into the shadows of American life.
                    8.    Due to Defendants’ actions and representa-
                 tions, DACA grantees face risks as a result of their
                 very participation in DACA—particularly if the DACA
                 Rescission Memorandum is fully implemented. When
                 they applied for DACA, applicants were required to
                 provide sensitive information to DHS—including their
                 fingerprints, photos, home address, school location, and
                 criminal records, however minor—in reliance on the
                 government’s repeated promises that it would not use
                 the information against them to conduct enforcement
                 actions. The DACA Rescission Memorandum and as-
                 sociated Frequently Asked Questions dated September
                 5, 2017 (“Rescission FAQs”), attached hereto as Ex. B,




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                 substantively change DHS’s policy in a manner that
                 places current and former DACA grantees at risk of
                 deportation based on information previously disclosed
                 to DHS in good faith.
                    9.   Further, DHS’s prior assurances to employers
                 regarding the employment verification information they
                 provided to employees to aid prospective DACA appli-
                 cants are not discussed in the DACA Rescission Mem-
                 orandum or Rescission FAQs, indicating that employ-
                 ers might now be subject to actions for unlawful em-
                 ployment practices despite DHS’s earlier assurances
                 that they would not be.
                    10. Defendants’ rescission of DACA will injure
                 Plaintiff States’ state-run colleges and universities, up-
                 set the States’ workforces, disrupt the States’ statutory
                 and regulatory interests, cause harm to hundreds of
                 thousands of their residents, damage their economies,
                 and hurt companies based in Plaintiff States.
                    11. The States of California, Maine, Maryland, and
                 Minnesota respectfully request that this Court enjoin
                 DHS from rescinding DACA and declare that DHS is
                 equitably estopped from using information gathered
                 pursuant to the DACA program in immigration en-
                 forcement actions against current and former DACA
                 applicants and grantees, and in actions against their
                 current or former employers except as authorized pre-
                 viously under DACA.
                             JURISDICTION, VENUE, AND
                            INTRADISTRICT ASSIGNMENT
                    12. This Court has jurisdiction          pursuant   to
                 28 U.S.C. §§ 1331 and 2201(a).
                    13. Venue is proper in this district pursuant to
                 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1). A substantial




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                 part of the events or omissions giving rise to this action
                 occurred in this district; Plaintiff State of California
                 resides in this district; and no real property is involved
                 in the action. This is a civil action in which Defend-
                 ants are agencies of the United States or officers of
                 such an agency.
                    14. Intradistrict assignment is proper in San
                 Francisco or Oakland pursuant to Local Rules 3-2(c)
                 and (d) because a substantial part of the events or
                 omissions which give rise to the claim occurred in the
                 City and County of San Francisco.
                                        PARTIES
                          PLAINTIFF STATE OF CALIFORNIA
                    15. The State of California, represented by and
                 through its Attorney General, is a sovereign State of
                 the United States of America.
                    16. Governor Edmund G. Brown, Jr., is the chief
                 executive officer of the State. The Governor is re-
                 sponsible for overseeing the operations of the State
                 and ensuring that its laws are faithfully executed. As
                 the leader of the executive branch, the Governor is the
                 chief of California’s executive branch agencies, includ-
                 ing those whose injuries are discussed in this Com-
                 plaint. Cal. Const. art V, § 1.
                    17. Attorney General Xavier Becerra is the chief
                 law officer of the State. The Attorney General is re-
                 sponsible for protecting California’s sovereign inter-
                 ests, including the sovereign interest in enforcing Cal-
                 ifornia laws. Cal. Const. art V, § 13.
                    18. California is aggrieved by the actions of De-
                 fendants and has standing to bring this action because
                 of the injury to its state sovereignty caused by Defen-




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                 dants’ rescission of DACA, including immediate and
                 irreparable injuries to its sovereign, quasi-sovereign,
                 and proprietary interests, and its interests as parens
                 patriae.
                    19. California is home to more than 379,000 DACA-
                 eligible residents. As of March 2017, USCIS had ap-
                 proved 222,795 DACA applications from immigrants
                 residing in California. Ex. C, USCIS, Number of
                 Form I-821D, Consideration of Deferred Action for
                 Childhood Arrivals by Fiscal Year, Quarter, Intake
                 Biometrics and Case Status Fiscal Year 2012-2017
                 (Mar. 31, 2017) (“USCIS Numbers”). More than
                 30 percent of all DACA grantees in the entire country
                 reside in California, giving California by far the largest
                 population of DACA grantees of any state.
                    20. Indeed, in the first year of DACA, 13 percent
                 of DACA requests nationwide (78,000) came from indi-
                 viduals in the Los Angeles area alone.
                     21. California has an interest, reflected in its Con-
                 stitution and state law, in prohibiting discrimination on
                 the basis of race, color, national origin, and immigra-
                 tion status. California’s Constitution prohibits any
                 discrimination on the basis of race, color, or national
                 origin. See Cal. Const. art. I, §§ 8, 31. California
                 recognizes as civil rights an individual’s opportunity to
                 obtain employment, housing, real estate, full and equal
                 utilization of public accommodations, public services,
                 and education institutions without such discrimination.
                 See, e.g., Cal. Gov. Code §§ 11135, 12900-12907; Cal.
                 Civ. Code § 51(b). California has a further interest, as
                 evidenced by its Constitution, in prohibiting the depri-
                 vation of life, liberty, or property without due process,
                 and in preventing any practice that denies equal pro-
                 tection of the laws. See Cal. Const. art. I, § 7.




                                                                              AR2805
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                    22. California’s interest in protecting the health,
                 safety, and well-being of its residents, including pro-
                 tecting its residents from harms to their physical or
                 economic health, extends to all residents, regardless of
                 immigration status. See, e.g., Cal. Civ. Code § 3339(a);
                 Cal. Gov. Code § 7285(a); Cal. Health & Safety Code
                 § 24000(a); Cal. Labor Code § 1171.5(a).
                     23. California has an interest in ensuring public
                 safety within its borders and protecting the rights of its
                 residents by maintaining an effective law enforcement
                 system. Like many local law enforcement agencies in
                 California and throughout the nation, the State has
                 concluded that public safety is best protected when all
                 members of our community—regardless of immigra-
                 tion status—are encouraged to report crimes and par-
                 ticipate in policing efforts without fear of immigration
                 consequences. California has further determined that
                 the interests of public safety are best served by pro-
                 moting trust between law enforcement and California
                 residents, including members of the immigrant com-
                 munity. By deferring the possibility of immediate de-
                 portation, the DACA program has removed a signifi-
                 cant deterrent to immigrants approaching law enforce-
                 ment for assistance when they have been victimized or
                 have witnessed crimes.
                     24. California has an interest in promoting and
                 preserving the public health of California residents.
                 Defendants’ rescission of DACA will create serious
                 public health problems. These include worsening the
                 existing shortage of physicians and gutting the home
                 healthcare workforce for seniors and people with disa-
                 bilities. Further, former DACA grantees will face in-
                 creasing mental health problems like depression, anxi-
                 ety, and suicide attempts when they suddenly find




                                                                              AR2806
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                 themselves once again members of an underclass with
                 an uncertain future.
                    25. The rescission of the DACA program will also
                 harm California’s interests in, and expenditures on, its
                 educational priorities. California’s state universities
                 and colleges have made significant investments in fin-
                 ancial aid and in other programs to support these stu-
                 dents, consistent with the interests of those institutions
                 —and those of the State itself—in diversity and non-
                 discrimination. California will lose that investment
                 because of the rescission of DACA. The University of
                 California (“UC”) system estimates that it alone has
                 approximately 4,000 undocumented students enrolled,
                 of whom a substantial number are DACA recipients.
                 An estimated 60,000 undocumented students attend
                 California’s community colleges, and 8,300 attend the
                 California State Universities; a significant number of
                 these students are DACA grantees.
                    26. UC also employs many DACA recipients at UC
                 campuses and in UC medical centers as teaching assis-
                 tants, research assistants, post-doctoral researchers,
                 and health care providers. DACA recipients often
                 possess valuable foreign language skills. As a result
                 of DACA’s termination, UC will lose the skills and tal-
                 ents of these employees.
                    27. Similarly, the loss of DACA grantees as pro-
                 fessors, teachers, teachers’ aides, administrators, and
                 nurses from our primary and secondary schools, as well
                 as the California State University and California Com-
                 munity College systems, will frustrate California’s in-
                 terests in the education of all its residents and harm
                 Californians.




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                    28. Immigration is an important economic driver
                 in California. California is the sixth largest economy
                 in the world, and it is home to many small businesses,
                 large corporations, non-profit organizations, public and
                 private hospitals, and colleges and universities that will
                 be adversely affected by the termination of DACA.
                    29. The cumulative economic harm to California
                 from the rescission of DACA is significant. According
                 to one estimate, the State of California alone would suf-
                 fer $65.8 billion in economic losses over a ten-year win-
                 dow as a result of DACA’s rescission.
                    30. DACA grantees contribute significantly to state
                 and local tax revenues. DACA grantees average higher
                 earning capacities than their undocumented peers and
                 are able to better contribute to our economy. Studies
                 show that after receiving DACA, many grantees pur-
                 chase houses and cars for the first time, boosting the
                 economy and generating state and local tax revenues.
                 According to one estimate, DACA-eligible residents
                 contribute more than $534 million annually in state and
                 local taxes in California alone; those annual state and
                 local tax contributions are projected to decrease by
                 $199 million when Defendants’ rescission of DACA is
                 complete. The State of California stands to lose an es-
                 timated $18.4 billion in taxes over ten years when the
                 full impact of Defendants’ rescission of DACA has
                 taken effect.
                    31. Executives at some of the largest companies in
                 California, and indeed, the nation, including Apple,
                 Facebook, and Google, have been vocal in support of
                 DACA grantees and have urged the President to retain
                 DACA. Many have also been vocal about the harm
                 that DACA’s repeal will cause to their companies and
                 employees. For example, the Chief Executive Officer




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                 of Apple, Tim Cook, noted that “250 of my Apple co-
                 workers are #Dreamers,” later adding, “#Dreamers
                 contribute to our companies and our communities just
                 as much as you and I.” Tim Cook, Twitter (Sept. 3 &
                 5, 2017). Mark Zuckerberg and Sundar Pichai, the
                 Chief Executive Officers of Facebook and Google, re-
                 spectively, have expressed similar sentiments. See,
                 e.g., Mark Zuckerberg, Facebook (Sept. 5, 2017) (“The
                 young people covered by DACA are our friends and
                 neighbors. They contribute to our communities and to
                 the economy.”); Sundar Pichai, Twitter (Sept. 5, 2017)
                 (“Dreamers are our neighbors, our friends and our co-
                 workers.”).
                    32. California, too, has an interest in securing the
                 best possible employees and in managing its workforce.
                 California state agencies and institutions employ at
                 least 48 DACA grantees, many of whom were hired
                 because of their specialized skills and qualifications
                 and who will be affected by the termination of DACA.
                 DACA grantees help further California’s priorities to
                 ensure, inter alia: public safety at the Departments
                 of Corrections, Rehabilitation, Forestry, and Fire
                 Protection; public health at the Departments of State
                 Hospitals and Developmental Services; and infra-
                 structure at the Departments of Transportation and
                 Water Resources. California has expended time and
                 funds to hire, train, and manage these DACA grantees,
                 and stands to lose the value of that investment—and
                 the employees’ ongoing labor—due to Defendants’ re-
                 scission of DACA.
                    33. In sum, Defendants’ rescission of DACA harms
                 the State of California directly as well as indirectly
                 through its effects on California residents, families,
                 businesses, and institutions.




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                             PLAINTIFF STATE OF MAINE
                    34. The State of Maine is a sovereign State of the
                 United States of America. The Attorney General of
                 Maine, Janet Mills, is a constitutional officer with the
                 authority to represent the State in all matters, and
                 serves as its chief legal officer with general charge,
                 supervision, and direction of the State’s legal business.
                 The Attorney General’s powers and duties include act-
                 ing on behalf of the State and the people of Maine in
                 the federal courts on matters of public interest. The
                 Attorney General has the authority to file suit to chal-
                 lenge action by the federal government that threatens
                 the public interest and welfare of Maine residents as a
                 matter of constitutional, statutory, and common law au-
                 thority.
                    35. Maine is aggrieved by Defendants’ actions and
                 has standing to bring this action because of the injuries
                 to the State caused by Defendants’ rescission of DACA,
                 including immediate and irreparable injuries to its sov-
                 ereign, quasi-sovereign, and proprietary interests.
                    36. At the end of the first quarter of 2017, USCIS
                 had accepted 134 initial applications and 410 renewal
                 applications since 2012 for the DACA program in Maine,
                 and in that same time had approved 95 initial applica-
                 tions and 334 renewal applications. Ex. C, USCIS Num-
                 bers. The DACA population in Maine makes up 4 per-
                 cent of Maine’s estimated undocumented population.
                    37. An estimated 83 of Maine’s DACA recipients
                 are employed. The estimated annual GDP loss in Maine
                 from removing DACA workers is $3.97 million.
                    38. DACA-eligible individuals currently contribute
                 $330,000 a year in state and local taxes. If 100 per-
                 cent of eligible individuals were enrolled, tax revenues




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                 would increase by $74,000. If DACA protections are
                 lost, Maine would lose an estimated $96,000 in state
                 and local taxes.
                    39. Defendants’ rescission of DACA will result in
                 Maine’s grantees losing their jobs and ability to attend
                 college and graduate institutions. Many businesses
                 will lose valued workers. Rescission of work authori-
                 zation will threaten DACA grantees’ ability to support
                 themselves and their families, and the forced separa-
                 tion of Maine families that will result from DACA’s
                 rescission will further jeopardize the health and well-
                 being of Maine residents.
                    40. Maine’s population demographics demonstrate
                 particular benefits that immigrants bring to the State’s
                 work force. In 2014, almost one in five Mainers was
                 already older than age 65—the third highest share in
                 any state in the country. From 2011 to 2014, Maine
                 experienced more deaths than births, one of only two
                 states in the country to do so. Many Maine employers
                 —from electronics manufacturers to meat processors
                 —have struggled to find the workers they need in re-
                 cent years to expand and keep growing in the State.
                 Jessica Lowell, Maine Employers Face a New Chal-
                 lenge: Not Enough Workers, Portland Press Herald,
                 July 23, 2016, https://tinyurl.com/y7gs6lan.
                    41. Maine has a strong public policy interest in
                 prohibiting discrimination on the basis of race, color, or
                 national origin. See Me. Rev. Stat. tit. 5, §§ 4681-4685.
                          PLAINTIFF STATE OF MARYLAND
                    42. The State of Maryland is a sovereign State of
                 the United States of America.
                    43. The State is represented by and through the
                 Attorney General of Maryland, Brian Frosh, its chief




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                 legal officer with general charge, supervision, and dir-
                 ection of the State’s legal business. The Attorney
                 General’s powers and duties include acting on behalf of
                 the State and the people of Maryland in the federal
                 courts on matters of public concern. Under the Con-
                 stitution of Maryland, and as directed by the Maryland
                 General Assembly, the Attorney General has the au-
                 thority to file suit to challenge action by the federal
                 government that threatens the public interest and
                 welfare of Maryland residents. Md. Const. art. V,
                 § 3(a)(2); 2017 Md. Laws, Joint Resolution 1.
                    44. Maryland is aggrieved by Defendants’ actions
                 and has standing to bring this action because of the in-
                 jury to its State sovereignty caused by Defendants’ re-
                 scission of DACA, including immediate and irreparable
                 injuries to its sovereign, quasi-sovereign, and proprie-
                 tary interests.
                    45. Maryland is home to more than 20,000 young
                 people who are immediately eligible for DACA, an ad-
                 ditional 6,000 who may become eligible through enroll-
                 ment in school, and an additional 7,000 who may be-
                 come eligible on their 15th birthdays.
                    46. At the end of the first quarter of 2017, 11,513
                 initial applications and 12,357 renewal applications for
                 the DACA program in Maryland had been accepted by
                 USCIS.
                     47. If DACA is rescinded, Maryland will lose mil-
                 lions of dollars in state and local tax revenues. DACA-
                 eligible individuals currently contribute $40.8 million a
                 year in state and local taxes. If 100 percent of eligible
                 individuals were enrolled, tax revenues would increase
                 by $16.1 million.




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                    48. Maryland has a quasi-sovereign interest in pro-
                 tecting the health and well-being, both economic and
                 physical, of all its residents.
                    49. Fifty-five percent of DACA-eligible individuals
                 in Maryland are employed. DACA grantees work for
                 both large and small businesses, which are critical to
                 the State’s economic viability. In addition, DACA
                 grantees in Maryland work in a wide array of fields, in-
                 cluding healthcare, education, law, and social services.
                    50. Rescinding DACA will result in disruptions in
                 each of these fields, as companies and non-profits will
                 be forced to terminate qualified and trained employees
                 without employment authorization. Estimates are that
                 rescinding the DACA program will cost Maryland
                 $509.4 million in annual GDP losses.
                    51. Additionally, rescinding DACA will cause many
                 DACA grantees to lose their employer-based health
                 insurance. Without employer-based benefits, more
                 Maryland residents are likely to refrain from seeking
                 needed medical care. As a result of foregoing treat-
                 ment, including for preventative purposes, these resi-
                 dents will impose higher healthcare costs on Maine.
                    52. The rescission of DACA also threatens the wel-
                 fare of both DACA grantees and their families, includ-
                 ing some households with family members who are
                 United States citizens. Rescission of work authoriza-
                 tion will threaten DACA grantees’ ability to support
                 themselves and their families, and the forced separa-
                 tion of Maryland families that results from DACA’s
                 rescission will further jeopardize the health and well-
                 being of Maryland residents.
                    53. Maryland also has a proprietary interest in
                 hiring and training a qualified workforce. Both the




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                 State and local jurisdictions employ DACA grantees,
                 many of whom have specialized skills and qualifica-
                 tions. The State and local governments will lose not
                 only these employees, but also their significant invest-
                 ments in hiring and training the DACA grantees who
                 work for them.
                    54. Rescinding DACA will adversely impact cur-
                 rent DACA grantees enrolled in colleges and universi-
                 ties.   Without DACA’s employment authorization,
                 these students’ educational and employment plans will
                 be disrupted, if not aborted.
                    55. Disenrollment by DACA grantees will also
                 harm Maryland’s public colleges and universities. The
                 University of Maryland has emphasized the importance
                 of its students who are DACA grantees. See Wallace
                 D. Loh, President’s Statement on DACA Students,
                 University of Maryland (Sept. 5, 2017), https://tinyurl.
                 com/y6ulklrz. In 2011, Maryland passed a law allow-
                 ing undocumented students brought to the United States
                 as children, or “dreamers,” to pay in-state tuition rates
                 at the State’s public institutions, and voters later ap-
                 proved the law in a referendum. 2011 Md. Laws, Ch.
                 191. In the 2015-16 academic year, over 500 dreamers
                 were enrolled in Maryland public colleges at in-state
                 tuition rates. Rescinding DACA will result in many of
                 these students leaving school, which harms both the
                 individual students as well as the schools. Maryland’s
                 public institutions will lose the diversity and enrich-
                 ment this population brings to the school community.
                    56. Maryland has a strong public policy interest
                 in prohibiting discrimination on the basis of race, color,
                 or national origin. See Md. Code Ann., State Gov’t
                 §§ 20-302, 20-304, 20-401, 20-402, 20-602, 20-702,
                 20-705, 20-707, 20-901. The Maryland General As-




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                 sembly has declared that “assur[ing] all persons equal
                 opportunity” is necessary “for the protection of the
                 public safety, public health, and general welfare, for
                 the maintenance of business and good government, and
                 for the promotion of the State’s trade, commerce, and
                 manufacturers.” Md. Code Ann., State Gov’t § 20-602.
                         PLAINTIFF STATE OF MINNESOTA
                    57. The State of Minnesota, which is a sovereign
                 State of the United States of America, is aggrieved by
                 Defendants’ actions. Minnesota has standing to bring
                 this action because of the injuries caused by Defend-
                 ants’ rescission of the DACA program, including inju-
                 ries to its sovereign, quasi-sovereign, and proprietary
                 interests.
                    58. Attorney General Lori Swanson brings this ac-
                 tion on behalf of Minnesota to protect the interests of
                 Minnesota and its residents. The Attorney General’s
                 powers and duties include acting in federal court in
                 matters of State concern. Minn. Stat. § 8.01.
                    59. It is estimated that in 2016 there were 16,000
                 DACA-eligible individuals living in Minnesota. As of
                 March 31, 2017, USCIS had approved 6,255 initial
                 DACA applications and 6,236 renewals for residents of
                 Minnesota. Ex. C, USCIS Numbers. In addition to
                 these DACA grantees, Minnesota has many residents
                 who would have become eligible for DACA in the fu-
                 ture.
                    60. Minnesota has a quasi-sovereign interest in
                 protecting the health and well-being, both economic
                 and physical, of all its residents.
                    61. DACA has allowed grantees to access a num-
                 ber of important benefits, including working legally
                 and obtaining employer-based health insurance.




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                    62. Rescinding DACA will cause many DACA
                 grantees to lose their employer-based health insurance.
                 Without employer-based benefits, more Minnesota res-
                 idents are likely to refrain from seeking out needed
                 medical care. As a result of foregoing treatment, in-
                 cluding for preventative issues, these residents will im-
                 pose higher healthcare costs on Minnesota.
                    63. The rescission of DACA also threatens the
                 welfare of both Minnesota DACA grantees and their
                 families. Many Minnesota DACA grantees live in
                 households with family members who are American ci-
                 tizens. Rescission of work authorization will threaten
                 DACA grantees’ ability to financially support them-
                 selves and their families, endangering the financial
                 security of these families. It will also force separation
                 of Minnesota families, jeopardizing their health and
                 stability.
                    64. Rescinding DACA will harm Minnesota’s col-
                 leges and universities. Minnesota law encourages at-
                 tendance by DACA grantees at public universities within
                 Minnesota. See, e.g., Minn. Stat. § 135A.043, .044.
                    65. The University of Minnesota has emphasized
                 the importance of its DACA students. Eric W. Kaler,
                 DACA Decision and the University’s Stance, Office of
                 the President, University of Minnesota, (Sept. 5, 2017),
                 https://tinyurl.com/y9khzd2w.    Similarly, Minnesota
                 State University, a system of 37 colleges and universi-
                 ties within Minnesota, has expressed its support for
                 DACA and noted the significant contributions of DACA
                 students to its institutions and the State economy.
                 Macalester College, a nationally ranked private liberal
                 arts college in St. Paul, Minnesota, has also issued a
                 statement emphasizing the importance of DACA stu-
                 dents to the college community and the economy at




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                 large. President Brian Rosenberg, Message to the
                 Community on the Elimination of DACA, Macalester
                 College (Sept. 5, 2017), https://tinyurl.com/y79yyhhr.
                    66. Rescinding DACA will impair the ability of
                 Minnesota universities to fulfill their educational mis-
                 sions and provide Minnesota residents with the skills
                 necessary to become valued members of the Minnesota
                 workforce.
                    67. One recent study found that 94 percent of the
                 DACA grantees surveyed who were in school agreed
                 that, because of DACA, they pursued educational op-
                 portunities that they previously could not.
                    68. The rescission of DACA will likely cause some
                 grantees to leave Minnesota colleges and universities
                 because they will be unable to work to meet their edu-
                 cational expenses. Furthermore, DACA students may
                 determine that the cost of a college education is not a
                 good investment because they will be unable to work
                 after graduation. Those grantees who stay in school
                 may take longer to complete their studies because of
                 their inability to work. Future DACA students may
                 be deterred from enrolling at all. As a result, Minne-
                 sota’s universities will lose the diversity, enrichment,
                 and new perspectives that this population brings to the
                 school community, undermining the educational missions
                 of the universities. These harms will also negatively
                 affect the tuition revenues of Minnesota universities.
                    69. A large number of Minnesota’s postsecondary
                 graduates remain in Minnesota after graduation.
                 Of Minnesota’s 2013 postsecondary graduating class,
                 72 percent were employed in Minnesota two years after
                 graduation. Rescinding DACA will deprive Minnesota
                 of the skills, earning, and tax-paying potential of those




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                 graduates of Minnesota universities who would stay in
                 the State to join the State’s workforce.
                    70. The Minnesota economy will also be negatively
                 affected by the rescission of DACA. Approximately
                 5,442 DACA grantees are employed in Minnesota. If
                 DACA is eliminated, these grantees will lose their work
                 authorization and the State economy will lose approx-
                 imately $376.7 million in annual GDP.
                     71. In addition, rescinding DACA will negatively
                 affect Minnesota tax revenue because DACA grantees
                 make significant contributions to Minnesota state and
                 local taxes. One study estimates that the loss of em-
                 ployment caused by the rescission of DACA will result
                 in Minnesota losing approximately $6.9 million annual-
                 ly in state and local tax revenue.
                    72. The rescission of DACA will also adversely im-
                 pact Minnesota employers. Minnesota businesses and
                 other employers have hired DACA grantees because of
                 the skills and other contributions they bring to these
                 organizations. Various Minnesota business leaders,
                 including the Chief Executive Officer of Best Buy and
                 the Senior Vice President of the Minnesota Chamber of
                 Commerce, signed a letter to the President stressing
                 the importance of DACA to their organizations and the
                 economy. Open Letter from Leaders of American
                 Industry (Aug. 31, 2017), https://www.businessleaders
                 dacaletter.com/.
                    73. Minnesota has a strong public policy interest
                 in prohibiting discrimination on the basis of race, color,
                 or national origin. See Minn. Stat. § 363A.02. Min-
                 nesota has stated that such discrimination “threatens
                 the rights and privileges of the inhabitants of this state
                 and menaces the institutions and foundations of de-
                 mocracy.” Id. Minnesota recognizes an individual’s




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                 opportunity to obtain employment, housing, real estate,
                 full and equal utilization of public accommodations,
                 public services, and educational institutions without
                 such discrimination as a “civil right.” Id.
                    74. In sum, the rescission of DACA substantially
                 and adversely affects Minnesota’s residents, educa-
                 tional institutions, economy, and families.
                                    DEFENDANTS
                     75. Defendant DHS is a federal cabinet agency re-
                 sponsible for implementing the DACA program. DHS
                 is a Department of the Executive Branch of the United
                 States Government, and is an agency within the mean-
                 ing of 5 U.S.C. § 552(f )(1).
                    76. Defendant Elaine C. Duke is the Acting Sec-
                 retary of Homeland Security. She is responsible for
                 implementing and enforcing immigration laws, and
                 oversees DHS. She is the author of the September 5,
                 2017 memorandum rescinding DACA. She is sued in
                 her official capacity.
                     77. Defendant United States of America includes
                 all government agencies and departments responsible
                 for the implementation and rescission of the DACA
                 program.
                                    ALLEGATIONS
                 I.   ESTABLISHMENT OF DACA
                    78. Then-Secretary of Homeland Security Janet
                 Napolitano issued a memorandum on June 15, 2012 es-
                 tablishing the DACA program. Ex. D, Memorandum
                 from Janet Napolitano, Sec’y of DHS, to David V.
                 Aguilar, Acting Comm’r, U.S. Customs and Border
                 Protection (“CBP”), et al., Exercising Prosecutorial
                 Discretion with Respect to Individuals Who Came to




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                 the United States as Children (June 15, 2012) (“DACA
                 Memorandum”). Under DACA, individuals who were
                 brought to the United States as children and meet spe-
                 cific criteria may request deferred action for a period
                 of two years, subject to renewal.
                    79. Deferred action is a long-standing mechanism
                 under which the government forbears from taking re-
                 moval action against an individual for a period of time.
                 The purpose of deferred action, a form of prosecutorial
                 discretion, is to allow DHS to utilize its resources effec-
                 tively and humanely.
                    80. The DACA Memorandum systematized the ap-
                 plication of existing prosecutorial discretion for any ap-
                 plicant who satisfied each of the following criteria:
                          a.      came to the United States under the age
                 of sixteen;
                         b. had continuously resided in the United
                 States for at least five years preceding the date of the
                 memorandum and was present in the United States on
                 the date of the memorandum;
                         c.   was currently in school, had graduated
                 from high school, had obtained a general education de-
                 velopment certificate, or was an honorably discharged
                 veteran of the Coast Guard or Armed Forces of the
                 United States;
                          d. had not been convicted of a felony offense,
                 a significant misdemeanor offense, multiple misde-
                 meanor offenses, or otherwise posed a threat to na-
                 tional security or public safety; and
                             e.   was not above the age of thirty.
                 Id. at 1.




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                    81. According to the DACA Memorandum, DACA’s
                 purpose was to ensure that DHS’s resources were ap-
                 propriately allocated to individuals who were higher
                 priorities for immigration enforcement, recognizing
                 among other things that young people brought here as
                 children lacked the intent to violate the law. DACA
                 recognizes that there are “certain young people who
                 were brought to this country as children and know only
                 this country as home” and that immigration laws are
                 not “designed to remove productive young people to
                 countries where they may not have lived or even speak
                 the language.” Id. at 1-2.
                 II.   DACA PROVIDES NUMEROUS BENEFITS
                    82. DACA grantees are provided with numerous
                 benefits. Most importantly, they are granted the right
                 not to be arrested or detained based solely on their im-
                 migration status during the designated period of their
                 deferred action. See id. at 2-3.
                    83. DACA grantees are granted eligibility to re-
                 ceive employment authorization.
                    84. DACA also opened the door to allow travel for
                 DACA grantees. For example, DACA grantees were
                 allowed to briefly depart the U.S. and legally return
                 under certain circumstances, such as to visit an ailing
                 relative, attend funeral services for a family member,
                 seek medical treatment, or further educational or em-
                 ployment purposes. 8 U.S.C. § 1182(a)(9)(B)(i); see
                 also Ex. E, USCIS, Frequently Asked Questions, DHS
                 DACA FAQs (“DACA FAQs”) (Apr. 25, 2017) Q57.
                 Travel for vacation is not permitted.
                    85. Unlike other undocumented immigrants, DACA
                 grantees are not disqualified on the basis of their im-
                 migration status from receiving certain public benefits.




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                 These include federal Social Security, retirement, and
                 disability benefits. See 8 U.S.C. §§ 1611(b)(2)-(3),
                 1621(d). As a result, and in reliance on DHS’s oft-
                 stated position that DACA and similar programs are a
                 lawful exercise of the agency’s authority, Plaintiff
                 States have structured some schemes around DACA
                 which allow, for example, applicants to demonstrate eli-
                 gibility for state programs by producing documentation
                 that they have been approved under DACA. The re-
                 scission of DACA undermines such regulatory frame-
                 works.
                    86. DACA grantees are able to secure equal access
                 to other benefits and opportunities on which Americans
                 depend, including opening bank accounts, obtaining
                 credit cards, starting businesses, purchasing homes
                 and cars, and conducting other aspects of daily life that
                 are otherwise often unavailable for undocumented im-
                 migrants.
                     87. DACA fundamentally changed the lives of
                 DACA grantees. By no longer having to hide in the
                 shadows, they obtained employment, sought higher ed-
                 ucation, pursued career paths, and became fully con-
                 tributing members of society who paid taxes and par-
                 ticipated in civic life.
                    88. These positive personal outcomes have also
                 generated benefits to many sectors of the Plaintiff
                 States’ economies. Defendants’ decision to rescind
                 DACA both terminates the ability of hundreds of
                 thousands of the States’ residents to remain part of the
                 mainstream economy and harms the States and the
                 communities that DACA recipients are part of, includ-
                 ing large and small businesses, non-profits, and gov-
                 ernment entities where they work and do business.




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                    89. The federal government has recognized that
                 the United States “continue[s] to benefit . . . from
                 the contributions of those young people who have come
                 forward and want nothing more than to contribute to
                 our country and our shared future.” Ex. F, Letter
                 from Jeh Charles Johnson, DHS Sec’y, to Judy Chu,
                 U.S. House of Representatives (CA-27) (Dec. 30, 2016)
                 (“Johnson Letter”).
                 III. DEFENDANTS’ PROMISES TO DACA GRANTEES:
                      DACA GRANTEES RELIED ON REPEATED ASSUR-
                      ANCES THAT I NFORMATION WOULD BE K EPT CON-
                      FIDENTIAL AND N OT USED FOR ENFORCEMENT

                    90. In an effort to encourage reluctant people to
                 apply for DACA, DHS promised applicants on numer-
                 ous occasions that information they provided as part of
                 the DACA application process would be “protected”
                 from use for immigration enforcement purposes.
                    91. In fact, only “fraud or misrepresentation” in
                 the application process or “[s]ubsequent criminal activ-
                 ity” are grounds for revocation of DACA. Ex. G,
                 USCIS Approval Notice, Form I-821D, Consideration
                 of Deferred Action for Childhood Arrivals.
                    92. The government’s commitment to DACA
                 grantees was further communicated to young people
                 through its publication entitled “National Standard Op-
                 erating Procedures (SOP):         Deferred Action for
                 Childhood Arrivals (DACA).” This document sets
                 forth the standards that DHS applies to DACA appli-
                 cations with nearly 150 pages of specific instructions
                 for granting or denying deferred action.
                    93 USCIS affirmatively represented to DACA ap-
                 plicants that, except in limited circumstances, “[i]nfor-
                 mation provided in [a DACA request] is protected from




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                 disclosure to [Immigration and Customs Enforcement
                 (“ICE”)] and CBP for the purpose of immigration en-
                 forcement proceedings.’’ Ex. E, DACA FAQs Q19.
                    94. USCIS affirmatively represented to DACA ap-
                 plicants that, except in limited circumstances, “[i]f you
                 have submitted a request for consideration of DACA
                 and USCIS decides not to defer your case . . . your
                 case will not be referred to ICE for purposes of removal
                 proceedings.” Id. at Q26.
                    95. In the exceptional circumstances under which
                 USCIS would refer a DACA applicant to ICE, USCIS
                 has affirmatively represented to DACA applicants that
                 “information related to your family members or guard-
                 ians that is contained in your request will not be re-
                 ferred to ICE for purposes of immigration enforcement
                 against family members or guardians.” Id. at Q20.
                    96. The government’s representations that infor-
                 mation provided by a DACA grantee would not be used
                 against him or her for later immigration enforcement
                 proceedings are unequivocal and atypical. For exam-
                 ple, the federal government does not make the same
                 representations for participants in other similar pro-
                 grams, such as Temporary Protected Status. See, e.g.,
                 USCIS, Temporary Protected Status, https://www.uscis.
                 gov/humanitarian/temporary-protected-status (last up-
                 dated May 24, 2017).
                    97. Similarly, USCIS affirmatively represented to
                 employers of DACA applicants that, except in limited
                 circumstances, if they provide their employees “with
                 information regarding his or her employment to sup-
                 port a request for consideration of DACA. . . . This
                 information will not be shared with ICE for civil immi-
                 gration enforcement purposes.” Ex. E, DACA FAQs
                 Q76.




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                    98. Additionally, in December 2016, then-Secretary
                 of Homeland Security Jeh Charles Johnson sent a let-
                 ter to U.S. Representative Judy Chu (CA-27) regarding
                 her concerns about the need to protect DACA-related
                 information, acknowledging that there were, at the time,
                 750,000 DACA grantees who had “relied on the U.S.
                 government’s representations” about prohibitions on
                 the use of such information for immigration enforce-
                 ment purposes. Johnson unequivocally stated: “We
                 believe these representations made by the U.S. govern-
                 ment, upon which DACA applicants most assuredly re-
                 lied, must continue to be honored.” Ex. F, Johnson
                 Letter at 1. DHS cannot now seek to renege on these
                 explicit assurances and promises.
                    99. These assurances were key to DACA’s success.
                 By making repeated, unique, and unequivocal repre-
                 sentations, DHS induced individuals to rely on those
                 representations and divulge sensitive personal infor-
                 mation to apply for DACA despite the potential risk of
                 deportation and removal, and induced employers to
                 provide information to their employees to assist the
                 latter’s DACA applications, despite the potential risk of
                 liability for the employers. From January to March
                 2017 (the most recent period for which statistics are
                 publicly available), USCIS accepted 132,790 combined
                 initial and renewal requests to grant deferred action
                 under the DACA program.
                    100. Indeed, in February 2017, then-Secretary of
                 Homeland Security John Kelly authored a DHS mem-
                 orandum relating to enforcement priorities. Ex. H,
                 Memorandum from John Kelly, Sec’y of Homeland
                 Security to Kevin McAleenan, Acting Comm’r, CPB,
                 Enforcement of the Immigration Laws to Serve the
                 National Interest (Feb. 20, 2017) (“Enforcement Prior-




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                 ities Memorandum”).       The Enforcement Priorities
                 Memorandum rescinded “all existing conflicting direc-
                 tives, memoranda, or field guidance regarding the en-
                 forcement of our immigration laws and priorities for
                 removal,” including prior enforcement priorities, but
                 specifically left DACA in place, unchanged.
                 IV. DHS RESCINDS DACA WITHOUT NOTICE, COMMENT,
                     OR ANY S UFFICIENT E XPLANATION FOR I TS CHANGE
                     IN POSITION

                    101. On September 5, 2017—more than five years
                 after first encouraging individuals to participate in
                 DACA—DHS abruptly rescinded DACA by announc-
                 ing that it would immediately cease accepting new ap-
                 plications. DHS also announced it would only issue
                 renewals for grantees whose deferrals expire before
                 March 5, 2018, and only if they applied for renewal
                 within one month of DHS’s announcement, i.e., by
                 October 5, 2017. Ex. A, DACA Rescission Memoran-
                 dum.
                   102. Based on this announcement, thousands of
                 DACA grantees will lose their work authorization each
                 day on a rolling basis beginning March 6, 2018.
                    103. The DACA Rescission Memorandum is a final,
                 substantive agency action that required DHS to comply
                 with the notice and comment requirements set forth in
                 5 U.S.C. § 553(b). See Hemp Industries Ass’n v. Drug
                 Enf ’t Admin., 333 F.3d 1082, 1087 (9th Cir. 2003).
                 But the agency provided no opportunity for notice and
                 comment before adopting this rule.
                    104. By failing to comply with these notice and
                 comment requirements, DHS deprived Plaintiff States,
                 their agencies and residents, and all other interested




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                 parties, of the opportunity to present impotiant evi-
                 dence to the agency about the DACA program.
                    105. In the DACA Rescission Memorandum, DHS
                 did not sufficiently explain its abrupt departure from
                 prior agency statements regarding the necessity and
                 legality of DACA. The single paragraph in the DACA
                 Rescission Memorandum explaining the rationale be-
                 hind this sudden shift merely asserts that DACA
                 “should be terminated” based on consideration of two
                 factors: (1) the appellate rulings in a case regarding a
                 2014 memorandum from then-DHS Secretary Johnson
                 that expanded DACA and created a new program,
                 Deferred Action for Parents of Americans and Lawful
                 Permanent Residents (“DAPA”), Texas v. United States,
                 809 F.3d 134 (5th Cir. 2015), aff ’d by an equally divided
                 court sub nom. United States v. Texas,           U.S.    ,
                 136 S. Ct. 2271 (2016); and (2) a September 4, 2017,
                 letter from Attorney General Jefferson B. Sessions
                 arguing that DACA was “unconstitutional” and was
                 invalid for the same reasons the Fifth Circuit struck
                 down DAPA in the Texas case. Ex. I, Letter from
                 Jefferson B. Sessions to Duke (Sept. 4, 2017) (“Sessions
                 Letter”).
                    106. DHS ignored obvious differences between
                 DACA and DAPA when reaching this conclusion.
                 Further, DHS ignored the fact that the legality of
                 DACA was never directly at issue in the Texas case,
                 and not ruled on by the Fifth Circuit. The DACA Re-
                 scission Memorandum also erroneously implied that
                 the Supreme Court’s summary affirmance of the Texas
                 decision by an equally divided court has precedential
                 effect. The DACA Rescission Memorandum cannot
                 survive judicial review under the APA when it is pred-
                 icated on an incorrect legal premise. See, e.g. , Mas-




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                 sachusetts v. EPA, 549 U.S. 497, 532-535 (2007); Safe
                 Air For Everyone v. U.S. EPA, 488 F.3d 1088, 1101
                 (9th Cir. 2007).
                    107. Notably, in the DACA Rescission Memoran-
                 dum, DHS did not offer its own considered legal views,
                 and neither the Sessions Letter nor the DACA Rescis-
                 sion Memorandum addressed any of the findings artic-
                 ulated in support of the DACA Memorandum or ex-
                 plained why the agency is so sharply departing from
                 both its prior legal position that programs like DACA
                 are lawful and guidance from the U.S. Department of
                 Justice Office of Legal Counsel that supported DACA’s
                 lawfulness. Ex. J, Memorandum Opinion, The De-
                 partment of Homeland Security’s Authority to Priori-
                 tize Removal of Certain Aliens Unlawfully Present in
                 the United States and to Defer Removal of Others,
                 38 Op. O.L.C.      (Nov. 19, 2014).
                    108. Other than the above conclusory assertions of
                 DACA’s legal infirmity, DHS failed to offer any expla-
                 nation of why it believed that rescinding DACA was
                 warranted. The DACA Rescission Memorandum did
                 not even address the rationale that DHS expressed in
                 2012 in the DACA Memorandum regarding the use of
                 prosecutorial discretion to focus resources and priori-
                 ties on lowest priority individuals, much less offer any
                 explanation as to why those factors have changed so
                 radically as to justify rescinding DACA now.
                    109. Hours after the DACA program was rescinded,
                 purportedly due to its illegality, President Trump
                 tweeted that, if Congress fails to provide similar pro-
                 tections through legislation, “I will revisit this issue!”
                 Ex. K, Donald J. Trump (@realDonaldTrump), Twitter
                 (Sept. 5, 2017, 5:38 p.m.). This statement suggests that
                 he believes he has authority to reinstate some or all of




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                 the DACA program without Congressional authoriza-
                 tion, further undermining DHS’s ostensible rationale
                 for rescinding.
                 V.   TRUMP ADMINISTRATION STATEMENTS FURTHER
                      DEMONSTRATE ILLEGALITY OF DACA RESCISSION
                    110. Defendants’ stated justification for rescinding
                 DACA—that is, its purported legal infirmity—has been
                 contravened by a number of their own statements re-
                 garding undocumented immigrants, many of which are
                 false and/or misleading, and as such provide an imper-
                 missible basis for rescinding DACA. In doing so, De-
                 fendants abused their discretion and acted in an arbi-
                 trary and capricious manner in violation of the APA.
                    111. On September 5, 2017, just prior to Attorney
                 General Sessions’s announcement rescinding the DACA
                 program, President Trump tweeted, “Congress, get
                 ready to do your job—DACA!” Donald J. Trump,
                 Twitter (Sep. 5, 2017 5:04 a.m.). Id. at 2. A few min-
                 utes thereafter, President Trump retweeted a state-
                 ment that “We are a nation of laws. No longer will we
                 incentivize illegal immigration. LAW AND ORDER!
                 #MAGA,” and “Make no mistake, we are going to put
                 the interest of AMERICAN CITIZENS FIRST!”
                 Donald J. Trump, Twitter (Sep. 5, 2017.). Id. at 3.
                 The DACA Rescission Memorandum makes no refer-
                 ence to such interests to explain the agency’s action.
                    112. On the same day, President Trump issued a
                 written statement on the rescission of the DACA pro-
                 gram that stated: “The temporary implementation of
                 DACA . . . helped spur a humanitarian crisis—the
                 massive surge of unaccompanied minors from Central
                 America including, in some cases, young people who
                 would become members of violent gangs throughout
                 our country, such as MS-13. Only by the reliable en-




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                 forcement of immigration law can we produce safe
                 communities, a robust middle class, and economic fair-
                 ness for all Americans.” Ex. L, Statement from Pres-
                 ident Donald J. Trump (Sept. 5, 2017). The DACA
                 Rescission Memorandum makes no reference to unac-
                 companied minors, public safety concerns, or economic
                 interests to explain the agency’s action.
                    113. During his announcement rescinding the
                 DACA program, Attorney General Sessions justified
                 the decision by stating that the DACA program “con-
                 tributed to a surge of unaccompanied minors on the
                 southern border that yielded terrible humanitarian
                 consequences. It also denied jobs to hundreds of
                 thousands of Americans by allowing those same jobs to
                 go to illegal aliens.” Ex. M, Attorney General Ses-
                 sions Delivers Remarks on DACA (Sept. 5, 2017).
                 Again, the DACA Rescission Memorandum makes no
                 reference to humanitarian or economic interests to ex-
                 plain the agency’s action.
                    114. Attorney General Sessions, while a United
                 States Senator from Alabama, made similar statements
                 regarding undocumented individuals seeking employ-
                 ment (“I’m a minority in the U.S. Senate . . . in
                 questioning whether we should reward people who
                 came into the country illegally with jobs that Ameri-
                 cans would like to do.”). Seung Min Kim, The Senate’s
                 Anti-Immigration Warrior, Politico (Mar. 5, 2015)
                 https://tinyurl.com/znog262. That same year, then-
                 senator Sessions praised the 1924 Johnson-Reed Act,
                 whose namesake, Representative Albert Johnson, used
                 racial theory as the basis for its severe immigration re-
                 strictions, which included barring Asian immigration
                 entirely. See Interview by Stephen Bannon with Sen.
                 Jefferson B. Sessions, Brietbart News (Oct. 5, 2015),




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                 audio available at https://tinyurl.com/y8gbj6vk; see also
                 Adam Serwer, Jeff Sessions’s Unqualified Praise for a
                 1924 Immigration Law, The Atlantic (Jan. 10, 2017),
                 https://tinyurl.com/ybzdo96u.
                    115. These statements by the Trump Administra-
                 tion in the context of its decision to rescind DACA
                 —that DACA created a surge in illegal immigration,
                 and that DACA grantees take jobs away from other
                 American workers and weaken the middle class—
                 suggest that the DACA Rescission Memorandum’s cur-
                 sory statements regarding the legality of DACA do not
                 set forth the agency’s true rationale for rescission.
                 The APA requires governmental agencies to publicly
                 state a sufficient justification for their actions, particu-
                 larly where, as here, Plaintiff States, as well as their
                 agencies, institutions, and residents, have relied upon
                 DHS’s prior statements to their detriment. See Perez
                 v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1209 (2015);
                 FCC v. Fox Television Stations, 556 U.S. 502, 515
                 (2009). Defendants have failed to do so.
                    116. Moreover, these statements are wholly contro-
                 verted by available evidence demonstrating the con-
                 tributions of DACA grantees to Plaintiff States and to
                 the United States as a whole, as explained above. See
                 Motor Veh. Mfrs. Ass’n of U.S., Inc. v. State Farm
                 Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (an agency
                 rule is arbitrary and capricious when the explanation
                 offered by the agency “runs counter to the evidence
                 before the agency”).




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                 VI. FORMER DACA GRANTEES ARE AT RISK OF IMMI-
                     GRATION ENFORCEMENT BASED ON I NFORMATION
                     THEY ENTRUSTED TO DEFENDANTS AS PART OF
                     DACA APPLICATIONS
                    117. In rescinding the DACA Memorandum, Defen-
                 dants have created a confusing and threatening situa-
                 tion for Plaintiff States and their residents, including
                 for DACA grantees who will soon begin losing their
                 DACA protection under the DACA Rescission Memo-
                 randum.
                    118. The DACA application form requires appli-
                 cants to provide a wealth of personal, sensitive infor-
                 mation, including the applicant’s lack of lawful immi-
                 gration status, address, Social Security number, and
                 the name and location of his or her school, if applicable.
                 Ex. N, USCIS, Form I-821D, Consideration of De-
                 ferred Action for Childhood Arrivals. The application
                 process also required that all DACA applicants undergo
                 biographic and biometric background checks, which in-
                 cludes fingerprinting, before USCIS considered their
                 DACA requests. DACA applicants provided this in-
                 formation based on Defendants’ representations about
                 the terms of the program and the manner in which in-
                 formation would be protected.
                    119. Former DACA grantees now face a real risk of
                 having the sensitive information that they provided to
                 DHS in their applications or renewal requests (for ex-
                 ample, fingerprints) used against them for future im-
                 migration enforcement proceedings. This, despite the
                 repeated assurances discussed above that Defendants
                 would do no such thing.
                    120. The DACA Rescission Memorandum does not
                 provide adequate assurances that this information will




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                 not be used for enforcement purposes following
                 DACA’s termination.
                    121. The former FAQs to the DACA Memorandum
                 —government representations under which all DACA
                 grantees submitted their applications—unequivocally
                 stated: “Information provided in this request is pro-
                 tected from disclosure to ICE and CBP for the purpose
                 of immigration enforcement proceedings,” with limited
                 exceptions where “the requestor meets the criteria for
                 the issuance of a Notice To Appear [“NTA”] or a re-
                 ferral to ICE under the [NTA] criteria” (emphasis
                 added). Ex. E, DACA FAQs Q19.
                    122. The Rescission FAQs that DHS produced to
                 accompany the DACA Rescission Memorandum pro-
                 vide inadequate assurances that information will be
                 protected, and state: “Generally, information provid-
                 ed in DACA requests will not be proactively provided to
                 other law enforcement entities (including ICE and CBP)
                 for the purpose of immigration enforcement proceed-
                 ings unless the requestor poses a risk to national secu-
                 rity or public safety, or meets the criteria for the issu-
                 ance of a Notice To Appear [“NTA’’] or a referral to
                 ICE under the [NTA] criteria.” Ex. B, Rescission
                 FAQs Q8 (emphasis added).
                    123. The addition of the qualifier “generally”—
                 devoid of any apparent criteria for when DHS would
                 deviate from the “general” policy of non-referral to
                 ICE—and removal of the unequivocal statement that
                 information is “protected” strongly suggests that, in
                 fact, DHS now views DACA grantees’ sensitive infor-
                 mation as available to ICE for previously prohibited
                 purposes, including immigration enforcement.
                   124. DACA applicants are also required to provide
                 DHS with a detailed history of their criminal arrests




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                 and convictions, including all misdemeanors, however
                 minor.
                    125. DACA applicants have relied in good faith on
                 DHS’s promises not to use the information against
                 them and forthrightly informed DHS of minor criminal
                 offenses of which they had been convicted (or for which
                 they were only arrested, regardless of whether they
                 were ultimately convicted). Individuals who applied
                 for DACA with only minor criminal offenses could gain
                 approval under DACA nonetheless because DHS did
                 not regard them as a threat or bar to DACA, since they
                 were of the very lowest enforcement priority. They
                 are now under even more threat than other DACA
                 grantees.
                    126. President Trump also has taken affirmative
                 steps to set the table for eliminating privacy protections
                 applicable to DACA data. In January 2017, President
                 Trump issued an Executive Order entitled “Enhancing
                 Public Safety in the Interior of the United States,” dir-
                 ecting all agencies, including DHS, to “ensure that their
                 privacy policies exclude persons who are not United
                 States citizens or lawful permanent residents from the
                 protections of the Privacy Act regarding personally
                 identifiable information.” Ex. O, Exec. Order No.
                 13,768, 82 Fed. Reg. 8799 § 14 (Jan. 25, 2017). DHS
                 has confirmed that its new privacy policy, adopted in
                 response to the Executive Order, “permits the sharing
                 of information about immigrants and non- immigrants
                 with federal, state, and local law enforcement.” Ex. P,
                 DHS Privacy Policy 2017-01 Questions & Answers No.
                 6 (Apr. 27, 2017).
                    127. Until February 2017, DHS’s enforcement pri-
                 orities were generally consistent with the DACA Mem-
                 orandum, prioritizing people who had committed felo-




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                 nies, serious misdemeanors, or multiple less serious
                 misdemeanors, and making DACA grantees (and oth-
                 ers similarly situated) the lowest enforcement priority.
                    128. The February 2017 Enforcement Priorities
                 Memorandum substantively changed policy with re-
                 spect to how DHS treats individuals with criminal his-
                 tory and radically broadened the categories of people
                 who are to be prioritized for removal. Whereas DHS
                 previously prioritized individuals who had been convic-
                 ted of serious criminal offenses, the new categories now
                 include, among others, those who:
                    (1) Have been convicted of any criminal offense;
                    (2) Have been charged with any criminal offense
                        that has not been resolved; [and]
                    (3) Have committed acts which constitute a charge-
                        able criminal offense[.]
                 Ex. H, Enforcement Priorities Memorandum at 2.
                    Thus, people who have not been convicted of, but
                 only charged with, any criminal offense (or even never
                 charged, but somehow determined to have committed
                 an act constituting a chargeable criminal offense), no
                 matter how low-level, are now prioritized for immigra-
                 tion enforcement. Because any offense triggers prior-
                 ity enforcement, this includes various lower level of-
                 fenses that DACA applicants were required to disclose
                 but that did not make them ineligible for DACA.
                    129. The sweeping Enforcement Priorities Memo-
                 randum replaced DHS’s previous, more targeted en-
                 forcement priorities.       Although this memorandum
                 specifically exempted the DACA program from these
                 new priorities, it is not clear whether or how they apply
                 to DACA grantees and those who lose their protections




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                 on a rolling basis in light of the DACA Rescission
                 Memorandum.
                    130. Given these development—particularly the
                 Enforcement Priorities Memorandum significantly
                 broadening enforcement priorities and the Rescission
                 FAQs changing DHS’s prior policy to shield DACA
                 applicants’ information from ICE—the criteria under
                 which current and former DACA grantees with minor
                 criminal histories are considered for referral to ICE
                 have substantively changed. These individuals are
                 now in danger of being placed in removal proceedings
                 based on information they provided in reliance on
                 DHS’s promises.
                    131. These changes signal Defendants’ intent to re-
                 nege on their assurances and promises and subject
                 DACA applicants to immigration enforcement. At the
                 very least, these changes create confusion about the
                 new risk faced by current and former DACA grantees
                 and former applicants, patticularly those whose DACA
                 protection is ending under the DACA Rescission Mem-
                 orandum.
                    132. Indeed, on June 13, 2017, in testimony before
                 the House Appropriations Committee’s Subcommittee
                 on Homeland Security, Acting ICE Director Thomas
                 Homan stated as to “every immigrant in the country
                 without papers,” that they “should be uncomfortable.
                 You should look over your shoulder. And you need
                 to be worried.” Immigration and Customs Enforce-
                 ment & Customs and Border Protection FY18 Budget
                 Request Before the H. Comm. on Appropriations,
                 115th Cong. (2017) 2017 WLNR 18737622 (emphasis
                 added).
                    133. CNN reported that Homan “doubled down” on
                 these statements in an interview later that week, quot-




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                 ing him to state that “ ‘Trump and his administration
                 have made clear that any undocumented immigrant
                 could be arrested and face deportation proceedings at
                 any time, unless they have current and valid protec-
                 tion under DACA.’ ” Tai Kopan, ICE Director: Un-
                 documented Immigrants ‘Should Be Afraid,’ CNN (June
                 6, 2017), https://tinyurl.com/y88h6zuo (quoting Acting
                 ICE Director Thomas Homan) (emphasis added).
                    134. On April 19, 2017, Attorney General Sessions
                 stated in an interview on Fox News’ “Happening Now”
                 program—in response to a question regarding the de-
                 portation of a DACA grantee—that “ ‘[e]verybody in
                 the country illegally is subject to being deported, so
                 people come here and they stay here a few years and
                 somehow they think they are not subject to being
                 deported—well, they are . . . we can’t promise peo-
                 ple who are here unlawfully that they aren’t going to be
                 deported.’ ” Adam Shaw, Sessions Defends Immigra-
                 tion Policies After Reported ‘DREAMer’ Deportation,
                 Fox News (Apr. 19, 2017), https://tinyurl.com/kym82ce
                 (quoting Attorney General Jefferson B. Sessions).
                    135. Moreover, current litigation in federal court in
                 Georgia demonstrates that even before the DACA Re-
                 scission Memorandum, DHS was terminating individu-
                 als’ DACA due to the Enforcement Priorities Memo-
                 randum’s changed priorities. In that case, Colotl v.
                 Kelly, DHS admitted on the record that Ms. Colotl had
                 met and continued to meet all five DACA criteria.
                 Order [on Preliminary Injunction Motion], Colotl
                 Coyotl v. Kelly, No. 17-1670 (N.D. Ga., June 12, 2017)
                 ECF No. 28 at 17-18. The only reason for the change
                 in DHS’s decision was that—despite the previous as-
                 surances by DHS that DACA-related history would not
                 be used against applicants and with no change in Ms.




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                 Colotl’s criminal history since her application—she had
                 become an enforcement priority under the Enforce-
                 ment Priorities Memorandum “[d]ue to [her] criminal
                 history.” Id. at 6, 18. That criminal history, stem-
                 ming from a 2010 arrest for allegedly blocking traffic
                 while waiting for a parking space, had been disclosed
                 on Ms. Colotl’s initial DACA application and subse-
                 quent renewal requests, each of which were approved
                 until the denial based solely on the Enforcement Prior-
                 ities Memorandum. The court ruled in favor of Ms.
                 Colotl, granting her request for a preliminary injunc-
                 tion and holding that since DACA was still in effect at
                 the time DHS sought to revoke her DACA, and DHS
                 had established procedures with respect to notice and
                 termination, she was likely to prevail on her claim that
                 DHS violated the APA by failing to comply with its own
                 administrative processes and procedures. Id. at 30-33.
                    136. Defendants’ conduct in inducing DACA appli-
                 cants to provide sensitive personal information and
                 then removing that protection impacts all DACA grant-
                 ees, not just those with minor criminal histories.
                 DACA applicants were not only required to provide in-
                 formation that could be used to easily find and arrest
                 them; they were required to undergo fingerprinting
                 regardless of criminal history. DACA grantees are
                 now at risk that this type of biometric information will
                 be used against them for immigration enforcement pur-
                 poses.
                 VII. DACA GRANTEES CAN NO LONGER TRAVEL OUTSIDE
                      THE COUNTRY

                    137. Under DACA, DACA grantees were allowed to
                 apply to receive authorization from USCIS for “ad-
                 vance parole” to travel outside of the United States by
                 submitting Form I-131, Application for Travel Docu-




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                 ment and paying a filing fee of $575. USCIS approves
                 advance parole on a case-by-case basis.
                    138. USCIS affirmatively represented to DACA ap-
                 plicants that, if USCIS decides to defer action, the ap-
                 plicant may request advance parole to travel outside
                 the United States for educational, employment, or hu-
                 manitarian purposes. Ex. E, DACA FAQs Q57.
                    139. The DACA Rescission Memorandum termina-
                 ted the ability of DACA grantees to travel outside the
                 United States during their renewed benefit period, in-
                 cluding for those who have already submitted requests
                 for advance parole in reliance on DHS’s prior repre-
                 sentations that advance parole was available to them.
                 Under the DACA Rescission Memorandum, DHS is
                 now categorically prohibited from granting advance
                 parole for DACA grantees and “[w]ill not approve any
                 new Form I-131 applications for advance parole under
                 standards associated with the DACA program[.]’’ Ex.
                 A, DACA Rescission Memorandum. In addition, DHS
                 “[w]ill administratively close all pending Form I-131
                 applications for advance parole filed under standards
                 associated with the DACA program, and will refund all
                 associated fees.” Id. Those who have pending appli-
                 cations are therefore denied advance parole without any
                 assessment being conducted using the criteria set forth
                 previously by DHS for advance parole requests.
                    140. Many DACA grantees have applied for and re-
                 ceived advance parole from USCIS and have paid the
                 required fees. The DACA Rescission Memorandum
                 states that DHS will “generally” honor the previously
                 approved applications for advance parole, clearly sig-
                 naling that sometimes it will not. Many of those
                 DACA grantees who relied on USCIS authorization of
                 advance parole are currently travelling abroad visiting




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                 family or for other authorized reasons. Given DHS’s
                 unambiguous shift in policy towards prohibiting the
                 case-by-case determination of advance parole for other
                 DACA grantees, DACA grantees with approved ad-
                 vance parole now face uncertainty and risk of not being
                 able to return to their homes in the United States.
                              FIRST CAUSE OF ACTION
                     (Violation of Fifth Amendment—Due Process—
                                    Information Use)
                    141. Plaintiff States re-allege and incorporate by
                 reference the allegations set forth in each of the pre-
                 ceding paragraphs of this Complaint.
                    142. The Due Process Clause of the Fifth Amend-
                 ment requires that immigration enforcement actions
                 taken by the federal government be fundamentally fair.
                    143. Given the federal government’s representa-
                 tions about the allowable uses of information provided
                 by DACA applicants, Defendants’ change in policy on
                 when to allow the use of information contained in
                 DACA applications and renewal requests for purposes
                 of immigration enforcement, including identifying, ap-
                 prehending, detaining, or deporting non-citizens, is
                 fundamentally unfair.
                    144. Through their actions above, Defendants have
                 violated the due process guarantee of the Fifth Amend-
                 ment.
                    145. Defendants’ violation causes ongoing harm to
                 Plaintiff States and their residents.




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                              SECOND CAUSE OF ACTION
                      (Violation of Administrative Procedure Act—
                                      5 U.S.C. § 553)
                    146. Plaintiff States re-allege and incorporate by
                 reference the allegations set forth in each of the pre-
                 ceding paragraphs of this Complaint.
                    147. The APA requires the Court to “ hold unlawful
                 and set aside agency action” taken “without observance
                 of procedure required by law.” 5 U.S.C. § 706(2)(D).
                    148. DHS is an “agency” under the APA. 5 U.S.C.
                 § 551(1). The DACA Rescission Memorandum is a
                 “rule” and an “agency action” under the APA, 5 U.S.C.
                 § 551(4), (13), and constitutes “[a]gency action made re-
                 viewable by statute and final agency action for which
                 there is no other adequate remedy in a court.”
                 5 U.S.C. § 704.
                    149. With exceptions that are not applicable here,
                 agency rules must go through notice-and-comment
                 rulemaking. 5 U.S.C. § 553.
                    150. Defendants promulgated and have relied upon
                 the DACA Rescission Memorandum without notice-and-
                 comment rulemaking in violation of the APA.
                     151. Defendants’ violation causes ongoing harm to
                 Plaintiff States and their residents, who have been de-
                 nied the opportunity to comment about Defendants’ de-
                 cision to repeal DACA. These injuries, including spe-
                 cific harms alleged above to the Plaintiff States’ univer-
                 sities, agencies and institutions, and their economies
                 and healthcare systems, all fall within the zone of in-
                 terests encompassed by the broad scope of the Immi-
                 gration and Naturalization Act (“INA”), 8 U.S.C.
                 et seq.




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                               THIRD CAUSE OF ACTION
                      (Violation of Administrative Procedure Act—
                                      5 U.S.C. § 706)
                    152. Plaintiff States re-allege and incorporate by
                 reference the allegations set forth in each of the pre-
                 ceding paragraphs of this Complaint.
                    153. The APA requires the Court to “hold unlawful
                 and set aside agency action” that is “(A) arbitrary, ca-
                 pricious, an abuse of discretion, or otherwise not in ac-
                 cordance with law; (B) contrary to constitutional right,
                 power, privilege, or immunity; [or] (C) in excess of stat-
                 utory jurisdiction, authority, or limitations, or short of
                 statutory right[.]” 5 U.S.C. § 706(2).
                    154. In implementing the DACA Rescission Mem-
                 orandum without a proper basis, Defendants have act-
                 ed arbitrarily and capriciously, have abused their dis-
                 cretion, have acted otherwise not in accordance with
                 law, and have taken unconstitutional and unlawful ac-
                 tion in violation of the APA.
                     155. Defendants’ violation causes ongoing harm to
                 Plaintiff States and their residents. These injuries
                 fall within the zone of interests encompassed by the
                 INA.
                              FOURTH CAUSE OF ACTION
                       (Violation of the Regulatory Flexibility Act)
                    156. Plaintiff States re-allege and incorporate by
                 reference the allegations set forth in each of the pre-
                 ceding paragraphs of this Complaint.
                    157. The Regulatory Flexibility Act, 5 U.S.C.
                 §§ 601-612 (“RFA”), requires federal agencies to ana-
                 lyze the impact of rules they promulgate on small enti-




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                 ties and publish initial and final versions of those anal-
                 yses for public comment. 5 U.S.C. §§ 603-604.
                    158. “Small entities” for purposes of the RFA in-
                 clude small businesses, small nonprofits, and small gov-
                 ernmental jurisdictions. 5 U.S.C. § 601(6).
                    159. The DACA Rescission Memorandum is a
                 “rule” under the RFA. 5 U.S.C. § 601(2).
                    160. The actions that DHS has taken to implement
                 the DACA Rescission Memorandum are likely to have
                 a significant economic impact on a substantial number
                 of small entities. 5 U.S.C. § 602(a)(1).
                    161. Defendants have not issued the required anal-
                 yses of the rule.
                    162. Defendants’ failure to issue the initial and final
                 regulatory flexibility analyses violates the RFA and is
                 unlawful.
                    163. Defendants’ violation causes ongoing harm to
                 Plaintiff States and to their residents, who have been
                 denied the ability to comment on the impact of DACA’s
                 rescission on small entities.
                               FIFTH CAUSE OF ACTION
                        (Declaratory Relief—Equitable Estoppel)
                    164. Plaintiff States re-allege and incorporate by
                 reference the allegations set forth in each of the pre-
                 ceding paragraphs of this Complaint.
                    165. Through its conduct and statements, DHS rep-
                 resented to DACA applicants that information collected
                 as part of their applications would not be used against
                 them in future immigration proceedings and that DACA
                 was a lawful exercise of its discretion.




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                    166. In reliance on DHS’s repeated assurances,
                 DACA applicants, risking removal and deportation,
                 came forward and identified themselves to DHS and
                 provided detailed information, including fingerprints
                 and criminal history, in order to participate in DACA.
                    167. Throughout the life of DACA, DHS continued
                 to make affirmative representations about the use of
                 information as well as the validity and legality of pro-
                 grams like DACA. DACA applicants relied on DHS’s
                 continuing representations to their detriment.
                    168. DACA grantees rearranged their lives to be-
                 come fully visible and contributing members of society
                 by seeking employment, pursuing higher education,
                 and paying taxes, but are now at real risk of removal
                 and deportation, particularly those with minor criminal
                 histories who fall squarely within the new enforcement
                 priorities set forth in the Enforcement Priorities Mem-
                 orandum.
                    169. Accordingly, Defendants should be equitably
                 estopped from using information provided to DHS pur-
                 suant to DACA for immigration enforcement purposes,
                 except as previously authorized under DACA.
                    170. An actual controversy between Plaintiff States
                 and Defendants exists as to whether Defendants should
                 be equitably estopped.
                    171. Plaintiff States are entitled to a declaration
                 that Defendants are equitably estopped.
                               SIXTH CAUSE OF ACTION
                   (Violation of Fifth Amendment—Equal Protection)
                    172. The Plaintiff States re-allege and incorporate
                 by reference the allegations set forth in each of the
                 preceding paragraphs of this Complaint.




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                   173. The Due Process Clause of the Fifth Amend-
                 ment prohibits the federal government from denying
                 equal protection of the laws.
                    174. The rescission of DACA violates fundamental
                 conceptions of justice by depriving DACA grantees, as
                 a class, of their substantial interests in pursuing a
                 livelihood to support themselves and further their edu-
                 cation.
                    175. The deprivation of these interests is directly
                 traceable to the Defendants’ rescission of DACA and
                 cannot be sufficiently justified by federal interests.
                    176. Through the above actions, Defendants have
                 discriminated against DACA grantees in violation of
                 the equal protection guarantee of the Fifth Amend-
                 ment.
                    177. Defendants’ violation causes ongoing harm to
                 the Plaintiff States and their residents. Among other
                 things, the Plaintiff States will be impacted because
                 DACA grantees will no longer be able to work as State
                 employees, contribute to the States’ economies, or at-
                 tend the States’ educational institutions.
                                PRAYER FOR RELIEF
                 WHEREFORE, Plaintiff States respectfully request
                 that this Court enter judgment in their favor, and
                 grant the following relief:
                    1.   Declare that the DACA Rescission Memoran-
                 dum is unauthorized by and contrary to the Constitu-
                 tion and laws of the United States;
                    2.   Declare that the actions that Defendants have
                 taken to implement the DACA Rescission Memoran-
                 dum were taken without observance of procedure re-




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                 quired by law in violation of 5 U.S.C. §§ 702-706 (the
                 APA);
                    3.   Declare that the actions that Defendants have
                 taken to implement the DACA Rescission Memoran-
                 dum are arbitrary, capricious, an abuse of discretion,
                 and otherwise not in accordance with law in violation of
                 5 U.S.C. §§ 702-706 (the APA);
                    4.   Declare that Defendants’ failure to analyze the
                 impact of the actions they have taken to implement the
                 DACA Rescission Memorandum on small entities, and
                 Defendants’ failure to publish initial and final versions
                 of those analyses for public comment, are unlawful
                 under 5 U.S.C. §§ 601-612 (the RFA);
                    5.   Declare that Defendants are equitably es-
                 topped from using information provided to Defendants
                 pursuant to DACA for immigration enforcement pur-
                 poses except as previously authorized under the DACA
                 Memorandum;
                   6.    Enjoin Defendants from rescinding DACA or
                 engaging in any action to frustrate its full and contin-
                 ued implementation;
                    7.    Enjoin Defendants from using information ob-
                 tained in any DACA application or renewal request to
                 identify, apprehend, detain, or deport any DACA ap-
                 plicant or member of any DACA applicant’s family, or
                 take any action against a DACA applicant’s current or
                 former employer; and
                    8.    Award such additional relief as the interests of
                 justice may require.




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                 Dated:   Sept. 11, 2017
                     Respectfully submitted,
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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA


                               Civil Case No. 3:17-cv-05211
                    THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
                   AND JANET NAPOLITANO, IN HER OFFICIAL CAPACITY
                   AS PRESIDENT OF THE UNIVERSITY OF CALIFORNIA,
                                     PLAINTIFFS
                                             v.
                   U.S. DEPARMTENT OF HOMELAND SECURITY AND
                  ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                   SECRETARY OF THE DEPARTMENT OF HOMELAND
                             SECURITY, DEFENDANTS


                                   Filed: Sept. 8, 2017

                        COMPLAINT FOR DECLARATORY AND
                              INJUNCTIVE RELIEF


                    Plaintiffs The Regents of the University of Califor-
                 nia (“UC” or “the University”), on its own behalf and
                 on behalf of all students currently enrolled at the Uni-
                 versity, and Janet Napolitano, in her official capacity as
                 President of the University of California (together
                 “Plaintiffs”), bring this action for declaratory and in-
                 junctive relief against the Department of Homeland
                 Security (“DHS”) and Acting Secretary of Homeland
                 Security, Elaine Duke (together, “Defendants”), and
                 allege as follows:
                                      INTRODUCTION
                    1.   This lawsuit, brought under the Due Process
                 Clause of the Fifth Amendment to the United States




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                 Constitution and the Administrative Procedure Act
                 (“APA”), 5 U.S.C. § 706, challenges Defendants’ unlaw-
                 ful decision to rescind the Deferred Action for Child-
                 hood Arrivals (“DACA”) program, which protected
                 from deportation nearly 800,000 individuals brought to
                 this country as children, known as Dreamers. Under
                 DACA, the Dreamers, who came to the United States
                 through no choice of their own, who have clean records,
                 and who have lived continuously in the United States
                 since 2007, were permitted to live, work, and study in
                 this country without fear of deportation. The United
                 States, and the University, have benefited enormously
                 from the presence of the Dreamers, accomplished young
                 men and women who are our students, and colleagues,
                 and neighbors. They are Americans, a fact that Defen-
                 dants’ precipitous decision cannot change.
                    2.    As a result of Defendants’ actions, the Dream-
                 ers face expulsion from the only country that they call
                 home, based on nothing more than unreasoned execu-
                 tive whim. The University faces the loss of vital mem-
                 bers of its community, students and employees. It is
                 hard to imagine a decision less reasoned, more damag-
                 ing, or undertaken with less care. As explained below,
                 Defendants’ capricious rescission of the DACA pro-
                 gram violates both the procedural and substantive re-
                 quirements of the APA, as well as the Due Process
                 Clause of the Fifth Amendment. Accordingly, De-
                 fendants’ unconstitutional, unjust, and unlawful action
                 must be set aside.
                    3.   On June 15, 2012, former Secretary of Home-
                 land Security Janet Napolitano announced that indi-
                 viduals who arrived in the United States as children
                 and met certain criteria, and who otherwise satisfied
                 DHS’s exercise of discretion, could apply for deferred




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                 action for two-year periods, subject to renewal. See
                 Memorandum from Janet Napolitano, Sec’y of Home-
                 land Security, to Alejandro Mayorkas, Director, U.S.
                 Citizenship and Immigration Servs. et al., Exercising
                 Prosecutorial Discretion With Respect to Individuals
                 Who Came to the United States as Children (June 15,
                 2012) (“DACA Memorandum”). DACA allowed these
                 individuals to live, study, and work in the United States
                 without fear that they could be arrested and deported
                 at any time. Because of the program, DACA recipi-
                 ents were able to pursue opportunities in higher educa-
                 tion, to more readily obtain driver’s licenses and access
                 lines of credit, to obtain jobs and access to certain So-
                 cial Security and Medicare benefits, and to contribute
                 to their communities and American society in countless
                 ways.
                    4.    The University directly benefited from the
                 DACA program, in its capacities as educator and em-
                 ployer. UC has approximately 4,000 undocumented
                 students, a substantial number of whom are DACA re-
                 cipients. Many of its staff members are also DACA
                 recipients. These individuals make important contri-
                 butions to University life, expanding the intellectual
                 vitality of the school, filling crucial roles as medical
                 residents, research assistants, and student government
                 leaders, and increasing the diversity of the community.
                    5.   Over the past five years, DACA recipients
                 have structured their lives—and the University has
                 made significant investments—on the government’s
                 express assurances that if they self-identified, regis-
                 tered with federal law enforcement agencies, and
                 passed an extensive background investigation, they
                 would be shielded from deportation and allowed to
                 work in the United States for renewable two-year




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                 periods. Yet despite the substantial and well-founded
                 reliance that these individuals and the University
                 placed in the continuation of the DACA program, on
                 September 5, 2017, Defendants suddenly and unilater-
                 ally rescinded it. See Ex. A, Memorandum on Rescis-
                 sion Of Deferred Action For Childhood Arrivals (Sept.
                 5, 2017) (hereinafter the “Rescission”).
                    6.    The Rescission, which renders DACA recipi-
                 ents once more subject to deportation, has profound
                 consequences for the University and its students. As
                 a result of Defendants’ actions, DACA recipients face
                 the loss of their livelihood, education, and country.
                 The University and all of its students will lose the
                 contributions of valued colleagues and employees.
                 The University also will lose intellectual capital and
                 productivity, as DACA recipients are deprived of the
                 work authorizations needed to serve in the professional
                 roles in which both they and the University have so
                 heavily invested.
                    7.    In the Rescission, Defendants offered no rea-
                 soned basis for their cancellation of DACA, instead
                 merely pointing to the purported illegality of another
                 program known as Deferred Action for Parents of Amer-
                 icans and Lawful Permanent Residents (“DAPA”), and
                 stating that in light of the Fifth Circuit’s conclusion
                 that DAPA is unlawful, “it is clear that [DACA] should
                 be terminated.” As explained below, rescinding DACA
                 on this specious basis was procedurally and substan-
                 tively invalid under the APA and violated the Due
                 Process Clause of the Fifth Amendment.
                    8.   Agency action is invalid under the APA if it is
                 “arbitrary, capricious, an abuse of discretion, or other-
                 wise not in accordance with law,” or if it is taken “with-
                 out observance of procedure required by law.” 5 U.S.C.




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                 § 706(2). To survive judicial review under the APA,
                 an agency must “articulate a satisfactory explanation
                 for its action including a ‘rational connection between
                 the facts found and the choice made.’ ” Motor Vehicle
                 Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto.
                 Ins. Co., 463 U.S. 29, 43 (1983). In determining whether
                 an agency has complied with this requirement, a court
                 must conduct a “thorough, probing, in-depth review” of
                 the agency’s reasoning and a “searching and careful”
                 inquiry into the factual underpinnings of the agency’s
                 decision. Citizens to Preserve Overton Park, Inc. v.
                 Volpe, 401 U.S. 402, 415-16 (1971). Here, in multiple
                 respects, Defendants failed to “articulate a satisfactory
                 explanation” for their action that would enable a court
                 to conclude that the decision was “the product of rea-
                 soned decisionmaking.” State Farm, 463 U.S. at 52.
                     9.   As an initial matter, Defendants’ reliance on
                 the purported illegality of DAPA is an entirely insuffi-
                 cient basis on which to terminate DACA. DAPA is a
                 separate program from DACA. The two programs
                 were governed by different sets of rules, applied to dif-
                 ferent individuals, and conferred different benefits.
                 Therefore, the alleged illegality of DAPA does not jus-
                 tify the rescission of DACA, and Defendants’ failure to
                 recognize the many differences between the programs
                 renders their decision unreasonable.
                     10. Because the Rescission is based on an incor-
                 rect legal premise—the purported illegality of DACA—
                 it cannot survive judicial review under the APA. See,
                 e.g., Massachusetts v. EPA, 549 U.S. 497, 532 (2007)
                 (holding that action was unlawful under the APA be-
                 cause agency based its decision on incorrect legal con-
                 clusion); Safe Air For Everyone v. EPA, 488 F.3d 1088,
                 1101 (9th Cir. 2007) (“Because that flawed premise is




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                 fundamental to EPA’s determination . . . EPA’s
                 outcome on those statutory interpretation questions is
                 arbitrary, capricious, or otherwise not in accordance
                 with law.”).
                    11. Despite Defendants’ conclusory assertion that
                 DACA “has the same legal and constitutional defects”
                 as DAPA, no court has held that DACA is unlawful.
                 Instead, DHS has previously concluded that programs
                 like DACA are a lawful exercise of the Executive
                 Branch’s broad statutory authority to administer and
                 enforce the Immigration and Nationality Act, 8 U.S.C.
                 § 1101, et seq. See Brief for Petitioners, United States
                 v. Texas, 2016 WL 836758 (2016) (No. 15-674). Simi-
                 larly, the Department of Justice’s Office of Legal
                 Counsel (“OLC”)—whose legal advice is binding on the
                 Executive Branch—provided a thoughtful and nuanced
                 analysis of DAPA in 2014, concluding that DAPA, as
                 well as DACA, was a lawful exercise of the Executive
                 Branch’s prosecutorial discretion. Dep’t of Homeland
                 Sec.’s Auth. to Prioritize Removal of Certain Aliens
                 Unlawfully Present in the United States & to Defer
                 Removal of Others, 2014 WL 10788677 (O.L.C. Nov. 19,
                 2014).
                     12. The Rescission fails to acknowledge—let alone
                 explain—the government’s departure from its own
                 prior interpretations of the law. Indeed, DHS vigor-
                 ously defended the legality of DAPA in the Supreme
                 Court less than two years ago. See Brief for Petition-
                 ers, supra. Yet in making the unfounded assertion
                 that DACA is illegal for the same reasons that DAPA is
                 illegal, Defendants neither addressed the compelling
                 arguments set forth in DHS’s own brief before the
                 Supreme Court and in OLC’s 2014 Opinion, nor offered
                 a reasonable explanation for why their current view of




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                 the law is superior to the view they and OLC previously
                 espoused. Those failures, standing alone, are enough to
                 render their decision unlawful under the APA.
                    13. Defendants compound the irrationality of their
                 decision by failing to acknowledge the profound reli-
                 ance interests implicated by DACA and the hundreds
                 of thousands of individuals, employers, and universities
                 who will be substantially harmed by the termination of
                 the program. The Supreme Court has emphasized
                 that the presence of serious reliance interests requires
                 an agency to proffer a “more substantial justification”
                 than otherwise would be required when the agency
                 changes course. See Perez v. Mortg. Bankers Ass’n,
                 135 S. Ct. 1199, 1209 (2015); FCC v. Fox Television
                 Stations, 556 U.S. 502, 515 (2009). Here, Defendants
                 entirely failed to comply with that directive.
                    14. Defendants did not analyze the actual costs
                 and benefits of allowing DACA recipients to live and
                 work in this country, nor did they acknowledge the
                 manifold benefits that have resulted from the program
                 or the harm that institutions like the University—as
                 well as its students—would suffer as a result of the Re-
                 scission. By failing to consider these factors and the
                 interests at stake, Defendants have failed to satisfy the
                 APA’s requirement of reasoned decision-making.
                    15. The Rescission also should be set aside be-
                 cause it is procedurally invalid. By prohibiting DHS
                 from granting advance parole or renewing recipients’
                 DACA status after October 5, 2017, the Rescission cir-
                 cumscribes DHS’s discretion and therefore constitutes
                 a substantive rule. See W.C. v. Bowen, 807 F.2d 1502,
                 1505 (9th Cir. 1987), opinion amended on denial of
                 reh’g, 819 F.2d 237 (9th Cir. 1987) (“Rules which sub-
                 stantially limit an agency’s discretion are generally




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                 substantive rules.”). Additionally, in contrast to the
                 case-by-case assessment of individual applicants pro-
                 vided under DACA, the Rescission is a categorical rule,
                 which applies to all DACA recipients. This too un-
                 derscores the substantive nature of the Rescission,
                 which is subject to the full range of the APA’s rule-
                 making requirements, including the notice-and-comment
                 requirement of 5 U.S.C. § 553. See Paulsen v. Dan-
                 iels, 413 F.3d 999, 1003-04 (9th Cir. 2005) (holding that
                 Bureau of Prisons “plainly violated the APA” by prom-
                 ulgating a rule that barred category of prisoners from
                 relief without notice). Defendants’ failure to abide by
                 these mandatory procedural requirements renders
                 their action unlawful.
                     16. Finally, in rescinding DACA, Defendants vio-
                 lated the Due Process Clause of the United States
                 Constitution by failing to provide the University with
                 any process before depriving it of the value of the pub-
                 lic resources it invested in DACA recipients, and the
                 benefits flowing from DACA recipients’ contributions
                 to the University. More fundamentally, they failed to
                 provide DACA recipients with any process before de-
                 priving them of their work authorizations and DACA
                 status, and the benefits that flow from that status.
                                       THE PARTIES
                    17. Plaintiff The Regents of the University of Cali-
                 fornia is a California public corporation, authorized and
                 empowered to administer a public trust known as the
                 University of California, pursuant to Article IX, Sec-
                 tion 9, subdivisions (a) and (f ) of the California Consti-
                 tution. Its principal place of business is in Oakland,
                 Alameda County, California. The University brings
                 this complaint on behalf of itself and on behalf of all
                 students currently enrolled at the University. Ap-




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                 proximately 4,000 undocumented students are enrolled
                 at the University, a substantial number of whom are
                 DACA recipients. Some of these recipients are also
                 employed by the University.
                    18. Plaintiff Janet Napolitano is a resident of Cal-
                 ifornia. She brings this complaint in her official ca-
                 pacity as President of the University of California.
                    19. Defendant DHS is a federal cabinet agency re-
                 sponsible for implementing and enforcing the Immi-
                 gration and Nationality Act (“INA”). DHS is a De-
                 partment of the Executive Branch of the United States
                 Government and an agency within the meaning of
                 5 U.S.C. § 551(1). DHS, as well as its component
                 agencies U.S. Citizenship and Immigration Services
                 (“USCIS”), U.S. Customs and Border Protection
                 (“CBP”), and U.S. Immigration and Customs Enforce-
                 ment (“ICE”), have responsibility for, among other
                 things, administering and enforcing the nation’s immi-
                 gration laws and policies, including the DACA pro-
                 gram.
                    20. Defendant Elaine Duke is the Acting Secre-
                 tary of DHS and, in the absence of a Secretary, is the
                 senior official of DHS. She is sued in her official ca-
                 pacity. Acting Secretary Duke issued the Rescission
                 on September 5, 2017.
                                     JURISDICTION
                    21. This action arises under the Due Process
                 Clause of the Fifth Amendment, U.S. Const. amend. V;
                 and the APA, 5 U.S.C. § 550 et seq. This Court has
                 jurisdiction pursuant to 28 U.S.C. §§ 1331, 1361, and
                 2201-2202.




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                    22. There exists an actual and justiciable contro-
                 versy between Plaintiffs and Defendants requiring res-
                 olution by this Court. Plaintiffs have no adequate
                 remedy at law.
                                          VENUE
                    23. Venue is proper in the Northern District of
                 California pursuant to 28 U.S.C. § 1391(e), because this
                 is a civil action in which Defendants are an agency, or
                 officers of an agency, of the United States, because a
                 substantial part of the events or omissions giving rise
                 to this action occurred in the District, and, further,
                 because Plaintiffs reside in this District and no real
                 property is involved in the action.
                               INTRADISTRICT ASSIGNMENT
                    24. Pursuant to Local Rule 3-2(c), intradistrict as-
                 signment is proper in San Francisco or Oakland be-
                 cause a substantial part of the events or omissions
                 which give rise to the claim occurred in the County of
                 Alameda.
                                      BACKGROUND
                    A.   The DACA Program
                    25. On June 15, 2012, the Secretary of Homeland
                 Security Janet Napolitano announced that individuals
                 who arrived in the United States as children and met
                 certain criteria could apply for deferred action for two-
                 year periods, subject to renewal. See DACA Memo-
                 randum. In establishing the program, the Secretary
                 elected to extend deferred action to “certain young
                 people who were brought to this country as children
                 and know only this country as home.” Id. The Sec-
                 retary emphasized that federal immigration laws are
                 “not designed . . . to remove productive young
                 people to countries where they may not have lived or




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                 even speak the language. Indeed, many of these
                 young people have already contributed to our country
                 in significant ways.” Id. This program is known as
                 Deferred Action for Childhood Arrivals (“DACA”).
                    26. Individuals were eligible for the program if
                 they (1) came to the United States when they were
                 under the age of sixteen; (2) continuously resided in the
                 United States since June 15, 2007, and were present in
                 the United States on June 15, 2012, and on the date
                 they requested DACA; (3) were currently in school,
                 had graduated from high school, had obtained a gen-
                 eral education development certificate, or were an
                 honorably discharged veteran of the Coast Guard or
                 Armed Forces of the United States; (4) had not been
                 convicted of a felony, a significant misdemeanor, or
                 three or more other misdemeanors, and otherwise did
                 not pose a threat to national security or public safety;
                 (5) did not have lawful immigration status on June 15,
                 2012; and (6) were under the age of 31 as of June 15,
                 2012. See id.; see also Ex. B, U.S. Citizenship & Im-
                 migration Servs.: Consideration of Deferred Action
                 for Childhood Arrivals Process (Aug. 26, 2017) (herein-
                 after “USCIS FAQs”). Individuals who met these
                 criteria were then eligible for an exercise of prosecuto-
                 rial discretion, following an individualized review of
                 their applications. See DACA Memorandum.
                     27. When they applied for admission to the pro-
                 gram, DACA recipients were required to disclose sen-
                 sitive, personal information to Defendants, including
                 their lack of lawful immigration status as of June 15,
                 2012, their date of initial entry into the United States,
                 their country of birth, their current and previous mail-
                 ing addresses, and other contact information. See




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                 USCIS Form I-821D; USCIS Form I-821D Instruc-
                 tions.
                    28. Continuing their longstanding practice with
                 respect to deferred-action applications, Defendants re-
                 peatedly promised DACA applicants that the informa-
                 tion they submitted as part of their applications would
                 not be used for civil immigration enforcement purposes
                 against DACA applicants or their families. See USCIS
                 FAQs; Form I-821D Instructions. Because only indi-
                 viduals who might be subject to removal proceedings
                 would apply for DACA, this promise was necessary for
                 individuals to submit applications without fear that the
                 Executive Branch was using DACA as a way to find
                 and remove undocumented immigrants.
                    29. Individuals who received deferred action under
                 DACA were not subject to removal for a period of two
                 years, subject to renewal. See DACA Memorandum.
                    30. DACA recipients also were eligible for work
                 authorizations that allowed them to work legally in the
                 United States, pursuant to a long-standing federal reg-
                 ulation. See id.; 8 C.F.R. § 274a.12(c)(14) (providing
                 that “an alien who has been granted deferred action”
                 may obtain work authorization upon demonstrating
                 economic necessity); USCIS FAQs (“Under existing
                 regulations, an individual whose case has been deferred
                 is eligible to receive employment authorization for the
                 period of deferred action, provided he or she can dem-
                 onstrate ‘an economic necessity for employment.’ ”).
                 An individual’s work authorization expires at the same
                 time as his or her DACA status and could be renewed
                 upon a renewal of DACA status.
                    31. Individuals with DACA status were “not con-
                 sidered to be unlawfully present during the period in
                 which deferred action [was] in effect.” USCIS FAQs.




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                    32. Since the program was first introduced in
                 2012, nearly 800,000 individuals received DACA status.
                 This includes an estimated 242,339 residents of the
                 State of California. See Number of I-821D, Consider-
                 ation of Deferred Action for Childhood Arrivals by
                 Fiscal Year, Quarter, Intake, Biometrics and Case
                 Status: 2012-2017 (Mar. 31, 2017); Carolyn Jones,
                 California Colleges Undaunted by Trump’s Decision to
                 Phase out DACA, EDSOURCE (Sept. 1, 2017), https://
                 edsource.org/2017/california-colleges-undaunted-by-
                 trumps-threat-to-end-daca/586746.
                    B.   The Many Benefits of DACA
                    33. As noted above, DACA recipients have con-
                 tributed in innumerable ways to the intellectual and
                 social fabric of the University.
                    34. As an institution whose core mission is serving
                 the interests of the State of California, the University
                 seeks “to achieve diversity among its student bodies
                 and among its employees.” See Academic Senate of
                 the Univ. of Cal., Regents Policy 4400: Policy of Uni-
                 versity of California Diversity Statement, UNIV. OF
                 CAL.: BOARD OF REGENTS, http://regents.universityof
                 california.edu/governance/policies/4400.html. The Uni-
                 versity recognizes the importance of diversity to its
                 academic mission, as it allows “students and faculty [to]
                 learn to interact effectively with each other, preparing
                 them to participate in an increasingly complex and
                 pluralistic society.” Id. The educational experience
                 of all University students is fuller and more enriching
                 when ideas are “born and nurtured in a diverse com-
                 munity.” Id. DACA students at the University are
                 an integral part of that community. Their talent, per-
                 spectives, and experiences are invaluable contributions
                 to University life.




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                    35. DACA recipients also make significant contri-
                 butions to University life in their role as employees.
                 They work at UC campuses and in UC medical centers
                 as teaching assistants, research assistants, post-docs,
                 and health care providers. DACA recipients often
                 possess valuable foreign language skills. By allowing
                 DACA recipients to work lawfully, DACA moved re-
                 cipients out of the informal economy, increasing the
                 pool of talent from which UC could fill positions at the
                 University.
                    36. Additional DACA recipients who are enrolled
                 as students support themselves and cover a portion of
                 their tuition through their part-time work for the Uni-
                 versity. For many of these students, DACA work
                 authorization plays a significant role in their ability to
                 attend UC and continue each year with their chosen
                 program of study.
                    37. The University has invested considerable re-
                 sources in recruiting and retaining these individuals—
                 as students and employees. It has made scarce en-
                 rollment space available to these students on the basis
                 of their individual achievements. It also has invested
                 substantial time, financial aid, research dollars, hous-
                 ing benefits, and other resources in them on the expec-
                 tation that these students will complete their course of
                 study and become productive members of the commu-
                 nities in which the University operates, and other com-
                 munities throughout the nation. The University has
                 significant interests in retaining this wealth of talent
                 and in continuing to enjoy the many benefits of their
                 participation in University life.
                    38. Furthermore, by allowing recipients to receive
                 deferred action and obtain work authorization, DACA
                 opened myriad opportunities to them. As noted above,




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                 DACA recipients became eligible for federal work au-
                 thorization, which significantly improved their opportu-
                 nities for employment and higher paying jobs. Under
                 the program, DACA recipients received social security
                 numbers and therefore were able to access credit more
                 easily. DACA also enabled recipients to obtain driv-
                 er’s licenses in a number of states where they other-
                 wise could not. It also protected these individuals’
                 right to travel freely by making them eligible to receive
                 “advance parole,” which allowed them to travel abroad
                 temporarily for humanitarian, educational, or employ-
                 ment purposes, and to return to the United States law-
                 fully. See 8 C.F.R. § 212.5(f ); USCIS FAQs.
                    C.   Defendants Unlawfully Rescind DACA
                    39. As recently as February 20, 2017, Defendants
                 had reaffirmed the administration’s commitment to
                 DACA, see Memorandum from John Kelly, Sec’y of
                 Homeland Security, Enforcement of the Immigration
                 Laws to Serve the National Interest, at 2 (Feb. 20
                 2017), and up until September 5, 2017, Defendants had
                 continued to approve DACA requests and renewals.
                 Despite President Trump’s claim that DACA recipients
                 “shouldn’t be very worried” and that the Administra-
                 tion would treat DACA recipients “with great heart,”
                 on September 5, 2017, Defendants announced that
                 they were rescinding the program. See Transcript:
                 ABC News anchor David Muir interviews President
                 Trump, ABC NEWS (Jan. 25, 2017) http://abcnews.go.
                 com/Politics/transcript-abc-news-anchor-david-muir-
                 interviews-president/story?id=45047602; see also Mad-
                 eline Conway, Trump Tells Dreamers To “Rest Easy,”
                 Politico.com (Apr. 21, 2017), http://www.politico.com/
                 story/2017/04/21/trump-dreamers-rest-easy-immigration-
                 237463.




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                    40. Defendants announced their decision on the
                 same day as a “deadline” imposed by ten states that
                 threatened to sue the Trump administration if DACA
                 were not rescinded. See Letter from Gov. Abbott to
                 U.S. Att’y General Sessions (June 29, 2017). The Re-
                 scission expressly states that this threat—rather than
                 any reasoned evaluation of the legality and merits of
                 the program—provoked the decision to terminate
                 DACA.
                    41. Prior to DHS’s issuance of the Rescission, At-
                 torney General Jeff Sessions held a press conference in
                 which he asserted that “[o]ur collective wisdom is that
                 the policy is vulnerable to the same legal and constitu-
                 tional challenges that the courts recognized with re-
                 spect to the DAPA program.” See Ex. C, Attorney Gen-
                 eral Sessions Delivers Remarks On DACA (Sept. 5, 2017),
                 https://www.justice.gov/opa/speech/attorney-general-
                 sessions-delivers-remarks-daca (“Press Conference”).
                 Similarly, a September 4, 2017 letter from the Attorney
                 General to Acting Secretary of DHS Duke reiterated
                 that DACA “was effectuated . . . without proper
                 statutory authority” and “was an unconstitutional ex-
                 ercise of authority by the Executive Branch.” See Ex.
                 D, Letter from Att’y General Sessions to Acting Sec’y
                 of DHS Duke (Sept. 4, 2017). The Attorney General
                 also noted the potential of litigation from several states
                 and that DACA was “likely” to be enjoined in that yet-
                 to-be-filed litigation.
                    42. In addition, in his press conference Attorney
                 General Sessions alleged, without offering any evi-
                 dence, that DACA had “denied jobs to hundreds of
                 thousands of Americans by allowing those same jobs to
                 go to illegal aliens.” He also made the specious claim
                 that DACA “contributed to a surge of unaccompanied




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                 minors on the southern border that yielded terrible
                 humanitarian consequences.” See Press Conference.
                 That claim is facially false. DACA by its terms ap-
                 plies only to individuals resident in the United States
                 since June 15, 2007—five years before the program
                 began.
                     43. After the press conference, Acting Secretary
                 of Homeland Security Duke, purporting to act “[i]n the
                 exercise of [her] authority in establishing national im-
                 migration policies and priorities,” formally rescinded
                 the DACA Memorandum. The Rescission states that
                 “it is clear” that DACA “should be terminated” in light
                 of the Fifth Circuit’s ruling in Texas v. United States,
                 809 F.3d 134 (5th Cir. 2015), regarding DAPA, the
                 Supreme Court’s non-precedential affirmance of that
                 ruling by an equally divided court, and the Attorney
                 General’s September 4 letter.
                    44. The President, however, does not appear to
                 share the views of DHS or his Attorney General
                 regarding the legality of DACA. In direct contradic-
                 tion to Defendants’ and Attorney General Sessions’
                 position that the prior administration had exceeded the
                 authority of the Executive Branch in establishing
                 DACA, see Ex. A and Press Conference, the President
                 tweeted on the night of the Rescission, “Congress
                 now has 6 months to legalize DACA (something the
                 Obama Administration was unable to do). If they
                 can’t, I will revisit this issue!” See Donald J. Trump
                 (@realDonaldTrump), Twitter (Sep. 5, 2017, 8:38 PM),
                 https://twitter.com/realDonaldTrump/status/9052286
                 67336499200.
                    45. Although the Rescission concludes that DACA
                 is unlawful, it does not immediately revoke any indi-
                 vidual’s DACA status or work authorization. Instead,




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                 it instructs that “the Department will provide a limited
                 window in which it will adjudicate certain requests for
                 DACA and associated applications.” Specifically, the
                 Rescission explains that DHS will adjudicate pending
                 DACA requests and associated work authorization ap-
                 plications that already had been accepted by the agency
                 as of September 5, 2017, but will reject new requests
                 and applications filed after September 5, 2017. It
                 further states that DHS will adjudicate pending renewal
                 requests and applications from current DACA recipi-
                 ents, as well as renewal requests and applications from
                 current DACA recipients for grants of deferred action
                 that expire between September 5, 2017, and March 5,
                 2018, and that are accepted by the agency as of October
                 5, 2017. Any renewal requests filed after October 5,
                 2017, or any renewal requests for benefits that expire
                 after March 5, 2018, will be rejected. DHS will not
                 terminate the current grants of deferred action to
                 DACA recipients, but instead will allow individuals’
                 DACA status to expire. DHS will not approve any new
                 applications for advance parole and will administra-
                 tively close all pending applications for advance parole.
                 See Ex. A at 4-5.
                    46. Defendants’ decision to rescind the program
                 will have immense and devastating effects on the Uni-
                 versity and all of its students. As a result of the ter-
                 mination of the program, the University and its stu-
                 dents will lose the vital contributions that DACA re-
                 cipients have made as students and employees. See
                 Washington v. Trump, 847 F.3d 1151, 1160 (9th Cir.
                 2017) (“[S]chools have been permitted to assert the
                 rights of their students.”). The civic life of the school
                 will be diminished, the exchange of ideas will be re-
                 duced, teaching and research will be impaired, and di-
                 versity will be more difficult to achieve. The Univer-




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                 sity and its students benefit from cohesive family units,
                 robust civic participation, and the strength of social
                 and educational communities. The Rescission dam-
                 ages each of these interests, in California and nation-
                 wide.
                    47. Moreover, UC students and employees have
                 friends or family members who are DACA recipients,
                 and the University will have to expend resources to
                 address the detrimental effects that the rescission of
                 DACA will have on these individuals’ lives. The Uni-
                 versity also will lose the resources it has spent educat-
                 ing students who ultimately do not graduate.
                    48. As a result of the Rescission, DACA students
                 will be unable to plan for the future, apply for and
                 obtain internships and certain financial aid and schol-
                 arships, study abroad, or work to pay their tuition and
                 other expenses. Students subject to these hardships
                 may choose to withdraw from UC altogether.
                    49. DACA recipients also will be at risk of remov-
                 al. Indeed, in a set of “Talking Points” released the
                 same day of the Rescission, DHS “urge[d] DACA re-
                 cipients to use the time remaining on their work au-
                 thorizations to prepare for and arrange their departure
                 from the United States.” See Talking Points—DACA
                 Rescission. Removal will self-evidently result in the
                 loss of employment, education, and relationships with
                 others in the United States.
                               FIRST CLAIM FOR RELIEF
                    Agency Action That Is Arbitrary and Capricious,
                      An Abuse of Discretion, and Otherwise Not In
                 Accordance with Law in Violation of 5 U.S.C. § 706(2)(A)
                    50. The above paragraphs are incorporated herein
                 by reference.




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                     51. DHS is an agency subject to the requirements
                 of the APA. 5 U.S.C. § 701(b)(1).
                    52. Under 5 U.S.C. § 706(2), courts shall hold un-
                 lawful and set aside agency action that is arbitrary,
                 capricious, an abuse of discretion, or otherwise not in
                 accordance with law; contrary to constitutional right,
                 power, privilege, or immunity; in excess of statutory
                 jurisdiction, authority, or limitations; or without ob-
                 servance of procedure required by law.
                    53. The Rescission constitutes final agency action
                 that is reviewable by this Court.
                    54. The Rescission and actions taken by Defend-
                 ants to rescind DACA are arbitrary and capricious, an
                 abuse of discretion, and not in accordance with law be-
                 cause, among other things, Defendants failed to artic-
                 ulate a reasonable explanation for their actions. In
                 assessing Defendants’ actions under the arbitrary-and-
                 capricious standard, a court “must consider whether
                 the decision was based on a consideration of the rele-
                 vant factors and whether there has been a clear error
                 of judgment.” San Luis & Delta-Mendota Water
                 Auth. v. Jewell, 747 F.3d 581, 601 (9th Cir. 2014) (cita-
                 tion omitted). Here, Defendants have not considered
                 the relevant factors in deciding to revoke DACA.
                 They also have failed to consider important aspects of
                 the issue, including the arguments previously set forth
                 by OLC and DHS as to why DACA is lawful.
                    55. Defendants also disregarded the serious reli-
                 ance interests engendered by the DACA program.
                 Where, as here, significant reliance interests are at
                 stake, Defendants must, in addition to demonstrating
                 that “there are good reasons” for the new policy, offer
                 “a reasoned explanation . . . for disregarding facts
                 and circumstances that underlay or were engendered




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                 by the prior policy.” Fox, 556 U.S. at 515. Defend-
                 ants here have utterly failed in these obligations.
                    56. The Rescission and actions taken by Defend-
                 ants to rescind DACA are arbitrary and capricious, an
                 abuse of discretion, and not in accordance with law be-
                 cause, among other things, they are based on the le-
                 gally incorrect premise that DACA is unlawful.
                    57. The Rescission and actions taken by Defend-
                 ants to rescind DACA are arbitrary and capricious, an
                 abuse of discretion, and not in accordance with law be-
                 cause, among other things, they are contrary to the
                 constitutional protections of the Fifth Amendment.
                   58. The University and its students were harmed
                 and continue to be harmed by these unlawful acts.
                               SECOND CLAIM FOR RELIEF
                     Agency Action Without Observance of Procedure
                   Required by Law in Violation of 5 U.S.C. § 706(2)(D)
                    59. The above paragraphs are incorporated herein
                 by reference.
                     60. The APA requires administrative agencies to
                 follow notice-and-comment rulemaking procedures to
                 promulgate substantive rules. See 5 U.S.C. § 553.
                 The APA defines “rule” broadly to include:
                    the whole or part of an agency statement of general
                    or particular applicability and future effect designed
                    to implement, interpret, or prescribe law or policy
                    or describing the organization, procedure, or prac-
                    tice requirements of an agency and includes the
                    approval or prescription for the future of rates,
                    wages. . . .
                 5 U.S.C. § 551(4).




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                    61. The Rescission constitutes a substantive rule
                 subject to APA’s notice-and-comment requirements.
                    62. The Rescission constitutes a substantive rule
                 because it affirmatively circumscribes DHS’s statutory
                 authority in providing deferred action and prohibits
                 DHS from renewing recipients’ DACA status after
                 October 5, 2017.
                    63. The Rescission constitutes a substantive rule
                 because it includes a ban on current DACA recipients
                 with work authorizations travelling on advance parole.
                    64. The Rescission constitutes a substantive rule
                 because it is a categorical rule, which applies to all DACA
                 recipients.
                    65. In issuing the Rescission and rescinding DACA,
                 Defendants impermissibly announced a new rule with-
                 out undertaking notice-and-comment rulemaking.
                   66. The University and its students were harmed
                 and continue to be harmed by these unlawful acts.
                                THIRD CLAIM FOR RELIEF
                           Violation of Procedural Due Process
                               Under the Fifth Amendment
                    67. The above paragraphs are incorporated herein
                 by reference.
                    68. Under the Fifth Amendment to the Constitu-
                 tion, no person may be deprived of life, liberty, or pro-
                 perty without due process of law.
                    69. The University has constitutionally-protected
                 interests in the multiple educational benefits that flow
                 from a diverse student body. Thousands of DACA
                 students have earned prized places as undergraduate
                 and graduate students at the University of California
                 through their record of high—even extraordinary—




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                 personal achievement in high school and college. In
                 reliance on DACA, the University has chosen to make
                 scarce enrollment space available to these students and
                 to invest in them substantial time, financial aid, re-
                 search dollars, housing benefits, and other resources,
                 on the expectation that these students will complete
                 their course of study and become productive members
                 of the communities in which the University operates,
                 and other communities throughout the nation. If
                 these students leave the University before completing
                 their education, UC will lose the benefits it derives
                 from their contributions, as well as the value of the
                 time and money it invested in these students with the
                 expectation that they would be allowed to graduate and
                 apply their talents in the United States job market.
                    70. UC students who are DACA recipients also
                 have constitutionally-protected interests in their DACA
                 status and the benefits that come from that status, in-
                 cluding the ability to work, to pursue opportunities in
                 higher education, to more readily obtain driver’s li-
                 censes and access lines of credit, to obtain jobs, and to
                 access certain Social Security and Medicare benefits.
                    71. The Rescission and actions taken by Defend-
                 ants to rescind DACA unlawfully deprive the Univer-
                 sity and its students of these and other constitutionally-
                 protected interests without due process of law. Such
                 deprivation occurred with no notice or opportunity to
                 be heard.
                   72. Defendants therefore have violated the Fifth
                 Amendment to the United States Constitution.
                   73. The University and its students were harmed
                 and continue to be harmed by these unlawful acts.




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                                   RELIEF REQUESTED
                    WHEREFORE, Plaintiffs respectfully request that
                 this Court:
                        A. Vacate and set aside the Rescission and any
                    other action taken by Defendants to rescind DACA;
                        B. Declare that the Rescission and actions
                    taken by Defendants to rescind DACA are void and
                    without legal force or effect;
                         C. Declare that the Rescission and actions
                    taken by Defendants to rescind DACA are arbi-
                    trary, capricious, an abuse of discretion, otherwise
                    not in accordance with law, and without observance
                    of procedure required by law in violation of 5 U.S.C.
                    §§ 702-706;
                         D. Declare that the Rescission and actions
                    taken by Defendants to rescind DACA are in viola-
                    tion of the Constitution and contrary to the laws of
                    the United States;
                         E. Preliminarily and permanently enjoin and
                    restrain Defendants, their agents, servants, em-
                    ployees, attorneys, and all persons in active concert
                    or participation with any of them, from implement-
                    ing or enforcing the Rescission and from taking any
                    other action to rescind DACA that is not in compli-
                    ance with applicable law;
                        F. Grant such further relief as this Court
                    deems just and proper.




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                 DATED:       Sept. 8, 2017

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                                NIA and JANET NAPOLITANO, in her
                                official capacity as President of the Uni-
                                versity of California




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                           Civil Action No. 1:17-cv-02325-JDB
                       THE TRUSTEES OF PRINCETON UNIVERSITY
                      PRINCETON, NEW JERSEY 08544; MICROSOFT
                     CORPORATION; ONE MICROSOFT WAY REDMOND,
                    WA 98052; MARIA DE LA CRUZ PERALES SANCHEZ
                      PRINCETON, NEW JERSEY 08544, PLAINTIFFS
                                            v.
                   UNITED STATES OF AMERICA; U.S. DEPARTMENT OF
                  HOMELAND SECURITY, 650 MASSACHUSETTS AVENUE,
                  NW WASHINGTON, DC 20001 AND ELAINE C. DUKE, IN
                   HER OFFICIAL CAPACITY AS ACTING SECRETARY OF
                      THE DEPARTMENT OF HOMELAND SECURITY,
                  650 MASSACHUSETTS AVENUE, NW WASHINGTON, DC
                                20001, DEFENDANTS


                                   Filed: Nov. 3, 2017

                        COMPLAINT FOR DECLARATORY AND
                              INJUNCTIVE RELIEF


                                      COMPLAINT
                    Plaintiff The Trustees of Princeton University
                 (“Princeton” or “the University”)—suing on its own be-
                 half and on behalf of its students—Plaintiff Microsoft
                 Corporation (“Microsoft”), and Plaintiff Maria De La
                 Cruz Perales Sanchez (“Perales Sanchez”) (collectively,
                 “Plaintiffs”) bring this action for declaratory and in-
                 junctive relief against Defendants the United States of
                 America; the U.S. Department of Homeland Security
                 (“DHS”); and Elaine C. Duke, in her official capacity as




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                 Acting Secretary of DHS (“Duke”) (collectively, “De-
                 fendants”), and allege as follows:
                                        INTRODUCTION
                     1. Millions of young people arrived in the United
                 States as children, brought here by immigrant parents
                 searching for safety, stability, and opportunity. Known
                 as Dreamers, these young people were raised here as
                 Americans: they were educated in American commu-
                 nities, surrounded by American friends, struggling and
                 striving alongside their American peers. Many have
                 grown up to be impressive leaders: star students, edu-
                 cators, soldiers, architects, entrepreneurs, lawyers,
                 and scholars, 1 each advancing on their own merit and
                 making considerable contributions to American society.
                 By any measure, these achievements are extraordi-
                 nary. They are all the more impressive considering
                 the uncertainty that long defined their lives. Until
                 2012, Dreamers lived in pervasive fear that they might
                 return home from school or work one day to find im-
                 migration authorities on their doorstep, prepared to
                 take them into custody. Instead of turning to the nor-
                 mal routines of their personal lives—dinner, family,
                 homework—they might be suddenly deported to a
                 country that is in no sense their home.
                    2. DHS finally addressed that untenable situation
                 in 2012 when it created DACA—Deferred Action for

                  1
                     See, e.g., American Dreamers, N.Y. TIMES (2017), https://
                 www.nytimes.com/interactive/projects/storywall/american-dreamers/
                 (featuring stories from individuals who were able to work and study
                 in the United States under DACA); Gregory Korte et al., Trump
                 Administration Struggles with Fate of 900 DREAMers Serving in
                 the Military, USA TODAY (Sept. 7, 2017), https://www.usatoday.
                 com/story/news/politics/2017/09/07/trump-administration-struggles
                 -fate-900-dreamers-serving-military/640637001/.




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                 Childhood Arrivals. DACA provided up to 2 million
                 Dreamers the chance to obtain protection from depor-
                 tation and the opportunity to develop their skills through
                 education. Individuals who received deferred action
                 under DACA were not subject to removal for a period
                 of two years, subject to renewal. DACA also rendered
                 recipients eligible for work authorization that allowed
                 them to work legally anywhere in the United States.
                 To qualify for DACA, Dreamers were required to meet
                 strict conditions: they must have entered this country
                 prior to age sixteen, have resided here continuously
                 since 2007 and been present in the United States on
                 June 15, 2012, and on the date they requested deferred
                 action; be in school, have graduated, or have been dis-
                 charged honorably from the Armed Forces or Coast
                 Guard; pose no threat to public safety or national secu-
                 rity; and have been under the age of 31 as of June 15,
                 2012. To demonstrate their eligibility, Dreamers had
                 to provide the government with detailed and highly
                 sensitive personal information, pay a significant fee,
                 and submit to a rigorous background check.
                     3. Given that most Dreamers had lived for years
                 in fear of federal immigration authorities, asking them
                 to turn over their private information to those same au-
                 thorities was a bold request. The government was
                 aware that Dreamers might reasonably be reluctant to
                 sign up. It accordingly devoted significant resources
                 to an outreach campaign calling on Dreamers to apply
                 for DACA, assuring potential applicants that it would
                 protect their information (and the information of their
                 families and guardians) from disclosure to other agen-
                 cies for purposes of immigration enforcement pro-
                 ceedings.




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                     4. The government’s efforts to encourage Dream-
                 ers to apply for DACA worked. Since 2012, nearly
                 800,000 young people—including Perales Sanchez—
                 have come to rely on DACA. 2 They have made educa-
                 tional plans, pursued career paths, and invested in their
                 lives here based on the government’s promise that they
                 would be safe from deportation so long as they com-
                 plied with DACA’s rules and procedures.             Many
                 Dreamers have gotten married and started families
                 here in the belief that DACA would allow them to re-
                 main in the United States to raise their children.
                 Other Dreamers have taken out significant student
                 loans to pursue higher education and advanced degrees
                 that make them better able to contribute to a growing
                 American economy. They have launched and invested
                 in companies, purchased homes and cars, paid taxes,
                 pursued opportunities to serve our country in the mili-
                 tary, and generally lived full and productive lives out of
                 the shadows that many undocumented immigrants
                 were forced into by the uncertainty that preceded
                 DACA.
                     5. Princeton and Microsoft also have benefited
                 from—and relied upon—DACA. As one of the na-
                 tion’s premiere universities, Princeton devotes sub-
                 stantial resources to recruiting and admitting the most
                 promising students. Since 2012, Princeton has ad-
                 mitted and enrolled at least 21 Dreamers who have
                 relied on the government’s promises regarding DACA,
                 and 15 DACA beneficiaries are currently enrolled as
                 undergraduate students at the University. Similarly,

                  2
                    Jens Manuel Krogstad, Pew Research Ctr., DACA Has Shielded
                 Nearly 790,000 Young Unauthorized Immigrants from Deporta-
                 tion (Sept. 1, 2017), http://www.pewresearch.org/fact-tank/2017/09/01
                 /unauthorized-immigrants-covered-by-daca-face-uncertain-future/.




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                 Microsoft has invested significant resources in Dream-
                 ers, who serve in critical roles at the company. To-
                 gether with its subsidiary LinkedIn Corporation, Mi-
                 crosoft employs at least 45 DACA recipients as soft-
                 ware engineers, financial analysts, inventory control
                 experts, and in core technical and operations positions
                 and other specialized functions and internships. The
                 company has invested significant resources in recruit-
                 ing, retaining, and supporting these individuals, and in
                 training them to develop within the organization.
                     6. Dreamers are particularly promising students
                 and employees because of the significant barriers they
                 have overcome in order to excel. As children, they
                 were forced not only to navigate a new country, cul-
                 ture, and language, but also to do so knowing that at
                 any moment, they might be taken into custody and sent
                 far from their homes and lives here in the United
                 States. To have achieved educational and career suc-
                 cesses under such precarious circumstances suggests
                 that Dreamers have grit and perseverance, can over-
                 come obstacles, and will exceed expectations—all qual-
                 ities that Princeton values in its students and Microsoft
                 values in its employees.
                    7. DACA recipients have made countless contri-
                 butions to Microsoft in their diverse roles within a num-
                 ber of the company’s divisions, including the Office
                 Products Group, Windows and Devices Group, Cloud &
                 Enterprise, Artificial Intelligence and Research Group,
                 LinkedIn, Finance, Worldwide Commercial Business,
                 and Retail division. Microsoft has significant inter-
                 ests in retaining these employees and in reaping the
                 benefits of their talent over time. It has conducted its
                 business operations on the understanding that DACA




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                 recipients would continue to be eligible to work at the
                 company.
                     8. At the University, DACA beneficiaries study
                 in a diverse array of fields, including computer science,
                 molecular biology, mechanical and aerospace engi-
                 neering, psychology, and politics. They serve as men-
                 tors and peer advisors, class representatives in student
                 government, and as community organizers and campus
                 leaders. They have earned numerous academic hon-
                 ors, awards, and fellowships, including several compet-
                 itive and prestigious national or University fellowships.
                 They have collaborated on important research projects,
                 including as part of the University’s Computer Science
                 Summer Programming Experience, 3 and through the
                 University’s Keller Center for Innovation. 4 They
                 have published in campus publications. They have
                 secured highly competitive internships, including with
                 the United Nations. They are among the most accom-
                 plished and respected students studying at the Univer-
                 sity.
                    9. Among the DACA beneficiaries at Princeton is
                 Plaintiff Maria De La Cruz Perales Sanchez. Perales
                 Sanchez is an impressive student. She has received
                 the Arthur Liman public interest summer fellowship,
                 the Fred Fox Fund grant for independent projects, and
                 the Princeton Institute for International and Regional
                 Studies undergraduate fellowship for summer thesis
                 research. She has also served as a peer academic ad-
                 visor, as the co-director of the Princeton Dream Team

                  3
                     Princeton University, Princeton Summer Programming Expe-
                 riences (SPE), http://www.cs.princeton.edu/academics/ugradpgm/spe/
                 home/ (last visited Nov. 3, 2017).
                   4
                     Princeton University, Keller Center, https://kellercenter.princeton.
                 edu/ (last visited Nov. 3, 2017).




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                 (an immigrants’ rights organization), as a member of
                 her undergraduate department’s advisory council, and
                 as a volunteer and leader of Community House, a tu-
                 toring organization serving underprivileged students.
                     10. Dreamers’ presence on Princeton’s campus al-
                 so benefits other students and helps fulfill the Univer-
                 sity’s educational mission. Princeton has long made
                 clear that diversity and inclusion are central to its
                 mission for many reasons: First, diverse environ-
                 ments are more intellectually and socially stimulating,
                 with research from the fields of psychology, sociology,
                 and economics showing that experiences with diversity
                 improve one’s own intellectual skills and performance,
                 improve self-confidence, decrease negative stereotypes
                 and biases, and create awareness of inequalities and
                 discrimination. 5 Second, because fundamental fair-
                 ness is a core value of the University, Princeton be-
                 lieves that students of all backgrounds should have an
                 equal opportunity to earn a position at Princeton, and
                 then to contribute and succeed in their subsequent
                 endeavors. And third, core to its educational mission
                 is the idea that Princeton students should live and learn
                 in an environment that reflects U.S. society and intro-
                 duces them to the world beyond. In broadening the
                 range of perspectives to which they are exposed, Prince-
                 ton offers students a better understanding of the world




                  5
                    Deborah Son Holoien, Do Differences Make a Difference? The
                 Effects of Diversity on Learning, Intergroup Outcomes, and Civic
                 Engagement (2003), http://www.princeton.edu/reports/2013/diversity/
                 report/PU-report-diversity-outcomes.pdf.




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                 and renders them better equipped to lead and serve
                 others in today’s pluralistic society. 6
                     11. Microsoft similarly benefits greatly from a
                 workforce that reflects the diversity of the United
                 States—and the world. As a worldwide leader in
                 software, services, devices and solutions that help
                 people and businesses reach their full potential, it
                 places a high priority on having a diverse workforce
                 that can reflect the global customer base that it serves.
                 Similarly, Microsoft’s subsidiary LinkedIn benefits
                 from a diverse workforce as the world’s largest profes-
                 sional network with members in more than 200 coun-
                 tries and territories worldwide. DACA helped ad-
                 vance this interest by increasing the breadth of expe-
                 riences, perspectives, and approaches to problem-
                 solving represented in the workforce through the lens-
                 es of the highly qualified and talented DACA benefi-
                 ciaries hired into the companies.
                     12. Because fostering a diversity of perspectives is
                 crucial to Princeton’s mission of teaching and research
                 and to Microsoft’s core business functions, these two
                 institutions have invested in many initiatives to make
                 their campus and workplaces more welcoming to peo-
                 ple of all backgrounds. 7 DACA recipients are no
                 exception.
                     13. For example, Princeton has provided faculty
                 time, attention, privately-funded financial aid for tui-
                 tion, room and board, and more to DACA recipients


                  6
                     Princeton University, Our Commitment to Diversity, https://
                 inclusive.princeton.edu/about/our-commitment-diversity (last visi-
                 ted Nov. 3, 2017).
                   7
                     See Princeton University, Initiatives, https://inclusive.princeton.
                 edu/initiatives (last visited Nov. 3, 2017).




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                 with the expectation that they would be allowed to
                 complete their studies at the University and make
                 contributions in the “nation’s service and in service of
                 humanity.” 8 Without DACA, Perales Sanchez and other
                 Dreamers have significantly fewer opportunities to
                 work and contribute, substantially diminishing the
                 value of their Princeton education. And Princeton will
                 have to make up the difference in financial aid to com-
                 pensate for their inability to contribute through on-
                 campus work.
                     14. Princeton’s President, Christopher Eisgruber,
                 has described Princeton’s significant interest in DACA,
                 noting that DACA “enables law-abiding young people
                 who have grown up in the United States to develop
                 their talents and contribute productively to this coun-
                 try, which is their home.” 9 President Eisgruber joined a
                 group of more than 700 college and university presi-
                 dents in issuing a statement supporting DACA. 10 As
                 that statement explains, since the advent of DACA in
                 2012, universities like Princeton “have seen the critical
                 benefits of this program for our students, and the




                  8
                      This is Princeton’s informal motto. See Princeton University,
                 In Service of Humanity, https://www.princeton.edu/meet-princeton/
                 service-humanity (last visited Nov. 3, 2017).
                   9
                      President Eisgruber’s Statement on Deferred Action for Child-
                 hood Arrivals (DACA), Office of the President, Princeton, http://
                 www.princeton.edu/president/eisgruber/speeches-writings/archive/
                 ?id=17355 (last visited Nov. 3, 2017).
                   10
                      Pomona College, College & University Presidents Call for U.S.
                 to Uphold and Continue DACA (Nov. 21, 2016), https://www.pomona.
                 edu/news/2016/11/21-college-university-presidents-call-us-uphold-and-
                 continue-daca.




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                 highly positive impacts on our institutions and commu-
                 nities.” 11 The statement continues:
                       DACA beneficiaries on our campuses have been ex-
                       emplary student scholars and student leaders, work-
                       ing across campus and in the community. With
                       DACA, our students and alumni have been able to
                       pursue opportunities in business, education, high
                       tech, and the non-profit sector; they have gone to
                       medical school, law school, and graduate schools in
                       numerous disciplines. They are actively contrib-
                       uting to their local communities and economies. 12
                 Because Princeton has already invested in students
                 based on the expectation that DACA would facilitate
                 their studying and working in this country, and be-
                 cause it desires to continue to so invest due to the sig-
                 nificant contributions of DACA beneficiaries, Princeton
                 has significant interests in retaining the DACA pro-
                 gram. 13
                    15. Similarly, Microsoft has made significant in-
                 vestments to foster an inclusive and diverse workplace
                 environment, including by recruiting, retaining, and
                 developing its employees who are Dreamers. Given
                 the persistent demand for high-skilled talent and the
                 tightness of the labor supply for professionals in Mi-
                 crosoft’s industry, the costs of recruiting employees are
                 high and unanticipated turnover is incredibly disrup-
                 tive to business plans. Microsoft has significant in-
                 terests in retaining the Dreamers it employs, and in

                  11
                     Id.
                  12
                     Id.
                  13
                     Princeton is also interested as an employer in retaining the
                 DACA program because it enables DACA beneficiaries to obtain
                 work authorization.




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                 reaping the benefits of their talent over time. It has
                 conducted its business operations on the understanding
                 that these individuals would continue to be eligible to
                 work at the company.
                    16. As Microsoft’s President Brad Smith has ex-
                 plained, “DACA recipients bring a wide array of edu-
                 cational and professional backgrounds that enable
                 them to contribute in crucial ways to our nation’s
                 workforce.” 14 He continued:
                       We experience this in a very real way at Microsoft.
                       . . . [E]mployees who are beneficiaries of DACA
                       . . . are software engineers with top technical
                       skills; finance professionals driving our business
                       ambitions forward; and retail and sales associates
                       connecting customers to our technologies. Each of
                       them is actively participating in our collective mis-
                       sion to empower every person and every organiza-
                       tion on the planet to achieve more. They are not
                       only our colleagues, but our friends, our neighbors
                       and valued members of the Microsoft community. 15
                    17. Microsoft’s CEO Satya Nadella has also un-
                 derscored the importance of Microsoft’s DACA-
                 beneficiary employees to its business, explaining that
                 he “see[s] each day the direct contributions that tal-
                 ented employees from around the world bring to our
                 company, our customers and to the broader econo-



                  14
                      Microsoft President Brad Smith, DREAMers make our country
                 and communities stronger (Aug. 31, 2017), https://blogs.microsoft.
                 com/on-the-issues/2017/08/31/dreamers-make-country-communities-
                 stronger?lipi=urn%3Ali%3Apage%3Ad_flagship3_pulse_read%3B
                 VGlIRxrxTBirfzbdYk4jSg%3D%3D.
                   15
                      Id.




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                 my.” 16 As he stated, “[w]e care deeply about the
                 DREAMers who work at Microsoft and fully support
                 them. We will always stand for diversity and eco-
                 nomic opportunity for everyone. It is core to who we
                 are at Microsoft and I believe it is core to what Ameri-
                 ca is.” 17
                    18. The government has also benefited from
                 Dreamers’ willingness to participate in the DACA
                 program. Many DACA recipients have pursued pro-
                 fessions in fields suffering from serious labor shortag-
                 es, such as nursing and home health care; removing
                 them from the economy could dramatically escalate
                 costs that are in large part covered by Medicaid and
                 Medicare. 18 DACA recipients have also contributed to
                 national security, with approximately 900 DACA re-
                 cipients serving in the military under a program for
                 persons who possess skills “vital to the national inter-
                 est.” 19 More broadly, using their education and work
                 authorizations, Dreamers have helped American com-
                 panies grow and thrive. They have contributed to


                  16
                      Satya Nadella, CEO, Microsoft, DREAMers Make Our Country
                 and Communities Stronger (Aug. 31, 2017), https://www.linkedin.com/
                 pulse/dreamers-make-our-country-communities-stronger-satya-
                 nadella/.
                   17
                      Id.
                   18
                      Noam Scheiber & Rachel Adams, What Older Americans Stand
                 to Lose if ‘Dreamers’ Are Deported, N.Y. TIMES (Sept. 6, 2007), https://
                 www.nytimes.com/2017/09/06/business/economy/daca-dreamers-home-
                 health-care.html.
                   19
                      Alex Horton, The Military Looked to ‘Dreamers’ to Use Their
                 Vital Skills. Now the U.S. Might Deport Them, WASH. POST (Sept.
                 7, 2017), https://www.washingtonpost.com/news/checkpoint/wp/2017/
                 09/07/the-military-looked-to-dreamers-to-use-their-vital-skills-now-
                 the-u-s-might-deport-them/?utm_term=.be8c41bb71ef; Korte, supra
                 n.1.




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                 valuable technological innovations, promising medical
                 and scientific research, and creative artistic endeavors.
                    19. The Dreamers have held up their end of the
                 bargain. But the same cannot be said of the United
                 States. Although the Trump Administration contin-
                 ued to induce Dreamers to rely on the DACA program
                 for the Administration’s first eight months, on Sep-
                 tember 5, 2017, Attorney General Sessions announced
                 Defendants’ decision to end the DACA program. That
                 same day, Acting Secretary of Homeland Security
                 Elaine C. Duke issued a memorandum formally re-
                 scinding DACA.
                     20. The termination of the DACA program se-
                 verely harms Perales Sanchez and other Dreamers, as
                 well as the employers and educational institutions that
                 rely on and benefit from their contributions. For ex-
                 ample, as a result of the rescission of the program,
                 Princeton will suffer the loss of critical members of its
                 community—students who lead vital student organiza-
                 tions, contribute to important research projects, par-
                 ticipate in study-abroad programs, and perform on-
                 campus work that aids the activities of the University.
                 Similarly, Microsoft will lose employees who fill critical
                 positions in the company’s workforce and in whom the
                 company has invested—leaving gaps that cannot easily
                 be filled.
                    21. Accordingly, the University, Microsoft, and
                 Perales Sanchez bring this action pursuant to the
                 Administrative Procedure Act (“APA”), 5 U.S.C.
                 §§ 701-706, the Declaratory Judgment Act, 28 U.S.C.
                 §§ 2201-2202, and the Fifth Amendment of the U.S.
                 Constitution, to enjoin the rescission of DACA and to
                 obtain a declaration that the DACA program was law-
                 ful as initially promulgated and remains lawful today.




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                              VENUE AND JURISDICTION
                    22. This Court has jurisdiction over this action
                 pursuant to 28 U.S.C. § 1331, because this action arises
                 under the laws of the United States, including the
                 judicial review provisions of the Administrative Proce-
                 dure Act, 5 U.S.C. §§ 701-706; the Fifth Amendment of
                 the U.S. Constitution; and the Declaratory Judgment
                 Act, 28 U.S.C. §§ 2201-2202.
                     23. Venue is proper in the District of Columbia
                 under 28 U.S.C. § 1391(e). A substantial part of the
                 events giving rise to Plaintiffs’ claims occurred in the
                 District of Columbia. Defendant Duke is a United
                 States officer sued in her official capacity, and her
                 official residence is in the District of Columbia. De-
                 fendant DHS is a U.S. agency with its principal office
                 in the District of Columbia.
                                        PARTIES
                    24. The University is a private, non-profit educa-
                 tional institution with its principal place of business at
                 Princeton University, Princeton, New Jersey 08544.
                 The University is a “person” within the meaning of 5
                 U.S.C. § 551(2).
                    25. Microsoft is a technology corporation orga-
                 nized and existing under the laws of the State of Wash-
                 ington, with its principal place of business in Redmond,
                 Washington. Microsoft is a “person” within the mean-
                 ing of 5 U.S.C. § 551(2).
                    26. Maria De La Cruz Perales Sanchez is a DACA
                 beneficiary and a current undergraduate student at
                 Princeton University. Perales Sanchez is a “person”
                 within the meaning of 5 U.S.C. § 551(2).




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                    27. Defendant the United States of America in-
                 cludes all government agencies and departments re-
                 sponsible for the implementation and rescission of the
                 DACA program.
                    28. Defendant DHS is an “agency” within the
                 meaning of 5 U.S.C. § 551(1) and § 552(f ). The De-
                 partment of Homeland Security has its principal place
                 of business at 650 Massachusetts Avenue NW, Wash-
                 ington, DC 20001.
                    29. Defendant Elaine C. Duke is the Acting Sec-
                 retary of DHS. She is responsible for implementing
                 and enforcing the Immigration and Nationality Act,
                 and oversees the U.S. Citizenship and Immigration
                 Services and Immigration and Customs Enforcement.
                 She issued the DHS Memorandum that purports to
                 rescind DACA. She is being sued in her official ca-
                 pacity.
                                  FACTUAL ALLEGATIONS
                       A.   The DACA Program
                    30. On June 15, 2012, the then-Secretary of Home-
                 land Security issued a memorandum establishing the
                 DACA program (“DACA Memorandum”). 20 Under the
                 program, individuals who were brought to the United
                 States as children and met certain criteria could apply
                 for deferred action for a period of two years, subject to
                 renewal. Deferred action means that the government



                  20
                     See Memorandum from Janet Napolitano, Exercising Prosecu-
                 torial Discretion with Respect to Individuals Who Came to the
                 United States as Children (June 15, 2012), https://www.dhs.gov/
                 xlibrary/assets/s1-exercising-prosecutorial-discretion-individuals-
                 who-came-to-us-as-children.pdf.




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                 agrees in its discretion to defer the removal 21 of an
                 individual for a specified period, subject to renewal.
                 The DACA Memorandum explained that it was in-
                 tended to set forth “how, in the exercise of our prose-
                 cutorial discretion, the Department of Homeland Secu-
                 rity (DHS) should enforce the Nation’s immigration
                 laws against certain young people who were brought to
                 this country as children and know only this country as
                 home.” Because “these individuals lacked the intent
                 to violate the law,” and because this country’s immi-
                 gration laws are not “designed to remove productive
                 young people to countries where they may not have
                 lived or even speak the language,” the DACA Memo-
                 randum advised that “[p]rosecutorial discretion, which
                 is used in so many other areas, is especially justified
                 here.” The DACA Memorandum acknowledged that
                 it “confers no substantive right,” but rather “set[s]
                 forth policy for the exercise of discretion within the
                 framework of the existing law.”
                    31. The DACA Memorandum also set forth a se-
                 ries of stringent criteria individuals had to meet to
                 qualify for the DACA program. Individuals were
                 eligible only if they: (1) came to this country when
                 they were under the age of sixteen; (2) continuously
                 resided in the United States since June 15, 2007, and
                 were present in the United States on June 15, 2012; (3)
                 were currently in school, had graduated from high
                 school, had obtained a general education development
                 certificate, or were an honorably discharged veteran of
                 the Coast Guard or Armed Forces of the United States;
                 (4) had not been convicted of a felony, a significant

                  21
                     Removal is the legal term used in the Immigration and Natu-
                 ralization Act for what is commonly known as deportation. See
                 generally 8 U.S.C. § 240.




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                 misdemeanor offense, multiple misdemeanor offenses,
                 and otherwise did not pose a threat to national security
                 or public safety; and, (5) were not above the age of 30
                 as of June 15, 2012.
                    32. The government prepared answers to Fre-
                 quently Asked Questions about the DACA program and
                 posted them online. 22 They explained that individuals
                 who were granted deferred action are “not considered
                 to be unlawfully present during the period in which
                 deferred action is in effect.” 23 Likewise, despite not
                 having received “lawful status,” “[a]n individual who
                 has received deferred action is authorized by DHS to
                 be present in the United States, and is therefore con-
                 sidered by DHS to be lawfully present during the pe-
                 riod deferred action is in effect.” 24
                    33. In order to apply for the DACA program, indi-
                 viduals including Perales Sanchez were required to pay
                 a substantial fee, submit to biometric and biographical
                 background checks, and hand over highly sensitive per-
                 sonal information, including their date of entry into the
                 United States, their country of birth, their current and
                 previous mailing addresses, and other contact infor-
                 mation. 25
                    34. Many Dreamers, including Perales Sanchez,
                 were reluctant to hand over their personal information
                 to the government. Accordingly, the government as-


                  22
                     USCIS DACA FAQs, https://www.uscis.gov/archive/frequently-
                 asked-questions (Archived).
                  23
                     Id., Question 1.
                  24
                     Id.
                  25
                     See Instructions for Consideration of Deferred Action for
                 Childhood Arrivals, USCIS Form I-821D at 13 (Jan. 9, 2017), https://
                 www.uscis.gov/sites/default/files/files/form/i-821dinstr.pdf.




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                 sured them that their information would not be used
                 for other immigration-related purposes, including to
                 facilitate their removal.   The official instructions
                 accompanying USCIS’s DACA application form stated:
                       Information provided in this request is protected
                       from disclosure to ICE and U.S. Customs and Bor-
                       der Protection (CBP) for the purpose of immigra-
                       tion enforcement proceedings unless the requestor
                       meets the criteria for the issuance of a Notice To
                       Appear or a referral to ICE under the criteria set
                       forth in USCIS’ Notice to Appear guidance (www.
                       uscis.gov/NTA). The information may be shared
                       with national security and law enforcement agen-
                       cies, including ICE and CBP, for purposes other
                       than removal, including for assistance in the con-
                       sideration of deferred action for childhood arrivals
                       request itself, to identify or prevent fraudulent
                       claims, for national security purposes, or for the in-
                       vestigation or prosecution of a criminal offense.
                       The above information sharing clause covers family
                       members and guardians, in addition to the reques-
                       tor. 26
                    35. In the DACA Memorandum, the government
                 also assuaged concerns that it might use information
                 obtained through DACA to facilitate removal. DHS
                 emphasized that the country’s immigration laws are
                 not designed “to remove productive young people to
                 countries where they may not have lived or even speak
                 the language.” DHS also acknowledged that many
                 DACA eligible individuals “have already contributed to
                 [the United States] in significant ways” and that, as a
                 result, the exercise of prosecutorial discretion is “espe-


                  26
                       Id. at 13 (emphasis added).




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                 cially justified” as to those eligible for relief under
                 DACA.
                    36. In 2016, then-Secretary of Homeland Security
                 Jeh Johnson further explained the government’s as-
                 surances to Dreamers in a letter to Representative
                 Judy Chu:
                       Since DACA was announced in 2012, DHS has con-
                       sistently made clear that information provided by
                       applicants will be collected and considered for the
                       primary purpose of adjudicating their DACA requests
                       and would be safeguarded from other immigration-
                       related purposes. More specifically, the U.S. gov-
                       ernment represented to applicants that the personal
                       information they provided will not later be used for
                       immigration enforcement purposes except where it
                       is independently determined that a case involves a
                       national security or public safety threat, criminal
                       activity, fraud, or limited other circumstances where
                       issuance of a notice to appear is required by law.
                          We believe these representations made by the
                       U.S. government, upon which DACA applicants
                       most assuredly relied, must continue to be hon-
                       ored. 27
                 Secretary Johnson represented that this practice of not
                 sharing information supplied by people seeking de-
                 ferred action for immigration enforcement purposes
                 had consistently been applied by DHS and its prede-
                 cessor INS even before DACA was established. He
                 also acknowledged that “people who requested to be

                  27
                      Letter from Secretary Jeh Charles Johnson to The Honorable
                 Judy Chu (Dec. 30, 2016), https://chu.house.gov/sites/chu.house.gov/
                 files/documents/DHS.Signed%20Response%20to%20Chu%2012.30.
                 16.pdf.




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                 considered under DACA, like those who requested
                 deferred action in the past, have relied on our con-
                 sistent practice concerning the information they pro-
                 vide about themselves and others.” 28
                    37. The government devoted significant time and
                 effort to encourage Dreamers to apply for the DACA
                 program, vigorously promoting the program in a vari-
                 ety of ways. Among other initiatives, the government
                 advised universities on how best to encourage eligible
                 individuals to apply. 29 The government also promoted
                 the DACA program by, among other things, honoring
                 ten DACA recipients as White House Champions of
                 Change and inviting some of them to the White House
                 to meet with President Obama. 30 Cecilia Muñoz, Di-
                 rector of the White House Domestic Policy Council,
                 wrote in a blog post preserved in the Obama White
                 House archives that “[b]ecause the Administration
                 acted, hundreds of thousands of ambitious, hardwork-
                 ing young people have been able to emerge from the
                 shadows, no longer living in fear of deportation.” 31


                  28
                     Id.
                  29
                     See, e.g., U.S. Dep’t of Education, Resource Guide: Supporting
                 Undocumented Youth (Oct. 20, 2015), https://www2.ed.gov/about/
                 overview/focus/supporting-undocumented-youth.pdf.
                  30
                     See Champions of Change: DACA Champions of Change,
                 Obama White House Archives, https://obamawhitehouse.archives.gov/
                 champions/daca-champions-of-change (last visited Nov. 3, 2017);
                 Lindsay Holst, Meet the 6 DREAMers the President Met with in the
                 Oval Office Yesterday (Feb. 5, 2015), https://obamawhitehouse.archives.
                 gov/blog/2015/02/05/meet-6-dreamers-president-met-oval-office-
                 yesterday.
                  31
                     Cecilia Muñoz, One Year Anniversary of Implementation of
                 Deferred Action Policy for DREAMers (Aug. 15, 2013), https://
                 obamawhitehouse.archives.gov/blog/2013/08/15/one-year-anniversary-
                 implementation-deferred-action-policy-dreamers.




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                    38. In order to entice Dreamers to apply, the gov-
                 ernment also promised that, if eligible, DACA recipi-
                 ents would be entitled not only to a single, two-year
                 deferral of action but also to the ability to renew their
                 deferred action for the foreseeable future. See 2012
                 DACA Memorandum (noting that deferred action was
                 “subject to renewal”). Indeed, the government “strongly
                 encourage[d]” DACA recipients to submit their renew-
                 al requests well in advance of the relevant expiration
                 date. 32 To qualify for renewal, DACA recipients must
                 not have left the United States without advance parole,
                 must have continuously resided in the United States
                 after submitting their initial DACA application, and
                 must not have been convicted of a felony, a significant
                 misdemeanor, or three or more misdemeanors, or other-
                 wise pose a threat to national security or public safety. 33
                    39. DHS also made it difficult to terminate a
                 Dreamer’s deferred action under DACA.           DHS’s
                 Standard Operating Procedures implementing the
                 DACA program provided that, absent a disqualifying
                 criminal offense, national security concern, or other
                 extraordinary circumstance, an individual’s deferred
                 action under DACA could not be removed until the
                 government provided a “Notice of Intent to Terminate”
                 that “thoroughly explain[ed]” the grounds for termina-
                 tion. 34 DHS Standard Operating Procedures further
                 provided that recipients of such notice “should be al-


                  32
                      USCIS DACA FAQs, Question 49, https://www.uscis.gov/archive/
                 frequently-asked-questions (Archived).
                   33
                      Id., Question 51.
                   34
                       National Standard Operating Procedures (SOP), Deferred
                 Action for Childhood Arrivals (DACA), at 132, Appendix I (Apr. 4,
                 2013),     https://cliniclegal.org/sites/default/files/attachments/daca_
                 sop_4-4-13.pdf.




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                 lowed 33 days to file a brief or statement contesting the
                 grounds cited in the Notice of Intent to Terminate”
                 prior to termination of deferred action under DACA. 35
                    40. As a result of these policies and procedures,
                 along with other government actions and representa-
                 tions, Perales Sanchez and other Dreamers reasonably
                 expected that they would be allowed to maintain and
                 continue renewing their deferred status, so long as
                 they complied with the government’s straightforward
                 rules.
                    41. Since its inception in 2012, the DACA program
                 has provided nearly 800,000 young people with the
                 ability to live, study, and work in the United States
                 without hiding in the shadows. For the first time in
                 their lives, DACA recipients, including Perales San-
                 chez, received Social Security numbers, enabling them
                 to access credit and apply for student loans, obtain
                 driver’s licenses, and apply for federal work authoriza-
                 tion. In reliance on the DACA program, Perales San-
                 chez and other Dreamers have made considerable
                 investments in their American lives, pursuing jobs, and
                 educational programs that cost money, time, and ener-
                 gy, and require a commitment to a future here. For
                 example, after obtaining her federal work authoriza-
                 tion, Perales Sanchez worked as a tutor, a research as-
                 sistant, a dining hall employee, an office assistant, and
                 an associate for an on-campus center for civic engage-
                 ment.
                    42. Some Dreamers may not have been able or
                 may not have chosen to study at Princeton without
                 DACA, which, among other things, allowed them to
                 obtain a government-issued photo identification and

                  35
                       Id.




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                 thus travel back and forth to campus by airplane, and
                 to dream of a future that includes legitimate employ-
                 ment in the United States, helping to justify the dedi-
                 cation and work that goes into a Princeton education.
                 For example, before the DACA program was imple-
                 mented, Perales Sanchez believed she would never be
                 able to leave her state of residence. After obtaining
                 relief under the DACA program, she was able to fly not
                 only to Princeton as an entering freshman, but also to
                 travel abroad twice—once for a summer internship and
                 once for a study-abroad program. 36 DACA has ena-
                 bled her to pursue those internships and programs to
                 further her dream of going to law school.
                    43. While Dreamers have certainly benefited from
                 DACA, so too has the government. “By removing the
                 threat of deportation for young people brought to this
                 country as children,” Cecilia Muñoz acknowledged,
                 “DHS has been able to focus its enforcement efforts on
                 those who endanger our communities rather than stu-
                 dents pursuing an education and seeking to better
                 themselves and their communities.” 37 Then-Secretary
                 Johnson acknowledged additional benefits from the
                 program in 2016, explaining:
                       Since DACA began, thousands of Dreamers have
                       been able to enroll in colleges and universities, com-
                       plete their education, start businesses that help im-
                       prove our economy, and give back to our communi-
                       ties as teachers, medical professionals, engineers,
                       and entrepreneurs—all on the books. We continue
                       to benefit as a country from the contributions of


                  36
                      Perales Sanchez obtained advance parole for her extraterrito-
                 rial travel.
                   37
                      Id.




                                                                                      AR2896
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                       those young people who have come forward and
                       want nothing more than to contribute to our country
                       and our shared future. 38
                        B.   Defendants’ Unlawful and Unconstitutional
                             Rescission of DACA
                    44. On September 5, 2017, Attorney General Ses-
                 sions announced Defendants’ decision to end the DACA
                 program, and Acting Secretary of Homeland Security
                 Elaine C. Duke issued a memorandum formally re-
                 scinding the DACA program (“DACA Rescission
                 Memorandum”).
                    45. President Trump’s statements about the DACA
                 program—both before and after its rescission—have
                 been less consistent. In the speech that launched his
                 campaign, then-candidate Trump promised to “imme-
                 diately terminate President Obama’s illegal executive
                 order on immigration,” referring to DACA. 39 On the
                 same day that he met with the Mexican president in
                 August 2016, he again announced his intent to “imme-
                 diately terminate” DACA. 40 But after the election, he
                 told Time magazine: “We’re going to work something
                 out that’s going to make people happy and proud. They
                 got brought here at a very young age, they’ve worked
                 here, they’ve gone to school here. Some were good
                 students. Some have wonderful jobs. And they’re in
                 never-never land because they don’t know what’s going



                  38
                      Johnson, supra n.27.
                  39
                      Anu Joshi, Donald Trump and DACA: A Confusing History,
                 HUFFINGTON POST (Mar. 3, 2017), http://www.huffingtonpost.com/
                 entry/donald-trump-and-daca-a-confusing-history_us_58b9960be4b0
                 fa65b844b24a.
                   40
                      Id.




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                 to happen.” 41 And a few days after his inauguration,
                 President Trump told ABC’s David Muir that DACA
                 recipients “shouldn’t be very worried.” 42 At a Febru-
                 ary 16, 2017 press conference, President Trump ex-
                 plained his thinking on the subject: “The DACA situ-
                 ation is a very difficult thing for me as I love these kids,
                 I love kids, I have kids and grandkids and I find it very,
                 very hard doing what the law says exactly to do and,
                 you know, the law is rough. It’s rough, very very
                 rough.” 43
                    46. On June 29, 2017, officials from ten States, led
                 by Texas Attorney General Ken Paxton, sent a letter to
                 U.S. Attorney General Jeff Sessions, asserting that the
                 DACA program is unlawful and requesting that it be
                 “phase[d] out.” 44 The States threatened to challenge
                 DACA in court unless DACA was rescinded by Sep-
                 tember 5, 2017.

                  41
                      Michael Scherer, 2016 Person of the Year Donald Trump,
                 TIME (Dec. 8, 2016), http://time.com/time-person-of-the-year-2016-
                 donald- trump/.
                   42
                      Joshi, supra n.39.
                   43
                      Id.
                   44
                      See Chris Geidner, Texas Attorney General Threatens to
                 Sue Trump If He Doesn’t End DACA, BUZZFEED NEWS (June 29,
                 2017), https://www.buzzfeed.com/chrisgeidner/texas-attorney-general-
                 threatens-to-sue-trump-if-he-doesnt?utm_term=.umwR4L105#.it
                 7d1JGWx. The Tennessee Attorney General later reversed course
                 and withdrew Tennessee’s threat to sue. See Letter from Ten-
                 nessee Attorney General Herbert H. Slattery III to Sens. Lamar
                 Alexander and Bob Corker (Sept. 1, 2017), https://www.vox.com/
                 policy-and-politics/2017/9/1/16243944/daca-tennessee-dream-act. He
                 explained that he had changed his mind because “[t]here is a human
                 element to this,” and “[m]any of the DACA recipients, some of whose
                 records I reviewed, have outstanding accomplishments and laudable
                 ambitions, which if achieved, will be of great benefit and service to
                 our country.” Id.




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                    47. In response to that letter, other stakeholders
                 weighed in. A letter from the attorneys general of
                 twenty States, led by California, described how DACA
                 has “been a boon to the communities, universities, and
                 employers with which these Dreamers are connected,
                 and for the American economy as a whole.” 45 A sepa-
                 rate, open letter from hundreds of entrepreneurs and
                 business leaders noted that “[a]t least 72 percent of the
                 top 25 Fortune 500 companies count DACA recipients
                 among their employees.” It explained that “Dreamers
                 are vital to the future of our companies and our econo-
                 my. With them, we grow and create jobs. They are
                 part of why we will continue to have a global competi-
                 tive advantage.” If the DACA program were re-
                 scinded, “[o]ur economy would lose $460.3 billion from
                 the national GDP and $24.6 billion in Social Security
                 and Medicare tax contributions.” 46 The letter was
                 signed by, among many others, Satya Nadella and Brad
                 Smith of Microsoft, Jeff Bezos of Amazon, Tim Cook of
                 Apple, Mark Zuckerberg and Sheryl Sandberg of Fa-
                 cebook, and Sundar Pichai of Google.
                    48. Despite the overwhelming evidence of DACA’s
                 benefits, DACA was rescinded on September 5, 2017—
                 the deadline provided in Texas Attorney General Pax-
                 ton’s letter. Unlike the DACA program itself, which
                 required case-by-case assessment of individual applica-
                 tions, DACA’s rescission is a categorical rule, applica-
                 ble to all DACA recipients. The rationale provided by


                  45
                      Letter from Xavier Becerra (July 21, 2017), https://oag.ca.gov/
                 system/files/attachments/press_releases/7-21-17%20%20Letter%20
                 from%20State%20AGs%20to%20President%20Trump%20re%20
                 DACA.final_.pdf.
                   46
                      Leaders of American Industry on DACA (Aug. 31, 2017), https://
                 dreamers.fwd.us/business-leaders.




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                 Attorney General Sessions for rescinding DACA, which
                 was echoed by Acting Secretary Duke, was that it is
                 vulnerable to the “same legal and constitutional defects
                 that the courts recognized as to DAPA [Deferred Ac-
                 tion for Parents of Americans and Lawful Permanent
                 Residents],” which is a separate program that DHS
                 introduced in November 2014, and which was enjoined
                 prior to its effective date. Accordingly, the Attorney
                 General and Acting Secretary stated that “it is likely
                 that potentially imminent litigation would yield similar
                 results with respect to DACA.” 47
                    49. DHS’s rationale is directly at odds with new
                 policies that the agency announced in connection with
                 its rescission of DACA. For example, when it an-
                 nounced rescission, DHS declared that it would con-
                 tinue to adjudicate pending DACA applications. DHS
                 also asserted that it would adjudicate any applications
                 for renewal filed by individuals whose deferred status
                 under DACA would expire before March 5, 2018, so
                 long as those applications were filed by October 5,
                 2017. 48 This announcement effectively extended DACA
                 for an additional two and a half years.
                    50. DHS’s asserted basis for rescinding DACA al-
                 so conflicts with the position previously taken by the
                 United States, including in an opinion by the Office of



                  47
                      Letter on Rescission of Deferred Action for Childhood Arrivals
                 (Sept. 4, 2017), https://www.dhs.gov/sites/default/files/publications/
                 17_0904_DOJ_AG-letter-DACA.pdf; Memorandum on Rescission of
                 Deferred Action for Childhood Arrivals (Sept. 5, 2017), https://www.
                 dhs.gov/news/2017/09/05/memorandum-rescission-daca#.
                   48
                      Memorandum on Rescission of Deferred Action for Childhood
                 Arrivals (Sept. 5, 2017), https://www.dhs.gov/news/2017/09/05/
                 memorandum-rescission-daca#.




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                 Legal Counsel (“OLC”) that has not been withdrawn. 49
                 Its credibility is further undermined by President
                 Trump’s own tweet, published less than nine hours
                 after the announcement of DACA’s rescission, promis-
                 ing that if Congress does not “legalize DACA” in six
                 months, “I will revisit this issue!” 50
                    51. In addition, the government has provided no
                 assurance or commitment that the information collect-
                 ed from DACA applicants will not be used to pursue
                 their deportation. The DACA Rescission Memoran-
                 dum is silent on the issue. DHS has adopted a new
                 privacy policy pursuant to an Executive Order issued in
                 January 2017 that “permits the sharing of information
                 about immigrants and non-immigrants with federal,
                 state, and local law enforcement.” 51 And whereas the
                 government in the past had promised that information
                 provided by DACA applicants “is protected from dis-
                 closure,” 52 it now states only that such information


                  49
                     See Dep’t of Homeland Sec.’s Auth. to Prioritize Removal of
                 Certain Aliens Unlawfully Present in the U.S. & to Defer Removal
                 of Others, 2014 WL 10788677 (Op. O.L.C. Nov. 19, 2014).
                  50
                     See Donald J. Trump (@realDonaldTrump), Twitter (Sep. 5,
                 2017, 8:38 PM), https://twitter.com/realDonaldTrump/status/
                 90522 8667336499200; Josh Blackman, Trump’s DACA Decision
                 Defies All Norms, LawFare@FP (Sept. 7, 2017), http://foreignpolicy.
                 com/2017/09/07/trumps-daca-decision-defies-all-norms/ (“[T]his lat-
                 est constitutional whiplash undermines that defense on an even
                 more profound level.”).
                  51
                     DHS, Privacy Policy 2017-01 Questions & Answers, at 3 (Apr.
                 27, 2017), https://www.dhs.gov/sites/default/files/publications/Privacy
                 %20Policy%20Questions%20%20Answers%2C%2020170427%2C%
                 20Final.pdf.
                  52
                     USCIS DACA FAQs, Question 19 (emphasis added). The ref-
                 erenced Notice to Appearance guidance is USCIS Policy Memo-
                 randum 602-0050 (Nov. 7, 2011) (“Revised Guidance for the Referral




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                 “will not be proactively provided to ICE and CBP for
                 the purpose of immigration enforcement proceed-
                 ings.” 53 Accordingly, Dreamers reasonably anticipate
                 that the information they provided to the government
                 in order to enroll in the DACA program will be used
                 against them, including to pursue their removal from
                 this country.    Indeed, DHS has already “urge[d]
                 DACA recipients to use the time remaining on their
                 work authorizations to prepare for and arrange their
                 departure from the United States.” 54
                    C.    Plaintiffs’ Interest in the DACA Program
                          a.   Princeton University and Perales Sanchez
                               Have Benefited from DACA.
                    52. Plaintiff Princeton is a private, non-profit ed-
                 ucational institution that advances learning through
                 scholarship, research, and teaching of extraordinary
                 quality, with an emphasis on undergraduate and doc-
                 toral education and a pervasive commitment to serve
                 the nation and the world. The University’s defining
                 characteristics and aspirations include, among other
                 things, a commitment to welcome, support, and engage


                 of Cases and Issuance of Notices to Appear (NTAs) in Cases In-
                 volving Inadmissible and Removable Aliens”).
                   53
                      DHS, Frequently Asked Questions: Rescission of Deferred
                 Action for Childhood Arrivals (DACA) (Sept. 5, 2017) (emphasis
                 added), https://www.dhs.gov/news/2017/09/05/frequently-askedquestions
                 -rescission-deferred-action-childhood-arrivals-daca.
                   54
                      Talking Points—DACA Rescission, MSNBC, http://msnbcmedia.
                 msn.com/i/MSNBC/Sections/NEWS/z-pdf-archive/170905-DACA-
                 Talking-Points.pdf; see also Kristen Welker & Daniel Arkin, Trump
                 Administration Memo: DACA Recipients Should Prepare for
                 ‘Departure,’ NBC NEWS (Sept. 5, 2007), https://www.nbcnews.com/
                 news/us-news/white-house-memo-daca-recipients-should-prepare-
                 departure-n799026.




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                 students, faculty, and staff with a broad range of back-
                 grounds and experiences, and to encourage all mem-
                 bers of the University community to learn from the ro-
                 bust expression of diverse perspectives. 55
                    53. Every year, the University accepts applica-
                 tions for admission to its undergraduate program from
                 both domestic and international students who have
                 completed or are soon to complete secondary education
                 programs. To achieve the excellence to which it as-
                 pires, Princeton must find, attract, and support talent-
                 ed people from a wide range of demographic groups,
                 and it must provide a campus climate in which people
                 from all backgrounds learn from and share experiences
                 and perspectives with each other. A diverse, inclusive,
                 and collaborative learning community sparks creativity
                 and insight, generates meaningful conversation, and
                 facilitates intercultural connection and understanding.
                 Diversity is essential to Princeton’s efforts to meet the
                 needs of a world that requires leaders who come from a
                 wide variety of backgrounds and groups and who are
                 able to work effectively across cultures and political
                 and social divides. Accordingly, the University expends
                 considerable time and resources recruiting high-
                 achieving students from diverse backgrounds to create
                 an exceptional learning community for each incoming
                 class.
                    54. Undergraduate admission to the University is
                 highly competitive. For the University’s graduating
                 class of 2021 (matriculating in the fall of 2017), 1,991


                  55
                     See Princeton University, Our Commitment to Diversity, https://
                 inclusive.princeton.edu/about/our-commitment-diversity (last visi-
                 ted Nov. 3, 2017); Princeton University, Academics, https://www.
                 princeton.edu/academics (last visited Nov. 3, 2017).




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                 applicants were admitted out of 31,056 total applicants,
                 for an admissions rate of 6.4 percent. 56
                    55. Since 2012, Princeton has admitted and en-
                 rolled at least 21 DACA recipients as students. These
                 students have enrolled in both undergraduate and grad-
                 uate programs in a diverse array of fields, including
                 sciences, engineering, politics, psychology, and public
                 policy. These individuals have been among the great-
                 est contributors to the campus community. For exam-
                 ple, a member of the class of 2015 and a DACA benefi-
                 ciary, Yessica Martinez, was a co-recipient of the 2015
                 Pyne Prize, the University’s highest general honor for
                 an undergraduate. She was recognized for her “ex-
                 cellent scholarship, strength of character, and effective
                 leadership in support of the best interests of Princeton
                 University.” 57 Among her accomplishments at Prince-
                 ton, Martinez was “a standout student and writer, and
                 an exceptional community organizer and leader,” who
                 served as a residential advisor and excelled in studying
                 comparative literature, creative writing, and Latin
                 American studies. 58 University President Eisgruber




                  56
                      See Princeton University, Statistics for Applicants to the Class
                 of 2021, available at https://admission.princeton.edu/how-apply/
                 admission-statistics (last visited Nov. 3, 2017).
                   57
                      See Princeton University, Introduction by President Christo-
                 pher L. Eisgruber, available at http://alumni.princeton.edu/learntravel/
                 lectures/videodetail/index.xml?videoid=409 (last visited Nov. 3,
                 2017); Princeton University, Seniors Martinez, Robertson Named
                 Pyne Prize Winners (Feb. 12, 2005), available at https://
                 undergraduateresearch.princeton.edu/news/seniors-martinez-
                 robertson-named-pyne-prize-winners (last visited Nov. 3, 2017).
                   58
                      Id.




                                                                                            AR2904
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                                              611

                 stated in awarding her the Pyne Prize that Martinez
                 had a “profound impact on the Princeton community.” 59
                    56. As explained in the Introduction to this Com-
                 plaint, Princeton benefits from DACA in many ways.
                 Princeton’s DACA recipients—including Perales Sanchez
                 —are exceptionally resilient students who have over-
                 come varied, serious life obstacles in the course of
                 achieving great success. They have unique insights
                 because of their backgrounds, and they contribute
                 diverse perspectives on a range of issues on campus—
                 both inside and outside the classroom. Their presence
                 in the classroom, student housing, student organiza-
                 tions, and other campus activities enhances the intel-
                 lectual experience of all students and faculty at Prince-
                 ton. Their membership in Princeton’s community
                 helps the University to realize its educational mission.
                            b.   Microsoft Has Benefited from DACA.
                    57. Similarly, Microsoft benefits in myriad ways
                 from the DACA recipients whom it employs as soft-
                 ware engineers, financial analysts, inventory control
                 experts, and core technical and operations positions.
                 Microsoft’s mission on behalf of its customers around
                 the world creates a substantial business need for find-
                 ing, developing, and attracting the brightest and most
                 promising talent from around the country and around
                 the world. As Microsoft CEO Satya Nadella explained,
                 “smart immigration can help our economic growth and
                 global competitiveness.” 60
                    58. The company places a high priority on having a
                 diverse workforce that can reflect the global customer


                  59
                       Id.
                  60
                       Nadella, supra n.16.




                                                                             AR2905
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                 base Microsoft serves. The company’s products and
                 services—and ultimately its customers—benefit from
                 input and contributions that draw from the diverse
                 backgrounds found among the company’s employees.
                 Microsoft has significant interests in retaining its em-
                 ployees and in reaping the benefits of their talent over
                 time.
                    59. DACA beneficiaries are working across a
                 range of Microsoft’s business divisions, employing their
                 “tremendous talent” to develop the next generations of
                 Microsoft products and services. 61 While Microsoft’s
                 DACA employees are generally early in their careers,
                 their past accomplishments and promise for the future
                 reflect their significant value to the company. The
                 company employs DACA beneficiaries in its Office
                 Products Group, which produces its industry-leading
                 suite of productivity applications; the Windows and
                 Devices Group, which is responsible for the software
                 platform, apps, games, store, and devices that power
                 the Windows ecosystem; the Cloud & Enterprise
                 Group, which builds the infrastructure software and
                 developer tools that power the company’s cloud plat-
                 form and services; the Artificial Intelligence and Re-
                 search Group, which drives the company’s strategy for
                 artificial intelligence and forward-looking research and
                 development; and LinkedIn, its online professional
                 network designed to help members find jobs, connect
                 with other professionals, and locate business opportu-
                 nities. DACA beneficiaries are also employed in posi-


                  61
                     Brad Smith, President, Microsoft, DREAMers Make Our Coun-
                 try and Communities Stronger (Aug. 31, 2017), https://blogs.microsoft.
                 com/on-the-issues/2017/08/31/dreamers-make-country-communities
                 stronger?lipi=urn%3Ali%3Apage%3Ad_flagship3_pulse_read%3B
                 VGlIRxrxTBirfzbdYk4jSg%3D%3D.




                                                                                          AR2906
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                                               613

                 tions within Microsoft’s Finance organization as well as
                 its Worldwide Commercial Business and Retail divi-
                 sions, which engage directly with its customers. As
                 Microsoft President Brad Smith has explained, these
                 individuals are an integral part of the fabric of Mi-
                 crosoft’s business and its “collective mission to em-
                 power every person and organization on the planet to
                 achieve more.” 62
                    60. Moreover, by allowing Dreamers to work law-
                 fully, DACA moved these individuals out of the infor-
                 mal economy, increasing the pool of talent from which
                 Microsoft could fill supply gaps in the U.S. job market.
                 The United States faces a shortage of skilled workers
                 that is only projected to intensify over the next decade,
                 as workers from the baby-boom generation retire from
                 the workforce. As these gaps continue to widen,
                 DACA recipients play a critical role in filling positions
                 for which there are not enough U.S.-born applicants.
                 DACA recipients also often possess skills—including
                 foreign language skills—that businesses like Microsoft
                 need.
                             c.   Plaintiffs Will Be Harmed by the Rescis-
                                  sion of DACA.
                    61. With DACA’s rescission, Princeton and Mi-
                 crosoft will be harmed in several ways. Princeton has
                 devoted substantial resources to recruiting, retaining,
                 and educating Dreamers—including, among other
                 things, investments in financial aid to cover tuition,
                 housing, and other educational expenses, as well as
                 faculty and administrative time. Those resources were
                 invested with the expectation that those students would
                 be able to deploy their Princeton degree in varied suc-

                  62
                       Id.




                                                                             AR2907
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                                            614

                 cessful careers. The loss of DACA diminishes the
                 likelihood that Dreamers will be authorized to work in
                 the United States, thus also diminishing the economic
                 value of their education and Princeton’s investment in
                 them. Princeton has also spent additional resources
                 to address the harms of DACA’s rescission on Prince-
                 ton’s students and employees, and reasonably expects
                 to spend further resources addressing this issue.
                 Furthermore, Princeton will lose the opportunity to
                 matriculate new Dreamers, as many may be deterred
                 from studying at Princeton because the tremendous
                 investment of time, effort, and money required to pur-
                 sue that education may not yield employment prospects
                 without the work authorization provided by DACA.
                     62. Microsoft also has expended significant re-
                 sources in recruiting and training Dreamers, with the
                 expectation that they would continue to be eligible to
                 work at the company. By eliminating a valuable pool
                 of employees, rescission of DACA will cause Microsoft
                 to lose at least 45 employees and interns who make sig-
                 nificant contributions to the company. This loss will
                 hinder the company’s productivity, leading to a less
                 robust and diverse workforce. Moreover, as a conse-
                 quence of Defendants’ actions, Microsoft will have to
                 spend additional resources to recruit, train, and pro-
                 mote replacement employees. The pool of workers
                 from which to fill these positions will be smaller, inhib-
                 iting Microsoft’s productivity, reducing the diversity of
                 its workforce, and making it harder to compete globally.
                 Microsoft’s corporate interests are best served by a
                 stable, fair, and efficient business environment. De-
                 fendants’ rescission of DACA injures each of these
                 interests.




                                                                              AR2908
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                    63. DACA’s rescission of course inflicts grave
                 harm on not only the University and Microsoft, but also
                 the Dreamers themselves. Some feel that DACA’s
                 rescission will impede or diminish their educational ex-
                 perience. For example, they may not be able to pur-
                 sue research or study abroad, which are important
                 parts of many academic programs. In addition, they
                 may not be able to receive work authorization, which
                 will hinder their ability to enhance their skills, build
                 their resumes, network with campus administrators,
                 professors, and other students, and earn money that
                 can be used to further their educations. For all, the
                 future value of their Princeton education is seriously
                 diminished because they cannot obtain a legitimate job
                 in the United States after graduation. Perales San-
                 chez, for example, will not be able to obtain financial
                 aid to support her planned law school education—and
                 even if she could, her inability to work legally in the
                 United States as a lawyer undermines the viability of
                 that planned career path.
                    64. Of course, the ultimate consequence of DACA’s
                 rescission is not just the loss of opportunity in the
                 United States, but the very real threat of deportation
                 from the United States. If that threat is realized, the
                 Dreamers, including Perales Sanchez, stand to lose
                 everything: their homes, their families and friends,
                 and the lives that they have finally been free to live in
                 this country because of DACA. If deported, they will
                 be sent to countries where they have not lived since
                 they were very young, where they have no friends and
                 no known prospects, and that are in every meaningful
                 sense foreign to them. Perales Sanchez, for example,
                 left her native country of Mexico at the age of eight and
                 has only returned once for a single week. Her family,




                                                                             AR2909
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                 friends, and career prospects are all here in the United
                 States.
                                        COUNT I
                         PROCEDURAL VIOLATIONS OF THE
                         ADMINISTRATIVE PROCEDURE ACT
                   Brought By All Plaintiffs Against All Defendants
                    65. Plaintiffs repeat and incorporate herein by
                 reference each and every allegation contained in the
                 preceding paragraphs as if fully set forth herein.
                    66. The APA requires that federal agencies con-
                 duct notice-and-comment rulemaking before promul-
                 gating a substantive rule. See 5 U.S.C. § 553. Agen-
                 cy action is unlawful where it is made “without ob-
                 servance of procedure required by law.” 5 U.S.C.
                 § 706(2)(D).
                    67. DHS is an “agency” within the meaning of the
                 APA, and the DACA Rescission Memorandum and the
                 actions that DHS has taken to implement the DACA
                 Rescission Memorandum are a substantive rule within
                 the meaning of the APA. See 5 U.S.C. § 551(1), (4).
                    68. Defendants’ actions affirmatively circumscribe
                 DHS’s statutory authority in providing deferred action
                 as they bind DHS to categorically deny applications for
                 deferred action to individuals who fit the original
                 DACA eligibility criteria, prohibit DHS from renewing
                 recipients’ deferred status under DACA after October
                 5, 2017, and prohibit DHS from granting advance pa-
                 role to DACA recipients.
                    69. The DACA Rescission Memorandum and the
                 actions that DHS has taken to implement the DACA
                 Rescission Memorandum have affected the rights and
                 interests of all DACA recipients by changing the sub-




                                                                            AR2910
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                 stantive criteria by which these individuals work, live,
                 attend school, obtain credit, and travel. Defendants
                 did not follow the procedures required by the APA
                 before taking action affecting these substantive rights.
                    70. Defendants promulgated and implemented
                 these substantive rules without authority and without
                 notice-and-comment rulemaking in violation of the
                 APA.
                    71. Plaintiffs have been harmed by these unlawful
                 acts, including because they have not had the oppor-
                 tunity to comment on the rescission of DACA.
                    72. Defendants’ violation causes ongoing harm to
                 the University, Microsoft, Perales Sanchez, and other
                 members of the University community. These inju-
                 ries, including the specific harms alleged above to the
                 University and Microsoft, fall within the zone of inter-
                 ests encompassed by the broad scope of the Immigra-
                 tion and Naturalization Act (“INA”), 8 U.S.C. §§ 1101 et
                 seq.
                                        COUNT II
                         SUBSTANTIVE VIOLATIONS OF THE
                         ADMINISTRATIVE PROCEDURE ACT
                   Brought By All Plaintiffs Against All Defendants
                    73. Plaintiffs repeat and incorporate herein by ref-
                 erence each and every allegation contained in the pre-
                 ceding paragraphs as if fully set forth herein.
                    74. Defendants are subject to the APA. See 5 U.S.C.
                 §§ 701(b)(1), 703. Defendants’ rescission of DACA is
                 final agency action subject to judicial review because it
                 consummates DHS’s decision-making process and is a
                 decision from which legal consequences will flow.




                                                                             AR2911
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                     75. The APA prohibits federal agency action that
                 is “arbitrary, capricious, an abuse of discretion, or
                 otherwise not in accordance with law,” “contrary to con-
                 stitutional right, power, privilege, or immunity,” or “in
                 excess of statutory jurisdiction, authority, or limita-
                 tions, or short of statutory right.” 5 U.S.C. § 706(2)(A),
                 (B), (C).
                    76. In creating and implementing DACA, over the
                 course of years, the government repeatedly made pro-
                 mises and assurances to DACA recipients (including
                 Princeton alumni and current students, and Microsoft
                 employees) that if they stepped forward, shared highly
                 sensitive personal information, and passed a back-
                 ground check, they would be granted renewable pro-
                 tection and would be allowed to live and work in the
                 United States as long as they abided by the conditions
                 of the program. The government also specifically and
                 consistently promised that information disclosed through
                 the DACA program would not be used for immigration
                 enforcement purposes outside certain limited circum-
                 stances.
                    77. The University, Microsoft, Perales Sanchez,
                 and nearly 800,000 other vulnerable young people rea-
                 sonably relied on the government’s assurances and
                 promises in taking the irreversible step of identifying
                 themselves and providing the government with highly
                 sensitive and potentially compromising personal in-
                 formation. DACA recipients, including Perales San-
                 chez, also made numerous life-altering personal and
                 professional decisions in reliance on the government’s
                 promises regarding DACA.
                    78. The establishment and implementation of
                 DACA engendered serious reliance interests by Per-
                 ales Sanchez and other DACA recipients, their families,




                                                                              AR2912
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                 and others affected, including the University and Mi-
                 crosoft. Defendants failed to take these interests into
                 account and failed to provide a rational explanation for
                 the change in policy on which such individuals and
                 institutions have reasonably relied.
                    79. Defendants’ disregard for the reasonable reli-
                 ance of Perales Sanchez and hundreds of thousands of
                 other vulnerable young people, and others affected by
                 DACA’s rescission is the hallmark of arbitrary and
                 capricious action and an abuse of discretion. The de-
                 cision to rescind DACA is therefore in violation of the
                 APA and must be vacated.
                    80. Defendants’ rescission of DACA also must be
                 set aside as arbitrary, capricious, an abuse of discre-
                 tion, or otherwise not in accordance with law because
                 the agency failed to articulate a reasoned explanation
                 for its decision that considered all important aspects of
                 the issue.
                    81. For example, Defendants provided no justifi-
                 cation for many of the details of the rescission of
                 DACA, including but not limited to the September 5,
                 2017 deadline for initial applications; the October 5,
                 2017 deadline to file certain renewal applications; and
                 the March 5, 2018 cut-off for renewal eligibility.
                 These deadlines are arbitrary, and they fail to provide
                 sufficient time and notice to DACA recipients.
                   82. Defendants also failed to provide any reasoned
                 analysis to support the changes to the confidentiality of
                 applicant information.
                    83. Defendants’ purported grounds for rescinding
                 DACA are inadequate to justify termination, are legal-
                 ly erroneous, pretextual, and internally inconsistent,
                 and fail to consider or address relevant factors such as




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                 the government’s previous conclusion that the DACA
                 program was lawful or other government statements
                 that contradict the agency’s stated rationale.
                     84. Defendants’ rescission of DACA and the steps
                 taken to implement that determination are arbitrary
                 and capricious, an abuse of discretion, and not in ac-
                 cordance with law because, among other things, they
                 are based on the legally incorrect premise that DACA
                 is unlawful.
                    85. Defendants’ assertion that the Executive Branch
                 lacks authority to continue the DACA program ignores
                 the fact that the government itself previously conclud-
                 ed that it did have the authority to implement the pro-
                 gram, including in an OLC opinion that has not been
                 withdrawn or amended. Defendants’ failure to con-
                 duct or provide a reasoned analysis for its decision to
                 rescind DACA constitutes a violation of the APA.
                     86. Defendants’ decision to rescind DACA is also
                 arbitrary and capricious because its purported ration-
                 ale is inconsistent with DHS’s new policy. In particu-
                 lar, Defendants terminated the program because they
                 purportedly concluded that the Executive Branch lacks
                 authority to continue the program, yet DHS continued
                 to adjudicate pending DACA applications and renewal
                 applications received before October 5, 2017 (for indi-
                 viduals whose benefits would expire before March 5,
                 2018), effectively extending DACA for an additional
                 two and a half years. Likewise, the President suggested
                 that he may renew DACA if Congress does not act
                 within six months, which is an inherent admission that
                 the stated rationale for DACA’s rescission is arbitrary
                 and capricious.
                    87. The rescission of DACA also violates the APA
                 because it is “contrary to constitutional right, power,




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                 privilege, or immunity.” 5 U.S.C. § 706(2)(B). For the
                 reasons set forth in this complaint, Defendants’ actions
                 in promulgating and implementing the rescission of
                 DACA are unconstitutional and therefore must be va-
                 cated.
                    88. For all of the reasons stated above and through-
                 out this complaint, Defendants’ actions violate the APA.
                    89. Defendants’ violation causes ongoing harm to
                 the University, Microsoft, Perales Sanchez, and other
                 DACA recipients. These injuries fall within the zone
                 of interests of the INA, which is intimately related to
                 the ability of Perales Sanchez and other Dreamers to
                 study and work in the United States and to the Univer-
                 sity and Microsoft’s ability to enroll and hire Dream-
                 ers.
                                       COUNT III
                     VIOLATIONS OF THE FIFTH AMENDMENT
                             (EQUAL PROTECTION)
                   Brought By All Plaintiffs Against All Defendants
                    90. Plaintiffs repeat and incorporate herein by ref-
                 erence each and every allegation contained in the pre-
                 ceding paragraphs as if fully set forth herein.
                    91. The Due Process Clause of the Fifth Amend-
                 ment prohibits the federal government, including De-
                 fendants, from denying equal protection of the laws.
                    92. Rescission of DACA impermissibly discrimi-
                 nates against DACA recipients on the basis of a char-
                 acteristic over which they have little control—namely,
                 their undocumented status. Defendants’ decision to
                 deprive DACA recipients of their interest in furthering
                 their education or pursuing a livelihood presents un-
                 reasonable obstacles to advancement based on individ-




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                 ual merit, and cannot be sufficiently justified by federal
                 interests.
                    93. The University, DACA recipients enrolled at
                 the University, other University students, Microsoft,
                 and Perales Sanchez, have been and continue to be
                 harmed by this violation of the equal protection guar-
                 antee of the Fifth Amendment.
                                        COUNT IV
                      VIOLATIONS OF THE FIFTH AMENDMENT
                           (DUE PROCESS—RESCISSION)
                   Brought By All Plaintiffs Against All Defendants
                    94. Plaintiffs repeat and incorporate herein by
                 reference each and every allegation contained in the
                 preceding paragraphs as if fully set forth herein.
                    95. DACA recipients—including Perales Sanchez,
                 other University students and alumni, and Microsoft
                 employees—are physically present in the United
                 States and have developed deep and meaningful con-
                 nections to their communities, including through pur-
                 suit of education, occupation, entrepreneurial enter-
                 prise, financial and other support for family, friends,
                 and members of the public, and other activities enabled
                 by the government’s decision to grant deferred status.
                    96. The Due Process Clause applies to individuals
                 and entities present in the United States. See Zadvy-
                 das v. Davis, 533 U.S. 678, 682, 693-94 (2001) (“[A]liens
                 who were admitted to the United States but subsequent-
                 ly ordered removed” have constitutional due process
                 rights, “whether their presence here is lawful, unlaw-
                 ful, temporary, or permanent.”).
                    97. The Due Process Clause imposes limits on fed-
                 eral government decisions that deprive individuals of




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                 liberty or property interests protected by the Fifth
                 Amendment. See Mathews v. Eldridge, 424 U.S. 319,
                 331 (1976). Protected liberty and property interests
                 may take many forms. E.g., Board of Regents of State
                 Colleges v. Roth, 408 U.S. 564, 576 (1972); Morrissey v.
                 Brewer, 408 U.S. 471, 482 (1972).
                    98. Rescission will, without due process of law,
                 deprive the University of several interests cognizable
                 under the Constitution. For example, the University
                 currently has enrolled 16 DACA recipients, including 1
                 graduate student and 15 undergraduate students.
                 The University has incurred substantial cost to support
                 each student, including costs associated with faculty
                 time and attention, privately-funded financial aid, re-
                 search grants, housing, and other resources. The
                 University has made these investments on the basis of
                 individual merit, and with the firm belief that each
                 student will make significant contributions to commu-
                 nities within and beyond the University. Were DACA
                 enrollees to leave the University before completing
                 their program of study, the University stands to forfeit
                 the important contributions that the students make on
                 campus, the resources the University has invested in
                 their education, and the benefits associated with their
                 future success, including their continued contributions
                 —socially, academically, and monetarily—to the Uni-
                 versity.
                    99. Rescission also will, without due process of law,
                 deprive Microsoft of several interests cognizable under
                 the Constitution. Microsoft has made significant in-
                 vestments in recruiting, training, and supporting DACA
                 enrollees, and has conducted its business operations
                 based on the well-founded expectation that they would
                 continue to be eligible to work at the company. If




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                 DACA enrollees become ineligible to work at Mi-
                 crosoft, the company will lose this crucial talent in
                 which it has heavily invested, as well as the time, mon-
                 ey, and resources that it has spent cultivating this hu-
                 man capital. It also will suffer business disruptions as
                 a result of the loss of these employees and will have to
                 spend additional resources to recruit, train, and pro-
                 mote replacement employees.
                    100. DACA recipients, including Perales Sanchez,
                 also have constitutionally-cognizable liberty and prop-
                 erty interests in their deferred status, as well as rights,
                 benefits, and property that they could not have ob-
                 tained but for DACA. Because of DACA, some of these
                 individuals, including Perales Sanchez, have become
                 eligible for and obtained work authorization, become
                 able to open bank accounts, to obtain credit, to secure
                 driver’s licenses, to pursue higher education, and to
                 access various federal government benefits, such as
                 Social Security.
                    101. The government, through its introduction, im-
                 plementation, and operation of DACA, cultivated a rea-
                 sonable expectation among the University, Microsoft,
                 Perales Sanchez, and other DACA recipients that DACA
                 recipients would have an opportunity to maintain and
                 renew their deferred status.
                    102. The rescission of DACA occurred with inade-
                 quate notice and without any opportunity to be heard
                 and does not provide for any opportunity to be heard.
                 As a result, rescission and actions taken by Defendants
                 in connection with rescission unlawfully deprive the
                 University, Microsoft, Perales Sanchez, other DACA
                 recipients enrolled at the University, and all other Uni-
                 versity students of constitutionally-protected interests
                 without due process of law.




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                     103. The University, Microsoft, Perales Sanchez,
                 other DACA recipients enrolled at the University, and
                 other University students have been and continue to be
                 harmed by these violations of the Due Process Clause
                 of the Fifth Amendment.
                                        COUNT V
                     VIOLATIONS OF THE FIFTH AMENDMENT
                     (DUE PROCESS—INFORMATION SHARING)
                    Brought By The University and Perales Sanchez
                               Against All Defendants
                    104. The University and Perales Sanchez repeat
                 and incorporate herein by reference each and every
                 allegation contained in the preceding paragraphs as if
                 fully set forth herein.
                    105. The Due Process Clause also requires funda-
                 mental fairness and limits the government’s discretion
                 to make and break assurances, particularly when the
                 government offers benefits to induce conduct that may
                 have severe repercussions.
                    106. After introducing DACA, the government in-
                 vited undocumented individuals brought to the United
                 States as children to apply for deferred status and, in
                 the event an individual was granted relief, work au-
                 thorization. Applications for deferred status and for
                 work authorization required that individuals provide
                 sensitive and detailed personal information. To in-
                 duce otherwise vulnerable individuals to disclose this
                 information, the government made clear and consistent
                 assurances that it would not be used to facilitate re-
                 moval. For example, in official instructions provided
                 to potential applicants, the government represented
                 that information supplied in a request for consideration
                 under DACA “is protected from disclosure to ICE and




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                 U.S. Customs and Border Protection (CBP) for the
                 purpose of immigration enforcement.”
                    107. In reliance on the government’s assurances
                 about information sharing, and the potential to secure
                 relief under DACA, Perales Sanchez, and other individ-
                 uals enrolled at the University provided the govern-
                 ment with sensitive and detailed personal information.
                    108. In addition to rescinding DACA, the Defend-
                 ants have revised assurances about information shar-
                 ing. Defendants no longer promise to protect infor-
                 mation from use for immigration enforcement. In-
                 stead, they offer only to prevent personal information
                 from being provided “proactively” to agencies respon-
                 sible for facilitating removal. Except as previously
                 provided under the DACA program, the use of infor-
                 mation obtained through implementation and operation
                 of DACA—information that was provided at the gov-
                 ernment’s invitation, to facilitate an assessment of
                 eligibility for deferred status, and based on assurances
                 that it would be protected—for any purpose related to
                 immigration enforcement violates the Due Process
                 Clause of the Fifth Amendment to the United States
                 Constitution.
                     109. The University, Perales Sanchez, other DACA
                 recipients enrolled at the University, and all other
                 University students have been and continue to be
                 harmed by these violations of the Due Process Clause
                 of the Fifth Amendment.
                     REQUEST FOR DECLARATORY JUDGMENT
                    110. Plaintiffs repeat and incorporate herein by
                 reference each and every allegation contained in the
                 preceding paragraphs as if fully set forth herein.




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                    111. The DACA program was a lawful exercise of
                 the President’s discretion to enforce the immigration
                 laws. The government, through OLC, concluded that
                 DACA was lawful. Defendants now claim, as the basis
                 for rescission of the program, that DACA is unlawful.
                 There is therefore an actual controversy regarding
                 whether the DACA program is lawful.
                    112. The Declaratory Judgment Act, 28 U.S.C.
                 § 2201, allows the court, “[i]n a case of actual contro-
                 versy within its jurisdiction,” to “declare the rights and
                 other legal relations of any interested party seeking
                 such declaration, whether or not further relief is or
                 could be sought.” 28 U.S.C. § 2201(a).
                    113. Because it is a direct beneficiary of the pro-
                 gram through its Dreamer students and employees,
                 Princeton and Microsoft have interests in the legality
                 of the DACA program. Perales Sanchez, as a DACA
                 beneficiary, also has an interest in the legality of the
                 DACA program. Defendants’ decision to terminate
                 DACA on the purported basis that the DACA program
                 was unlawful has harmed Plaintiffs and continues to
                 cause ongoing harm to Plaintiffs.
                    114. Plaintiffs are entitled to a declaratory judg-
                 ment pursuant to 28 U.S.C. § 2201(a) that the DACA
                 program was lawful and is lawful today.
                                 PRAYER FOR RELIEF
                   WHEREFORE, Plaintiffs Princeton University,
                 Microsoft Corporation, and Maria De La Cruz Perales
                 Sanchez respectfully request that judgment be entered
                 against the Defendants, and that this Court:




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                    A. Declare pursuant to 28 U.S.C. § 2201(a) that the
                       DACA program is lawful and constitutional;
                    B. Declare pursuant to 28 U.S.C. § 2201(a) that the
                       termination of the DACA program was unlawful
                       and unconstitutional;
                    C. Issue an injunction against enforcement and im-
                       plementation of the DACA Rescission Memo-
                       randum, and enjoining Defendants from termi-
                       nating or rescinding the DACA program;
                    D. Issue an injunction enjoining Defendants from
                       sharing or otherwise using information fur-
                       nished by Dreamers, including Perales Sanchez,
                       pursuant to the DACA program for purposes of
                       immigration enforcement, except as previously
                       provided under the DACA program;
                    E. In the alternative, remand the action to the De-
                       fendants for reconsideration; and
                    F. Grant such other and further relief as may be
                       just and proper.

                 Dated:   Nov. 3, 2017
                                    Respectfully submitted,
                                    THE TRUSTEES OF
                                    PRINCETON UNIVERSITY;
                                    MICROSOFT CORPORATION;
                                    MARIA DE LA CRUZ
                                    PERALES SANCHEZ




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                                  Cruz Perales Sanchez

                                  * Application for Admission to
                                  District Court for District of Colum-
                                  bia Pending




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                 Case No. 1:17-cv-01907
                  THE NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                      OF COLORED PEOPLE (NAACP), AMERICAN
                      FEDERATION OF TEACHERS, AFL-CIO, AND
                    THE UNITED FOOD AND COMMERCIAL WORKERS
                  INTERNATIONAL UNION, AFL-CIO, CLC, PLAINTIFFS
                                            v.
                    DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                    PRESIDENT OF THE UNITED STATES, JEFFERSON
                  BEAUREGARD SESSIONS III, IN HIS OFFICIAL CAPACITY
                  AS THE ATTORNEY GENERAL OF THE UNITED STATES,
                     ELAINE C. DUKE, IN HER OFFICIAL CAPACITY AS
                      ACTING SECRETARY OF HOMELAND SECURITY,
                     U.S. CITIZENSHIP AND IMMIGRATION SERVICES;
                    U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT;
                    DEPARTMENT OF HOMELAND SECURITY; AND THE
                       UNITED STATES OF AMERICA, DEFENDANTS


                                   Filed: Oct. 23, 2017

                      [PROPOSED] FIRST AMENDED COMPLAINT


                 I.   INTRODUCTION
                    1.    The National Association for the Advancement
                 of Colored People (“NAACP”), the American Federa-
                 tion of Teachers (“AFT”), and the United Food and
                 Commercial Workers International Union, AFL-CIO,
                 CLC (“UFCW”) bring this action in their organization-
                 al capacities against the President of the United States
                 and the federal government for unlawfully reneging on
                 their promise to protect young, undocumented immi-




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                 grants of color living in the United States. This action
                 alleges violations of the Due Process Clause of the
                 Fifth Amendment, the Administrative Procedure Act,
                 and the Regulatory Flexibility Act. This action also
                 seeks declaratory relief pursuant to 28 U.S.C. § 2201.
                    2.   The Deferred Action for Childhood Arrivals
                 (“DACA”) refers to the United States’ immigration pol-
                 icy concerning undocumented immigrants who arrived
                 in America as children. Under this policy, people who
                 immigrated to the United States when they were
                 younger than 16 and have lived in the United States
                 continuously since 2007 were eligible to defer deporta-
                 tion indefinitely, attend school, and receive two-year
                 work permits, among other benefits.
                   3.    The vast majority of DACA registrants are
                 people of color. More than 80% of registrants are of
                 Mexican origin.
                    4.   In exchange for providing the federal govern-
                 ment with extensive biographic and biometric infor-
                 mation, DACA registrants 1 received the United States’
                 promise that they could build lives for themselves in
                 the United States without fear of prosecution or de-
                 portation.
                    5.   However, a little less than two weeks ago, the
                 President of the United States and the United States
                 Attorney General announced their intention to renege
                 on those promises.

                  1
                     The children of undocumented parents who were brought to this
                 country and grew up here became known as DREAMers, after the
                 DREAM Act, a piece of legislation meant to give them a path to ci-
                 tizenship that was first introduced in 2001. Approximately 1.3 million
                 Dreamers were eligible to enroll in DACA, and to date approxi-
                 mately 800,000 have done so.




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                    6.   On September 5, 2017, Attorney General Jeff
                 Sessions, on behalf of President Donald Trump, an-
                 nounced that the Trump Administration was rescinding
                 the DACA program. The same day, the Department
                 of Homeland Security (“DHS”) issued a memorandum
                 memorializing the rescission. The Attorney General
                 announced that, effective immediately, DHS would stop
                 processing or accepting new DACA applications, cease
                 allowing DACA registrants to visit their families
                 abroad and return to the United States, and issue re-
                 newals only for registrants whose terms expired before
                 March 5, 2018 as long as they applied for renewal by
                 October 5, 2018.
                    7.    The Trump Administration announced this re-
                 scission without regards to the Due Process rights of
                 the DACA registrants, and without engaging in the re-
                 quired analysis or rulemaking procedures required by
                 the Regulatory Flexibility Act and the Administrative
                 Procedure Act, both of which are laws put into place to
                 safeguard the public against this very type of impul-
                 siveness by leaders in powerful positions.
                    8.    As a result, the NAACP, AFT, and UFCW,
                 whose respective memberships include DACA regis-
                 trants across the United States, respectfully requests
                 that this Court declare the termination of the DACA
                 program unlawful, and enjoin the Trump Administra-
                 tion from effectuating its rescission.
                 II.   JURISDICTION AND VENUE
                    9.   The Court has jurisdiction pursuant to 28 U.S.C.
                 §§ 1331 and 2201(a).
                    10. Venue is proper in this district pursuant to
                 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1). Defendants
                 are United States agencies or officers sued in their




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                 official capacities. Several Defendant agencies are
                 residents of this judicial district, and a substantial part
                 of the events or omissions giving rise to this Complaint
                 occurred within the District of Columbia.
                 III. PARTIES
                     11. The National Association for the Advancement
                 of Colored People is the nation’s largest and oldest civil
                 rights grassroots organization. Since its founding in
                 1909, the mission of the NAACP has been to ensure the
                 political, educational, social, and economic equality of
                 all persons and to eliminate race-based discrimination.
                 The NAACP has fought in the courts for decades to
                 protect the guarantee of equal protection under law.
                 To advance its mission, the NAACP has represented
                 parties in landmark civil rights cases, perhaps most
                 famously in Brown v. Board of Education of Topeka,
                 347 U.S. 483 (1954), which outlawed segregation in
                 public schools. The NAACP also has filed numerous
                 amicus briefs over its decades of existence in cases
                 that significantly impact people of color.
                    12. NAACP has members throughout the country
                 who are enrolled in the DACA Program. Accordingly,
                 the NAACP brings this action on behalf of those mem-
                 bers who are currently enrolled in, and who applied to
                 enroll in, the DACA Program. NAACP members who
                 are DACA registrants reside throughout the United
                 States, including in California, Florida, New York, and
                 Rhode Island, as well as other States.
                    13. The American Federation of Teachers (“AFT”),
                 an affiliate of the AFL-CIO, was founded in 1916, and
                 today represents approximately 1.7 million members
                 who are employed across the nation in K-12 and higher
                 education, public employment, and healthcare. The
                 AFT has a longstanding history of supporting and




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                 advocating for the civil rights of its members and the
                 communities they serve.
                    14. The AFT has members throughout the country
                 that have received work permits through the DACA
                 program. These members have utilized DACA work
                 permits to obtain employment in institutions that pro-
                 vide essential and necessary services, such as health-
                 care and education, to the public. AFT members also
                 teach students who have received DACA benefits.
                 These students are integral members of their educa-
                 tional institutions. They contribute to the diversity of
                 experience and viewpoint in classrooms, engage in val-
                 uable research projects, and play leadership roles in
                 student life.
                    15. The United Food and Commercial Workers
                 International Union, AFL-CIO, CLC is a labor organ-
                 ization which represents working men and women
                 across the United States. UFCW’s 1.3 million mem-
                 bers work in a range of industries, with the majority
                 working in retail food, non-food retail, meatpacking
                 and poultry, food processing, and manufacturing.
                 UFCW is the largest union of young workers with 40%
                 of its members under the age of 30. UFCW’s objec-
                 tive is the elevation of its members and other employ-
                 ees engaged in the performance of work through im-
                 proving their wages, hours, benefits, and working con-
                 ditions. More broadly, UFCW fights to advance and
                 safeguard full employment, economic security, and
                 social welfare of its members and their communities.
                    16. UFCW and its predecessor unions have rep-
                 resented immigrants from around the world since the
                 beginning of the last century, particularly workers in
                 the packinghouses and stockyards. Immigrant work-
                 ers continue to form a vital part of these and other




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                 workforces that UFCW represents. In particular,
                 UFCW has members who are DACA recipients across
                 industries in which it represents employees. UFCW
                 is proud that its representation enables DACA recipi-
                 ents to personally advance and contribute to their fam-
                 ilies and American society generally.
                    17. Defendant Donald J. Trump is the President of
                 the United States. He authorized the issuance of the
                 Department of Homeland Security Memorandum that
                 purports to rescind DACA. He is being sued in his
                 official capacity.
                    18. Defendant Jefferson Beauregard Sessions III
                 is the Attorney General of the United States, and an-
                 nounced the purported rescission of DACA on Sep-
                 tember 5, 2017. He has ultimate authority over pros-
                 ecutions by the Department of Justice for violation of
                 the immigration laws. He is being sued in his official
                 capacity.
                    19, Defendant Elaine C. Duke is the Acting Sec-
                 retary of the Department of Homeland Security. She
                 is responsible for implementing and enforcing the
                 Immigration and Nationality Act, and oversees the
                 United States Citizenship and Immigration Service
                 (“USCIS”) and the Immigration and Customs En-
                 forcement (“ICE”). She is being sued in her official
                 capacity.
                    20. Defendant DHS is a federal cabinet agency re-
                 sponsible for implementing the DACA program. DHS
                 is a Department of the Executive Branch of the U.S.
                 Government, and is an agency within the meaning of
                 5 U.S.C. § 552(f ).
                    21. Defendant USCIS is an Operational and Sup-
                 port Component agency within DHS. USCIS is the




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                 sub-agency responsible for administering the DACA
                 program.
                     22. Defendant ICE is an Operational and Support
                 Component agency within DHS. ICE is responsible
                 for enforcing federal immigration law, including iden-
                 tifying, apprehending, detaining, and removing non-
                 citizens.
                    23. Defendant the United States of America in-
                 cludes all government agencies and departments re-
                 sponsible for the implementation and rescission of the
                 DACA program.
                 IV. FACTUAL ALLEGATIONS
                    A.   The DACA Program Promised Young Immi-
                         grants Opportunities and Peace of Mind in Ex-
                         change for Extensive Personal Data
                    24. On June 15, 2012, former Secretary of Home-
                 land Security, Janet Napolitano, issued a memorandum
                 establishing a deferred prosecution program. She in-
                 veighed against “blindly enforc[ing]” immigration laws
                 to deport those who came to the United States as chil-
                 dren, and who have been productive Americans. As
                 part of exercising prosecutorial discretion, the gov-
                 ernment developed extensive criteria that must be
                 meet by Dreamers
                    a. That they were under the age of 31 as of June
                    15, 2012;
                    b. That they entered the United States prior to
                    their 16th birthday;
                    c. That they had resided in the United States since
                    June 15, 2007 and currently are present in the U.S.;




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                      d. That they were in the United States on June 15,
                      2012 and must be physically in the U.S. at the time
                      of filing for your request for deferred action;
                      e. That they entered the United States without
                      border inspection before June 15, 2012, or their im-
                      migration status expired prior to June 15, 2012;
                      f. That they must be currently in school, have
                      graduated, or obtained an equivalent certificate of
                      completion from high school, successfully obtained
                      a general education development (GED) certificate,
                      or must have been honorably discharged from the
                      Armed Forces of the United States; and
                      g. That they must not have been convicted of a
                      felony, significant misdemeanor, three or more oth-
                      er misdemeanors, and must not pose a threat to na-
                      tional security or public safety. 2
                     25. In addition to meeting these requirements,
                 DACA recipients had to provide the following as part
                 of the application process: financial records, medical
                 records, school records (diploma, report card, GED cer-
                 tificate, high-school transcript), employment records, or
                 military records (personnel records, health record).
                    26. Applicants are required to provide biograph-
                 ical information, including their arrival in the country,
                 previous departures, previous addresses of both them-
                 selves and those they traveled with.
                    27. Applicants were required to send all the forms
                 (including the I-821D form, the I-765 form, the I-765

                  2
                    Prepare Your Deferred Action for Childhood Arrivals (DACA)
                 Application Online!, Am. Immigration Ctr., https://www.us-
                 immigration.com/deferred-action-application-I-821D.jsp (last visi-
                 ted Sept. 18, 2017).




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                 worksheet and the G-1145 notification) to the USCIS
                 for processing. The Application Package Fee cost
                 $170; processing the USCIS Application Fee cost $495.
                 There was also a Biometrics Fee of $85. 3 With over
                 800,000 DACA registrants, those fees exceeded
                 $604,000,000 in revenue for the United States.
                    28. After submitting all documentation to USCIS,
                 applicants were then scheduled for a “Biometric Ser-
                 vices Appointment.” At this appointment, USCIS
                 agents captured applicants’ signatures, photographs,
                 and fingerprints, using special machines designed to
                 collect these biometrics. 4
                    29. USCIS Agents sometimes requested DNA
                 testing from applicants from developing countries who
                 did not have birth certificates, or “when there are sus-
                 picious discrepancies within the case.” 5
                    30. The successful DACA registrant received a
                 “DACA Approval Notice” that lists only “fraud or mis-
                 representation” as a basis for revoking their “lawful
                 presence” in the country.
                    31. Once accepted into DACA, a registrant’s re-
                 moval could not occur without justification and notice.
                 The 2013 standard operating procedure (SOP) for the
                 USCIS for DACA states that removal needed to be
                 based upon criminal, national security, or public safety

                  3
                    Id.
                  4
                    Preparing for Your Biometric Services Appointment, USCIS,
                 https://www.uscis.gov/forms/forms-information/preparing-your-
                 biometric-service-sappointment#What%20to%20Expect (last ac-
                 cessed Sept. 18, 2017).
                  5
                    What Happens at a USCIS Biometrics Appointment, Citizen
                 Path, https://citizenpath.com/uscis-biometrics-appointment (last ac-
                 cessed Sept. 18, 2017).




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                 issues, or fraud. Furthermore, and consistent with due
                 process, the DACA registrant had to receive a “Notice
                 of Intent to Terminate” that would thoroughly explain
                 why USCIS was intending to terminate the registrant
                 from the program. The Notice would need to include
                 a “fully documented SOF and any other relevant
                 documents/information.” The DACA registrant then
                 had 33 days to submit any evidence that he or she felt
                 could “overcome the grounds for termination.”
                    32. The U.S. also promised DACA applicants that
                 the information they provided would not be used
                 against them in deportation proceedings, or against
                 their family members whose undocumented status could
                 also be revealed by applying to the program. 6
                    33. The commitment not to use biographical in-
                 formation against applicants was reiterated by then
                 DHS Secretary Jeh Johnson in 2016: “Since DACA
                 was announced in 2012, DHS has consistently made
                 clear that information provided by applicants will be
                 collected and considered for the primary purpose of
                 adjudicating their DACA requests and would be safe-
                 guarded from other immigration-related purposes.
                 More specifically, the U.S. government represented to
                 applicants that personal information they provided will
                 not later be used for immigration enforcement purposes
                 except where it independently determines that a case
                 involves a national security threat, criminal activity,




                  6
                    Frequently Asked Questions, USCIS, https://www.uscis.gov/
                 archive/frequently-asked-questions, (last accessed Sept. 18, 2017).




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                 fraud, or limited other circumstances where issuance of
                 a notice to appear is required by law.” 7
                    34. Secretary Johnson explained that this was not
                 just a DACA-related policy by DHS, but even its pre-
                 decessor (INS) had a “long-standing and consistent
                 practice” of not using information submitted by people
                 seeking deferred action in enforcement actions.
                    35. Relying on these promises, DACA Program
                 applicants and registrants provided the federal gov-
                 ernment with extensive personal identifying infor-
                 mation with the understanding it would not be used to
                 deport them.
                      B.   DACA Recipients Relied on the Government’s
                           Promises When Investing in Their Own Futures
                    36. Assured of indefinite deferral of any risk of
                 deportation, immigrants who enrolled in DACA made
                 investments in their education, property, and careers.
                   37. In an August 2017 survey, researcher Tom K.
                 Wong found that:
                      •    Annual earnings had increased 80 percent under
                           DACA—from an average of $20,000 to an aver-
                           age of $36,000;
                      •    65 percent of DACA recipients had purchased a
                           first car;
                      •    16 percent had become homeowners;
                      •    5 percent had started their own businesses;



                  7
                    Letter from Jeh Johnson, Sec’y, SEC, to Hon. Judy Chu (Dec.
                 30, 2016), https://chu.house.gov/sites/chu.house.gov/files/documents/
                 DHS.Signed%20Response%20to%20Chu%2012.30.16.pdf.




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                      •   60 percent of DACA recipients above the age of
                          25 said that with DACA they’d been able to find
                          jobs that better suited the education and train-
                          ing they already had; and
                      •   61 percent said they’d been able to find jobs that
                          suited the careers they wanted to have. 8
                     38. In addition, about 900 DACA registrants are
                 enrolled in the military. 9 These enlistees are part of a
                 Pentagon pilot project called Military Accessions Vital
                 to the National Interest. The program waives certain
                 citizenship requirements for green card holders, refu-
                 gees and DACA recipients with skills that the military
                 considers essential to the national interest.
                    39. Some of the DACA registrants who are mem-
                 bers of the military are also members of the NAACP.
                    40. DACA registrants have thrived under DACA’s
                 protections, in reliance on the United States’ promises.
                    41. DACA-recipients will be unable to sustain the
                 lives they have built once their ability to work legally is
                 taken away with the rescission of DACA. In addition,
                 the rescission will place severe burdens on employers,
                 putting them in a position of having to terminate valu-
                 able and productive employees while scrambling to fill



                  8
                     See Tom K. Wong, et al., Results from T. Wong, et al. 2017 Na-
                 tional DACA Study, Ctr for Am Progress, https://cdn.american
                 progress.org/content/uploads/2017/08/27164928/Wong-Et-Al-New-
                 DACA-Survey-2017-Codebook.pdf (last accessed Sept. 18, 2017).
                   9
                     Gregory Korte, Alan Gomez and Kevin Johnson, Trump ad-
                 ministration struggles with fate of 900 DREAMers serving in the
                 military, USA Today (Sept. 7, 2017, 3:10 p.m.), https://www.usatoday.
                 com/story/news/politics/2017/09/07/trump-administration-struggles
                 -fate-900-dreamers-serving-military/640637001/.




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                 both high-skilled and entry-level vacancies in their
                 labor force.
                       C.   DACA Registrants and Applicants Now Face
                            Imminent Threat of Deportation
                    42. Despite the United States’ promises and
                 DACA registrants’ reliance on those promises, on Sep-
                 tember 5, 2017, Defendant Sessions announced that the
                 DACA program was being terminated, and the Trump
                 administration began the countdown to deportment for
                 DACA registrants and applicants.
                            1.   DACA Applicants
                    43. As of the date of Defendant Sessions’ an-
                 nouncement on September 5, 2017, no new DACA ap-
                 plications will be accepted or processed. 10
                    44. Thus, potential registrants who have submit-
                 ted an application, but whose application has not yet
                 been processed, will not enjoy any DACA protection.
                    45. Nevertheless, because USCIS has access to an
                 enormous amount of DACA applicants’ personally
                 identifying information, including the fact that they are
                 otherwise undocumented, these applicants are at a
                 dramatically increased risk of deportation.
                            2.   DACA Registrants
                    46. Following the September 5, 2017 announce-
                 ment, DACA and work permits will only remain valid
                 for registrants until their expiration date. 11


                  10
                     Deferred Action for Childhood Arrivals 2017 Announcement,
                 USCIS, https://www.uscis.gov/daca2017 (last accessed Sept. 18,
                 2017).
                  11
                     Id.




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                    47. Registrants whose permits are set to expire
                 before March 5, 2018 must apply for a two-year renew-
                 al by October 5, 2017. 12
                    48. Following the September 5, 2017 announce-
                 ment, the Department of Homeland Security will no
                 longer grant DACA registrants permission to travel
                 abroad through DACA’s “Advance Parole” program.
                 Moreover, any pending applications for Advance Parole
                 will not be processed. 13
                       D.    DACA Registrants Consist Mostly of Immigrants
                             of Color
                    49. Nearly all of the DACA registrants—more
                 than 95%—are people of color. These 95% of DACA
                 registrants come from Africa and the Caribbean, Cen-
                 tral and South America, East.
                    50. The termination of DACA will disproportion-
                 ately affect immigrants of color..
                 V.      CAUSES OF ACTION
                                           COUNT I
                             DECLARATORY RELIEF PURSUANT TO
                                      28 U.S.C. § 2201
                    51. Plaintiffs reallege and incorporate by refer-
                 ence all of the allegations contained in the preceding
                 paragraphs.
                    52. DACA applicants and registrants provided bio-
                 graphical and biometric information about themselves
                 and family members to USCIS and DHS at the time of
                 their application.


                  12
                       Id.
                  13
                       Id.




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                   53. DACA applicants have been told that they
                 must provide any renewals for work authorizations by
                 October 5, 2017.
                     54. Defendants have heretofore made assurances
                 that information provided to them as part of the DACA
                 program would not be used against them or their fami-
                 ly in any deportation proceedings.
                    55. As former DHS Secretary Jeh Johnson as-
                 sured: “Since DACA was announced in 2012, DHS
                 has consistently made clear that information provided
                 by applicants will be collected and considered for the
                 primary purpose of adjudicating their DACA requests
                 and would be safeguarded from other immigration-
                 related purposes. More specifically, the U.S. gov-
                 ernment represented to applicants that personal in-
                 formation they provided will not later be used for im-
                 migration enforcement purposes except where it inde-
                 pendently determine that a case involves a national secu-
                 rity threat, criminal activity, fraud, or limited other
                 circumstances where issuance of a notice to appear is
                 required by law.”
                    56. In the current version of Frequently Asked
                 Questions published by USCIS and DHS, DACA appli-
                 cants are told that “Individuals whose cases are de-
                 ferred pursuant to DACA will not be referred to ICE,”
                 and that, “information related to your family members
                 or guardians that is contained in your request will not
                 be referred to ICE for purposes of immigration en-
                 forcement against family members or guardians.”
                    57. Notwithstanding these assurances, termina-
                 tion of DACA Program is accompanied by withdrawal
                 of the guarantee that information provided by DACA
                 applicants and registrants in deportation proceedings.




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                    58. Plaintiffs, on behalf of their respective mem-
                 bers who are DACA applicants and registrants, seek a
                 declaration that the Defendants may not use infor-
                 mation about their immigration status and means of
                 contacting them and their families in any deportation
                 proceedings that may ensue after the DACA program
                 has ended.
                                       COUNT II
                  VIOLATION OF THE DUE PROCESS CLAUSES OF
                           THE FIFTH AMENDMENT
                    59. Plaintiffs reallege and incorporate by refer-
                 ence all of the allegations contained in the preceding
                 paragraphs.
                    60. The Due Process Clause of the Fifth Amend-
                 ment to the United States Constitution prohibits the
                 Government from depriving any person of life, liberty,
                 or property without due process of law.
                    61. All DACA registrants relied upon promises
                 made by Federal immigration authorities and the De-
                 partment of Justice. These included promises not to
                 use information against them or family members in
                 enforcement proceedings; promises not to terminate
                 them from the DACA program without justification
                 and notice; and a promise to provide employment au-
                 thorization to those eligible.
                    62. As a result of the Defendants’ promises re-
                 garding the DACA program, DACA applicants volun-
                 tarily provided potentially incriminating information to
                 the Defendants that they would not have otherwise
                 provided.
                    63. As a result of the Defendants’ promises re-
                 garding the DACA Program, DACA registrants ob-




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                 tained employment authorizations, and purchased pro-
                 perty, such as cars and homes. Some also paid college
                 tuition with the expectation that it would eventually
                 lead to graduation with a degree.
                    64. The Due Process Clause of the Fifth Amend-
                 ment also requires that immigration enforcement ac-
                 tions taken by the federal government be fundamen-
                 tally fair and neither arbitrary nor capricious.
                    65. Defendants will violate the Due Process Clause
                 when they use in deportation proceedings any infor-
                 mation provided by DACA applicants that the Defend-
                 ants elicited through promises that such information
                 would not be used for that purpose.
                    66. Defendants have also violated the Due Process
                 Clause by reneging on promises that applicants allowed
                 to register in the DACA program could only be de-
                 prived of their status as lawfully present if there was
                 an issue of fraud, criminal, national security, or public
                 safety issue. Moreover, termination required a “no-
                 tice of an intent to terminate” that provided all reasons
                 and documents supporting the determination. Fur-
                 ther, DACA registrants were to be given an oppor-
                 tunity to submit evidence rebutting that determination.
                 The DHS rescission memorandum removes the lawful
                 presence status afforded the DACA registrant and
                 subjects them to an imminent risk of deportation.
                    67. Defendants’ rescission of the DACA program
                 and safeguards to immigrants who qualified as lawfully
                 present residents, absent any cause or justification
                 particular to them, renders this action arbitrary and
                 capricious, in violation of the guarantee of due process
                 by the Fifth Amendment.




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                    68. Defendants’ rescission of the DACA program,
                 and the imminent threat of deportation to its regis-
                 trants and applicants, causes ongoing harm to those
                 DACA program registrants and applicants who are
                 members of the Plaintiffs’ organizations.
                                       COUNT III
                       VIOLATION OF THE ADMINISTRATIVE
                     PROCEDURE ACT 5 U.S.C. § 706(2)(A) AND (D)
                    69. Plaintiffs reallege and incorporate by refer-
                 ence all of the allegations contained in the preceding
                 paragraphs.
                    70. Rescission of the DACA program is governed
                 by the Administrative Procedure Act, as it constitutes
                 an agency action, pursuant to 5 U.S.C. § 551(13), and
                 constitutes a rule making, pursuant to 5 U.S.C. § 551(5).
                     71. As the action to rescind the DACA program
                 fails to be supported by, or even accompanied by, a
                 rationale that justifies the withdrawal of a longstanding
                 program lawfully instituted and which engendered ser-
                 ious reliance interests by its participants, it is arbi-
                 trary, capricious and an abuse of discretion in violation
                 of the Administrative Procedure Act.            5 U.S.C.
                 § 706(2).
                    72. In addition, the action to rescind the DACA
                 program constitutes a rulemaking within the meaning
                 of the Administrative Procedure Act because it forbids
                 DHS from continuing to defer deportation of individu-
                 als who were lawful registrants of the DACA program.
                    73. As rescission of the DACA program was un-
                 dertaken without first submitting the action for notice
                 and public comment, it violates Section 553 of the Ad-




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                 ministrative Procedure Act and constitutes an unlawful
                 rulemaking.
                    74. Defendants’ violation of the APA causes ongo-
                 ing harm to the Plaintiffs and DACA registrants and
                 applicants that are members of Plaintiffs’ organiza-
                 tions.
                                        COUNT IV
                  VIOLATION OF THE REGULATORY FLEXIBILITY
                               ACT, 5 U.S.C. § 601
                    75. Plaintiffs reallege and incorporate by refer-
                 ence all of the allegations contained in the preceding
                 paragraphs.
                    76. The Regulatory Flexibility Act, 5 U.S.C.
                 §§ 601-612 (“RFA”), requires federal agencies to ana-
                 lyze the impact of rules they promulgate on small enti-
                 ties and publish initial and final versions of those anal-
                 yses for public comment. 5 U.S.C. §§ 603-604.
                    77. “Small entities” for purposes of the RFA in-
                 cludes small businesses, small nonprofits, and small
                 governmental jurisdictions. 5 U.S.C. § 601(6).
                    78. The actions that DHS has taken to implement
                 the DHS Memorandum are “rules” under the RFA.
                 5 U.S.C. § 601(2).
                    79. The actions that DHS has taken to implement
                 the DACA rescission are likely to have a significant
                 economic impact on a substantial number of small
                 entities, like the Plaintiff organizations. 5 U.S.C.
                 § 602(a)(1).
                    80. Defendants have not issued the required anal-
                 yses of DHS’s new rules.




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                     81. Defendants’ failure to issue the initial and final
                 Regulatory Flexibility Analyses violates the RFA and
                 is unlawful.
                    82. Defendants’ violation causes ongoing harm to
                 the DACA registrants and applicants employed by or
                 members of Plaintiffs’ non-profit organizations.
                                 PRAYER FOR RELIEF
                    Wherefore, the Plaintiffs pray that the Court:
                    a) Declare that the DHS Memorandum rescinding
                       the DACA program is unauthorized by and con-
                       trary to the Constitution and laws of the United
                       States;
                    b) Declare that the actions that DHS has taken to
                       implement the DHS Memorandum rescinding
                       the DACA program are procedurally unlawful
                       under the APA;
                    c) Declare that the actions that DHS has taken to
                       implement the DHS Memorandum rescinding
                       the DACA program are substantively unlawful
                       under the APA;
                    d) Declare that the actions that DHS has taken to
                       implement the DHS Memorandum rescinding
                       the DACA program are unlawful under the
                       RFA;
                    e) Enjoin Defendants from rescinding the DACA
                       program, pending further orders from this Court;
                    f)   Enjoin Defendants from using information ob-
                         tained in any DACA application or renewal re-
                         quest to identify, apprehend, detain, or deport
                         any DACA registrant or applicant or member of
                         any DACA applicant’s family, or take any action




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                        against a DACA applicant’s current or former
                        employer; and
                    g) Award such additional relief as deemed just and
                       appropriate.
                 Oct. 23, 2017
                             Respectfully submitted,
                       /s/   JOSEPH M. SELLERS
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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


                            Case No. 1:16-cv-04756 (NGG) (JO)
                     MARTÍN JONATHAN BATALLA VIDAL, ANTONIO
                    ALARCON, ELIANA FERNANDEZ, CARLOS VARAS,
                  MRIANO MONDRAGON, AND CAROLINA FUNG FENG, ON
                   BEHALF OF THEMSELVES AND ALL OTHER SIMILARLY
                   SITUATED INDIVIDUALS, AND MAKE THE ROAD NEW
                     YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                  CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS,
                                     PLAINTIFFS
                                               v.
                  KIRSTJEN M. NIELSEN, 14 SECRETARY, DEPARTMENT
                  OF HOMELAND SECURITY, JEFFERSON BEAUREGARD
                  SESSIONS III, ATTORNEY GENERAL OF THE UNITED
                  STATES, AND DONALD J. TRUMP, PRESIDENT OF THE
                            UNITED STATES, DEFENDANTS

                                    Filed: Dec. 11, 2017


                             THIRD AMENDED COMPLAINT


                                       INTRODUCTION
                    Plaintiffs Martín Batalla Vidal, Antonio Alarcon,
                 Eliana Fernandez, Carlos Vargas, Mariano Mondrag-
                 on, and Carolina Fung Feng (“Individual Plaintiffs”),
                 on behalf of themselves and all other similarly situated
                 individuals, and Make the Road New York (“MRNY”),

                  14
                     Kirstjen M. Nielsen was sworn in as Secretary of Homeland
                 Security on December 6, 2017 and is automatically substituted for
                 Acting Secretary Duke as a defendant in this action. Fed. R. Civ.
                 P. 25(d).




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                 on behalf of itself, its members and clients, and all
                 other similarly situated individuals (collectively “Plain-
                 tiffs” or “Named Plaintiffs”), bring this action to chal-
                 lenge the Trump Administration’s unlawful termination
                 of the Deferred Action for Childhood Arrivals (“DACA”)
                 program. Nearly one million young immigrants rely
                 on DACA to work, study, hold driver’s licenses, serve
                 in the military, support their families, and live securely
                 in the only country they know as home. Defendants’
                 arbitrary decision to terminate this established and
                 successful program upends the lives of these individu-
                 als and threatens to destabilize their families, commu-
                 nities, and workplaces. The termination of DACA vio-
                 lates federal statutes and the Constitution, necessitat-
                 ing this Court’s intervention to protect against immi-
                 nent and devastating harm.
                    The termination of DACA will prevent Mr. Batalla
                 Vidal from caring for patients at the nursing home
                 where he works. It will prohibit Ms. Fernandez from
                 working to support her two U.S. citizen children, mak-
                 ing her mortgage payments, and paying for health in-
                 surance for her family. It will throw into disarray the
                 lives of Mr. Mondragon’s two young children and preg-
                 nant wife, who depend on his ability to make a living
                 wage. It will bar Mr. Vargas, who recently started at-
                 tending night classes at City University of New York
                 School of Law, from fulfilling his dream of becoming a
                 lawyer. Defendants’ decision to abruptly end the pro-
                 gram will force nearly 800,000 people to live with the
                 persistent fear of being separated from their families.
                    Defendants impose these harms in violation of the
                 procedural requirements meant to protect individuals
                 from arbitrary government action. The termination of
                 DACA binds the Department of Homeland Security




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                 (“DHS”) to categorically deny deferred action to new
                 applicants as of September 5, 2017, and to deny all re-
                 newal applications received after October 5, 2017, with-
                 out following public notice-and-comment procedures
                 required by the Administrative Procedure Act (“APA”),
                 and without the analysis required by the Regulatory
                 Flexibility Act (“RFA”).
                    Separately, Defendants’ DACA termination revers-
                 es longstanding agency policy on which nearly 800,000
                 people have relied, including assurances to DACA ap-
                 plicants that the information they provided would not
                 be used against them or their loved ones. Under the
                 APA, Defendants must provide a reasoned explanation
                 for choosing to terminate this program. Rather than
                 do so, Defendants have justified the reversal based on
                 fear of a hypothetical lawsuit, the legally erroneous claim
                 that DACA is unlawful, and a variety of inaccurate fac-
                 tual assertions.
                    Defendants’ termination of DACA additionally vio-
                 lates the Fifth Amendment. Defendants failed to cor-
                 rect misleading notices previously sent to many DACA
                 recipients who were required to submit renewal appli-
                 cations by October 5, 2017, in violation of procedural
                 due process requirements. Defendants further de-
                 prived DACA renewal applicants of procedural due
                 process in their implementation of the DACA termina-
                 tion, particularly in their arbitrary and haphazard im-
                 plementation of the October 5 deadline. Finally, De-
                 fendants’ contradictory, illogical, and false explanations
                 for terminating DACA evidence that the true reasons
                 for ending this highly successful program are pre-
                 textual, in violation of the guarantee of equal protection
                 under law.




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                    Because Plaintiffs and other similarly situated indi-
                 viduals are already beginning to lose eligibility for DACA
                 status due to Defendants’ unlawful actions, Plaintiffs
                 ask this Court to declare the termination of DACA un-
                 lawful and to enjoin its enforcement.
                              JURISDICTION AND VENUE
                    1.   This Court has subject matter jurisdiction pur-
                 suant to 28 U.S.C. § 1331, as this case arises under the
                 U.S. Constitution, the APA, 5 U.S.C. §§ 551 et seq., and
                 the RFA, 5 U.S.C. §§ 601 et seq.
                    2.    Venue properly lies in this district because In-
                 dividual Plaintiffs reside in the district, and Plaintiff
                 Make the Road New York (“MRNY”) operates commu-
                 nity centers in Bushwick, Brooklyn; Jackson Heights,
                 Queens; Port Richmond, Staten Island; and Brentwood,
                 Long Island. 28 U.S.C. § 1391(e)(1). Venue also pro-
                 perly lies in this district because a substantial part of
                 the events or omissions giving rise to this action oc-
                 curred in the district. Id. § 1391(b).
                                        PARTIES
                 Plaintiff Martín Batalla Vidal
                    3.   Plaintiff Martín Jonathan Batalla Vidal (“Mr.
                 Batalla Vidal”) is a recipient of DACA. He has resid-
                 ed in Queens, New York for twenty years.
                    4.    Mr. Batalla Vidal was born in Mexico and
                 raised in New York since he was a young child. Mr.
                 Batalla Vidal has a younger brother who has also re-
                 ceived DACA, and two younger brothers who were
                 born in the United States. Mr. Batalla Vidal consid-
                 ers New York his home, as it is the only place he has
                 lived in since he was a child.




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                    5.   Mr. Batalla Vidal attended Bushwick Leaders
                 High School for Academic Excellence in Brooklyn, New
                 York from September 2004 until his graduation in June
                 2008.
                    6.    After graduating from high school, Mr. Batalla
                 Vidal hoped to attend a nursing program at a school
                 such as the City University of New York (“CUNY”),
                 but could not seriously consider these programs be-
                 cause those universities did not offer financial aid to
                 undocumented students. His guidance counselor and
                 other advisors also stressed the difficulty of finding
                 work in the medical field without employment authori-
                 zation, in light of which Mr. Batalla Vidal chose not to
                 pursue a degree he might not be able to use in the fu-
                 ture.
                     7.   In November 2012, the Obama Administration
                 created DACA. In November 2014, Mr. Batalla Vidal
                 applied for DACA with the assistance of MRNY. To
                 prepare his application, Mr. Batalla Vidal attended a
                 workshop at MRNY’s Brooklyn office, where he made
                 follow-up visits. To prove his eligibility for DACA,
                 Mr. Batalla Vidal spent many hours over the course of
                 several months gathering paperwork and obtaining
                 documents from his high school, hospital, and bank.
                 On February 17, 2015, DHS approved Mr. Batalla
                 Vidal’s application.
                    8.    Receiving DACA reinvigorated Mr. Batalla
                 Vidal’s dreams of working in the medical profession,
                 and in fall 2015, he enrolled at ASA College in a medi-
                 cal assistant’s degree program. With DACA, Mr. Ba-
                 talla Vidal was able to raise money for school and sup-
                 port his mother and younger siblings. He worked two
                 jobs at the same time, full time at Bocca Catering and
                 part time at the New York Sports Club. He currently




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                 works full time at Park Terrace Rehabilitation and
                 Nursing Center, where he cares for patients with seri-
                 ous health needs. Mr. Batalla Vidal also received a
                 scholarship for DACA recipients from ASA College.
                    9.   Defendants approved Mr. Batalla Vidal’s DACA
                 renewal on February 16, 2017. His current grant will
                 expire on February 15, 2019. Because of Defendants’
                 termination of DACA, Mr. Batalla Vidal is ineligible to
                 apply to renew DACA.
                    10. When Mr. Batalla Vidal found out about the
                 termination of the DACA program, he obtained a third
                 job in order to save money prior to the expiration of his
                 period of deferred action and work authorization.
                    11. Through employment he was able to obtain
                 with DACA, Mr. Batalla Vidal can financially support
                 himself, his mother, and his younger siblings. Since
                 his mother has severe arthritis and cannot work, Mr.
                 Batalla Vidal pays the rent and the majority of the bills
                 for his household. Mr. Batalla Vidal’s ability to pur-
                 sue his career and provide for his family has been
                 thrown into jeopardy due to Defendants’ termination of
                 DACA. Without Mr. Batalla Vidal’s income, he and
                 his family will face significant financial hardship. Mr.
                 Batalla Vidal has also developed anxiety and stress re-
                 lated to the termination of the DACA program. If Mr.
                 Batalla Vidal is deported, his family will also lose his
                 emotional support and be irreparably harmed.
                 Plaintiff Antonio Alarcon
                    12. Plaintiff Antonio Alarcon (“Mr. Alarcon”) is a
                 recipient of DACA. He resides in Queens, New York.
                    13. Mr. Alarcon was born in Mexico and has lived
                 in New York since he was eleven years old. As a child,
                 he lived in New York with his parents, while his young-




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                 er brother stayed behind in Mexico with their grand-
                 parents. When Mr. Alarcon was seventeen, his grand-
                 parents passed away, and his parents felt compelled to
                 return to Mexico to care for his younger brother.
                 When his parents left, Mr. Alarcon moved in with his
                 aunt and uncle.
                    14. Mr. Alarcon received DACA on March 26,
                 2013, with the assistance of MRNY, which then hired
                 Mr. Alarcon as an Immigrant Youth Organizer. Em-
                 ployment by virtue of DACA enabled Mr. Alarcon to
                 financially support himself, his aunt, and his uncle as
                 he pursued his education.
                    15. Mr. Alarcon graduated from Flushing High
                 School, and received his associate’s degree from LaGuar-
                 dia Community College in 2015. He is currently pur-
                 suing a Bachelor of Arts degree in Film Studies from
                 Queens College, where he is on track to graduate in
                 December 2017.
                    16. Through his employment and volunteer activi-
                 ties, Mr. Alarcon has become a leading voice for youth
                 in his community and beyond. From facilitating local
                 youth meetings and retreats, to serving as a regional
                 coordinator on national campaigns, he has worked to
                 expand educational opportunities for immigrant youth
                 throughout New York and the United States.
                     17. Defendants granted Mr. Alarcon DACA re-
                 newals on March 6, 2015 and again on January 26, 2017.
                 His current grant will expire on January 25, 2019. He
                 is ineligible to renew his DACA because of Defendants’
                 termination of the program, thereby jeopardizing his
                 and his family’s wellbeing.




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                 Plaintiff Eliana Fernandez
                     18. Plaintiff Eliana Fernandez (“Ms. Fernandez”)
                 is a recipient of DACA. She resides in Suffolk Coun-
                 ty, New York.
                    19. Ms. Fernandez was born in Ecuador and came
                 to the United States at the age of fourteen, where she
                 was finally able to reunite with her parents after not
                 seeing them for many years. She has lived in New
                 York since she was fourteen years old. She has two
                 New York-born, U.S. citizen, children of elementary-
                 school age, whom she is raising.
                    20. Ms. Fernandez first received DACA on De-
                 cember 11, 2012 and renewed her status on November
                 4, 2016. Her current grant will expire on November
                 20, 2018, and so she is no longer eligible to renew DACA
                 as a result of Defendants’ termination of the program.
                    21. Ms. Fernandez has worked hard to build a life
                 for herself and her family. Despite being ineligible
                 for financial aid and other types of support, she at-
                 tended St. Joseph’s College, where she was on the
                 Dean’s List many semesters and earned a degree in
                 Sociology in 2015. She now works as an Immigration
                 Case Manager in MRNY’s Long Island office. This
                 semester she started graduate school at CUNY School
                 of Professional Studies to obtain an Advanced Certifi-
                 cate on Immigration Law.
                    22. Ms. Fernandez is a mother and homeowner
                 who contributes every day to the state of New York by
                 working, studying, and giving back to her community.
                 She was able to achieve these goals because of DACA,
                 which allowed her to go back to school, earn a living
                 wage, and purchase a home in which her children can
                 grow up.




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                    23. Without DACA, Ms. Fernandez would no
                 longer have a driver’s license to drive her children to
                 the doctor or to school. Without the employment
                 authorization that her DACA status provides, she could
                 not afford her mortgage or her family’s health insur-
                 ance. Defendants’ termination of the DACA program
                 puts Ms. Fernandez at risk of being separated from her
                 children, as she was from her parents as a child. As a
                 result, Ms. Fernandez has developed anxiety and stress,
                 as well as physical ailments. She was recently diag-
                 nosed with migraines for the first time and has devel-
                 oped severe neck pain which she attributes to the stress
                 and emotional toll of her uncertain future.
                 Plaintiff Carlos Vargas
                    24. Plaintiff Carlos Vargas (“Mr. Vargas”) is a re-
                 cipient of DACA. He resides in Staten Island, New
                 York.
                    25. Mr. Vargas was born in Puebla, Mexico. He
                 came to the United States with his mother, who was
                 struggling to raise Mr. Vargas and his siblings after
                 Mr. Vargas’s father passed away two months before he
                 was born. Mr. Vargas has lived in New York City
                 since he was four, and in Staten Island since he was
                 sixteen.
                    26. Mr. Vargas began working in restaurants at
                 age thirteen to help his family, leaving school at 3 P.M.
                 and working shifts from 4 P.M. to midnight, five days a
                 week. He had hoped to attend college but was told by
                 a school counselor that he could not attend because he
                 was undocumented.
                   27. After graduating from James Madison High
                 School in Brooklyn, Mr. Vargas began working sixty
                 hours per week to support his family, while remaining




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                 committed to going to college and earning a degree.
                 Mr. Vargas learned that his undocumented status would
                 not prevent him from enrolling in CUNY College of
                 Staten Island (“CUNY CSI”), provided he could pay
                 his tuition without government loans. He applied for
                 admission and was accepted. By taking classes at
                 night and working full time during the day, Mr. Vargas
                 obtained his Bachelor of Science degree in Business in
                 2014.
                    28. Mr. Vargas applied for DACA in August 2012.
                 His application was granted on December 13, 2012.
                 DHS renewed his DACA on November 14, 2014 and
                 again on September 14, 2016, with his current grant
                 expiring on September 13, 2018. Mr. Vargas is no
                 longer eligible to renew DACA as a result of Defend-
                 ants’ termination of the program.
                    29. DACA allowed Mr. Vargas to obtain work au-
                 thorization and a New York driver’s license for the first
                 time in his life, thereby opening up new employment
                 and life opportunities.
                    30. After volunteering for many years in Staten
                 Island for Make the Road New York, El Centro del In-
                 migrante, and the Staten Island Community Job Cen-
                 ter, Mr. Vargas became accredited as a U.S. Depart-
                 ment of Justice Accredited Representative, authorizing
                 him to represent individuals before U.S. Citizenship
                 and Immigration Services and the Executive Office for
                 Immigration Review, the component of the Depart-
                 ment of Justice that hears immigration cases.
                    31. Mr. Vargas now works at MRNY, where he
                 screens individuals and provides assistance applying
                 for DACA and other forms of immigration relief. He
                 plans to become a lawyer so that he can be a more ef-
                 fective advocate for his community. In fall 2017, he




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                 began attending evening classes at CUNY School of
                 Law.
                    32. Mr. Vargas financially supports himself and
                 his elderly mother who is unable to work due to depres-
                 sion, anxiety, vision and other medical issues. Mr. Var-
                 gas is the primary person who cares for his mother, ac-
                 companies her to her many medical appointments, and
                 pays for her medical expenses. He is also financially
                 responsible for multiple mortgages on homes he owns
                 with his brother.
                 Plaintiff Mariano Mondragon
                    33. Plaintiff Mariano Mondragon (“Mr. Mondrag-
                 on”) is a recipient of DACA. He resides in Queens,
                 New York.
                    34. Mr. Mondragon was born in Mexico and first
                 came to the United States with his father in 1999, when
                 he was fourteen years old. Six months after they
                 arrived, his father returned to Mexico while Mr. Mon-
                 dragon remained in the United States with his aunt.
                 He has not seen his parents in seventeen years.
                    35. Mr. Mondragon began working at the age of
                 sixteen. Since graduating from Flushing High School
                 in 2005, he has worked in the restaurant industry.
                     36. Mr. Mondragon has been married for five
                 years. He and his wife have two U.S.-born children
                 together, ages eight and eighteen months, and his wife
                 is six months pregnant with their third child.
                    37. Mr. Mondragon also has a ten-year-old daugh-
                 ter from a previous relationship. Her mother moved
                 to Mexico when she was pregnant. While Mr. Mon-
                 dragon has never met his daughter in person, he pro-
                 vides financial support for her.




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                    38. Mr. Mondragon received DACA on April 14,
                 2014 and renewed it on February 25, 2016. His DACA
                 status will expire on February 24, 2018. In addition,
                 two of Mr. Mondragon’s brothers are DACA recipients.
                     39. DACA has allowed Mr. Mondragon to support
                 his family by working as a bartender in Manhattan and
                 it has provided assurance that he will not be separated
                 from his children and wife.
                    40. Mr. Mondragon applied to renew his deferred
                 action under DACA in September 2017. He had to
                 rush to get his application completed and submitted be-
                 cause the September 5, 2017, announcement only gave
                 him until October 5, 2017 to apply.
                 Plaintiff Carolina Fung Feng
                    41. Plaintiff Carolina Fung Feng (“Ms. Fung
                 Feng”) is a recipient of DACA. She resides in Middle
                 Village, Queens.
                     42. Ms. Fung Feng was born in Costa Rica and
                 came to the United States to live with her aunt in 2001
                 when she was twelve. She has not seen her father—
                 her only living parent—since she left Costa Rica six-
                 teen years ago. Ms. Fung Feng first applied for
                 DACA around September 2012 and was approved
                 around December 2012. She has successfully renewed
                 DACA twice, in July 2014 and June 2016. Her status
                 expires in August 2018, and so she is no longer eligible
                 to renew DACA as a result of Defendants’ termination
                 of the program.
                    43. Ms. Fung Feng graduated from Hunter Col-
                 lege in January 2013 with a Bachelorof Arts in English-
                 Spanish Translation and Interpretation, and English
                 Language Arts. She also received an English teach-
                 ing certification from Teaching House in 2015.




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                     44. Ms. Fung Feng has worked for MRNY since
                 2015 as a Program Assistant for the Adult Literacy
                 Program. She supports her younger brother, a U.S.
                 citizen who graduated from CUNY City College in
                 2017, and her younger cousin, who came to the U.S. to
                 study. Ms. Fung Feng recently enrolled in a GRE
                 prep class in order to eventually attend graduate
                 school.
                 Plaintiff Make the Road New York
                    45. Plaintiff Make the Road New York (“MRNY”)
                 brings this action on behalf of itself, as well as on be-
                 half of its clients and members and all similarly situat-
                 ed individuals. MRNY is a nonprofit, membership-
                 based § 501(c)(3) organization dedicated to empowering
                 immigrant, Latino, and working-class communities in
                 New York. With offices in Brooklyn, Queens, Staten
                 Island, and Suffolk County, MRNY integrates adult
                 and youth education, legal and survival services, and
                 community and civic engagement, in order to assist
                 low-income New Yorkers improve their lives and
                 neighborhoods.
                     46. MRNY has a legal department staffed by
                 twenty-three attorneys and eleven advocates who pro-
                 vide a broad range of civil legal services to immigrant
                 New Yorkers. MRNY’s immigration team provides
                 individualized assistance to immigrants facing deporta-
                 tion, as well as in affirmative applications for immigra-
                 tion relief. MRNY also directly assists individuals
                 prepare the documentation and paperwork necessary
                 for DACA applications and renewals.            Given the
                 immigrant-rich nature of the New York neighborhoods
                 it serves, MRNY’s limited staff is unable to fully meet
                 the high demand for its services and resources.




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                    47. Consistently from June of 2012 until the last
                 day that DACA renewal applications were accepted,
                 MRNY held weekly DACA screening workshops at its
                 Queens office and similar services at its other sites on
                 an as-needed basis, escalating the number of work-
                 shops, screenings, and appointments in the final month
                 that U.S. Citizenship and Immigration Services
                 (“USCIS”), a component of DHS, accepted DACA re-
                 newal applications.
                     48. MRNY also assisted DACA-eligible individuals
                 through its Action NYC program, which provides com-
                 prehensive immigration screenings to New Yorkers.
                 In addition, MRNY provided assistance with DACA re-
                 newals in its Brooklyn, Staten Island, and Long Island
                 offices, and continues to provide ongoing assistance to
                 its clients and members whose initial and renewal ap-
                 plications were rejected by DHS. Since fall 2012,
                 MRNY has conducted approximately 392 DACA clinics
                 and has opened 4,560 DACA cases for clients, assisting
                 a total of 3,323 individuals. MRNY assisted its DACA-
                 eligible clients with initial applications as well as re-
                 newals.
                    49. MRNY has more than 21,000 dues-paying
                 members residing in New York City and Long Island,
                 primarily in the boroughs of Queens and Brooklyn.
                 Its members include Plaintiffs Batalla Vidal, Alarcon,
                 Fernandez, Vargas, Mondragon, and Fung Feng, along
                 with many other members who are already beginning
                 to lose their DACA status as a result of Defendants’
                 termination of the program.
                    50. Approximately twelve current MRNY em-
                 ployees have DACA, including Plaintiffs Alarcon, Fer-
                 nandez, Fung Feng, and Vargas.




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                    51. Approximately forty MRNY members, and a
                 significant additional number of MRNY clients, have
                 DACA that expires between September 5, 2017 and
                 March 5, 2018 and were therefore subject to the man-
                 datory October 5, 2017 renewal deadline. Of these
                 members, MRNY was unable to reach four DACA
                 recipients to inform them they needed to renew before
                 October 5. Some MRNY members and clients had
                 received notices from Defendants advising them to
                 renew “as soon as possible” and within 120 to 150 days
                 before their status expires. Defendants’ notices made
                 no mention of the October 5, 2017 deadline. None of
                 these MRNY members or clients received a corrected
                 notice from Defendants informing them of the manda-
                 tory October 5, 2017 deadline for renewals.
                    52. At least seven MRNY members, and an addi-
                 tional number of clients, were eligible for DACA as of
                 September 5, 2017, but had not yet submitted their
                 initial applications. Most of them were in the process
                 of assembling the documentation necessary to satisfy
                 the DACA eligibility requirements.
                    53. Still other youth members of MRNY, and an
                 additional number of clients, were not eligible for
                 DACA on September 5, 2017 but will become eligible
                 for DACA in the future, under the terms of the 2012
                 Guidance. One client received a letter from his high
                 school indicating he met the education requirement of
                 DACA on September 7, 2017—two days after he lost
                 the ability to apply for DACA.
                    54. At least nine members and/or clients of MRNY
                 submitted renewal applications that arrived on October
                 5, 2017 at the Post Office Box designated by DHS, but
                 DHS rejected these applications as untimely because




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                 DHS or its agents did not retrieve the applications
                 from the U.S. Postal Service facility until the next day.
                    55. In addition, DHS rejected the renewal applica-
                 tions of at least three members and/or clients of MRNY
                 due to unexpected mail delivery delays, notwithstand-
                 ing that the applications were mailed well in advance of
                 the October 5 deadline.
                    56. DHS rejected at least one MRNY member
                 (Maria Santamaria Rivas)’s timely renewal application
                 on the ground that a DHS employee misread the date
                 on the accompanying $495 check as “2012,” when actu-
                 ally it read “2017.” By the time DHS returned the
                 rejected application, it was past October 5. The
                 MRNY member resubmitted her renewal application
                 with an explanation of DHS’s mistake in reviewing her
                 original timely-submitted renewal, but DHS rejected
                 the resubmission as untimely.
                     57. Plaintiff MRNY, its staff, its members, and its
                 clients are aggrieved by Defendants’ final agency ac-
                 tion and have exhausted their administrative remedies.
                    58. The legal interests of MRNY, its staff, its
                 members, and its clients in not having the DACA pro-
                 gram terminated unlawfully, and in having their DACA
                 applications and renewals considered, are germane to
                 MRNY’s purpose of advocating for the rights of low-
                 income immigrant communities, to its role as an em-
                 ployer of individuals with DACA, and are inextricably
                 bound up with the legal services that MRNY attorneys
                 provide the organization’s clients.
                    59. MRNY’s clients face hindrances to bringing
                 suit to protect their own interests, including but not
                 limited to lack of notice, privacy concerns, fear of re-




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                 taliation (against themselves and/or their families),
                 language barriers, and lack of resources.
                     60. Defendants’ unlawful termination of the DACA
                 program has already directly harmed MRNY by caus-
                 ing the organization to divert its resources from other
                 time-sensitive immigration cases to assist individuals to
                 apply for renewals by October 5, 2017, to conduct addi-
                 tional screenings of its clients who are DACA recipi-
                 ents (members and non-members) to determine wheth-
                 er they are eligible for other forms of immigration re-
                 lief, and to manage the fallout of the October 5 deadline
                 —including advocating on behalf of its clients whose
                 renewal applications were rejected despite being time-
                 ly filed.
                    61. Since September 5, 2017, MRNY hosted twelve
                 workshops on DACA renewal that they would not have
                 had to host if Defendants had not terminated the pro-
                 gram. MRNY’s ActionNYC program in Queens, part
                 of an initiative co-sponsored by the N.Y.C. Office of
                 Immigrant Affairs and CUNY that connects New
                 Yorkers with free and safe immigration services, has
                 had to significantly shift its focus to addressing the
                 needs of DACA-eligible clients above all others. Five
                 Accredited Representative staff members who each do
                 screenings and immigration application assistance had
                 to cancel all of their September appointments and re-
                 schedule them for October and later, in order to sched-
                 ule DACA renewal applications in their September
                 slots. This also involved the extra administrative bur-
                 den of calling and rescheduling numerous appointments
                 and delaying work on their other active cases.
                    62. MRNY has also expended significant resources
                 since the October 5 deadline because its clients’ and
                 members’ applications were rejected by DHS. This




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                 has included: tracking the packages; investigating
                 mail delays; contacting USCIS (the component of DHS
                 that adjudicates requests for deferred action under
                 DACA) about each individual application to request
                 reconsideration of the rejection; and communicating
                 with anxious clients about advocacy efforts and next
                 steps.
                     63. In addition, MRNY’s legal team has expended
                 its limited resources creating Know-Your-Rights mate-
                 rials, answering calls, addressing walk-in questions,
                 mailing renewal applications, and coordinating an emer-
                 gency support plan, including mental health support,
                 for members, clients, and staff due to the DACA Ter-
                 mination.
                    64. MRNY spent additional money on priority and
                 overnight shipping fees for renewal applications to en-
                 sure they would arrive by the October 5 deadline. Not-
                 withstanding these expenditures, some renewal appli-
                 cations did not arrive by the October 5 deadline be-
                 cause of unreasonable U.S. Postal Service delays.
                    65. MRNY expended time and resources advocat-
                 ing on several members’ and clients’ behalf to ask
                 USCIS to reconsider their applications that were re-
                 jected unreasonably.
                    66. MRNY will sustain further injuries when its
                 DACA employees lose work authorization as a result of
                 the Defendants’ actions.
                     67. MRNY has also expended extensive resources
                 in bringing the current action to vindicate the rights of
                 its members, its clients, itself, and others who are af-
                 fected.




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                     68. These injuries to MRNY, its members, and its
                 clients would be redressed by a favorable decision from
                 this Court.
                    69. As a New York-focused, non-profit organiza-
                 tion, MRNY is a “small organization” under the RFA.
                 5 U.S.C. § 601(4). MRNY is directly affected by De-
                 fendants’ termination of DACA, as the Agency’s final
                 action has adversely affected it. Id. § 611(a)(1).
                 Defendants
                    70. Defendant Kirstjen M. Nielsen is the Secre-
                 tary of the U.S. Department of Homeland Security.
                 She is sued in her official capacity.
                    71. Defendant Jefferson Beauregard Sessions III
                 is the Attorney General of the United States and the
                 head of the U.S. Department of Justice. He is sued in
                 his official capacity.
                    72. Defendant Donald J. Trump is the President of
                 the United States. He is sued in his official capacity.
                                STATEMENT OF FACTS
                 The 2012 DACA Memorandum
                    73. On June 15, 2012, then-Secretary of Homeland
                 Security Janet Napolitano (“the Secretary”) announced
                 the creation of the DACA program, which set out guide-
                 lines for U.S. Citizenship and Immigration Services
                 (“USCIS”) to use its prosecutorial discretion to extend
                 deferred action to certain young immigrants “who were
                 brought to this country as children and know only this
                 country as home.” Mem. from Janet Napolitano, Sec’y
                 of Homeland Security, to Alejandro Mayorkas, Dir.,
                 U.S. Citizenship and Immigration Servs., Exercising
                 Prosecutorial Discretion With Respect to Individuals
                 Who Came to the United States as Children, June 15,




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                 2012 (“DACA Memorandum”) (attached hereto as Ex-
                 hibit A). Those granted deferred action also became
                 eligible for employment authorization.     8 C.F.R.
                 § 274a.12(c)(14).
                    74. The DACA Memorandum states that individu-
                 als who came to the United States as children, lack a
                 serious criminal history, attend school or participate in
                 the Armed Services, and meet other criteria may re-
                 quest that the Secretary grant deferred action, a dis-
                 cretionary form of relief from removal, for a period of
                 two years, subject to renewal. Those granted de-
                 ferred action in this manner could also obtain employ-
                 ment authorization and a social security card. See Ex.
                 A, DACA Memorandum.
                    75. The Secretary made findings that the individ-
                 uals eligible to apply for DACA “have already contrib-
                 uted to our country in significant ways” and “lacked the
                 intent to violate the law.” Id. at 1. She found that
                 our nation’s immigration laws “are not designed to be
                 blindly enforced without consideration given to the in-
                 dividual circumstances of each case,” and that the lim-
                 ited resources of DHS must be “focused on people who
                 meet our enforcement priorities.” Id.
                    76. Individuals who met the criteria listed in the
                 DACA Memorandum did not automatically receive
                 deferred action. Instead, DHS was directed to exer-
                 cise its discretion to consider grants of deferred action
                 “on a case by case basis.” Id.
                    77. Pursuant to the DACA Memorandum, USCIS
                 established an application and background-check pro-
                 cedure to evaluate whether individuals would qualify
                 for deferred action. Applicants were required to dis-
                 close extensive sensitive and personal information to
                 Defendants, including their lack of lawful immigration




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                 status as of June 15, 2012, current and previous mailing
                 addresses, country of birth, dates of initial and subse-
                 quent entries, and contact information. See USCIS
                 Form I-821D and Instructions (attached hereto as Ex-
                 hibit B).
                    78. In order to prove that they met the eligibility
                 criteria, DACA applicants also routinely provided De-
                 fendants documents containing personal information,
                 including copies of school records, pay stubs, bank
                 statements, passports, birth certificates, and similar
                 records.
                    79. The information and records DACA applicants
                 provided Defendants frequently included sensitive and
                 personal information about third parties as well, in-
                 cluding family members of DACA applicants.
                    80. Defendants consistently represented to DACA
                 applicants that the information they provided would be
                 protected from disclosure to U.S. Immigration and
                 Customs Enforcement (“ICE”) and Customs and Bor-
                 der Protection (“CBP”) for immigration enforcement
                 proceedings against them and their family members or
                 guardians, except in limited, delineated circumstances.
                 Id. at 20; U.S. Citizenship & Immigration Servs.:
                 Frequently Asked Questions (excerpt attached hereto
                 as Exhibit C); Letter from Jeh Johnson, Sec’y of
                 Homeland Sec., to Judy Chu, U.S. House Representa-
                 tive (Dec. 30, 2016) (“[T]he U.S. government repre-
                 sented to [DACA] applicants that the personal infor-
                 mation they provided will not later be used for immi-
                 gration enforcement purposes.       . . .   We believe
                 these representations . . . must continue to be hon-
                 ored.”) (attached hereto as Exhibit D). These assur-
                 ances allowed applicants to apply for deferred action
                 without fear that the information they provided would




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                 later be used by Defendants to deport them or their
                 families.
                 Impact of the DACA Program
                    81. Since the program was first introduced in 2012,
                 nearly 800,000 individuals have received deferred ac-
                 tion and employment authorization under DACA. Close
                 to 42,000 DACA recipients live in New York State
                 alone.
                    82. As a result of the DACA program, these young
                 immigrants have been able to enroll in colleges and
                 universities, and to obtain jobs, driver’s licenses, bank
                 accounts, and health insurance (through employment,
                 college, or state-run programs). DACA recipients
                 have come to rely on the program to allow them to
                 work, study, and live without the constant threat of de-
                 portation. Indeed, in reliance on the program, DACA
                 recipients have made significant investments in their
                 futures, such as enrolling in higher education and grad-
                 uate programs; pursuing employment opportunities;
                 marrying and having children of their own; and pur-
                 chasing homes and automobiles, to name a few exam-
                 ples.
                    83. They have also relied on the availability of re-
                 newing DACA. New York DACA recipients have sub-
                 mitted more than 53,000 renewal applications since
                 DACA began—10,000 more than initial applications,
                 meaning that some recipients have renewed more than
                 once.
                    84. This reliance has continued since Defendant
                 President Trump took office, because he maintained
                 the program for nearly eight months, accepting both
                 first-time applications and renewals while assuring




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                 DACA-eligible immigrants that he would “take care of ”
                 them.
                    85. The Trump Administration’s arbitrary decision
                 to terminate DACA reverberates well beyond the
                 nearly 800,000 DACA recipients. The opportunities
                 DACA recipients acquired and created as a result of
                 the program benefitted their families, communities,
                 and employers, as well. All of these groups stand to
                 lose these gains, on which they have come to rely, if
                 Defendants’ arbitrary decision to end DACA stands.
                     86. For example, Ms. Fernandez works as an im-
                 migration advocate with MRNY and is enrolled in a
                 graduate program at CUNY School of Professional
                 Studies to obtain an Advanced Certificate on Immigra-
                 tion Law. Without DACA, she will be forced to leave
                 her job and cease her studies. If Ms. Fernandez is
                 deported, her two U.S.-citizen sons will be left without
                 their primary caretaker. Like Ms. Fernandez, many
                 DACA recipients depend on their work authorization to
                 financially support family members, including U.S.-
                 citizen children and siblings.
                    87. The positive impact DACA has made on the
                 overall U.S. economy would disappear if the Admin-
                 istration’s arbitrary decision to terminate the program
                 holds. Economists calculate that DACA has boosted
                 labor-force participation, raised DACA recipients’ pur-
                 chasing power, and increased state and federal tax rev-
                 enues.
                    88. Economists estimate that the U.S. economy
                 would lose tens of billions of dollars if the program is
                 terminated. New York state alone stands to lose
                 nearly $2.6 billion if DACA recipients leave the work-
                 force. Terminating the program will have a signifi-




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                 cant fiscal and economic cost—estimated to be more
                 than $60 billion—borne by the entire U.S. population.
                 The Trump Administration’s Animus Toward Individu-
                 als of Latino and Mexican Heritage
                    89. A hallmark of Defendant Trump’s campaign
                 and presidency has been unabashed nativism, in both
                 words and deeds, rarely seen in this country’s recent
                 history. As part of that nativist platform, Defendant
                 Trump and some members of his Administration have
                 portrayed immigrants as imminent threats to the health,
                 safety, and wellbeing of the United States.
                    90. One group that Defendant Trump has repeat-
                 edly targeted is Latinos, especially those of Mexican
                 heritage. When Defendant Trump announced his can-
                 didacy in June 2015, he labeled Latinos and Mexicans
                 as “criminals,” a characterization he used to justify his
                 harsh immigration proposals.
                    91. In his presidential announcement speech, then-
                 candidate Trump stated: “When Mexico sends its
                 people, they’re not sending their best. . . . They’re
                 sending people that have lots of problems, and they’re
                 bringing those problems with us. They’re bringing
                 drugs. They’re bringing crime. They’re rapists.”
                     92. Defending these remarks, then-candidate
                 Trump explained: “I can’t apologize for the truth. I
                 said tremendous crime is coming across.” He later
                 added: “What can be simpler or more accurately
                 stated? The Mexican Government is forcing their most
                 unwanted people into the United States. They are, in
                 many cases, criminals, drug dealers, [and] rapists.
                 . . . ”
                   93. A few weeks after he announced his candidacy,
                 Defendant Trump again described Mexicans as mur-




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                 derers and rapists, stating, “I do business with the
                 Mexican people, but you have people coming through
                 the border that are from all over. And they’re bad.
                 They’re really bad.” He labeled the people who were
                 coming in as “killers and rapists.”
                    94. During a Republican presidential debate in
                 August 2015, then-candidate Trump again character-
                 ized Mexicans as criminals. He stated that “the Mex-
                 ican government is much smarter, much sharper, much
                 more cunning and they send the bad ones over because
                 they don’t want to pay for them, they don’t want to
                 take care of them.”
                     95. Later that same month, Defendant Trump cri-
                 ticized fellow-candidate Jeb Bush because his wife is
                 Latina, retweeting a post criticizing Governor Bush,
                 which told him to stop speaking “Mexican” and instead
                 speak English.
                    96. In May 2016, then-candidate Trump criticized
                 U.S. District Judge Gonzalo Curiel for his Mexican
                 heritage. Judge Curiel was born a U.S. citizen in In-
                 diana. While Judge Curiel was presiding over a law-
                 suit against Trump University, then-candidate Trump
                 complained that the jurist would not be able to fairly
                 adjudicate the case because of his ancestry: “He’s a
                 Mexican. We’re building a wall between here and
                 Mexico. The answer is, he is giving us very unfair
                 rulings—rulings that people can’t even believe.”
                    97. Since his inauguration, Defendant Trump has
                 continued to express animus toward Mexicans and
                 Latinos through both his words and actions. In Au-
                 gust 2017, in a speech in Arizona, Defendant Trump
                 described some undocumented immigrants as “ani-
                 mals.”




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                    98. That same month, Defendant Trump pardoned
                 former Sheriff Joe Arpaio for contempt of court. Sheriff
                 Arpaio had violated an injunction barring the Maricopa
                 County Sheriff’s Office from implementing a policy that
                 allowed officers to arrest someone on suspicion of ille-
                 gal presence and directed officers to consider “race or
                 ‘Mexican ancestry’ ” as a factor. United States v.
                 Arpaio, 2017 WL 3268180 (D. Ariz. 2017). By pardon-
                 ing Sheriff Arpaio, Defendant Trump implicitly ap-
                 proved of unconstitutional discrimination against La-
                 tinos and Mexicans, and stated that Sheriff Arpaio was
                 convicted merely for “doing his job.”
                    99. In his speeches since the Inauguration, when
                 discussing the undocumented Latino community, De-
                 fendant Trump has characterized them as criminals
                 and gang members.
                    100. In his April 2017 prepared remarks announc-
                 ing the Department of Justice’s “Renewed Commit-
                 ment to Criminal Immigration Enforcement,” Defend-
                 ant Sessions argued for securing the borders by taking
                 a stand against “filth.”
                 The Trump Administration’s Decision to Terminate the
                 DACA Program
                    101. On June 29, 2017, Texas Attorney General
                 Ken Paxton, along with the attorneys general of nine
                 other states, wrote Defendant Sessions threatening
                 to amend their complaint in Texas v. United States,
                 No. 1:14-cv-00254 (S.D. Tex.), to challenge the DACA
                 program if Defendants did not terminate DACA by
                 September 5, 2017.
                   102. On September 5, 2017, Elaine Duke, then-
                 Acting Secretary of DHS, issued a memorandum an-
                 nouncing that DHS would terminate the DACA pro-




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                 gram. See Mem. from Elaine C. Duke, Acting Sec’y of
                 Homeland Sec., to James W. McCament, Acting Dir.,
                 U.S. Citizenship and Immigration Servs., Memoran-
                 dum on Rescission of Deferred Action For Childhood
                 Arrivals (DACA), Sept. 5, 2017 (“Duke Memorandum”)
                 (attached hereto as Exhibit E).
                    103. Defendants Sessions and Trump and the Act-
                 ing Secretary jointly made the decision to end DACA
                 and jointly prepared the Duke Memorandum.
                    104. The Duke Memorandum directed DHS to cat-
                 egorically reject all new applications for deferred ac-
                 tion received after September 5, 2017. It also directed
                 DHS to only consider deferred action renewal applica-
                 tions from existing DACA recipients whose status ex-
                 pires on or before March 5, 2018, but only if such re-
                 newal applications were received by October 5, 2017.
                 DHS is categorically rejecting deferred action renewal
                 applications from DACA recipients whose deferred ac-
                 tion expires after March 5, 2018 and has already start-
                 ed categorically rejecting renewal applications received
                 after October 5, 2017.
                     105. The Acting Secretary stated that the decision
                 was based on two reasons: (1) the preliminary injunc-
                 tion issued against a separate program, see Texas v.
                 United States, 86 F. Supp. 3d 591 (S.D. Tex. 2015),
                 aff ’d, 809 F.3d 134 (5th Cir. 2015), aff ’d by an equally
                 divided court, 136 S. Ct. 2271 (2016) (per curiam); and
                 (2) Defendant Sessions’ opinion that DACA “was an
                 unconstitutional exercise of authority by the Executive
                 Branch,” see Ex. E, Duke Memorandum.
                    106. DHS provided no other explanation for its de-
                 cision to terminate DACA.




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                    107. The preliminary injunction issued by a Texas
                 court does not reach the original DACA program.
                 Rather, it enjoins the Deferred Action for Parents of
                 Americans and Lawful Permanent Residents program,
                 a different program that was never implemented.
                    108. On September 5, 2017, Defendant Sessions
                 held a press conference, falsely asserting that DACA
                 “contributed to a surge of unaccompanied minors on
                 the southern border that yielded terrible humanitarian
                 consequences.” He stated further, “It also denied
                 jobs to hundreds of thousands of Americans by allow-
                 ing those same jobs to go to illegal aliens.” Attorney
                 General Sessions Delivers Remarks on DACA, Dep’t of
                 Justice (Sept. 5, 2017) (attached hereto as Exhibit F).
                    109. While then-Secretary Duke based the decision
                 to terminate DACA on the legally erroneous conclusion
                 that DHS lacks authority to exercise its discretion in
                 granting deferred action under DACA, Defendant Trump
                 has made contradictory statements that suggest he
                 believes it is within his executive authority. On Sep-
                 tember 5, 2017, shortly after the DACA Termination
                 was published, Defendant Trump tweeted that if Con-
                 gress did not act before March 5, 2018, he would “re-
                 visit this issue.” If the unlawfulness of DACA were
                 the true reason for terminating the program, then the
                 President would lack authority to “revisit” ending
                 DACA.
                    110. In addition, on September 14, 2017, a week af-
                 ter the Administration’s announcement terminating
                 DACA, and facing multiple suits challenging his ac-
                 tions, Defendant Trump tweeted, “Does anybody really
                 want to throw out good, educated and accomplished
                 young people who have jobs, some serving in the mili-
                 tary? Really!. . . . .” This statement is inconsistent




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                 with previous statements by Defendant Trump and the
                 Trump Administration, and reflects the arbitrariness of
                 the Administration’s decision to end the program.
                    111. The DACA status of more than 150,000 DACA
                 recipients will expire before March 5, 2018. Many of
                 those individuals received the standard DHS renewal
                 notice directing the recipient to submit a renewal appli-
                 cation “as soon as possible,” and to avoid a lapse in
                 status by submitting the renewal application 120 to 150
                 days before expiration. See Dep’t Homeland Sec.,
                 I-797C Notice of Action, July 15, 2017 (attached hereto
                 as Exhibit G).
                    112. Defendants’ renewal notices did not advise re-
                 cipients whose status will expire before March 5, 2018
                 that they, in fact, had to submit a renewal application
                 by the October 5, 2017 deadline.
                    113. On information and belief, DHS did not pro-
                 vide accurate or corrected individualized notices to
                 those DACA recipients who had to renew by October 5,
                 2017, including those individuals whom Defendants had
                 previously advised to renew “as soon as possible” but
                 without mention of the October 5, 2017 deadline.
                 The Trump Administration’s Unfair and Arbitrary Im-
                 plementation of the DACA “Wind Down” Process
                    114. The Duke Memorandum provided that DHS
                 would consider renewal applications from DACA re-
                 cipients whose status was set to expire on or before
                 March 5, 2018 and had not already expired before the
                 date of the announcement, if DHS received the applica-
                 tion by October 5. However, DHS refused to consider
                 many renewal applications on the basis of factors over
                 which the renewal applicants had no control, and with-




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                 out providing notice of the additional grounds for re-
                 jection.
                    115. USCIS directed DACA renewal applicants to
                 send applications to one of three “Lockboxes,” located
                 in Chicago, Dallas, and Phoenix. Each “Lockbox” has
                 an address that receives applications sent via the U.S.
                 Postal Service (a Post Office box) and a separate ad-
                 dress that receives applications sent via FedEx, UPS,
                 and DHL. DACA renewal applicants were each given
                 one designated address to which to mail their renewal
                 application based on their home address; this was the
                 exclusive address to which they could mail their renewal
                 application and no hand-delivered applications were ac-
                 cepted.
                     116. At each Lockbox, upon information and belief,
                 government agents retrieve applications, collect appli-
                 cable fees, and verify that the applications do not have
                 any facial clerical errors. Upon information and be-
                 lief, USCIS staff then either forwards an application to
                 a Service Center for adjudication or rejects the appli-
                 cation and returns it to the applicant. New York DACA
                 recipients were directed to send their renewal applica-
                 tions to the Chicago Lockbox, with a Chicago Post Of-
                 fice box address.
                    117. USCIS never announced a time on October 5
                 by which renewal applications had to be delivered to
                 the Lockbox. However, on information and belief, Lock-
                 box staff stopped retrieving renewal applications from
                 the designated Post Office box locations at some point
                 in the afternoon or evening of October 5. USCIS did
                 not collect renewal applications that arrived at the Post
                 Office boxes after that point until October 6, and USCIS
                 subsequently rejected them as untimely.




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                    118. For example, Varlene Cooper is a DACA re-
                 cipient and a member of MRNY. She came to the
                 United States when she was about 12 years old and
                 works two jobs, as an EMT and a dialysis technician, in
                 order to support her two children and her ill mother.
                 Ms. Cooper’s renewal application arrived at the Chica-
                 go Lockbox’s Post Office box address at 6:01 PM local
                 time on October 5 and was available for pickup by 6:38
                 PM. However, the Lockbox staff did not retrieve the
                 application until 7:21 the next morning. DHS rejected
                 her renewal application as untimely, refusing to adju-
                 dicate it even though it arrived at the designated Post
                 Office box on October 5. Ms. Cooper’s deferred action
                 grant expired on November 24, 2017.
                    119. MRNY has eight other clients whose renewal
                 applications arrived at the designated Post Office box
                 address on October 5, but were not retrieved by USCIS
                 staff until the next day and were subsequently rejected
                 by USCIS as untimely.
                    120. After MRNY sent a letter to Counsel for De-
                 fendants in this case, USCIS decided to reconsider Ms.
                 Cooper’s renewal application, and it was approved on
                 November 30, 2017.
                    121. Other DACA recipients mailed their renewal
                 applications well in advance of the October 5 deadline,
                 but the U.S. Postal Service unreasonably delayed the
                 delivery of those applications. As a result, their ap-
                 plications arrived after October 5, and USCIS rejected
                 them as untimely. See Liz Robbins, Post Office Fails
                 to Deliver on Time, and DACA Applications Get Re-
                 jected, N.Y. TIMES (Nov. 11, 2017), attached hereto as
                 Exhibit H.
                   122. For example, Jorge Gonzalez Alvarado is a
                 MRNY member and Staten Island resident who has




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                 lived in the United States since he was two years old.
                 DACA has enabled him to obtain a driver’s license and
                 begin a career in plumbing, through which he can sup-
                 port his parents. He just finished the first year of a
                 plumbing apprenticeship program. Mr. Gonzalez Al-
                 varado mailed his renewal application on September
                 14, 2017, but due to unforeseeable U.S. Postal Service
                 delays, the renewal application was not delivered to the
                 designated Post Office box until October 6, and USCIS
                 did not retrieve the application until October 10.
                 USCIS rejected Mr. Gonzalez Alvarado’s application as
                 untimely. Plaintiffs’ counsel informed Counsel for
                 Defendants of Mr. Gonzalez Alvarado’s circumstances,
                 but has yet to receive a response.
                    123. DHS also rejected renewal applications that
                 originally had been received by the October 5 deadline,
                 but had been returned to the applicant due to real or
                 perceived clerical errors. The rejection notices con-
                 tained a sentence inviting the applicant to correct the
                 error and re-file. In addition, many of these individu-
                 als received a separate document with their rejection
                 notice and rejected applications, printed on a green
                 piece of paper, inviting them to correct the error and
                 re-apply with the green sheet on top of their re-
                 submission packet, even if the applicant did not receive
                 their rejection itself until after October 5. See, e.g.,
                 Sample Invitation to Reapply, attached hereto as Ex-
                 hibit I. Previous to Defendants’ DACA Termination,
                 individuals whose applications were rejected for minor
                 clerical errors were allowed to correct those errors and
                 re-submit, or in some cases, instead of outright reject-
                 ing an application, USCIS would issue a Request for
                 Further Evidence (“RFE”) and allow the applicant to
                 provide that evidence within a designated period of
                 time. However, in all cases rejected between Sep-




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                 tember 6 and October 5, 2017, by the time applicants
                 received their rejected applications and were able to
                 resubmit with corrections, USCIS rejected their ap-
                 plications as untimely as having been filed after Octo-
                 ber 5. Upon information and belief, USCIS did not is-
                 sue any RFEs to correct these minor errors, instead
                 outright rejecting entire application filings.
                    124. For example, Maria Santamaria Rivas is a
                 MRNY member who has lived in the United States since
                 she was 3 years old. She timely submitted her DACA
                 renewal application after the announcement of the
                 DACA Termination, with a check for her fees that was
                 dated September 28, 2017. USCIS received the ap-
                 plication on October 2, but a USCIS employee misread
                 her check and rejected her entire application on that
                 basis, stating, “The date on the check/money order is
                 not current.” Ms. Rivas’s attorney received the Re-
                 jection Notice on October 10, 2017, and provided a new
                 check as requested. USCIS rejected the resubmitted
                 application as untimely. She was not considered for
                 renewal of her DACA status. On November 17, 2017,
                 a MRNY attorney emailed the USCIS Lockbox Sup-
                 port email to request that USCIS consider the cor-
                 rected application with the original received date of
                 October 2, 2017. See Copy of Email Exchange be-
                 tween Alexandra S. Lee, Esq., and Hillary, attached
                 hereto as Exhibit J. On November 22, 2017, a USCIS
                 Lockbox Support staff member, Hillary, responded in
                 relevant part: “The original received date cannot be
                 assigned to a resubmission. . . . USCIS is current-
                 ly not accepting initial or renewal filings for DACA re-
                 quests.” Id. (emphasis in original). Subsequently,
                 undersigned counsel requested reconsideration of Ms.
                 Rivas’s case, along with thirteen other individuals whose
                 cases were rejected for minor perceived or actual cler-




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                 ical errors, on December 4, 2017, but have yet to re-
                 ceive a response from USCIS.
                    125. In addition, some applications were affected by
                 both the U.S. Postal Service delays and also contained
                 real or perceived clerical errors, and were therefore
                 rejected for either or both reasons, and not allowed to
                 reapply.
                    126. USCIS’s arbitrary and unfair rejections of de-
                 ferred action renewal applications were not limited to
                 the Chicago Lockbox.
                    127. The Phoenix Lockbox rejected at least seven
                 California applicants whose applications were received
                 before October 5 on the basis of perceived or actual
                 clerical errors. At least one of these applicants re-
                 ceived a separate document printed on a green piece
                 of paper, inviting them to correct the error and re-
                 submit their application, with no deadline for the re-
                 submission. See Ex. I (Sample Invitation to Reapply).
                 All of these individuals’ re-submissions were subse-
                 quently rejected as untimely despite their attempts to
                 resubmit corrected applications.
                    128. Twelve applicants from Texas mailed their re-
                 newal applications to the Dallas Lockbox’s designated
                 Post Office box address on September 25 via certified
                 mail, but the U.S. Postal Service delayed the delivery
                 until October 6, 2017. USCIS rejected the applica-
                 tions as untimely. The attorney for those twelve cli-
                 ents has contacted their Congress member and has
                 attempted to re-submit them with USCIS, but has not
                 yet received any response from USCIS.
                   129. On November 15, 2017, counsel for Defendants
                 announced that USCIS would, in fact, reconsider some
                 DACA renewal applications that had been rejected, if




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                 they were delayed unreasonably by the U.S. Postal
                 Service and the individual could provide “individualized
                 proof ” of the mail delay, or if the application was im-
                 properly rejected. See ECF No. 108, attached hereto
                 as Exhibit K. While USCIS announced it would re-
                 lease further guidance on November 20, it did not do so
                 until November 30.
                    130. The November 30 USCIS website publication
                 —a paragraph and a Frequently Asked Questions
                 (“FAQs”) on Rejected DACA Requests—was incom-
                 plete and still did not explain how individuals were
                 supposed to re-submit their applications. See U.S. Ci-
                 tizenship and Immigr. Servs., Frequently Asked Ques-
                 tions:    Rejected DACA Requests (Nov. 30, 2017)
                 (“Specific guidance will be provided soon about the steps
                 that a DACA recipient must take to resubmit his or her
                 renewal request to USCIS if the filing was rejected due
                 to U.S. Postal Service mail-service delays.”) (“Nov. 30
                 FAQs”), attached hereto as Exhibit L. The Nov. 30
                 FAQs state that USCIS will directly contact individu-
                 als whose applications were received and erroneously
                 rejected on October 5, and provides a 33-day period for
                 resubmission once contacted by USCIS.
                    131. On December 7, 2017, USCIS updated its FAQs
                 to include information stating that individuals who were
                 affected by mail delays will be contacted by USCIS by
                 mid-December, and providing instructions on what to
                 submit when they are invited to reapply. See U.S. Citi-
                 zenship and Immigr. Servs., Frequently Asked Ques-
                 tions: Rejected DACA Requests (Dec. 7, 2017) (“Dec.
                 7 FAQs”), attached hereto as Exhibit M.
                    132. The Nov. 30 FAQs and Dec. 7 FAQs do not ad-
                 dress applications that were rejected for minor per-
                 ceived or actual clerical errors. Both documents




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                 state, “If USCIS rejected your timely filed renewal
                 request because it was not properly filed, that is a valid
                 reason for rejection and it will not be reconsidered.”
                 Nov. 30 FAQs; Dec. 7 FAQs. These individuals, as
                 well as individuals whose applications were affected by
                 both mail delays and minor perceived or actual clerical
                 errors, remain without relief.
                    133. Because USCIS’s November 15 and November
                 30 announcements did not provide guidance on how re-
                 jected applicants could re-submit and did not provide
                 any relief for those rejected for real or perceived minor
                 clerical errors, undersigned counsel sent a letter to De-
                 fendants’ counsel on December 4, 2017, bringing the
                 cases of 16 individuals to USCIS’s attention and re-
                 questing reconsideration. While USCIS’s subsequent
                 December 7 FAQs provide some guidance to individu-
                 als whose applications were rejected due to mail de-
                 lays, it still does not address individuals whose applica-
                 tions were rejected due to minor clerical errors or those
                 affected both by mail delays and minor clerical errors.
                     134. Individuals who had their applications rejected
                 for perceived or actual minorclerical errors, including
                 Ms. Rivas, are currently being harmed because USCIS
                 is not accepting re-submission of their applications.
                 Impact of the DACA Termination on Named Plaintiffs
                 and the Putative Class
                    135. The DACA Termination has already begun to
                 upend the lives of the nearly 800,000 DACA recipients,
                 as well as those of their families, communities, and em-
                 ployers. Without DACA, the Individual Plaintiffs will
                 soon lose their work authorization, preventing them from
                 supporting themselves and their families. MRNY will
                 lose approximately a dozen highly valued employees.




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                     136. For example, Mr. Batalla Vidal relies on his
                 work authorization through DACA to work at a reha-
                 bilitation center caring for elderly and disabled pa-
                 tients; he supports himself, his mother, and his young-
                 er siblings. Without Mr. Batalla Vidal’s income, he
                 and his family will face substantial financial hardship.
                    137. Ms. Fernandez depends on her work authori-
                 zation to support herself and her twoU.S.-citizen chil-
                 dren.
                    138. Additionally, the DACA Termination will pre-
                 vent DACA recipients from enrolling in university and
                 graduate programs since they will be unable to secure
                 employment after graduating, blocking all future op-
                 portunities for professional or educational advance-
                 ment. Similarly, their inability to secure employment
                 while in school will severely hinder their financial abil-
                 ity to afford their education.
                    139. For example, Mr. Alarcon relies on DACA to
                 allow him to enroll as a Bachelor of Arts candidate at
                 Queens College, where he is on track to graduate in
                 December 2017.
                    140. Ms. Fernandez has also relied on DACA to
                 graduate from college and in September 2017 enrolled
                 in graduate school at CUNY School of Professional
                 Studies to obtain an Advanced Certificate on Immigra-
                 tion Law.
                    141. The October 5, 2017 renewal deadline imposed
                 on DACA recipients whose deferred action and work
                 permit expire before March 5, 2018 was untenable for
                 many DACA recipients for various reasons, including
                 financial ones. The rush to file an important applica-
                 tion on less than a month’s notice also led to many
                 individuals making minor errors, such as forgetting to




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                 check a box, forgetting to sign or signing in the wrong
                 place, or submitting a check for what applicants previ-
                 ously had to pay for DACA renewal—$465, instead of
                 the new fee of $495—or for some other erroneous
                 amount.
                    142. The October 5, 2017 renewal deadline imposed
                 on DACA recipients was also administered in an arbi-
                 trary manner. Many DACA recipients submitted their
                 renewal applications as soon as they could before the
                 October 5 deadline, but were nonetheless rejected for
                 reasons outside of their control. The harms of this are
                 already beginning to be felt: for example, four MRNY
                 members’ current grants of DACA expire in December
                 2017: a father of five U.S. citizen children; a twenty-
                 one-year-old who has lived in the U.S. since he was six
                 years old; a young man who is both working and going
                 to college full time; and a nineteen-year-old college
                 student who has been in the U.S. since she was three
                 years old. These four individuals—along with many
                 others across the country—stand to lose everything
                 they have worked for in the only country they know as
                 home.
                    143. In addition, the September 5, 2017 cutoff for
                 initial applicants has inf licted severe harm on those
                 who were unable to file by September 5, 2017.
                     144. For example, Jose Rangel is DACA eligible,
                 lives in Houston, Texas, and is thirty-four years old.
                 He arrived in the United States from Mexico when he
                 was six. He is married and has a seven-year-old U.S.-
                 citizen daughter.
                    145. Mr. Rangel did not apply for DACA in 2012 be-
                 cause he received erroneous legal advice that he was
                 not eligible. Years later, a friend insisted he was eli-
                 gible and encouraged him to apply.




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                    146. In mid-to-late August 2017, Mr. Rangel and his
                 lawyer completed his initial application, which was
                 ready to be finalized and mailed. On September 5,
                 2017, when Mr. Rangel heard Defendant Sessions’ an-
                 nouncement, he was relieved that he had finished his
                 DACA application two-weeks earlier and assumed it
                 had been submitted.
                    147. After calling his lawyer to confirm, Mr. Rangel
                 found out that due to Hurricane Harvey, his lawyer’s
                 office had been closed and they were behind on mailing
                 out applications—preventing his initial DACA applica-
                 tion from being filed by September 5, 2017 and depriv-
                 ing him of the opportunity to receive deferred action.
                    148. Similarly, M.J. is an eighteen-year-old Mexi-
                 can national who has lived in the United States for al-
                 most all of her life. M.J.’s U.S.-citizen stepfather had
                 been in the process of petitioning for her to receive per-
                 manent resident status. However, her stepfather be-
                 came abusive and recently abandoned the family peti-
                 tion, leaving M.J. without status.
                    149. M.J. met with non-profit attorneys who ad-
                 vised her to apply for DACA. The attorneys started
                 work on the case, but Hurricane Harvey prevented them
                 from completing the application because their homes
                 and offices were flooded and closed.
                     150. On the day Harvey landed, the attorneys tried
                 to work with M.J. to get documents together and file
                 for DACA prior to the expected announcement of the
                 program’s termination, but Houston was largely under
                 water and the schools were closed, preventing M.J.
                 from getting the requisite documents, the attorneys
                 from getting into the office, and the postal service from
                 sending any mail. There was no viable way for M.J. to
                 file her DACA before September 5th.




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                    151. The DACA Termination, in most states, in-
                 cluding New York, will prevent individuals from ob-
                 taining driver’s licenses or state identification cards.
                 For example, Ms. Fernandez relies on her driver’s li-
                 cense to bring her children to school every day and the
                 doctor when needed. Many DACA recipients rely on
                 driver’s licenses or state identification cards as a form
                 of photo identification for banking, insurance, notariza-
                 tions, and other everyday services.
                    152. Moreover, the DACA Termination places these
                 individuals at risk of immediate apprehension and de-
                 portation. Under Defendant Trump, DHS has signifi-
                 cantly increased its targeting of DACA recipients whose
                 statuses have lapsed for deportation.
                    153. The Trump Administration’s new enforcement
                 priorities, which are so all encompassing that they can-
                 not in earnest be called “priorities,” target individuals
                 who would qualify for DACA. Trump has directed DHS
                 to prioritize for removal anyone present in the United
                 States without admission or parole, including those eli-
                 gible for DACA under the 2012 guidance.
                     154. In fact, at the same time the DACA Termina-
                 tion was announced, the government issued “talking
                 points” stating, inter alia, that: “The Department of
                 Homeland Security urges DACA recipients to use the
                 time remaining on their work authorization to prepare
                 for and arrange their departure from the United States.
                 . . . ” Similarly, a DHS “Frequently Asked Ques-
                 tions” document issued the same day refers to the time
                 period prior to March 5, 2018 as a “grace period for
                 DACA recipients” whose grants of deferred action will
                 soon expire “to make appropriate plans to leave the
                 country.”




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                    155. DHS can easily deport the Plaintiffs because
                 the Department already has their personal information.
                 Plaintiffs and other DACA recipients provided exten-
                 sive personal information to DHS in reliance on the
                 agency’s repeated promises to use the information only
                 to grant them protection from deportation, and not to
                 use that information for immigration-enforcement pur-
                 poses except in narrow, delineated circumstances.
                    156. Notwithstanding those prior assurances,
                 DHS has changed its policy regarding the permissible
                 uses of the information provided by DACA applicants to
                 remove the limitations on using that information for
                 immigration-enforcement purposes. This policy change
                 constitutes final agency action.
                    157. If they are deported from the United States,
                 Plaintiffs and others similarly situated face grievous
                 harm. The Individual Plaintiffs, as well as the mem-
                 bers and clients of MRNY, will be forced to leave the
                 only country that many of them have known as home;
                 they have grown up in American neighborhoods, at-
                 tended American schools, and have structured their
                 lives around living in the United States.
                    158. The termination of DACA is already having
                 profound impacts on the lives of DACA recipients.
                 DACA recipients, including Individual Plaintiffs, fear
                 deportation. Some have started to make provisions
                 for what happens if they were deported, such as having
                 difficult conversations with their parents and children
                 about emergency plans.
                    159. Faced with the loss of their work authoriza-
                 tion, many DACA recipients, including Mr. Batalla
                 Vidal, have taken on additional jobs while they still
                 have work authorization.




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                              CLASS ACTION ALLEGATIONS
                    160. Pursuant to Rule 23(a) and (b)(2) of the Fed-
                 eral Rules of Civil Procedure, Named Plaintiffs seek to
                 represent a certified Plaintiff class consisting of (1) all
                 persons with deferred action through DACA as of
                 September 5, 2017; and (2) all persons who are or will
                 be eligible for deferred action under the terms of the
                 original DACA guidance issued by the Department of
                 Homeland Security (“DHS”) in 2012; (3) except the in-
                 dividual recipients of, or applicants for, deferred action
                 through DACA who are Plaintiffs in other actions chal-
                 lenging the DACA Termination in a U.S. District Court
                 as of December 11, 2017. 15
                    161. Plaintiffs seek to represent the above-
                 described class for all claims except that under the
                 Regulatory Flexibility Act.
                    162. This action meets all the Rule 23(a) prerequi-
                 sites for maintaining a class action.
                    163. The class members are sufficiently numerous
                 as to render joinder impracticable, satisfying Rule
                 (23)(a)(1). Defendants’ decision to terminate the DACA

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                      Other cases challenging the DACA termination currently
                 before a U.S. district court as of December 11, 2017 include New
                 York v. Trump, No. 17-cv-5228 (E.D.N.Y. filed Sept. 6, 2017);
                 Regents of Univ. of California v. DHS, No. 17-cv-05211 (N.D. Cal.
                 filed Sept. 8, 2017); State of California v. DHS, No. 17-cv-05235
                 (N.D. Cal. filed Sept. 11, 2017); City of San Jose v. Trump, No.
                 17-cv-05329 (N.D. Cal. filed Sept. 14, 2017); Garcia v. United
                 States of America, No 17-cv-05380 (N.D. Cal. filed Sept. 18, 2017);
                 County of Santa Clara v. Trump, No. 17-cv-05813 (N.D. Cal. filed
                 Oct. 10, 2017); CASA de Maryland v. DHS, No. 17-cv-02942
                 (D. Md. filed Oct. 5, 2017); NAACP v. Trump, No. 17-v-01907 (D.D.C.
                 filed Sept. 18, 2017); and Park v. Sessions, No. 17-cv-01332 (E.D.
                 Va. filed Nov. 21, 2017).




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                 program without providing adequate reasons and based
                 on legal error, without going through the proper notice-
                 and-comment procedure, without providing corrected
                 notices to individual recipients subject to the October
                 5, 2017 renewal deadline, and based on animus toward
                 individuals of Latino and Mexican origin, harms mil-
                 lions of individuals residing throughout the United
                 States. In addition, the class action is the only ap-
                 propriate procedural avenue for the protection of the
                 class members’ constitutional rights and rights under
                 the APA.
                     164. This action presents common questions of law
                 and fact, resolution of which will not require individu-
                 alized determinations of the circumstances to any
                 plaintiff, satisfying Rule 23(a)(2). Such common ques-
                 tions of law and fact include, but are not limited to:
                    a. whether the DACA Termination constituted a
                       substantive rule, such that notice-and-comment
                       rulemaking was required under 5 U.S.C.
                       § 706(2)(D);
                    b. whether Defendants’ DACA Termination and
                       change in the policy regarding the permissible
                       uses of the sensitive information DACA appli-
                       cants provided was arbitrary and capricious, an
                       abuse of discretion, or otherwise not in accord-
                       ance with the law, in violation of 5 U.S.C.
                       § 706(2)(A);
                    c. whether Defendants failed to provide corrected
                       notices to individuals whom Defendants had pre-
                       viously written advising them to renew “as soon
                       as possible” but without mention of the October
                       5, 2017 deadline, in violation of procedural due
                       process;




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                    d. whether Defendants unfairly and arbitrarily re-
                       jected deferred action renewal applications in
                       violation of procedural due process; and
                    e. whether the termination of DACA was substan-
                       tially motivated by animus toward individuals of
                       Latino and Mexican origin, and whether it had a
                       disparate impact on such individuals in violation
                       of the equal protection guarantee of the Due
                       Process Clause of the Fifth Amendment.
                    165. The Named Plaintiffs’ claims are typical of the
                 putative class, satisfying Rule 23(a)(3). Like the other
                 members of the class, the Defendants’ termination of
                 the DACA program and change to the confidentiality
                 policy without providing adequate reasons, in violation
                 of 5 U.S.C. § 706(2)(A); failure to go through the proper
                 notice-and-comment procedure, in violation of 5 U.S.C.
                 § 706(2)(D); having its decision substantially motivated
                 by animus, in violation of the equal protection guaran-
                 tee of the Fifth Amendment; failure to provide ade-
                 quate notice to individuals who were obligated to renew
                 by October 5, 2017, in violation of the Due Process
                 Clause of the Fifth Amendment; and arbitrarily and
                 unfairly rejecting renewal applications, in violation of
                 the Due Process Clause of the Fifth Amendment, harms
                 the Named Plaintiffs.
                    166. The interests of the putative class are fairly
                 and adequately protected by the Named Plaintiffs and
                 their attorneys, satisfying Rule 23(a)(4).
                    167. The Named Plaintiffs’ interests do not conflict
                 with other members of the class. Instead, the Named
                 Plaintiffs’ interests are the same as those of the class:
                 not to be subjected to agency rules that are promul-
                 gated without adequate basis, without undergoing the
                 required notice-and-comment procedure, and that are




                                                                             AR2989
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                 implemented without fair notice and based on animus
                 toward individuals of Latino and Mexican origin.
                    168. The legal theories under which the Named
                 Plaintiffs seek declaratory and injunctive relief are the
                 same or similar to those on which all members of the
                 class would rely, and the harms suffered by the Named
                 Plaintiffs are typical of those suffered by the class
                 members.
                    169. With respect to Rule 23(a)(4) adequacy, un-
                 dersigned counsel are qualified, experienced, and able
                 to conduct the litigation. The attorneys have the nec-
                 essary knowledge, experience, and resources to litigate
                 this matter. In addition, attorneys have expended the
                 time and effort necessary to identify the class.
                    170. Counsel for Plaintiffs do not anticipate any
                 conflicts of interest between the Named Plaintiffs and
                 the other class members, nor does Counsel anticipate
                 any reason that the other class members would dispute
                 the adequacy of Counsel’s representation.
                    171. This action also meets all the requirements of,
                 and is brought in accordance with, Rule 23(b)(2).
                 Defendants’ unlawful termination of the DACA pro-
                 gram and changes to the confidentiality policy pose a
                 real and immediate threat generally applicable to each
                 member of the class, thus making final declaratory and
                 injunctive relief with respect to the class as a whole
                 appropriate.




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                                 CLAIMS FOR RELIEF
                            FIRST CLAIM FOR RELIEF
                     Administrative Procedure Act: Agency Action
                     Without Observance of Procedure Required By
                    Law By all Plaintiffs against Defendants Nielsen
                                      and Sessions
                    172. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    173. The APA requires that agency action that is
                 substantive in nature follow notice-and-comment pro-
                 cedures. 5 U.S.C. § 706(2)(D).
                    174. The DACA Termination constitutes a substan-
                 tive rule, as it binds DHS to categorically deny applica-
                 tions for deferred action to individuals who fit the ori-
                 ginal DACA eligibility criteria.
                     175. It is undisputed that Defendants failed to fol-
                 low notice-and-comment rulemaking procedures prior
                 to issuing the DACA Termination.
                   176. Defendants’ termination of DACA violated the
                 APA.
                             SECOND CLAIM FOR RELIEF
                     Administrative Procedure Act: Agency Action
                      that is Arbitrary and Capricious, An Abuse of
                    Discretion, and Otherwise Not In Accordance with
                    Law By all Plaintiffs against Defendants Nielsen
                                       and Sessions
                    177. Plaintiffs repeat and incorporate by reference
                 each and every allegation containedin the preceding
                 paragraphs as if fully set forth herein.




                                                                             AR2991
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                    178. The APA prohibits federal agency action that
                 is “arbitrary, capricious, an abuse of discretion, or
                 otherwise not in accordance with law.” 5 U.S.C.
                 § 706(2)(A).
                    179. Defendants’ DACA Termination and its change
                 to the confidentiality of DACA applicant information
                 constitute final agency action, and are arbitrary and
                 capricious, an abuse of discretion, and otherwise not in
                 accordance with the law because they (a) lack a rational
                 explanation for the change in policy on which persons
                 had reasonably relied, (b) are based on a legal error,
                 and (c) failed to consider all relevant factors.
                    180. Defendants justified the DACA Termination
                 on the grounds of litigation risk and the legal conclu-
                 sion that the program is unlawful. These grounds are
                 inadequate to justify termination, are legally erroneous,
                 and fail to address the government’s previous conclusion
                 that the DACA program was lawful. These justifica-
                 tions are also contradicted by Defendant Trump’s own
                 subsequent statement that he would “revisit” the ter-
                 mination if necessary.
                    181. Defendants provided no justification for many
                 of the details of the DACA Termination, including the
                 September 5, 2017 deadline for initial applications; the
                 October 5, 2017 deadline to file renewal applications;
                 the March 5, 2018 cut-off for renewal eligibility; and
                 changes to the confidentiality of applicant information.
                    182. Defendants’ termination of DACA and changes
                 to the confidentiality of DACA-applicant information
                 violated the APA.




                                                                             AR2992
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                              THIRD CLAIM FOR RELIEF
                                Regulatory Flexibility Act
                                   By Plaintiff MRNY
                         against Defendants Nielsen and Sessions
                    183. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                    184. DHS failed to conduct any regulatory flexibil-
                 ity analysis to determine how the DACA Termination
                 will affect small entities, such as MRNY, in violation of
                 the Regulatory Flexibility Act. 5 U.S.C. §§ 601 et seq.
                    185. MRNY, as a “small organization” within the
                 meaning of 5 U.S.C. § 601(4), is directly affected by the
                 DACA Termination, and therefore DHS was required
                 to conduct a regulatory flexibility analysis prior to prom-
                 ulgating the rule.
                    186. It is undisputed that Defendants failed to
                 conduct a regulatory flexibility analysis.
                   187. Defendants’ termination of DACA violated the
                 RFA.
                             FOURTH CLAIM FOR RELIEF
                       Fifth Amendment (Procedural Due Process)
                       By all Plaintiffs against Defendants Nielsen
                                        and Sessions
                    188. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                   189. The hallmark of due process is notice and a
                 meaningful opportunity to be heard.
                   190. The Due Process Clause of the Fifth Amend-
                 ment prohibits the federal government, including De-




                                                                               AR2993
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                 fendants, from depriving individuals of their liberty or
                 property interests without due process of law.
                    191. Defendants have not provided DACA recipi-
                 ents with the process to which they are entitled.
                    192. Defendants, in individualized written notices,
                 advised many DACA recipients whose status expires
                 by March 5, 2018 to apply to renew “as soon as possi-
                 ble” and, to ensure no lapse in status, to renew between
                 120 to 150 days before expiration.
                    193. Defendants did not send corrected notices to
                 these DACA recipients advising them that they needed
                 to apply to renew DACA by October 5, 2017 or be for-
                 ever ineligible to renew their status.
                   194. Defendants’ failure to issue corrected notices
                 advising of the October 5, 2017 deadline violates the
                 Due Process Clause of the Fifth Amendment.
                              FIFTH CLAIM FOR RELIEF
                          Fifth Amendment (Equal Protection)
                         By all Plaintiffs against All Defendants
                    195. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                     196. The Due Process Clause of the Fifth Amend-
                 ment prohibits the federal government, including De-
                 fendants, from denying to any person equal protection
                 of the laws.
                    197. The DACA Termination targets Latinos and,
                 in particular, Mexicans, and will have a disparate impact
                 on these groups.
                    198. Defendants Sessions, Nielsen, and Trump have
                 violated the equal protection guarantee of the Fifth




                                                                             AR2994
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                                            701

                 Amendment because the DACA Termination was sub-
                 stantially motivated by animus toward Latinos and, in
                 particular, Mexicans.
                             SIXTH CLAIM FOR RELIEF
                      Fifth Amendment (Procedural Due Process)
                     By Plaintiff MRNY against Defendants Nielsen
                                     and Sessions
                    199. Plaintiffs repeat and incorporate by reference
                 each and every allegation contained in the preceding
                 paragraphs as if fully set forth herein.
                   200. The hallmark of due process is notice and a
                 meaningful opportunity to be heard.
                    201. The Due Process Clause of the Fifth Amend-
                 ment prohibits the federal government, including De-
                 fendants, from depriving individuals of their liberty or
                 property interests without due process of law.
                    202. In the implementation of the October 5 dead-
                 line for renewal applications, Defendants have not pro-
                 vided DACA recipients with the process to which they
                 are entitled.
                    203. Defendants did not provide any notice of addi-
                 tional specific requirements that USCIS imposed for
                 receiving and rejecting renewal applications or their
                 resubmissions under the November 15 and November
                 30 USCIS guidance and FAQs. While the December 7
                 FAQs add some instructions for individuals who were
                 affected by unreasonable mail delay, they still do not
                 address individuals whose applications were rejected
                 unfairly for minor perceived or actual clerical errors, or
                 who were affected both by U.S. Postal Service mail de-
                 lays and minor perceived or actual clerical errors.




                                                                              AR2995
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                     204. For example, Defendants rejected renewal ap-
                 plications that arrived at the designated Post Office
                 box in the late afternoon and evening of October 5
                 without notifying DACA recipients of a specific time
                 deadline other than the date of October 5. Defendants
                 failed to specify that applications that arrived at their
                 Post Office box would not be considered “received” un-
                 til the applications had been transferred to the appro-
                 priate Lockbox or service center, such that the address
                 Defendants provided for applicants to meet the Octo-
                 ber 5 deadline was not actually an address that allowed
                 a person to meet the “received by” deadline imposed by
                 DHS. Defendants likewise ignored the postmark dates
                 on renewal applications, notwithstanding that the post-
                 marks showed significant delays that were attributable
                 to the U.S. Postal Service and not the applicants them-
                 selves. Moreover, Defendants rejected renewal appli-
                 cations on the basis of real or perceived clerical errors,
                 and in many cases provided rejected applicants with a
                 green document inviting them to correct the error and
                 reapply; yet Defendants again rejected as untimely ap-
                 plicants’ resubmitted renewal applications that had
                 corrected or clarified those errors.
                    205. Defendants’ arbitrary and unfair implementa-
                 tion of the October 5, 2017 deadline violates the Due
                 Process Clause of the Fifth Amendment.
                                 PRAYER FOR RELIEF
                 WHEREFORE, Plaintiffs respectfully request that
                 this Court:
                    206. Declare that the DACA Termination and ac-
                 tions taken by Defendants to terminate DACA and to
                 change the confidentiality of DACA applicant infor-
                 mation are void and without legal force or effect;




                                                                              AR2996
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                    207. Declare that the DACA Termination and ac-
                 tions taken by Defendants to terminate DACA and to
                 change the confidentiality of DACA applicant informa-
                 tion are arbitrary, capricious, an abuse of discretion,
                 otherwise not in accordance with law, and without ob-
                 servance of procedure required by law, in violation of
                 5 U.S.C. §§ 702-706;
                    208. Declare that the DACA Termination and ac-
                 tions taken by Defendants to terminate DACA are in
                 violation of the equal protection and due process guar-
                 antees of the Fifth Amendment of the U.S. Constitu-
                 tion and contrary to the law of the United States;
                   209. Vacate and set aside the DACA Termination
                 and any other action taken by Defendants to terminate
                 DACA, including the change to the confidentiality of
                 DACA-applicant information;
                    210. Enjoin and restrain Defendants, their agents,
                 servants, employees, attorneys, and all persons in ac-
                 tive concert or participation with any of the Defend-
                 ants, from implementing or enforcing the DACA Ter-
                 mination and the change in confidentiality of DACA-
                 applicant information, and from taking any other action
                 to terminate DACA that is not in compliance with ap-
                 plicable law or the U.S. Constitution;
                    211. Enjoin and restrain Defendants, their agents,
                 servants, employees, attorneys, and all persons in ac-
                 tive concert or participation with any of the Defend-
                 ants, from denying individuals who were eligible to re-
                 new their deferred action under the terms of the DACA
                 Termination Memo the opportunity to re-submit their
                 renewal applications; and
                    212. Grant such other relief as this Court deems
                 just and proper.




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                 Dated:   Dec. 11, 2017

                 Respectfully submitted,

                 /s/ JESSICA R. HANSON

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                 + Admitted only in Louisiana




                                                                            AR2999
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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK


                        Civil Action No. 1:17-cv-05228 (NGG) (JO)
                  STATES OF NEW YORK, MASSACHUSETTS, WASHINGTON,
                   COLORADO, CONNECTICUT, DELAWARE, DISTRICT OF
                    COLUMBIA, HAWAII, ILLINOIS, IOWA, NEW MEXICO,
                   NORTH CAROLINA, OREGON, PENNSYLVANIA, RHODE
                      ISLAND, VERMONT, AND VIRGINIA, PLAINTIFFS
                                            v.
                     DONALD TRUMP, IN HIS OFFICIAL CAPACITY AS
                       PRESIDENT OF THE UNITED STATES; U.S.
                   DEPARTMENT OF HOMELAND SECURITY; ELAINE C.
                   DUKE, IN HER OFFICIAL CAPACITY; U.S. CITIZENSHIP
                  AND IMMIGRATION SERVICES; U.S. IMMIGRATION AND
                  CUSTOMS ENFORCEMENT; AND THE UNITED STATES OF
                                AMERICA, DEFENDANTS

                                   Filed: Oct. 4, 2017


                        FIRST AMENDED COMPLAINT FOR
                      DECLARATORY AND INJUNCTIVE RELIEF


                                    INTRODUCTION
                     1.    The States of New York, Massachusetts,
                 Washington, Colorado, Connecticut, Delaware, Hawaii,
                 Illinois, Iowa, New Mexico, North Carolina, Oregon,
                 Pennsylvania, Rhode Island, Vermont, Virginia and the
                 District of Columbia (the “States”) bring this action to
                 protect the States—including their residents, employ-
                 ers, small governmental jurisdictions, regulatory sys-
                 tems, and educational institutions—against the unlaw-




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                 ful actions of the President of the United States and
                 the federal government.
                    2.   Since 2012, the Deferred Action for Childhood
                 Arrivals (“DACA”) program has protected from de-
                 portation and extended work authorization to approx-
                 imately 800,000 young people who grew up in this coun-
                 try, most of whom have known no home other than the
                 United States.
                     3.    DACA has allowed these young people to live,
                 study, and work in the States (and throughout the
                 country) as contributors and leaders in their communi-
                 ties. DACA grantees attend public and private uni-
                 versities, and are employed by companies, nonprofit
                 organizations, and governmental agencies and institu-
                 tions, all of which benefit from their skills and produc-
                 tivity. DACA grantees also provide financial support
                 to their families, help to grow the economy, and con-
                 tribute significantly to State and local revenues and tax
                 bases.
                    4.   On September 5, 2017, the Defendants defini-
                 tively and categorically terminated the DACA pro-
                 gram, as detailed in a U.S. Department of Homeland
                 Security (“DHS”) Memorandum (“DHS Memoran-
                 dum”). See Ex. 74 (Memorandum from Acting Secre-
                 tary Elaine Kelly to James McCament, Acting Director
                 of U.S. Citizenship and Immigration Services, Rescis-
                 sion of Deferred Action for Childhood Arrivals, Sep-
                 tember 5, 2017).
                    5.   Pursuant to the DHS Memorandum, the fed-
                 eral government will only issue renewals for grantees
                 whose benefits expire before March 5, 2018, provided
                 they apply for renewal by October 5, 2018. DHS im-
                 mediately ceased accepting all new applications under
                 DACA.




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                    6.    Ending DACA is a culmination of President’s
                 Trump’s oft-stated commitments—whether personally
                 held, stated to appease some portion of his constituen-
                 cy, or some combination thereof—to punish and dis-
                 parage immigrants, especially those with Mexican roots,
                 who make up more than 78 percent of DACA grantees.
                 See Ex. 1 (Updated USCIS, Consideration of Deferred
                 Action for Childhood Arrivals Fiscal Years 2012-2017,
                 June 8, 2017).
                    7.    The consequence of the President’s decision is
                 that hundreds of thousands of young people who have
                 availed themselves of the program will ultimately lose
                 its protections, and will be exposed to removal when
                 their authorizations expire.
                    8.   Individuals who have relied on DACA are now
                 even more vulnerable to removal than before the pro-
                 gram was initiated, as they turned over sensitive in-
                 formation to the federal government in their applica-
                 tions. Despite the federal government’s repeated pro-
                 mises that it would not use such information to conduct
                 enforcement measures, the DHS Memorandum does
                 not explain how the government will keep that infor-
                 mation secure, nor does it provide any assurances that
                 immigration enforcement agents will not use such in-
                 formation to find and remove those who applied for
                 DACA.
                    9.    Terminating DACA will harm hundreds of
                 thousands of the States’ residents, injure State-run
                 colleges and universities, upset the States’ workplaces,
                 damage the States’ economies, hurt State-based busi-
                 nesses and nonprofits, negatively affect the States’ small
                 governmental jurisdictions, and disrupt the States’ sta-
                 tutory and regulatory interests.




                                                                              AR3002
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                    10. The States respectfully request that the Court
                 invalidate the portions of the DHS Memorandum chal-
                 lenged here. Further, the States ask that the Court
                 enjoin the federal government from using personal
                 information gathered for the DACA program in immi-
                 gration enforcement.
                                JURISDICTION AND VENUE
                    11. The Court has jurisdiction pursuant to 28 U.S.C.
                 §§ 1331 and 2201(a).
                    12. Venue is proper in this district pursuant to
                 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1). Defendants are
                 United States agencies or officers sued in their official
                 capacities. The State of New York is a resident of this
                 judicial district, and a substantial part of the events or
                 omissions giving rise to this Complaint occurred within
                 the Eastern District of New York.
                    13. The States bring this action to redress harms
                 to their proprietary and sovereign interests and their
                 interests as parens patriae.
                                           PARTIES
                                         PLAINTIFFS
                    14. The Plaintiff States of New York, 1 Massachu-
                 setts, Washington, Colorado, Connecticut, Delaware,
                 Hawaii, Illinois, Iowa, New Mexico, North Carolina,
                 Oregon, Pennsylvania, Rhode Island, Vermont, Virgin-
                 ia and the District of Columbia, represented by and


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                     The State of New York is represented by and through its At-
                 torney General, Eric T. Schneiderman. Governor Andrew M.
                 Cuomo is the chief executive officer of the State of New York and
                 is responsible for overseeing the operations of the State of New
                 York and ensuring that its laws are faithfully executed.




                                                                                     AR3003
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                 through their Attorneys General, 2 are sovereign states 3
                 of the United States of America.
                    15. The States are aggrieved and have standing to
                 bring this action because of the injuries to the States
                 caused by the termination of DACA, including immedi-
                 ate and irreparable injuries to their sovereign, quasi-
                 sovereign, and proprietary interests.
                                         DEFENDANTS
                    16. Defendant Donald Trump is the President of
                 the United States, and authorized the issuance of the
                 DHS Memorandum that purports to terminate DACA.
                 He is sued in his official capacity.
                    17. Defendant DHS is a federal cabinet agency
                 responsible for implementing the DACA program.
                 DHS is a Department of the Executive Branch of the
                 U.S. Government, and is an agency within the meaning
                 of 5 U.S.C. § 552(f ).
                    18. Defendant United States Citizenship and Im-
                 migration Services (“USCIS”) is an Operational and
                 Support Component agency within DHS. USCIS is
                 the sub-agency responsible for administering the DACA
                 program.
                    19. Defendant U.S. Immigration and Customs En-
                 forcement (“ICE”) is an Operational and Support Com-

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                     Colorado is represented by and through Governor John W.
                 Hickenlooper’s Chief Legal Counsel, who has been designated a
                 Special Assistant Attorney General for purposes of representing
                 Colorado in this matter.
                   3
                     The District of Columbia, which is a municipal corporation
                 empowered to sue and be sued, and is the local government for
                 the territory constituting the permanent seat of the federal gov-
                 ernment of the United States, shall be included herein as a “State”
                 for ease of reference.




                                                                                       AR3004
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                 ponent agency within DHS. ICE is responsible for en-
                 forcing federal immigration law, including identifying,
                 apprehending, detaining, and removing non-citizens.
                    20. Defendant Elaine C. Duke is the Acting Sec-
                 retary of the DHS. She is responsible for implement-
                 ing and enforcing the Immigration and Nationality Act,
                 and oversees USCIS and ICE. She is sued in her offi-
                 cial capacity.
                    21. Defendant the United States of America in-
                 cludes all government agencies and departments re-
                 sponsible for the implementation and termination of
                 the DACA program.
                              GENERAL ALLEGATIONS
                 Establishment of the DACA Program.
                    22. On June 15, 2012, then-Secretary of Homeland
                 Security Janet Napolitano issued a memorandum es-
                 tablishing the DACA program (the “2012 DACA Mem-
                 orandum”). See Ex. 13 (2012 DACA Memorandum).
                 Under DACA, “certain young people who were brought
                 to this country as children and know only this country
                 as home” could request deferred action for a period
                 of two years, subject to renewal. Id. at 1-2. DACA
                 grantees also were eligible for work authorizations
                 so that they could work legally in the United States
                 during the deferred action period, pursuant to
                 long-standing federal regulation. See id.; 8 C.F.R.
                 § 274a.12(c)(14) (providing that “an alien who has been
                 granted deferred action” may obtain work authoriza-
                 tion upon demonstrating economic necessity).
                    23. Deferred action is a well-established form of
                 prosecutorial discretion under which the federal gov-
                 ernment forbears from taking removal action against
                 an individual for a designated period of time. Accor-




                                                                            AR3005
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                 ding to the 2012 DACA memorandum, it was appropri-
                 ate for the government to exercise such discretion for
                 DACA grantees because immigration laws are not
                 “designed to remove productive young people to coun-
                 tries where they may not have lived or even speak the
                 language.” See Ex. 13 at 1.
                    24. The 2012 DACA Memorandum provided that
                 an applicant could be considered for an exercise of
                 prosecutorial discretion only if he or she:
                    a. came to the United States before the age of six-
                       teen;
                    b. continuously resided in the United States for at
                       least five years preceding June 15, 2012, and was
                       present in the United States on that date;
                    c. was in enrolled in school on the date of his/her
                       application, had graduated from high school, had
                       obtained a general education development cer-
                       tificate, or was an honorably discharged veteran
                       of the Coast Guard or Armed Forces of the
                       United States;
                    d. had not been convicted of a felony offense, a sig-
                       nificant misdemeanor offense, or multiple mis-
                       demeanor offenses, and did not otherwise pose a
                       threat to national security or public safety; and
                    e. was not over the age of thirty on June 15, 2012.
                 Id. at 1.
                    25. USCIS described DACA as follows: “De-
                 ferred action is a discretionary determination to defer
                 a removal action of an individual as an act of prosecu-
                 torial discretion. For purposes of future inadmissibil-
                 ity based upon unlawful presence, an individual whose
                 case has been deferred is not considered to be unlaw-




                                                                            AR3006
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                 fully present during the period in which deferred action
                 is in effect. An individual who has received deferred
                 action is authorized by DHS to be present in the Unit-
                 ed States, and is therefore considered by DHS to be
                 lawfully present during the period deferred action is in
                 effect. However, deferred action does not confer law-
                 ful status upon an individual, nor does it excuse any
                 previous or subsequent periods of unlawful presence.”
                 See Ex. 14, Question 1 (USCIS Help Center, DACA
                 FAQs).
                 The DACA Application Process.
                     26. Under DACA, “[a]ll individuals who believe[d]
                 they [met] the guidelines” could “affirmatively request
                 consideration of DACA from USCIS” through an estab-
                 lished process. After receiving the applicant’s forms,
                 evidence, supporting documents and application fee,
                 USCIS “review[ed] them for completeness,” consid-
                 ered complete applications “on an individual, case-by-
                 case basis,” and notified applicants of its determination
                 in writing. See Ex. 16 (USCIS Help Center, How do I
                 request consideration of DACA?).
                     27. In order to apply for the DACA program, ap-
                 plicants had to submit extensive documentation estab-
                 lishing that they met the eligibility criteria. Appli-
                 cants also had to submit a Form I-765 Application for
                 Employment Authorization, and pay a $495 fee. See
                 Ex. 14 at Questions 28-41; see also Ex. 17 (USCIS,
                 I-821D, Consideration of Deferred Action for Child-
                 hood Arrivals) (explaining that the filing fee for a
                 DACA application could not be waived).
                    28. DACA applicants were required to undergo
                 biometric and biographic background checks. When
                 conducting these checks, DHS reviewed the applicant’s
                 biometric and biographic information “against a variety




                                                                             AR3007
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                 of databases maintained by DHS and other federal
                 government agencies.” See Ex. 14 at Question 23. If
                 any information “indicate[d] that [the applicant’s] pres-
                 ence in the United States threaten[ed] public safety or
                 national security,” the applicant was ineligible for DACA
                 absent “exceptional circumstances.” Id. at Question 65.
                    29. Once individuals were admitted into the DACA
                 program, internal USCIS “Standard Operating Proce-
                 dures” dictated that, absent an “Egregious Public Safe-
                 ty” issue, DACA grantees were not to be terminated
                 from the program until the government provided a “No-
                 tice of Intent to Terminate” which “thoroughly ex-
                 plain[ed]” the grounds for the termination.” See Ex.
                 18 at 132, Appendix I (DHS, National Standard Oper-
                 ating Procedures (SOP): Deferred Action for Child-
                 hood Arrivals, Apr. 4, 2013). DHS policy further pro-
                 vided that recipients of such notice should be afforded
                 33 days to “file a brief or statement contesting the
                 grounds cited in the Notice of Intent to Terminate”
                 prior to termination of participation in the DACA pro-
                 gram. Id.
                    30. At the expiration of their two-year DACA
                 term, grantees could seek renewal, and were consid-
                 ered for renewal if they met the guidelines for consid-
                 eration as well as other specified criteria. See Ex. 19
                 (USCIS Help Center, How will USCIS evaluate my
                 request for renewal of DACA?).
                 Benefits Provided Under the DACA Program.
                    31.   DACA confers numerous benefits on its grant-
                 ees.
                    32. Notably, DACA grantees are granted the right
                 not to be arrested or detained based solely on their
                 immigration status during the time period during




                                                                             AR3008
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                 which their deferred action is in effect.   See Ex. 14 at
                 Question 9.
                    33. DACA grantees also are granted eligibility for
                 work authorization. As USCIS has explained, “an
                 individual whose case has been deferred is eligible to
                 receive employment authorization for the period of de-
                 ferred action. . . . ’ ” Id. at Question 1.
                    34. DACA grantees are eligible to receive certain
                 public benefits.      These include Social Security,
                 retirement, and disability benefits.  See 8 U.S.C.
                 §§ 1611(b)(2)-(3), 1621(d).
                    35. DACA enables grantees to open bank ac-
                 counts, obtain credit cards, start businesses, purchase
                 homes and cars, and conduct other aspects of daily life
                 that are otherwise often unavailable for undocumented
                 immigrants. See Ex. 5 ¶¶ 12, 16, 22 (Decl. Wong).
                    36. DACA has enabled hundreds of thousands of
                 young people “to enroll in colleges and universities,
                 complete their education, start businesses that help
                 improve our economy, and give back to our communi-
                 ties as teachers, medical professionals, engineers, and
                 entrepreneurs—all on the books.” See Ex. 15 (Letter
                 from Secretary Jeh Charles Johnson to Rep. Judy Chu,
                 Dec. 30, 2016).
                    37. These positive effects have rippled throughout
                 the States’ economies. As DHS recognized more than
                 four years after the implementation of DACA, our
                 nation “continue[s] to benefit . . . from the contri-
                 butions of those young people who have come forward
                 and want nothing more than to contribute to our coun-
                 try and our shared future.” Id.
                    38. Terminating DACA would not only rip away
                 the life-changing benefits to individual DACA grantees,




                                                                             AR3009
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                 but would also reverse the benefits to the community at
                 large, including to innumerable small businesses, non-
                 profits, and governments. 4
                 The Government’s Assurances That the Information
                 Provided by DACA Applicants Would be Kept Confiden-
                 tial and Not Used for Enforcement.
                    39. When the DACA program was first imple-
                 mented, many eligible young people were reluctant to
                 voluntarily disclose information that could help facili-
                 tate their removal from the United States. To encour-
                 age applications, DHS repeatedly promised applicants
                 that information they provided as part of the DACA
                 application process would “not later be used for immi-
                 gration enforcement purposes.” See Ex. 15 (Letter
                 from Sec’y Johnson).
                    40. USCIS affirmatively represented to DACA ap-
                 plicants that, except in limited circumstances, “[i]nfor-


                  4
                     See e.g., Ex. 20 (Ike Brannon, The Economic and Fiscal Im-
                 pact of Repealing DACA, the Cato Institute, Jan. 18, 2017) (“The
                 deportation of DACA participants would cost the American econo-
                 my billions of dollars, as well as billions of tax dollars foregone,
                 while doing little to address the true concerns that Americans
                 may have about unauthorized immigrants.”); Ex. 21 (Tom Wong,
                 et al., DACA Grantees’ Economic and Educational Gains Con-
                 tinue to Grow, Center for American Progress, Aug. 28, 2017)
                 (quoting multiple DACA grantees whose small businesses will
                 suffer or even close if DACA is terminated); Ex. 22 (Tom Wong et
                 al., New Study of DACA Beneficiaries Shows Positive Economic
                 and Educational Outcomes, Center for American Progress, Oct.
                 18, 2016) (study showing that 9 percent of DACA grantees work
                 at non-profits, a significant percentage work in education, and 6
                 percent started their own business, including one owner who em-
                 ploys nine people and hopes to continue to grow and “hire even
                 more people from the community” [internal brackets and quota-
                 tion marks omitted]).




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                 mation provided in [a DACA request] is protected from
                 disclosure to ICE and CBP for the purpose of immi-
                 gration enforcement proceedings.” See Ex. 25 (USCIS
                 Help Center, Will the information I share in my re-
                 quest for DACA be used for immigration enforcement
                 purposes?).
                    41. USCIS affirmatively represented to DACA ap-
                 plicants that, except in limited circumstances, their
                 case would not be “referred to ICE for purposes of
                 removal proceedings” even if UCSIS decided not to de-
                 fer action on a case. See Ex. 26 (USCIS Help Center,
                 If USCIS does not exercise deferred action in my case,
                 will I be placed in removal proceedings?).
                    42. In the exceptional circumstance in which
                 USCIS referred a DACA applicant to ICE, USCIS af-
                 firmatively represented to DACA applicants that “in-
                 formation related to [their] family members or guar-
                 dians that is contained in [their] request [would] not be
                 referred to ICE for purposes of immigration enforce-
                 ment against family members or guardians.” See Ex.
                 27 (USCIS Help Center, If my DACA case is referred
                 to ICE for immigration enforcement purposes or if I
                 receive an NTA, will information related to my family
                 members and guardians also be referred to ICE for
                 immigration enforcement purposes?).
                    43. USCIS affirmatively represented to employers
                 of DACA applicants that, except in limited circum-
                 stances, if they provided an employee "with information
                 regarding his or her employment to support a request
                 for consideration of DACA,” the information would not
                 be “shared with ICE for civil immigration enforcement
                 purposes.” See Ex. 28 (USCIS Help Center, If I pro-
                 vide my employee with information regarding his or
                 her employment to support a request for consideration




                                                                             AR3011
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                 of DACA, will that information be used for immigra-
                 tion enforcement purposes against me and/or my com-
                 pany?).
                    44. The government’s representations that, absent
                 exceptional circumstances, information provided by a
                 DACA grantee would not be used against him or her
                 for later immigration enforcement proceedings were
                 unequivocal and atypical. For example, the federal
                 government does not make the same representations
                 for participants in other similar programs, such as
                 Temporary Protected Status. These assurances were
                 key to the success of the DACA program. By making
                 repeated, unique, and strong representations, the fed-
                 eral government induced persons to rely on those rep-
                 resentations and apply to become DACA grantees des-
                 pite the potential risks.
                 The Government’s Commitment to Continuity and Fair
                 Treatment for DACA Grantees.
                    45. Numerous public officials from both political
                 parties have reinforced the federal government’s pro-
                 mise to provide continuity and fair treatment to DACA
                 grantees, and have recognized that DACA grantees
                 have relied on the government’s representations in ap-
                 plying for DACA. For example, in December 2016,
                 then-Secretary of Homeland Security Jeh Charles
                 Johnson acknowledged that there are hundreds of
                 thousands of DACA grantees who have “relied on the
                 U.S. government’s representations” about DACA, and
                 asserted that “representations made by the U.S. gov-
                 ernment, upon which DACA applicants most assuredly
                 relied, must continue to be honored.” See Ex. 15.
                    46. On December 19, 2016, then-President-elect
                 Trump stated in an interview with TIME magazine that
                 he would find an accommodation for DACA grantees,




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                 stating, “We’re going to work something out that’s
                 going to make people happy and proud.” See Ex. 29
                 (Michael Scherer, Person of the Year 2016, TIME Mag-
                 azine, Dec. 19, 2016). He further recognized, “[DACA
                 grantees] got brought here at a very young age, they’ve
                 worked here, they’ve gone to school here. Some were
                 good students. Some have wonderful jobs. And
                 they’re in never-never land because they don’t know
                 what’s going to happen.” Id.
                    47. Again, on January 18, 2017, then President-
                 elect Trump promised in an interview with Fox &
                 Friends that he was working on a plan to make DACA
                 grantees “very happy.” See Ex. 30 (Francesca Cham-
                 bers, Trump signals he’s softening on immigration as
                 he says he’s ‘working on a plan’ that will make
                 DREAMers ‘very happy,’ Daily Mail, Jan. 18, 2017).
                 He further stated, “We’re working on a plan right now.
                 And that plan, over the next two to three months, is
                 going to come out. And it’s a plan that’s going to be
                 very firm, but it’s going to have a lot of heart.” Id.
                    48. In January 2017, Speaker of the House Paul
                 Ryan stated that the government must ensure that
                 “the rug doesn’t get pulled out from under” DACA
                 grantees, who have “organize[d] [their] li[ves] around”
                 the DACA program. See Ex. 31 (CNN, Transcript of
                 CNN Town Hall with Speaker Paul Ryan, Jan. 12,
                 2017).
                    49. On January 25, 2017, President Trump again
                 stated in an interview with David Muir that “[DACA
                 grantees] shouldn’t be very worried. I do have a big
                 heart.” See Ex. 32 (ABC News, Transcript of ABC
                 News anchor David Muir interview with Donald
                 Trump, Jan. 25, 2017).




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                    50. In February 2017, then-Secretary of DHS
                 John Kelly issued a memorandum relating to enforce-
                 ment priorities. This memorandum terminated “all
                 existing conflicting directives, memoranda, or field
                 guidance regarding the enforcement of our immigra-
                 tion laws and priorities for removal,” including prior
                 enforcement priorities, but left DACA unchanged.
                 See Ex. 2 (Memorandum from Secretary John Kelly to
                 Keven McAleenan, Acting CBP Commissioner, En-
                 forcement of the Immigration Laws to Serve the Na-
                 tional Interest, Feb. 20, 2017); see also Ex. 10 (Q&A:
                 DHS Implementation of the Executive Order on En-
                 hancing Public Safety in the Interior of the United
                 States, Feb. 21, 2017) (“Q22: Do these memoranda
                 affect recipients of Deferred Action for Childhood
                 Arrivals (DACA)? A22: No.”).
                    51. On March 29, 2017, Secretary Kelly reaffirmed
                 that “DACA status” is a “commitment . . . by the
                 government towards the DACA person, or the so-called
                 Dreamer.” See Ex. 33 (Ted Hesson & Seung Min
                 Kim, Wary Democrats Look to Kelly for Answers on
                 Immigration, Politico, Mar. 29, 2017).
                    52. On April 21, 2017, President Trump represent-
                 ed that his Administration’s policy was not to deport
                 DACA grantees, and suggested that they “should rest
                 easy.” See Ex. 34 (The Associated Press, Interview
                 Transcript, Apr. 21, 2017).
                    53. On June 15, 2017, Secretary Kelly issued a
                 memo terminating the Deferred Action for Parents of
                 Americans and Lawful Permanent Residents (“DAPA”)
                 program created in 2014, but keeping DACA in place.
                 See Ex. 23 (Memorandum from Secretary John Kelly to
                 Keven McAleenan, Acting CBP Commissioner, Rescis-
                 sion of November 20, 2014 Memorandum Providing




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                 for Deferred Action for Parents of Americans and
                 Lawful Permanent Residents, June 15, 2017).
                    54. The government’s commitment to the DACA
                 program was further communicated to young people
                 through DHS’s publication entitled “National Standard
                 Operating Procedures (SOP): Deferred Action for
                 Childhood Arrivals (DACA)” (the “DACA SOP”). See
                 Ex. 18. This document includes more than 150 pages
                 of specific instructions for granting or denying de-
                 ferred action.
                    55. Moreover, the approval notice granting de-
                 ferred action under DACA listed only “fraud or mis-
                 representation” in the application process or “[s]ubse-
                 quent criminal activity” as grounds for revoking
                 DACA. See Ex. 24 (USCIS, DACA Approval Notice).
                    56. In reliance on these representations, hundreds
                 of thousands of young people applied to participate in
                 the DACA program, or sought renewal of their benefits
                 since 2017. See Ex. 1.
                 President Trump’s Statements about Mexicans.
                    57. Despite these various and repeated promises
                 to DACA grantees made by the federal government
                 and by President Trump, including a recognition of
                 DACA’s continued legal viability, value, and successes,
                 President Trump has a long history of disparaging
                 Mexicans, who comprise the vast majority of DACA
                 grantees.
                    58. In announcing his presidential campaign,
                 then-candidate Trump compared Mexican immigrants
                 to rapists, stating: “When Mexico sends its people,
                 they’re not sending their best. They’re not sending
                 you. They’re sending people that have lots of prob-
                 lems, and they’re bringing those problems with us.




                                                                            AR3015
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                 They’re bringing drugs.     They’re bringing crime.
                 They’re rapists. And some, I assume, are good peo-
                 ple.” See Ex. 35 (Washington Post, Transcript of Don-
                 ald Trump’s Presidential Bid Announcement, June 16,
                 2015).
                    59. During the first Republican presidential de-
                 bate, then-candidate Trump again stated his distaste
                 for immigrants from Mexico: “The Mexican govern-
                 ment is much smarter, much sharper, much more cun-
                 ning. And they send the bad ones over because they
                 don’t want to pay for them. They don’t want to take
                 care of them.” See Ex. 36 (Andrew O’Reilly, At GOP
                 debate, Trump says ‘stupid’ U.S. leaders are being
                 duped by Mexico, Fox News, Aug. 6, 2015).
                    60. Soon after, on August 25, 2015, then-candidate
                 Trump refused to answer questions about immigration
                 posed by Jorge Ramos, a Mexican-American and the
                 top news anchor at Univision, a Spanish-language news
                 network. After sending his bodyguard to physically
                 remove Mr. Ramos, then-candidate Trump derisively
                 told Mr. Ramos to “Go back to Univision.” See Ex. 37
                 (Phillip Rucker, First, Trump booted Univision anchor
                 Jorge Ramos out of his news conference. Then things
                 got interesting, The Washington Post, Aug. 25, 2015).
                     61. In May 2016, then-candidate Trump referred
                 to anti-Trump protestors who carried the Mexican flag
                 as “criminals” and “thugs.” See Ex. 38 (Donald Trump,
                 “The protestors in New Mexico were thugs who were
                 flying the Mexican Flag,” Twitter, May 25, 2016); See
                 Ex. 39 (Donald Trump, “Many of the thugs that at-
                 tacked peaceful Trump supporters in San Jose were
                 illegals,” Twitter, June 4, 2016).
                    62. In June 2016, then-candidate Trump impugned
                 the integrity of a federal judge presiding over a lawsuit




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                 against one of his businesses because the judge is His-
                 panic. Trump commented that Judge Gonzalo Curiel’s
                 rulings against him “[H]as to do with perhaps that I’m
                 very, very strong on the border . . . Now, he is
                 Hispanic, I believe. He is a very hostile judge to me.”
                 See Ex. 40 (Jose A. DelReal and Katie Zezima, Trump’s
                 personal, racially tinged attacks on federal judge alarm
                 legal experts, The Washington Post, June 1, 2016).
                     63. In an interview with CBS News on June 5,
                 2016, then-candidate Trump again reiterated his anti-
                 Mexican views, noting that “[Judge Curiel]’s a member
                 of a club or society very strongly, pro-Mexican, which
                 is all fine. But I say he’s got bias.” See Ex. 41 (CBS
                 News, Transcript of Face the Nation, June 5, 2016).
                 Judge Curiel is a member of the San Diego Chapter of
                 the La Raza Lawyers Association.           See Ex. 42
                 (Michelle Ye Hee Lee, Trump supporters’ false claim
                 that Trump U judge is a member of a pro-immigrant
                 group, The Washington Post, June 7, 2016).
                    64. On August 21, 2015, two men urinated on a
                 sleeping Latino man and then beat him with a metal
                 pole. They later told police that “Donald Trump was
                 right; all these illegals need to be deported.” When
                 asked about the incident, then-candidate Trump failed
                 to condemn the men, instead describing them as “pas-
                 sionate.” See Ex. 43 (Adrian Walker, ‘Passionate’
                 Trump fans behind homeless man’s beating?, The
                 Boston Globe, Aug. 21, 2015). Specifically, Trump
                 stated, “[i]t would be a shame . . . I will say that
                 people who are following me are very passionate.
                 They love this country and they want this country to be
                 great again. They are passionate. Id.
                    65. In October 2016, during a presidential debate,
                 then-candidate Trump responded to a question about




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                 immigration by stating: “We have some bad hombres
                 here and we’re going to get them out.” See Ex. 44
                 (Katie Zezima, Trump on immigration: There are
                 ‘bad hombres’ in the United States, The Washington
                 Post, Aug. 30, 2017).
                    66. On January 27, 2017, newly-inaugurated Pres-
                 ident Trump and Mexico’s President Peña Nieto dis-
                 cussed President Trump’s proposal for a border wall
                 over the phone. During that transcribed conversa-
                 tion, President Trump again referred to “hombres”
                 stating: “You have some pretty tough hombres in
                 Mexico that you may need help with, and we are willing
                 to help you with that big-league. But they have to be
                 knocked out and you have not done a good job of
                 knocking them out.” See Ex. 45 (Greg Miller et. al.,
                 Full Transcripts of Trump’s Calls with Mexico and
                 Australia, The Washington Post, Aug. 3, 2017).
                     67. On August 25, 2017, President Trump par-
                 doned former Maricopa County Sheriff Joe Arpaio,
                 who was to be sentenced for criminal contempt for
                 failing to comply with a federal judge’s order to stop
                 racially profiling Latinos. See Ex. 46 (Julie Hirsch-
                 field Davis and Maggie Haberman, Trump Pardons
                 Joe Arpaio, Who Became Face of Crackdown on Illegal
                 Immigration, The N.Y. Times, Aug. 25, 2017).
                    68. Sheriff Arpaio had been detaining people os-
                 tensibly because they had violated the law. But in
                 practice, his office detained huge numbers of individu-
                 als solely because they looked Latino, without any
                 reasonable suspicion of illegal conduct. See generally
                 Melendres v. Arpaio, Findings of Fact & Conclusions
                 of Law, 2:07-cv-02513-GMS, ECF Doc. No. 579 (D. Az.
                 May 24, 2013). After a federal court enjoined that
                 practice in 2011, Arpaio continued his unlawful and dis-




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                 criminatory practices unabated, “announc[ing] to the
                 world and to his subordinates that he was going to con-
                 tinue business as usual no matter who said otherwise.”
                 United States v. Arpaio, Findings of Fact & Conclu-
                 sions of Law, 2:16-cr-01012-SRB, ECF Doc. No. 210 at
                 13 (D. Az. July 31, 2017). On July 31, 2017, a federal
                 court held Arpaio in criminal contempt, holding that he
                 had willfully acted in “flagrant disregard” of the in-
                 junction. Id.
                    69. Before issuing the pardon, President Trump
                 asked, “Was Sheriff Joe convicted for doing his job?”
                 See Ex. 46. (Davis and Haberman, Trump Pardons
                 Joe Arpaio). After issuing the pardon, President
                 Trump sent a tweet calling Mr. Arpaio “an American
                 patriot.” Id.
                    70. As President Trump’s statements about Mexi-
                 co and those with Mexican origins demonstrate, the
                 President is willing to disparage Mexicans in a mis-
                 guided attempt to secure support from his constituency.
                 Trump Administration’s Threatening Statements about
                 Deporting Immigrants.
                    71. On June 13, 2017, Acting ICE Director Thom-
                 as Homan testified in front of the House Appropria-
                 tions Committee’s Subcommittee on Homeland Securi-
                 ty, stating as to “every immigrant in the country with-
                 out papers,” that they “should be uncomfortable. You
                 should look over your shoulder. And you need to be
                 worried.” Hearing on the ICE and CBP F.Y. 2018
                 Budget Before the Subcomm. on Homeland Security of
                 the H. Comm. on Appropriations, 115th Cong. (2017)
                 2017 WLNR 18737622.
                   72. On April 19, 2017, United States Attorney
                 General Jefferson B. Sessions stated in an interview on




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                 Fox News’ “Happening Now,” program—in response
                 to a question regarding the deportation of a DACA
                 recipient—that “[e]verybody in the country illegally is
                 subject to being deported, so people come here and
                 they stay here a few years and somehow they think
                 they are not subject to being deported—well, they are.
                 . . . we can’t promise people who are here unlawfully
                 that they aren’t going to be deported.” Ex. 49 (Adam
                 Shaw, Sessions defends immigration policies after
                 reported ‘DREAMer’ deportation, Fox News, Apr. 19,
                 2017).
                 President Trump Terminates DACA in Response to the
                 Litigation Threats of a State Found To Have Discrimi-
                 nated Against Latinos/Hispanics Nine Times Since 2012.
                     73. On June 29, 2017, the Attorneys General of ten
                 states, led by the State of Texas, sent U.S. Attorney
                 General Sessions a letter threatening to add claims to
                 litigation currently pending in the Southern District of
                 Texas “to challenge both the DACA program and the
                 remaining expanded DACA permits,” if the Executive
                 Branch did not agree to end the DACA program by
                 September 5, 2017. Ex. 177 (Letter from Ken Paxton
                 et.al. to Attorney General Jeff Sessions, June 29, 2017).
                   74. The demand that President Trump eliminate
                 DACA is part of a history of intentional discrimination
                 against Latinos/Hispanics by the State of Texas.
                    75. Over the preceding decade, federal courts have
                 repeatedly found the State of Texas liable for engaging
                 in unlawful discrimination based on race and/or nation-
                 al origin.
                    76. For example, in Texas v. United States,
                 887 F. Supp. 2d 133, 161 (D.D.C. 2012), three federal
                 judges blocked a Congressional and State House re-




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                 districting plan after finding that it “was enacted with
                 discriminatory purpose.”
                    77. The litigation eventually culminated in a ruling
                 by a three-judge panel on August 15, 2017 finding, again,
                 that the 2010 congressional districts had been created
                 with “racially discriminatory intent” against Latinos and
                 African American voters. Perez v. Abbott, SA-11-CV-360,
                 2017 U.S. Dist. LEXIS 129982, at *55 (W.D. Tex. Aug.
                 15, 2017).
                    78. On October 9, 2014, in separate litigation chal-
                 lenging a state voter photo identification (“ID”) law, a
                 Texas federal district court judge found that the provi-
                 sion had been “imposed with an unconstitutional dis-
                 criminatory purpose” and “constitute[d] an unconstitu-
                 tional poll tax.” Veasey v. Perry, 71 F. Supp. 3d 627,
                 633 (S.D. Tex. 2014).
                    79. On remand from the Fifth Circuit, a federal
                 district court concluded that the 2011 Legislature in-
                 tentionally discriminated against minority voters by
                 requiring presentation of a photo ID when casting their
                 ballots. Veasey v. Abbott, 2017 U.S. Dist. LEXIS
                 54253, at *14-18 (S.D. Tex. Apr. 10, 2017).
                    80. DHS issued the DHS Memorandum terminat-
                 ing DACA on September 5, 2017, in direct response to
                 the threats of the State of Texas and the other ten
                 states, fulfilling the demand of a State marked with a
                 history of racial and national origin discrimination.
                 President Trump Backtracks on His Promise and Ter-
                 minates DACA.
                    81. Attorney General Sessions announced the ter-
                 mination of DACA via a live press conference. He ex-
                 plained, without evidence, “The effect of this unilateral
                 executive amnesty, among other things, contributed to




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                 a surge of unaccompanied minors on the southern bor-
                 der that yielded terrible humanitarian consequences.
                 It also denied jobs to hundreds of thousands of Ameri-
                 cans by allowing those same jobs to go to illegal aliens.”
                 See Ex. 75 (DOJ, Attorney General Sessions Delivers
                 Remarks on DACA, Prepared Remarks, Sept. 5, 2017).
                     82. Under the DHS Memorandum, which accom-
                 panied this announcement, the government’s new poli-
                 cy provides no discretion to approve new applications
                 on a case-by-case basis. Instead, the DHS Memoran-
                 dum is a final decision that an entire class of people is
                 no longer eligible for deferred action, employment au-
                 thorization, and other benefits. Per the DHS Memo-
                 randum, DHS “[w]ill reject all DACA initial requests
                 and associated applications for Employment Authori-
                 zation Documents filed after the date of this memo-
                 randum.” DHS will also reject all renewal applica-
                 tions it receives after October 5, 2017, and all renewal
                 applications for authorizations that expire after March
                 5, 2018. See Ex. 74 (DHS Memorandum).
                    83. In issuing the DHS Memorandum, the federal
                 government misleadingly claimed that DACA was un-
                 constitutional, see Ex. 74, despite the fact that no court
                 has made that determination, and despite previous de-
                 terminations by DOJ and DHS, including under the
                 Trump administration, that DACA is lawful and should
                 be left in place. In fact, as recently as June 15, 2017,
                 then-Secretary of Homeland Security John Kelly chose
                 to allow DACA to continue (while terminating the
                 DAPA program) “after consulting with the Attorney
                 General.” See Ex. 23
                    84. Even after the announcement, the govern-
                 ment’s position on the reasoning for the termination
                 has been unclear and inconsistent. On the day of the




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                 termination, President Trump re-tweeted a statement
                 that “We are a nation of laws. No longer will we in-
                 centivize illegal immigration.” See Ex. 47 (Josh Saul,
                 Jeff Sessions Always Wanted to Deport Undocumented
                 Immigrant Youth. Now He Can, Newsweek, Sept. 5,
                 2017). The President appears to have deleted this
                 tweet. Later on September 5, the President tweeted,
                 “Congress now has 6 months to legalize DACA (some-
                 thing the Obama Administration was unable to do). If
                 they can’t, I will revisit this issue!” See Ex. 48 (Don-
                 ald J. Trump, Twitter, Sept. 5, 2017). On September
                 14, 2017, he tweeted, “Does anybody really want to throw
                 out good, educated and accomplished young people who
                 have jobs, some serving in the military? Really!
                 . . . . .” See Ex. 50 (Donald J. Trump, Twitter, Sept.
                 14, 2017).
                     85. As a result of the DHS Memorandum, DACA
                 grantees whose benefits expire after March 5, 2018 will
                 immediately lose their employment authorization, as
                 well as other vital benefits, such as social security cards,
                 driver’s licenses, financial aid, disability and health bene-
                 fits, among others.
                    86. They also may lose their homes and communi-
                 ties if the program is allowed to expire. An internal
                 White House memo reported on by CNN stated that
                 DHS now is urging DACA grantees “to prepare for and
                 arrange their departure from the United States” when
                 their DACA terms end. See Ex. 88 (Tal Kopan & Jim
                 Acosta, Admin Memo: DACA recipients should pre-
                 pare for departure from the United States, CNN, Sept.
                 5, 2017). This threat of deportation is consistent with
                 past references to deportation of DACA grantees, such
                 as a statement by Attorney General Sessions in re-
                 sponse to a question regarding the deportation of a




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                 DACA grantee that “[e]verybody in the country ille-
                 gally is subject to being deported, so people come here
                 and they stay here a few years and somehow they think
                 they are not subject to being deported—well, they are.
                 . . . we can’t promise people who are here unlawfully
                 that they aren’t going to be deported.” See Ex. 49
                 (Adam Shaw, Sessions defends immigration policies
                 after reported ‘DREAMer’ deportation, Fox News,
                 Apr. 19, 2017).
                    87. President Trump also has taken affirmative
                 steps to reduce the privacy protections applicable to
                 DACA grantee information. In January 2017, Presi-
                 dent Trump issued an Executive Order directing all
                 agencies, including DHS, to “ensure that their privacy
                 policies exclude persons who are not United States citi-
                 zens or lawful permanent residents from the protec-
                 tions of the Privacy Act regarding personally identifia-
                 ble information.” See Ex. 76 (Executive Order 13768,
                 “Enhancing Public Safety in the Interior of the United
                 States,” Jan. 25, 2017). In response to the Executive
                 Order, DHS adopted a privacy policy that “permits the
                 sharing of information about immigrants and non-
                 immigrants with federal, state, and local law enforce-
                 ment.” See Ex. 51 (DHS, Privacy Policy 2017-01 Ques-
                 tions & Answers, Apr. 27, 2017).
                    88. The DHS Memorandum provides no assurance
                 to DACA grantees, or direction to USCIS and ICE,
                 that information contained in DACA applications can-
                 not be used for the purpose of future immigration en-
                 forcement proceedings.
                    89. To the contrary, on the same day that the DHS
                 Memorandum was issued, DHS changed its public guid-
                 ance about the use of DACA application data for immi-
                 gration enforcement. DHS removed the webpage con-




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                 taining the assurance that, absent exceptional circum-
                 stances, DACA application data “is protected from dis-
                 closure to ICE and CBP for the purpose of immigra-
                 tion enforcement proceedings.” Cf. Ex. 25 (containing
                 link to USCIS webpage that now contains an error
                 alert and a message stating, “The page you are looking
                 for may not exist or is temporarily unavailable.”). The
                 same day, DHS posted a new policy governing the use
                 of information provided by DACA applicants. DHS
                 now states that USCIS “[g]enerally” will not “proac-
                 tively provid[e] information obtained through DACA to
                 ICE and CBP. See Ex. 89 (DHS, Frequently Asked
                 Questions: Rescission of Deferred Action for Child-
                 hood Arrivals, Sept. 5, 2017). The new policy imposes
                 no restrictions on USCIS providing DACA data at the
                 request of ICE, CBP, or any other law enforcement
                 entity. Id. DHS also reserves the right to change its
                 new policy “at any time without notice” and states that
                 the policy “may not be relied upon” by any party. Id.
                    90. DACA grantees thus immediately face the risk
                 that information they provided to the federal govern-
                 ment could be used against them at any time, without
                 notice, for purposes of immigration enforcement, in-
                 cluding detention or removal.
                 The Defendants’ Failure to Notify Certain DACA
                 Grantees of the October 5, 2017 Renewal Deadline.
                    91. Before the termination of DACA, Defendants
                 had a written policy and practice allowing DACA
                 grantees to submit their renewal application up to one
                 year after the date of expiration of their participation
                 in DACA. If DACA grantees failed to renew within
                 one year of the expiration date, they had the option to
                 re-apply as initial applicants. See Ex. 14 (USCIS
                 FAQs-Q50).




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                    92. In addition, USCIS and DHS had a long-
                 standing practice of using the address information they
                 maintain for DACA grantees to send individualized no-
                 tices to those grantees regarding their renewal expira-
                 tion dates. See Ex. 178 (DACA Renewal Notice).
                    93. On information and belief, no standard renewal
                 notices have been provided to DACA grantees whose
                 participation in DACA expires between February 6,
                 2018 and March 5, 2018. Prior to termination of DACA,
                 a DACA grantee whose renewal status expires in Feb-
                 ruary 2018 would have received an individualized re-
                 newal notice informing the grantee that he or she had
                 to file a renewal 120-150 days prior to expiration, i.e.,
                 by November 2017, in order to avoid a lapse in deferred
                 action and employment authorization. See, e.g., id.
                 However, since the termination, Defendants have not
                 yet sent this group of DACA grantees any notices re-
                 garding when and how they can renew.
                    94. On information and belief, the government
                 sent standard renewal notices up until August 1, 2017
                 for DACA grantees whose participation in DACA ex-
                 pires by January 2018, informing the grantees they had
                 the standard 120-150 days prior to the expiration date
                 to renew if they wished to “avoid a lapse in [their]
                 period of deferred action and employment authoriza-
                 tion”. See, e.g., id. However, in light of DHS’s deci-
                 sion to impose an absolute cut-off date of October 5,
                 2017 for all renewal applications, the information con-
                 veyed in these notices is now incorrect. The notices
                 misleadingly suggest to DACA grantees that they have
                 several additional months beyond October 5 to renew
                 their DACA status without a gap in employment au-
                 thorization. Moreover, the faulty renewal notices
                 were not followed with individualized corrected notices




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                 informing this group of grantees that there is a new,
                 absolute October 5 deadline for renewal, and that DACA
                 grantees will no longer have up to one year after the
                 date of expiration of their DACA to submit a renewal
                 application.
                     95. As a result of Defendants’ failure to provide
                 individualized notice regarding the new October 5, 2017
                 renewal deadline to DACA grantees whose participa-
                 tion expires before March 5, 2018, individuals who re-
                 ceived no notice or incorrect notice of the new deadline
                 may be forever ineligible to renew their participation in
                 DACA. These DACA grantees will no longer be pro-
                 tected from deportation and will lose work authoriza-
                 tion that they may have otherwise had. They may also
                 lose health insurance, social security cards, driver’s
                 licenses and other benefits.
                    96. On October 3, 2017, DHS issued a press re-
                 lease stating that “[o]f the approximately 154,200 indi-
                 viduals whose DACA is set to expire between Sept. 5,
                 2017, and March 5, 2018, just over 106,000 either have
                 renewal requests currently pending with USCIS, or
                 have already had USCIS adjudicate their renewal re-
                 quest.” See Ex. 82 (DHS Press Release Department
                 of Homeland Security Acting Secretary Elaine Duke
                 Reminds Eligible DACA Recipients to File Renewal
                 Requests, October 3, 2017). Therefore, up to one third
                 of DACA grantees who are eligible for renewal had not
                 applied as of two days before the October 5, 2017 dead-
                 line.
                 The Government’s Failure to Notify DACA Grantees of
                 their Inability to Renew Their DACA Status If It Expires
                 After March 5, 2018.
                    97. On information and belief, Defendants’ termi-
                 nation of DACA was solely communicated to DACA




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                 grantees through the publication of DHS’s memoran-
                 dum on September 5, 2017 on the DHS website and by
                 a concurrent television announcement from Attorney
                 General Sessions. See Ex. 74 (DHS Memo); See Ex.
                 75 (Attorney General Sessions Delivers Remarks on
                 DACA).
                    98. On information and belief, the government did
                 not and does not plan to issue individualized notices to
                 any DACA grantees informing them of the termination
                 of DACA and their inability to renew if their DACA
                 status expires after March 5, 2018.
                    99. Many DACA grantees relied upon their ability
                 to apply to renew DACA in making important decisions
                 related to their employment, education and families,
                 among other things.
                            HARM TO PLAINTIFF STATES
                    100. The States will suffer harm as a result of the
                 termination of the DACA program, including immedi-
                 ate and irreparable injuries to their sovereign, quasi-
                 sovereign, and proprietary interests.
                          PLAINTIFF STATE OF NEW YORK
                    101. The State of New York is home to an estimated
                 76,000 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    102. As of June 30, 2017, USCIS had approved
                 42,503 initial DACA applications and 62,850 renewals
                 for residents of New York. See Ex. 1 (Updated
                 USCIS Data); Ex. 5 ¶ 63 (Decl. Wong).
                    103. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 New York, to work legally, open bank accounts, access
                 lines of credit, purchase homes and cars, and obtain




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                 employer-based health insurance, among other bene-
                 fits.
                    104. An estimated 38,848 New York DACA grant-
                 ees are employed. See Ex. 5 ¶ 64 (Decl. Wong). An
                 estimated 2,295 are business owners. Id. An esti-
                 mated 19,084 are in school, and 13,645 are currently
                 pursuing a bachelor’s degree or higher. Id. ¶ 65.
                     105. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 New York economy generally. Stripping DACA grant-
                 ees of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in less tax
                 revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $140
                 million annually in state and local taxes in New York—
                 a contribution that may drop by $55 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, impact the New York
                 economy with $10.7 billion in budgetary costs and $38.6
                 billion economic costs. See Ex. 4, Table 1 (Decl.
                 Brannon).
                            PLAINTIFF COMMONWEALTH
                                OF MASSACHUSETTS
                    106. The Commonwealth of Massachusetts is home
                 to an estimated 19,000 or more DACA-eligible resi-
                 dents. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    107. As of June 30, 2017, USCIS had approved
                 8,053 initial DACA applications and 12,857 renewals for
                 residents of Massachusetts.      See Ex. 1 (Updated
                 USCIS Data); Ex. 5 ¶ 55 (Decl. Wong).
                    108. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of




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                 Massachusetts, to work legally, acquire driver’s licens-
                 es, open bank accounts, access lines of credit, purchase
                 homes and cars, receive in-state tuition at public uni-
                 versities, and obtain employer-based health insurance,
                 among other benefits.
                    109. An estimated 7,360 Massachusetts DACA
                 grantees are employed. See Ex. 5 ¶ 56 (Decl. Wong).
                 An estimated 435 are business owners. Id. An esti-
                 mated 3,616 are in school, and 2,585 currently are pur-
                 suing a bachelor’s degree or higher. Id. ¶ 57.
                    110. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Massachusetts economy generally. Stripping DACA
                 grantees of the ability to work legally will cause many
                 to lose their jobs, resulting, among other things, in less
                 tax revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately
                 $24.2 million annually in state and local taxes in
                 Massachusetts—a contribution that may drop by $9.2
                 million without DACA. See Ex. 3 ¶ 7 (Decl. Essig,
                 Wiehe and Hill). Another estimate suggests that
                 terminating DACA would, over a ten-year period, im-
                 pact the Massachusetts economy with $258 million in
                 budgetary costs and $924.5 million in economic costs.
                 See Ex. 4, Table 1 (Decl. Brannon).
                         PLAINTIFF STATE OF WASHINGTON
                   111. The State of Washington is home to an esti-
                 mated 27,000 or more DACA-eligible residents. See
                 Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    112. As of June 30, 2017, USCIS had approved
                 17,937 initial DACA applications and 17,906 renewals
                 for residents of Washington. See Ex. 1 (Updated
                 USCIS Data); Ex. 5 ¶ 87 (Decl. Wong).




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                    113. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Washington, to work legally, acquire driver’s licenses,
                 open bank accounts, access lines of credit, purchase
                 homes and cars, receive in-state tuition at public uni-
                 versities, and obtain employer-based health insurance,
                 among other benefits.
                    114. An estimated 16,394 Washington DACA grant-
                 ees are employed. See Ex. 5 ¶ 88 (Decl. Wong). An
                 estimated 969 are business owners. Id. An estimated
                 8,054 are in school, and 5,758 currently are pursuing a
                 bachelor’s degree or higher. Id. ¶ 89.
                     115. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Washington economy generally.          Stripping DACA
                 grantees of the ability to work legally will cause many
                 to lose their jobs, resulting, among other things, in less
                 tax revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $51
                 million annually in state and local taxes in Washington
                 —a contribution that may drop by $19 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, impact the Washington
                 economy with $1.8 billion in budgetary costs and $6.4
                 billion in economic costs. See Ex. 4, Table 1 (Decl.
                 Brannon).
                          PLAINTIFF STATE OF COLORADO
                    116. The State of Colorado is home to an estimated
                 23,000 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    117. As of June 30, 2017, USCIS had approved
                 17,310 initial DACA applications and 15,322 renewals




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                 for residents of Colorado. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 27 (Decl. Wong).
                     118. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Colorado, to work legally, open bank accounts, access
                 lines of credit, purchase homes and cars, and obtain
                 employer-based health insurance, among other bene-
                 fits.
                    119. An estimated 15,281 Colorado DACA grantees
                 are employed. See Ex. 5 ¶ 28 (Decl. Wong). An esti-
                 mated 935 are business owners. Id. An estimated
                 7,772 are in school, and 5,557 currently are pursuing a
                 bachelor’s degree or higher. Id. ¶ 29.
                    120. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Colorado economy generally. Stripping DACA grant-
                 ees of the ability to work legally will cause many to
                 lose their jobs, resulting, among other things, in less
                 tax revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately
                 $33.9 million annually in state and local taxes in
                 Colorado—a contribution that may drop by $16.4 mil-
                 lion without DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe
                 and Hill). Another estimate suggests that terminat-
                 ing DACA would, over a ten-year period, impact the
                 Colorado economy with $768 million in budgetary costs
                 and $2.7 billion in economic costs. See Ex. 4, Table 1
                 (Decl. Brannon).
                        PLAINTIFF STATE OF CONNECTICUT
                   121. The State of Connecticut is home to an esti-
                 mated 11,000 or more DACA-eligible residents. See
                 Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).




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                    122. As of June 30, 2017, USCIS had approved
                 4,989 initial DACA applications and 6,764 renewals for
                 residents of Connecticut. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 31 (Decl. Wong).
                    123. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Connecticut, to work legally, acquire driver’s licenses,
                 open bank accounts, access lines of credit, purchase
                 homes and cars, receive in-state tuition at public uni-
                 versities, and obtain employer-based health insurance,
                 among other benefits.
                    124. An estimated 4,560 Connecticut DACA grant-
                 ees are employed. See Ex. 5 ¶ 32 (Decl. Wong). An
                 estimated 269 are business owners. Id. An esti-
                 mated 2,240 are in school, and 1,602 currently are pur-
                 suing a bachelor’s degree or higher. Id. ¶ 33.
                     125. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Connecticut economy generally.         Stripping DACA
                 grantees of the ability to work legally will cause many
                 to lose their jobs, resulting, among other things, in less
                 tax revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $17
                 million annually in state and local taxes in Connecticut
                 —a contribution that may drop by $5 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, impact the Connecticut
                 economy with $642 million in budgetary costs and $2.3
                 billion in economic costs. See Ex. 4, Table 1 (Decl.
                 Brannon).




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                          PLAINTIFF STATE OF DELAWARE
                    126. The State of Delaware is home to an estimated
                 3,000 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    127. As of June 30, 2017, USCIS had approved
                 1,451 initial DACA applications and 1,583 renewals for
                 residents of Delaware. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 35 (Decl. Wong).
                    128. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Delaware, to work legally, acquire driver’s licenses,
                 open bank accounts, access lines of credit, purchase
                 homes and cars, receive in-state tuition at public uni-
                 versities, and obtain employer-based health insurance,
                 among other benefits.
                    129. An estimated 1,326 Delaware DACA grantees
                 are employed. See Ex. 5 ¶ 36 (Decl. Wong). An esti-
                 mated 651 are in school, and 466 currently are pursuing
                 a bachelor’s degree or higher. Id. ¶ 37.
                    130. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Delaware economy generally. Stripping DACA grant-
                 ees of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in less tax
                 revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $2.4
                 million annually in state and local taxes in Delaware—a
                 contribution that may drop by $1 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, impact the Delaware
                 economy with $258 million in budgetary costs and $924




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                 million in economic costs.    See Ex. 4, Table 1 (Decl.
                 Brannon).
                      PLAINTIFF THE DISTRICT OF COLUMBIA
                    131. The District of Columbia (“District”) is home
                 to an estimated 2,000 or more DACA-eligible residents.
                 See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    132. As of June 30, 2017, USCIS had approved 773
                 initial DACA applications and 1,299 renewals for resi-
                 dents of the District. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 39 (Decl. Wong).
                    133. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of the
                 District, to work legally, open bank accounts, access
                 lines of credit, purchase homes and cars, receive in-state
                 tuition at public universities, and obtain employer-based
                 health insurance, among other benefits.
                    134. An estimated 707 District DACA grantees are
                 employed. See Ex. 5 ¶ 40 (Decl. Wong). An esti-
                 mated 347 are in school, and 248 currently are pursuing
                 a bachelor’s degree or higher. Id. ¶ 41.
                    135. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 District’s economy generally. Stripping DACA grant-
                 ees of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in less tax
                 revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $2.7
                 million annually in state and local taxes in the District
                 —a contribution that may drop by $946,000 without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, impact the District’s
                 economy $900 million in budgetary costs and $3.2 bil-




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                 lion in economic costs.     See Ex. 4, Table 1 (Decl.
                 Brannon).
                            PLAINTIFF STATE OF HAWAII
                    136. The State of Hawaii is home to an estimated
                 2,000 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    137. As of June 30, 2017, USCIS had approved 582
                 initial DACA applications and 2,179 renewals for resi-
                 dents of Hawaii. See Ex. 1 (Updated USCIS Data);
                 Ex. 5 ¶ 43 (Decl. Wong).
                    138. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Hawaii, to work legally, open bank accounts, access lines
                 of credit, purchase homes and cars, receive in-state tui-
                 tion at public universities, and obtain employer-based
                 health insurance, among other benefits.
                    139. An estimated 532 Hawaii DACA grantees are
                 employed. See Ex. 5 ¶ 44 (Decl. Wong). An estimated
                 261 are in school, and 187 currently are pursuing a
                 bachelor’s degree or higher. Id. ¶ 45.
                    140. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Hawaii economy generally. Stripping DACA grantees
                 of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in a loss of
                 tax revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $3.2
                 million annually in state and local taxes in Hawaii—a
                 contribution that may drop by $870,000 without DACA.
                 See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill). Another
                 estimate suggests that terminating DACA would, over
                 a ten-year period, impact the Hawaii economy $126




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                 million in budgetary costs and $451.5 million economic
                 costs. See Ex. 4, Table 1 (Decl. Brannon).
                            PLAINTIFF STATE OF ILLINOIS
                    141. The State of Illinois is home to an estimated
                 68,000 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    142. As of June 30, 2017, USCIS had approved
                 42,537 initial DACA applications and 39,702 renewals
                 for residents of Illinois. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 47 (Decl. Wong).
                    143. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of Illi-
                 nois, to work legally, open bank accounts, access lines of
                 credit, purchase homes and cars, receive in-state tuition
                 at public universities, and obtain employer-based health
                 insurance, among other benefits.
                    144. An estimated 38,879 Illinois DACA grantees
                 are employed. See Ex. 5 ¶ 48 (Decl. Wong). An esti-
                 mated 2,297 are business owners. Id. An estimated
                 19,099 are in school, and 13,656 currently are pursuing
                 a bachelor’s degree or higher. Id. ¶ 49.
                     145. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Illinois economy generally. Stripping DACA grantees
                 of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in less tax
                 revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $131
                 million annually in state and local taxes in Illinois—a
                 contribution that may drop by $54.7 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, cost the Illinois economy




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                 $1.9 billion in lost tax revenue and $6.9 billion overall.
                 See Ex. 4, Table 1 (Decl. Brannon).
                              PLAINTIFF STATE OF IOWA
                    146. The State of Iowa is home to an estimated
                 4,000 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    147. As of June 30, 2017, USCIS had approved
                 2,812 initial DACA applications and 3,120 renewals for
                 residents of Iowa. See Ex. 1 (Updated USCIS Data);
                 Ex. 5 ¶ 51 (Decl. Wong).
                    148. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Iowa, to work legally, acquire driver’s licenses, open
                 bank accounts, access lines of credit, purchase homes
                 and cars, receive in-state tuition at public universities,
                 and obtain employer-based health insurance, among
                 other benefits.
                    149. An estimated 2,570 Iowa DACA grantees are
                 employed. See Ex. 5 ¶ 52 (Decl. Wong). An estimated
                 152 are business owners. Id. An estimated 1,263 are
                 in school, and 903 currently are pursuing a bachelor’s
                 degree or higher. Id. ¶ 53.
                    150. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Iowa economy generally. Stripping DACA grantees
                 of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in less tax
                 revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $6.8
                 million annually in state and local taxes in Iowa—a
                 contribution that may drop by $3.2 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA




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                 would, over a ten-year period, impact the Iowa econo-
                 my with $258 million in budgetary costs and $924.5
                 million in economic costs. See Ex. 4, Table 1 (Decl.
                 Brannon). Yet another estimate predicts that the
                 state’s GDP would contract by $55.83 million if DACA
                 is terminated. See Ex. 85 ¶ 9 (Decl. Swenson, Iowa St.
                 University).
                         PLAINTIFF STATE OF NEW MEXICO
                   151. The State of New Mexico is home to an esti-
                 mated 10,000 or more DACA-eligible residents. See
                 Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    152. As of June 30, 2017, USCIS had approved
                 6,838 initial DACA applications and 5,622 renewals for
                 residents of New Mexico. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 59 (Decl. Wong).
                    153. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 New Mexico, to work legally, acquire driver’s licenses,
                 open bank accounts, access lines of credit, purchase
                 homes and cars, receive in-state tuition at public uni-
                 versities, and obtain employer-based health insurance,
                 among other benefits. An estimated 6,250 New Mex-
                 ico DACA grantees are employed. See Ex. 5 ¶ 60 (Decl.
                 Wong). An estimated 369 are business owners. Id.
                 An estimated 3,070 are in school, and 2,195 currently are
                 pursuing a bachelor’s degree or higher. Id. ¶ 61. In
                 addition to the many harms identified below, see
                 ¶¶ 188-233, terminating DACA will hurt the New Mex-
                 ico economy generally. Stripping DACA grantees of
                 the ability to work legally will cause many to lose their
                 jobs, resulting, among other things, in less tax revenue
                 for the State. According to one estimate, DACA-
                 eligible residents contribute approximately $18.8 mil-
                 lion annually in state and local taxes in New Mexico—a




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                 contribution that may drop by $7.5 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, impact the New Mexico
                 economy with $258 million in budget costs and $924.5
                 million in economic costs. See Ex. 4, Table 1 (Decl.
                 Brannon).
                      PLAINTIFF STATE OF NORTH CAROLINA
                    154. The State of North Carolina is home to an es-
                 timated 41,000 or more DACA-eligible residents. See
                 Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    155. As of June 30, 2017, USCIS had approved
                 27,455 initial DACA applications and 23,619 renewals
                 for residents of North Carolina. See Ex. 1 (Updated
                 USCIS Data); Ex. 5 ¶ 67 (Decl. Wong).
                    156. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 North Carolina, to work legally, open bank accounts,
                 access lines of credit, purchase homes and cars, and
                 obtain employer-based health insurance, among other
                 benefits.
                    157. An estimated 24,094 North Carolina DACA
                 grantees are employed. See Ex. 5 ¶ 68 (Decl. Wong).
                 An estimated 1,483 are business owners. Id. An es-
                 timated 12,327 are in school, and 8,814 currently are
                 pursuing a bachelor’s degree or higher. Id. ¶ 69.
                    158. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 North Carolina economy generally. Stripping DACA
                 grantees of the ability to work legally will cause many
                 to lose their jobs, resulting, among other things, in less
                 tax revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately




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                 $63.6 million annually in state and local taxes in North
                 Carolina—a contribution that may drop by $29 million
                 without DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and
                 Hill). Another estimate suggests that terminating
                 DACA would, over a ten-year period, impact the North
                 Carolina economy with $2.1 billion in budgetary costs
                 and $7.8 billion in economic costs. See Ex. 4, Table 1
                 (Decl. Brannon).
                           PLAINTIFF STATE OF OREGON
                    159. The State of Oregon is home to an estimated
                 15,000 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    160. As of June 30, 2017, USCIS had approved
                 11,321 initial DACA applications and 10,275 renewals
                 for residents of Oregon. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 71 (Decl. Wong).
                    161. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Oregon, to work legally, acquire driver’s licenses, open
                 bank accounts, access lines of credit, purchase homes
                 and cars, have more ready access to in-state tuition,
                 and obtain employer-based health insurance, among
                 other benefits.
                    162. An estimated 10,347 Oregon DACA grantees
                 are employed. See Ex. 5 ¶ 72 (Decl. Wong). An esti-
                 mated 611 are business owners. Id. An estimated
                 5,083 are in school, and 3,634 currently are pursuing a
                 bachelor’s degree or higher. Id. ¶ 73.
                    163. The State of Oregon’s revenue structure relies
                 heavily on income taxes, including capital gains for in-
                 vestors, wages paid to workers, and corporate taxes
                 that are directly linked to profitability. See Ex. 126
                 ¶ 9 (Decl. Read).




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                    164. Eliminating DACA grantee Oregonians’ ability
                 to work legally will cause many to lose their jobs, re-
                 sulting, among other things, in less tax revenue for the
                 state and impairment of the state’s economic health.
                 See, e.g., Ex. 100 ¶ 6 (Decl. Nicolas). According to one
                 estimate, DACA-eligible residents contribute approxi-
                 mately $20 million annually in state and local taxes in
                 Oregon—a contribution that may drop by $11 million
                 without DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and
                 Hill). Another estimate suggests that terminating
                 DACA would, over a ten-year period, impact the Ore-
                 gon economy with $384 million in budgetary costs and
                 $1.3 billion in economic costs. See Ex. 4, Table 1
                 (Decl. Brannon).
                    165. In addition, the inability to work legally and
                 enjoy the other benefits of legal status such as better
                 access to credit and the banking system will make it
                 more difficult, if not impossible, for DACA grantee
                 Oregonians to start businesses that contribute to the
                 State’s economy and overall financial health. See Ex.
                 126 ¶ 12 (Decl. Read).
                    166. In addition to the direct benefits to state pro-
                 grams of increased state revenues, the State is also an
                 investor and a borrower. See Ex. 126 ¶¶ 5-9 (Decl.
                 Read). The State’s credit rating, cost of borrowing,
                 and the performance of the State’s investments are all
                 tied to the overall economic health of the State. See
                 Ex. 126 ¶ 9 (Decl. Read). A reduced state tax base,
                 and potential downward pressure on corporate per-
                 formance, has the potential to adversely affect these
                 interests as well. Many of the companies in which
                 Oregon and Oregonians have holdings have expressed
                 concern that the rescission of the DACA program is a
                 threat and will be disruptive to their employees, their




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                 productivity, and their competitiveness. Any such
                 disruption or downward pressure on corporate profits
                 also potentially affects Oregon as a taxing entity and a
                 shareholder.
                 PLAINTIFF COMMONWEALTH OF PENNSYLVANIA
                    167. The Commonwealth of Pennsylvania is home to
                 an estimated 15,000 or more DACA-eligible residents.
                 See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    168. As of June 30, 2017, USCIS had approved
                 5,982 initial DACA applications and 9,875 renewals for
                 residents of Pennsylvania.      See Ex. 1 (Updated
                 USCIS Data); Ex. 5 ¶ 75 (Decl. Wong).
                    169. Obtaining DACA status has allowed these indi-
                 viduals, many of whom are long-term residents of
                 Pennsylvania, to work legally, open bank accounts, ac-
                 cess lines of credit, purchase homes and cars, and ob-
                 tain employer-based health insurance, among other
                 benefits.
                    170. An estimated 5,468 Pennsylvania DACA grant-
                 ees are employed. See Ex. 5 ¶ 76 (Decl. Wong). An
                 estimated 323 are business owners. Id. An esti-
                 mated 2,686 are in school, and 1,920 currently are pur-
                 suing a bachelor’s degree or higher. Id. ¶ 77.
                    171. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Pennsylvania economy generally. Stripping DACA
                 grantees of the ability to work legally will cause many
                 to lose their jobs, resulting, among other things, in less
                 tax revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately $20.7
                 million annually in state and local taxes in Pennsylvania
                 —a contribution that may drop by $7.5 million without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).




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                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, impact the Pennsylvania
                 economy with $258 million in budgetary costs and
                 $924.5 million in economic costs. See Ex. 4, Table 1
                 (Decl. Brannon).
                        PLAINTIFF STATE OF RHODE ISLAND
                   172. The State of Rhode Island is home to an esti-
                 mated 3,000 or more DACA-eligible residents. See
                 Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    173. As of June 30, 2017, USCIS had approved
                 1,248 initial DACA applications and 2,019 renewals for
                 residents of Rhode Island.      See Ex. 1 (Updated
                 USCIS Data); Ex. 5 ¶ 79 (Decl. Wong).
                    174. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Rhode Island, to work legally, open bank accounts, ac-
                 cess lines of credit, purchase homes and cars, and ob-
                 tain employer-based health insurance, among other
                 benefits.
                    175. An estimated 1,141 Rhode Island DACA grant-
                 ees are employed. See Ex. 5 ¶ 80 (Decl. Wong). An
                 estimated 560 are in school, and 401 currently are pur-
                 suing a bachelor’s degree or higher. Id. ¶ 81.
                    176. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Rhode Island economy generally. Stripping DACA
                 grantees of the ability to work legally will cause many
                 to lose their jobs, resulting, among other things, in less
                 tax revenue for the State. The Rhode Island Office of
                 Management and Budget (“RIOMB”) estimates that
                 the termination of DACA could lead to over $1 million
                 in lost state and local income, real estate and vehicle
                 taxes. See Ex. 128 ¶ 3 (Decl. Womer, RIOMB). Ac-




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                 cording to one estimate, DACA-eligible residents con-
                 tribute approximately $3.8 million annually in state and
                 local taxes in Rhode Island—a contribution that may
                 drop by $1.2 million without DACA. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill). According to the In-
                 stitute on Taxation and Economic Policy (“ITEP”), the
                 State of Rhode Island alone will lose $2.6 million in
                 state and local taxes if DACA protections are lost.
                 See Ex. 54. (Misha Hill and Meg Wiehe, State and
                 Local Contributions of Young Undocumented Immi-
                 grants, Institute on Taxation and Economic Policy, April
                 25, 2017). According to the Center for American Pro-
                 gress, Rhode Island will lose over $61 million in annual
                 GDP loss from removing DACA workers. See id.
                           PLAINTIFF STATE OF VERMONT
                    177. The State of Vermont is home to an estimated
                 100 or more DACA-eligible residents. See Ex. 3 ¶ 7
                 (Decl. Essig, Wiehe and Hill).
                    178. As of June 30, 2017, USCIS had approved 44
                 initial DACA applications and 199 renewals for resi-
                 dents of Vermont. See Ex. 1 (Updated USCIS Data).
                     179. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Vermont, to work legally, open bank accounts, access
                 lines of credit, purchase homes and cars, and obtain
                 employer-based health insurance, among other bene-
                 fits.
                     180. An estimated 37 DACA grantees are employed
                 in Vermont. See Ex. 53 (Nicole Prchal Svajlenka,
                 et. al., A New Threat to DACA Could Cost States Bil-
                 lions of Dollars, Center for American Progress, July,
                 21, 2017).




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                    181. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Vermont economy generally. Stripping DACA grant-
                 ees of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in less tax
                 revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately
                 $140,000 annually in state and local taxes in Vermont—
                 a contribution that may drop by $48,000 without
                 DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                 Another estimate suggests that terminating DACA
                 would, over a ten-year period, cost the Vermont econ-
                 omy $2.4 million in Gross Domestic Product. See Ex.
                 53 (Prchal Svajlenka, et. al., A New Threat to DACA).
                     PLAINTIFF COMMONWEALTH OF VIRGINIA
                    182. The Commonwealth of Virginia is home to an
                 estimated 30,000 or more DACA-eligible residents.
                 See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and Hill).
                    183. As of June 30, 2017, USCIS had approved
                 12,248 initial DACA applications and 15,296 renewals
                 for residents of Virginia. See Ex. 1 (Updated USCIS
                 Data); Ex. 5 ¶ 83 (Decl. Wong).
                    184. Obtaining DACA status has allowed these in-
                 dividuals, many of whom are long-term residents of
                 Virginia, to work legally, open bank accounts, access
                 lines of credit, purchase homes and cars, receive in-
                 state tuition at public universities, and obtain employer-
                 based health insurance, among other benefits.
                    185. An estimated 11,195 Virginia DACA grantees
                 are employed. See Ex. 5 ¶ 84 (Decl. Wong). An esti-
                 mated 661 are business owners. Id. An estimated
                 5,499 are in school, and 3,932 currently are pursuing a
                 bachelor’s degree or higher. Id. ¶ 85.




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                    186. In addition to the many harms identified be-
                 low, see ¶¶ 188-233, terminating DACA will hurt the
                 Virginia economy generally. Stripping DACA grant-
                 ees of the ability to work legally will cause many to lose
                 their jobs, resulting, among other things, in less tax
                 revenue for the State. According to one estimate,
                 DACA-eligible residents contribute approximately
                 $34.7 million annually in state and local taxes in Vir-
                 ginia—a contribution that may drop by $12.7 million
                 without DACA. See Ex. 3 ¶ 7 (Decl. Essig, Wiehe and
                 Hill). Another estimate suggests that terminating
                 DACA would, over a ten-year period, impact the Vir-
                 ginia economy with $1 billion in budgetary costs and
                 $3.6 billion in economic costs. See Ex. 4, Table 1
                 (Decl. Brannon).
                    HARM TO PLAINTIFF STATES BY CATEGORY
                 Diversity, Inclusion, and Constitutional Values.
                    187. The States have an interest in prohibiting the
                 deprivation of life, liberty or property without due pro-
                 cess, and in preventing any practice that denies equal
                 protection of the laws or otherwise discriminates on the
                 basis of race, color, or national origin. For example:
                    a. New York’s Constitution guarantees all persons
                       the right to equal treatment under the law and
                       forbids discrimination based on race, color,
                       creed or religion. N.Y. Const. art. I, § 11.
                       And New York’s statutes reiterate the State’s
                       strong interest in combatting discrimination and
                       prejudice. See N.Y. Exec. Law § 290.
                    b. Washington has declared that practices that
                       discriminate against any of its inhabitants be-
                       cause of race, color, or national origin are mat-
                       ters of public concern that threaten the rights




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                         and proper privileges of the State and harm the
                         public welfare, health, and peace of the people.
                         See Wash. Rev. Code 49.60.010.
                    c. Colorado welcomes people of all backgrounds.
                       Colorado law prohibits unlawful discrimina-
                       tion against people based on, among other
                       things, race, national origin, and ancestry. See
                       C.R.S. § 24-34-601; C.R.S. § 24-34-402; C.R.S.
                       § 24-34-502.
                    d. The Illinois Human Rights Act, 775 ILCS 5/1
                       et seq., establishes a public policy “to secure for
                       all individuals within Illinois the freedom from
                       discrimination against any individual because of
                       his or her . . . national origin.” See 775 ILCS
                       5/1-102(A). It further establishes a public pol-
                       icy “to prevent discrimination based on citizen-
                       ship status in employment.” See 775 ILCS
                       5/1-102(C).
                    e. The Council of the District of Columbia enacted
                       the District’s Human Rights Act “to secure an
                       end in the District of Columbia to discrimination
                       for any reason other than that of individual mer-
                       it,” including discrimination based on national
                       origin. See D.C. Code Ann. § 2-1401.01. The
                       District’s Human Rights Act prohibits discrimi-
                       nation in a broad range of areas including em-
                       ployment, education, places of public accommo-
                       dation, public services, housing and commercial
                       space accommodations, the sale of motor vehicle
                       insurance and the rental of motor vehicles.
                    f.   Through a long tradition of including and incor-
                         porating foreign-born persons into its institu-
                         tions, businesses, and governments, New Mexico
                         has become one of the most socially and politi-




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                       cally diverse states. New Mexico enshrined in
                       its state constitution three provisions protecting
                       the Spanish language and those who speak it.
                       See N.M. Const. art. VII, § 3 (stating that “[t]he
                       right of any citizen of the state to vote, hold of-
                       fice or sit upon juries shall never be restricted,
                       abridged or impaired on account of . . . lan-
                       guage . . . or inability to speak, read or
                       write the English or Spanish languages except
                       as otherwise provided in this constitution”);
                       N.M. Const. art. XII, § 8 (requiring teachers to
                       become proficient in English and Spanish); and
                       N.M. Const. art. XII. § 10 (guaranteeing that
                       “[c]hildren of Spanish descent in the state of
                       New Mexico shall never be denied the right and
                       privilege of admission and attendance in the
                       public schools or other public educational insti-
                       tutions of the state, and they shall never be
                       classed in separate schools, but shall forever
                       enjoy perfect equality with other children in all
                       public schools and educational institutions of the
                       state”).
                    g. Oregon has codified its state policy that practic-
                       es of unlawful discrimination against any of its
                       inhabitants because of religion or national origin
                       are “a matter of state concern,” and that such
                       discrimination “menaces the institutions and
                       foundation of a free democratic state.” See
                       ORS § 659A.006.
                    h. Pennsylvania’s laws reflect its commitment to
                       values of diversity, multiculturalism and open-
                       ness to others of different races and nationali-
                       ties. For example, Pennsylvania’s Human Re-
                       lations Act recognizes that an individual’s op-




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                         portunity to obtain employment, public accom-
                         modation, housing accommodation and commer-
                         cial property without discrimination on the basis
                         of “race, color, familial status . . . ancestry
                         [and] national origin” is a “civil right” that is
                         “enforceable” under Pennsylvania law.        See
                         43 P.S. § 953. See also 43 P.S. § 955.
                    i.   In keeping with its history of freedom of con-
                         science, equality and tolerance, Rhode Island has
                         prohibited practices that discriminate against any
                         of its inhabitants because of race, color, or national
                         origin. See R.I. Constitution Article 1, section 2;
                         R.I. Gen. Laws 12-19-38 (Hate Crimes Sentenc-
                         ing Act); R.I. Gen. Laws § 42-112-1 (The Civil
                         Rights Act of 1990); R.I. Gen. Laws 28-5-1 (Fair
                         Employment Practices Act); R.I. Gen. Laws
                         34-37-1 (Fair Housing Practices Act).
                    188. The States also have an interest in ensuring
                 that their residents are not excluded from the benefits
                 that flow from participation in the federal system, in-
                 cluding the rights and privileges provided by the U.S.
                 Constitution and federal law.
                 Harm to States as Employers.
                   189. The States have an interest in maintaining
                 qualified, trained workforces.
                    190. Terminating DACA will cause the States to
                 lose qualified State employees. Many DACA recipi-
                 ents work in government or at state-run institutions,
                 and they were hired because of their specialized skills
                 and qualifications. The States expended time and
                 funds to hire, train, and manage DACA recipients. If
                 these individuals become ineligible to work, the States
                 will lose the value of their investment and the services




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                 of employees who perform important functions for the
                 States. They will also incur the costs associated with
                 the need to recruit, hire, and train replacements. See,
                 e.g., Ex. 52 ¶ 8 (Decl. Mostofi, NYC Mayor’s Office of
                 Immigrant Affairs); Ex. 56 ¶¶ 2-4 (Decl. Quinonez); Ex.
                 70 ¶ 6 (Decl. I.V.); Ex. 61 ¶ 10 (Decl. Heatwole,
                 UMass); Ex. 62 ¶ 3 (Decl. Monroe, Wash. Dept. of
                 Ecology); Ex. 65 ¶ 3 (Decl. Kaplan, WA Dept. of Social
                 and Health Svcs.); Ex. 92 ¶ 3 (Decl. Jones, Wash.
                 Treasury); Ex. 91 ¶ 3 (Decl. Garza, Big Bend Commu-
                 nity College); Ex. 64 ¶ 3 (Decl. Glatt, Columbia Basin
                 College); Ex. 58 ¶ 4 (Decl. Loera, Wash. State Univ.);
                 Ex. 130 ¶ 3 (Decl. Conly, WA Dept. of Veterans Af-
                 fairs); Ex. 113 ¶ 3 (Decl. Schuh, City of Anacortes,
                 WA); Ex. 157 ¶ 9-10 (Decl. Ridder, Portland State
                 Univ.); Ex. 154 ¶ 11 (Decl. Cuprill-Comas, Oregon
                 Health and Science Univ.); Ex. 153 ¶¶ 6, 9 (Decl.
                 Karpilo, Eastern Oregon Univ.); Ex. 156 ¶¶ 9-10 (Decl.
                 Mitsui, Portland Community College); Ex. 167 ¶¶ 3-6
                 (Decl. Reveley, College of William & Mary); Ex. 134
                 ¶¶ 31, 37 (Decl. Herbst, Univ. of Conn.); Ex. 124 ¶¶ 4,
                 11 (Decl. Salaveria, Hawaii Dept. of Business, Eco-
                 nomic Development and Tourism); Ex. 168 ¶¶ 3-7 (Decl.
                 Cabrera, George Mason Univ.).
                 Harm to State Colleges and Universities.
                    191. The States have an interest in the special con-
                 tributions that DACA grantees make to State colleges
                 and universities as students, employees, and alumni.
                    192. Terminating DACA will harm the ability of the
                 States’ colleges and universities, including public uni-
                 versities, to satisfy their educational missions and pre-
                 pare the States’ residents for the workforce. See Ex.
                 61 ¶¶ 5-7 (Decl. Heatwole); Ex. 146 ¶¶ 12-13 (Decl.
                 Clark et al., Mass. State Univ. Pres.); Ex. 134 ¶¶ 15-38




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                 (Decl. Herbst); Ex. 133 ¶¶ 15-24 (Decl. Pachis, Eastern
                 Conn. State Univ.); Ex. 136 ¶¶ 1, 4 (Decl. Hardwick,
                 Univ. of the District of Columbia); Ex. 166 ¶¶ 4-7 (Decl.
                 Sullivan, Univ. of Vermont); Ex. 167 ¶¶ 5-6 (Decl. Rev-
                 eley); Ex. 137 ¶¶ 4-10 (Decl. Straney, Univ. of Hawaii);
                 Ex. 131 ¶¶ 4-9 (Decl. Miranda, Colorado State Univ.);
                 Ex. 132 ¶¶ 3-10 (Decl. Allen, Univ. of Colorado); Ex.
                 135 ¶¶ 3-14 (Decl. Rakes, Delaware Tech. Community
                 College); Ex. 152 ¶¶ 10-11, 21 (Decl. Mathewson &
                 Pareja, Univ. of New Mexico School of Law); Ex. 149
                 (New Mexico Council of Univ. Presidents Letter); Ex.
                 157 ¶ 6 (Decl. Ridder); Ex 159 ¶ 5 (Decl. Galvan, Univ.
                 of Oregon); Ex. 155 ¶ 5 (Decl. Alexander, Oregon State
                 Univ.); Ex. 154 ¶¶ 7, 10 (Decl. Cuprill-Comas); Ex. 153
                 ¶ 7 (Decl. Karpilo); Ex. 160 ¶¶ 7-8 (Decl. Hagemann,
                 Western Oregon Univ.); Ex. 158 ¶ 6 (Decl. Trueblood-
                 Gamble, Southern Oregon Univ.); Ex. 168 ¶¶ 3-7 (Decl.
                 Cabrera); Ex. 86 ¶¶ 7-9 (Decl. Wadhia, Penn. St. Uni-
                 versity); Ex. 142 ¶¶ 4-5 (Decl. Edgehill-Walden, North-
                 ern Illinois Univ.); Ex. 145 ¶ 15 (Decl. Kennedy, Mass.
                 Community Colleges’ Presidents’ Council).
                    193. DACA has made it possible for many young
                 people to attend colleges and universities in the States,
                 as work authorization allows DACA grantees to work
                 both while they pursue their education and after grad-
                 uation. More than 90% of DACA grantees report that
                 DACA allowed them to pursue educational opportuni-
                 ties previously unavailable to them. See Ex. 5 ¶ 18
                 (Decl. Wong). For example:
                    a. The University of Colorado estimates that there
                       are over 200 DACA grantees enrolled across the
                       University. Ex. 132 ¶ 5 (Decl. Allen). Colo-
                       rado State University has approximately 189
                       DACA grantees. Ex. 131 ¶ 8 (Decl. Miranda).




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                    b. Delaware Technical and Community College
                       (“DTCC”) has at least 148 DACA students and
                       at least another 242 graduates who are DACA
                       grantees.    See Ex. 135 ¶ 5 (Decl. Rakes).
                       Many of DTCC’s DACA students are nontradi-
                       tional learners who support their families in ad-
                       dition to pursuing their education. Id. ¶ 8. An-
                       other approximate 75 DACA grantees currently
                       attend Delaware State University (“DSU”). See
                       Ex. 66 (Scott Gross, DSU immigrant students
                       fear Trump’s DACA decision, Delawareonline,
                       Sept. 2, 2017).
                    c. Presently, there are 16 students who have re-
                       ported their DACA status to the University of
                       Hawaii and who are pursuing various degrees at
                       multiple University campuses. Ex. 137 ¶ 6 (Decl.
                       Straney).
                    d. In the University of Illinois System, approxi-
                       mately 350 of its students and 100 of its em-
                       ployees would be affected by the termination of
                       DACA. Ex. 143 ¶ 8 (Decl. Wilson, Univ. of Il-
                       linois System).
                    e. In New York, both the State University of New
                       York (“SUNY”) and the City University of New
                       York (“CUNY”) have encouraged DACA grant-
                       ees to apply as part of their strong commitment
                       to diversity, equity, and inclusion. See Ex. 12
                       ¶ 10 (Decl. Milliken, CUNY); Ex. 99 (Decl. John-
                       son, SUNY). At CUNY, hundreds of DACA
                       grantees have enrolled in the university, many
                       with the benefit of full scholarships. See Ex. 12
                       ¶ 6 (Decl. Milliken); Ex. 171 ¶8 (Decl. Park).
                    f.   Many of Oregon’s public colleges and universi-
                         ties, including Portland State University, the




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                       University of Oregon, Oregon State University,
                       Oregon Health and Science University, Eastern
                       Oregon University, Western Oregon University,
                       Southern Oregon University and Portland Com-
                       munity College enroll, and in some cases em-
                       ploy, DACA grantees. See Ex. 157 ¶ 4 (Decl.
                       Ridder); Ex. 159 ¶ 5 (Decl. Galvan); Ex. 155 ¶ 5
                       (Decl. Alexander); Ex. 154 ¶ 5 (Decl. Cuprill-
                       Comas); Ex. 153 ¶¶ 5-6 (Decl. Karpilo); Ex. 160
                       ¶¶ 6-7 (Decl. Hagemann); Ex. 158 ¶¶ 4-5 (Decl.
                       Trueblood-Gamble); Ex. 156 ¶¶ 6, 9 (Decl. Mit-
                       sui); Ex. 94 ¶¶ 5-8 8 (Decl. Ramirez Cuevas); Ex.
                       101 ¶¶ 1, 3 (Decl. Preciado).
                    g. Many institutions of higher education in Virginia
                       have students presently enrolled in their educa-
                       tional programs who are DACA grantees. Ac-
                       cording to the State Council of Higher Educa-
                       tion for Virginia (“SCHEV”), the Commonwealth’s
                       coordinating body for higher education, there
                       are more than 1,300 DACA students in Virginia
                       attending institutions of higher education. See
                       Ex. 127 ¶¶ 4 (Decl. Blake, SCHEV).
                    h. According to the Washington Student Achieve-
                       ment Council (“WSAC”), the state agency that
                       advances educational opportunities in Washing-
                       ton, there are more than 1,400 DACA students
                       in Washington attending institutions of higher
                       education. See Ex. 59 ¶ 9 (Decl. Thompson,
                       WSAC). More than one hundred DACA grant-
                       ees attend the University of Washington, based
                       in Seattle. See Ex. 57 ¶ 4 (Decl. Ballinger,
                       Univ. of Wash.). More than 150 DACA grant-
                       ees attend Washington State University, based




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                         in Pullman. See Ex. 58 ¶ 4 (Decl. Loera, Wash.
                         State Univ.).
                    i.   Many public colleges and universities in the
                         States have diverse student populations, includ-
                         ing a high percentage of Latino/Hispanic stu-
                         dents and students who are first generation
                         Americans and first in their families to attend
                         college, as well as undocumented students.
                         See, e.g., Ex. 162 (Letter from Meghan Hughes,
                         Community College of Rhode Island); Ex. 150
                         ¶ 7 (Decl. Abdallah, University of New Mexico).
                         Although many such schools do not keep data on
                         immigration status, they know that they have
                         DACA grantees as alumni and current students.
                         See Ex. 163 (Letter from Frank Sánchez, Rhode
                         Island College President); Ex. 164 ¶ 6 (Decl.
                         Farish, Roger Williams University); Ex. 161
                         (Letter from Richard M. Locke, Brown Univer-
                         sity Provost); Ex. 86 ¶ 6 (Decl. Wadhia); Ex. 146
                         ¶ 9 (Decl. Clark et al.).
                    194. DACA grantees who are residents of Connect-
                 icut, Delaware, District of Columbia, Hawaii, Illinois,
                 New Mexico, Massachusetts, Virginia, or Washington
                 receive in-state tuition at public universities and/or are
                 eligible for other financial assistance. See C.R.S.
                 § 23-7-110; Ex. 132 ¶ 4 (Decl. Allen); Ex. 131 ¶ 7 (Decl.
                 Miranda); Ex. 134 ¶ 8 (Decl. Herbst); Ex. 7 (Mass.
                 Dept. of Higher Education Memorandum, Residency
                 Status for Tuition Classification Purposes—Deferred
                 Action for Childhood Arrivals, Nov. 21, 2012); Ex. 61
                 ¶ 5 (Decl. Heatwole); Ex. 146 ¶ 7 (Decl. Clark et al.);
                 Ex. 133 ¶¶ 8-12 (Decl. Pachis); Conn. Gen. Stat.
                 § 10a-29; Ex. 135 ¶¶ 11-12 (Decl. Rakes); Ex. 136 ¶ 6
                 (Decl. Hardwick); Ex. 150 ¶ 12 (Decl. Abdallah); Or.




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                 Rev. Stat. § 352.287; Ex. 167 ¶ 4 (Decl. Reveley); Ex.
                 106 ¶ 5 (Decl. Suria); Ex. 137 ¶ 5 (Decl. Straney); Ex.
                 157 ¶ 4 (Decl. Ridder); Ex. 94 ¶ 7 (Decl. Ramirez Cue-
                 vas).
                    195. Without the DACA program, talented young
                 immigrants will be less likely to apply to and attend
                 State schools because they will not be able to afford
                 tuition given the loss of available financial assistance
                 (in some of the States) and the likelihood that they will
                 not be able to work legally upon graduation (in all the
                 States). Those already enrolled will be less likely to
                 finish their education at State schools due to the loss of
                 current and future earning potential. See Ex. 12 ¶ 7-8
                 (Decl. Milliken); Ex. 56 ¶ 7 (Decl. Quinonez); Ex. 61 ¶ 5
                 (Decl. Heatwole); Ex. 146 ¶¶ 8, 12 (Decl. Clark et al.);
                 Ex. 72 ¶ 5 (Decl. Teodoro); Ex. 132 ¶ 7 (Decl. Allen);
                 Ex. 131 ¶ 8 (Decl. Miranda); Ex. 136 ¶ 6 (Decl. Hard-
                 wick); Ex. 69 ¶¶ 8, 10 (Decl. Mendes); Ex. 60 ¶¶ 6, 9
                 (Decl. Guevara); Ex. 145 ¶ 8 (Decl. Kennedy); Ex. 135
                 ¶¶ 7-10 (Decl. Rakes); Ex. 139 ¶ 6 (Decl. Dietz, Illinois
                 State Univ.); Ex. 143 ¶ 8 (Decl. Wilson); Ex. 106 ¶ 7
                 (Decl. Suria); Ex. 105 ¶ 5 (Decl. Oduyoye); Ex. 134
                 ¶¶ 16-17 (Decl. Herbst); Ex. 137 ¶ 7 (Decl. Straney);
                 Ex. 152 ¶¶ 18-20 (Decl. Mathewson & Pareja); Ex. 101
                 ¶ 4 (Decl. Preciado); Ex. 155 ¶ 5 (Decl. Alexander); Ex.
                 168 ¶ 6 (Decl. Cabrera); Ex. 160 ¶¶ 7-8 (Decl. Hage-
                 mann); Ex. 153 ¶¶ 7-8 (Decl. Karpilo); Ex. 95 ¶ 8 (Decl.
                 Solano); Ex. 157 ¶¶ 6-7 (Decl. Ridder); Ex. 159 ¶¶ 5-6
                 (Decl. Galvan); Ex. 158 ¶¶ 6, 8, 11 (Decl. Trueblood-
                 Gamble); Ex. 154 ¶¶ 7-10 (Decl. Cuprill-Comas); Ex.
                 133 ¶ 13 (Decl. Pachis); Ex. 57 ¶ 4 (Decl. Ballinger); Ex.
                 58 ¶ 5 (Decl. Loera); Ex. 163 (Sánchez Letter, Rhode
                 Island College); Ex. 165 ¶ 4 (Decl. Linde, Rhode Island
                 College); Ex. 166 ¶ 6 (Decl. Sullivan); Ex. 167 ¶¶ 4-5




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                 (Decl. Reveley); Ex. 164 ¶ 7 (Decl. Farish); Ex. 171
                 ¶¶7-9 (Decl. Park).
                     196. Additionally, DACA students enrolled in pro-
                 grams that require employment authorization or entail
                 licensing requirements to complete elements of the
                 program—such as paid internships, clinical placement,
                 residency training, or programs that require signifi-
                 cant lab or field work—will be severely and adversely
                 impacted if DACA is terminated. Indeed, these students
                 may not be able to complete the academic requirements
                 of their degrees. See, e.g., Ex. 12 ¶ 8 (Decl. Milliken);
                 Ex. 61 ¶ 6 (Decl. Heatwole); Ex. 135 ¶ 9 (Decl. Rakes);
                 Ex. 136 ¶ 7 (Decl. Hardwick); Ex. 166 ¶¶ 6-7 (Decl.
                 Sullivan); Ex. 134 ¶ 33 (Decl. Herbst); Ex. 132 ¶ 7
                 (Decl. Allen); Ex. 131 ¶ 8 (Decl. Miranda); Ex. 152 ¶ 19
                 (Decl. Mathewson & Pareja); Ex. 145 ¶ 9 (Decl. Ken-
                 nedy); Ex 6 ¶¶ 13-15 (Decl. C. Andrade).
                     197. DACA students in graduate programs at pub-
                 lic universities in the States will be significantly affec-
                 ted because the loss of employment authorization need-
                 ed for graduate assistantship (research or teaching)
                 will likely mean the loss of tuition waivers and other
                 benefits such as subsidized health, dental, and vision
                 insurance for the students and their families. The loss
                 of graduate assistants also is a significant harm to the
                 States because of the services they provide in assisting
                 faculty and instructing students. See Ex. 61 ¶ 5 (Decl.
                 Heatwole); Ex. 134 ¶¶ 31-32 (Decl. Herbst).
                    198. Losing these talented young immigrants will
                 deprive the States’ schools of the special and unique
                 contributions and perspectives they bring to campus
                 communities, both as students and alumni. See, e.g.,
                 Ex. 57 ¶¶ 4-6 (Decl. Ballinger); Ex. 58 ¶¶ 4-8 (Decl.
                 Loera); Ex. 61 ¶ 7 (Decl. Heatwole); Ex. 132 ¶¶ 6-7




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                 (Decl. Allen); Ex. 131 ¶ 9 (Decl. Miranda); Ex. 134
                 ¶¶ 19-26, 36-38 (Decl. Herbst); Ex. 133 ¶¶ 23-24 (Decl.
                 Pachis); Ex. 135 ¶¶ 3, 13 (Decl. Rakes); Ex. 137 ¶¶ 7-8,
                 10 (Decl. Straney); Ex. 139 ¶¶ 3, 4, 7 (Decl. Dietz); Ex.
                 152 ¶¶ 10, 18, 21 (Decl. Mathewson & Pareja); Ex. 157
                 ¶ 11 (Decl. Ridder); Ex. 159 ¶¶ 8-9 (Decl. Galvan); Ex.
                 155 ¶¶ 6, 8 (Decl. Alexander); Ex. 154 ¶ 7 (Decl. Cuprill-
                 Comas); Ex. 153 ¶ 10 (Decl. Karpilo); Ex. 160 ¶ 5 (Decl.
                 Hagemann); Ex. 158 ¶ 9 (Decl. Trueblood-Gamble); Ex.
                 163 (Sánchez Letter); Ex. 165 ¶ 4 (Decl. Linde); Ex. 166
                 ¶¶ 6-7 (Decl. Sullivan); Ex. 167 ¶¶ 4-5 (Decl. Reveley);
                 Ex. 136 ¶ 8 (Decl. Hardwick); Ex. 145 ¶¶ 10-11 (Decl.
                 Kennedy).
                    199. The States’ public universities and colleges will
                 also suffer direct financial harm, including lost tuition
                 revenue and scholarship funds, if DACA students are
                 forced to withdraw or are unable to enroll. See, e.g.,
                 Ex. 57 ¶¶ 4-6 (Decl. Ballinger); Ex. 58 ¶¶ 4-8 (Decl.
                 Loera,); Ex. 61 ¶ 7 (Decl. Heatwole); Ex. 134 ¶¶ 27-28
                 (Decl. Herbst); Ex. 133 ¶¶ 17-18 (Decl. Pachis); Ex. 136
                 ¶ 8 (Decl. Hardwick); Ex. 137 ¶ 9 (Decl. Straney); Ex.
                 157 ¶¶ 6-7 (Decl. Ridder); Ex. 159 ¶ 5 (Decl. Galvan);
                 Ex. 155 ¶ 5 (Decl. Alexander); Ex. 154 ¶ 8 (Decl. Cuprill-
                 Comas); Ex. 153 ¶¶ 7-8 (Decl. Karpilo); Ex. 160 ¶¶ 6-8
                 (Decl. Hagemann); Ex. 158 ¶ 6 (Decl. Trueblood-
                 Gamble); Ex. 163 (Sánchez Letter); Ex. 164 ¶ 9 (Decl.
                 Farish); Ex. 132 ¶ 10 (Decl. Allen); Ex. 131 ¶ 9 (Decl.
                 Miranda); Ex. 145 ¶¶ 10-14 (Decl. Kennedy). In at
                 least one state (Oregon), current demographic and en-
                 rollment trends and other factors suggest that this lost
                 revenue will not be replaced by other students for
                 many universities, and will represent an absolute loss
                 of revenue. See Ex. 160 ¶ 8 (Decl. Hagemann); Ex.
                 158 ¶ 7 (Decl. Trueblood-Gamble); Ex. 157 ¶ 7 (Decl.
                 Ridder).




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                    200. Terminating DACA also will impose additional
                 tangible costs on our public colleges and universities,
                 which already have begun to experience disruption as a
                 result of uncertainty over the future of the program
                 and are preparing for the likelihood of expending addi-
                 tional resources to address the detrimental effects of
                 DACA termination. See, e.g., Ex. 61 ¶¶ 8-9 (Decl.
                 Heatwole); Ex. 134 ¶¶ 35, 38 (Decl. Herbst); Ex. 136
                 ¶¶ 8-9 (Decl. Hardwick); Ex. 157 ¶ 12 (Decl. Ridder);
                 Ex. 155 ¶ 7 (Decl. Alexander); Ex. 153 ¶ 11 (Decl.
                 Karpilo); Ex. 160 ¶ 9 (Decl. Hagemann); Ex. 158 ¶¶ 10,
                 12 (Decl. Trueblood-Gamble); Ex. 132 ¶ 9 (Decl. Allen);
                 Ex. 167 ¶ 6 (Decl. Reveley).
                    201. Terminating DACA will further deprive the
                 States of the earning potential of graduates from public
                 colleges and universities who are most likely to stay
                 in-State and join the States’ workforces. See, e.g., Ex.
                 132 ¶ 9 (Decl. Allen). For example:
                    a. Nine out of ten Massachusetts public higher ed-
                       ucation graduates remain in the State, working
                       or pursuing further education. See Ex. 93 (Mass.
                       Dept. of Higher Education, Time to Lead, The
                       Need for Excellence in Public Higher Educa-
                       tion, Sept. 2012).
                    b. The majority of Iowa public higher education
                       graduates remain in Iowa, working or pursuing
                       further education. See Ex. 67 at 26 (The Uni-
                       versity of Iowa Pomerantz Career Center, 2015-
                       2016 Annual Report); Ex. 68 (Iowa State Uni-
                       versity 6-Month Post Graduation Status, 2014-
                       2015; Ex. 73 at 2 (Career Ready, University of
                       Northern Iowa Career Services, 2016).
                    c. Nearly 90% of Community College of Rhode Is-
                       land graduates stay in Rhode Island after grad-




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                       uation to live and raise their families.   Ex. 162
                       (Hughes Letter).
                    d. Approximately 85 to 87 percent of Eastern Con-
                       necticut State University graduates stay in
                       Connecticut after graduation to “contribute[] to
                       the growth and vitality of Connecticut’s econo-
                       my.” Ex. 133 ¶ 16 (Decl. Pachis).
                    202. Terminating DACA will also undermine the in-
                 vestment in and efforts to develop a well-educated
                 workforce that can contribute to the States’ overall
                 economies and competitiveness, and the States’ ability
                 to meet certain critical workforce needs such as health-
                 care in rural areas. See, e.g., Ex. 159 ¶ 6 (Decl. Gal-
                 van); Ex. 154 ¶¶ 6, 10 (Decl. Cuprill-Comas); Ex. 156
                 ¶ 11 (Decl. Mitsui). Currently, 100 DACA grantees
                 are medical students and medical resident physicians
                 at schools that are members of the Association of
                 American Medical Colleges, and approximately two-
                 thirds of these DACA grantees are pursuing their med-
                 ical education in one of the States. See Ex. 114 ¶ 4
                 (Decl. Prescott, Association of American Medical Col-
                 leges). Aspiring DACA-grantee physicians contribute
                 to a diverse and culturally responsive workforce to
                 meet the needs of underserved populations. See id.
                 ¶¶ 5-6. Terminating DACA will cause the States to
                 lose specific investments that they have made in this
                 workforce and will leave significant gaps in the States’
                 healthcare workforce. See id. ¶ 7; Ex. 85 ¶¶ 5-6 (Decl.
                 Swenson). For example:
                    a. In Illinois, DACA grantees have participated in
                       a loan program, through the Illinois Finance Au-
                       thority, in which students receive interest-free
                       loans so long as they agree to repay the principal
                       and commit to four years of work in an under-




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                       served Illinois community following their gradua-
                       tion. Ex. 141 ¶ 6 (Decl. Pelissero & Callahan,
                       Loyola Univ. of Chicago). Without DACA, un-
                       derserved Illinois communities will lose access to
                       these committed medical professionals. Id. ¶ 8.
                    b. Oregon’s legislature has established a program
                       to provide scholarships to health professional
                       students who commit to practicing in rural and
                       underserved areas of the state for a period of
                       time following graduation. See ORS 348.303.
                       At least one dental student participant in this
                       program is a DACA recipient who will likely not
                       be able to complete his commitment to practice
                       dentistry in an underserved area of Oregon.
                       See Ex. 94 ¶¶ 4, 9-18 (Decl. Ramirez Cuevas).
                     203. The nation’s leading private universities will
                 suffer harms if DACA is terminated. Harvard Uni-
                 versity, for example, has more than 50 DACA students
                 currently enrolled. See Ex. 96 ¶ 6 (Decl. Madsen,
                 Harvard Univ.). Tufts University has more than 25
                 DACA students. See Ex. 97 ¶ 8 (Decl. Jeka, Tufts
                 Univ.). Brown University has approximately 12 DACA
                 students. See Ex. 161 (Locke Letter). Roger Williams
                 University, home to Rhode Island’s only law school, has
                 at least six DACA students. See Ex. 164 ¶ 6 (Decl.
                 Farish). These students often have had to overcome
                 significant challenges in order to gain acceptance and
                 bring critical perspectives, insights, and experiences to
                 their universities. They make important and lasting
                 contributions, including through their classroom par-
                 ticipation, their extracurricular engagements, and their
                 commitment to independent study and research. See,
                 e.g., Ex. 97 ¶ 5 (Decl. Jeka); Ex. 96 ¶¶ 5, 7, 12 (Decl.
                 Madsen); Ex. 144 ¶¶ 4-5 (Decl. Martin, Amherst Col-




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                 lege); Ex. 147 ¶ 7 (Decl. Stephens, Mount Holyoke
                 College); Ex. 140 ¶¶ 4, 6, 9 (Decl. Jensen, Illinois Wes-
                 leyan Univ.); Ex. 141 ¶¶ 4, 5, 6, 7,8 (Decl. Pelissero &
                 Callahan); Ex. 138 ¶¶ 6, 11 (Decl. Salgado, City Colleg-
                 es of Chicago); Ex. 164 ¶¶ 8-9 (Decl. Farish); Ex. 161
                 (Locke Letter).
                    204. Employment authorization gives these stu-
                 dents and their universities an assurance that they may
                 put their talents to use in the United States job market
                 after graduation, benefitting the States and the nation
                 as a whole. See, e.g., Ex. 96 ¶¶ 12-15 (Decl. Madsen);
                 Ex. 161 (Locke Letter); Ex. 144 ¶ 9 (Decl. Martin,
                 Amherst); Ex. 147 ¶¶ 8-9 (Decl. Stephens).
                    205. DACA has allowed these students to step out-
                 side the shadow of their immigration status and to
                 participate fully as members of academic and campus
                 communities in ways that likely would not be possible
                 otherwise. See, e.g., Ex. 140 ¶¶ 7, 8 (Decl. Jensen);
                 Ex. 97 ¶ 7 (Decl. Jeka); Ex. 96 ¶ 12 (Decl. Madsen); Ex.
                 ¶ 7 (Decl. Martin, Amherst). Terminating DACA will
                 take important opportunities away from DACA students
                 and reintroduce fear and uncertainty into their lives,
                 with significant adverse effects on these students, their
                 universities, and the broader community. See Ex. 140
                 ¶¶ 7, 8 (Decl. Jensen); Ex. 97 ¶¶ 8-10 (Decl. Jeka); Ex.
                 96 ¶ 13 (Decl. Madsen); Ex. 144 ¶ 10 (Decl. Martin,
                 Amherst); Ex. 148 ¶ 6 (Decl. Martin, Northeastern
                 Univ.); Ex. 147 ¶ 10 (Decl. Stephens); Ex. 161 (Locke
                 Letter); Ex. 103 ¶ 8 (Decl. Perla); Ex. 106 ¶ 7 (Decl.
                 Suria); Ex. 105 ¶ 5 (Decl. Oduyoye); Ex. 104 ¶ 7 (Decl.
                 G.L.); Ex. 102 ¶¶ 12-14 (Decl. Juarez); Ex. 152 ¶ 19
                 (Decl. Mathewson & Pareja); Ex. 151 ¶¶ 14, 16 (Decl.
                 Roth, UNMHSC); Ex. 107 ¶¶ 7-8 (Decl. Torrez).




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                 Harm to State Law, Regulation, and Policy.
                    206. The States have an interest in preserving their
                 legal, regulatory, and policy frameworks that take the
                 DACA program into account.
                    207. Many of the States have enacted laws, prom-
                 ulgated regulations, and/or established policies that
                 contemplate and rely on the DACA program. If DACA
                 is terminated, these legal, regulatory, and policy re-
                 gimes will be harmed. For example:
                    a. Since 2012, Connecticut has granted driver’s li-
                       censes to approximately 5,000 DACA grantees
                       who are Connecticut residents, many of whom
                       have also purchased and registered vehicles in
                       Connecticut. See Ex. 121 ¶¶ 6-7 (Decl. Bzdyra).
                       DACA grantees who have purchased and regis-
                       tered vehicles will have paid Connecticut sales
                       tax and local property taxes for such vehicles.
                       Id. ¶¶ 8-9.
                    b. Illinois has enacted laws to enable DACA grant-
                       ees to participate in the economy professionally.
                       These include providing that no person in Illi-
                       nois shall be prohibited from receiving a law li-
                       cense solely because he or she is not a citizen
                       and explicitly allowing DACA grantees to apply
                       for a license to practice law. See 705 Ill. Comp.
                       Stat. 205/2. DACA grantees are also eligible to
                       receive state-issued identification cards and
                       drivers’ licenses; own motor vehicles which are
                       registered, titled and licensed in the state of Il-
                       linois; and own businesses and property in Illi-
                       nois. See Ex. 125 ¶ 6 (Decl. White, Illinois Sec-
                       retary of State). The Office of the Illinois Sec-
                       retary of State will be adversely impacted if
                       DACA is terminated by the loss of revenue from




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                       licensing fees and taxes, as well as costs and
                       system disruptions related to eligibility deter-
                       minations of license renewals for DACA recipi-
                       ents. Id. ¶ 7. Illinois administrative rules,
                       regulations and laws will also need to be amen-
                       ded to conform to the changes in the DACA
                       program. Id.
                    c. Under DACA, thousands of young Massachu-
                       setts and Oregon residents are able to receive
                       social security cards and thereby have access to
                       driver’s licenses, which they depend on to attend
                       heath care appointments, to commute to work
                       and school, and to attend to other necessities for
                       themselves and their family members. See Ex.
                       9 (Mass. Registry of Motor Vehicles, Social Se-
                       curity Number (SSN) Requirements); ORS
                       807.021 (proof of legal presence required to is-
                       sue, renew or replace driver license); Ex. 175
                       (Attorney General Advisory Letter to Acting
                       Commissioner J. Eric Boyette, Jan. 17, 2013);
                       Ex. 101 ¶ 3 (Decl. Preciado); Ex. 71 ¶¶ 5-7, 9
                       (Decl. I.T.); Ex. 69 ¶¶ 7-8 (Decl. Mendes); Ex. 70
                       ¶¶ 5, 8 (Decl. I.V.). Terminating DACA will
                       make it impossible for these individuals to apply
                       for new licenses or renew the licenses they have,
                       leading to a number of adverse outcomes, in-
                       cluding a decrease in licensing fees paid to the
                       States, a decrease in productivity of these resi-
                       dents, and an increase in unlicensed drivers on
                       the road.
                 Harm to Public Health and Health Care Costs.
                   208. The States have an interest in protecting the
                 public health and in minimizing health care costs ex-
                 pended by the States.




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                    209. Terminating DACA will harm public health
                 and impose additional health care costs on the States.
                 Work authorization allows DACA grantees to access
                 employer-sponsored health benefits. See, e.g., Ex. 72
                 ¶ 4 (Decl. Teodoro); Ex. 69 ¶¶ 6, 10 (Decl. Mendes); Ex.
                 171 ¶ 18 (Decl. Park); Ex. 172 ¶ 8 (Decl. Morales); Ex.
                 110 ¶ 8 (Decl. Schlosberg, District of Columbia De-
                 partment of Health Care Finance). In fact, more than
                 50% of DACA grantees have obtained employer-
                 provided insurance. See Ex. 5 ¶ 12 (Decl. Wong).
                 Without these benefits, more of the States’ residents
                 are likely to forgo needed health care, including pre-
                 ventive care, which will create more costly health prob-
                 lems in the long run. It also will cause more people to
                 rely on state-funded and/or state-administered public
                 health care and other benefits and thus impose addi-
                 tional costs on the States. For example:
                    a. Colorado provides emergency Medicaid regard-
                       less of immigration status, which covers the hos-
                       pital delivery of children for qualified undocu-
                       mented immigrants. See Ex. 78 at 1-2 (Colo-
                       rado Department of Health Care Policy and Fi-
                       nancing letter dated June 28, 2005).
                    b. Delaware provides limited emergency and labor/
                       delivery services to residents whose immigration
                       status otherwise keeps them from accessing
                       health care benefits and services. See Ex. 122
                       ¶¶ 6-7 (Decl. Groff).
                    c. The D.C. HealthCare Alliance is the District of
                       Columbia’s state-sponsored insurance program
                       of last resort. See Ex. 110 ¶¶ 6, 9 (Decl. Schlo-
                       sberg); see also D.C. Code § 7-771.07(2). The
                       placement of all of the individuals in the District
                       participating in the DACA program in 2017 onto




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                       the D.C. HealthCare Alliance would require the
                       District to spend additional money on that pro-
                       gram, harm District finances, and prevent the
                       District from spending that money on other
                       public health priorities. See Ex. 110 ¶ 10 (Decl.
                       Schlosberg). In fact, the placement of these
                       individuals onto the D.C. HealthCare Alliance
                       could cost the District an additional $283,000 per
                       month in District of Columbia Fiscal Year 2018.
                       See id. ¶ 12.
                    d. Under Hawaii’s Prepaid Health Care Act, Haw.
                       Rev. Stat. ch. 393, Hawaii employers are re-
                       quired to provide regular employees who meet
                       wage requirements with coverage under a qual-
                       ifying prepaid group health care plan. See
                       Haw. Rev. Stat. § 393-11. The termination of
                       DACA will likely cause more people to rely on
                       Hawaii’s state-administered Medicaid One-Time
                       Emergency services. Hawaii reimburses hos-
                       pitals for emergency and urgent services pro-
                       vided to qualifying uninsured Hawaii patients,
                       including undocumented immigrants. Ex. 123
                       ¶¶ 5-6 (Decl. Peterson, Med-QUEST Division,
                       Hawaii Department of Human Services).
                    e. In Massachusetts, DACA grantees who lose
                       employer-based coverage may be eligible for
                       MassHealth, a state-funded health insurance
                       program. See Ex. 83 ¶¶ 5-7 (Decl. Caplan,
                       Mass. Executive Office of Health and Human
                       Services). In addition, Massachusetts will very
                       likely have to cover some, if not all, of the costs
                       of health care visits for these individuals through
                       its state-administered Health Safety Net pro-
                       gram or other programs. Id. ¶¶ 8-9. Finally,




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                       some DACA grantees who lose employer-based
                       coverage will likely use providers, like commu-
                       nity based health centers, that are funded in
                       part by grants and other funding streams avail-
                       able through the state. Id. ¶¶ 10-14.
                    210. New York State currently funds Medicaid cov-
                 erage for low-income undocumented immigrants who
                 have received deferred action, including DACA-eligible
                 immigrants. See Ex. 77 (Office of Health Insurance
                 Program, Children’s Health Insurance Program Re-
                 authorization Act (CHIPRA) Expanded Coverage for
                 Certain Qualified and PRUCOL Aliens, May 7, 2013).
                 Terminating DACA may reduce access to Medicaid for
                 current DACA grantees. New York State currently
                 funds Medicaid coverage for low-income undocumented
                 immigrants who have received deferred action, includ-
                 ing DACA-eligible immigrants. See Id. Individuals
                 in New York who are not DACA grantees may only
                 qualify for Medicaid coverage of care and services nec-
                 essary to treat an emergency condition. Terminating
                 DACA will require New York to either seek a State
                 legislative change to maintain current Medicaid cover-
                 age formerly DACA-eligible immigrants with state dol-
                 lars only or limit Medicaid coverage to treatment of
                 emergency conditions for some or all of these individuals.
                 Harm to Small Cities, Counties, and Towns.
                    211. The States have an interest in preventing eco-
                 nomic and other harm to their small cities, towns, coun-
                 ties, and other small governmental jurisdictions.
                    212. Terminating DACA will harm small govern-
                 mental jurisdictions in the States. If DACA is termi-
                 nated, small governmental jurisdictions will lose tal-
                 ented and trained employees, adversely affecting op-
                 erations and costing time, money, and effort to replace




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                 and retrain these employees.        See, e.g., Ex. 111
                 ¶¶ 10-11 (Decl. Ambrosino & Bourque, City of Chelsea,
                 MA and Chelsea Public Schools); Ex. 113 ¶¶ 4-6 (Decl.
                 Schuh). Many of these employees are highly skilled
                 workers, including in critical fields such as nursing.
                 See, e.g., Ex. 135 ¶¶ 10, 13 (Decl. Rakes); Ex. 98 ¶ 7,
                 10-11 (Naveed).
                     213. Terminating DACA will have a direct, adverse
                 effect on economies and sales tax revenues of small
                 cities and towns, as DACA grantees will lose their jobs
                 and refrain from buying goods and services from local
                 vendors. See, e.g., Ex. 111 ¶ 16 (Decl. Ambrosino &
                 Bourque); Ex. 176 ¶¶ 8-10, 13 (Decl. Kennedy, City of
                 Newburgh).
                    214. DACA grantees average higher earning ca-
                 pacities than their undocumented peers and are able to
                 better participate in the States’ economies, for example
                 by purchasing homes and cars that are taxed by our
                 state and local authorities. See Ex. 5 ¶ 16 (Decl.
                 Wong). If DACA is terminated, cities and towns will
                 lose other local tax revenue, including real estate taxes
                 and motor vehicle excise taxes, from DACA grantees
                 who can no longer access lines of credit or afford to buy
                 cars or homes.
                    215. If DACA is terminated, small governmental
                 jurisdictions will lose the benefits that full access by
                 and participation of a diverse community fosters through
                 community activities, including, for example, activities
                 in libraries and local government-sponsored recrea-
                 tional camps or sports leagues. See, e.g, Ex. 109
                 ¶¶ 5-6 (Decl. Meyer, New Castle County, Del.). The
                 termination of DACA will also have a destructive effect
                 on local industries of small governmental jurisdictions
                 that rely on the work of highly qualified and trained




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                 DACA recipients. Ex. 176 ¶¶ 4, 8-10, 13 (Decl. Ken-
                 nedy, City of Newburgh).
                    216. Terminating DACA will also adversely affect
                 public safety, health, and wellbeing in the States’ cities,
                 towns, and schools. Without DACA status, DACA
                 grantees afraid of deportation will be less likely to
                 report violence, abuse, crimes or other harms to the
                 community. If DACA is terminated, 53% of current
                 DACA grantees may be less likely to report a crime
                 they witnessed; 47% may be less likely to report a
                 crime even if they were the victim; 48% may be less
                 likely to go to the hospital if they suffered an injury,
                 and 60% may be less likely to report wage theft by
                 their employer. See Ex. 5 ¶ 24 (Decl. Wong). This
                 will make it harder for local police and other officials to
                 provide for the public safety and welfare. See, e.g.,
                 Ex. 111 ¶ 15 (Decl. Ambrosino & Bourque); Ex. 108
                 ¶¶ 7-10 (Decl. Hughes); Ex. 109 ¶ 6 (Decl. Meyer); Ex.
                 116 ¶¶ 10-13 (Decl. Graham, Delaware Community
                 Legal Aid Society, Inc.). For example, since the
                 Trump Administration announced plans to end DACA,
                 Delaware law enforcement and legal aid have recog-
                 nized an increased reluctance among Delaware immi-
                 grants to engage with aspects of the criminal justice
                 system—even when that interaction would have been
                 to protect their own victim rights. See, e.g., Ex. 108
                 ¶¶ 7-10 (Decl. Hughes); Ex. 116 ¶¶ 10-13 (Decl. Gra-
                 ham).
                 Harm to School Districts, Including Small School
                 Districts.
                    217. The States have an interest in effectively ed-
                 ucating elementary and secondary students and in
                 preventing economic harm to small and large school
                 districts.




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                    218. If DACA is terminated, public school districts
                 will suffer financial harm as well as harm to their
                 educational missions.
                    219. The termination of DACA will cause school
                 districts to lose talented and experienced teachers and
                 other staff members who are DACA grantees, ad-
                 versely affecting student education and costing time,
                 money, and effort to replace and retrain these em-
                 ployees. See Ex. 111 ¶ 11 (Decl. Ambrosino & Bour-
                 que); Ex. 79 (Whaley, Denver Public Schools say end-
                 ing DACA would have “catastrophic” effect, Denver
                 Post, Aug. 31, 2017).
                    220. In Connecticut, Colorado, Illinois, Massachu-
                 setts, New Mexico, and New York, Teach for America
                 has placed teachers who are DACA grantees in shortage-
                 area subjects and hard-to-staff schools in low- income
                 communities. See Ex. 11 ¶¶ 3, 11 (Decl. Carrizales,
                 Teach For America). Terminating DACA will not only
                 deprive schools of their employees, but also deprive
                 students of teachers whose live experiences may mir-
                 ror their own lives. Id. ¶¶ 10, 11.
                    221. Public elementary and secondary schools have
                 a constitutional obligation to educate students irre-
                 spective of immigration status. See Plyler v. Doe,
                 457 U.S. 202 (1982). The termination of DACA will
                 harm the States’ ability to educate DACA-eligible
                 students as required by federal law. See Ex. 111
                 ¶¶ 12,14 (Decl. Ambrosino & Bourque); Ex. 112 ¶ 3-4
                 (Decl. Kanninen, Arlington, VA Public Schools).
                    222. If DACA-eligible students are no longer able
                 to work legally after high school or cannot afford to go
                 to college, these students will be less motivated to
                 achieve in school. See Ex. 111 ¶ 12 (Decl. Ambrosino
                 & Bourque); Ex. 112 ¶ 3 (Decl. Kanninen). This will




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                 result in lower scores and higher dropout rates for
                 these students. See Ex. 111 ¶ 12 (Decl. Ambrosino &
                 Bourque).
                    223. Poorer performance will impact school dis-
                 tricts’ accountability ratings and could require removal
                 of administrators and teachers as well as increased
                 state funding to flow to these school districts. See,
                 e.g., Ex. 179 (Mass. Dep’t of Early and Secondary
                 Educ., School Leader’s Guide to the 2017 Accountabil-
                 ity Determinations, Sept. 2017). Decreased school
                 performance will also negatively impact the communi-
                 ty, with families not wanting to buy homes in a lower-
                 performing district. See Ex. 111 ¶ 13 (Decl. Ambrosino
                 & Bourque).
                    224. Finally, DACA-eligible students will experi-
                 ence higher levels of anxiety about their futures and
                 their families’ futures, and will require additional coun-
                 seling and support from guidance counselors and other
                 school personnel, costing school districts time and
                 money. See Ex. 111 ¶ 14 (Decl. Ambrosino & Bour-
                 que).
                 Harm to Businesses and Nonprofits.
                   225. The States have an interest in their tax reve-
                 nues, economies, and the financial well-being of their
                 businesses and nonprofits.
                    226. Immigration is an important economic driver
                 in the States. Many of the States’ workers are immi-
                 grants, and many of those immigrant workers are
                 DACA grantees. See, e.g., Ex. 5 ¶ ¶ 28, 32, 36, 40, 44,
                 48, 52, 56, 60, 64, 68, 72, 76, 80, 84, 88 (Decl. Wong); Ex.
                 126 ¶ 11 (Decl. Read, Oregon State Treasurer); Ex. 95
                 ¶ 7 (Decl. Solano); Ex. 101 ¶ 4 (Decl. Preciado); Ex. 100
                 ¶ 6 (Decl. Nicolas); Ex. 124 ¶¶ 4, 10-11 (Decl. Sa-




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                 laveria); Ex. 168 ¶ 3 (Decl. Cabrera); Ex. 120 ¶ 4 (Decl.
                 Romero, Barrera Legal Group, PLLC); Ex. 174 ¶¶ 4,6,8
                 (Decl. Wylde, Partnership for NYC); Ex. 81 ¶¶ 2-3, 5-6
                 (Decl. Pinsky, ABNY). Many companies in the States
                 are dependent on DACA grantees to operate and grow
                 their businesses. The market for highly skilled work-
                 ers and employees is extremely competitive. Termi-
                 nating DACA grantees’ work authorization will inhibit
                 the States’ companies’ ability to adequately staff their
                 organizations, develop their workforces, recruit talent,
                 and maintain trained employees. The Center for Amer-
                 ican Progress estimates that it costs businesses roughly
                 one-fifth of a worker’s salary to replace a worker due to
                 productivity loss, the cost of hiring and training a new
                 employee, and ramp-up periods for new employees.
                 See Ex. 80 (Heather Boushey and Sarah Jane Glynn,
                 There Are Significant Business Costs to Replacing
                 Employees, Center for American Progress, November
                 16, 2012).
                    227. If companies lose employees and recruiting
                 efforts are less successful, their ability to develop and
                 deliver successful products and services may be ad-
                 versely affected. See e.g., Ex. 63 ¶¶ 4-5 (Decl. Blackwell-
                 Hawkins, Amazon); Ex. 90 ¶¶ 7-12, 14 (Decl. Shively,
                 Microsoft); Ex. 8 ¶¶ 7-8 (Decl. Mutty, Starbucks); Ex.
                 84 ¶¶ 4-11 (Decl. Kalvert, TripAdvisor); Ex. 119 ¶¶ 5-6
                 (Decl. Tingen, Tingen & Williams, PLLC); Ex. 174
                 ¶¶ 5-8 (Decl. Wylde, Partnership for NYC). For exam-
                 ple:
                    a. Colorado’s talented workforce has attracted ma-
                       jor industries to the State, including aerospace,
                       high-tech, start-ups, and STEM-based employ-
                       ers. Many companies in Colorado rely heavily
                       on immigrants to operate their business. Ter-




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                       minating DACA will disrupt these companies
                       with DACA employees that are forced to termi-
                       nate qualified and talented employees.
                    b. In Hawaii, businesses rely heavily on immigrants
                       who bring their talent, knowledge, and expertise
                       to Hawaii’s labor force. See Ex. 124 ¶ 4 (Decl.
                       Salaveria). Because of Hawaii’s low unemploy-
                       ment rate, the state’s businesses have had diffi-
                       culty filling their vacant positions. Id. ¶ 8.
                       The departure of the DACA population from
                       Hawaii’s workforce will cause even greater dif-
                       ficulty for Hawaii employers, and have a nega-
                       tive impact on Hawaii’s economy.             Id.
                       ¶ 11. Agriculture and forestry are two of Vir-
                       ginia’s largest private industries. The Virginia
                       Department of Agriculture and Consumer Ser-
                       vices estimates that approximately 1,944 of Vir-
                       ginia’s DACA grantees employed in primary ag-
                       ricultural production. See Ex. 129 ¶ 3 (Decl.
                       Gooden, Virginia Sec’y of Agriculture and For-
                       estry). Further, a percentage of DACA recip-
                       ients are also likely to be regulated pesticide
                       applicators. The loss of DACA status for these
                       individuals would harm agricultural production
                       and reduce income to Virginia from pesticide
                       applicator licensing fees. See id. ¶ 7.
                    c. In Washington, DACA grantees work for the
                       largest companies as software engineers, finance
                       professionals, and retail and sales associates, in-
                       cluding for Amazon, Microsoft and Starbucks.
                       See Ex. 63 ¶¶ 4-5 (Decl. Blackwell-Hawkins,
                       Amazon); Ex. 90 ¶¶ 7-12, 14 (Decl. Shively, Mi-
                       crosoft); Ex. 8 ¶¶ 7-8 (Decl. Mutty, Starbucks).




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                    d. In New York, businesses depend on the work of
                       DACA grantees. See Ex. 170 ¶¶ 3, 7-8, 10
                       (Decl. Schwartz, Univision); Ex. 169 ¶ 7 (Decl.
                       Greenberg, Warby Parker); Ex. 172 ¶¶ 4-5 (Decl.
                       Morales); Ex. 174 ¶¶ 4-8 (Decl. Wylde, Partner-
                       ship for NYC). DACA recipients are the con-
                       sumer base for many New York businesses.
                       Ex. 170 ¶¶ 5-6 (Decl. Schwartz, Univision); Ex.
                       169 ¶¶ 6-7 (Decl. Greenberg, Warby Parker).
                       DACA grantees also provide diverse perspec-
                       tives, and promote inclusiveness.       Ex. 170
                       ¶¶ 3-9 (Decl. Schwartz, Univision); Ex. 169
                       ¶¶ 8-11 (Decl. Greenberg, Warby Parker); Ex.
                       174 ¶¶ 5,8 (Decl. Wylde, Partnership for NYC); ;
                       Ex. 81 ¶¶ 2-8 (Decl. Pinsky, ABNY).
                    228. The impact on small businesses and nonprofit
                 organizations will be especially stark. For entities with
                 limited staff and operating budgets, losing even one
                 skilled and trained DACA grantee employee will place
                 an economic strain on operations, hiring, and training.
                 See, e.g, Ex. 118 ¶¶ 9-11 (Decl. Igneri); Ex. 117 ¶¶ 5-8
                 (Decl. Tracy); Ex. 120 ¶ 4 (Decl. Romero); Ex. 119
                 ¶¶ 5-6 (Decl. Tingen). Further, many DACA grantees
                 contribute their talents to nonprofits in a range of fields,
                 including education and civic engagement. See, e.g,
                 Ex. 55 ¶¶ 8-9 (Decl. Perez); Ex 98 ¶ 12 (Decl. 98
                 Naveed).
                    229. The mission of nonprofit organizations in the
                 States will also be adversely affected. Ex. 174 ¶¶ 3-8
                 (Decl. Wylde, Partnership for NYC). Many nonprofit
                 organizations in the States serve immigrant communi-
                 ties, including by providing legal services and advoca-
                 cy. Termination of DACA will throw families into
                 crisis, creating higher demand for services from or-




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                 ganizations with limited resources.       See Ex. 117
                 ¶¶ 12-14 (Decl. Tracy, Brazilian Worker Center); Ex.
                 115 ¶¶ 2-7 (Decl. Tack-Hooper, Am. Civil Liberties
                 Union of Delaware); Ex. 116 ¶¶ 2-8 (Decl. Graham).
                 Harm to Families.
                    230. The States have an interest in protecting the
                 welfare of all of their residents, including the families
                 of DACA grantees.
                    231. Terminating DACA will harm the general wel-
                 fare of the States’ DACA grantees and their families in
                 profound ways. Most DACA grantees live in house-
                 holds with family members who are American citizens.
                 One expert survey estimates that 73% percent of DACA
                 grantees in the country live with a citizen sibling,
                 spouse, or child. See Ex. 5 ¶ 34 (Decl. Wong). Termi-
                 nating DACA will lead to increased uncertainty in these
                 mixed-status families, and it will increase the likelihood
                 of splitting DACA grantees from their citizen family
                 members. See e.g., Ex. 176 ¶ 12 (Decl. Kennedy, City
                 of Newburgh). Moreover, many of these families rely
                 on the income of a DACA grantee, and DACA termina-
                 tion will threaten their financial and housing security.
                 See, e.g., Ex. 87 ¶ 8 (Decl. Rubin); Ex. 135 ¶ 8 (Decl.
                 Rakes); Ex. 157 ¶¶ 12-13 (Decl. Ridder); Ex. 172 ¶¶ 4-5,
                 7-8 (Decl. Morales); Ex. 173 ¶¶ 3, 5-6 (Decl. Hidalgo
                 Hernandez).
                     232. Many DACA grantees also have families over-
                 seas, including parents and siblings. DACA had made
                 it possible for these grantees to visit family members,
                 often for the first time in years. See, e.g., Ex. 72 ¶ 7
                 (Decl. Teodoro); Ex. 70 ¶ 5 (Decl. I.V.). Terminating
                 DACA will cause DACA grantees to lose touch with
                 these family members and become further estranged
                 from their countries of origin, making the prospect of




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                 deportation even more injurious to DACA grantees and
                 their families.
                               FIRST CAUSE OF ACTION
                          (Fifth Amendment - Equal Protection)
                    233. The States reallege and incorporate by refer-
                 ence the allegations set forth in each of the preceding
                 paragraphs of this Amended Complaint.
                   234. The Due Process Clause of the Fifth Amend-
                 ment prohibits the federal government from denying
                 equal protection of the laws.
                    235. The DHS Memorandum target individuals for
                 discriminatory treatment, without lawful justification.
                    236. The DHS Memorandum was motivated, at
                 least in part, by a discriminatory motive and/or a desire
                 to harm a particular group.
                    237. The discriminatory terms and application of
                 the DHS Memorandum cannot be sufficiently justified
                 by federal interests, under any standard of review.
                    238. Through their actions above, Defendants have
                 violated the equal protection guarantee of the Fifth
                 Amendment.
                    239. Defendants’ violation causes ongoing harm to
                 the States and their residents.
                              SECOND CAUSE OF ACTION
                    (Fifth Amendment - Due Process - Information Use)
                    240. The States reallege and incorporate by refer-
                 ence the allegations set forth in each of the preceding
                 paragraphs of this Amended Complaint.




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                    241. The Due Process Clause of the Fifth Amend-
                 ment requires that actions taken by the federal gov-
                 ernment be fundamentally fair.
                    242. Given the federal government’s prior repre-
                 sentations about the allowable uses of information pro-
                 vided by DACA applicants, the change to DHS’s policy
                 of protecting against the disclosure of information in
                 DACA applications and renewal requests is fundamen-
                 tally unfair.
                    243. Also given the federal government’s prior rep-
                 resentations about the allowable uses of information
                 provided by DACA applicants, the new policy’s refusal
                 to prohibit the use of information contained in DACA
                 applications and renewal requests for purposes of im-
                 migration enforcement—including identifying, appre-
                 hending, detaining, or deporting non-citizens—is fun-
                 damentally unfair.
                    244. Through their actions above, Defendants have
                 violated the due process guarantee of the Fifth Amend-
                 ment.
                    245. Defendants’ violation causes ongoing harm to
                 the States and their residents.
                              THIRD CAUSE OF ACTION
                                  (Equitable Estoppel)
                    246. The States reallege and incorporate by refer-
                 ence the allegations set forth in each of the preceding
                 paragraphs of this Amended Complaint.
                    247. The doctrine of equitable estoppel prevents
                 injustice where the government has made representa-
                 tions on which individuals have reasonably and detri-
                 mentally relied.




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                    248. In order to encourage DACA applications,
                 Defendants made repeated, affirmative statements
                 about the protections that would be given to the per-
                 sonal information provided by DACA applicants. De-
                 fendants also placed affirmative restrictions on the use
                 of such information for purposes of immigration en-
                 forcement.
                    249. In submitting DACA applications and renewal
                 requests, DACA applicants reasonably and detrimen-
                 tally relied on Defendants’ affirmative representations
                 and conduct.
                    250. Defendants should be equitably estopped from
                 revoking DHS’s longstanding, affirmative policy of pro-
                 tecting against the disclosure of information in DACA
                 applications and renewal requests.
                    251. Equitable estoppel should also bar Defendants
                 from implementing DHS’s new policy of refusing to
                 prohibit the use of information contained in DACA ap-
                 plications and renewal requests for purposes of immi-
                 gration enforcement, including to identify, apprehend,
                 detain, or deport non-citizens.
                    252. Failure to estop Defendants from revoking
                 DHS’s previous policy and imposing the new policy will
                 harm the States and their residents.
                             FOURTH CAUSE OF ACTION
                 (Administrative Procedure Act - Substantively Arbitrary
                    and Capricious, Abuse of Discretion, Contrary to
                                Constitution or Statute)
                    253. The States reallege and incorporate by refer-
                 ence the allegations set forth in each of the preceding
                 paragraphs of this Amended Complaint.




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                    254. The Administrative Procedure Act (“APA”),
                 5 U.S.C. § 706(2), prohibits federal agency action that
                 is arbitrary, unconstitutional, and contrary to statute.
                 In implementing the DHS Memorandum and terminat-
                 ing DACA with minimal formal guidance, federal agen-
                 cies have taken unconstitutional and unlawful action, as
                 alleged herein, in violation of the Administrative Pro-
                 cedure Act.
                    255. In promulgating and implementing the DHS
                 Memorandum, federal agencies have abused their dis-
                 cretion, and acted arbitrarily and capriciously and other-
                 wise not in accordance with law, in violation of the
                 APA.
                    256. Defendants’ violation causes ongoing harm to
                 the States and their residents.
                               FIFTH CAUSE OF ACTION
                  (Administrative Procedure Act - Procedurally Arbitrary
                          and Capricious, Notice and Comment)
                    257. The States reallege and incorporate by refer-
                 ence the allegations set forth in each of the preceding
                 paragraphs of this Amended Complaint.
                    258. The APA, 5 U.S.C. §§ 553 and 706(2)(D), re-
                 quires that federal agencies conduct formal rule mak-
                 ing before engaging in action that impacts substantive
                 rights.
                    259. DHS is an “agency” under the APA.        5 U.S.C.
                 § 551(1).
                    260. The actions that DHS has taken to implement
                 the DHS Memorandum are “rules” under the APA.
                 5 U.S.C. § 551(4).




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                    261. In promulgating and implementing the DHS
                 Memorandum, federal agencies have categorically and
                 definitively changed the substantive criteria by which
                 individual DACA grantees work, live, attend school,
                 obtain credit, and travel in the United States. Feder-
                 al agencies did not follow the procedures required by
                 the APA before taking action impacting these substan-
                 tive rights.
                    262. With exceptions that are not applicable here,
                 agency rules must go through notice-and-comment rule-
                 making. 5 U.S.C. § 553.
                    263. The Defendants promulgated and relied upon
                 the rules established by the DHS Memorandum with-
                 out authority and without notice-and-comment rule-
                 making in violation of the APA.
                    264. The States will be impacted because they have
                 not had the opportunity to comment on the termination
                 of DACA.
                    265. Defendants’ violation causes ongoing harm to
                 the States and their residents.
                               SIXTH CAUSE OF ACTION
                       (Regulatory Flexibility Act - Failure to Issue
                            Regulatory Flexibility Analyses)
                    266. The States reallege and incorporate by refer-
                 ence the allegations set forth in each of the preceding
                 paragraphs of this Amended Complaint.
                    267. The Regulatory Flexibility Act, 5 U.S.C.
                 §§ 601-612 (“RFA”), requires federal agencies to ana-
                 lyze the impact of rules they promulgate on small enti-
                 ties and publish initial and final versions of those anal-
                 yses for public comment. 5 U.S.C. §§ 603-604.




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                    268. “Small entities” for purposes of the RFA in-
                 cludes small businesses, small nonprofits, and small
                 governmental jurisdictions. 5 U.S.C. § 601(6).
                    269. The promulgation and implementation of the
                 DHS Memorandum established “rules” under the RFA.
                 5 U.S.C. § 601(2).
                    270. Implementation of the DHS Memorandum is
                 likely to have a significant economic impact on a sub-
                 stantial number of small entities. 5 U.S.C. § 602(a)(1).
                    271. Defendants have not issued the required anal-
                 yses of DHS’s new rules.
                     272. Defendants’ failure to issue the initial and final
                 Regulatory Flexibility Analyses violates the RFA and
                 is unlawful.
                    273. Defendants’ violation causes ongoing harm to
                 the States, their small governmental jurisdictions, non-
                 profits, and businesses, and their residents.
                             SEVENTH CAUSE OF ACTION
                       (Fifth Amendment-Procedural Due Process)
                    274. The Plaintiff States re-allege and incorporate
                 by reference the allegations set forth in each of the
                 preceding paragraphs of this Amended Complaint.
                    275. The Due Process Clause of the Fifth Amend-
                 ment prohibits the federal government from depriving
                 individuals of their liberty interests or property inter-
                 ests without due process of law.
                    276. Defendants have failed to provide DACA
                 grantees with the due process to which they are enti-
                 tled, by failing to provide them with adequate notice
                 about the procedures and timeline for renewing their
                 DACA status.




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                    277. Defendants have failed to provide DACA
                 grantees with the due process to which they are enti-
                 tled, by failing to give them adequate notice about the
                 general termination of the DACA program after March
                 5, 2018 and by failing to provide DACA grantees ade-
                 quate notice of their inability to apply for renewal of
                 their DACA status after March 5, 2018.
                    278. Defendants are thus depriving Plaintiff States’
                 residents of their liberty and property interests in liv-
                 ing and working in the United States without providing
                 them adequate notice or opportunity to be heard.
                    279. Defendants’ conduct violates the Due Process
                 Clause of the Fifth Amendment.
                    280. Defendants’ violations cause ongoing harm to
                 the States and their residents.
                                 PRAYER FOR RELIEF
                    281. Wherefore, the States pray that the Court:
                         a.   Declare that the DHS Memorandum ter-
                              minating the DACA program is unauthor-
                              ized by and contrary to the Constitution
                              and laws of the United States;
                         b.   Declare that the actions that DHS has
                              taken to implement the DHS Memoran-
                              dum terminating the DACA program are
                              procedurally unlawful under the APA;
                         c.   Declare that the actions that DHS has
                              taken to implement the DHS Memoran-
                              dum terminating the DACA program are
                              substantively unlawful under the APA;
                         d.   Declare that the actions that DHS has
                              taken to implement the DHS Memoran-




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                               dum terminating the DACA program are
                               unlawful under the RFA;
                         e.    Enjoin Defendants from terminating the
                               DACA program, including enjoining the
                               Defendants from limiting rights to submit
                               applications to renew DACA benefits,
                               pending further orders from this Court;
                         f.    Enjoin Defendants from revoking the
                               DHS policy protecting DACA application
                               and renewal data from disclosure to ICE,
                               CBP, or any other agency for purposes of
                               immigration enforcement;
                         g.    Enjoin Defendants from using information
                               obtained in any DACA application or re-
                               newal request to identify, apprehend, de-
                               tain, or deport any DACA applicant or
                               member of any DACA applicant’s family,
                               or take any action against a DACA appli-
                               cant’s current or former employer; and
                         h.    Award such additional relief as the inter-
                               ests of justice may require.

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                  The Department of Homeland Security’s Authority to
                 Prioritize Removal of Certain Aliens Unlawfully Present
                   in the United States and to Defer Removal of Others
                 The Department of Homeland Security’s proposed pol-
                   icy to prioritize the removal of certain aliens unlaw-
                   fully present in the United States would be a per-
                   missible exercise of DHS’s discretion to enforce the
                   immigration laws.
                 The Department of Homeland Security’s proposed de-
                   ferred action program for parents of U.S. citizens
                   and legal permanent residents would also be a per-
                   missible exercise of DHS’s discretion to enforce the
                   immigration laws.
                 The Department of Homeland Security’s proposed de-
                   ferred action program for parents of recipients o
                   deferred action under the Deferred Action for
                   Childhood Arrivals program would not be a permis-
                   sible exercise of DHS’ s enforcement discretion.
                                                           Nov. 19, 2014
                      MEMORANDUM OPINION FOR THE SECRETARY
                      OF HOMELAND SECURITY AND THE COUNSEL
                                TO THE PRESIDENT
                     You have asked two questions concerning the scope
                 of the Department of Homeland Security’s discretion to
                 enforce the immigration laws. First, you have asked
                 whether, in light of the limited resources available to
                 the Department (“DHS”) to remove aliens unlawfully
                 present in the United States, it would be legally per-
                 missible for the Department to implement a policy pri-
                 oritizing the removal of certain categories of aliens
                 over others. DHS has explained that although there
                 are approximately 11.3 million undocumented aliens in
                 the country, it has the resources to remove fewer than




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                 400,000 such aliens each year. DHS’s proposed policy
                 would prioritize the removal of aliens who present
                 threats to national security, public safety, or border
                 security. Under the proposed policy, DHS officials
                 could remove an alien who did not fall into one of these
                 categories provided that an Immigration and Customs
                 Enforcement (“ICE”) Field Office Director determined
                 that “removing such an alien would serve an important
                 federal interest.” Draft Memorandum for Thomas S.
                 Winkowski, Acting Director, ICE, et al., from Jeh
                 Charles Johnson, Secretary of Homeland Security, Re:
                 Policies for the Apprehension, Detention, and Remov-
                 al of Undocumented Immigrants at 5 (Nov. 17, 2014)
                 (“Johnson Prioritization Memorandum”).
                     Second, you have asked whether it would be permis-
                 sible for DHS to extend deferred action, a form of
                 temporary administrative relief from removal, to cer-
                 tain aliens who are the parents of children who are
                 present in the United States. Specifically, DHS has
                 proposed to implement a program under which an alien
                 could apply for, and would be eligible to receive, de-
                 ferred action if he or she is not a DHS removal priority
                 under the policy described above; has continuously
                 resided in the United States since before January 1,
                 2010; has a child who is either a U.S. citizen or a lawful
                 permanent resident; is physically present in the United
                 States both when DHS announces its program and at
                 the time of application for deferred action; and pre-
                 sents “no other factors that, in the exercise of discre-
                 tion, make[] the grant of deferred action inappropri-
                 ate.” Draft Memorandum for Leon Rodriguez, Di-
                 rector, U.S. Citizenship and Immigration Services, et
                 al., from Jeh Charles Johnson, Secretary of Homeland
                 Security, Re: Exercising Prosecutorial Discretion
                 with Respect to Individuals Who Came to the United




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                 States as Children and Others at 4 (Nov. 17, 2014)
                 (“Johnson Deferred Action Memorandum”). You have
                 also asked whether DHS could implement a similar
                 program for parents of individuals who have received
                 deferred action under the Deferred Action for Child-
                 hood Arrivals (“DACA”) program.
                    As has historically been true of deferred action,
                 these proposed deferred action programs would not
                 “legalize” any aliens who are unlawfully present in the
                 United States: Deferred action does not confer any
                 lawful immigration status, nor does it provide a path to
                 obtaining permanent residence or citizenship. Grants
                 of deferred action under the proposed programs would,
                 rather, represent DHS’s decision not to seek an alien’s
                 removal for a prescribed period of time. See generally
                 Reno v. Am.-Arab Anti-Discrim. Comm., 525 U.S. 471,
                 483-84 (1999) (describing deferred action). Under
                 decades-old regulations promulgated pursuant to au-
                 thority delegated by Congress, see 8 U.S.C. §§ l 103(a)(3),
                 1324a(h)(3), aliens who are granted deferred action—
                 like certain other categories of aliens who do not have
                 lawful immigration status, such as asylum applicants
                 —may apply for authorization to work in the United
                 States in certain circumstances, 8 C.F.R. § 274a.12(c)(14)
                 (providing that deferred action recipients may apply
                 for work authorization if they can show an “economic
                 necessity for employment”); see also 8 C.F.R. § 109.1(b)(7)
                 (1982). Under DHS policy guidance, a grant of de-
                 ferred action also suspends an alien’s accrual of unlaw-
                 ful presence for purposes of 8 U.S.C. § 1182(a)(9)(B)(i)
                 and (a)(9)(C)(i)(I), provisions that restrict the admis-
                 sion of aliens who have departed the United States
                 after having been unlawfully present for specified per-
                 iods of time. A grant of deferred action under the pro-
                 posed programs would remain in effect for three years,




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                 subject to renewal, and could be terminated at any time
                 at DHS’s discretion. See Johnson Deferred Action
                 Memorandum at 2, 5.
                    For the reasons discussed below, we conclude that
                 DHS’s proposed prioritization policy and its proposed
                 deferred action program for parents of U.S. citizens
                 and lawful permanent residents would be permissible
                 exercises of DHS’s discretion to enforce the immigra-
                 tion laws. We further conclude that, as it has been
                 described to us, the proposed deferred action program
                 for parents of DACA recipients would not be a permis-
                 sible exercise of enforcement discretion.
                                           I.
                    We first address DHS’s authority to prioritize the
                 removal of certain categories of aliens over others.
                 We begin by discussing some of the sources and limits
                 of DHS’s enforcement discretion under the immigra-
                 tion laws, and then analyze DHS’s proposed prioritiza-
                 tion policy in light of these considerations.
                                           A.
                    DHS’s authority to remove aliens from the United
                 States rests on the Immigration and Nationality Act of
                 1952 (“INA”), as amended, 8 U.S.C. §§ 1101 et seq. In
                 the INA, Congress established a comprehensive scheme
                 governing immigration and naturalization. The INA
                 specifies certain categories of aliens who are inadmis-
                 sible to the United States. See 8 U.S.C. § 1182. It
                 also specifies “which aliens may be removed from the
                 United States and the procedures for doing so.” Ari-
                 zona v. United States, 132 S. Ct. 2492, 2499 (2012).
                 “Aliens may be removed if they were inadmissible at
                 the time of entry, have been convicted of certain
                 crimes, or meet other criteria set by federal law.” Id.




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                 (citing 8 U.S.C. § 1227); see 8 U.S.C. § 1227(a) (provid-
                 ing that “[a]ny alien . . . in and admitted to the
                 United States shall, upon the order of the Attorney
                 General, be removed if the alien” falls within one or
                 more classes of deportable aliens); see also 8 U.S.C.
                 § 1182(a) (listing classes of aliens ineligible to receive
                 visas or be admitted to the United States). Removal
                 proceedings ordinarily take place in federal immigra-
                 tion courts administered by the Executive Office for
                 Immigration Review, a component of the Department
                 of Justice. See id. § 1229a (governing removal pro-
                 ceedings); see also id. §§ 1225(b)(1)(A), 1228(b) (setting
                 out expedited removal procedures for certain arriving
                 aliens and certain aliens convicted of aggravated felo-
                 nies).
                    Before 2003, the Department of Justice, through the
                 Immigration and Naturalization Service (“INS”), was
                 also responsible for providing immigration-related ad-
                 ministrative services and generally enforcing the im-
                 migration laws. In the Homeland Security Act of
                 2002, Pub. L. No. 107-296, 116 Stat. 2135, Congress
                 transferred most of these functions to DHS, giving it
                 primary responsibility both for initiating removal pro-
                 ceedings and for carrying out final orders of removal.
                 See 6 U.S.C. §§ 101 et seq.; see also Clark v. Martinez,
                 543 U.S. 371, 374 n.1 (2005) (noting that the immigra-
                 tion authorities previously exercised by the Attorney
                 General and INS “now reside” in the Secretary of
                 Homeland Security and DHS). The Act divided INS’s
                 functions among three different agencies within DHS:
                 U.S. Citizenship and Immigration Services (“USCIS”),
                 which oversees legal immigration into the United
                 States and provides immigration and naturalization
                 services to aliens; ICE, which enforces federal laws
                 governing customs, trade, and immigration; and U.S.




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                 Customs and Border Protection (“CBP”), which moni-
                 tors and secures the nation’s borders and ports of en-
                 try. See Pub. L. No. 107-296, §§ 403, 442, 451, 471,
                 116 Stat. 2135, 2178, 2193, 2195, 2205; see also Name
                 Change From the Bureau of Citizenship and Immi-
                 gration Services to U.S. Citizenship and Immigration
                 Services, 69 Fed. Reg. 60938, 60938 (Oct. 13, 2004);
                 Name Change of Two DHS Components, 75 Fed. Reg.
                 12445, 12445 (Mar. 16, 2010). The Secretary of Home-
                 land Security is thus now “charged with the admin-
                 istration and enforcement of [the INA] and all other
                 laws relating to the immigration and naturalization of
                 aliens.” 8 U.S.C. § 1103(a)(1).
                     As a general rule, when Congress vests enforcement
                 authority in an executive agency, that agency has the
                 discretion to decide whether a particular violation of
                 the law warrants prosecution or other enforcement ac-
                 tion. This discretion is rooted in the President’s con-
                 stitutional duty to “take Care that the Laws be faith-
                 fully executed,” U.S. Const. art. II, § 3, and it reflects a
                 recognition that the “faithful[]” execution of the law
                 does not necessarily entail “act[ing] against each tech-
                 nical violation of the statute” that an agency is charged
                 with enforcing. Heckler v. Chaney, 470 U.S. 821, 831
                 (1985). Rather, as the Supreme Court explained in
                 Chaney, the decision whether to initiate enforcement
                 proceedings is a complex judgment that calls on the
                 agency to “balanc[e] . . . a number of factors which
                 are peculiarly within its expertise.” Id. These fac-
                 tors include “whether agency resources are best spent
                 on this violation or another, whether the agency is like-
                 ly to succeed if it acts, whether the particular enforce-
                 ment action requested best fits the agency’s overall
                 policies, and . . . whether the agency has enough
                 resources to undertake the action at all.” Id. at 831; cf




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                 United States v. Armstrong, 517 U.S. 456, 465 (1996)
                 (recognizing that exercises of prosecutorial discretion
                 in criminal cases involve consideration of “ ‘[s]uch fac-
                 tors as the strength of the case, the prosecution’s gen-
                 eral deterrence value, the Government’s enforcement
                 priorities, and the case’s relationship to the Govern-
                 ment’s overall enforcement plan’ ” (quoting Wayte v.
                 United States, 470 U.S. 598, 607 (1985))). In Chaney,
                 the Court considered and rejected a challenge to the
                 Food and Drug Administration’s refusal to initiate en-
                 forcement proceedings with respect to alleged viola-
                 tions of the Federal Food, Drug, and Cosmetic Act,
                 concluding that an agency’s decision not to initiate en-
                 forcement proceedings is presumptively immune from
                 judicial review. See 470 U.S. at 832. The Court
                 explained that, while Congress may “provide[] guide-
                 lines for the agency to follow in exercising its enforce-
                 ment powers,” in the absence of such “legislative direc-
                 tion,” an agency’s non-enforcement determination is,
                 much like a prosecutor’s decision not to indict, a “spe-
                 cial province of the Executive.” Id. at 832-33.
                    The principles of enforcement discretion discussed
                 in Chaney apply with particular force in the context of
                 immigration. Congress enacted the INA against a
                 background understanding that immigration is “a field
                 where flexibility and the adaptation of the congres-
                 sional policy to infinitely variable conditions constitute
                 the essence of the program.” United States ex rel.
                 Knauff v. Shaughnessy, 338 U.S. 537, 543 (1950) (in-
                 ternal quotation marks omitted). Consistent with this
                 understanding, the INA vested the Attorney General
                 (now the Secretary of Homeland Security) with broad
                 authority to “establish such regulations; . . . issue
                 such instructions; and perform such other acts as he
                 deems necessary for carrying out his authority” under




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                 the statute. 8 U.S.C. § 1103(a)(3). Years later, when
                 Congress created the Department of Homeland Secu-
                 rity, it expressly charged DHS with responsibility for
                 “[e]stablishing national immigration enforcement poli-
                 cies and priorities.” Homeland Security Act of 2002,
                 Pub. L. No. 107-296, § 402(5), 116 Stat. 2135, 2178 (cod-
                 ified at 6 U.S.C. § 202(5)).
                    With respect to removal decisions in particular, the
                 Supreme Court has recognized that “the broad discre-
                 tion exercised by immigration officials” is a “principal
                 feature of the removal system” under the INA Arizo-
                 na, 132 S. Ct. at 2499. The INA expressly authorizes
                 immigration officials to grant certain forms of discre-
                 tionary relief from removal for aliens, including parole,
                 8 U.S.C. § 1182(d)(5)(A); asylum, id. § 1158(b)(1)(A);
                 and cancellation of removal, id. § 1229b. But in addi-
                 tion to administering these statutory forms of relief,
                 “[f]ederal officials, as an initial matter, must decide
                 whether it makes sense to pursue removal at all.”
                 Arizona, 132 S. Ct. at 2499. And, as the Court has
                 explained, “[a]t each stage” of the removal process
                 —“commenc[ing] proceedings, adjudicat[ing] cases,
                 [and] execut[ing] removal orders”—immigration offi-
                 cials have “discretion to abandon the endeavor.”
                 Am.-Arab Anti-Discrim. Comm., 525 U.S. at 483
                 (quoting 8 U.S.C. § 1252(g) (alterations in original)).
                 Deciding whether to pursue removal at each of these
                 stages implicates a wide range of considerations. As
                 the Court observed in Arizona:
                    Discretion in the enforcement of immigration law
                    embraces immediate human concerns. Unauthor-
                    ized workers trying to support their families, for
                    example, likely pose less danger than alien smug-
                    glers or aliens who commit a serious crime. The




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                    equities of an individual case may turn on many fac-
                    tors, including whether the alien has children born
                    in the United States, long ties to the community, or
                    a record of distinguished military service. Some dis-
                    cretionary decisions involve policy choices that bear
                    on this Nation’s international relations. . . . The
                    foreign state may be mired in civil war, complicit in
                    political persecution, or enduring conditions that
                    create a real risk that the alien or his family will be
                    harmed upon return. The dynamic nature of rela-
                    tions with other countries requires the Executive
                    Branch to ensure that enforcement policies are con-
                    sistent with this Nation’s foreign policy with respect
                    to these and other realities.
                 132 S. Ct. at 2499.
                    Immigration officials’ discretion in enforcing the
                 laws is not, however, unlimited. Limits on enforce-
                 ment discretion are both implicit in, and fundamental
                 to, the Constitution’s allocation of governmental pow-
                 ers between the two political branches. See, e.g.,
                 Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,
                 587-88 (1952). These limits, however, are not clearly
                 defined. The open-ended nature of the inquiry under
                 the Take Care Clause—whether a particular exercise
                 of discretion is “faithful[]” to the law enacted by
                 Congress—does not lend itself easily to the application
                 of set formulas or bright-line rules. And because the
                 exercise of enforcement discretion generally is not sub-
                 ject to judicial review, see Chaney, 470 U.S. at 831-33,
                 neither the Supreme Court nor the lower federal courts
                 have squarely addressed its constitutional bounds.
                 Rather, the political branches have addressed the pro-
                 per allocation of enforcement authority through the
                 political process. As the Court noted in Chaney, Con-




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                 gress “may limit an agency’s exercise of enforcement
                 power if it wishes, either by setting substantive priori-
                 ties, or by otherwise circumscribing an agency’s power
                 to discriminate among issues or cases it will pursue.”
                 Id. at 833. The history of immigration policy illus-
                 trates this principle: Since the INA was enacted, the
                 Executive Branch has on numerous occasions exercised
                 discretion to extend various forms of immigration relief
                 to categories of aliens for humanitarian, foreign policy,
                 and other reasons. When Congress has been dissatis-
                 fied with Executive action, it has responded, as Chaney
                 suggests, by enacting legislation to limit the Execu-
                 tive’s discretion in enforcing the immigration laws. 1
                    Nonetheless, the nature of the Take Care duty does
                 point to at least four general (and closely related) prin-
                 ciples governing the permissible scope of enforcement
                 discretion that we believe are particularly relevant here.
                 First, enforcement decisions should reflect “factors
                 which are peculiarly within [the enforcing agency’s]
                 expertise.” Chaney, 470 U.S. at 831. Those factors
                 may include considerations related to agency resourc-
                 es, such as “whether the agency has enough resources
                 to undertake the action,” or “whether agency resources
                 are best spent on this violation or another.” Id. Other
                 relevant considerations may include “the proper or-
                 dering of [the agency’s] priorities,” id. at 832, and the
                 agency’s assessment of “whether the particular en-



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                     See, e.g., Adam B. Cox & Cristina M. Rodriguez, The President
                 and Immigration Law, 119 Yale L.J. 458, 503-05 (2009) (describing
                 Congress’s response to its dissatisfaction with the Executive’s use
                 of parole power for refugee populations in the 1960s and 1970s); see
                 also, e.g., infra note 5 (discussing legislative limitations on volun-
                 tary departure and extended voluntary departure).




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                 forcement action [at issue] best fits the agency’s overall
                 policies,” id. at 831.
                     Second, the Executive cannot, under the guise of ex-
                 ercising enforcement discretion, attempt to effectively
                 rewrite the laws to match its policy preferences. See
                 id. at 833 (an agency may not “disregard legislative
                 direction in the statutory scheme that [it] adminis-
                 ters”). In other words, an agency’s enforcement deci-
                 sions should be consonant with, rather than contrary
                 to, the congressional policy underlying the statutes the
                 agency is charged with administering. Cf. Youngs-
                 town, 343 U.S. at 637 (Jackson, J., concurring) (“When
                 the President takes measures incompatible with the
                 expressed or implied will of Congress, his power is at
                 its lowest ebb.”); Nat’l Ass’n of Home Builders v. De-
                 fenders of Wildlife, 551 U.S. 644, 658 (2007) (explaining
                 that where Congress has given an agency the power to
                 administer a statutory scheme, a court will not vacate
                 the agency’s decision about the proper administration
                 of the statute unless, among other things, the agency
                 “ ‘has relied on factors which Congress had not intend-
                 ed it to consider’ ” (quoting Motor Vehicle Mfrs. Ass’n
                 of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.
                 29, 43 (1983))).
                    Third, the Executive Branch ordinarily cannot, as
                 the Court put it in Chaney, “ ‘consciously and expressly
                 adopt[] a general policy’ that is so extreme as to
                 amount to an abdication of its statutory responsibili-
                 ties.” 470 U.S. at 833 n.4 (quoting Adams v. Richard-
                 son, 480 F.2d 1159, 1162 (D.C. Cir. 1973) (en banc)); see
                 id. (noting that in situations where an agency had
                 adopted such an extreme policy, “the statute conferring
                 authority on the agency might indicate that such deci-
                 sions were not ‘committed to agency discretion’ ”).




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                 Abdication of the duties assigned to the agency by
                 statute is ordinarily incompatible with the constitu-
                 tional obligation to faithfully execute the laws. But
                 see, e.g., Presidential Authority to Decline to Execute
                 Unconstitutional Statutes, 18 Op. O.L.C. 199, 200
                 (1994) (noting that under the Take Care Clause, “the
                 President is required to act in accordance with the
                 laws—including the Constitution, which takes prece-
                 dence over other forms of law”).
                     Finally, lower courts, following Chaney, have indi-
                 cated that non-enforcement decisions are most com-
                 fortably characterized as judicially unreviewable exer-
                 cises of enforcement discretion when they are made on
                 a case-by-case basis. See, e.g., Kenney v. Glickman,
                 96 F.3d 1118, 1123 (8th Cir. 1996); Crowley Caribbean
                 Transp., Inc. v. Peña, 37 F.3d 671, 676-77 (D.C. Cir.
                 1994). That reading of Chaney reflects a conclusion
                 that case-by-case enforcement decisions generally
                 avoid the concerns mentioned above. Courts have
                 noted that “single-shot non-enforcement decisions” al-
                 most inevitably rest on “the sort of mingled assess-
                 ments of fact, policy, and law . . . that are, as
                 Chaney recognizes, peculiarly within the agency’s
                 expertise and discretion.”          Crowley Caribbean
                 Transp., 37 F.3d at 676-77 (emphasis omitted). Indi-
                 vidual enforcement decisions made on the basis of
                 case-specific factors are also unlikely to constitute
                 “general polic[ies] that [are] so extreme as to amount
                 to an abdication of [the agency’s] statutory responsibil-
                 ities.” Id. at 677 (quoting Chaney, 477 U.S. at 833
                 n.4). That does not mean that all “general policies”
                 respecting non-enforcement are categorically forbid-
                 den:     Some “general policies” may, for example,
                 merely provide a framework for making individualized,
                 discretionary assessments about whether to initiate en-




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                 forcement actions in particular cases. Cf. Reno v.
                 Flores, 507 U.S. 292, 313 (1993) (explaining that an
                 agency’s use of “reasonable presumptions and generic
                 rules” is not incompatible with a requirement to make
                 individualized determinations). But a general policy
                 of non-enforcement that forecloses the exercise of case-
                 by-case discretion poses “special risks” that the agency
                 has exceeded the bounds of its enforcement discretion.
                 Crowley Caribbean Transp., 37 F.3d at 677.
                                            B.
                    We now turn, against this backdrop, to DHS’s pro-
                 posed prioritization policy. In their exercise of en-
                 forcement discretion, DHS and its predecessor, INS,
                 have long employed guidance instructing immigration
                 officers to prioritize the enforcement of the immigra-
                 tion laws against certain categories of aliens and to de-
                 prioritize their enforcement against others. See, e.g.,
                 INS Operating Instructions § 103(a)(l)(i) (1962); Mem-
                 orandum for All Field Office Directors, ICE, et al.,
                 from John Morton, Director, ICE, Re: Exercising
                 Prosecutorial Discretion Consistent with the Civil Im-
                 migration Enforcement Priorities of the Agency for
                 the Apprehension, Detention, and Removal of Aliens
                 (June 17, 2011); Memorandum for All ICE Employees,
                 from John Morton, Director, ICE, Re: Civil Immi-
                 gration Enforcement: Priorities for the Apprehen-
                 sion, Detention, and Removal of Aliens (Mar. 2, 2011);
                 Memorandum for Regional Directors, INS, et al., from
                 Doris Meissner, Commissioner, INS, Re: Exercising
                 Prosecutorial Discretion (Nov. 17, 2000). The policy
                 DHS proposes, which is similar to but would supersede
                 earlier policy guidance, is designed to “provide clearer
                 and more effective guidance in the pursuit” of DHS’s
                 enforcement priorities; namely, “threats to national




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                 security, public safety and border security.”    Johnson
                 Prioritization Memorandum at 1.
                    Under the proposed policy, DHS would identify
                 three categories of undocumented aliens who would be
                 priorities for removal from the United States. See
                 generally id. at 3-5. The highest priority category
                 would include aliens who pose particularly serious
                 threats to national security, border security, or public
                 safety, including aliens engaged in or suspected of es-
                 pionage or terrorism, aliens convicted of offenses rela-
                 ted to participation in criminal street gangs, aliens con-
                 victed of certain felony offenses, and aliens apprehend-
                 ded at the border while attempting to enter the United
                 States unlawfully. See id. at 3. The second-highest
                 priority would include aliens convicted of multiple or
                 significant misdemeanor offenses; aliens who are ap-
                 prehended after unlawfully entering the United States
                 who cannot establish that they have been continuously
                 present in the United States since January 1, 2014; and
                 aliens determined to have significantly abused the visa
                 or visa waiver programs. See id. at 3-4. The third
                 priority category would include other aliens who have
                 been issued a final order of removal on or after Janu-
                 ary 1, 2014. See id. at 4. The policy would also pro-
                 vide that none of these aliens should be prioritized for
                 removal if they “qualify for asylum or another form of
                 relief under our laws.” Id. at 3-5.
                    The policy would instruct that resources should be
                 directed to these priority categories in a manner “com-
                 mensurate with the level of prioritization identified.”
                 Id. at 5. It would, however, also leave significant room
                 for immigration officials to evaluate the circumstances
                 of individual cases. See id. (stating that the policy
                 “requires DHS personnel to exercise discretion based




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                 on individual circumstances”). For example, the poli-
                 cy would permit an ICE Field Office Director, CBP
                 Sector Chief, or CBP Director of Field Operations to
                 deprioritize the removal of an alien falling in the high-
                 est priority category if, in her judgment, “there are
                 compelling and exceptional factors that clearly indicate
                 the alien is not a threat to national security, border
                 security, or public safety and should not therefore be
                 an enforcement priority.” Id. at 3. Similar discre-
                 tionary provisions would apply to aliens in the second
                 and third priority categories. 2 The policy would also
                 provide a non-exhaustive list of factors DHS personnel
                 should consider in making such deprioritization judg-
                 ments. 3 In addition, the policy would expressly state
                 that its terms should not be construed “to prohibit or
                 discourage the apprehension, detention, or removal of
                 aliens unlawfully in the United States who are not
                 identified as priorities,” and would further provide that

                  2
                     Under the proposed policy, aliens in the second tier could be
                 deprioritized if, “in the judgment of an ICE Field Office Director,
                 CBP Sector Chief, CBP Director of Field Operations, USCIS Dis-
                 trict Director, or USCIS Service Center Director, there are factors
                 indicating the alien is not a threat to national security, border sec-
                 urity, or public safety, and should not therefore be an enforcement
                 priority.” Johnson Prioritization Memorandum at 4. Aliens in the
                 third tier could be deprioritized if, “in the judgment of an im-
                 migration officer, the alien is not a threat to the integrity of the im-
                 migration system or there are factors suggesting the alien should
                 not be an enforcement priority.” Id. at 5.
                   3
                     These factors include “extenuating circumstances involving the
                 offense of conviction; extended length of time since the offense of
                 conviction; length of time in the United States; military service;
                 family or community ties in the United States; status as a victim,
                 witness or plaintiff in civil or criminal proceedings; or compelling
                 humanitarian factors such as poor health, age, pregnancy, a young
                 child or a seriously ill relative.” Johnson Prioritization Memo-
                 randum at 6.




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                 “[i]mmigration officers and attorneys may pursue re-
                 moval of an alien not identified as a priority” if, “in the
                 judgment of an ICE Field Office Director, removing
                 such an alien would serve an important federal inter-
                 est.” Id. at 5.
                    DHS has explained that the proposed policy is de-
                 signed to respond to the practical reality that the
                 number of aliens who are removable under the INA
                 vastly exceeds the resources Congress has made
                 available to DHS for processing and carrying out re-
                 movals. The resource constraints are striking. As
                 noted, DHS has informed us that there are approxi-
                 mately 11.3 million undocumented aliens in the coun-
                 try, but that Congress has appropriated sufficient re-
                 sources for ICE to remove fewer than 400,000 aliens
                 each year, a significant percentage of whom are typi-
                 cally encountered at or near the border rather than in
                 the interior of the country. See E-mail for Karl R.
                 Thompson, Principal Deputy Assistant Attorney Gen-
                 eral, Office of Legal Counsel, from David Shahoulian,
                 Deputy General Counsel, DHS, Re: Immigration
                 Opinion (Nov. 19, 2014) (“Shahoulian E-mail”). The
                 proposed policy explains that, because DHS “cannot
                 respond to all immigration violations or remove all per-
                 sons illegally in the United States,” it seeks to “priori-
                 tize the use of enforcement personnel, detention space,
                 and removal assets” to “ensure that use of its limited
                 resources is devoted to the pursuit of ’ DHS’s highest
                 priorities. Johnson Prioritization Memorandum at 2.
                     In our view, DHS’s proposed prioritization policy
                 falls within the scope of its lawful discretion to enforce
                 the immigration laws. To begin with, the policy is
                 based on a factor clearly “within [DHS’s] expertise.”
                 Chaney, 470 U.S. at 831. Faced with sharply limited




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                 resources, DHS necessarily must make choices about
                 which removals to pursue and which removals to defer.
                 DHS’s organic statute itself recognizes this inevitable
                 fact, instructing the Secretary to establish “national
                 immigration enforcement policies and priorities.”
                 6 U.S.C. § 202(5). And an agency’s need to ensure
                 that scarce enforcement resources are used in an effec-
                 tive manner is a quintessential basis for the use of pro-
                 secutorial discretion. See Chaney, 470 U.S. at 831
                 (among the factors “peculiarly within [an agency’s]
                 expertise” are “whether agency resources are best
                 spent on this violation or another” and “whether the
                 agency has enough resources to undertake the action at
                 all”).
                    The policy DHS has proposed, moreover, is con-
                 sistent with the removal priorities established by Con-
                 gress. In appropriating funds for DHS’s enforcement
                 activities—which, as noted, are sufficient to permit the
                 removal of only a fraction of the undocumented aliens
                 currently in the country—Congress has directed DHS
                 to “prioritize the identification and removal of aliens
                 convicted of a crime by the severity of that crime.”
                 Department of Homeland Security Appropriations Act,
                 2014, Pub. L. No. 113-76, div. F, tit. II, 128 Stat. 5, 251
                 (“DHS Appropriations Act”). Consistent with this di-
                 rective, the proposed policy prioritizes individuals
                 convicted of criminal offenses involving active partici-
                 pation in a criminal street gang, most offenses classi-
                 fied as felonies in the convicting jurisdiction, offenses
                 classified as “aggravated felonies” under the INA, and
                 certain misdemeanor offenses. Johnson Prioritization
                 Memorandum at 3-4. The policy ranks these priority
                 categories according to the severity of the crime of con-
                 viction. The policy also prioritizes the removal of other
                 categories of aliens who pose threats to national secu-




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                 rity or border security, matters about which Congress
                 has demonstrated particular concern. See, e.g., 8 U.S.C.
                 § 1226(c)(l)(D) (providing for detention of aliens charged
                 with removability on national security grounds); id.
                 § 1225(b) & (c) (providing for an expedited removal
                 process for certain aliens apprehended at the border).
                 The policy thus raises no concern that DHS has relied
                 “on factors which Congress had not intended it to con-
                 sider.” Nat’l Ass’n of Home Builders, 551 U.S. at 658.
                    Further, although the proposed policy is not a “single-
                 shot non-enforcement decision,” neither does it amount
                 to an abdication of DHS’s statutory responsibilities, or
                 constitute a legislative rule overriding the commands of
                 the substantive statute. Crowley Caribbean Transp.,
                 37 F.3d at 676-77. The proposed policy provides a
                 general framework for exercising enforcement discre-
                 tion in individual cases, rather than establishing an
                 absolute, inflexible policy of not enforcing the immi-
                 gration laws in certain categories of cases. Given that
                 the resources Congress has allocated to DHS are suffi-
                 cient to remove only a small fraction of the total popu-
                 lation of undocumented aliens in the United States,
                 setting forth written guidance about how resources
                 should presumptively be allocated in particular cases is
                 a reasonable means of ensuring that DHS’s severely
                 limited resources are systematically directed to its
                 highest priorities across a large and diverse agency, as
                 well as ensuring consistency in the administration of
                 the removal system. The proposed policy’s identifica-
                 tion of categories of aliens who constitute removal pri-
                 orities is also consistent with the categorical nature of
                 Congress’s instruction to prioritize the removal of
                 criminal aliens in the DHS Appropriations Act.




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                     And, significantly, the proposed policy does not
                 identify any category of removable aliens whose re-
                 moval may not be pursued under any circumstances.
                 Although the proposed policy limits the discretion of
                 immigration officials to expend resources to remove
                 non-priority aliens, it does not eliminate that discretion
                 entirely. It directs immigration officials to use their
                 resources to remove aliens in a manner “commensurate
                 with the level of prioritization identified,” but (as noted
                 above) it does not “prohibit or discourage the appre-
                 hension, detention, or removal of aliens unlawfully in
                 the United States who are not identified as priorities.”
                 Johnson Prioritization Memorandum at 5. Instead, it
                 authorizes the removal of even non-priority aliens if, in
                 the judgment of an ICE Field Office Director, “remov-
                 ing such an alien would serve an important federal
                 interest,” a standard the policy leaves open-ended.
                 Id. Accordingly, the policy provides for case-by-case
                 determinations about whether an individual alien’s cir-
                 cumstances warrant the expenditure of removal re-
                 sources, employing a broad standard that leaves ample
                 room for the exercise of individualized discretion by
                 responsible officials. For these reasons, the proposed
                 policy avoids the difficulties that might be raised by a
                 more inflexible prioritization policy and dispels any
                 concern that DHS has either undertaken to rewrite the
                 immigration laws or abdicated its statutory responsi-
                 bilities with respect to non-priority aliens. 4

                  4
                     In Crane v. Napolitano, a district court recently concluded in a
                 non-precedential opinion that the INA “mandates the initiation of
                 removal proceedings whenever an immigration officer encounters
                 an illegal alien who is not ‘clearly and beyond a doubt entitled to be
                 admitted.’ ” Opinion and Order Respecting Pl. App. for Prelim.
                 Inj. Relief, No. 3:12-cv-03247-O, 2013 WL 1744422, at *5 (N.D. Tex.
                 Apr. 23) (quoting 8 U.S.C. § 1225(b)(2)(A)). The court later dis-




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                                                  II.
                    We turn next to the permissibility of DHS’s pro-
                 posed deferred action programs for certain aliens who
                 are parents of U.S. citizens, lawful permanent resi-
                 dents (“LPRs”), or DACA recipients, and who are not
                 removal priorities under the proposed policy discussed
                 above. We begin by discussing the history and cur-
                 rent practice of deferred action. We then discuss the
                 legal authorities on which deferred action relies and
                 identify legal principles against which the proposed use
                 of deferred action can be evaluated. Finally, we turn
                 to an analysis of the proposed deferred action pro-
                 grams themselves, beginning with the program for
                 parents of U.S. citizens and LPRs, and concluding with
                 the program for parents of DACA recipients.
                                                  A.
                    In immigration law, the term “deferred action” re-
                 fers to an exercise of administrative discretion in which


                 missed the case for lack of jurisdiction. See Crane v. Napolitano,
                 No. 3:12-cv-03247-O, 2013 WL 8211660, at *4 (N.D. Tex. July 31).
                 Although the opinion lacks precedential value, we have neverthe-
                 less considered whether, as it suggests, the text of the INA cate-
                 gorically forecloses the exercise of enforcement discretion with
                 respect to aliens who have not been formally admitted. The dis-
                 trict court’s conclusion is, in our view, inconsistent with the Su-
                 preme Court’s reading of the INA as permitting immigration offi-
                 cials to exercise enforcement discretion at any stage of the removal
                 process, including when deciding whether to initiate removal pro-
                 ceedings against a particular alien. See Arizona, 132 S. Ct. at 2499;
                 Am.-Arab Anti-Discrim. Comm., 525 U.S. at 483-84. It is also dif-
                 ficult to square with authority holding that the presence of manda-
                 tory language in a statute, standing alone, does not necessarily limit
                 the Executive Branch’s enforcement discretion, see, e.g., Chaney,
                 470 U.S. at 835; Inmates of Attica Corr. Facility v. Rockefeller,
                 477 F.2d 375, 381 (2d Cir. 1973).




                                                                                          AR3110
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                 immigration officials temporarily defer the removal
                 of an alien unlawfully present in the United States.
                 Am.-Arab Anti-Discrim. Comm., 525 U.S. at 484 (cit-
                 ing 6 Charles Gordon et al., Immigration Law and
                 Procedure § 72.03[2][h] (1998)); see USCIS, Standard
                 Operating Procedures for Handling Deferred Action
                 Requests at USCIS Field Offices at 3 (2012) (“USCIS
                 SOP”); INS Operating Instructions § 103.1(a)(1)(ii)
                 (1977). It is one of a number of forms of discretionary
                 relief—in addition to such statutory and non-statutory
                 measures as parole, temporary protected status, de-
                 ferred enforced departure, and extended voluntary
                 departure—that immigration officials have used over
                 the years to temporarily prevent the removal of un-
                 documented aliens. 5


                  5
                     Parole is available to aliens by statute “for urgent humanitarian
                 reasons or significant public benefit.” 8 U.S.C. § 1182(d)(5)(A).
                 Among other things, parole gives aliens the ability to adjust their
                 status without leaving the United States if they are otherwise eli-
                 gible for adjustment of status, see id. § 1255(a), and may eventually
                 qualify them for Federal means-tested benefits, see id. §§ 1613,
                 1641(b)(4). Temporary protected status is available to nationals of
                 designated foreign states affected by armed conflicts, environmen-
                 tal disasters, and other extraordinary conditions. Id. § 1254a.
                 Deferred enforced departure, which “has no statutory basis” but
                 rather is an exercise of “the President’s constitutional powers to
                 conduct foreign relations,” may be granted to nationals of appro-
                 priate foreign states. USCIS, Adjudicator’s Field Manual § 38.2(a)
                 (2014). Extended voluntary departure was a remedy derived from
                 the voluntary departure statute, which, before its amendment in
                 1996, permitted the Attorney General to make a finding of remova-
                 bility if an alien agreed to voluntarily depart the United States,
                 without imposing a time limit for the alien’s departure. See
                 8 U.S.C. §§ 1252(b), 1254(e) (1988 & Supp. II 1990); cf. 8 U.S.C.
                 § 1229c (current provision of the INA providing authority to grant
                 voluntary departure, but limiting such grants to 120 days). Some
                 commentators, however, suggested that extended voluntary depar-




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                    The practice of granting deferred action dates back
                 several decades. For many years after the INA was
                 enacted, INS exercised prosecutorial discretion to grant
                 “non-priority” status to removable aliens who present-
                 ed “appealing humanitarian factors.” Letter for Leon
                 Wildes, from E. A. Loughran, Associate Commissioner,
                 INS at 2 (July 16, 1973) (defining a “non-priority case”
                 as “one in which the Service in the exercise of discre-
                 tion determines that adverse action would be uncon-
                 scionable because of appealing humanitarian factors”);
                 see INS Operating Instructions § 103.l(a)(l)(ii) (1962).
                 This form of administrative discretion was later termed
                 “deferred action.” Am.-Arab Anti-Discrim. Comm.,
                 525 U.S. at 484; see INS Operating Instructions
                 § 103.1(a)(l)(ii) (1977) (instructing immigration officers
                 to recommend deferred action whenever “adverse ac-


                 ture was in fact a form of “discretionary relief formulated adminis-
                 tratively under the Attorney General’s general authority for en-
                 forcing immigration law.” Sharon Stephan, Cong. Research Serv.,
                 85-599 EPW, Extended Voluntary Departure and Other Grants of
                 Blanket Relief from Deportation at 1 (Feb. 23, 1985). It appears
                 that extended voluntary departure is no longer used following
                 enactment of the Immigration Act of 1990, which established the
                 temporary protected status program. See U.S. Citizenship and
                 Immigration Services Fee Schedule, 75 Fed. Reg. 33446, 33457
                 (June 11, 2010) (proposed rule) (noting that “since 1990 neither the
                 Attorney General nor the Secretary have designated a class of
                 aliens for nationality-based ‘extended voluntary departure,’ and
                 there no longer are aliens in the United States benefiting from such
                 a designation,” but noting that deferred enforced departure is still
                 used); H.R. Rep. No. 102-123, at 2 (1991) (indicating that in estab-
                 lishing temporary protected status, Congress was “codif [ying] and
                 supersed[ing]” extended voluntary departure). See generally An-
                 dorra Bruno et al., Cong. Research Serv., Analysis of June 15, 2012
                 DHS Memorandum, Exercising Prosecutorial Discretion with Re-
                 spect to Individuals Who Came to the United States as Children at
                 5-10 (July 13, 2012) (“CRS Immigration Report”).




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                 tion would be unconscionable because of the existence
                 of appealing humanitarian factors”).
                    Although the practice of granting deferred action
                 “developed without express statutory authorization,” it
                 has become a regular feature of the immigration re-
                 moval system that has been acknowledged by both
                 Congress and the Supreme Court. Am.-Arab Anti-
                 Discrim. Comm., 525 U.S. at 484 (internal quotation
                 marks omitted); see id. at 485 (noting that a congres-
                 sional enactment limiting judicial review of decisions
                 “to commence proceedings, adjudicate cases, or exe-
                 cute removal orders against any alien under [the INA]”
                 in 8 U.S.C. § 1252(g) “seems clearly designed to give
                 some measure of protection to ‘no deferred action’
                 decisions and similar discretionary determinations”);
                 see also, e.g., 8 U.S.C. § 1154(a)(1)(D)(i)(II), (IV) (pro-
                 viding that certain individuals are “eligible for deferred
                 action”). Deferred action “does not confer any immi-
                 gration status”—i.e., it does not establish any enforce-
                 able legal right to remain in the United States—and it
                 may be revoked by immigration authorities at their
                 discretion. USCIS SOP at 3, 7. Assuming it is not
                 revoked, however, it represents DHS’s decision not to
                 seek the alien’s removal for a specified period of time.
                    Under longstanding regulations and policy guidance
                 promulgated pursuant to statutory authority in the
                 INA, deferred action recipients may receive two addi-
                 tional benefits. First, relying on DHS’s statutory au-
                 thority to authorize certain aliens to work in the United
                 States, DHS regulations permit recipients of deferred
                 action to apply for work authorization if they can dem-
                 onstrate an “economic necessity for employment.”
                 8 C.F.R. § 274a.12(c)(14); see 8 U.S.C. § 1324a(h)(3)
                 (defining an “unauthorized alien” not entitled to work




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                 in the United States as an alien who is neither an LPR
                 nor “authorized to be . . . employed by [the INA]
                 or by the Attorney General [now the Secretary of
                 Homeland Security]”). Second, DHS has promulgat-
                 ed regulations and issued policy guidance providing
                 that aliens who receive deferred action will temporarily
                 cease accruing “unlawful presence” for purposes of
                 8 U.S.C. § 1182(a)(9)(B)(i) and (a)(9)(C)(i)(I). 8 C.F.R.
                 § 214.14(d)(3); 28 C.F.R. § 1100.35(b)(2); Memorandum
                 for Field Leadership, from Donald Neufeld, Acting As-
                 sociate Director, Domestic Operations Directorate,
                 USCIS, Re: Consolidation of Guidance Concerning
                 Unlawful Presence for Purposes of Sections
                 212(a)(9)(B)(i) and 212(a)(9)(C)(i)(I) of the Act at 42
                 (May 6, 2009) (“USCIS Consolidation of Guidance”)
                 (noting that “[a]ccrual of unlawful presence stops on
                 the date an alien is granted deferred action”); see
                 8 U.S.C. § 1182(a)(9)(B)(ii) (providing that an alien is
                 “unlawfully present” if, among other things, he “is
                 present in the United States after the expiration of the
                 period of stay authorized by the Attorney General”). 6
                    Immigration officials today continue to grant de-
                 ferred action in individual cases for humanitarian and
                 other purposes, a practice we will refer to as “ad hoc
                 deferred action.” Recent USCIS guidance provides
                 that personnel may recommend ad hoc deferred action

                  6
                    Section 1182(a)(9)(B)(i) imposes three- and ten-year bars on the
                 admission of aliens (other than aliens admitted to permanent resi-
                 dence) who departed or were removed from the United States after
                 periods of unlawful presence of between 180 days and one year, or
                 one year or more. Section 1182(a)(9)(C)(i)(I) imposes an indefinite
                 bar on the admission of any alien who, without being admitted, en-
                 ters or attempts to reenter the United States after previously hav-
                 ing been unlawfully present in the United States for an aggregate
                 period of more than one year.




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                 if they “encounter cases during [their] normal course of
                 business that they feel warrant deferred action.”
                 USCIS SOP at 4. An alien may also apply for ad hoc
                 deferred action by submitting a signed, written request
                 to USCIS containing “[a]n explanation as to why he or
                 she is seeking deferred action” along with supporting
                 documentation, proof of identity, and other records.
                 Id. at 3.
                    For decades, INS and later DHS have also imple-
                 mented broader programs that make discretionary
                 relief from removal available for particular classes of
                 aliens. In many instances, these agencies have made
                 such broad-based relief available through the use of
                 parole, temporary protected status, deferred enforced
                 departure, or extended voluntary departure. For
                 example, from 1956 to 1972, INS implemented an ex-
                 tended voluntary departure program for physically pre-
                 sent aliens who were beneficiaries of approved visa
                 petitions—known as “Third Preference” visa petitions
                 —relating to a specific class of visas for Eastern Hem-
                 isphere natives. See United States ex rel. Parco v.
                 Morris, 426 F. Supp. 976, 979-80 (E.D. Pa. 1977).
                 Similarly, for several years beginning in 1978, INS
                 granted extended voluntary departure to nurses who
                 were eligible for H-1 visas. Voluntary Departure for
                 Out-of-Status Nonimmigrant H-1 Nurses, 43 Fed.
                 Reg. 2776, 2776 (Jan. 19, 1978). In addition, in more
                 than two dozen instances dating to 1956, INS and later
                 DHS granted parole, temporary protected status, de-
                 ferred enforced departure, or extended voluntary depar-
                 ture to large numbers of nationals of designated foreign
                 states. See, e.g., CRS Immigration Report at 20-23;
                 Cong. Research Serv., ED206779, Review of U.S. Ref-
                 ugee Resettlement Programs and Policies at 9, 12-14
                 (1980). And in 1990, INS implemented a “Family Fair-




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                 ness” program that authorized granting extended vol-
                 untary departure and work authorization to the esti-
                 mated 1.5 million spouses and children of aliens who
                 had been granted legal status under the Immigration
                 Reform and Control Act of 1986, Pub. L. No. 99-603,
                 100 Stat. 3359 (“IRCA”). See Memorandum for Re-
                 gional Commissioners, INS, from Gene McNary, Com-
                 missioner, INS, Re: Family Fairness: Guidelines
                 for Voluntary Departure under 8 CFR 242.5 for the
                 Ineligible Spouses and Children of Legalized Aliens
                 (Feb. 2, 1990) (“Family Fairness Memorandum”); see
                 also CRS Immigration Report at 10.
                    On at least five occasions since the late 1990s, INS
                 and later DHS have also made discretionary relief
                 available to certain classes of aliens through the use of
                 deferred action:
                    1. Deferred Action for Battered Aliens Under the
                 Violence Against Women Act. INS established a class-
                 based deferred action program in 1997 for the benefit
                 of self-petitioners under the Violence Against Women
                 Act of 1994 (“VAWA”), Pub. L. No. 103-322, tit. IV, 108
                 Stat. 1796, 1902. VAWA authorized certain aliens who
                 have been abused by U.S. citizen or LPR spouses or
                 parents to self-petition for lawful immigration status,
                 without having to rely on their abusive family members
                 to petition on their behalf. Id. § 4070l(a) (codified as
                 amended at 8 U.S.C. § 1154(a)(1)(A)(iii)-(iv), (vii)).
                 The INS program required immigration officers who
                 approved a VAWA self-petition to assess, “on a case-
                 by-case basis, whether to place the alien in deferred
                 action status” while the alien waited for a visa to be-
                 come available. Memorandum for Regional Directors
                 et al., INS, from Paul W. Virtue, Acting Executive As-
                 sociate Commissioner, INS, Re: Supplemental Guid-




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                 ance on Battered Alien Self-Petitioning Process and
                 Related Issues at 3 (May 6, 1997). INS noted that
                 “[b]y their nature, VAWA cases generally possess
                 factors that warrant consideration for deferred action.”
                 Id. But because “[i]n an unusual case, there may be
                 factors present that would militate against deferred
                 action,” the agency instructed officers that requests for
                 deferred action should still “receive individual scruti-
                 ny.” Id. In 2000, INS reported to Congress that, be-
                 cause of this program, no approved VAWA self-
                 petitioner had been removed from the country. See
                 Battered Women Immigrant Protection Act: Hear-
                 ings on H.R. 3083 Before the Subcomm. on Immigra-
                 tion and Claims of the H. Comm. on the Judiciary,
                 106th Cong. at 43 (July 20, 2000) (“H.R. 3083 Hear-
                 ings”).
                     2. Deferred Action for T and U Visa Applicants.
                 Several years later, INS instituted a similar deferred
                 action program for applicants for nonimmigrant status
                 or visas made available under the Victims of Traffick-
                 ing and Violence Protection Act of 2000 (“VTVPA”),
                 Pub. L. No. 106-386, 114 Stat. 1464. That Act created
                 two new nonimmigrant classifications: a “T visa”
                 available to victims of human trafficking and their fam-
                 ily members, and a “U visa” for victims of certain other
                 crimes and their family members. Id. §§ 107(e),
                 1513(b)(3) (codified at 8 U.S.C. § 1101(a)(15)(T)(i),
                 (U)(i)). In 2001, INS issued a memorandum directing
                 immigration officers to locate “possible victims in the
                 above categories,” and to use “[e]xisting authority and
                 mechanisms such as parole, deferred action, and stays
                 of removal” to prevent those victims’ removal “until
                 they have had the opportunity to avail themselves of
                 the provisions of the VTVP A.” Memorandum for
                 Michael A. Pearson, Executive Associate Commission-




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                 er, INS, from Michael D. Cronin, Acting Executive
                 Associate Commissioner, INS, Re: Victims of Traf-
                 ficking and Violence Protection Act of 2000 (VTVPA)
                 Policy Memorandum #2—“T” and “U” Nonimmi-
                 grant Visas at 2 (Aug. 30, 2001). In subsequent
                 memoranda, INS instructed officers to make “deferred
                 action assessment[s]” for “all [T visa] applicants whose
                 applications have been determined to be bona fide,”
                 Memorandum for Johnny N. Williams, Executive As-
                 sociate Commissioner, INS, from Stuart Anderson,
                 Executive Associate Commissioner, INS, Re: De-
                 ferred Action for Aliens with Bona Fide Applications
                 for T Nonimmigrant Status at 1 (May 8, 2002), as well
                 as for all U visa applicants “determined to have sub-
                 mitted prima facie evidence of [their] eligibility,”
                 Memorandum for the Director, Vermont Service Cen-
                 ter, INS, from William R. Yates, USCIS, Re: Cen-
                 tralization of Interim Relief for U Nonimmigrant
                 Status Applicants at 5 (Oct. 8, 2003). In 2002 and
                 2007, INS and DHS promulgated regulations embody-
                 ing these policies. See 8 C.F.R. § 214.11(k)(1), (k)(4),
                 (m)(2) (promulgated by New Classification For Vic-
                 tims of Severe Forms of Trafficking in Persons; Eligi-
                 bility for “T” Nonimmigrant Status, 67 Fed. Reg.
                 4784, 4800-01 (Jan. 31, 2002)) (providing that any T visa
                 applicant who presents “prima facie evidence” of his
                 eligibility should have his removal “automatically
                 stay[ed]” and that applicants placed on a waiting list
                 for visas “shall maintain [their] current means to pre-
                 vent removal (deferred action, parole, or stay of re-
                 moval)”); id. § 214.14(d)(2) (promulgated by New Clas-
                 sification for Victims of Criminal Activity; Eligibility
                 for “U” Nonimmigrant Status, 72 Fed. Reg. 53014,
                 53039 (Sept. 17, 2007)) (“USCIS will grant deferred
                 action or parole to U-1 petitioners and qualifying fami-




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                 ly members while the U-1 petitioners are on the wait-
                 ing list” for visas.).
                     3. Deferred Action for Foreign Students Affected
                 by Hurricane Katrina. As a consequence of the dev-
                 astation caused by Hurricane Katrina in 2005, several
                 thousand foreign students became temporarily unable
                 to satisfy the requirements for maintaining their lawful
                 status as F-1 nonimmigrant students, which include
                 “pursuit of a ‘full course of study.’ ” USCIS, Interim
                 Relief for Certain Foreign Academic Students Ad-
                 versely Affected by Hurricane Katrina: Frequently
                 Asked Questions (FAQ) at 1 (Nov. 25, 2005) (quoting
                 8 C.F.R. § 214.2(f )(6)), available at http//www.uscis.gov/
                 sites/default/files/USCIS/Humanitarian/Special%20
                 Situations/Previous%20Special%20Situations%20By%
                 20Topic/faq-interim-student-relief-hurricane-katrina.pdf
                 (last visited Nov. 19, 2014). DHS announced that it
                 would grant deferred action to these students “based
                 on the fact that [their] failure to maintain status is di-
                 rectly due to Hurricane Katrina.” Id. at 7. To apply
                 for deferred action under this program, students were
                 required to send a letter substantiating their need for
                 deferred action, along with an application for work
                 authorization. Press Release, USCIS, USCIS An-
                 nounces Interim Relief for Foreign Students Adverse-
                 ly Impacted by Hurricane Katrina at 1-2 (Nov. 25,
                 2005), available at http://www.uscis.gov/sites/default/
                 files/files/pressrelease/F1Student_11_25_05_PR.pdf
                 (last visited Nov. 19, 2014). USCIS explained that such
                 requests for deferred action would be “decided on a case-
                 by-case basis” and that it could not “provide any assur-
                 ance that all such requests will be granted.” Id. at 1.
                   4. Deferred Action for Widows and Widowers of
                 U.S. Citizens. In 2009, DHS implemented a deferred




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                 action program for certain widows and widowers of
                 U.S. citizens. USCIS explained that “no avenue of im-
                 migration relief exists for the surviving spouse of a
                 deceased U.S. citizen if the surviving spouse and the
                 U.S. citizen were married less than 2 years at the time
                 of the citizen’s death” and USCIS had not yet adjudi-
                 cated a visa petition on the spouse’s behalf. Memo-
                 randum for Field Leadership, USCIS, from Donald
                 Neufeld, Acting Associate Director, USCIS, Re:
                 Guidance Regarding Surviving Spouses of Deceased
                 U.S. Citizens and Their Children at 1 (Sept. 4, 2009).
                 “In order to address humanitarian concerns arising
                 from cases involving surviving spouses of U.S. citi-
                 zens,” USCIS issued guidance permitting covered
                 surviving spouses and “their qualifying children who
                 are residing in the United States” to apply for deferred
                 action. Id. at 2, 6. USCIS clarified that such relief
                 would not be automatic, but rather would be unavaila-
                 ble in the presence of, for example, “serious adverse
                 factors, such as national security concerns, significant
                 immigration fraud, commission of other crimes, or
                 public safety reasons.” Id. at 6. 7


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                     Several months after the deferred action program was an-
                 nounced, Congress eliminated the requirement that an alien be
                 married to a U.S. citizen “for at least 2 years at the time of the citi-
                 zen’s death” to retain his or her eligibility for lawful immigration
                 status. Department of Homeland Security Appropriations Act,
                 2010, Pub. L. No. 111-83, § 568(c), 123 Stat. 2142, 2186 (2009).
                 Concluding that this legislation rendered its surviving spouse guid-
                 ance “obsolete,” USCIS withdrew its earlier guidance and treated
                 all pending applications for deferred action as visa petitions. See
                 Memorandum for Executive Leadership, USCIS, from Donald
                 Neufeld, Acting Associate Director, USCIS, et al., Re: Additional
                 Guidance Regarding Surviving Spouses of Deceased U.S. Citizens
                 and Their Children (REVISED) at 3, 10 (Dec. 2, 2009).




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                     5. Deferred Action for Childhood Arrivals. An-
                 nounced by DHS in 2012, DACA makes deferred action
                 available to “certain young people who were brought to
                 this country as children” and therefore “[a]s a general
                 matter . . . lacked the intent to violate the law.”
                 Memorandum for David Aguilar, Acting Commissioner,
                 CBP, et al., from Janet Napolitano, Secretary, DHS,
                 Re: Exercising Prosecutorial Discretion with Re-
                 spect to Individuals Who Came to the United States as
                 Children at 1 (June 15, 2012) (“Napolitano Memoran-
                 dum”). An alien is eligible for DACA if she was under
                 the age of 31 when the program began; arrived in the
                 United States before the age of 16; continuously resid-
                 ed in the United States for at least 5 years immediately
                 preceding June 15, 2012; was physically present on
                 June 15, 2012; satisfies certain educational or military
                 service requirements; and neither has a serious crimi-
                 nal history nor “poses a threat to national security or
                 public safety.” See id. DHS evaluates applicants’
                 eligibility for DACA on a case-by-case basis. See id.
                 at 2; USCIS, Deferred Action for Childhood Arrivals
                 (DACA) Toolkit: Resources for Community Partners
                 at 11 (“DACA Toolkit”). Successful DACA applicants
                 receive deferred action for a period of two years, sub-
                 ject to renewal. See DACA Toolkit at 11. DHS has
                 stated that grants of deferred action under DACA may
                 be terminated at any time, id. at 16, and “confer[] no
                 substantive right, immigration status or pathway to
                 citizenship,” Napolitano Memorandum at 3. 8


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                     Before DACA was announced, our Office was consulted about
                 whether such a program would be legally permissible. As we oral-
                 ly advised, our preliminary view was that such a program would be
                 permissible, provided that immigration officials retained discretion
                 to evaluate each application on an individualized basis. We noted




                                                                                        AR3121
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                    Congress has long been aware of the practice of
                 granting deferred action, including in its categorical
                 variety, and of its salient features; and it has never
                 acted to disapprove or limit the practice. 9 On the con-
                 trary, it has enacted several pieces of legislation that
                 have either assumed that deferred action would be
                 available in certain circumstances, or expressly direc-

                 that immigration officials typically consider factors such as having
                 been brought to the United States as a child in exercising their dis-
                 cretion to grant deferred action in individual cases. We explained,
                 however, that extending deferred action to individuals who satis-
                 fied these and other specified criteria on a class-wide basis would
                 raise distinct questions not implicated by ad hoc grants of deferred
                 action. We advised that it was critical that, like past policies that
                 made deferred action available to certain classes of aliens, the DACA
                 program require immigration officials to evaluate each application
                 for deferred action on a case-by-case basis, rather than granting
                 deferred action automatically to all applicants who satisfied the
                 threshold eligibility criteria. We also noted that, although the
                 proposed program was predicated on humanitarian concerns that
                 appeared less particularized and acute than those underlying cer-
                 tain prior class-wide deferred action programs, the concerns ani-
                 mating DACA were nonetheless consistent with the types of con-
                 cerns that have customarily guided the exercise of immigration en-
                 forcement discretion.
                   9
                     Congress has considered legislation that would limit the prac-
                 tice of granting deferred action, but it has never enacted such a
                 measure. In 2011, a bill was introduced in both the House and the
                 Senate that would have temporarily suspended DHS’s authority to
                 grant deferred action except in narrow circumstances. See H.R.
                 2497, 112th Cong. (2011); S. 1380, 112th Cong. (2011). Neither
                 chamber, however, voted on the bill. This year, the House passed
                 a bill that purported to bar any funding for DACA or other class-
                 wide deferred action programs, H.R. 5272, 113th Cong. (2014), but
                 the Senate has not considered the legislation. Because the Supreme
                 Court has instructed that unenacted legislation is an unreliable in-
                 dicator of legislative intent, see Red Lion Broad. Co. v. FCC,
                 395 U.S. 367, 381 n.11 (1969), we do not draw any inference regard-
                 ing congressional policy from these unenacted bills.




                                                                                         AR3122
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                 ted that deferred action be extended to certain catego-
                 ries of aliens. For example, as Congress was consid-
                 ering VAWA reauthorization legislation in 2000, INS
                 officials testified before Congress about their deferred
                 action program for VAWA self-petitioners, explaining
                 that “[a]pproved [VAWA] self-petitioners are placed in
                 deferred action status,” such that “[n]o battered alien
                 who has filed a[n approved] self petition . . . has
                 been deported.” H.R. 3083 Hearings at 43. Con-
                 gress responded by not only acknowledging but also
                 expanding the deferred action program in the 2000
                 VAWA reauthorization legislation, providing that chil-
                 dren who could no longer self-petition under VAWA
                 because they were over the age of 21 would nonetheless
                 be “eligible for deferred action and work authoriza-
                 tion.” Victims of Trafficking and Violence Protection
                 Act of 2000, Pub. L. No. 106-386, § 1503(d)(2), 114 Stat.
                 1464, 1522 (codified at 8 U.S.C. § 1154(a)(l)(D)(i)(II),
                 (IV)). 10
                    Congress demonstrated a similar awareness of INS’s
                 (and later DHS’s) deferred action program for bona
                 fide T and U visa applicants. As discussed above, that
                 program made deferred action available to nearly all
                 individuals who could make a prima facie showing of

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                     Five years later, in the Violence Against Women and Depart-
                 ment of Justice Reauthorization Act of 2005, Pub. L. No. 109-162,
                 119 Stat. 2960, Congress specified that, “[u]pon the approval of a
                 petition as a VAWA self-petitioner, the alien . . . is eligible for
                 work authorization.”       Id. § 814(b) (codified at 8 U.S.C.
                 § 1154(a)(1)(K)). One of the Act’s sponsors explained that while
                 this provision was intended to “give[] DHS statutory authority to
                 grant work authorization . . . without having to rely upon de-
                 ferred action . . . [t]he current practice of granting deferred
                 action to approved VAWA self-petitioners should continue.”
                 151 Cong. Rec. 29334 (2005) (statement of Rep. Conyers).




                                                                                       AR3123
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                 eligibility for a T or U visa. In 2008 legislation, Con-
                 gress authorized DHS to “grant . . . an adminis-
                 trative stay of a final order of removal” to any such
                 individual. William Wilberforce Trafficking Victims
                 Protection Reauthorization Act of 2008, Pub. L. No.
                 110-457, § 204, 122 Stat. 5044, 5060 (codified at 8 U.S.C.
                 § 1227(d)(1)). Congress further clarified that “[t]he
                 denial of a request for an administrative stay of remov-
                 al under this subsection shall not preclude the alien
                 from applying for . . . deferred action.” Id. It
                 also directed DHS to compile a report detailing, among
                 other things, how long DHS’s “specially trained
                 [VAWA] Unit at the [USCIS] Vermont Service Center”
                 took to adjudicate victim-based immigration applica-
                 tions for “deferred action,” along with “steps taken to
                 improve in this area.” Id. § 238. Representative Ber-
                 man, the bill’s sponsor, explained that the Vermont
                 Service Center should “strive to issue work authoriza-
                 tion and deferred action” to “[i]mmigrant victims of
                 domestic violence, sexual assault and other violence
                 crimes . . . in most instances within 60 days of
                 filing.” 154 Cong. Rec. 24603 (2008).
                     In addition, in other enactments, Congress has spe-
                 cified that certain classes of individuals should be made
                 “eligible for deferred action.” These classes include
                 certain immediate family members of LPRs who were
                 killed on September 11, 2001, USA PATRIOT Act of
                 2001, Pub. L. No. 107-56, § 423(b), 115 Stat. 272, 361,
                 and certain immediate family members of certain U.S.
                 citizens killed in combat, National Defense Authoriza-
                 tion Act for Fiscal Year 2004, Pub. L. No. 108-136,
                 § 1703(c)-(d), 117 Stat. 1392, 1694. In the same legis-
                 lation, Congress made these individuals eligible to ob-
                 tain lawful status as “family-sponsored immigrant[s]”
                 or “immediate relative[s]” of U.S. citizens. Pub. L. No.




                                                                              AR3124
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                 107-56, § 423(b), 115 Stat. 272, 361; Pub. L. No. 108-136, §
                 1703(c)(1)(A), 117 Stat. 1392, 1694; see generally Sci-
                 alabba v. Cuellar de Osorio, 134 S. Ct. 2191, 2197
                 (2014) (plurality opinion) (explaining which aliens typi-
                 cally qualify as family-sponsored immigrants or imme-
                 diate relatives).
                     Finally, Congress acknowledged the practice of
                 granting deferred action in the REAL ID Act of 2005,
                 Pub. L. No. 109-13, div. B, 119 Stat. 231, 302 (codified
                 at 49 U.S.C. § 30301 note), which makes a state-issued
                 driver’s license or identification card acceptable for
                 federal purposes only if the state verifies, among other
                 things, that the card’s recipient has “[e]vidence of
                 [l]awful [s]tatus.” Congress specified that, for this
                 purpose, acceptable evidence of lawful status includes
                 proof of, among other things, citizenship, lawful per-
                 manent or temporary residence, or “approved deferred
                 action status.” Id. § 202(c)(2)(B)(viii).
                                             B.
                    The practice of granting deferred action, like the
                 practice of setting enforcement priorities, is an exer-
                 cise of enforcement discretion rooted in DHS’s author-
                 ity to enforce the immigration laws and the President’s
                 duty to take care that the laws are faithfully executed.
                 It is one of several mechanisms by which immigration
                 officials, against a backdrop of limited enforcement re-
                 sources, exercise their “broad discretion” to administer
                 the removal system—and, more specifically, their dis-
                 cretion to determine whether “it makes sense to pursue
                 removal” in particular circumstances. Arizona, 132 S.
                 Ct. at 2499.
                    Deferred action, however, differs in at least three
                 respects from more familiar and widespread exercises
                 of enforcement discretion. First, unlike (for example)




                                                                                AR3125
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                 the paradigmatic exercise of prosecutorial discretion in
                 a criminal case, the conferral of deferred action does
                 not represent a decision not to prosecute an individual
                 for past unlawful conduct; it instead represents a deci-
                 sion to openly tolerate an undocumented alien’s con-
                 tinued presence in the United States for a fixed period
                 (subject to revocation at the agency’s discretion).
                 Second, unlike most exercises of enforcement discre-
                 tion, deferred action carries with it benefits in addition
                 to non-enforcement itself; specifically, the ability to seek
                 employment authorization and suspension of unlawful
                 presence for purposes of 8 U.S.C. § 1182(a)(9)(B)(i) and
                 (a)(9)(C)(i)(I). Third, class-based deferred action pro-
                 grams, like those for VAWA recipients and victims of
                 Hurricane Katrina, do not merely enable individual
                 immigration officials to select deserving beneficiaries
                 from among those aliens who have been identified or
                 apprehended for possible removal—as is the case with
                 ad hoc deferred action—but rather set forth certain
                 threshold eligibility criteria and then invite individuals
                 who satisfy these criteria to apply for deferred action
                 status.
                    While these features of deferred action are some-
                 what unusual among exercises of enforcement discre-
                 tion, the differences between deferred action and other
                 exercises of enforcement discretion are less significant
                 than they might initially appear. The first feature—
                 the toleration of an alien’s continued unlawful pres-
                 ence—is an inevitable element of almost any exercise of
                 discretion in immigration enforcement. Any decision
                 not to remove an unlawfully present alien—even through
                 an exercise of routine enforcement discretion—necessarily
                 carries with it a tacit acknowledgment that the alien
                 will continue to be present in the United States without
                 legal status. Deferred action arguably goes beyond




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                 such tacit acknowledgment by expressly communicat-
                 ing to the alien that his or her unlawful presence will be
                 tolerated for a prescribed period of time. This dif-
                 ference is not, in our view, insignificant. But neither
                 does it fundamentally transform deferred action into
                 something other than an exercise of enforcement dis-
                 cretion: As we have previously noted, deferred action
                 confers no lawful immigration status, provides no path
                 to lawful permanent residence or citizenship, and is re-
                 vocable at any time in the agency’s discretion.
                    With respect to the second feature, the additional
                 benefits deferred action confers—the ability to apply
                 for work authorization and the tolling of unlawful
                 presence—do not depend on background principles of
                 agency discretion under DHS’s general immigration
                 authorities or the Take Care Clause at all, but rather
                 depend on independent and more specific statutory
                 authority rooted in the text of the INA. The first of
                 those authorities, DHS’s power to prescribe which ali-
                 ens are authorized to work in the United States, is
                 grounded in 8 U.S.C. § 1324a(h)(3), which defines an
                 “unauthorized alien” not entitled to work in the United
                 States as an alien who is neither an LPR nor “author-
                 ized to be . . . employed by [the INA] or by the
                 Attorney General [now the Secretary of Homeland
                 Security].” This statutory provision has long been un-
                 derstood to recognize the authority of the Secretary
                 (and the Attorney General before him) to grant work
                 authorization to particular classes of aliens.      See
                 8 C.F.R. § 274a.12; see also Perales v. Casillas, 903
                 F.2d 1043, 1048-50 (5th Cir. 1990) (describing the au-
                 thority recognized by section 1324a(h)(3) as “permis-




                                                                              AR3127
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                 sive” and largely “unfettered”). 11 Although the INA
                 requires the Secretary to grant work authorization to

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                     Section 1324a(h)(3) was enacted in 1986 as part of IRCA. Be-
                 fore then, the INA contained no provisions comprehensively ad-
                 dressing the employment of aliens or expressly delegating the au-
                 thority to regulate the employment of aliens to a responsible feder-
                 al agency. INS assumed the authority to prescribe the classes of
                 aliens authorized to work in the United States under its general re-
                 sponsibility to administer the immigration laws. In 1981, INS prom-
                 ulgated regulations codifying its existing procedures and criteria for
                 granting employment authorization. See Employment Authori-
                 zation to Aliens in the United States, 46 Fed. Reg. 25079, 25080-81
                 (May 5, 1981) (citing 8 U.S.C. § 1103(a)). Those regulations per-
                 mitted certain categories of aliens who lacked lawful immigration
                 status, including deferred action recipients, to apply for work au-
                 thorization under certain circumstances. 8 C.F.R. § 109.1(b)(7)
                 (1982). In IRCA, Congress introduced a “comprehensive scheme
                 prohibiting the employment of illegal aliens in the United States,”
                 Hoffman Plastic Compounds, Inc. v. NLRB, 535 U.S. 137, 147
                 (2002), to be enforced primarily through criminal and civil penalties
                 on employers who knowingly employ an “unauthorized alien.” As
                 relevant here, Congress defined an “unauthorized alien” barred
                 from employment in the United States as an alien who “is not . . .
                 either (A) an alien lawfully admitted for permanent residence, or
                 (B) authorized to be so employed by this chapter or by the Attorney
                 General.” 8 U.S.C. § 1324a(h)(3) (emphasis added). Shortly af-
                 ter IRCA was enacted, INS denied a petition to rescind its employ-
                 ment authorization regulation, rejecting an argument that “the
                 phrase ‘authorized to be so employed by this Act or the Attorney
                 General’ does not recognize the Attorney General’s authority to
                 grant work authorization except to those aliens who have already
                 been granted specific authorization by the Act.” Employment Au-
                 thorization; Classes of Aliens Eligible, 52 Fed. Reg. 46092, 46093
                 (Dec. 4, 1987). Because the same statutory phrase refers both to
                 aliens authorized to be employed by the INA and aliens authorized
                 to be employed by the Attorney General, INS concluded that the
                 only way to give effect to both references is to conclude “that Con-
                 gress, being fully aware of the Attorney General’s authority to pro-
                 mulgate regulations, and approving of the manner in which he has
                 exercised that authority in this matter, defined ‘unauthorized alien’




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                 particular classes of aliens, see, e.g., 8 U.S.C.
                 § 1158(c)(1)(B) (aliens granted asylum), it places few
                 limitations on the Secretary’s authority to grant work
                 authorization to other classes of aliens. Further, and
                 notably, additional provisions of the INA expressly
                 contemplate that the Secretary may grant work au-
                 thorization to aliens lacking lawful immigration status
                 —even those who are in active removal proceedings or,
                 in certain circumstances, those who have already re-
                 ceived final orders of removal. See id. § 1226(a)(3)
                 (permitting the Secretary to grant work authorization
                 to an otherwise work-eligible alien who has been ar-
                 rested and detained pending a decision whether
                 to remove the alien from the United States); id.
                 § 1231(a)(7) (permitting the Secretary under certain
                 narrow circumstances to grant work authorization to
                 aliens who have received final orders of removal).
                 Consistent with these provisions, the Secretary has
                 long permitted certain additional classes of aliens who
                 lack lawful immigration status to apply for work au-
                 thorization, including deferred action recipients who
                 can demonstrate an economic necessity for employ-
                 ment. See 8 C.F.R. § 274a.12(c)(14); see also id.
                 § 274a.12(c)(8) (applicants for asylum), (c)(10) (appli-
                 cants for cancellation of removal); supra note 11 (dis-
                 cussing 1981 regulations).
                    The Secretary’s authority to suspend the accrual of
                 unlawful presence of deferred action recipients is simi-

                 in such fashion as to exclude aliens who have been authorized em-
                 ployment by the Attorney General through the regulatory process,
                 in addition to those who are authorized employment by statute.”
                 Id.; see Commodity Futures Trading Comm’n v. Schor, 478 U.S.
                 833, 844 (1986) (stating that “considerable weight must be accord-
                 ed” an agency’s “contemporaneous interpretation of the statute it is
                 entrusted to administer”).




                                                                                        AR3129
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                 larly grounded in the INA. The relevant statutory
                 provision treats an alien as “unlawfully present” for
                 purposes of 8 U.S.C. § 1182(a)(9)(B)(i) and (a)(9)(C)(i)(I)
                 if he “is present in the United States after the expira-
                 tion of the period of stay authorized by the Attorney
                 General.” 8 U.S.C. § 1182(a)(9)(B)(ii). That language
                 contemplates that the Attorney General (and now the
                 Secretary) may authorize an alien to stay in the United
                 States without accruing unlawful presence under sec-
                 tion 1182(a)(9)(B)(i) or section 1182(a)(9)(C)(i). And
                 DHS regulations and policy guidance interpret a “pe-
                 riod of stay authorized by the Attorney General” to in-
                 clude periods during which an alien has been granted
                 deferred action. See 8 C.F.R. § 214.14(d)(3); 28 C.F.R.
                 § 1100.35(b)(2); USCIS Consolidation of Guidance at 42.
                    The final unusual feature of deferred action pro-
                 grams is particular to class-based programs. The
                 breadth of such programs, in combination with the first
                 two features of deferred action, may raise particular
                 concerns about whether immigration officials have un-
                 dertaken to substantively change the statutory removal
                 system rather than simply adapting its application
                 to individual circumstances. But the salient feature
                 of class-based programs—the establishment of an
                 affirmative application process with threshold eligibil-
                 ity criteria—does not in and of itself cross the line
                 between executing the law and rewriting it. Although
                 every class-wide deferred action program that has been
                 implemented to date has established certain threshold
                 eligibility criteria, each program has also left room for
                 case-by-case determinations, giving immigration offi-
                 cials discretion to deny applications even if the appli-
                 cant fulfills all of the program criteria. See supra
                 pp. 15-18. Like the establishment of enforcement pri-
                 orities discussed in Part I, the establishment of thres-




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                 hold eligibility criteria can serve to avoid arbitrary en-
                 forcement decisions by individual officers, thereby fur-
                 thering the goal of ensuring consistency across a large
                 agency. The guarantee of individualized, case-by-case
                 review helps avoid potential concerns that, in estab-
                 lishing such eligibility criteria, the Executive is at-
                 tempting to rewrite the law by defining new categories
                 of aliens who are automatically entitled to particular
                 immigration relief. See Crowley Caribbean Transp.,
                 37 F.3d at 676-77; see also Chaney, 470 U.S. at 833 n.4.
                 Furthermore, while permitting potentially eligible indi-
                 viduals to apply for an exercise of enforcement discre-
                 tion is not especially common, many law enforcement
                 agencies have developed programs that invite violators
                 of the law to identify themselves to the authorities in ex-
                 change for leniency. 12 Much as is the case with those
                 programs, inviting eligible aliens to identify themselves
                 through an application process may serve the agency’s
                 law enforcement interests by encouraging lower-

                  12
                      For example, since 1978, the Department of Justice’s Antitrust
                 Division has implemented a “leniency program” under which a cor-
                 poration that reveals an antitrust conspiracy in which it participat-
                 ed may receive a conditional promise that it will not be prosecuted.
                 See Dep’t of Justice, Frequently Asked Questions Regarding the
                 Antitrust Division’s Leniency Program and Model Leniency Let-
                 ters (November 19, 2008), available at http://www.justice.gov/atr/
                 public/criminal/239583.pdf (last visited Nov. 19, 2014); see also In-
                 ternal Revenue Manual § 9.5.11.9(2) (Revised IRS Voluntary Dis-
                 closure Practice), available at http://www.irs.gov/uac/Revised-IRS-
                 Voluntary-Disclosure-Practice (last visited Nov. 19, 2014) (explain-
                 ing that a taxpayer’s voluntary disclosure of misreported tax in-
                 formation “may result in prosecution not being recommended”);
                 U.S. Marshals Service, Fugitive Safe Surrender FAQs, available at
                 http://www.usmarshals.gov/safesurrender/faqs.html (last visited
                 Nov. 19, 2014) (stating that fugitives who surrender at designated
                 sites and times under the “Fugitive Safe Surrender” program are
                 likely to receive “favorable consideration”).




                                                                                         AR3131
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                 priority individuals to identify themselves to the agen-
                 cy. In so doing, the process may enable the agency to
                 better focus its scarce resources on higher enforcement
                 priorities.
                    Apart from the considerations just discussed, per-
                 haps the clearest indication that these features of de-
                 ferred action programs are not per se impermissible is
                 the fact that Congress, aware of these features, has re-
                 peatedly enacted legislation appearing to endorse such
                 programs. As discussed above, Congress has not only
                 directed that certain classes of aliens be made eligible
                 for deferred action programs—and in at least one in-
                 stance, in the case of VAWA beneficiaries, directed the
                 expansion of an existing program—but also ranked
                 evidence of approved deferred action status as evi-
                 dence of “lawful status” for purposes of the REAL ID
                 Act. These enactments strongly suggest that when
                 DHS in the past has decided to grant deferred action to
                 an individual or class of individuals, it has been acting
                 in a manner consistent with congressional policy “ ‘ra-
                 ther than embarking on a frolic of its own.’ ” United
                 States v. Riverside Bayview Homes, Inc., 474 U.S. 121, 139
                 (1985) (quoting Red Lion Broad Co. v. FCC, 395 U.S.
                 367, 375 (1969)); cf. id. at 137-39 (concluding that Con-
                 gress acquiesced in an agency’s assertion of regulatory
                 authority by “refus[ing] . . . to overrule” the agency’s
                 view after it was specifically “brought to Congress’[s]
                 attention,” and further finding implicit congressional
                 approval in legislation that appeared to acknowledge
                 the regulatory authority in question); Dames & Moore
                 v. Regan, 453 U.S. 654, 680 (1981) (finding that Con-
                 gress “implicitly approved the practice of claim settle-
                 ment by executive agreement” by enacting the Inter-
                 national Claims Settlement Act of 1949, which “cre-




                                                                              AR3132
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                 ate[d] a procedure to implement” those very agree-
                 ments).
                    Congress’s apparent endorsement of certain de-
                 ferred action programs does not mean, of course, that a
                 deferred action program can be lawfully extended to
                 any group of aliens, no matter its characteristics or its
                 scope, and no matter the circumstances in which the
                 program is implemented. Because deferred action,
                 like the prioritization policy discussed above, is an ex-
                 ercise of enforcement discretion rooted in the Secre-
                 tary’s broad authority to enforce the immigration laws
                 and the President’s duty to take care that the laws
                 are faithfully executed, it is subject to the same four
                 general principles previously discussed. See supra
                 pp. 6-7. Thus, any expansion of deferred action to
                 new classes of aliens must be carefully scrutinized to
                 ensure that it reflects considerations within the agen-
                 cy’s expertise, and that it does not seek to effectively
                 rewrite the laws to match the Executive’s policy pref-
                 erences, but rather operates in a manner consonant
                 with congressional policy expressed in the statute.
                 See supra pp. 6-7 (citing Youngstown, 343 U.S. at 637,
                 and Nat’l Ass’n of Home Builders, 551 U.S. at 658).
                 Immigration officials cannot abdicate their statutory
                 responsibilities under the guise of exercising enforce-
                 ment discretion.      See supra p. 7 (citing Chaney,
                 470 U.S. at 833 n.4). And any new deferred action pro-
                 gram should leave room for individualized evaluation of
                 whether a particular case warrants the expenditure of
                 resources for enforcement. See supra p. 7 (citing
                 Glickman, 96 F.3d at 1123, and Crowley Caribbean
                 Transp., 37 F.3d at 676-77).
                    Furthermore, because deferred action programs de-
                 part in certain respects from more familiar and wide-




                                                                             AR3133
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                 spread exercises of enforcement discretion, particular-
                 ly careful examination is needed to ensure that any
                 proposed expansion of deferred action complies with
                 these general principles, so that the proposed program
                 does not, in effect, cross the line between executing the
                 law and rewriting it. In analyzing whether the pro-
                 posed programs cross this line, we will draw substan-
                 tial guidance from Congress’s history of legislation
                 concerning deferred action. In the absence of express
                 statutory guidance, the nature of deferred action pro-
                 grams Congress has implicitly approved by statute
                 helps to shed light on Congress’s own understandings
                 about the permissible uses of deferred action. Those
                 understandings, in turn, help to inform our considera-
                 tion of whether the proposed deferred action programs
                 are “faithful[]” to the statutory scheme Congress has
                 enacted. U.S. Const. art. II, § 3.
                                            C.
                    We now turn to the specifics of DHS’s proposed de-
                 ferred action programs. DHS has proposed imple-
                 menting a policy under which an alien could apply for,
                 and would be eligible to receive, deferred action if he or
                 she: (1) is not an enforcement priority under DHS
                 policy; (2) has continuously resided in the United
                 States since before January 1, 2010; (3) is physically
                 present in the United States both when DHS announc-
                 es its program and at the time of application for de-
                 ferred action; (4) has a child who is a U.S. citizen or
                 LPR; and (5) presents “no other factors that, in the
                 exercise of discretion, make[] the grant of deferred
                 action inappropriate.”       Johnson Deferred Action
                 Memorandum at 4. You have also asked about the
                 permissibility of a similar program that would be open
                 to parents of children who have received deferred ac-




                                                                              AR3134
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                 tion under the DACA program. We first address
                 DHS’s proposal to implement a deferred action pro-
                 gram for the parents of U.S. citizens and LPRs, and
                 then turn to the permissibility of the program for par-
                 ents of DACA recipients in the next section.
                                            1.
                    We begin by considering whether the proposed pro-
                 gram for the parents of U.S. citizens and LPRs reflects
                 considerations within the agency’s expertise. DHS
                 has offered two justifications for the proposed program
                 for the parents of U.S. citizens and LPRs. First, as
                 noted above, severe resource constraints make it inev-
                 itable that DHS will not remove the vast majority of
                 aliens who are unlawfully present in the United States.
                 Consistent with Congress’s instruction, DHS prioritiz-
                 es the removal of individuals who have significant crim-
                 inal records, as well as others who present dangers to
                 national security, public safety, or border security.
                 See supra p. 10. Parents with longstanding ties to the
                 country and who have no significant criminal records or
                 other risk factors rank among the agency’s lowest en-
                 forcement priorities; absent significant increases in
                 funding, the likelihood that any individual in that cate-
                 gory will be determined to warrant the expenditure of
                 severely limited enforcement resources is very low.
                 Second, DHS has explained that the program would
                 serve an important humanitarian interest in keeping
                 parents together with children who are lawfully pre-
                 sent in the United States, in situations where such
                 parents have demonstrated significant ties to commu-
                 nity and family in this country.         See Shahoulian
                 E-mail.
                    With respect to DHS’s first justification, the need to
                 efficiently allocate scarce enforcement resources is a




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                 quintessential basis for an agency’s exercise of en-
                 forcement discretion. See Chaney, 470 U.S. at 831.
                 Because, as discussed earlier, Congress has appropri-
                 ated only a small fraction of the funds needed for full
                 enforcement, DHS can remove no more than a small
                 fraction of the individuals who are removable under the
                 immigration laws. See supra p. 9. The agency must
                 therefore make choices about which violations of the
                 immigration laws it will prioritize and pursue. And as
                 Chaney makes clear, such choices are entrusted largely
                 to the Executive’s discretion. 470 U.S. at 831.
                    The deferred action program DHS proposes would
                 not, of course, be costless. Processing applications for
                 deferred action and its renewal requires manpower and
                 resources. See Arizona, 132 S. Ct. at 2521 (Scalia, J.,
                 concurring in part and dissenting in part). But DHS
                 has informed us that the costs of administering the
                 proposed program would be borne almost entirely by
                 USCIS through the collection of application fees. See
                 Shahoulian E-mail; see also 8 U.S.C. § 1356(m);
                 8 C.F.R. § 103.7(b)(1)(i)(C), (b)(1)(i)(HH). DHS has
                 indicated that the costs of administering the deferred
                 action program would therefore not detract in any
                 significant way from the resources available to ICE
                 and CBP—the enforcement arms of DHS—which rely
                 on money appropriated by Congress to fund their op-
                 erations. See Shahoulian E-mail. DHS has explained
                 that, if anything, the proposed deferred action program
                 might increase ICE’s and CBP’s efficiency by in effect
                 using USCIS’s fee-funded resources to enable those
                 enforcement divisions to more easily identify non-
                 priority aliens and focus their resources on pursuing
                 aliens who are strong candidates for removal. See id.
                 The proposed program, in short, might help DHS ad-




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                 dress its severe resource limitations, and at the very
                 least likely would not exacerbate them. See id.
                    DHS does not, however, attempt to justify the pro-
                 posed program solely as a cost-saving measure, or
                 suggest that its lack of resources alone is sufficient to
                 justify creating a deferred action program for the pro-
                 posed class. Rather, as noted above, DHS has ex-
                 plained that the program would also serve a particu-
                 larized humanitarian interest in promoting family unity
                 by enabling those parents of U.S. citizens and LPRs
                 who are not otherwise enforcement priorities and who
                 have demonstrated community and family ties in the
                 United States (as evidenced by the length of time they
                 have remained in the country) to remain united with
                 their children in the United States. Like determining
                 how best to respond to resource constraints, determin-
                 ing how to address such “human concerns” in the im-
                 migration context is a consideration that is generally
                 understood to fall within DHS’s expertise. Arizona,
                 132 S. Ct. at 2499.
                     This second justification for the program also ap-
                 pears consonant with congressional policy embodied in
                 the INA. Numerous provisions of the statute reflect a
                 particular concern with uniting aliens with close rela-
                 tives who have attained lawful immigration status in
                 the United States. See, e.g., Fiallo v. Bell, 430 U.S.
                 787, 795 n.6 (1977); INS v. Errico, 385 U.S. 214, 220 n.9
                 (1966) (“ ‘The legislative history of the Immigration and
                 Nationality Act clearly indicates that the Congress
                 . . . was concerned with the problem of keeping
                 families of United States citizens and immigrants
                 united.’ ” (quoting H.R. Rep. No. 85-1199, at 7 (1957)).
                 The INA provides a path to lawful status for the par-
                 ents, as well as other immediate relatives, of U.S. citi-




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                 zens: U.S. citizens aged twenty-one or over may peti-
                 tion for parents to obtain visas that would permit them
                 to enter and permanently reside in the United States,
                 and there is no limit on the overall number of such peti-
                 tions that may be granted. See 8 U.S.C. § 1151(b)(2)(A)(i);
                 see also Cuellar de Osorio, 134 S. Ct. at 2197-99 (de-
                 scribing the process for obtaining a family-based im-
                 migrant visa). And although the INA contains no par-
                 allel provision permitting LPRs to petition on behalf of
                 their parents, it does provide a path for LPRs to be-
                 come citizens, at which point they too can petition to
                 obtain visas for their parents. See, e.g., 8 U.S.C.
                 § 1427(a) (providing that aliens are generally eligible to
                 become naturalized citizens after five years of lawful
                 permanent residence); id. § 1430(a) (alien spouses of
                 U.S. citizens become eligible after three years of lawful
                 permanent residence); Demore v. Kim, 538 U.S. 510,
                 544 (2003). 13 Additionally, the INA empowers the At-

                  13
                      The INA does permit LPRs to petition on behalf of their spous-
                 es and children even before they have attained citizenship. See
                 8 U.S.C. § 1153(a)(2). However, the exclusion of LPRs’ parents from
                 this provision does not appear to reflect a congressional judgment
                 that, until they attain citizenship, LPRs lack an interest in being
                 united with their parents comparable to their interest in being uni-
                 ted with their other immediate relatives. The distinction between
                 parents and other relatives originated with a 1924 statute that ex-
                 empted the wives and minor children of U.S. citizens from immi-
                 gration quotas, gave “preference status”—eligibility for a specially
                 designated pool of immigrant visas—to other relatives of U.S.
                 citizens, and gave no favorable treatment to the relatives of LPRs.
                 Immigration Act of 1924, Pub. L. No. 68-139, §§ 4(a), 6, 43 Stat. 153,
                 155-56. In 1928, Congress extended preference status to LPRs’
                 wives and minor children, reasoning that because such relatives
                 would be eligible for visas without regard to any quota when their
                 LPR relatives became citizens, granting preference status to LPRs’
                 wives and minor children would “hasten[]” the “family reunion.”
                 S. Rep. No. 70-245, at 2 (1928); see Act of May 29, 1928, ch. 914, 45




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                 torney General to cancel the removal of, and adjust to
                 lawful permanent resident status, aliens who have been
                 physically present in the United States for a continuous
                 period of not less than ten years, exhibit good moral
                 character, have not been convicted of specified offens-
                 es, and have immediate relatives who are U.S. citizens
                 or LPRs and who would suffer exceptional hardship
                 from the alien’s removal. 8 U.S.C. § 1229b(b)(1).
                 DHS’s proposal to focus on the parents of U.S. citizens
                 and LPRs thus tracks a congressional concern, ex-
                 pressed in the INA, with uniting the immediate fami-
                 lies of individuals who have permanent legal ties to the
                 United States.
                    At the same time, because the temporary relief
                 DHS’s proposed program would confer to such parents
                 is sharply limited in comparison to the benefits Con-
                 gress has made available through statute, DHS’s pro-
                 posed program would not operate to circumvent the
                 limits Congress has placed on the availability of those
                 benefits. The statutory provisions discussed above of-
                 fer the parents of U.S. citizens and LPRs the prospect
                 of permanent lawful status in the United States. The
                 cancellation of removal provision, moreover, offers the
                 prospect of receiving such status immediately, without
                 the delays generally associated with the family-based


                 Stat. 1009, 1009-10. The special visa status for wives and children
                 of LPRs thus mirrored, and was designed to complement, the spe-
                 cial visa status given to wives and minor children of U.S. citizens.
                 In 1965, Congress eliminated the basis on which the distinction had
                 rested by exempting all “immediate relatives” of U.S. citizens, in-
                 cluding parents, from numerical restrictions on immigration. Pub.
                 L. No. 89-236, § 1, 79 Stat. 911, 911. But it did not amend eligibility
                 for preference status for relatives of LPRs to reflect that change.
                 We have not been able to discern any rationale for this omission in
                 the legislative history or statutory text of the 1965 law.




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                 immigrant visa process. DHS’s proposed program, in
                 contrast, would not grant the parents of U.S. citizens
                 and LPRs any lawful immigration status, provide a
                 path to permanent residence or citizenship, or other-
                 wise confer any legally enforceable entitlement to
                 remain in the United States. See USCIS SOP at 3.
                 It is true that, as we have discussed, a grant of de-
                 ferred action would confer eligibility to apply for and
                 obtain work authorization, pursuant to the Secretary’s
                 statutory authority to grant such authorization and the
                 longstanding regulations promulgated thereunder.
                 See supra pp. 13, 21-22. But unlike the automatic em-
                 ployment eligibility that accompanies LPR status, see
                 8 U.S.C. § 1324a(h)(3), this authorization could be
                 granted only on a showing of economic necessity, and
                 would last only for the limited duration of the deferred
                 action grant, see 8 C.F.R. § 274a.12(c)(14).
                    The other salient features of the proposal are simi-
                 larly consonant with congressional policy. The pro-
                 posed program would focus on parents who are not
                 enforcement priorities under the prioritization policy
                 discussed above—a policy that, as explained earlier,
                 comports with the removal priorities set by Congress.
                 See supra p. 10. The continuous residence require-
                 ment is likewise consistent with legislative judgments
                 that extended periods of continuous residence are in-
                 dicative of strong family and community ties. See
                 IRCA, Pub. L. No. 99-603, § 201(a), 100 Stat. 3359, 3394
                 (1986) (codified as amended at 8 U.S.C. § 1255a(a)(2))
                 (granting lawful status to certain aliens unlawfully
                 present in the United States since January 1, 1982); id.
                 § 302(a) (codified as amended at 8 U.S.C. § 1160)
                 (granting similar relief to certain agricultural work-
                 ers); H.R. Rep. No. 99-682, pt. 1, at 49 (1986) (stating
                 that aliens present in the United States for five years




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                 “have become a part of their communities[,] . . .
                 have strong family ties here which include U.S. citizens
                 and lawful residents[,] . . . have built social net-
                 works in this country[, and] . . . have contributed
                 to the United States in myriad ways”); S. Rep. No.
                 99-132, at 16 (1985) (deporting aliens who “have be-
                 come well settled in this country” would be a “wasteful
                 use of the Immigration and Naturalization Service’s
                 limited enforcement resources”); see also Arizona,
                 132 S. Ct. at 2499 (noting that “[t]he equities of an in-
                 dividual case” turn on factors “including whether the
                 alien has . . . long ties to the community”).
                    We also do not believe DHS’s proposed program
                 amounts to an abdication of its statutory responsibili-
                 ties, or a legislative rule overriding the commands of
                 the statute. As discussed earlier, DHS’s severe re-
                 source constraints mean that, unless circumstances
                 change, it could not as a practical matter remove the
                 vast majority of removable aliens present in the United
                 States. The fact that the proposed program would de-
                 fer the removal of a subset of these removable aliens—
                 a subset that ranks near the bottom of the list of the
                 agency’s removal priorities—thus does not, by itself,
                 demonstrate that the program amounts to an abdica-
                 tion of DHS’s responsibilities. And the case-by-case
                 discretion given to immigration officials under DHS’s
                 proposed program alleviates potential concerns that
                 DHS has abdicated its statutory enforcement respon-
                 sibilities with respect to, or created a categorical, rule-
                 like entitlement to immigration relief for, the particular
                 class of aliens eligible for the program. An alien who
                 meets all the criteria for deferred action under the pro-
                 gram would receive deferred action only if he or she
                 “present[ed] no other factors that, in the exercise of
                 discretion,” would “make[] the grant of deferred action




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                 inappropriate.” Johnson Deferred Action Memoran-
                 dum at 4. The proposed policy does not specify what
                 would count as such a factor; it thus leaves the relevant
                 USCIS official with substantial discretion to determine
                 whether a grant of deferred action is warranted. In
                 other words, even if an alien is not a removal priority
                 under the proposed policy discussed in Part I, has con-
                 tinuously resided in the United States since before
                 January 1, 2010, is physically present in the country,
                 and is a parent of an LPR or a U.S. citizen, the USCIS
                 official evaluating the alien’s deferred action applica-
                 tion must still make a judgment, in the exercise of her
                 discretion, about whether that alien presents any other
                 factor that would make a grant of deferred action in-
                 appropriate. This feature of the proposed program
                 ensures that it does not create a categorical entitle-
                 ment to deferred action that could raise concerns that
                 DHS is either impermissibly attempting to rewrite or
                 categorically declining to enforce the law with respect
                 to a particular group of undocumented aliens.
                    Finally, the proposed deferred action program
                 would resemble in material respects the kinds of de-
                 ferred action programs Congress has implicitly ap-
                 proved in the past, which provides some indication that
                 the proposal is consonant not only with interests re-
                 flected in immigration law as a general matter, but also
                 with congressional understandings about the permissi-
                 ble uses of deferred action. As noted above, the pro-
                 gram uses deferred action as an interim measure for a
                 group of aliens to whom Congress has given a prospec-
                 tive entitlement to lawful immigration status. While
                 Congress has provided a path to lawful status for the
                 parents of U.S. citizens and LPRs, the process of ob-
                 taining that status “takes time.” Cuellar de Osorio,
                 134 S. Ct. at 2199. The proposed program would pro-




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                 vide a mechanism for families to remain together, de-
                 pending on their circumstances, for some or all of the
                 intervening period. 14 Immigration officials have on
                 several occasions deployed deferred action programs
                 as interim measures for other classes of aliens with
                 prospective entitlements to lawful immigration status,
                 including VAWA self-petitioners, bona fide T and U
                 visa applicants, certain immediate family members of
                 certain U.S. citizens killed in combat, and certain im-
                 mediate family members of aliens killed on September
                 11, 2001. As noted above, each of these programs has
                 received Congress’s implicit approval—and, indeed, in
                 the case of VAWA self-petitioners, a direction to ex-
                 pand the program beyond its original bounds. See


                  14
                      DHS’s proposed program would likely not permit all potential-
                 ly eligible parents to remain together with their children for the en-
                 tire duration of the time until a visa is awarded. In particular, un-
                 documented parents of adult citizens who are physically present in
                 the country would be ineligible to adjust their status without first
                 leaving the country if they had never been “inspected and admitted
                 or paroled into the United States.” 8 U.S.C. § 1255(a) (permitting
                 the Attorney General to adjust to permanent resident status cer-
                 tain aliens present in the United States if they become eligible for
                 immigrant visas). They would thus need to leave the country to
                 obtain a visa at a U.S. consulate abroad. See id. § 120l(a); Cuellar
                 de Osorio, 134 S. Ct. at 2197-99. But once such parents left the
                 country, they would in most instances become subject to the 3- or
                 10-year bar under 8 U.S.C. § 1182(a)(9)(B)(i) and therefore unable
                 to obtain a visa unless they remained outside the country for the
                 duration of the bar. DHS’s proposed program would nevertheless
                 enable other families to stay together without regard to the 3- or
                 10-year bar. And even as to those families with parents who would
                 become subject to that bar, the proposed deferred action program
                 would have the effect of reducing the amount of time the family had
                 to spend apart, and could enable them to adjust the timing of their
                 separation according to, for example, their children’s needs for care
                 and support.




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                 supra pp. 18-20. 15 In addition, much like these and
                 other programs Congress has implicitly endorsed, the
                 program serves substantial and particularized human-
                 itarian interests. Removing the parents of U.S. citi-
                 zens and LPRs—that is, of children who have estab-
                 lished permanent legal ties to the United States—
                 would separate them from their nuclear families, po-
                 tentially for many years, until they were able to secure
                 visas through the path Congress has provided. Dur-
                 ing that time, both the parents and their U.S. citizen or
                 LPR children would be deprived of both the economic
                 support and the intangible benefits that families pro-
                 vide.
                    We recognize that the proposed program would
                 likely differ in size from these prior deferred action
                 programs. Although DHS has indicated that there is

                  15
                      Several extended voluntary departure programs have been ani-
                 mated by a similar rationale, and the most prominent of these pro-
                 grams also received Congress’s implicit approval. In particular,
                 as noted above, the Family Fairness policy, implemented in 1990,
                 authorized granting extended voluntary departure and work au-
                 thorization to the estimated 1.5 million spouses and children of ali-
                 ens granted legal status under IRCA—aliens who would eventually
                 “acquire lawful permanent resident status” and be able to petition
                 on behalf of their family members. Family Fairness Memoran-
                 dum at 1; see supra pp. 14-15. Later that year, Congress granted
                 the beneficiaries of the Family Fairness program an indefinite stay
                 of deportation. See Immigration Act of 1990, Pub. L. No. 101-649,
                 § 301, 104 Stat. 4978, 5030. Although it did not make that grant of
                 relief effective for nearly a year, Congress clarified that “the delay
                 in effectiveness of this section shall not be construed as reflecting a
                 Congressional belief that the existing family fairness program
                 should be modified in any way before such date.” Id. § 301(g).
                 INS’s policies for qualifying Third Preference visa applicants and
                 nurses eligible for H-1 nonimmigrant status likewise extended
                 to aliens with prospective entitlements to lawful status. See supra
                 p. 14.




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                 no reliable way to know how many eligible aliens would
                 actually apply for or would be likely to receive deferred
                 action following individualized consideration under the
                 proposed program, it has informed us that approxi-
                 mately 4 million individuals could be eligible to apply.
                 See Shahoulian E-mail. We have thus considered
                 whether the size of the program alone sets it at odds
                 with congressional policy or the Executive’s duties
                 under the Take Care Clause. In the absence of ex-
                 press statutory guidance, it is difficult to say exactly
                 how the program’s potential size bears on its permissi-
                 bility as an exercise of executive enforcement discre-
                 tion. But because the size of DHS’s proposed pro-
                 gram corresponds to the size of a population to which
                 Congress has granted a prospective entitlement to
                 lawful status without numerical restriction, it seems to
                 us difficult to sustain an argument, based on numbers
                 alone, that DHS’s proposal to grant a limited form of
                 administrative relief as a temporary interim measure
                 exceeds its enforcement discretion under the INA.
                 Furthermore, while the potential size of the program is
                 large, it is nevertheless only a fraction of the approxi-
                 mately 11 million undocumented aliens who remain in
                 the United States each year because DHS lacks the
                 resources to remove them; and, as we have indicated,
                 the program is limited to individuals who would be
                 unlikely to be removed under DHS’s proposed priori-
                 tization policy. There is thus little practical danger
                 that the program, simply by virtue of its size, will im-
                 pede removals that would otherwise occur in its ab-
                 sence. And although we are aware of no prior exer-
                 cises of deferred action of the size contemplated here,
                 INS’s 1990 Family Fairness policy, which Congress
                 later implicitly approved, made a comparable fraction
                 of undocumented aliens—approximately four in ten—




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                 potentially eligible for discretionary extended volun-
                 tary departure relief. Compare CRS Immigration Re-
                 port at 22 (estimating the Family Fairness policy ex-
                 tended to 1.5 million undocumented aliens), with Office
                 of Policy and Planning, INS, Estimates of the Unau-
                 thorized Immigrant Population Residing in the Unit-
                 ed States: 1990 to 2000 at 10 (2003) (estimating an
                 undocumented alien population of 3.5 million in 1990);
                 see supra notes 5 & 15 (discussing extended voluntary
                 departure and Congress’s implicit approval of the
                 Family Fairness policy). This suggests that DHS’s
                 proposed deferred action program is not, simply by
                 virtue of its relative size, inconsistent with what Con-
                 gress has previously considered a permissible exercise
                 of enforcement discretion in the immigration context.
                     In light of these considerations, we believe the pro-
                 posed expansion of deferred action to the parents of U.S.
                 citizens and LPRs is lawful. It reflects considerations—
                 responding to resource constraints and to particularized
                 humanitarian concerns arising in the immigration
                 context—that fall within DHS’s expertise. It is con-
                 sistent with congressional policy, since it focuses on a
                 group—law-abiding parents of lawfully present chil-
                 dren who have substantial ties to the community—that
                 Congress itself has granted favorable treatment in the
                 immigration process. The program provides for the
                 exercise of case-by-case discretion, thereby avoiding
                 creating a rule-like entitlement to immigration relief or
                 abdicating DHS’s enforcement responsibilities for a
                 particular class of aliens. And, like several deferred
                 action programs Congress has approved in the past,
                 the proposed program provides interim relief that
                 would prevent particularized harm that could otherwise
                 befall both the beneficiaries of the program and their
                 families. We accordingly conclude that the proposed




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                 program would constitute a permissible exercise of
                 DHS’s enforcement discretion under the INA.
                                            2.
                    We now tum to the proposed deferred action pro-
                 gram for the parents of DACA recipients. The rele-
                 vant considerations are, to a certain extent, similar to
                 those discussed above: Like the program for the par-
                 ents of U.S. citizens and LPRs, the proposed program
                 for parents of DACA recipients would respond to se-
                 vere resource constraints that dramatically limit DHS’s
                 ability to remove aliens who are unlawfully present,
                 and would be limited to individuals who would be un-
                 likely to be removed under DHS’s proposed prioritiza-
                 tion policy. And like the proposed program for LPRs
                 and U.S. citizens, the proposed program for DACA
                 parents would preserve a significant measure of case-
                 by-case discretion not to award deferred action even if
                 the general eligibility criteria are satisfied.
                     But the proposed program for parents of DACA re-
                 cipients is unlike the proposed program for parents of
                 U.S. citizens and LPRs in two critical respects. First,
                 although DHS justifies the proposed program in large
                 part based on considerations of family unity, the par-
                 ents of DACA recipients are differently situated from
                 the parents of U.S. citizens and LPRs under the family-
                 related provisions of the immigration law. Many pro-
                 visions of the INA reflect Congress’s general concern
                 with not separating individuals who are legally entitled
                 to live in the United States from their immediate family
                 members. See, e.g., 8 U.S.C. § 1151(b)(2)(A)(i) (per-
                 mitting citizens to petition for parents, spouses and
                 children); id § 1229b(b)(1) (allowing cancellation of re-
                 moval for relatives of citizens and LPRs). But the im-
                 migration laws do not express comparable concern for




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                 uniting persons who lack lawful status (or prospective
                 lawful status) in the United States with their families.
                 DACA recipients unquestionably lack lawful status in
                 the United States. See DACA Toolkit at 8 (“Deferred
                 action . . . does not provide you with a lawful sta-
                 tus.”). Although they may presumptively remain in
                 the United States, at least for the duration of the grant
                 of deferred action, that grant is both time-limited and
                 contingent, revocable at any time in the agency’s dis-
                 cretion. Extending deferred action to the parents of
                 DACA recipients would therefore expand family-based
                 immigration relief in a manner that deviates in important
                 respects from the immigration system Congress has en-
                 acted and the policies that system embodies.
                    Second, as it has been described to us, the proposed
                 deferred action program for the parents of DACA re-
                 cipients would represent a significant departure from
                 deferred action programs that Congress has implicitly
                 approved in the past. Granting deferred action to the
                 parents of DACA recipients would not operate as an in-
                 terim measure for individuals to whom Congress has
                 given a prospective entitlement to lawful status. Such
                 parents have no special prospect of obtaining visas,
                 since Congress has not enabled them to self-petition—
                 as it has for VAWA self-petitioners and individuals eli-
                 gible for T or U visas—or enabled their undocumented
                 children to petition for visas on their behalf. Nor would
                 granting deferred action to parents of DACA recipi-
                 ents, at least in the absence of other factors, serve in-
                 terests that are comparable to those that have promp-
                 ted implementation of deferred action programs in the
                 past. Family unity is, as we have discussed, a signifi-
                 cant humanitarian concern that underlies many provi-
                 sions of the INA. But a concern with furthering family
                 unity alone would not justify the proposed program,




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                 because in the absence of any family member with law-
                 ful status in the United States, it would not explain why
                 that concern should be satisfied by permitting family
                 members to remain in the United States. The decision
                 to grant deferred action to DACA parents thus seems to
                 depend critically on the earlier decision to make de-
                 ferred action available to their children. But we are
                 aware of no precedent for using deferred action in this
                 way, to respond to humanitarian needs rooted in earlier
                 exercises of deferred action. The logic underlying
                 such an expansion does not have a clear stopping point:
                 It would appear to argue in favor of extending relief
                 not only to parents of DACA recipients, but also to the
                 close relatives of any alien granted deferred action
                 through DACA or any other program, those relatives’
                 close relatives, and perhaps the relatives (and relatives’
                 relatives) of any alien granted any form of discretion-
                 ary relief from removal by the Executive.
                    For these reasons, the proposed deferred action
                 program for the parents of DACA recipients is mean-
                 ingfully different from the proposed program for the
                 parents of U.S. citizens and LPRs. It does not sound
                 in Congress’s concern for maintaining the integrity of
                 families of individuals legally entitled to live in the
                 United States. And unlike prior deferred action pro-
                 grams in which Congress has acquiesced, it would treat
                 the Executive’s prior decision to extend deferred action
                 to one population as justifying the extension of deferred
                 action to additional populations. DHS, of course, re-
                 mains free to consider whether to grant deferred action
                 to individual parents of DACA recipients on an ad hoc
                 basis. But in the absence of clearer indications that
                 the proposed class-based deferred action program for
                 DACA parents would be consistent with the congres-




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                 sional policies and priorities embodied in the immigra-
                 tion laws, we conclude that it would not be permissible.
                                           III.
                     In sum, for the reasons set forth above, we conclude
                 that DHS’s proposed prioritization policy and its pro-
                 posed deferred action program for parents of U.S.
                 citizens and lawful permanent residents would be le-
                 gally permissible, but that the proposed deferred ac-
                 tion program for parents of DACA recipients would not
                 be permissible.

                                   KARL R. THOMPSON
                         Principal Deputy Assistant Attorney General
                                   Office of Legal Counsel




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                                      Feb. 20, 2017
                 MEMORANDUM FOR:
                      Kevin McAleenan
                      Acting Commissioner
                      U.S. Customs and Border Protection
                      Thomas D. Homan
                      Acting Director
                      U.S. Immigration and Customs Enforcement
                      Lori Scialabba
                      Acting Director
                      U.S. Citizenship and Immigration Services
                      Joseph B. Maher
                      Acting General Counsel
                      Dimple Shah
                      Acting Assistant Secretary for International
                        Affairs
                      Chip Fulghum
                      Acting Undersecretary for Management
                 FROM:
                    /s/ JOHN KELLY
                        JOHN KELLY
                        Secretary




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                 SUBJECT:
                       Enforcement of the Immigration Laws to Serve
                       the National Interest
                     This memorandum implements the Executive Order
                 entitled “Enhancing Public Safety in the Interior of the
                 United States,” issued by the President on January 25,
                 2017. It constitutes guidance for all Department per-
                 sonnel regarding the enforcement of the immigration
                 laws of the United States, and is applicable to the ac-
                 tivities of U.S. Immigration and Customs Enforcement
                 (ICE), U.S. Customs and Border Protection (CBP),
                 and U.S. Citizenship and Immigration Services
                 (USCIS). As such, it should inform enforcement and
                 removal activities, detention decisions, administrative
                 litigation, budget requests and execution, and strategic
                 planning.
                    With the exception of the June 15, 2012, memoran-
                 dum entitled “Exercising Prosecutorial Discretion with
                 Respect to Individuals Who Came to the United States
                 as Children,” and the November 20, 2014 memorandum
                 entitled “Exercising Prosecutorial Discretion with
                 Respect to Individuals Who Came to the United States
                 as Children and with Respect to Certain Individuals
                 Who Are the Parents of U.S. Citizens or Permanent
                 Residents,” 1 all existing conflicting directives, memo-
                 randa, or field guidance regarding the enforcement of
                 our immigration laws and priorities for removal are
                 hereby immediately rescinded—to the extent of the
                 conflict—including, but not limited to, the November
                 20, 2014, memoranda entitled “Policies for the Appre-



                  1
                    The November 20, 2014, memorandum will be addressed in fu-
                 ture guidance.




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                 hension, Detention and Removal of Undocumented
                 Immigrants,” and “Secure Communities.”
                  A.   The Department’s Enforcement Priorities
                    Congress has defined the Department’s role and
                 responsibilities regarding the enforcement of the im-
                 migration laws of the United States. Effective imme-
                 diately, and consistent with Article II, Section 3 of the
                 United States Constitution and Section 3331 of Title 5,
                 United States Code, Department personnel shall faith-
                 fully execute the immigration laws of the United States
                 against all removable aliens.
                    Except as specifically noted above, the Department
                 no longer will exempt classes or categories of remova-
                 ble aliens from potential enforcement. In faithfully
                 executing the immigration laws, Department personnel
                 should take enforcement actions in accordance with
                 applicable law. In order to achieve this goal, as noted
                 below, I have directed ICE to hire 10,000 officers and
                 agents expeditiously, subject to available resources,
                 and to take enforcement actions consistent with availa-
                 ble resources. However, in order to maximize the
                 benefit to public safety, to stem unlawful migration and
                 to prevent fraud and misrepresentation, Department
                 personnel should prioritize for removal those aliens
                 described by Congress in Sections 212(a)(2), (a)(3), and
                 (a)(6)(C), 235(b) and (c), and 237(a)(2) and (4) of the
                 Immigration and Nationality Act (INA).
                    Additionally, regardless of the basis of removability,
                 Department personnel should prioritize removable ali-
                 ens who: (1) have been convicted of any criminal of-
                 fense; (2) have been charged with any criminal offense
                 that has not been resolved; (3) have committed acts
                 which constitute a chargeable criminal offense; (4) have
                 engaged in fraud or willful misrepresentation in con-




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                 nection with any official matter before a governmental
                 agency; (5) have abused any program related to receipt
                 of public benefits; (6) are subject to a final order of
                 removal but have not complied with their legal obliga-
                 tion to depart the United States; or (7) in the judgment
                 of an immigration officer, otherwise pose a risk to
                 public safety or national security. The Director of
                 lCE, the Commissioner of CBP, and the Director of
                 USCIS may, as they determine is appropriate, issue
                 further guidance to allocate appropriate resources
                 to prioritize enforcement activities within these
                 categories—for example, by prioritizing enforcement
                 activities against removable aliens who are convicted
                 felons or who are involved in gang activity or drug
                 trafficking.
                  B.   Strengthening Programs to Facilitate the Effi-
                       cient and Faithful Execution of the Immigration
                       Laws of the United States
                     Facilitating the efficient and faithful execution of
                 the immigration laws of the United States—and priori-
                 tizing the Department’s resources—requires the use of
                 all available systems and enforcement tools by De-
                 partment personnel.
                    Through passage of the immigration laws, Congress
                 established a comprehensive statutory regime to re-
                 move aliens expeditiously from the United States in
                 accordance with all applicable due process of law. I
                 determine that the faithful execution of our immigra-
                 tion laws is best achieved by using all these statutory
                 authorities to the greatest extent practicable. Ac-
                 cordingly, Department personnel shall make full use of
                 these authorities.
                    Criminal aliens have demonstrated their disregard
                 for the rule of law and pose a threat to persons residing




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                 in the United States. As such, criminal aliens are a
                 priority for removal. The Priority Enforcement Pro-
                 gram failed to achieve its stated objectives, added an
                 unnecessary layer of uncertainty for the Department’s
                 personnel, and hampered the Department’s enforce-
                 ment of the immigration laws in the interior of the
                 United States. Effective immediately, the Priority
                 Enforcement Program is terminated and the Secure
                 Communities Program shall be restored. To protect
                 our communities and better facilitate the identification,
                 detention, and removal of criminal aliens within consti-
                 tutional and statutory parameters, the Department
                 shall eliminate the existing Forms I-247D, I-247N, and
                 I-247X, and replace them with a new form to more
                 effectively communicate with recipient law enforce-
                 ment agencies. However, until such forms are up-
                 dated they may be used as an interim measure to en-
                 sure that detainers may still be issued, as appropriate.
                    ICE’s Criminal Alien Program is an effective tool to
                 facilitate the removal of criminal aliens from the Unit-
                 ed States, while also protecting our communities and
                 conserving the Department’s detention resources.
                 Accordingly, ICE should devote available resources to
                 expanding the use of the Criminal Alien Program in
                 any willing jurisdiction in the United States. To the
                 maximum extent possible, in coordination with the Ex-
                 ecutive Office for Immigration Review (EOIR), remov-
                 al proceedings shall be initiated against aliens incar-
                 cerated in federal, state, and local correctional facilities
                 under the Institutional Hearing and Removal Program
                 pursuant to section 238(a) of the INA, and administra-
                 tive removal processes, such as those under section
                 238(b) of the INA, shall be used in all eligible cases.




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                    The INA § 287(g) Program has been a highly suc-
                 cessful force multiplier that allows a qualified state or
                 local law enforcement officer to be designated as an
                 “immigration officer” for purposes of enforcing federal
                 immigration law. Such officers have the authority to
                 perform all law enforcement functions specified in
                 section 287(a) of the INA, including the authority to in-
                 vestigate, identify, apprehend, arrest, detain, and con-
                 duct searches authorized under the INA, under the di-
                 rection and supervision of the Department.
                    There are currently 32 law enforcement agencies in
                 16 states participating in the 287(g) Program. In pre-
                 vious years, there were significantly more law enforce-
                 ment agencies participating in the 287(g) Program.
                 To the greatest extent practicable, the Director of ICE
                 and Commissioner of CBP shall expand the 287(g) Pro-
                 gram to include all qualified law enforcement agencies
                 that request to participate and meet all program re-
                 quirements. In furtherance of this direction and the
                 guidance memorandum, “Implementing the President’s
                 Border Security and Immigration Enforcement Im-
                 provements Policies” (Feb. 20, 2017), the Commission-
                 er of CBP is authorized, in addition to the Director of
                 ICE, to accept State services and take other actions as
                 appropriate to carry out immigration enforcement
                 pursuant to section 287(g) of the INA.
                  C.   Exercise of Prosecutorial Discretion
                    Unless otherwise directed, Department personnel
                 may initiate enforcement actions against removable ali-
                 ens encountered during the performance of their offi-
                 cial duties and should act consistently with the Presi-
                 dent’s enforcement priorities identified in his Execu-
                 tive Order and any further guidance issued pursuant to
                 this memorandum. Department personnel have full




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                 authority to arrest or apprehend an alien whom an im-
                 migration officer has probable cause to believe is in
                 violation of the immigration laws. They also have full
                 authority to initiate removal proceedings against any
                 alien who is subject to removal under any provision of
                 the INA, and to refer appropriate cases for criminal
                 prosecution. The Department shall prioritize aliens
                 described in the Department’s Enforcement Priorities
                 (Section A) for arrest and removal. This is not inten-
                 ded to remove the individual, case-by-case decisions of
                 immigration officers.
                     The exercise of prosecutorial discretion with regard
                 to any alien who is subject to arrest, criminal prosecu-
                 tion, or removal in accordance with law shall be made
                 on a case-by-case basis in consultation with the head of
                 the field office component, where appropriate, of CBP,
                 ICE, or USCIS that initiated or will initiate the en-
                 forcement action, regardless of which entity actually
                 files any applicable charging documents: CBP Chief
                 Patrol Agent, CBP Director of Field Operations, ICE
                 Field Office Director, ICE Special Agent-in-Charge, or
                 the USCIS Field Office Director, Asylum Office Di-
                 rector or Service Center Director.
                    Except as specifically provided in this memoran-
                 dum, prosecutorial discretion shall not be exercised in a
                 manner that exempts or excludes a specified class or
                 category of aliens from enforcement of the immigration
                 laws. The General Counsel shall issue guidance con-
                 sistent with these principles to all attorneys involved in
                 immigration proceedings.
                  D.   Establishing the Victims of Immigration Crime
                       Engagement (VOICE) Office
                    Criminal aliens routinely victimize Americans and
                 other legal residents. Often, these victims are not pro-




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                 vided adequate information about the offender, the of-
                 fender’s immigration status, or any enforcement action
                 taken by ICE against the offender. Efforts by ICE to
                 engage these victims have been hampered by prior De-
                 partment of Homeland Security (DHS) policy extend-
                 ing certain Privacy Act protections to persons other
                 than U.S. citizens and lawful permanent residents,
                 leaving victims feeling marginalized and without a
                 voice. Accordingly, I am establishing the Victims of
                 Immigration Crime Engagement (VOICE) Office with-
                 in the Office of the Director of ICE, which will create a
                 programmatic liaison between ICE and the known
                 victims of crimes committed by removable aliens. The
                 liaison will facilitate engagement with the victims and
                 their families to ensure, to the extent permitted by law,
                 that they are provided information about the offender,
                 including the offender’s immigration status and custo-
                 dy status, and that their questions and concerns re-
                 garding immigration enforcement efforts are ad-
                 dressed.
                    To that end, I direct the Director of ICE to immedi-
                 ately reallocate any and all resources that are currently
                 used to advocate on behalf of illegal aliens (except as
                 necessary to comply with a judicial order) to the new
                 VOICE Office, and to immediately terminate the pro-
                 vision of such outreach or advocacy services to illegal
                 aliens.
                    Nothing herein may be construed to authorize dis-
                 closures that are prohibited by law or may relate to
                 information that is Classified, Sensitive but Unclassi-
                 fied (SBU), Law Enforcement Sensitive (LES), For
                 Official Use Only (FOUO), or similarly designated in-
                 formation that may relate to national security, law en-
                 forcement, or intelligence programs or operations, or




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                 disclosures that are reasonably likely to cause harm to
                 any person.
                  E.   Hiring Additional ICE Officers and Agents
                     To enforce the immigration laws effectively in the
                 interior of the United States in accordance with the
                 President’s directives, additional ICE agents and of-
                 ficers are necessary. The Director of ICE shall—while
                 ensuring consistency in training and standards—take
                 all appropriate action to expeditiously hire 10,000
                 agents and officers, as well as additional operational
                 and mission support and legal staff necessary to hire
                 and support their activities. Human Capital leader-
                 ship in CBP and ICE, in coordination with the Under
                 Secretary for Management and the Chief Human Cap-
                 ital Officer, shall develop hiring plans that balance
                 growth and interagency attrition by integrating work-
                 force shaping and career paths for incumbents and new
                 hires.
                  F.   Establishment of Programs to Collect Authorized
                       Civil Fines and Penalties
                    As soon as practicable, the Director of ICE, the
                 Commissioner of CBP, and the Director of USCIS shall
                 issue guidance and promulgate regulations, where re-
                 quired by law, to ensure the assessment and collection
                 of all fines and penalties which the Department is au-
                 thorized under the law to assess and collect from aliens
                 and from those who facilitate their unlawful presence in
                 the United States.
                  G.   Aligning the Department’s Privacy Policies With
                       the Law
                     The Department will no longer afford Privacy Act
                 rights and protections to persons who are neither U.S.
                 citizens nor lawful permanent residents. The DHS




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                 Privacy Office will rescind the DHS Privacy Policy
                 Guidance memorandum, dated January 7, 2009, which
                 implemented the DHS “mixed systems” policy of ad-
                 ministratively treating all personal information con-
                 tained in DHS record systems as being subject to the
                 Privacy Act regardless of the subject’s immigration
                 status. The DHS Privacy Office, with the assistance
                 of the Office of the General Counsel, will develop new
                 guidance specifying the appropriate treatment of per-
                 sonal information DHS maintains in its record systems.
                  H. Collecting and Reporting Data on Alien Appre-
                     hensions and Releases
                    The collection of data regarding aliens apprehended
                 by ICE and the disposition of their cases will assist in
                 the development of agency performance metrics and
                 provide transparency in the immigration enforcement
                 mission. Accordingly, to the extent permitted by law,
                 the Director of ICE shall develop a standardized meth-
                 od of reporting statistical data regarding aliens appre-
                 hended by ICE and, at the earliest practicable time,
                 provide monthly reports of such data to the public with-
                 out charge.
                     The reporting method shall include uniform termi-
                 nology and shall utilize a format that is easily under-
                 standable by the public and a medium that can be read-
                 ily accessed. At a minimum, in addition to statistical
                 information currently being publicly reported regard-
                 ing apprehended aliens, the following categories of in-
                 formation must be included: country of citizenship,
                 convicted criminals and the nature of their offenses,
                 gang members, prior immigration violators, custody
                 status of aliens and, if released, the reason for release
                 and Location of their release, aliens ordered removed,
                 and aliens physically removed or returned.




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                     The ICE Director shall also develop and provide a
                 weekly report to the public, utilizing a medium that can
                 be readily accessed without charge, of non-Federal juris-
                 dictions that release aliens from their custody, not-
                 withstanding that such aliens are subject to a detainer
                 or similar request for custody issued by ICE to that
                 jurisdiction. In addition to other relevant information,
                 to the extent that such information is readily available,
                 the report shall reflect the name of the jurisdiction, the
                 citizenship and immigration status of the alien, the ar-
                 rest, charge, or conviction for which each alien was in
                 the custody of that jurisdiction, the date on which the
                 ICE detainer or similar request for custody was served
                 on the jurisdiction by ICE, the date of the alien’s re-
                 lease from the custody of that jurisdiction and the
                 reason for the release, an explanation concerning why
                 the detainer or similar request for custody was not
                 honored, and all arrests, charges, or convictions occur-
                 ring after the alien’s release from the custody of that
                 jurisdiction.
                  I.   No Private Right of Action
                    This document provides only internal DHS policy
                 guidance, which may be modified, rescinded, or super-
                 seded at any time without notice. This guidance is not
                 intended to, does not, and may not be relied upon to
                 create any right or benefit, substantive or procedural,
                 enforceable at law by any party in any administrative,
                 civil, or criminal matter. Likewise, no limitations are
                 placed by this guidance on the otherwise lawful en-
                 forcement or litigation prerogatives of DHS.
                    In implementing these policies, I direct DHS Com-
                 ponents to consult with legal counsel to ensure compli-
                 ance with all applicable laws, including the Administra-
                 tive Procedure Act.




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                                        June 15, 2017
                 MEMORANDUM FOR:
                        Kevin McAleenan
                        Acting Commissioner
                        U.S. Customs and Border Protection
                        James W. McCament
                        Acting Director
                        U.S. Citizenship and Immigration Services
                        Thomas D. Homan
                        Acting Director
                        U.S. Immigration and Customs Enforcement
                        Joseph B. Maher
                        Acting General Counsel
                        Michael T. Dougherty
                        Assistant Secretary for Border, Immigration,
                          and Trade Policy
                 FROM:
                  /s/   JOHN KELLY
                        JOHN KELLY
                 SUBJECT:
                        Rescission of November 20, 2014 Memorandum
                        Providing for Deferred Action for Parents of
                        Americans and Lawful Permanent Residents
                        (“DAPA”)




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                    On January 25, 2017, President Trump issued Ex-
                 ecutive Order No. 13768, “Enhancing Public Safety in
                 the Interior of the United States.” In that Order, the
                 President directed federal agencies to “[e]nsure the
                 faithful execution of the immigration laws        . . .
                 against all removable aliens,” and established new im-
                 migration enforcement priorities. On February 20,
                 2017. I issued an implementing memorandum, stating
                 that “the Department no longer will exempt classes or
                 categories of removable aliens from potential enforce-
                 ment,” except as provided in the Department’s June 15,
                 2012 memorandum establishing the Deferred Action
                 for Childhood Arrivals (“DACA”) policy 1 and Novem-
                 ber 20, 2014 memorandum providing for Deferred
                 Action for Parents of Americans and Lawful Perma-
                 nent Residents (“DAPA”) and for the expansion of
                 DACA 2. After consulting with the Attorney General,
                 I have decided to rescind the November 20, 2014 DAPA
                 memorandum and the policies announced therein. 3 The


                  1
                     Memorandum from Janet Napolitano, Sec’y, DHS to David
                 Aguilar, Acting Comm’r, CBP, et al., “Exercising Prosecutorial
                 Discretion with Respect to Individuals Who Came to the United
                 States as Children” (June 15, 2012).
                   2
                     Memorandum from Jeh Johnson, Sec’y, DHS, to Leon Rodri-
                 guez, Dir., USCIS, et al., “Exercising Prosecutorial Discretion with
                 Respect to Individuals Who Came to the United States as Children
                 and with Respect to Certain lndividuuls Whose Parents are U.S.
                 Citizens or Permanent Residents” (Nov. 20, 2014).
                   3
                     This Memorandum does not alter the remaining periods of de-
                 ferred action under the Expanded DACA policy granted between
                 issuance of the November 20, 2014 Memorandum and the February
                 16, 2015 preliminary injunction order in the Texas litigation, nor
                 does it affect the validity of related Employment Authorization
                 Documents (EADs) granted during the same span of time. I
                 remind our officers that (1) deferred action, as an act of prosecuto-
                 rial discretion, may only be granted on a case-by-case basis, and (2)




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                 June 15, 2012 DACA memorandum, however, will re-
                 main in effect.
                 Background
                    The November 20, 2014 memorandum directed U.S.
                 Citizenship and Immigration Services (“USCIS”) “to
                 establish a process, similar to DACA, for exercising
                 prosecutorial discretion through the use of deferred
                 action, on a case-by-case basis,” to certain aliens who
                 have “a son or daughter who is a U.S. citizen or lawful
                 permanent resident.” This process was to be known
                 as Deferred Action for Parents of Americans and Law-
                 ful Permanent Residents, or “DAPA.”
                    To request consideration for deferred action under
                 DAPA, the alien must have satisfied the following
                 criteria: (1) as of November 20, 2014, be the parent of
                 a U.S. citizen or lawful permanent resident; (2) have
                 continuously resided here since before January 1, 2010;
                 (3) have been physically present here on November 20,
                 2014, and when applying for relief; (4) have no lawful
                 immigration status on that date; (5) not fall within the
                 Secretary’s enforcement priorities; and (6) “present no
                 other factors that, in the exercise of discretion, make[ ]
                 the grant of deferred action inappropriate.” The Mem-
                 orandum also directed USCIS to expand the coverage
                 criteria under the 2012 DACA policy to encompass ali-
                 ens with a wider range of ages and arrival dates, and to
                 lengthen the period of deferred action and work au-
                 thorization from two years to three (“Expanded
                 DACA”).
                   Prior to implementation of DAPA, twenty-six states
                 —led by Texas—challenged the policies announced in

                 such a grant may be terminated at any time at the agency’s discre-
                 tion.




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                 the November 20, 2014 memorandum in the U.S. Dis-
                 trict Court for the Southern District of Texas. In an
                 order issued on February 16, 2015, the district court
                 preliminarily enjoined the policies nationwide on the
                 ground that the plaintiff states were likely to succeed
                 on their claim that DHS violated the Administrative
                 Procedure Act (“APA”) by failing to comply with notice-
                 and-comment rulemaking requirements.          Texas v.
                 United States, 86 F. Supp. 3d 591 (S.D. Tex. 2015).
                 The Fifth Circuit Court of Appeals affirmed, holding
                 that Texas had standing, demonstrated a substantial
                 likelihood of success on the merits of its APA claims,
                 and satisfied the other requirements for a preliminary
                 injunction. Texas v. United States, 809 F.3d 134 (5th
                 Cir. 2015). The Supreme Court affirmed the Fifth Cir-
                 cuit’s ruling by equally divided vote (4-4) and did not
                 issue a substantive opinion. United States v. Texas,
                 136 S. Ct. 2271 (2016) (per curiam).
                    The litigation remains pending before the district
                 court.
                    I have considered a number of factors, including the
                 preliminary injunction in this matter, the ongoing liti-
                 gation, the fact that DAPA never took effect, and our
                 new immigration enforcement priorities. After consult-
                 ing with the Attorney General, and in the exercise of
                 my discretion in establishing national immigration en-
                 forcement policies and priorities, I hereby rescind the
                 November 20, 2014 memorandum.




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                 June 29, 2017

                 The Honorable Jeff Sessions
                 Attorney General of the United States
                 U.S. Department of Justice
                 950 Pennsylvania Avenue, NW
                 Washington, D.C. 20530-0001
                    Re: Texas, et al. v. United States, et al. No.
                 1:14-cv-00254 (S.D. Tex.)
                 Dear Attorney General Sessions:
                 The State plaintiffs that successfully challenged the
                 Obama Administration’s DAPA and Expanded DACA
                 programs commend the Secretary of Homeland Secu-
                 rity for issuing his June 15, 2017 memorandum rescind-
                 ing, in large part, his predecessor’s November 20, 2014
                 memorandum creating those DAPA and Expanded
                 DACA programs.
                 As you know, this November 20, 2014 memorandum
                 creating DAPA and Expanded DACA would have
                 granted eligibility for lawful presence and work autho-
                 rization to over four million unlawfully present aliens.
                 Courts blocked DAPA and Expanded DACA from
                 going into effect, holding that the Executive Branch
                 does not have the unilateral power to confer lawful
                 presence and work authorization on unlawfully present




                                                                            AR3166
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                 aliens simply because the Executive chooses not to re-
                 move them. Rather, “[i]n specific and detailed provi-
                 sions, the [Immigration and Nationality Act] expressly
                 and carefully provides legal designations allowing de-
                 fined classes of aliens to be lawfully present.” Texas
                 v. United States, 809 F.3d 134, 179 (5th Cir. 2015), aff ’d
                 by an equally divided court, 136 S. Ct. 2271 (2016) (per
                 curiam). “Entirely absent from those specific classes
                 is the group of 4.3 million illegal aliens who would be
                 eligible for lawful presence under DAPA.” Id. Like-
                 wise, “[t]he INA also specifies classes of aliens eligible
                 and ineligible for work authorization . . . with no
                 mention of the class of persons whom DAPA would
                 make eligible for work authorization.” Id. at 180-81.
                 Thus, “DAPA is not authorized by statute,’’ id. at 184,
                 and “DAPA is foreclosed by Congress’s careful plan,’’
                 id. at 186.
                 For these same reasons that DAPA and Expanded
                 DACA’s unilateral Executive Branch conferral of eligi-
                 bility for lawful presence and work authorization was
                 unlawful, the original June 15, 2012 DACA memoran-
                 dum is also unlawful. The original 2012 DACA pro-
                 gram covers over one million otherwise unlawfully pre-
                 sent aliens. Id. at 147. And just like DAPA, DACA
                 unilaterally confers eligibility for work authorization,
                 id., and lawful presence without any statutory authori-
                 zation from Congress. 1
                 Nevertheless, the Secretary of Homeland Security’s
                 June 15, 2017 memorandum provided that “[t]he June
                 15, 2012 DACA memorandum, however, will remain in

                  1
                    See, e.g., USCIS, DACA Frequently Asked Questions, https://www.
                 uscis.gov/humanitarian/consideration-deferred-action-childhood-
                 arrivals-process/frequently-asked-questions (last visited June 29,
                 2017) (DACA recipients “are considered to be lawfully present”).




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                 effect,’’ and some “Expanded DACA’’ permits will also
                 remain in effect.
                 We respectfully request that the Secretary of Home-
                 land Security phase out the DACA program. Specifi-
                 cally, we request that the Secretary of Homeland Se-
                 curity rescind the June 15, 2012 DACA memorandum
                 and order that the Executive Branch will not renew or
                 issue any new DACA or Expanded DACA permits in
                 the future. This request does not require the Execu-
                 tive Branch to immediately rescind DACA or Expand-
                 ed DACA permits that have already been issued. This
                 request does not require the Secretary to alter the im-
                 migration enforcement priorities contained in his sep-
                 arate February 20, 2017 memorandum. 2 And this re-
                 quest does not require the federal government to re-
                 move any alien.
                 If, by September 5, 2017, the Executive Branch agrees
                 to rescind the June 15, 2012 DACA memorandum and
                 not to renew or issue any new DACA or Expanded
                 DACA permits in the future, then the plaintiffs that
                 successfully challenged DAPA and Expanded DACA
                 will voluntarily dismiss their lawsuit currently pending
                 in the Southern District of Texas. Otherwise, the com-
                 plaint in that case will be amended to challenge both
                 the DACA program and the remaining Expanded DACA
                 permits.
                 We appreciate the opportunity to continue working
                 with you, and the entire Presidential Administration, to
                 cooperatively enforce federal immigration laws.


                  2
                     See DHS, Enforcement of Immigration Laws to Serve the Na-
                 tional Interest, https://www.dhs.gov/sites/default/files/publications/
                 17_0220_S1_Enforcement-of-the-Immigration-Laws-to-Serve-the-
                 National-Interest.pdf.




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                 Sincerely,

                 /s/ KEN PAXTON
                     KEN PAXTON
                     Attorney General of Texas

                 /s/ JEFF LANDRY
                     JEFF LANDRY
                     Attorney General of Louisiana

                 /s/ STEVE MARSHALL
                     STEVEN MARSHALL
                     Attorney General of Alabama

                 /s/ DOUG PETERSON
                     DOUG PETERSON
                     Attorney General of Nebraska

                 /s/ LESLIE RUTLEDGE
                     LESLIE RUTLEDGE
                     Attorney General of Arkansas

                 /s/ ALAN WILSON
                     ALAN WILSON
                     Attorney General of South Carolina

                 /s/ LAWRENCE G. WASDEN
                     LAWRENCE G. WASDEN
                     Attorney General of Idaho

                 /s/ HERBERT SLATERY III
                     HERBERT SLATERY III
                     Attorney General and Reporter of Tennessee

                 /s/ C.L. “BUTCH” OTTER
                     C.L. “BUTCH” OTTER
                     Governor of Idaho




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                 /s/ PATRICK MORRISEY
                     PATRICK MORRISEY
                     Attorney General of West Virigina

                 /s/ DEREK SCHMIDT
                     DEREK SCHMIDT
                     Attorney General of Kansas




                                                                            AR3170
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                               Office of the Attorney General
                                  Washington, D.C. 20530




                 Dear Acting Secretary Duke,
                    I write to advise that the Department of Homeland
                 Security (DHS) should rescind the June 15, 2012, DHS
                 Memorandum entitled “Exercising Prosecutorial Dis-
                 cretion with Respect to Individuals Who Came to the
                 United States as Children,” as well as any related
                 memoranda or guidance. This policy, known as “De-
                 ferred Action for Childhood Arrivals” (DACA), allows
                 certain individuals who are without lawful status in the
                 United States to request and receive a renewable, two-
                 year presumptive reprieve from removal, and other
                 benefits such as work authorization and participation in
                 the Social Security program.
                    DACA was effectuated by the previous administra-
                 tion through executive action, without proper statutory
                 authority and with no established end-date, after Con-
                 gress’ repeated rejection of proposed legislation that
                 would have accomplished a similar result. Such an
                 open-ended circumvention of immigration laws was an
                 unconstitutional exercise of authority by the Executive
                 Branch. The related Deferred Action for Parents of
                 Americans and Lawful Permanent Residents (DAPA)
                 policy was enjoined on a nationwide basis in a decision
                 affirmed by the Fifth Circuit on the basis of multiple
                 legal grounds and then by the Supreme Court by an
                 equally divided vote. See Texas v. United States,
                 86 F. Supp. 3d 591, 669-70 (S.D. Tex.), aff ’d, 809 F.3d
                 134, 171-86 (5th Cir. 2015), aff ’d by equally divided
                 Court, 136 S. Ct. 2271 (2016). Then-Secretary of




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                 Homeland Security John Kelly rescinded the DAPA
                 policy in June. Because the DACA policy has the same
                 legal and constitutional defects that the courts recog-
                 nized as to DAPA, it is likely that potentially imminent
                 litigation would yield similar results with respect to
                 DACA.
                    In light of the costs and burdens that will be im-
                 posed on DHS associated with rescinding this policy,
                 DHS should consider an orderly and efficient wind-
                 down process.
                    As Attorney General of the United States, I have a
                 duty to defend the Constitution and to faithfully exe-
                 cute the laws passed by Congress. Proper enforce-
                 ment of our immigration laws is, as President Trump
                 consistently said, critical to the national interest and to
                 the restoration of the rule of law in our country. The
                 Department of Justice stands ready to assist and to
                 continue to support DHS in these important efforts.

                                      Sincerely,

                                /s/   JEFFERSON B. SESSIONS III
                                      JEFFERSON B. SESSIONS III




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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                           Civil Action No. 17-cv-1907 (CRC)
                   THE NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                            OF COLORED PEOPLE (NAACP),
                    AMERICAN FEDERATION OF TEACHERS, AFL-CIO,
                     AND UNITED FOOD AND COMMERCIAL WORKERS
                   INTERNATIONAL UNION, AFL-CIO, CLC, PLAINTIFFS
                                          v.
                       DONALD TRUMP, IN HIS OFFICIAL CAPACITY AS
                           PRESIDENT OF THE UNITED STATES,
                      JEFFERSON BEAUREGARD SESSIONS, III, IN HIS
                    OFFICIAL CAPACITY AS ATTORNEY GENERAL OF THE
                   UNITED STATES, ELAINE C. DUKE, IN HER OFFICIAL
                     CAPACITY AS ACTING SECRETARY OF HOMELAND
                     SECURITY, U.S. CITIZENSHIP AND IMMIGRATION
                       SERVICES, U.S. IMMIGRATION AND CUSTOMS
                      ENFORCEMENT, DEPARTMENT OF HOMELAND
                  SECURITY, UNITED STATES OF AMERICA, DEFENDANTS


                           Civil Action No. 17-cv-2325 (CRC)
                       THE TRUSTEES OF PRINCETON UNIVERSITY,
                    MICROSOFT CORPORATION, AND MARIA DE LA CRUZ
                            PERALES SANCHEZ, PLAINTIFFS
                                          v.
                   UNITED STATES OF AMERICA, U.S. DEPARTMENT OF
                  HOMELAND SECURITY, AND ELAINE C. DUKE, IN HER
                   OFFICIAL CAPACITY AS ACTING SECRETARY OF THE
                  DEPARTMENT OF HOMELAND SECURITY, DEFENDANTS

                          DECLARATION OF MARIA DE LA CRUZ
                                PERALES SANCHEZ




                                                                            AR3173
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                 I, Maria De La Cruz Perales Sanchez, declare:
                    1.   I am a recipient of DACA and a plaintiff in the
                         above-captioned action. I am over the age of
                         18 and make this declaration based on my per-
                         sonal knowledge. If called as a witness, I could
                         and would testify competently to the facts in
                         this declaration.
                    2.   I was born September 10, 1995, in Mexico. In
                         January 2004, at the age of eight, I was brought
                         to the United States. There I joined my par-
                         ents, who had already immigrated to the United
                         States in search of opportunities for themselves
                         and their children. I grew up in the United
                         States as an undocumented immigrant.
                    3.   In the United States, my family shared a small
                         two-bedroom apartment. My father worked
                         for his brother doing construction. My mother
                         took care of him and their nine children, in-
                         cluding me.
                    4.   Being able to grow up in the United States made
                         an enormous difference in my family’s life. In
                         particular, those of us who came to the United
                         States at a young age were able to pursue our
                         education in a way that older members of our
                         family could not.
                    5.   I have been fortunate to be a DACA beneficiary
                         since graduating high school. But, until DACA,
                         the fear and possibility of deportation were
                         more of a reality. We could not drive very far,
                         and were afraid to travel south of San Antonio.
                         We avoided the police, and would not have con-
                         tacted them unless it was a life or death situa-
                         tion. We were reluctant to seek out medical




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                         treatment, and in several instances decided to
                         forego healthcare. And I, for one, was also
                         scared in some circumstances to socialize. For
                         example, when my friends in Texas crossed the
                         border into Mexico, I was too nervous and had
                         to explain why I could not join them.
                    6.   When I began school, I did not speak English
                         and was enrolled in English as a Second Lan-
                         guage (ESL) courses. The ESL classes, unlike
                         the regular and advanced classrooms, were more
                         often held behind at recesses. This experience
                         was stigmatizing.
                    7.   Within two full years of beginning school in the
                         United States, I was removed from the ESL
                         program and placed in courses for advanced
                         and gifted students. In high school, however,
                         this also led to experiences that left me feeling
                         marginalized and vulnerable. Instructors fre-
                         quently asked whether I had entered the cor-
                         rect classroom and also failed to learn my name
                         until after I had performed well on the first ex-
                         am. In class discussion, classmates regularly
                         disregarded my point of view. Some even use
                         the word “illegal.” This continued after I raised
                         concerns about the dehumanizing nature of that
                         word. Few if any of my peers spoke up for me
                         inside the classroom.
                    8.   Notwithstanding these dehumanizing experi-
                         ences, and the fact that other students were dis-
                         missive of my ideas, I pressed on. In between
                         attending school, participating in extracurricu-
                         lar activities, and completing homework, I re-
                         searched academic summer camps and scholar-
                         ships for undocumented students. I also re-




                                                                             AR3175
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                         searched opportunities to continue pursuing my
                         education.
                    9.   As a result of my research, I resolved to attend
                         a four-year university. I had always loved
                         learning, and my mother had encouraged this
                         love throughout my life. She had only been
                         able to attend school through the second or
                         third grade; then she had to work in the fields
                         because her family needed money. She told
                         me that we came to the United States to suc-
                         ceed, and that education is the key to success.
                         I knew I had opportunities here that I would
                         not have had in Mexico, and I was inspired to
                         take advantage of them by my mother, who
                         passed away in 2011. Her memory, her sacri-
                         fices, and her resilience continue to give me
                         strength.
                    10. I learned about DACA through the news, and
                        then I researched it on the United States Citi-
                        zenship and Immigration Services website.
                        Although some members of my family thought
                        DACA was a scam to collect our information
                        and deport us, I trusted the government’s
                        promise not to provide our information to im-
                        migration enforcement authorities.
                    11. The decision to apply for DACA was not, how-
                        ever, an easy one. The application required
                        that I provide personal and identifying infor-
                        mation, including my mailing address, my con-
                        tact information, and other sensitive materials.
                        Ultimately, I decided to provide all of this in-
                        formation because I wanted to have a legal sta-
                        tus that would allow me to live a more normal
                        life. This included being able to pursue my




                                                                            AR3176
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                        education without being scared every day about
                        little things, like travelling to and from campus.
                    12. DACA has had a profound effect on my life.
                        But for DACA, I would not have been able to
                        travel freely to and from Princeton. Moreo-
                        ver, I would not have been able to work or open
                        a bank account. DACA has also enabled me to
                        enjoy a more normal, less anxious life: In ad-
                        dition to traveling without fear, I have been
                        able to socialize more freely, including in simple
                        ways like going to movies that require identifi-
                        cation.
                    13. Since arriving on campus, I have applied myself
                        academically. Through hard work, I have also
                        secured several fellowships and grants. Fol-
                        lowing a competitive selection process, I re-
                        ceived the Arthur Liman Public Interest Fel-
                        lowship, through which I did legal work with
                        labor migrants in Mexico. This was the first
                        time I visited Mexico since I left as a child. I
                        have also been awarded the Fred Fox Grant for
                        independent projects, which allowed me to work
                        with an organization that provides legal ser-
                        vices to women seeking asylum in Texas. And
                        I have been chosen for the Princeton Institute
                        for International and Regional Studies Under-
                        graduate Fellowship for summer thesis re-
                        search. (At Princeton, conducting an inde-
                        pendent research project and documenting it
                        through a written senior thesis is a requirement
                        for graduation.) With that fellowship, I planned
                        to do my thesis research outside of the United
                        States. Unfortunately, I did not get advance
                        parole approved prior to DACA’s rescission,




                                                                             AR3177
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                        and now there is no mechanism by which I can
                        obtain advance parole.
                    14. My inability to conduct research abroad was
                        immediately problematic. I had been working
                        hard to design a research plan and develop my
                        thesis for a very long time. And I had de-
                        signed my undergraduate studies to prepare
                        me for the project. Because the international
                        research was essential to my thesis, learning I
                        could not obtain advance parole forced me to
                        revise my project completely. While attending
                        to all of my other academic and co-curricular
                        obligations, I had to develop and execute an en-
                        tirely new research plan. I also had to do that
                        on a tighter budget because I was unable to re-
                        cover some of the grant money that I had al-
                        ready committed to travel and lodging for my
                        previous project. All of these modifications
                        needed to be completed within six to eight
                        weeks, an incredibly abbreviated timeline that
                        also coincided with the termination of DACA.
                        The process of reworking my thesis project was
                        incredibly stressful, not to mention disappoint-
                        ing, but I worked through it. I am using my
                        remaining fellowship money to conduct re-
                        search on the institutional response to DACA’s
                        rescission within the United States.
                    15. At Princeton, I have also identified and dedi-
                        cated myself to a number of extracurricular ac-
                        tivities. I have served as a peer-academic ad-
                        visor for fellow students and as an elected
                        member of the Woodrow Wilson School’s advi-
                        sory council. In the latter role, I advocate for
                        students who are studying in the Woodrow




                                                                            AR3178
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                        Wilson department, including by providing
                        feedback on curricular issues, on the sufficiency
                        of student resources, and about other critical
                        issues.
                    16. Community engagement is also very important
                        to me. When I arrived at Princeton, the sum-
                        mer before my freshman year, the Director of
                        the University’s Pace Center for Civic Engage-
                        ment told me about Community House, a tu-
                        toring organization for underserved students.
                        I have served as a volunteer and leader of Com-
                        munity House since that time, and in this role I
                        have developed meaningful relationships with
                        the local Princeton community and my stu-
                        dents. Additionally, I serve as the co-director
                        of the Princeton Dream team, an immigrants’
                        rights organization. My work with this organ-
                        ization has given me a community of allies and
                        has allowed me to develop my interest in immi-
                        grants’ rights.
                    17. At Princeton, DACA has enabled me to pursue
                        other opportunities that I believe are incredibly
                        valuable. For example, DACA enabled me to
                        obtain advance parole for international travel.
                        As a result, I was able to do a fellowship assist-
                        ing labor migrants in Mexico and to participate
                        in a study-abroad program at the University of
                        Oxford in England. DACA has also made me
                        less feel less afraid and more like I am a part of
                        the country.
                    18. DACA has also enabled me to obtain work au-
                        thorization. That work authorization has al-
                        lowed me to be financially independent and to
                        help my father pay the modest mortgage on my




                                                                             AR3179
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                        family’s house. It has also allowed me to work
                        as a research assistant for a professor at
                        Princeton and as an associate at the Pace Cen-
                        ter for Civic Engagement. In the first role, I
                        have researched whether certain practices at
                        home, and prior to preschool, influence a child’s
                        educational attainment.      This research has
                        taught me how to think about education policy
                        from a scholarly perspective and how to abide
                        by best research practices. At the Pace Cen-
                        ter, I have handled logistics for events and vol-
                        unteer activities. These positions have had a
                        substantial impact on my personal, academic,
                        and professional development, and allowed me
                        to form meaningful relationships with several
                        mentors.
                    19. In addition to holding these positions, I have
                        also worked in other capacities on campus, in-
                        cluding in the campus dining hall and as an of-
                        fice assistant.
                    20. When I applied for DACA, based on the Gov-
                        ernment’s representations, I expected that I
                        would have an opportunity to continue renew-
                        ing my deferred status.
                    21. I am very worried about the termination of
                        DACA, for a number of reasons. In addition
                        to disrupting my thesis research plans, the re-
                        scission of the DACA program disrupts my
                        post-graduation plans.     After graduation, I
                        had wanted to do a one-year fellowship, called
                        the Labouisse Fellowship, to conduct research
                        in Mexico. Because of DACA’s rescission, that
                        is no longer feasible because I cannot obtain ad-
                        vance parole. I will also be ineligible for an-




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                        other fellowship of interest: the Sachs Fel-
                        lowship, which has an international component
                        for which I am now ineligible.
                    22. The termination of DACA will also make it hard-
                        er to fulfill my dream of attending law school.
                        Even if I were able to attend law school without
                        being able to work or to access loans or other
                        financial aid, the termination of DACA means
                        that I will be unable to work legally in the
                        United States. Currently, because of the DACA
                        rescission, the possibility to carry out my dream
                        and practice immigration law is non-existent.
                    23. As noted above, I have held several jobs during
                        my time at Princeton to provide my family and
                        me with additional income. However, never
                        before has my need to work been as pressing as
                        it is right now. Because my DACA status ex-
                        pires immediately after I graduate from Prince-
                        ton, I have been working as many hours as pos-
                        sible given my academic and extracurricular
                        load. This situation is far from ideal, as I am
                        also writing a thesis, doing school work, and
                        figuring out my post-graduation plans. I had
                        to drop a core requirement course earlier this
                        semester because I had more responsibilities—
                        including my jobs—than I could manage.
                    24. I am also very concerned about whether the in-
                        formation I provided in my DACA application
                        will be used to initiate proceedings to deport me
                        or my family members. This is something that
                        I have been worrying about a lot, despite my
                        best effort to put it out of my head.




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                    25. As a result of the rescission of DACA, I have at
                        times felt depressed or anxious. The stress
                        generated by the uncertainty of my future
                        causes me to be frequently tired, and I some-
                        times feel debilitated when I think about the
                        negative impact DACA’s rescission will have on
                        my life. I have focused on my studies and
                        worked even harder in every endeavor to try to
                        distract myself from thinking about the fact
                        that I have to reconfigure my life plan. And I
                        feel very privileged to have the support that
                        Princeton provides. Because of that, it is in-
                        credibly important to me to advocate for others
                        who have even fewer resources to address the
                        consequences of losing deferred status under
                        DACA.
                 Pursuant to 28 U.S.C. § 1746, I declare under penalty
                 of perjury under the laws of the United States that the
                 foregoing is true and correct.
                 Executed on Dec. 13, 2017 in Princeton, New Jersey.


                   /s/ MARIA DE LA CRUZ PERALES SANCHEZ
                       MARIA DE LA CRUZ PERALES SANCHEZ




                                                                            AR3182
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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK


                            Case No. 1:16-cv-04756 (NGG) (JO)
                            BATALLA VIDAL ET AL., PLAINTIFFS
                                             v.
                              NIELSEN ET AL., DEFENDANTS

                          DECLARATION OF ELIANA FERNANDEZ


                 I, Eliana Fernandez, declare, pursuant to 28 U.S.C.
                 § 1746, and subject to penalties of perjury, that the fol-
                 lowing is true and correct:
                    1. I was born in Ecuador and came to the United
                 States when I was fourteen years old. Coming to the
                 United States meant that I was finally able to reunite
                 with my parents whom I had not seen for many years.
                 I have lived in New York ever since, where I am now
                 raising two U.S. citizen children of elementary-school
                 age.
                    2. I lived in New York as an undocumented immi-
                 grant until 2012, when Deferred Action for Childhood
                 Arrivals (“DACA”) was announced. I applied as soon
                 as I could and obtained DACA on December 11, 2012.
                 I have renewed my status twice. My current grant
                 will expire on November 20, 2018, and so I am no long-
                 er eligible to renew DACA as a result of Defendants’
                 termination of the program.




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                 How DACA Changed          My Life and       My Family’s
                 Trajectory
                    3. Having a grant of deferred action under DACA
                 changed my life. After many years of living in uncer-
                 tainty and fear, I finally gained temporary peace of
                 mind. Having DACA allowed me to go back to school,
                 earn a living wage, and purchase a home in which my
                 children can grow up.
                     4. Despite being ineligible for financial aid and oth-
                 er types of support because of my immigration status, I
                 attended St. Joseph’s College and earned a degree in
                 Sociology in 2015. While attending school full-time, I
                 also worked full-time. My family and I made many sac-
                 rifices in order for me to be able to pursue a higher edu-
                 cation, including hours away from my children and
                 financial challenges due to the fact that most of my
                 paycheck was going toward my college tuition, books,
                 and transportation.
                    5. Having a work permit allowed me to obtain a
                 driver’s license. I remember being so excited about
                 obtaining a driver’s license because it meant that I
                 could drive to other cities, fly, and take out-of-state va-
                 cations. But most importantly, it meant that I could
                 drive my children wherever they needed to go, includ-
                 ing to medical appointments.
                    6. I now work as an Immigration Case Manager at
                 Make the Road New York’s Long Island office. Until
                 recently, an important part of my job was helping
                 DACA recipients like myself renew their status.
                 Through my job, I also help clients with other immi-
                 gration matters, most frequently with their citizenship
                 applications.




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                    7. I am always looking for opportunities to further
                 my professional development. To that end, I started
                 graduate school at CUNY School of Professional Stud-
                 ies to obtain an Advanced Certificate in Immigration
                 Law. I also applied to become a Department of Jus-
                 tice accredited representative in order to be able to
                 represent people in their immigration matters.
                    8. By opening the door to increased educational
                 and professional opportunities, having deferred action
                 under DACA ultimately allowed me to become a home-
                 owner. For me, this meant securing permanent hous-
                 ing for my children where they can thrive and build
                 their childhood memories. As a tenant, I was not able
                 to have pets, something my children always wanted.
                 But as a homeowner, I was able to grant my children’s
                 wish for a pet.
                 How DACA Turned Me into an Advocate
                     9. Through DACA, I gained hope that through ac-
                 tivism, change could happen. After receiving my first
                 work permit, I became so empowered by witnessing
                 the power of people to effect change, that I decided to
                 become an advocate and join the immigrants’ rights
                 movement. My spirit, desire for a better future, and
                 professional ambitions grew stronger at that moment.
                    10. Thanks to DACA, I have been able to develop a
                 stronger voice and become a community leader. I
                 frequently reach out to and talk to youth to motivate
                 them to consider pursuing higher education. I also
                 connect people to social programs and educate them
                 about their rights. I have volunteered in many places
                 including schools, churches, and community organiza-
                 tions with the purpose of helping families improve their
                 lives. I have been recognized by several elected offi-
                 cials and schools for my work and commitment to the




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                 community. They include: Congressman Lee Zeld-
                 in, Town Supervisor Ed Romaine, County Legislator
                 Gregory DuWayne, and St. Joseph’s College.
                    11. I strive to transmit this spirit of activism and
                 community engagement to my children. In November
                 of this year, I brought my daughter to a meeting with
                 Senator Schumer in Washington, D.C., where we ad-
                 vocated for the passage of a clean Dream Act. I was
                 so proud to be able to share that moment with my
                 daughter.
                 Devastating Effects of the Termination of DACA
                    12. Ever since Attorney General Jeff Sessions an-
                 nounced the termination of DACA on September 5th,
                 my life has been a rollercoaster of emotions. I con-
                 stantly worry about my children, their future, and my
                 future. The thought of being separated from my
                 children gives me a lot of anxiety and stress.
                    13. When I think about my life without DACA, I
                 think about not being able to afford my mortgage, not
                 being able earn a decent living and provide for my
                 children, losing my family’s health insurance, and los-
                 ing my driver’s license.
                    14. I live in the New York suburbs, where you need
                 a car to get around. Without a driver’s license, I will
                 not be able to drive my children to school or to their
                 medical appointments. My youngest child suffers from
                 asthma, while my oldest suffers from severe allergies.
                 During the winter, my youngest child’s asthma tends to
                 worsen, while my oldest child’s allergies worsen during
                 the spring. In case of an emergency, or if they need
                 to see their specialist, I would not be able to drive them
                 to the necessary medical appointments.




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                     15. The anxiety and stress of losing DACA, with all
                 its implications, has had a physical impact on my body.
                 For example, I recently went to an urgent care clinic to
                 get treated for severe headaches, and I was diagnosed
                 with migraines for the first time. I have also been
                 experiencing extreme neck pain, for which I recently
                 started physical therapy.
                    16. I have lived most of my life here in United
                 States, and the thought of having to return to Ecuador
                 terrifies me. Most of my immediate family members
                 and friends currently reside in the United States.
                 Both of my children are currently attending school
                 here, they barely speak Spanish, and all their family
                 and friends live here. I would not want my children to
                 experience any type of trauma by being separated from
                 me, their family, or their friends.
                 Hope for the Future
                    17. I sincerely hope that I, and Dreamers like me,
                 can gain a pathway to citizenship—it would be life
                 changing for us, our families, and our communities.
                 I declare under penalty of perjury under the laws of
                 the United States and the State of New York that the
                 foregoing is true and correct.
                    EXECUTED Dec. 13, 2017 in Suffolk County, NY

                               /s/     ELIANA FERNANDEZ
                                       ELIANA FERNANDEZ




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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK


                           Case No. 1:16-cv-04756 (NGG) (JO)
                            BATALLA VIDAL ET AL., PLAINTIFFS
                                            v.
                              NIELSEN ET AL., DEFENDANTS

                         DECLARATION OF CAROLINA FUNG FENG


                 I, Carolina Fung Feng, declare, pursuant to 28 U.S.C.
                 § 1746, and subject to penalties of perjury, that the
                 following is true and correct:
                    1. I was born and raised in Costa Rica to Chinese
                 parents, and came to the United States on my own
                 when I was twelve years old. It has been sixteen years
                 since I left my home country and made New York City
                 my new home.
                    2. I lived in New York as an undocumented immi-
                 grant until December 6, 2012, when I received deferred
                 action through the Deferred Action for Childhood
                 Arrivals program (“DACA”). My current grant will
                 expire in August 2018, and I am no longer eligible to
                 renew DACA as a result of Defendants’ termination of
                 the program.
                 Childhood and the Beginning of a New Life in a Foreign
                 Land
                    3. When I was four years old, my mother passed
                 away, and I was sent to live with my dad’s younger
                 sister in another city in Costa Rica. Since then, I have




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                 not lived with my immediate family, and I only ever
                 saw them during holidays and school closings.
                    4. On one of those family visits, we went on a trip
                 to China to visit my grandparents. That was my first
                 trip outside of Costa Rica, and I thought it would be my
                 last since my family was not financially stable at the
                 time. However, to my surprise, a few years later, my
                 father told me I was going to New York City to visit his
                 older sister, my Big Aunt.
                    5.   My dad sent me to live with my aunt in New
                 York City to give me a better life, and opportunities
                 that he did not think I would have if I remained in
                 Costa Rica. He convinced me to go, and in early De-
                 cember 2001 I boarded a plane to New York. I did not
                 know at the time how difficult this decision was for my
                 father or the difficulties I would face because of it.
                 Life in New York City as an Undocumented Young
                 Person
                    6. Growing up in New York City was difficult. I
                 did not quite fit in with any group, but I was not shunned
                 either. I grew up in Washington Heights, a commu-
                 nity that was familiar yet foreign to me. At the time,
                 there were not many Asian families and it felt like my
                 family was the only one in that Latino community.
                 That was not any different from my life in Costa Rica.
                 However, the language barrier was difficult to over-
                 come, and I was constantly bullied my first year of
                 school in the United States.
                    7. I remember that I cried a lot that first year
                 because I was homesick and could not adjust to life in
                 the United States. The bullying from my peers did
                 not make it any easier, and I hated learning English
                 with a passion.




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                     8. Living as an undocumented youth was hard. I
                 was in seventh grade, and was a member of the Boost
                 Project, my middle school’s honor group. We were
                 given the opportunity to work with NASA, and the
                 school had planned a trip for us to go to Turkey and
                 visit their space camp. Everyone was excited to go
                 and was preparing for the trip. I was the only one
                 who could not participate, and while the school tried to
                 help me they could not do anything about it. It was
                 just too risky to leave the country without the guaran-
                 tee that I would be able to come back. That was the
                 first time I was denied an opportunity as a result of my
                 legal status, and it would not be the last. I resented
                 my father because of it. After all, he sent me to this
                 country so I could have opportunities, yet I was miss-
                 ing out on those opportunities because I was undocu-
                 mented.
                    9. I did not know other kids like me who were in
                 the same position. I was too scared to say anything to
                 any of my friends. Only a select group of teachers
                 knew of my situation, and tried their best to help me
                 solve it without success. I had support from the coun-
                 selors in my school which helped me feel that I was not
                 alone and that I had people who were looking out for
                 me.
                    10. My teachers and counselors helped me gain en-
                 try to a good high school. They encouraged me to
                 apply for the Student Sponsor Partners program, and I
                 did. I was accepted into a private Catholic high school
                 in Manhattan. And while it was not my first choice, it
                 was the best four years of my school life in New York.
                 Things did not get easier for me, but I was lucky to
                 have a sponsor pay for my high school education.




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                 When I was preparing to graduate, I was once again
                 faced with the hard decision of where to go from there.
                     11. I did not know if I wanted to go back to Costa
                 Rica or continue with my education here in the United
                 States. I still missed my country a lot, but I was
                 already accustomed to the American way of life. It
                 took me a while to decide, and I waited until the last
                 possible moment to apply for college in New York. I
                 thought about my father’s decision to send me here to
                 study, and decided to honor it because it gave me the
                 life I have now. I may not have thought of it as
                 something good, but now I do.
                    12. Paying for college was hard. I could not apply
                 for financial aid, and the few scholarships I received I
                 could not accept because I could not provide them with
                 a Social Security Number. I also had to show proof of
                 my residency status in order to get in-state tuition. I
                 had done my research, and I knew that I qualified for
                 in-state tuition because I had graduated from a NYC
                 high school. Even so, my university refused to give it
                 to me at first because the power of attorney that I had
                 submitted did not state in the English translation that
                 my Big Aunt was my legal guardian. I could not be-
                 lieve that such a tiny error in the English translation of
                 such an important legal document was going to set me
                 back. However, I was prepared to argue my case, and
                 pointed out that the original Spanish document did
                 contain the phrase they were looking for. They had
                 no choice but to make the change and let me pay in-
                 state tuition. That was the first time I was able to win
                 something for myself.
                    13. Since I could not get financial aid, my father
                 had to help me pay for my college education. I felt
                 guilty because I was not the only child he had that was




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                 still in school. I had four younger siblings who were
                 still in school, and I felt bad that he had to work so
                 hard to help me. I could not work because I did not
                 have work authorization and because my dad wanted
                 me to focus on school. But I also could not get any
                 scholarships.
                    14. Whenever I won a monetary award, I could not
                 accept it. I could only accept the paper certificate
                 that said I was being honored for my academic per-
                 formance. It was frustrating to me because I wanted
                 to be able to pay for my own college education but I
                 could not. It was not until my last semester of college,
                 when I had moved out of my aunt’s house with my
                 younger brother, that a new opportunity was available
                 to me: DACA.
                 Life with Deferred Action Through DACA
                    15. When President Obama made the announce-
                 ment that he created the deferred action under DACA
                 program to provide relief and protection for undocu-
                 mented youth, I was skeptical. I did not trust that the
                 program was going to be helpful, and I was scared that
                 the information I provided would be used against me.
                 It was a college friend who was undocumented like me
                 that encouraged me to apply.
                     16. I was still unsure, and did not know if the bene-
                 fits of the program outweighed the risks. I looked for
                 free legal help, and came across a Legal Aid Society
                 flyer for free DACA workshops. I took advantage of
                 it and showed up on the last day. I went alone and
                 brought all the documents they mentioned in the flyer.
                 It was the first time I saw so many people who wanted
                 the help. I did not know if their stories were similar
                 to mine or not, but I was glad to know I was not the
                 only one there.




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                    17. The process was not difficult for me. I had all
                 the documents needed to prove I qualified for DACA,
                 and my dad had sent some money to pay for the appli-
                 cation fee. In fact, he was the first one to tell me to
                 apply when he heard the news on TV, but I was more
                 reluctant and hesitant about it.
                    18. I felt uncomfortable with the Legal Aid lawyers
                 who asked me a lot of questions, some of which I could
                 not answer. It was the first time that I was exposing
                 so much of my life to anyone. I remember I kept
                 holding my breath and I could not stop shaking from all
                 the nervousness I felt until I dropped off my applica-
                 tion at the post office.
                    19. When I started receiving letters from U.S. Cit-
                 izenship and Immigration Services, I was too scared to
                 open them at first. I was scared that they would
                 reject my application and would come looking for me.
                 The day I received the approval notice I felt relief and
                 happy that I was finally going to be able to start living
                 my life to its greatest potential. I started planning for
                 my future and thinking about what my next steps were
                 going to be.
                    20. The first thing I did after I got my employment
                 authorization card in the mail was go to the social secu-
                 rity office and get my own number. I was finally able
                 to get that coveted number that everyone seemed to
                 ask for. Then I went to the DMV and got my New York
                 State ID.
                    21. I got my first job in December 2013, and have
                 worked in several jobs since then. I have been able to
                 financially support myself and my younger brother. I
                 took driving lessons and got my driver’s license in 2015.
                 I obtained a teaching certification and started my
                 teaching career.




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                    22. I later successfully renewed my request for de-
                 ferred action under DACA two more times. And when
                 I heard the news about the termination of the program,
                 I could not see what my future was going to look like.
                 The Uncertainty of the Future
                    23. My dad’s younger sister, Little Aunt, passed
                 away recently, and her daughter, my cousin, came to
                 live with my brother and me. Unlike her or any of my
                 family members here in New York, I am the only one
                 who is undocumented. Everyone else was either born
                 here or came with a green card.
                    24. Since my aunt’s passing, I have been financially
                 supporting my younger brother and my cousin. It has
                 been very stressful, and I have not come to terms with
                 any of it. My family does not seem to understand the
                 uncertainty and worry I feel.
                    25. I will not be able to work once my DACA grant
                 expires at the end of August 2018, and while I am
                 scared of being deported and I cannot see what the
                 future holds, I cannot let myself sink into depression.
                    26. I cannot just sit back and do nothing. I have
                 always wanted to go back to school to get a master’s
                 degree or a doctorate. I recently decided to take GRE
                 prep classes and will apply for graduate school next
                 year. I do not know if I will be able to finish my grad-
                 uate studies, if I will face deportation, or how I will be
                 able to financially support myself.
                    27. I am scared of not being able to live an inde-
                 pendent life, and that I will have to once again rely on
                 my family to support me. I am going to continue with
                 my life plans even after my DACA grant expires, be-
                 cause I know that through this lawsuit we will be able
                 to find a solution. I and many Dreamers out there




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                 cannot go back. We will make change happen, and I
                 want to be there to make it happen.
                 I declare under penalty of perjury under the laws of
                 the United States and the State of New York that the
                 foregoing is true and correct.

                    EXECUTED Dec. 13, 2017 in Queens, NY
                              /s/   CAROLINA FUNG FENG
                                    CAROLINA FUNG FENG




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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK


                              Case No. 1:16-cv-04756 (NGG) (JO)
                              BATALLA VIDAL ET AL., PLAINTIFFS
                                             v.
                                NIELSEN ET AL., DEFENDANTS

                        DECLARATION OF MARTIN BATALLA VIDAL


                 I, Martín Batalla Vidal, declare, pursuant to 28 U.S.C.
                 § 1746, and subject to penalties of perjury, that the
                 following is true and correct:
                    1. I was born in Mexico and have lived in the
                 United States since May 1997, when I was four years
                 old. This country is my home.
                   2. I am currently studying Criminal Justice at
                 LaGuardia Community College (“LaGuardia”). I have
                 had DACA since 2015 and renewed DACA one time.
                 My current grant expires February 15, 2019.
                 Early Life
                    3. I grew up in Bushwick, a low-income, working-
                 class neighborhood in Brooklyn, New York with my
                 mother and three younger siblings. We shared a two-
                 bedroom apartment, where my siblings and I slept in
                 one bedroom while my mother slept in the other. We
                 moved around many times because our landlords sold
                 the buildings and kicked us. In total, I remember
                 moving six times. The constant change took a toll on
                 our family, but I tried my best to support my mother
                 who raised us by herself.




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                    4. I helped my mother take care of my siblings as
                 the oldest of her four children. As soon as school end-
                 ed, I would go home and look after my siblings while
                 my mom was working. I spent most of this time doing
                 my homework and getting ready for the next school
                 day.
                    5. My favorite subject growing up was English.
                 I loved these classes because I could write about any-
                 thing I felt. I could express how I felt in many dif-
                 ferent forms. But school was tough because kids
                 fought every day. It seemed that any disagreement in
                 school could turn into a fistfight and, unfortunately,
                 many times it did. I tried my hardest to stay out of
                 trouble and keep a clean record, especially when I got
                 to high school where there were police officers.
                    6. I had a teacher in middle school that made me
                 and the rest of my classmates believe in ourselves.
                 He told us that life in our neighborhood was hard and
                 that we all struggled. He emphasized that we should
                 not give up and instead should continue to pursue our
                 dreams because our parents were also struggling and
                 making sacrifices for us. These words keep me going
                 even after all these years.
                    7. My mother always told me I was different from
                 the other kids, but she never told me why. I now
                 know that she was referring to my immigration status.
                    8. When I was a teenager my paternal grandpar-
                 ents passed away in Mexico one month apart, first my
                 grandmother, then my grandfather. I was the last
                 person my grandmother spoke to before she passed
                 away and I really wanted to say goodbye to her in
                 person. When I told my mom that I wanted to say
                 goodbye to my grandmother before she was buried, she
                 told me I could not go because of my status. My




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                 grandparents raised me when I was in Mexico and not
                 being able to attend the funerals of loved ones is some-
                 thing I do not wish upon anyone.
                     9. I am the oldest of four children. I have three
                 brothers; the two youngest are U.S. citizens. My
                 other brother was a DACA recipient too, who now has a
                 green card: so all of my brothers have status or are
                 citizens now
                    10. My closest relationship is with my mother.
                 She no longer works due to severe arthritis so I take care
                 of her. We live together and I pay rent and most of
                 our bills. My brothers help with the remaining bills.
                    11. I first learned exactly how my immigration
                 status affected me when I was in high school. My
                 interest in college grew when I entered the tenth grade
                 and I was eager to know more about the process of
                 going to a university. I was most interested in what
                 options were available to me and I reached out to my
                 school counselor. Sadly, she informed me that I was
                 not eligible for any scholarships or grants due to my
                 undocumented status. She also explained to me that
                 not many resources for undocumented students existed
                 and that my options were so limited that it would be
                 almost impossible for me to go to college. I remember
                 feeling extremely, deeply disappointed. This was a
                 huge blow to me; my dreams of attending a university
                 seemed too far outside of my reach.
                    12. The next big implication of my immigration
                 status also came in high school. Our school helped
                 students get a work permit so they could work part-
                 time during weekends. With the money earned, my
                 classmates and friends could afford to have a phone, go
                 to the movies, and other things that I could not do. I
                 wanted to work so badly, but I did not have a Social




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                 Security Number and the school would not help me get
                 a work permit. I lost out on this opportunity to lead a
                 life similar to those of my friends and classmates and I
                 felt like a loser.
                    13. I wanted to have a normal life, go to the movies,
                 own a phone so I could communicate with my friends,
                 but I could not afford these things because of my im-
                 migration status and all the obstacles it placed in front
                 of me.
                 Getting My Education:    Struggles and Pauses
                    14. I graduated high school in 2008. Without any
                 scholarships or grants, I had to save money to go to col-
                 lege. As an undocumented student, I did not know how
                 to navigate my way into college; I just knew that I had to
                 save as much money as I could. Eventually, I was able
                 to save up enough to apply and attend LaGuardia Com-
                 munity College in 2010.
                    15. Despite my savings, I could not pay for school
                 in full because I paid out-of-state tuition due to my
                 immigrations status. However, LaGuardia offered a
                 payment plan and I signed up for it. As a college
                 freshman, I started studying business administration.
                    16. Soon after I started college, however, my mom
                 became very ill and I had to quit school to be with her
                 in the hospital. It took a long time before I managed
                 to go back to school. My mother recovered slowly and
                 I had to care for her while working to support her,
                 myself, and my younger siblings.
                    17. In 2015, I was able to finally return to school.
                 At that time, I was able to attend ASA College because
                 I received DACA and qualified for a scholarship for
                 DACA recipients. My mother recovered and returned
                 to work. However, her health suffered again after she




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                 began working and I had to leave college again to take
                 care after her.
                     18. I started attending LaGuardia again in the Fall
                 of 2017. I changed my major from Medicine to Crim-
                 inal Justice because of what is happening in my com-
                 munity due to the current Administration and because
                 I firmly believe everyone should know their rights.
                    19. If I had had the opportunities afforded to me by
                 DACA right after my high school graduation, I believe
                 I would have graduated college already. It is very
                 tough for me to attend school now because I still have
                 to work full-time and take care of my mother.
                 The DACA Program
                    20. I remember President Obama announced the
                 DACA program in 2012 when I was not attending
                 school. My feelings were a mixture of excitement,
                 happiness, and fear. I was home when I watched the
                 announcement and I was happy, but scared at the same
                 time because I did not know how long this program
                 would last.
                    21. My mother was very happy when she heard the
                 news. She knew that my brother and I could get a
                 Social Security Number, a work permit, and a state
                 identification card with this program. She was also
                 happy that we could enroll in health insurance, and go
                 back to college.
                    22. Before I applied for DACA, I studied all the
                 requirements and felt unsure about my eligibility since
                 the guidelines stated one had to be enrolled in school.
                 I was not enrolled in any school at the time and it took
                 me about one year before I decided to apply. I want-
                 ed to go back to school and knew that having something
                 like DACA would allow me to study again, but I could




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                 not go back right away.      I had to take care of my
                 mother and work.
                    23. I remember feeling afraid that this program
                 would be taken away and I was especially worried
                 about the consequences of immigration authorities
                 having all my information. I did not want to get my
                 hopes up for this program only to be denied or have it
                 ripped away from me.
                    24. My brother encouraged me to go speak with a
                 lawyer. I consulted with an attorney in Manhattan
                 who was charging $2,000 for DACA applications, not
                 including filing and other fees. The decision before
                 me was: pay rent or apply for DACA. I decided to
                 pay rent so that I could keep a roof over my mother’s
                 head.
                    25. One day a friend told me about Make the Road
                 New York (“MRNY”) and the help they were offering
                 to people who wanted to apply for deferred action
                 through DACA. When I reached out for help at
                 MRNY, they screened me and gave me a list of docu-
                 ments to collect for my application. Obtaining these
                 documents and proof of my presence in this country
                 was a difficult task because it is often hard to get these
                 types of official documents. I started from scratch
                 and had to look for these documents at my old schools,
                 my bank, my dentist’s office, and on Facebook.
                    26. I submitted my initial DACA application in
                 December 2014 with the help of MRNY after finally
                 collecting all the documents required. MRNY also
                 helped me obtain a grant to pay the filing and other
                 fees of my submission.
                   27. My initial request for deferred action under
                 DACA was approved in February 2015. I applied for




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                 renewal of my deferred action under DACA and work
                 authorization on October 11, 2016. My DACA request
                 was approved and I received work authorization from
                 February 16, 2017 to February 15, 2019.
                    28. When my DACA renewal request was granted,
                 I decided to go back to school because DACA opened
                 doors for me and made it easier to stay in school.
                 With DACA, I could apply to more scholarships. Af-
                 ter my brother was granted deferred action through
                 DACA shortly after the program’s implementation, he
                 was promoted at his workplace to the position of man-
                 ager and was relocated to a store in Washington, D.C.,
                 a job he absolutely loves. With my brother realizing
                 his potential through DACA, I dreamt even bigger
                 than before.
                 My American Dream
                    29. In simple terms, DACA has allowed me to live a
                 more fulfilling and proactive life. Growing up in this
                 country has been a struggle, but my mother taught me
                 and my siblings from an early age that we came to this
                 country to search for a better life and achieve our
                 dreams. Without DACA, this opportunity might not
                 be available to me.
                    30. With my initial DACA approval, and the know-
                 ledge that I could continue to renew it, came a sense of
                 control over my future and enough stability to build my
                 career. DACA has impacted my life significantly and
                 has allowed me to see myself and my family in a better
                 place as we move forward.
                 Daily Life
                    31. DACA allowed me to obtain a Social Security
                 Number, a driver’s license, scholarships to pay for school,
                 the ability to travel outside of the United States, the




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                 means to continue to provide for my mother and my-
                 self, and the tranquility of protection from deportation.
                     32. I am currently attending LaGuardia. I pay my
                 tuition with the money I earn as a physical therapist
                 aide and scholarships. I would not be eligible for
                 some of my scholarships without DACA. If I lose my
                 DACA my scholarship options will be severely limited.
                 Because DACA has been around for years now, most of
                 the scholarships available to undocumented students
                 are for those with deferred action under DACA. I run
                 the risk of losing my opportunity at higher education if
                 I lose my DACA.
                    33. I travelled to Mexico to visit my grandmother
                 due to her ailing health. I hate to think that the
                 next time I will be allowed to go see her she will be
                 underground—just like my other grandmother. I
                 wish I could see my family in Mexico more often because
                 I am close to three cousins and my great-grandmother.
                 However, without deferred action under DACA, I might
                 not be able to see them at all.
                    34. I currently work at Park Terrace Rehabilitation
                 and Nursing Center as a physical therapist aide. I
                 could have only done this with the reinvigorated pas-
                 sion for the medical profession that having a grant of
                 DACA awoke in me. I love my work because I get to
                 help and support people in difficult situations who are
                 experiencing serious health needs. My patients led
                 normal lives before they suffered strokes or had trau-
                 matic brain injuries due to something like an accident.
                 I take care of them as if they were my own family be-
                 cause often this is how they perceive me and how I
                 think of them. The care and support I offer my pa-
                 tients has an effect that reaches their families because




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                 their families trust me and my co-workers to care and
                 protect their loved ones.
                    35. Being a part of the support system that people
                 rely on to return to their normal lives is an incredibly
                 fulfilling experience and one that I cherish every day.
                 I speak to my patients’ families regularly and they
                 always express how my helping their loved ones is
                 reassuring for them. Whether it is a hug or a smile,
                 they feel the support.
                    36. Our monthly rent is $2,300 for a small,
                 2-bedroom apartment in Ridgewood that I share with
                 my mother. My payments help my landlord pay
                 property taxes and I see this as another way that I
                 support my community.
                 Peace of Mind
                    37. DACA has given me the tranquility and peace
                 of mind that I will not face the threat of deportation as
                 long as my DACA grant is valid. I now have the abil-
                 ity to travel within this great country, but if I lose my
                 DACA, I will no longer have that peace of mind that my
                 family and I will not be ripped apart. My mother
                 needs me and if I were to be detained or deported, my
                 mother would have an incredibly tough time getting by
                 without me.
                    38. The work permit I received under DACA has
                 allowed me to work and earn enough to take care of my
                 sick mother. This stability has allowed me to apply
                 myself at work and try to be the best physical therapist
                 aide I can be.
                    39. Not having to worry about deportation has also
                 allowed me to provide the best support I can to my
                 patients at work. The simple and important fact that
                 I am protected from removal through DACA helps me




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                 through the day and allows me to focus on my work and
                 build relationships with my patients without the fear
                 that we could be ripped apart.
                 My Dream Career
                    40. Since my return to college, I have decided to
                 change my major from Medicine to Criminal Justice.
                 This change in career paths came as a result of the
                 current Administration’s game of playing with the lives
                 of DACA recipients. Is it my hope that majoring in
                 Criminal Justice will allow me to help my community,
                 by learning about and teaching others about the rights
                 that we have. I firmly believe we are all entitled to be
                 well informed of our relationship with the law and the
                 decisions made by those in power.
                    41. I ultimately want to pursue a law degree and
                 become a lawyer. I believe this will be the best way
                 for me to contribute to my community and to the coun-
                 try I call home. DACA has allowed me to dream big-
                 ger and reach for goals that seemed unattainable be-
                 fore.
                 Devastating Impact of the DACA Rescission
                    42. When I heard that the President would deal
                 with DACA recipients “with great heart,” I felt an
                 uneasy assurance. It was difficult, but I believed that
                 the President would deal with the issue in good faith
                 and not rescind the DACA program. However, on
                 September 5, 2017, when Attorney General Jeff Ses-
                 sions announced the rescission of the program, I felt
                 lied to and betrayed.
                   43. The Administration’s rescission has taken a
                 physical and emotional toll on my family and me. The
                 uncertainty has caused me to have high levels of stress




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                 and anxiety that stem solely from the DACA termina-
                 tion.
                    44. If I lose my work permit, I will lose my job.
                 One of my worries is that I will not be able to provide
                 for my mother, who has severe arthritis and cannot
                 work. I pay our rent and a majority of our bills and
                 my mother depends on me to provide her food, shelter,
                 and other things.
                    45. Once I learned about the termination of the
                 DACA program, I became very worried about my abil-
                 ity to provide for myself and my mom. I picked up an
                 additional job, in addition to my work as a physical
                 therapist aide, in order to save money to try to contin-
                 ue to support my mother and myself after my work
                 permit expires.      I currently work approximately
                 57 hours a week in addition to being a full-time student.
                     46. Another worry for me is that my patients will
                 lose the support system that I provide for them and
                 their families. My patients depend on me to get
                 through the rough patches they are going through and
                 if I lose DACA, this would have a negative impact on
                 them. I have spent my time building relationships
                 with my patients to best be able to help them and even
                 if my workplace could employ someone else, that per-
                 son would not have the foundations of trust and sup-
                 port that I share with my patients.
                     47. When my DACA grant expires, I will lose eligi-
                 bility for most scholarships and grants that I can re-
                 ceive now. It would be impossible for me to continue
                 studying and obtain my degree in Criminal Justice.
                 Not only would I lose my job, but I would also be in-
                 debted as well to LaGuardia. My educational pros-
                 pects seemed bright due to the fact that I can work
                 legally and not worry about deportation, but now my




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                 prospects seem bleak and dark because without DACA
                 I will have trouble navigating access to higher educa-
                 tion.
                    48. Without DACA, my dreams will have to be put
                 on hold once again. My mother and my family cannot
                 afford this. I want to contribute to this country and to
                 my community, the only place that I know as home.
                    49. I have feelings of betrayal, disappointment, un-
                 certainty, and worry due to Administration’s decision
                 to terminate DACA. In order to have DACA, you need
                 to have a clean record, and I have kept a clean record,
                 and also thrived under DACA. Because there seems
                 to be no other good reason to terminate DACA, it
                 makes me feel like we are being punished for doing so
                 well. This is a terrible reason deprive us of the stabil-
                 ity, opportunities, and peace of mind that this program
                 offers.
                     50. I am afraid that immigration authorities will
                 target me for removal once my DACA grant expires.
                 I stand to lose my job and my mother will lose her prin-
                 cipal provider for almost everything. I do not know
                 how I could continue to pay my rent or the rest of my
                 bills.
                     51. For now, I am trying to stay positive about
                 what will happen next, but it is difficult to think that
                 way because this Administration continues to ramp up
                 attacks against immigrants. I do not want to put my
                 life on hold again, I want to live a fulfilling life and give
                 back to my community and this country.
                    52. I do not know what will happen next or if Con-
                 gress will act to provide us with the protection that
                 DACA gave us. However, I believe that this country
                 will do the right thing and finally accept us as its own.




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                 This is the country I know as home and this is the
                 country I want to contribute to. I believe in the
                 American Dream and that belief is stronger than this
                 Administration’s attacks on immigrant communities,
                 the DACA program, and me. I am putting my faith in
                 this country’s judicial system to act in the name of the
                 ideals that make this country great.
                 I declare under penalty of perjury under the laws of
                 the United States and the State of New York that the
                 foregoing is true and correct.
                    EXECUTED Dec. 13, 2017 in Queens, NY

                                /s/   MARTIN BATALLA VIDAL
                                      MARTIN BATALLA VIDAL




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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                             Case No. 17-CV-05211-WHA
                  THE REGENTS OF THE UNIVERSITY OF CALIFORNIA AND
                    JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNIVERSITY OF CALIFORNIA,
                                     PLAINTIFFS
                                          v.
                    U.S. DEPARTMENT OF HOMELAND SECURITY AND
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                              SECURITY, DEFENDANTS


                             Case No. 17-CV-05235-WHA
                    STATE OF CALIFORNIA, STATE OF MAINE, STATE OF
                    MARYLAND, AND STATE OF MINNESOTA, PLAINTIFFS
                                          v.
                   U.S. DEPARTMENT OF HOMELAND SECURITY, ELAINE
                       DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                     SECRETARY OF THE DEPARTMENT OF HOMELAND
                    SECURITY, AND THE UNITED STATES OF AMERICA,
                                    DEFENDANTS


                             Case No. 17-CV-05329-WHA
                      CITY OF SAN JOSE, A MUNICIPAL CORPORATION,
                                     PLAINTIFFS
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                   IN HIS OFFICIAL CAPACITY, ELAINE C. DUKE, IN HER
                     OFFICIAL CAPACITY, AND THE UNITED STATES OF
                                 AMERICA, DEFENDANTS




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                              Case No. 17-CV-05380-WHA
                       DULCE GARCIA, MIRIAM GONZALEZ AVILA,
                      SAUL JIMENEZ SUAREZ, VIRIDIANA CHABOLLA
                       MENDOZA, NORMA RAMIREZ, AND JIRAYUT
                             LATHIVONGSKORN, PLAINTIFFS
                                           v.
                  UNITED STATES OF AMERICA, DONALD J. TRUMP, IN HIS
                    OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                   STATES, U.S. DEPARTMENT OF HOMELAND SECURITY,
                    AND ELAINE DUKE, IN HER OFFICIAL CAPACITY AS
                      ACTING SECRETARY OF HOMELAND SECURITY,
                                     DEFENDANTS


                              Case No. 17-CV-05813-WHA
                    COUNTY OF SANTA CLARA AND SERVICE EMPLOYEES
                      INTERNATIONAL UNION LOCAL 521, PLAINTIFFS
                                           v.
                     DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNITED STATES, JEFFERSON
                    BEAUREGARD SESSIONS, IN HIS OFFICIAL CAPACITY
                     AS ATTORNEY GENERAL OF THE UNITED STATES;
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                     SECRETARY OF THE DEPARTMENT OF HOMELAND
                    SECURITY; AND U.S. DEPARTMENT OF HOMELAND
                               SECURITY, DEFENDANTS

                     DECLARATION OF JIRAYUT LATTHIVONGSKORN


                 I, JIRAYUT LATTHIVONGSKORN, DECLARE:
                   1. I am a party in the above-captioned action. I
                 make this declaration based on my personal knowledge.




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                 If called as a witness, I could and would testify compe-
                 tently to the facts stated herein.
                          Arrival in United States & Early Life
                    2. I was born in Thailand in 1989. My name is
                 Jirayut Latthivongskorn, but everyone calls me New,
                 which I have gone by since birth. My parents grew up
                 poor, but they both worked hard and through that hard
                 work made their way into the Thai middle class by
                 becoming business owners. I was nine years old when
                 I moved to the United States with my parents. There
                 was a severe economic crash in Southeast Asia in the
                 mid-1990s, and my family lost almost everything.
                    3. Quality academic and career opportunities in
                 Thailand are often dependent on private schooling.
                 After the crash, my parents realized that even if my
                 family could find a way to survive, there was no way
                 they could pay for school for my two siblings and me.
                 My aunt, who was living in Fremont, California, at the
                 time, told us that in the United States, the K-12 public
                 education system might be available and accessible to
                 immigrant children. My parents decided to move our
                 family to California with the hope that we would be
                 able to realize our full potential in the United States
                 and in order to find stable work in the restaurant in-
                 dustry.
                    4. I was raised in Northern California, which I
                 consider to be my home. My family first settled in
                 Fremont, California, where my parents worked clean-
                 ing toilets, mopping floors, and waiting tables at vari-
                 ous restaurants. In 2004, we moved to Sacramento,
                 where my parents hoped to make more money by open-
                 ing a restaurant so they could send my siblings and me
                 to college.




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                    5. My family is very close. My siblings and I
                 worked alongside our parents for most of our child-
                 hoods. We still share one car when we are at home.
                 My parents are dependent on my siblings and me for
                 basic tasks in daily living, including paying bills, writ-
                 ing résumés, assisting them in applying to jobs, and
                 accompanying them to doctors’ appointments in order
                 to act as their interpreters.
                    6. My parents became U.S. Legal Permanent
                 Residents in 2012 (through my brother) and are on
                 track to becoming naturalized U.S. citizens. They
                 have great pride in the United States and I feel at
                 home here.
                    7. Growing up, I often felt isolated and lived with
                 the constant fear that I or someone in my family might
                 be deported. My parents always told me just to walk
                 away if anyone asked me any questions about my citi-
                 zenship status. I vividly remember the fear I felt one
                 time when we were stopped by a police officer for a
                 traffic violation. As the red and blue lights flashed
                 through our back window, I held my breath, hoping
                 that a simple traffic stop would not jeopardize our life
                 in the United States. Every time I came across some
                 sort of government authority, I was reminded that
                 I—unlike my peers or any average American—was
                 deemed as different and therefore vulnerable.
                    8. As I grew older, I continued to experience the
                 challenges of being undocumented and those challeng-
                 es became more daunting. Most importantly, I could
                 not help contribute financially to my family. After
                 working for years as waiters in restaurants, my par-
                 ents hoped to realize the American dream by opening
                 their own small business, a restaurant of their own.
                 In 2004, they opened Muang Thai restaurant in Rose-




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                 ville, California. Given the challenges of starting a
                 new business, compounded by the ensuing economic re-
                 cession, I wanted to help supplement our family’s in-
                 come and help us succeed by working myself. I
                 watched as friends of mine obtained jobs at In-N-Out
                 Burger, Coldstone Creamery, or at other restaurants;
                 the type of jobs sought by any other American teenag-
                 er.
                    9. In addition, my friends started getting their
                 driver’s licenses when we turned sixteen. There was
                 no public transportation in west Sacramento, and, with-
                 out my own license, my ability to travel freely was cur-
                 tailed. I could not spend much time with my friends,
                 who could drive where they pleased. I was also em-
                 barrassed about why I did not have a driver’s license
                 and would make up excuses to cover my shame. An-
                 other time, my friends and I went to watch an R-rated
                 movie, and, although I was old enough to buy a ticket to
                 the film, I did not have an ID to prove my age, and so I
                 was turned away at the box office. I left embarrassed,
                 frustrated, and demoralized.
                    10. The first time I took an airplane, since flying to
                 the United States at age 9, was in June 2010. I feared
                 using my Thai passport to get through airport security,
                 and I was so anxious that I had my lawyer on speed-
                 dial. Airports are dangerous places for undocumented
                 people like myself.
                     11. I did not tell anyone I was undocumented until
                 I was in high school, when my close friend noticed that
                 I left my Social Security Number off my college appli-
                 cation to the UC schools. I had remained silent all
                 those years because I did not want to risk everything
                 my parents had sacrificed—I hold the lives of my fam-
                 ily in my hands every time I make the decision to trust




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                 someone enough to tell them about our undocumented
                 status. This made it difficult to form close relationships
                 and it deeply impacted my social and emotional well-
                 being growing up.
                     12. When I was a junior in high school, my mother
                 was diagnosed with ovarian tumors. I was the prima-
                 ry person coordinating her care. As she does not speak
                 English, the language barrier posed a real problem for
                 her care, and, although I was helping her, I had no ex-
                 perience accessing the healthcare system. We had no
                 support navigating the insurance system either. This
                 was a very traumatic experience for me, and I felt very
                 helpless and powerless. Fearing that engaging in ne-
                 gotiations or asking too many questions could lead to
                 negative immigration-related consequences, we often
                 settled for less than excellent care for my mother. We
                 all felt as though we had to settle for whatever we were
                 given. I consider this to be a formative experience in
                 my life. It was after living through my mother’s illness
                 that I was determined to become a doctor and devote
                 my life to helping immigrant and low-income communi-
                 ties improve their access to health care.
                    13. My parents always emphasized the importance
                 of hard work and education. While I was in high school,
                 I helped work in my family’s restaurant on nights and
                 weekends—cooking, waiting tables, mopping floors, and
                 washing dishes—always balancing these jobs and chores
                 with my schoolwork. I took honors and AP classes with
                 the hope that I could one day achieve my parents’ dream
                 for me of receiving higher education here in the United
                 States.




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                       Applying to College, Attending UC Berkeley,
                                 and Community Service
                    14. I graduated as salutatorian of my high school
                 class and was accepted to a number of colleges within
                 the University of California. It was a very proud
                 moment for me and my family, and it reflected my
                 parents’ hopes for us when they uprooted our lives to
                 move us here so many years ago. I felt like I was
                 achieving the American Dream.
                    15. As excited as I was by the prospect of attending
                 college, I was worried about being able to pay for it.
                 My family was struggling financially, and we were los-
                 ing a lot of money from the restaurant. As an undocu-
                 mented immigrant without a Social Security Number, I
                 did not qualify for federal financial aid, and even some
                 institutional funding that is available to documented
                 applicants.
                    16. In March 2008, I learned that I had been of-
                 fered the Regents Scholarship for UC Davis—the most
                 prestigious scholarship offered to undergraduates,
                 awarded to students based solely on their academic and
                 personal achievements—which would have covered
                 most my tuition costs for all four years. I was so
                 happy and proud, and I thought that, for the first time
                 in my life, I would finally be able to focus only on my
                 schoolwork and not lie awake at night worrying about
                 money. I was optimistic that my family would not
                 have to bear the complete financial burden of my col-
                 lege education.
                    17. That optimism was short-lived. My Regents
                 Scholarship was revoked after the school learned that I
                 was undocumented, and that as such I was ineligible to
                 receive such financial aid under the rules as they ex-
                 isted at that time. The university expressed their




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                 regret, and said they hoped that I would let them know
                 if I became eligible for aid in the future.
                     18. I was devastated, but still determined to get a
                 college education. I considered attending community
                 college with the plan of eventually transferring into a
                 4-year university. However, my family was deter-
                 mined to not let my acceptances to competitive univer-
                 sities go unfulfilled, and to not let financial concerns
                 stand in my way. My family, including my extended
                 family, pitched in and managed to find a way to put
                 together enough funds for my first year at UC Berke-
                 ley.
                    19. I was constantly worried about how to pay for
                 the rest of my education and living expenses. To help
                 pay for school, I worked nights as a busboy at a Thai
                 restaurant and secured scholarships from several non-
                 profit organizations. One of those organizations, Edu-
                 cators for Fair Consideration, introduced me to a com-
                 munity of undocumented individuals and supporters,
                 eventually inspiring me to become an activist organiz-
                 ing for immigrant rights.
                    20. Despite maintaining the rigorous academic
                 schedule necessary to get into medical school and
                 working to pay for my education, I made time to vol-
                 unteer with several local nonprofit organizations.
                 Among other things, I cared for disabled patients at a
                 local hospital (Alta Bates in I Berkeley, CA), assisted
                 low-income and homeless community members through
                 a running a student health organization called the Suit-
                 case Clinic, and provided health and wellness seminars
                 to East Oakland youth as a trained “Healthy Ambas-
                 sador”.
                    21. While at UC Berkeley, I also advocated for
                 federal and state legislation to assist undocumented




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                 communities, and testified before the California Legis-
                 lature in support of the California Dream Act, which
                 was enacted into law in 2012.
                    22. Even though I was becoming more vocal about
                 my identity as an undocumented person, I still contin-
                 ued to suffer the consequences of that status. In 2011,
                 I was robbed at gunpoint just five blocks from the UC
                 Berkeley campus. I decided not to report the crime to
                 the police out of fear that stepping forward might lead
                 to me being deported. I felt suffocated. An awful,
                 violent act had been perpetrated on me and, yet, I was
                 not able to report the crime or rely on law enforcement
                 to bring me justice. I felt that there was nothing I
                 could do, so I just went back to studying.
                    23. In 2012, I co-founded Pre-Health Dreamers
                 (“PHD”), a national nonprofit organization with over
                 700 members that provides advice, resources, and ad-
                 vocacy for undocumented students interested in pur-
                 suing careers in health care and science. In January
                 2017, Forbes Magazine named me and my co-founder
                 to its “30 Under 30 in Education” list, commending me
                 for being “on the frontline of getting undocumented
                 students into medical professions and on the path to
                 becoming physicians and health care professionals.”
                    24. In 2012, I graduated from UC Berkeley, earn-
                 ing a bachelor’s degree with honors in Molecular &
                 Cellular Biology and Distinction in General Scholar-
                 ship.
                  Receiving DACA Status & Applying to Medical School
                    25. In spite of my excellent academic record, I was
                 told by the Deans of Admissions at several medical
                 schools that I should not apply to their programs be-
                 cause I was undocumented. Dr. Gabriel Garcia of




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                 Stanford School of Medicine told me that if he were me,
                 he would not apply to medical school at that time be-
                 cause medical schools did not want to invest their re-
                 sources in training me if I might not be able to stay in
                 the United States to practice medicine. Refusing to
                 take “no” for an answer, I applied to medical school
                 anyway, but was turned down, as the Deans of Admis-
                 sions had predicted would happen.
                    26. Exactly one month after I graduated from UC
                 Berkeley, the federal government announced the DACA
                 program on June 15, 2012. I was skeptical at the be-
                 ginning, so I decided to wait several months before ap-
                 plying. I was nervous about giving my information to
                 the government because I did not know what they
                 would do with it. After observing that the government
                 was living up to its promises to undocumented individu-
                 als like me, I decided that I could trust the government
                 and complied with the requirements of the application
                 process, including giving them my identifying infor-
                 mation and submitting to a rigorous background check.
                 I trusted that the government would not use my infor-
                 mation against me and my family, and I took the gov-
                 ernment up on the chance to walk on the path of eco-
                 nomic and academic opportunity that was paved by the
                 DACA program.
                    27. The ability to renew DACA was particularly
                 important to me. The risk-benefit analysis that I un-
                 dertook before applying for DACA led me to conclude
                 that it was only worth it if I was able to renew for the
                 foreseeable future. It would not make any sense to
                 give the government my information if I only received
                 DACA for two years, or if after each renewal I faced an
                 uncertain prospect for my future DACA status. Med-
                 ical school is a long path—I would have at least 4 years




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                 of school and 3+ years of residency. I would not be
                 able to be a resident trainee without work authoriza-
                 tion. So DACA had to be a long-term solution for me,
                 and the government indicated that it very well could
                 be. Throughout the process of applying for and re-
                 ceiving DACA benefits, I understood that I would be
                 eligible to receive DACA and continue to renew it as
                 long as I continued to play by the rules.
                    28. I applied for DACA in the Fall of 2012. At-
                 tached as Exhibit A is a true and correct copy of my
                 initial DACA application, Form I-821D. I paid $465
                 dollars for the application. Attached as Exhibit B is a
                 true and correct copy of the payment receipt notice I
                 received from the U.S. government. In connection
                 with my DACA application, I went to a USCIS applica-
                 tion support center on October 3, 2012 to have my
                 biometrics taken. Attached as Exhibit C is a true and
                 correct copy of my ASC Appointment Notice dated
                 October 3, 2012.
                    29. I passed the background check and was granted
                 DACA status on January 24, 2013. Attached as Ex-
                 hibit D is a true and correct copy of my first Notice Of
                 Action that I received from the U.S. government grant-
                 ing my DACA status until October 15, 2014.
                    30. I also applied for and was granted employment
                 authorization at the same time. Attached as Exhibit
                 E is a true and correct copy of my first I-765, Applica-
                 tion for Employment Authorization.         Attached as
                 Exhibit F is a true and correct copy of the Notice of
                 Action I received from the U.S. government granting
                 me employment authorization until October 15, 2014.
                    31. I applied for renewal of my DACA status on
                 July 18, 2014. Attached as Exhibit G is a true and
                 correct copy of my DACA renewal application, Form




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                 I-812D. Attached is Exhibit H is the Notice Of Action
                 that I received from the U.S. government renewing my
                 DACA status until September 25, 2016.
                    32. I again applied for renewal of my DACA status
                 in 2016. Attached as Exhibit I is a true and correct
                 copy of my DACA renewal application, Form I-812D.
                 Attached is Exhibit J is the Notice Of Action that I
                 received from the U.S. government renewing my
                 DACA status until January 12, 2019.
                              Benefits of My DACA Status
                    33. Being granted DACA status was a “game
                 changer” for me. It immediately opened doors at the
                 medical schools I wanted to apply to. I reapplied to
                 medical schools and, in 2014, I enrolled at the school
                 that I always dreamed of attending—UCSF. I was
                 the first undocumented medical student at UCSF. I
                 am on a five-year track in the Program in Medical
                 Education for the Urban Underserved (“PRIME-US”),
                 which is for students committed to working with urban
                 underserved communities.
                    34. Because of DACA, I was also able to apply for
                 and be granted Advance Parole to visit my 87-year-old
                 grandmother in Thailand, when she was ill in Decem-
                 ber 2014, my first visit to Thailand since I arrived in
                 the U.S. On that trip, I traveled with my mother and
                 siblings to see my grandmother after she suffered an
                 acute fall, requiring emergency surgery, which com-
                 pounded her already advanced chronic diseases. The
                 ability to travel back to Thailand was invaluable, and
                 allowed us to be there with her in her most vulnerable
                 moments, and made possible the reunification of our
                 family. Attached as Exhibit K is a true and correct
                 copy of the Authorization for Parole of an Alien Into




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                 the United States that I received from the U.S. gov-
                 ernment.
                    35. DACA also allowed me to immediately start
                 working. I contracted with PHD as an independent
                 contractor from January 2013 to September 2015. I
                 also completed a two-month internship with Health
                 Access California through Health Career Connection
                 during the summer of 2013 to advocate for expanding
                 health care access to undocumented Californians. I
                 paid taxes for both these jobs.
                    36. DACA has also allowed me to start building
                 credit. I participated in a Lending Circle through the
                 Mission Asset Fund, which I would not have been able
                 to do without a Social Security Number. I was able to
                 apply for and be approved for credit cards, which al-
                 lowed me to become more economically flexible and
                 stable.
                    37. Receiving DACA was also life-changing on a
                 more fundamental, personal level. I felt like I could
                 finally breathe easy. I was finally able to do things
                 that I had never been able to do before, and that other
                 people take for granted. After years of lying to my
                 friends, I obtained a driver’s license, which helped me
                 commute from Fremont while I was working after
                 college to build PHD.
                    38. I am continuing my work in helping under-
                 served communities. I volunteered at the UCSF
                 student-run homeless clinic, helped to implement a
                 quality improvement project at the San Francisco
                 Department of Public Health’s community health cen-
                 ter, am involved with several organizations that pro-
                 vide support for undocumented students and other im-
                 migrants, and serve on the Board of Directors for
                 Asian Health Services (Oakland, CA) as well as UC




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                 President Janet Napolitano’s Advisory Council for Un-
                 documented Students.
                    39. Being undocumented helps me relate to my un-
                 derserved and undocumented patients in ways that many
                 other medical students and doctors cannot. Because
                 of my personal experiences with my mother’s health
                 issues, I can understand—and help overcome—the bar-
                 riers to healthcare access and trust that my patients
                 experience. My personal knowledge of these barriers
                 also helps me to advocate for changes in public health
                 policy.
                    40. In December 2016, in my third year of medical
                 school, I was working at the Zuckerberg San Francisco
                 General Hospital for my pediatrics rotation. A patient
                 came to the urgent care clinic and was having an asth-
                 ma attack. He was a fifteen-year-old undocumented
                 teenager who had just arrived as an unaccompanied
                 minor from Guatemala. He was shocked to hear that I
                 was undocumented as well. I spoke to his brother and
                 sister and explained how he could still enroll in high
                 school and college. Because of my background, I was
                 not only able to help him with him physical symptoms,
                 but also with social determinants that affect health, like
                 education and housing. That is the different type of
                 provider I and other undocumented students can be-
                 come.
                    41. In February 2017, I applied for Legal Perma-
                 nent Resident status. I hoped that this step would
                 continue my road to inclusion in U.S. society.
                    42. In April 2017, I was awarded the U.S. Public
                 Health Service’s prestigious Excellence in Public
                 Health Award, which is given to medical students who
                 are involved in local public health issues and advance
                 the U.S. Public Health Service’s mission to “protect,




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                 promote, and advance the health and safety of our
                 Nation.”
                    43. In August 2017, I began pursuing a Masters of
                 Public Health in Health Policy at the Harvard T.H.
                 Chan School of Public Health. I knew that clinical
                 medicine alone would not be enough for me to make the
                 impact that I envisioned. Since I have begun medical
                 school, my story has not changed—and the needs of the
                 communities that I want to help have not changed, in
                 fact they are stronger than ever. I plan to become a
                 physician who influences health policy and changes the
                 status quo of healthcare delivery, thereby reducing
                 health disparities and expanding access to affordable,
                 quality care for the uninsured, low-income, homeless,
                 immigrant communities—just like the ones in which I
                 grew up and those that I have worked with.
                     Impact of Announcement of Rescission of DACA
                    44. While there had been political talk about impact
                 to the DACA program under the current administra-
                 tion, I took comfort in events following the transition
                 from the Obama Administration to the Trump Admin-
                 istration, and actions taken and statements made by
                 the President and others. First, in February 2017,
                 the Trump Administration exempted DACA from the
                 early repeal of other immigration actions. That was a
                 positive sign for DACA recipients. Next, I read Pres-
                 ident Trump’s words in an April 2017 interview that
                 “dreamers should rest easy,” and his answer that his
                 administration’s policy was to allow DACA recipients
                 to stay. I also read reports issued on June 15, 2017
                 that the administration would continue to allow for
                 DACA renewals and that the DACA program would re-
                 main in effect. Those reports provided hope that the
                 DACA program would continue.




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                    45. Less than three months later, however, on
                 September 5, 2017, the Administration announced the
                 rescission of the DACA program. That announcement
                 threw my life into chaos and has been a shock to my
                 world: educationally, professionally, emotionally, and
                 physically. Since the rescission of DACA was an-
                 nounced, I have not been sleeping well because of the
                 anxiety the announcement caused and the frustration
                 about not knowing where my future stands. In fact, I
                 have suffered sleeplessness for the first time in my life.
                 I wanted to make the most out of my year at Harvard
                 by immersing myself in study of health policy and by
                 developing connections for my future career. But that
                 career was put in jeopardy just a week after I started
                 school, with the announcement of the end of the DACA
                 program upending my life. As a result, I have been
                 paralyzed by the fear that I will lose everything that I
                 had worked so hard to achieve—that my future would
                 vanish in a flash. My focus has been taken away from
                 the important opportunities available to me at Har-
                 vard.
                     46. The announcement of the rescission of DACA
                 has consumed significant emotional energy, and I live
                 in fear of the loss of the future my parents and I had
                 worked so hard to create. The stress is unbearable.
                 Following the announcement that the DACA program
                 would be ended, I have suffered headaches for the first
                 time in my life, and I have no doubt that the stress and
                 headaches are due to the chaos that the announcement
                 of the rescission of DACA has caused me.
                    47. The announcement of the end of the DACA
                 program is already affecting my education and profes-
                 sional prospects. I was planning to travel interna-
                 tionally as part of my MPH studies at Harvard. Dur-




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                 ing the month of January, international travel for MPH
                 students is common, and I hoped and planned to travel
                 as part of the program, in January 2018. Without the
                 ability to do so, I would be one of the few students not
                 to travel internationally as part of my MPH program,
                 which would place me at a disadvantage against my
                 colleagues.
                    48. And, in my fourth year of medical school, I was
                 planning on completing an away rotation in an interna-
                 tional country, to be able to have more experience with
                 global health work, serving needy communities abroad.
                 This will be impossible if my DACA is rescinded.
                    49. I am due to apply for residency next year.
                 Without DACA and without my work authorization,
                 however, I will become ineligible to apply for and be
                 considered by residency programs across the country.
                 I have spent years of my life working tirelessly towards
                 this goal, and having my dream snatched away from me
                 so close to the finish line hurts emotionally more than I
                 imagined, and causes me great stress on a daily basis
                 ever since the government announced that DACA would
                 be rescinded.
                    50. I declare under penalty of perjury that the fore-
                 going is true and correct.
                 Executed on [Oct. 30], 2017, in Cambridge, Massachu-
                 setts.
                                 /s/ JIRAYUT LATTHIVONGSKORN
                                     JIRAYUT LATTHIVONGSKORN




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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                             Case No. 17-CV-05211-WHA
                  THE REGENTS OF THE UNIVERSITY OF CALIFORNIA AND
                    JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNIVERSITY OF CALIFORNIA,
                                     PLAINTIFFS
                                          v.
                    U.S. DEPARTMENT OF HOMELAND SECURITY AND
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                              SECURITY, DEFENDANTS


                             Case No. 17-CV-05235-WHA
                    STATE OF CALIFORNIA, STATE OF MAINE, STATE OF
                    MARYLAND, AND STATE OF MINNESOTA, PLAINTIFFS
                                          v.
                   U.S. DEPARTMENT OF HOMELAND SECURITY, ELAINE
                       DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                     SECRETARY OF THE DEPARTMENT OF HOMELAND
                    SECURITY, AND THE UNITED STATES OF AMERICA,
                                    DEFENDANTS


                             Case No. 17-CV-05329-WHA
                      CITY OF SAN JOSE, A MUNICIPAL CORPORATION,
                                     PLAINTIFFS
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                   IN HIS OFFICIAL CAPACITY, ELAINE C. DUKE, IN HER
                     OFFICIAL CAPACITY, AND THE UNITED STATES OF
                                 AMERICA, DEFENDANTS




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                               Case No. 17-CV-05380-WHA
                       DULCE GARCIA, MIRIAM GONZALEZ AVILA,
                      SAUL JIMENEZ SUAREZ, VIRIDIANA CHABOLLA
                       MENDOZA, NORMA RAMIREZ, AND JIRAYUT
                             LATHIVONGSKORN, PLAINTIFFS
                                             v.
                  UNITED STATES OF AMERICA, DONALD J. TRUMP, IN HIS
                    OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                   STATES, U.S. DEPARTMENT OF HOMELAND SECURITY,
                    AND ELAINE DUKE, IN HER OFFICIAL CAPACITY AS
                      ACTING SECRETARY OF HOMELAND SECURITY,
                                       DEFENDANTS


                               Case No. 17-CV-05813-WHA
                    COUNT OF SANTA CLARA AND SERVICE EMPLOYEES
                     INTERNATIONAL UNION LOCAL 521, PLAINTIFFS
                                             v.
                     DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNITED STATES, JEFFERSON
                    BEAUREGARD SESSIONS, IN HIS OFFICIAL CAPACITY
                     AS ATTORNEY GENERAL OF THE UNITED STATES;
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                     SECRETARY OF THE DEPARTMENT OF HOMELAND
                    SECURITY; AND U.S. DEPARTMENT OF HOMELAND
                               SECURITY, DEFENDANTS

                             DECLARATION OF DULCE GARCIA


                 I, Dulce Garcia, declare as follows:
                   1. I am a party in the above-captioned action. I
                 make this declaration based on my personal knowledge.




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                 If called as a witness, I could and would testify compe-
                 tently on the facts stated herein.
                                      My Early Life
                     2. I was born in Mexico and was brought to the
                 United States by my parents when I was four years
                 old. Since then, I have never left the United States.
                 It is my home.
                    3. I grew up in Logan Heights, a low-income, pre-
                 dominately Latino community in San Diego, California.
                 Throughout my childhood, my family was quite poor
                 and, from time to time, was forced to deal with home-
                 lessness. For a time, we shared a home with multiple
                 families in order to save money on rent. I remember
                 at one point in time my siblings and I were sleeping un-
                 der a table in a home, because that was the part of the
                 home my family had rented out.
                    4. We also lacked access to healthcare. I never
                 stepped into a dentist’s office, for example, until I was
                 an adult. And I remember one time, as a young child,
                 my father hurt his arm at work (he was a welder). He
                 shattered his arm and wrist in several places. We
                 didn’t have health insurance, so he tried to just bear
                 the pain. Plus, the thought of going to the hospital
                 was frightening for my family. We were nervous that
                 the doctors would ask about our immigration status or
                 ask him to file a report about where he was working.
                 But, after about a week, we realized it was getting
                 infected and he was forced to go see a doctor. The
                 doctor told us if we’d waited any longer, he would have
                 had to have it amputated. That was terrifying—but it
                 was also terrifying to leave the walls of our home and
                 expose ourselves to the outside world—we were always
                 scared of what could happen to us.




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                    5. I certainly didn’t have the typical San Diego
                 experience as a child. I didn’t do any of the things that
                 I heard my friends and classmates talk about. For
                 many years growing up, I didn’t go to the beach or the
                 park, the movies, and I certainly didn’t get to go to Dis-
                 neyland like my friends did. We felt scared every
                 time we stepped out of the house.
                    6. I don’t remember when I first learned that I
                 was an undocumented immigrant. I know that even
                 when I first learned this about myself, I didn’t fully
                 understand the implications of that on my life. I do
                 remember that from a very young age, my family and I
                 feared the local police and immigration authorities.
                 We led a very sheltered life and were afraid to leave
                 the security of our home. However, I can remember
                 seeing federal agents raid homes in my neighborhood
                 and arrest one or more of the individuals living in a
                 house. Often times, multiple families would be living
                 in one home.
                    7. When I was seven years old, my grandmother
                 passed away. I remember not understanding why my
                 family couldn’t return to Mexico to attend her funeral.
                 I didn’t understand that our lack of documentation
                 made that impossible.
                     8. I am one of four children. I have three broth-
                 ers, the youngest of which is a United States citizen.
                 One of my brothers, like me, is a DACA recipient. I
                 am incredibly close to my immediate family. I also
                 have an uncle and three cousins who are U.S. citizens,
                 living in Colorado, who I have seen a few times over the
                 course of my life. After thirty years of living here in
                 the United States, we have lost touch completely with
                 any extended family in Mexico. My parents and sib-
                 lings are really the only close family I know.




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                     9. The first tangible experience I had with my un-
                 documented status impacting my daily life was when I
                 was in high school and I wanted to apply for a driver’s
                 license. I had taken a course in high school with all
                 my friends to prepare us for taking the exam. After
                 taking the class, an exam was to be administered and
                 all passing students would receive a driving permit.
                 My father had warned me that I would not be able to
                 apply for a driver’s license because I didn’t have a so-
                 cial security number or any of the proper documenta-
                 tion. I didn’t understand this—or believe him. Unfor-
                 tunately, he was correct. After taking the class, my
                 teacher asked us all to provide her with our social se-
                 curity numbers. When I was unable to provide one, I
                 was not able to take get a drivers permit. I remember
                 feeling angry, embarrassed, confused, and incredibly
                 frustrated by the situation.
                    10. My next experience dealing with the ramifica-
                 tions of my undocumented status, which was even more
                 devastating, came when I was preparing to apply for
                 college. I was excited at the prospect of going to col-
                 lege. I thought the most daunting part of the process
                 would be deciding which university to attend. One
                 day, I made an appointment with my high school coun-
                 selor to discuss my choices of potential colleges, having
                 already been accepted to quite a few that sounded
                 interesting to me. At that meeting, my counselor told
                 me that not only was I not going to be able to attend
                 any of the colleges I had been accepted to attend, and
                 that I wouldn’t even be able to enroll in the local com-
                 munity college. I remember he delivered the news
                 very bluntly, at one point calling me “an illegal.”
                   11. When I went home from school that day I asked
                 my mother if what my counselor had told me was true.




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                 My mother confirmed that my counselor was correct.
                 I remember how sad my mother was, and how she went
                 out of her way to tell me how proud of me she was for
                 how hard I worked in school but that my family would
                 not be able to afford to send me to school.
                    12. I was devastated when I thought that college
                 might be out of reach for me. I had pushed myself
                 throughout high school to excel academically and had
                 always been driven by the idea of a college education
                 and a chance to go to law school and become a lawyer.
                    13. Before learning about my undocumented sta-
                 tus, I can remember feeling like I was going to conquer
                 the world. After learning about my status, I remem-
                 ber being confronted for the first time with the harsh
                 reality that some of my dreams might not come true.
                     Getting an Education:    College and Law School
                    14. I graduated high school in 2001. I had applied
                 to and gotten accepted at my dream school: the Uni-
                 versity of California, Davis. However, without a social
                 security number, I couldn’t apply for student loans and
                 my parents certainly could not afford to put me through
                 school.
                   15. Instead, I enrolled at a local community college
                 and stayed in San Diego.
                    16. Eventually, after graduating from community
                 college, I was able to transfer to the University of
                 California, San Diego (“UCSD”). I managed to secure
                 honors every quarter I attended UCSD, despite work-
                 ing full time as a legal assistant at the same time. I
                 also often had to find other part time jobs to supple-
                 ment my income and pay for tuition and books. I
                 graduated college in 2009. I was, and remain to this
                 day, incredibly proud to be a college graduate.




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                    17. For me, the next step was law school. I have
                 wanted to be a lawyer for as long as I can remember.
                 From a very young age, I can remember witnessing in-
                 justice, intolerance, and aggression against members of
                 my community. For example, I can remember seeing
                 overzealous police officers pull over individuals simply
                 because of the color of their skin. I knew this wasn’t
                 right and I wanted to be able to do something about it.
                    18. In fact, my younger brother was once pulled
                 over for suspicious driving. As a result of a traffic
                 stop, he was turned over to immigration officials and
                 placed in a detention center. I remember going to
                 visit him at the detention center. I saw how crushed
                 he was, and I was devastated. I knew then that I had
                 to continue to work hard and become an immigration
                 attorney, so I could help people like my brother.
                    19. I was invited by the Cleveland Marshall School
                 of Law to apply, and was offered a private scholarship
                 to attend. For my first year, I had a full scholarship
                 and received some much smaller scholarships in sub-
                 sequent years. During law school I worked hard to
                 help pay for tuition and living expenses.
                     20. During my last year of law school, money was
                 especially tight for me. My mother gave me $5,000 to
                 help pay for my tuition. This money represented al-
                 most her entire life’s savings, which she had earned
                 working the night shift as a hotel housekeeper. She
                 was so proud of me and she wanted me to achieve my
                 dreams. I was, and remain, so grateful to her for her
                 all her sacrifices for me.
                                   The DACA Program
                   21. The government announced the creation of the
                 DACA program my during my second year in law




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                 school. I remember that when I heard the announce-
                 ment, I was so overjoyed that I immediately broke down
                 in tears. I recall vividly hearing President Obama an-
                 nounce the program and talk about the need to protect
                 immigrant youth, like myself, and I felt deeply grateful
                 and encouraged to apply.
                    22. I remember reading up on the program and re-
                 viewing the various guidelines and requirements very
                 closely. I remember specifically noting that the gov-
                 ernment promised that USCIS would not refer appli-
                 cants to ICE or use the information provided to the
                 government against an applicant, unless of course
                 there was some sort of national security threat. I also
                 watched some informational videos on the USCIS web-
                 site dedicated to the DACA program. After studying
                 the program and watching these videos, I felt encour-
                 aged to apply and safe in doing so.
                    23. Although initially skeptical, I decided that I
                 could trust the government to honor its promise and I
                 decided to apply. Ultimately, it was the only option
                 available to me that would allow me to work lawfully
                 here in the United States—my home. And I knew
                 that so long as I continued to renew my DACA status, I
                 would not be deportable. That also lifted a huge weight
                 off of my shoulders. I knew that as long as I followed
                 the very explicit rules laid out in the DACA program, I
                 would be able to maintain and renew my DACA status.
                    24. One of the critical factors was that it was re-
                 newable. I would never have stepped forward out of
                 the shadows, borrowed money, submitted to a back-
                 ground check, and provided all of my sensitive infor-
                 mation to the government without a guarantee that I
                 could renew my status every two years.




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                    25. On January 24, 2014, I submitted my applica-
                 tion for DACA status and work authorization. At-
                 tached herein as Exhibit A is a true and correct copy of
                 my initial DACA Application (Form I-821D) that I sub-
                 mitted to USCIS on January 24, 2014. Attached here-
                 in as Exhibit B is a true and correct copy of my Appli-
                 cation for Employment Authorization (Form I-765)
                 that I submitted to USCIS on January 24, 2014. At-
                 tached herein as Exhibit C is a true and correct copy of
                 my Application for Employment Authorization Work-
                 sheet (Form I-765WS) that I submitted to USCIS on
                 January 24, 2014. Attached as Exhibit D is a true and
                 correct copy of the Form I-797C Notice of Action that I
                 received from USCIS on January 29, 2014, acknowl-
                 edging receipt of my 2014 DACA Application. At-
                 tached as Exhibit E is a true and correct copy of the
                 Form I-797C Notice of Action that I received from
                 USCIS on January 29, 2014, acknowledging receipt of
                 my Application for Employment Authorization.
                    26. Coming up with the fee required for the initial
                 application was difficult. It was very difficult to come
                 up with this money. I was already running low on mon-
                 ey at this point, since I was in the midst of law school
                 and unable to find a job without valid authorization.
                 All of my money was going towards tuition, books and
                 other school expenses. Ultimately, I had to borrow
                 the money to pay for the application fee. When I
                 applied for DACA status I submitted to all of the gov-
                 ernment’s requirements, including paying the required
                 fee, providing my personal information to the govern-
                 ment, and submitting to a government background
                 check.
                   27. The application process was extremely burden-
                 some. As an undocumented immigrant, who had lived




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                 her life in the shadows, it was difficult to pull together
                 enough documentation to meet all the requirements of
                 the program. It took exhaustive efforts on my part to
                 gather all the necessary information, but, of course, I
                 was willing to do it if it meant that I could be living
                 here lawfully and be allowed to work.
                    28. In connection with my DACA application, I
                 went to a USCIS application support center on Febru-
                 ary 26, 2014 to have my biometrics taken so that the
                 government could perform a background check on me.
                 Attached as Exhibit F is a true and correct copy of my
                 ASC Appointment Notice dated February 7, 2014.
                 The experience of appearing for and submitting to this
                 background check was both I surreal and terrifying.
                 After living in the shadows for so long, voluntarily com-
                 ing forward and stepping in to the light in this manner
                 —especially when I didn't really know what to expect—
                 was unnerving to say the least. I remember feeling
                 almost as though I was a criminal being put through
                 processing—even though I knew that I hadn’t commit-
                 ted any crimes.
                    29. I received approval of my DACA application on
                 April 16, 2014. Attached as Exhibit G is a true and
                 correct copy of the Form I-797 DACA Application Ap-
                 proval Notice that I received from USCIS on April 16,
                 2014.
                    30. I also received employment authorization at
                 this time. Attached as Exhibit H is a true and correct
                 copy of the mailing that I received from USCIS on
                 April 18, 2014 with my employment authorization card.
                   31. I applied for renewal of my DACA status and
                 work authorization on December 8, 2015. Attached as
                 Exhibit I is a true and correct copy of the Form I-821D
                 DACA Application that I submitted to USCIS on De-




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                 cember 8, 2015. Attached as Exhibit J is a true and
                 correct copy of the Form I-765 Application for Em-
                 ployment Authorization that I submitted to USCIS on
                 December 8, 2015. Attached as Exhibit K is a true
                 and correct copy of the Form I-765WS (Application for
                 Employment Authorization Worksheet) that I submit-
                 ted to USCIS on December 8, 2015. I remember that
                 before my DACA status was set to expire, I received a
                 notice from USCIS alerting me to the fact that my
                 status was set to expire, and encouraging me to apply
                 to renew my status 120-150 days before expiration, in
                 order to avoid any lapse. I experienced this as an en-
                 couragement on the part of the government to continue
                 to rely on the program. Attached as Exhibit L is a
                 true and correct copy of the Form I-797C Notice of
                 Action reminding me to renew my DACA Application
                 that I received from USCIS on November 1, 2015.
                    32. In my employment renewal application work-
                 sheet, I provided an explanation of my current financial
                 situation to justify my need for employment authoriza-
                 tion as follows: “I need employment authorization to
                 work to pay off the debt currently totaling about
                 $34,000 and to continue to pay for living expenses.”
                 See Exhibit K. This debt was from college and law
                 school tuition, books, other school-related expenses,
                 and other debts incurred while I was enrolled in college
                 and law school and unable to work without a valid work
                 permit.
                    33. In connection with my renewal DACA applica-
                 tion, I again went to a USCIS application support cen-
                 ter on January 6, 2016 to have my biometrics taken.
                 Attached as Exhibit M is a true and correct copy of my
                 ASC Appointment Notice dated December 18, 2015.




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                    34. I received approval of my DACA renewal appli-
                 cation on February 17, 2016, and also received a re-
                 newed employment authorization card around that
                 time. Attached as Exhibit N is a true and correct
                 copy of the Form I-797 DACA Application Approval
                 Notice that I received from USCIS on February 17,
                 2016. I received my work authorization renewal on
                 February 17, 2016. Attached as Exhibit O is a true
                 and correct copy of the Form I-797 Application for Em-
                 ployment Authorization Approval Notice that I re-
                 ceived from USCIS on February 17, 2016.
                    35. I applied for renewal of my DACA status and
                 work authorization a second time on September 27,
                 2017. Attached as Exhibit P is a true and correct copy
                 of my second renewal application, including the Form
                 I-281D DACA Application, Form I-765 Application for
                 Employment Authorization, Form I-765WS Application
                 for Employment Authorization Worksheet, and sup-
                 porting materials. I have not yet received approval of
                 this second renewal application.
                    36. My DACA status currently expires on Febru-
                 ary 16, 2018
                                  The American Dream
                     37. Simply put, DACA has allowed me to realize
                 the American Dream. Growing up, my parents in-
                 stilled in me and my siblings that they had come to this
                 country and overcome numerous obstacles in so doing,
                 so that my brothers and I could live the American
                 Dream.
                    38. Being granted DACA status and being able to
                 renew that status (and rely on a promise of future
                 renewals to come) has had an empowering and trans-
                 formative impact on my life. For the first time in my




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                 life, I came to believe that nothing could hold me back
                 —that anything was possible. I believed that I would
                 finally be able to achieve all the things I had always
                 dreamed of, including becoming a lawyer, setting up a
                 thriving law practice, and serving my community. I
                 once again believed in that American Dream that my
                 parents had taught me to aspire to.
                    39. For me, the American Dream means being able
                 to get a good education, to own a car, to buy a house, to
                 pursue the career of your dreams, and to fall in love
                 and start a family. It means that anyone and every-
                 one, if they work hard, play by the rules, contribute to
                 society, and generally look out for their friends, family
                 and community at large, can succeed. I have always
                 lived my life that way and I am devastated to think that
                 might not be enough.
                    Peace of Mind and Freedom
                    40. Having DACA status has also provided me with
                 a more peaceful state of mind. I have finally come to
                 trust that I can travel beyond the four corners of my
                 home without the constant fear of being picked up by
                 the police or immigration authorities.
                    41. Before having DACA status, I used to have to
                 take a Greyhound bus ride whenever I traveled be-
                 tween San Diego and law school (in Cleveland, Ohio),
                 which took anywhere between 54 and 62 hours.
                    42. Just last week, my fiancé and I flew to Wash-
                 ington, D.C. together. It felt incredible to hand over
                 our California driver’s licenses and board the plane,
                 just like every other American waiting in line with us.




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                    Home Ownership
                    43. Even before DACA, my fiancé and I had taken
                 one step towards achieving the American Dream—we
                 bought our first home. The process of buying the
                 home, however, was fraught with difficulties and road-
                 blocks as a result of our undocumented status. We
                 spent well-over one year trying unsuccessfully to apply
                 for a home loan. While our applications always looked
                 good, including our credit history and employment his-
                 tory, without a social security number we were never
                 able to secure a loan. As such, we had to wait until we
                 had saved up enough cash to purchase a home without
                 a loan. This was incredibly difficult to do, and we also
                 had to borrow about $10,000 from my fiancé’s mother.
                    44. In May 2009, we were able to pull together
                 enough to buy a condo in San Diego, California. We
                 have been paying property taxes on the condo ever
                 since.
                    45. Becoming a homeowner was a pivotal moment
                 in my life. I felt like I was an American. I felt like I
                 was achieving the American Dream that my parents
                 had set out for me and that I myself had imagined.
                    Driving and Buying a Car
                    46. As soon as I was granted DACA status, I ap-
                 plied for a social security number. Using my social
                 security number, I was able to open a credit card.
                 This allowed me to start building up a credit history,
                 which I knew would be crucial both for my personal
                 and professional future.
                    47. After receiving DACA, I immediately applied
                 for a social security number. As soon as I received my
                 social security number, I applied for a driver’s license.
                 I got my driver’s license on May 1, 2014. It is hard to




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                 put in words how much that license meant—and means
                 —to me. For one thing, it meant that I could drive
                 around—to visit family and friends, to go to work, and
                 to see clients—without fear of being pulled over and
                 arrested. And it meant that I was like every other
                 American.
                    48. Driving and owning an “American muscle car”
                 has always featured prominently in my vision of what it
                 meant to live the American Dream. My fiancé Luis
                 and I had purchased a 1965 Ford Mustang that we
                 spent a long time restoring. We love that car. The
                 thought of being able to drive around in that car, with-
                 out feeling like I was breaking the law or like I had to
                 be scared, was truly a dream come true. Again, it felt
                 like I was an American.
                    My Dream Career
                    49. I was admitted to the California Bar in May
                 2016.
                    50. I opened up my own law practice immediately
                 thereafter, in San Diego, California in June 2016. As
                 soon as I knew that I wanted to be a lawyer, I knew
                 that I wanted to open my own practice. That has
                 always been my dream. I wanted to be able to help
                 my community and to have the freedom to decide what
                 types of cases and clients I took on. I knew that there
                 were many people in my community who needed access
                 to competent legal representation and I wanted to be
                 able to help them in a meaningful way. For me, being
                 a lawyer was always about providing access to justice
                 for those who needed it most.
                    51. Today, I have over 50 clients, two offices, and I
                 employ 2 people (until the filing of this lawsuit I em-
                 ployed 3 people but one employee has since resigned).




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                 I pay taxes and consider myself to be a valuable con-
                 tributor to the American economy.
                    52. Many of my most rewarding cases as a lawyer
                 have been on behalf of low-income and, sometimes, un-
                 documented individuals. Being able to provide legal
                 representation to these people—and being able to pre-
                 vail in a David vs. Goliath type of case, is why I went to
                 law school and why it is so important to me that I am
                 able to continue practicing.
                    53. One case I remember in particular involved the
                 representation of an undocumented woman who fell
                 prey to an unscrupulous notario. The woman had paid
                 the notario a fee of $2000 to prepare a DAPA applica-
                 tion, at a point in time when DAPA was not even avail-
                 able. Ultimately, I was able to recover all of the
                 woman’s money. Moreover, I formed a close bond
                 with the woman who now turns to me for advice when-
                 ever she is concerned that she might be falling prey to
                 another scam. Because she knows my history as an
                 undocumented immigrant, I believe that she is more
                 likely to feel comfortable coming to me and is more
                 likely to trust my advice.
                    54. In May 2017, I opened a second office in Chula
                 Vista, California. After the 2016 presidential election,
                 President Trump made a number of public statements
                 promising that the Dreamers would be safe and that he
                 would deal with DACA “with heart.” These sorts of
                 statements led me to believe that—despite the nega-
                 tive, anti-immigrant rhetoric he engaged in during the
                 campaign, he actually had no intention of rescinding
                 DACA, and that he and his administration would live
                 up to the government’s promises to Dreamers like
                 myself. When I signed the lease on my second office,
                 I was convinced that—while the new administration




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                 might increase deportations of undocumented immi-
                 grants, Dreamers like myself would be safe. As such,
                 I signed a new five-year lease on my new office.
                    55. My status as a DACA recipient gave me the
                 confidence to do all this—to open and expand my own
                 law practice, to hire employees, and to represent doz-
                 ens of clients in immigration proceedings, civil litiga-
                 tion, and criminal defense.
                    56. And it is my status or identity as a Latina
                 Dreamer that has allowed me to relate to the under-
                 served, undocumented individuals who I represent.
                 This allows me to represent them more effectively, I
                 believe, than many other lawyers would be able to.
                    My Fiancé’s Career
                    57. My fiancé Luis Tinoco also has DACA status.
                 Like me, he has had to overcome incredible hardships
                 in his life to get where he is today. And, like me,
                 DACA has opened up so many doors for him.
                    58. Among other things, he has become a very suc-
                 cessful small business owner. He owns a mechanics
                 shop, where he employs 3 full-time U.S. citizen em-
                 ployees as independent contractors.
                    59. He also spends a considerable amount of time
                 and energy giving back to the community. He has
                 contracted with several of the local schools to create an
                 internship program, whereby the schools send young
                 children (often from low-income, immigrant communi-
                 ties) to intern at his business. The purpose of the pro-
                 gram is to keep these children off the street, to teach
                 them a valuable trade, and to inspire them to stay in
                 school and find a career they are passionate about. I
                 am very proud of him.




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                    Marriage and Children
                    60. Finally, and most importantly, I had always
                 dreamed that one day I would fall in love, get married
                 and start a family here in this country. And, until the
                 announcement of the DACA recission, that dream was
                 also becoming a reality.
                    61. My fiancé, Luis, and I have actually known each
                 other since we were just small children in elementary
                 school. I remember that Luis always did exceptional-
                 ly well in school, ultimately graduating with a 4.0 or
                 close to that. He wanted to join the military and go to
                 college. However, because he was also undocument-
                 ed, that dream was foreclosed for him.
                    62. It was the year after we graduated high school
                 that Luis and I really connected and, ultimately, fell in
                 love. Most of our friends had left town to go to col-
                 lege. He and I were left behind. I remember how
                 surprised I was that he hadn’t gone off to college, given
                 what a strong student he had been. We immediately
                 bonded over what it meant to be undocumented.
                    63. Luis proposed to me during my second year in
                 law school, right before the DACA program was an-
                 nounced. He came to my law school and proposed to
                 me in the law library, which is where I was spending
                 most of my time those days. Since then we have built
                 a life together. We bought a car together, a home
                 together, and began to plan for our wedding and our
                 future. We were very excited at the prospect getting
                 married. Of course, the announcement terminating
                 DACA has put all of that on hold.
                    64. Part of that future has, for me, always included
                 children. Specifically, I have always dreamed of fos-
                 tering and eventually adopting a child. Growing up I




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                 saw so many children in my community in need of a
                 good home. It was always a dream of mine to be a per-
                 son to provide one of those children with a safe, secure,
                 happy place to grow up. Luis and I had done all the
                 research necessary to become foster parents and had
                 started putting the pieces in place. I even attended an
                 orientation session on what was entailed with the pro-
                 cess. DACA allowed us believe that we could, in fact,
                 become foster parents—and eventually adoptive par-
                 ents. We were very excited at the prospect of becom-
                 ing parents. But, again, the announcement terminat-
                 ing DACA has put all of that on hold.
                       Devastating Impact of the DACA Recission
                    65. Today, in the wake of the administration’s Sep-
                 tember 5, 2017 announcement terminating the DACA
                 program, all that I have worked for my entire life is at
                 risk. My entire life feels uncertain and I can already
                 feel the American Dream that I worked so hard to
                 achieve slipping away. I am terrified.
                    66. The administration’s announcement of the re-
                 cission of the DACA program has left me emotionally
                 and physically drained. I have already had physical
                 manifestations of the anxiety and stress related to the
                 termination, including finding my first gray hair just
                 the other day.
                    67. I am very scared about what will happen to my
                 house if DACA is rescinded. Nearly all of our assets
                 are tied up in that house. If we are deported, all of my
                 assets would be tied up in this country and I would not
                 be able to access it. I have already started consider-
                 ing the very real possibility that we may need to sell
                 our condo—and sell it quickly—if either one of us is
                 served with removal papers. Of course, we might not
                 be able to sell it at all and, even if we could, we might




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                 not be able to afford to hold out for the best deal. I
                 think it is very likely that we would end up losing at
                 least some, if not all of the money that we put into the
                 home if that were to happen.
                    68. If DACA is terminated I think it is likely that
                 my practice—that I am so proud of—will collapse. At
                 the very least, I will have to shut down a significant
                 portion of it. For one thing, I would be could span
                 many months or years, when my status in this country
                 was tenuous. Even thinking about losing my practice
                 has completely overwhelmed and devastated me.
                    69. As I mentioned earlier, I have also put my plans
                 to get married on hold. While we were having fun
                 planning and saving for a wedding, those plans have
                 had to take a back seat to our new focus on finding a
                 way to ensure that our documented status here in the
                 United States is preserved.
                     70. Similarly, while DACA had enabled me to fi-
                 nally dream about becoming a mother, that dream is
                 also being put on hold. My fiancé and I just do not
                 think that it would be fair to bring a child into our lives
                 if we can’t guarantee that child a stable, safe home.
                    71. For now I am still trying to live my life, do my
                 job, and support my family. However, I am terrified
                 that the life I have built for myself here in this country
                 that I call home is about to be entirely uprooted. I am
                 counting on this lawsuit to ensure that does not happen
                 to me and to thousands of other Dreamers.
                    72. This lawsuit is especially meaningful to me as a
                 lawyer, in addition of course to how much it means to
                 me to do this on behalf of Dreamers around the coun-
                 try. As a lawyer, I am trusting in this country’s judi-
                 cial system to do the right thing. As I have become




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                 increasingly engaged in fighting for the rights of fellow
                 Dreamers in the recent weeks and months, I have be-
                 come increasingly disheartened at the politicized na-
                 ture of so many of the discussions. However, I firmly
                 believe that we can rely on this nation’s judicial system
                 to protect my rights and the rights of my fellow Amer-
                 icans, my fellow Dreamers.
                 I declare under penalty of perjury that the foregoing is
                 true and correct.
                 Executed on Oct. 30, 2017, in San Diego, California.

                                      /s/   DULCE GARCIA
                                            DULCE GARCIA




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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                             Case No. 17-CV-05211-WHA
                  THE REGENTS OF THE UNIVERSITY OF CALIFORNIA AND
                    JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNIVERSITY OF CALIFORNIA,
                                     PLAINTIFFS
                                          v.
                    U.S. DEPARTMENT OF HOMELAND SECURITY AND
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                              SECURITY, DEFENDANTS

                             Case No. 17-CV-05235-WHA
                    STATE OF CALIFORNIA, STATE OF MAINE, STATE OF
                    MARYLAND, AND STATE OF MINNESOTA, PLAINTIFFS
                                          v.
                      U.S. DEPARTMENT OF HOMELAND SECURITY,
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                    SECURITY, AND THE UNITED STATES OF AMERICA,
                                    DEFENDANTS


                             Case No. 17-CV-05329-WHA
                      CITY OF SAN JOSE, A MUNICIPAL CORPORATION,
                                     PLAINTIFFS
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                   IN HIS OFFICIAL CAPACITY, ELAINE C. DUKE, IN HER
                     OFFICIAL CAPACITY, AND THE UNITED STATES OF
                                 AMERICA, DEFENDANTS




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                               Case No. 17-CV-05380-WHA
                      DULCE GARCIA, MIRIAM GONZALEZ AVILA, SAUL
                    JIMENEZ SUAREZ, VIRIDIANA CHABOLLA MENDOZA,
                    NORMA RAMIREZ, AND JIRAYUT LATTHIVONGSKORN,
                                        PLAINTIFFS

                                             v.
                  UNITED STATES OF AMERICA, DONALD J. TRUMP, IN HIS
                    OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                   STATES, U.S. DEPARTMENT OF HOMELAND SECURITY,
                    AND ELAINE DUKE, IN HER OFFICIAL CAPACITY AS
                      ACTING SECRETARY OF HOMELAND SECURITY,
                                       DEFENDANTS


                      DECLARATION OF MITCHELL SANTOS TOLEDO


                 I, MITCHELL SANTOS TOLEDO, DECLARE:
                     1. I am an immigrant to the United States who
                 was born in Mexico. I am a Harvard Law School
                 student and also a Deferred Action for Childhood Ar-
                 rivals (“DACA”) recipient. The matters set forth
                 herein are true and correct of my own personal know-
                 ledge and, if called as a witness, I could and would tes-
                 tify competently thereto.
                                  My Life Before DACA
                    2. I came to the United States when I was almost
                 two years old, in 1993. I am now 26 years old. I
                 grew up in South Central Los Angeles. Our neigh-
                 borhood was dangerous and violent. I saw driveby
                 shootings, gang violence and drug deals being done
                 from the house next door. When I was little, this was
                 just life. As I got older, I started to understand that
                 we lived there because my parents were undocument-




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                 ed, which meant it was hard for them to get the jobs
                 and earn the wages needed to afford to live in a safer
                 neighborhood.
                    3. When I was growing up, my parents made it
                 clear that education was the key to success for me and
                 my siblings. I always worked hard in school and got
                 good grades because of my parents.
                     4. I remember when I was about to enter high
                 school, a private school recruiter contacted me and
                 another student in my class. He wanted to talk about
                 attending a private high school on a scholarship. I
                 was excited and felt that my hard work and academic
                 success were starting to pay off and be recognized.
                 However, the prospect of applying and going to a pri-
                 vate school scared my parents. They worried that the
                 school would ask for my identification and information
                 about where we lived and what my parents did for a
                 living. My parents did not allow me to apply to this
                 private school, which at the time confused and disap-
                 pointed me, particularly because the other student did
                 get to go on a scholarship. I only understood later
                 that my parents were trying to protect me because of
                 our immigration status. I did not know that I was
                 undocumented at the time.
                    5. My parents advocated for my sister and me to
                 be able to attend a public high school in Venice, Cali-
                 fornia, which was a safer and better than the schools in
                 our neighborhood. Our daily bus ride to school was
                 over an hour long.
                    6. High school was the first time in my life that I
                 was surrounded by kids whose parents had college de-
                 grees. Some of their mothers and fathers worked as
                 professionals. I figured I needed to do whatever these
                 kids were doing to get into college, since they had




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                 knowledge from their parents about the process. I
                 started taking honors and Advanced Placement (“AP”)
                 classes and engaging in extracurricular activities, just
                 like my friends.
                    7. About a year into high school, my parents knew
                 that I was focusing and preparing for college. That
                 was when sat me down and told me for the first time
                 that I was undocumented. They tried to explain what
                 that meant. What I remember most is my mom apol-
                 ogizing to me. It felt like she was saying sorry for the
                 hopes they had built up. My parents had always said,
                 “keep going to school,” “keep getting good grades,” as
                 a promise to get ahead, and I did that. Now it seemed
                 like none of that was true.
                    8. I did not understand right away what it meant
                 to be undocumented, but I was motivated to get in-
                 volved in the immigrants’ rights movement. Around
                 the time I learned I was undocumented, I began vol-
                 unteering at grassroots immigration advocacy organi-
                 zations and student chapters of larger immigrants’
                 rights organizations. I also started to realize in hind-
                 sight what being undocumented meant for my family
                 and childhood, where we lived, and why my dad worked
                 the jobs that he did.
                    9. I kept at the AP courses and continued earning
                 good grades. Part of me still believed what my par-
                 ents had always taught me about hard work—that
                 school was the answer. My dad takes the view that
                 something will come along and life will work out if you
                 stick to it. I had this same sense that if I continued to
                 work harder academically, then maybe something
                 would happen that would make college possible.
                    10. In high school I often felt like an outsider be-
                 cause of how my immigration status shaped my life.




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                 For instance, people around me would study abroad or
                 go on vacations and I did not. I studied Italian with
                 the same cohort of students in all four years of high
                 school, but then my parents would not allow me to go
                 on a trip to Italy with that group of students when we
                 got to senior year. I could not travel because I was
                 undocumented.
                    11. Towards the end of high school, I applied to
                 colleges like my friends. I knew in my heart that there
                 was no way I could afford college. But I applied as a
                 way to keep my immigration status hidden from my
                 friends and teachers. Not even my closest friends
                 knew I was undocumented. I had always done well
                 academically, so I did not want to raise suspicion by not
                 applying.
                    12. I was accepted at multiple schools, including
                 the University of California Riverside (“UC Riverside),
                 the University of California Irvine (“UC Irvine”), and
                 the University of California Berkeley (“UC Berkeley”).
                 My parents thought I should stay close to home at UC
                 Riverside or UC Irvine, but UC Berkeley captured my
                 imagination. I grew up thinking of UC Berkeley as
                 the Harvard of the West Coast, that if you were ac-
                 cepted by UC Berkeley it meant you were smart. I
                 also heard that UC Berkeley might be open to students
                 like me.
                    13. I sent in my statement of intent to register at
                 UC Berkeley and I was even assigned a student ID
                 number. As far as UC Berkeley was concerned, I was
                 going to attend in the fall. I knew, though, that due to
                 my undocumented status, it would not be possible for
                 me to afford school right away. To buy myself some
                 time to try to figure out a way to attend, I asked the
                 admissions office if I could delay my enrollment.




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                 They gave me a semester. This was not long enough,
                 and I knew there was no way I could afford the cost of
                 attendance. It was too expensive for me and my family.
                    14. I was very discouraged and disillusioned about
                 not being able to attend college like my friends. I had
                 done everything right; I had the grades and I got ac-
                 cepted. It was frustrating not to be able to go because
                 I did not have some piece of paper or government
                 recognition beyond my control.
                     15. My parents, always the champions of education,
                 still pushed me to go to community college. I was able
                 to secure some funding from Santa Monica Community
                 College and I started to attend in 2010. I felt a bit
                 rudderless at this point; my main reason for taking
                 classes was to appease my parents.
                    16. I first heard about the DACA program in 2012,
                 about two years in to my community college studies. I
                 was part of some online immigrants’ rights groups and
                 there was buzz about it. I was skeptical. When
                 DACA was first announced, it was not clear what in-
                 formation was going to be required, and I did not know
                 how the government would use my information if I
                 gave it to them. There were some mentions in the
                 media that Immigrations and Customs Enforcement
                 would not have access to the United States Citizenship
                 and Immigration Service information, but I was not
                 ready to trust that promise.
                    17. Later, I remember downloading an application
                 form to find out more. It asked all kinds of questions
                 that, when you grow up undocumented, you are taught
                 never to answer, such as where do you live, where do
                 you go to school, what was your point of entry into the
                 United States, and when did you enter the United
                 States. The form includes a section where applicants




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                 can provide a statement about how DACA status would
                 benefit them. For me, a major reason was getting
                 work authorization to financially support my family.
                 But including information like that concerned me even
                 more, because then the government would have infor-
                 mation about my family. Looking at the form, it felt
                 like I would be giving the government all the infor-
                 mation it needed to build a case against me and possi-
                 bly my family.
                    18. I waited for a few months to see what happened
                 to other people who applied. I heard from attorneys
                 at non-profit immigration workshops and DACA town
                 halls about the benefits of the DACA policy. People
                 posted updates to the online forums I visited, explain-
                 ing that they had received DACA status and were now
                 getting certain forms of identification and student
                 loans. It seemed real. The risk seemed big but so
                 did the benefits. I finally decided to apply.
                                   My Life with DACA
                    19. I applied for DACA status in December of 2012
                 and received DACA status and employment authoriza-
                 tion in April 2013.
                     20. As soon as I got my DACA status for the first
                 time, I went to the Social Security Administration and
                 got a social security number. I then quickly got a
                 California driver’s license. Getting this legal identifi-
                 cation was an important benefit of DACA status for me.
                 It was physical proof that I belonged in the country,
                 and it meant a lot to me. It gave me a sense of com-
                 fort and security I never had before. I could live my
                 life in a more normal way, and if I was stopped by au-
                 thorities, I could show them my identification.




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                    21. My DACA status employment authorization al-
                 so made it possible for me to transfer from community
                 college to UC Berkeley. I would never have been able
                 to get a job to afford UC Berkeley without DACA.
                 While I was still in community college, I worked as a
                 bank teller at Chase Bank and then at a law firm in Los
                 Angeles. I knew that UC Berkeley—or any four year
                 college—would be expensive, so I worked for over a
                 year to build up my savings so that I would be able to
                 afford tuition and living expenses. I wanted to re-
                 claim my spot at UC Berkeley, which I knew I had
                 earned.
                    22. I re-applied to UC Berkeley and, in 2014, was
                 accepted into the Legal Studies program in early 2014.
                 UC Berkeley was a big deal to me as somewhere I had
                 dreamed of going before. My parents were nervous,
                 though, about me leaving home and going to Northern
                 California. They worried I would not have the same
                 support network. But I got the information and re-
                 sources I needed from UC Berkeley to feel comfortable
                 that I could move there and thrive.
                    23. I moved to Berkeley in early August 2014. I
                 immediately began working at an immigration law
                 firm. Later I had a work-study job with UC Berke-
                 ley’s athletic department to earn money. During my
                 two years at UC Berkeley, I always had a job and
                 worked about 10 to 15 hours a week. My employment
                 authorization, through DACA, was necessary for me to
                 have these jobs, which paid for my tuition and living
                 expenses.
                     24. Having a work authorization that enabled me to
                 work also helped my family. The money I earned went
                 to our family’s living expenses, including rent, food and
                 bills. My sister and I have been the only ones in our




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                 immediate family of six working during certain periods
                 of time. I have been able to help my family financially
                 because of DACA.
                    25. DACA also made it possible for me to fly home
                 to Los Angeles from school at UC Berkeley. This was
                 the first time I had travelled by plane, and I was 23
                 years old. I was raised to not go to airports. Grow-
                 ing up as an undocumented person, the law enforce-
                 ment checkpoints at airports were up there with driv-
                 ing through the Gates of Hell. With my DACA status,
                 I had a state driver’s license that meant I could go to
                 the airport and fly home. Sitting on the plane as it
                 took off toward Los Angeles was an emotional experi-
                 ence. It felt like something I accomplished because of
                 DACA.
                    26. It is because of my DACA status that I have
                 health insurance. I get my insurance because I am a
                 student at Harvard, and I could never have continued
                 in school without DACA status. When I became a
                 student at UC Berkeley, it was the first time I ever had
                 health insurance. It was the first time in my life I
                 could just go to the doctor or dentist for a checkup.
                 When I was growing up undocumented, we went to the
                 doctor only for real emergencies. We would have
                 hesitated even if we had medical insurance coverage.
                 Medical treatment was a danger, triggering anxiety and
                 fear, because it meant interacting with a hospital or doc-
                 tor and providing your personal information. With
                 DACA status, I can get medical care without this worry.
                    27. Significantly, my DACA status made me feel
                 safer and more welcome in this country, like a security
                 blanket. It was a huge relief and reassurance day-to-
                 day. I knew that the government knew of my exist-
                 ence and had decided that I could still be in this coun-




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                 try. With DACA status, I did not have to be so afraid of
                 being deported, and that meant I could travel safely to
                 school and work. When I spoke with friends who were
                 eligible for DACA status but who did not apply, it made
                 me realize just what a source of relief DACA status
                 was.
                    28. For my undergraduate thesis in legal studies, I
                 wrote about how DACA contributes to the legal con-
                 sciousness of its recipients, meaning our awareness of
                 our societal role relative to laws and legal institutions.
                 My research involved speaking to DACA recipients,
                 and I observed how DACA made individuals more able
                 to interact with legal institutions in a comfortable, as-
                 sertive manner. As a DACA recipient, being able to
                 create scholarship about DACA was very meaningful to
                 me. It is still one of my proudest achievements. My
                 thesis advisor even nominated my paper for the Law
                 and Society Association’s Undergraduate Student Paper
                 Prize, which I won.
                    29. I kept my immigration status mostly to myself
                 during my time at UC Berkeley. Even though I was
                 studying DACA, my own status was still something I
                 hesitated to share. This changed when I was selected
                 as the commencement speaker for my graduating class
                 of Legal Studies majors. My parents were excited and
                 agreed to come up to UC Berkeley for the first time ever,
                 despite their fears of traveling because of their immigra-
                 tion status. For weeks, I balanced writing my speech
                 and the logistics of getting my family up to Northern
                 California, renting them a car and helping them. I
                 realized then that I wanted to tell my story to my
                 classmates, with my parents there so that I could thank
                 them. With my family in the audience, I finally told
                 all of my classmates that I was a DACA recipient.




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                 This speech was for my parents, and it was a proud and
                 emotional moment for our family.
                    30. I graduated from UC Berkeley with Highest
                 Distinction in Legal Studies in 2016. Since then, I have
                 gone on to Harvard Law School where I am now in my
                 first year. DACA made this possible for me. I would
                 not have been able to continue with school, supporting
                 myself and my family, without the benefits of DACA
                 status.
                        Harms to Me from the Rescission of DACA
                    31. It was shocking when the rescission of the
                 DACA policy was announced this September. DACA
                 had become a central part of my life. The announce-
                 ment came just days after I signed a law school loan
                 agreement for my first year at Harvard, taking on a
                 significant amount of debt. I expect to have about
                 $50,000 in law school debt by the end of my first year
                 alone, and at least three times that by the time I grad-
                 uate.
                    32. I would not have gone to law school or taken out
                 tens of thousands of dollars in loans had I known that
                 DACA was going to be rescinded so quickly. By the
                 time I applied to law school, I was in my third cycle of
                 renewing DACA. My DACA status has been renewed
                 twice, once in April 2015 and again in December 2016 (I
                 applied for renewal early to make sure I got it in time).
                 DACA status had become a part of my long-term plans,
                 and I expected to be able to renew going forward.
                    33. Now my DACA work authorization will expire
                 in the middle of my second year of law school in De-
                 cember 2018. During law school summers, I need to
                 work to learn how to be an attorney, earn money for my
                 loans, and open doors for an associate position when I




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                 graduate. I have past legal experience, and by adding
                 that to a Harvard Law degree, I thought I would be-
                 come a strong candidate to work at a law firm. The
                 plan was that I could pay off the loans I had for school
                 through a job as a legal associate. Without DACA
                 status, all of this will be impossible.
                    34. Without DACA, I will lose the security, comfort
                 and sense of belonging that enabled me to fully partic-
                 ipate in my education. The stability DACA brought
                 and continues to bring to my life has been essential to
                 my health and achievement as I worked my way up
                 from Community College to Harvard Law School.
                 DACA gave and continues to give me a strong sense of
                 purpose, has eased the daily fear and anxiety I once
                 had over immigration status, and has made more com-
                 fortable with my own identity. DACA has been and
                 continues to be central to my ability to financially sup-
                 port myself and my family. The rescission of DACA
                 means suddenly returning to a state of anxiety and
                 stress about my everyday life and what will come next
                 for me and my family.
                    I declare under penalty of perjury under the laws of
                 the United States that the foregoing is true and cor-
                 rect.
                   Executed on October [29th], 2017 in Cambridge,
                 Massachusetts.

                                /s/   MITCHELL SANTOS TOLEDO
                                      MITCHELL SANTOS TOLEDO




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                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              (SAN FRANCISCO)


                             Case No. 17-CV-05211-WHA
                  THE REGENTS OF THE UNIVERSITY OF CALIFORNIA AND
                    JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNIVERSITY OF CALIFORNIA,
                                     PLAINTIFFS
                                          v.
                    U.S. DEPARTMENT OF HOMELAND SECURITY AND
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                              SECURITY, DEFENDANTS

                             Case No. 17-CV-05235-WHA
                    STATE OF CALIFORNIA, STATE OF MAINE, STATE OF
                    MARYLAND, AND STATE OF MINNESOTA, PLAINTIFFS
                                          v.
                      U.S. DEPARTMENT OF HOMELAND SECURITY,
                   ELAINE DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                    SECRETARY OF THE DEPARTMENT OF HOMELAND
                    SECURITY, AND THE UNITED STATES OF AMERICA,
                                    DEFENDANTS


                             Case No. 17-CV-05329-WHA
                      CITY OF SAN JOSE, A MUNICIPAL CORPORATION,
                                     PLAINTIFFS
                                          v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                   IN HIS OFFICIAL CAPACITY, ELAINE C. DUKE, IN HER
                     OFFICIAL CAPACITY, AND THE UNITED STATES OF
                                 AMERICA, DEFENDANTS




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                              Case No. 17-CV-05380-WHA
                      DULCE GARCIA, MIRIAM GONZALEZ AVILA, SAUL
                    JIMENEZ SUAREZ, VIRIDIANA CHABOLLA MENDOZA,
                    NORMA RAMIREZ, AND JIRAYUT LATTHIVONGSKORN,
                                      PLAINTIFFS

                                           v.
                  UNITED STATES OF AMERICA, DONALD J. TRUMP, IN HIS
                    OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                   STATES, U.S. DEPARTMENT OF HOMELAND SECURITY,
                    AND ELAINE DUKE, IN HER OFFICIAL CAPACITY AS
                      ACTING SECRETARY OF HOMELAND SECURITY,
                                     DEFENDANTS


                              Case No. 17-CV-05813-WHA
                    COUNTY OF SANTA CLARA AND SERVICE EMPLOYEES
                      INTERNATIONAL UNION LOCAL 521, PLAINTIFFS
                                           v.
                     DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNITED STATES, JEFFERSON
                   BEAUREGARD SESSIONS, IN HIS OFFICIAL CAPACITY AS
                   ATTORNEY GENERAL OF THE UNITED STATES; ELAINE
                       DUKE, IN HER OFFICIAL CAPACITY AS ACTING
                          SECRETARY OF THE DEPARTMENT OF
                     HOMELAND SECURITY; AND U.S. DEPARTMENT OF
                          HOMELAND SECURITY, DEFENDANTS

                              DECLARATION OF JOEL SATI


                 I, JOEL SATI, DECLARE:
                    1. I am an immigrant to the United States who
                 was born in Kenya. The matters set forth herein are
                 true and correct of my own personal knowledge and, if




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                 called as a witness, I could and would testify compe-
                 tently thereto.
                    2. I came to the Unites States at the age of nine, in
                 2002, and have not left the country since then. I am
                 now 24 years old and a second year Ph.D. candidate in
                 Jurisprudence and Social Policy at University of Cali-
                 fornia, Berkeley.
                    3. I entered the United States with a family friend.
                 My mother was already in the United States. I have
                 one older sister who is an American citizen through
                 marriage. My mother explained to me that we moved
                 here because there is more to be achieved in the United
                 States. She came here to create more opportunities
                 for our family.
                    4. My first American home was Kennesaw, Geor-
                 gia, where I lived for five years. I started school there
                 as a fourth grader. After that, we moved to Maryland,
                 which is where I attended high school.
                    5. Growing up in an American suburb, I felt like an
                 outsider. Not only was I a bit of a nerd who enjoyed
                 school, but I felt that I stood out because of my back-
                 ground. I tried to assimilate into the culture but could
                 not quite understand what precisely made me different.
                    6. As a child, I remember puzzling over why I
                 could not participate in activities my friends could.
                 One memory from my 8th grade Spanish class stands
                 out. The class was going on a trip to Spain, and I of
                 course wanted to go, too. It was expensive, but I
                 thought if I could somehow convince my mom that it
                 was a great idea for me to go, then we could somehow
                 figure out a way to pay for it. I was surprised that my
                 mother would not even discuss the idea of me going.




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                 It was not clear to me why she would not want me to
                 travel and enjoy this opportunity.
                    7. As a high school student, I always assumed I
                 would go to college. Academic achievement seemed
                 like a way I could move up in the world even though I
                 was not born in America. It seemed like education
                 was going to be my way to the life I wanted.
                    8. My dream in high school was to become a neu-
                 rosurgeon. To prepare for this path, I took AP biolo-
                 gy, physiology, and chemistry. I also volunteered at
                 Suburban Hospital in Maryland from about 2008 to
                 2011. The volunteer position was through a club
                 called Medical Venturing Program that was composed
                 of students interested in going to medical school. I
                 vividly recall having the opportunity to watch an open
                 heart surgery at another hospital, too. It stands out
                 as the moment when I first had the idea that I wanted
                 to be a doctor.
                    9. I took the SAT in anticipation of heading to col-
                 lege and began filling out my college applications in fall
                 2010. That was when I first found out I was undocu-
                 mented. College applications required a social secu-
                 rity number, which I had “forgotten”—or so I thought.
                 When I asked my mother for my social security num-
                 ber, she told me that I did not have one because I had
                 no immigration documents.
                     10. I tried to apply to whichever colleges might
                 accept me even though I was undocumented. Had I
                 been a documented immigrant or citizen, I would have
                 been accepted to higher caliber schools because of my
                 grades and performance. Eventually, I was admitted
                 to Mount St. Mary’s University in Emmitsburg, Mary-
                 land. I planned to major in biology there. But the
                 first tuition bill landed on my doorstep in summer 2011,




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                 before classes started. It was over $10,000. I asked
                 my sister and mother for help, but the tuition was
                 significantly more than we were able to afford. My
                 lack of legal immigration status meant I could not ob-
                 tain the financial aid or loans I needed. I could not
                 start college because of the cost.
                    11. Over the next year, I watched my friends apply
                 to colleges and get scholarships. A lot of people
                 thought I was going to college; I thought I was going to
                 college, too. I did not know what to tell friends who
                 asked why I was not going to college. I did not want
                 to admit that I was undocumented, because it was some-
                 thing I felt ashamed about.
                    12. I went from being a college-bound senior one
                 moment to having no idea what to do next. From July
                 to December 2011, I lived with my sister in Georgia.
                 It was frustrating and depressing not being able to go
                 to college. My friends started college at places like
                 the University of Maryland and Princeton. It felt
                 unfair, because I could be there too, if it was not for my
                 immigration status. I was also not able to work with-
                 out work authorization. So I stayed home, trying to
                 figure out what to do with my life and feeling defeated.
                    13. My mother saw how discouraged and unhappy
                 I had become over the loss of my college dream. She
                 helped me figure out how to sign up for community
                 college at Montgomery College in Rockville, Maryland.
                 I began attending in January 2012.
                    14. I looked at the course calendar and philosophy
                 seemed like the most difficult thing I could imagine.
                 Since this seemed like my one shot at a semester in
                 college, I wanted to take the hardest, most difficult
                 subject. It did not matter if it got too difficult; I




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                 would never have the money to continue with college
                 anyway, so I signed up for four philosophy courses.
                     15. While I was at Montgomery College, I cam-
                 paigned in support of the Maryland DREAM Act.
                 The Act enables DACA recipients who meet certain
                 requirements, including attendance at a Maryland high
                 school for several years, to qualify for lower (“in-state”)
                 tuition rates. The difference between in-state and
                 out-of-state tuition rates was significant. I canvassed
                 door-to-door in support of the Act and interviewed with
                 a local ABC affiliate to encourage support for the leg-
                 islation.
                     16. Around the same time, I remember telling my
                 story about being undocumented in public for the first
                 time. It was at a rally in Maryland outside an Immi-
                 gration and Customs Enforcement (ICE) building. I
                 stood up in front of the crowd and told them about my
                 life. It stands out to me because after that moment, I
                 started to feel comfortable in my own skin, with my
                 own immigration status and my decision to commit
                 myself to the immigrant rights movement.
                    The Impact of Obtaining DACA Status on My Life
                    17. I applied for DACA status in September 2012,
                 as soon as I could afford the application fee. I received
                 it around January 2013. This was after my first se-
                 mester of community college.
                     18. Receiving DACA status made my day-to-day
                 life much easier in innumerable ways. Because of
                 DACA, I got a social security number. That enabled
                 me to obtain my learner’s driving permit/state ID card
                 in New York and later my learner’s permit in Califor-
                 nia. I was also able to open a bank account.




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                    19. I was able to finish my community college de-
                 gree because DACA status meant I could work to sup-
                 port myself. Without DACA status, I also would have
                 had to pay a higher tuition rate. I earned my general
                 Associate of Arts from Montgomery College in 2013.
                    20. Because I had DACA status and the associated
                 employment authorization, I was able to support my-
                 self and pursue my college education further. I en-
                 tered into the Skadden Arps Honors Program in Legal
                 Studies at City College of New York (CCNY) as a
                 philosophy major in 2013. DACA made it possible for
                 me to work in New York, which was necessary to pay
                 for my college tuition and housing costs while I was at
                 CCNY. I worked at a lot of different jobs, at a coffee
                 shop, in a restaurant and as a paralegal, all to help pay
                 for college.
                    21. Even though I was working about 30 hours per
                 week, on top of going to school, I had trouble making
                 rent in winter 2014. Living costs are incredibly high
                 in New York City. I faced homelessness for several
                 weeks. I relied on a friend for temporary housing in
                 his student dorm. Although this was a violation of his
                 student housing rule, he bent the rules to keep me from
                 having to live on the street. Supporting myself as a
                 student in New York was difficult, but it would have
                 been impossible without DACA.
                    22. While I was a CCNY student, I volunteered
                 with African Communities Together, mobilizing Afri-
                 can youth around the New York State DREAM Act,
                 which made it easier for undocumented students to
                 pursue higher education by making them eligible for
                 in-state tuition and state financial aid. This was im-
                 portant because only 5-10 percent of the estimated
                 4,500 undocumented students who graduated from




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                 New York high schools annually when the legislation
                 was passed were able to pursue a college education due
                 to financial hardship. 1
                    23. At CCNY, I also co-developed the syllabus and
                 taught a course entitled African American Political
                 Thought with Professor Richard Bernstein, a leading
                 philosophy, constitutional law, and political science
                 scholar. I delivered lectures in this course to approx-
                 imately 35 students throughout a semester. The
                 course has since become a permanent offering under
                 Professor Bernstein, having a lasting impact on the
                 curriculum at CCNY.
                    24. My DACA status opened the door to an amaz-
                 ing opportunity offered to me by CCNY; I was selected
                 for and participated in an exchange with Stanford
                 University over the summer of 2014. The exchange
                 program covered my travel costs and a stipend. The
                 state ID I had because of DACA made it possible for
                 me to fly domestically in the United States to get to
                 Stanford. I could travel without fear of getting in
                 trouble with immigration authorities. I also needed to
                 provide my DACA employment authorization to be
                 paid the exchange program stipend. Being on the
                 West Coast at Stanford was a transformative experi-
                 ence for me. I started to think about pursuing a grad-
                 uate degree in California, and how exciting it would be
                 to take this next step in my education.
                   25. In 2016, I graduated summa cum laude and
                 Phi Beta Kappa with a B.A. in philosophy from CCNY.



                  1
                    See Press Release, New York Assembly Speaker Carl E. Heastie,
                 Assembly to Pass New York State Liberty Act & DREAM Act,
                 (February 6, 2017), http://nyassembly.gov/Press/20170206/.




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                            My Current Work at UC Berkeley
                     26. In 2016, I was accepted into UC Berkeley Law
                 School’s Jurisprudence and Social Policy (“JSP”) pro-
                 gram. I am currently pursuing my Ph.D. in the JSP
                 program, which is an interdisciplinary graduate pro-
                 gram for students interested in the scholarly study
                 of the law, philosophy (or other interdisciplinary pur-
                 suits), and policy analysis and in teaching law.
                 Around the same time, I was also accepted into similar
                 programs in philosophy or political science at Rutgers
                 and the University of Pennsylvania, and I was wait-
                 listed at Princeton.
                    27. I was able to travel to Berkeley to visit the
                 University of California campus during admitted stu-
                 dents weekend for the JSP program because of my
                 DACA status. I met Professor Sarah Song, whose
                 influential research on democratic theory and issues of
                 migration and citizenship was the reason I decided to
                 come to Berkeley. She and Professor Chris Kutz are
                 now my faculty advisors at Berkeley. My academic
                 achievement and eventual admission into the doctorate
                 JSP program were predicated on the benefits of the
                 DACA policy.
                     28. At Berkeley, I am currently a second-year Ju-
                 risprudence and Social Policy Ph.D. student, a Re-
                 search Assistant with the Haas lnstitute’s Global Jus-
                 tice Program, and a William K. Coblentz Civil Rights
                 Endowment Research Fellow. My faculty advisors
                 are Professors Song and Kutz, and the head of my
                 program is Dean Calvin Morrill. Dean Morrill and
                 Professor Kutz have also submitted declarations in this
                 litigation.
                    29. My research is about legal, political and moral
                 philosophy, with a focus on immigration and citizen-




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                 ship. I examine the political situation of undocumen-
                 ted immigrants along with marginalized people’s posi-
                 tions in the ongoing debate on normative citizenship.
                 My research sheds light on the undocumented immi-
                 grant experience and develops theories of undocumen-
                 ted immigrant forms of citizenship. I use my ad-
                 vanced training in philosophy and my personal experi-
                 ence to frame the discussions on undocumented immi-
                 grants in a way that calls out the dehumanizing, ahis-
                 torical rhetoric that we face.
                    30. Professor Kutz was my first year advisor, and
                 I have been engaging in an independent study project
                 in legal philosophy with him for a year. I first spoke
                 to Professor Kutz when he called to encourage me to
                 accept Berkeley’s offer to join the JSP program. His
                 support has been significant to me on an academic and
                 personal level. After the election of President Donald
                 Trump, uncertainty and stress dominated my life.
                 Professor Kutz went out of his way to check-in and
                 reassured me “you belong here” at Berkeley.
                    31. I currently work part time in two Graduate
                 Student Instructor (GSI) roles at Berkeley, both for
                 the Legal Studies Department. I am a Graduate Stu-
                 dent Instructor for Professor Song in Theories of Jus-
                 tice (Legal Studies 107), an undergraduate course. In
                 this role, I develop instructional plans, teach discussion
                 sections, and grade papers for approximately 60 stu-
                 dents.
                    32. I am also a GSI for Professor Kathryn Abrams
                 for the class Law and Social Change: The Immigrant
                 Rights Movement and Constitutional Law this semes-
                 ter. The class meets once a week for three hours, for
                 approximately 13 weeks. My role is to help Professor
                 Abrams prepare for classes. When she was unex-




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                 pectedly absent to be with her ill father, I stepped up
                 to teach the class for her.
                    33. I rely on my DACA employment authorization
                 for both of these GSI roles. Both require employment
                 authorization. I am paid a monthly salary for my work
                 as a GSI. More importantly, working in this GSI posi-
                 tion also means I receive a credit (remission) that co-
                 vers all of my tuition and some of the UC Berkeley
                 fees. Without DACA status, I will lose these GSI
                 positions and the tuition and fee credit that comes with
                 them. This would make it difficult to continue in my
                 JSP program.
                    34. I am also writing a report on case studies of
                 noncitizen groups and the conceptualization of citizen-
                 ship, as part of my William K. Coblentz Civil Rights
                 Endowment Research Fellowship. This is via the Glo-
                 bal Justice Program at Haas Institute for a Fair and
                 Inclusive Society. The report will analyze the contem-
                 porary crisis of non-citizenship in the American, Euro-
                 pean, and global contexts. I am using case studies to
                 examine how the lack of legal recognition contributes
                 to the marginalization of noncitizen groups, including
                 the Rohingya in Myanmar, refugee groups in Australia,
                 Somali refugees in Kenya, and undocumented immi-
                 grants in America. The report is expected to be re-
                 leased this year.
                    35. I am also serving on the UC Office of the
                 President’s Advisory Council on the Undocumented
                 Community & Immigration in 2017. The purpose of
                 the Council is to provide input for the UC Office of the
                 President from students on undocumented community
                 issues and immigration related to the UC community.
                 I understand that I am the only Ph.D. student on the
                 Council.




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                    36. Finally, I am also in the process of founding a
                 non-profit that I hope to launch officially in November
                 2017. It is called “Undocumental” and is centered
                 around a website where undocumented migrants can
                 publish their political analysis. I have recruited a
                 Board of Directors and filed incorporation paperwork
                 for this project. My goal is to promote dialogue on the
                 political situation of illegalized immigrants by amplify-
                 ing the voice of those rendered “illegal” by the state in
                 one way or other.
                      Impact of the DACA Policy Rescission on Me
                     37. My dream is to become a law professor. I
                 knew this was my long term goal and that I would
                 apply to law school, but I was not as sure about when
                 that would happen until President Trump was elected.
                 Witnessing the immigration policies of the Trump
                 Administration made it clear to me that I needed to act
                 with urgency. I submitted law school applications this
                 fall to several J.D. programs.
                    38. I understand that many candidates from
                 Berkeley’s JSP program go on to become law profes-
                 sors. I hope very much to attend Yale, Berkeley or
                 Stanford Law School. I plan to complete both my
                 Juris Doctor and my Ph.D. program. I know I can
                 bring a new, diverse perspective to the legal profes-
                 soriate. Becoming a law professor will be more chal-
                 lenging for me now given the DACA policy rescission.
                    39. The rescission of DACA on September 5, 2017
                 had an immediate impact on my ability to pursue my
                 education and career because it ended advance parole
                 with no warning. I was preparing to present my re-
                 search at the International Law and Philosophy Con-
                 ference: Engaging the Contemporary in Social and
                 Political Philosophy in Malta in Fall 2017 (“Malta




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                 Conference”). I was invited to this prestigious con-
                 ference in my field and had received special funding to
                 go. I understand that it is rare for students to be
                 invited to this conference to present their research. I
                 was also invited to Hamburg, Germany to a conference
                 entitled Migration and Media Awareness 2017: Tell-
                 ing our Story in a World Gone Mad occurring in No-
                 vember 2017.
                    40. I applied for advance parole in August 2017 so
                 that I could travel to these and other academic confer-
                 ences. A grant of advance parole would have enabled
                 me to travel abroad temporarily for educational pur-
                 poses, take advantage of great opportunities to present
                 my research, and then to return to the United States
                 lawfully.
                    41. My application for advance parole was denied
                 in September 2017. I received a letter that said ad-
                 vance parole was being denied because of the rescission
                 of the DACA policy earlier in September. Since I was
                 denied advance parole, I cannot attend any of these
                 conferences. Doing so would jeopardize my ability to
                 re-enter the United States and therefore my entire life
                 here. The rescission of the DACA policy has made it
                 impossible for me to travel internationally, limiting my
                 ability to present my research and forge an academic
                 network.
                    42. I am trying to present my research to the au-
                 diences in Malta and in Germany via teleconference,
                 but Germany has refused to allow this. Malta is still
                 considering it. This would be a poor substitute for
                 attending in person. It would make it more difficult to
                 provide a compelling presentation of my research. It
                 also means I cannot meet and make connections with
                 important researchers in my field who attend these




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                 conferences. Such connections are essential to the
                 furtherance of my research and for my future success
                 in academia.
                     43. I have presented my research at several do-
                 mestic conferences in the past. Most notably, I pre-
                 sented my research entitled Othered Borders: The
                 Illegal as Normative Metaphor at the Brown Graduate
                 Legal Studies Conference in Providence, Rhode Island
                 in April 2017. Another accomplishment I am proud of
                 is my presentation of my work titled Other Borders:
                 On Regularizing Undocumented Immigrants at the
                 Stanford/CCNY Exchange Research Colloquium in
                 August 2014. I have also been a panelist and speaker
                 on several occasions at conferences and other events on
                 the subject of undocumented persons. As part of my
                 research and writing, I also published an opinion piece
                 in the Washington Post entitled “How DACA pits ‘good
                 immigrants’ against millions of others” in September
                 2017. I argued that DACA is a piecemeal victory in
                 immigration on a policy level, although one I am grate-
                 ful for on a personal level.
                    44. The DACA policy rescission has made my fu-
                 ture uncertain. I have applied to law schools, but
                 without DACA I may not be able to complete my J.D.
                 My work authorization currently expires in 2019, mak-
                 ing it very difficult for me to work to support myself
                 during school. The rescission of my DACA status will
                 also expose me to the stress and constant risk of de-
                 portation.
                    45. DACA allowed me to set and start to achieve
                 my career goals. I am trying to continue on, but the
                 uncertainty of whether I can complete my education is
                 making it difficult to persist in investing the significant
                 time and money it takes to earn a Ph.D. and a J.D. It




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                 is not clear that the significant effort and investment
                 will pay off with the impending reality of the end of my
                 DACA status.
                     46. My mother applied for me to obtain lawful
                 permanent resident (“LPR”) status in 2015, when I was
                 19. This is not a significant consideration in my life
                 plan, however, because the time frame is so lengthy
                 and the outcome uncertain for LPR applications like
                 mine. I know the number of people granted LPR
                 status is limited. I understand that Kenyan LPR
                 petitions similar to mine are only now being considered
                 in chronological order for those filed back in 2011. I
                 have no legal backstop to protect me; my friends, fam-
                 ily and community are my only defense. I am fearful
                 of the toll that will be exacted on my relationships from
                 relying so heavily on these people in my life to keep me
                 safe.
                    47. I have always been able to renew my DACA
                 status in the past, ever since I obtained it in 2013. I
                 renewed it in February 2015, and again in February
                 2017. The renewals seemed like a matter of course,
                 and I relied on them in starting graduate school, be-
                 cause I knew I needed employment authorization to
                 teach as a GSI. DACA status has enabled me to plan
                 my life, and understand what options were open to me.
                    48. I am experiencing increased anxiety and stress
                 related to the uncertainty of my DACA status, my
                 future and the broader recent animus against immi-
                 grants. This has contributed to my need to see a
                 therapist. I am also taking anxiety medication to try
                 and address this anxiety. I rely on the health insur-
                 ance I receive as a student through UC Berkeley to be
                 able to obtain the mental health services I need. If I




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                 can no longer continue as a student, I will also lose my
                 health care coverage.
                    49. I am fearful of what will happen to my future
                 without DACA status. It is hard to feel like I belong
                 in this country; I do not feel safe here anymore, if I
                 ever was. I am scared that my work—focused on giving
                 a voice to undocumented immigrants in policy contexts
                 —will not be worth the intense effort I pour into it
                 because I will never be able to achieve outcomes that
                 matter to me or other undocumented immigrants. I
                 know how depressed and unhappy I was before I went
                 to college when I did not have DACA status. DACA
                 changed the future available to me. I do not want to
                 return to that state of uncertainty, sadness and day-to-
                 day worry. I am determined to persevere in my plans,
                 but with DACA under threat, that future is again be-
                 ginning to seem out of reach.
                    50. I have not been back to Kenya since I moved
                 here as a nine-year-old. My life and future are here.
                 I have worked hard for years now to build the founda-
                 tion for that future and, without DACA, it will disap-
                 pear.
                    I declare under penalty of perjury under the laws of
                 the United States that the foregoing is true and cor-
                 rect.
                    Executed on Oct. 26, 2017 in Berkeley, California.

                                       /s/ JOEL SATI
                                           JOEL SATI




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                 The White House
                 Office of the Press Secretary
                 For Immediate Release                      Oct. 08, 2017

                 President Donald J. Trump’s Letter to House and Senate
                 Leaders & Immigration Principles and Policies
                 President Donald J. Trump’s Letter to House and
                 Senate Leaders:
                 I am pleased to transmit to you my Administration’s
                 principles for reforming our Nation’s immigration
                 system. In 2012, after the Congress rejected legisla-
                 tion offering legal status and work permits to illegal
                 immigrants, the previous Administration bypassed the
                 Congress and granted those same benefits unilateral-
                 ly. These actions threatened Congress’s status as a
                 coequal branch of Government and have resulted in a
                 surge of illegal immigration.
                 As President, I took an oath to uphold the Constitution,
                 which makes clear that all legislative powers are vested
                 in the Congress, not the President.
                 I, therefore, tasked the relevant executive departments
                 and agencies to conduct a bottom-up review of all im-
                 migration policies to determine what legislative re-
                 forms are essential for America’s economic and nation-
                 al security. Rather than asking what policies are
                 supported by special interests, we asked America’s law
                 enforcement professionals to identify reforms that are
                 vital to protect the national interest. In response, they
                 identified dangerous loopholes, outdated laws, and eas-
                 ily exploited vulnerabilities in our immigration system
                 —current policies that are harming our country and
                 our communities.




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                 I have enclosed the detailed findings of this effort.
                 These findings outline reforms that must be included
                 as part of any legislation addressing the status of De-
                 ferred Action for Childhood Arrivals (DACA) recipi-
                 ents. Without these reforms, illegal immigration and
                 chain migration, which severely and unfairly burden
                 American workers and taxpayers, will continue without
                 end.
                 Immigration reform must create more jobs, higher
                 wages, and greater security for Americans—now and
                 for future generations. The reforms outlined in the
                 enclosure are necessary to ensure prosperity, oppor-
                 tunity, and safety for every member of our national
                 family.
                 Sincerely,
                                     Donald J. Trump


                       IMMIGRATION PRINCIPLES & POLICIES
                 1.   BORDER SECURITY
                 A.   Border Wall.    Our porous southern border pre-
                 sents a clear threat to our national security and public
                 safety, and is exploited by drug traffickers and criminal
                 cartels. The Administration therefore proposes com-
                 pleting construction of a wall along the southern border
                 of the United States.
                 i. Ensure funding for the southern border wall and
                 associated infrastructure.
                 ii. Authorize the Department of Homeland Security
                 (DHS) to raise, collect, and use certain processing fees
                 from immigration benefit applications and border cross-




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                 ings for functions related to border security, physical
                 infrastructure, and law enforcement.
                 iii. Improve infrastructure and security on the north-
                 ern border.
                 B. Unaccompanied Alien Children.          Loopholes in
                 current law prevent “Unaccompanied Alien Children”
                 (UACs) that arrive in the country illegally from being
                 removed. Rather than being deported, they are in-
                 stead sheltered by the Department of Health and Hu-
                 man Services at taxpayer expense, and subsequently
                 released to the custody of a parent or family member
                 —who often lack lawful status in the United States
                 themselves. These loopholes in current law create a
                 dramatic pull factor for additional illegal immigration
                 and in recent years, there has been a significant in-
                 crease in the apprehensions of UACs at our southern
                 border. Therefore, the Administration proposes amend-
                 ing current law to ensure the expeditious return of
                 UACs and family units.
                 i. Amend the William Wilberforce Trafficking Vic-
                 tims Protection Reauthorization Act of 2008 (TVRPA)
                 to treat all UACs the same regardless of their country
                 of origin, so long as they are not victims of human traf-
                 ficking and can be safely returned home or removed to
                 safe third countries.
                 ii. Clarify that alien minors who are not UACs (ac-
                 companied by a parent or legal guardian or have a
                 parent or legal guardian in the United States available
                 to provide care and physical custody) are not entitled
                 to the presumptions or protections granted to UACs.
                 iii. Terminate the Flores Settlement Agreement
                 (FSA) by passing legislation stipulating care standards




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                for minors in custody and clarify corresponding provi-
                sions of the TVPRA that supersede the FSA.
                iv. Amend the definition of “special immigrant,” as it
                pertains to juveniles, to require that the applicant
                prove that reunification with both parents are not via-
                ble due to abuse, neglect, or abandonment and that the
                applicant is a victim of trafficking. The current legal
                definition is abused, and provides another avenue for
                illicit entry.
                v. Repeal the requirement that an asylum officer
                have initial jurisdiction over UAC asylum applications
                to expedite processing.
                C.  Asylum Reform. The massive asylum backlog has
                allowed illegal immigrants to enter and stay in the
                United States by exploiting asylum loopholes. There
                are more than 270,000 pending cases in the asylum back-
                log before USCIS, and approximately 250,000 asylum
                cases before EOIR. Therefore, the Administration pro-
                poses correcting the systemic deficiencies that created
                that backlog.
                i. Significantly tighten standards and eliminate
                loopholes in our asylum system.
                ii. Elevate the threshold standard of proof in credible
                fear interviews
                iii. Impose and enforce penalties for the filing of friv-
                olous, baseless, or fraudulent asylum applications, and
                expand the use of expedited removal as appropriate.
                iv. Close loopholes in the law to bar terrorist aliens
                from entering the country and receiving any immigra-
                tion benefits.




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                v. Clarify and enhance the legal definition of “aggra-
                vated felony” to ensure that criminal aliens do not re-
                ceive certain immigration benefits.
                vi. Expand the ability to return asylum seekers to safe
                third countries.
                vii. Ensure only appropriate use of parole authority for
                aliens with credible fear or asylum claims, to deter
                meritless claims and ensure the swift removal of those
                whose claims are denied.
                viii. Prevent aliens who have been granted asylum or
                who entered as refugees from obtaining lawful perma-
                nent resident status if they are convicted of an aggra-
                vated felony.
                ix. Require review of the asylee or refugee status of
                an alien who returns to their home country absent a
                material change in circumstances or country condi-
                tions.
                D.   Ensure Swift Border Returns.  Immigration judg-
                es and supporting personnel face an enormous case
                backlog, which cripples our ability to remove illegal
                immigrants in a timely manner. The Administration
                therefore proposes providing additional resources to
                reduce the immigration court backlog and ensure swift
                return of illegal border crossers.
                i. Seek appropriations to hire an additional 370 im-
                migration judges.
                ii. Establish performance metrics for immigration
                judges.
                iii. Seek appropriations to hire an additional 1,000
                U.S. Immigration and Customs Enforcement (ICE) at-
                torneys, with sufficient support personnel.




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                iv. Ensure sufficient resources for detention.
                E.   Inadmissible Aliens. The current statutory grounds
                for inadmissibility are too narrow, and allow for the
                admission of individuals who threaten our public safety.
                Therefore, the Administration proposes expanding the
                criteria that render aliens inadmissible and ensure that
                such aliens are maintained in continuous custody until
                removal.
                i. Expand the grounds of inadmissibility to include
                gang membership.
                ii. Expand the grounds of inadmissibility to include
                those who have been convicted of an aggravated felony;
                identity theft; fraud related to Social Security benefits;
                domestic violence; child abuse; drunk driving offenses;
                failure to register as a sex offender; or certain firearm
                offenses, including the unlawful purchase, sale, posses-
                sion, or carrying of a firearm.
                iii. Expand the grounds of inadmissibility to include
                former spouses and children of individuals engaged in
                drug trafficking and trafficking in persons, if the offi-
                cial determines the divorce was a sham or the family
                members continue to receive benefits from the illicit
                activity.
                F. Discourage Illegal Re-entry. Many Americans
                are victims of crime committed by individuals who have
                repeatedly entered the United States illegally, which
                also undermines the integrity of the entire immigration
                system. Therefore, the Administration proposes in-
                creasing penalties for repeat illegal border crossers
                and those with prior deportations.
                G. Facilitate the Removal of Illegal Aliens from
                Partner Nations. Current barriers prevent the Fed-
                eral Government from providing assistance to partner




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                nations for the purpose of removing aliens from third
                countries whose ultimate intent is entering the United
                States. Therefore, the Administration proposes au-
                thorizing DHS to provide foreign assistance to partner
                nations to support migration management efforts con-
                ducted by those nations. This will allow DHS to im-
                prove the ability of Central and South American coun-
                tries to curb northbound migration flows and to inter-
                rupt ongoing human smuggling, which will also sub-
                stantially reduce pressures on U.S. taxpayers.
                H. Expedited Removal. Limited categories of aliens
                are currently subject to expedited removal, which erodes
                border integrity and control by impeding the ability of
                the Federal Government to efficiently and quickly re-
                move inadmissible and deportable aliens from the
                United States. The Administration seeks to expand
                the grounds of removability and the categories of aliens
                subject to expedited removal and by ensuring that only
                aliens with meritorious valid claims of persecution can
                circumvent expedited removal.
                2.   INTERIOR ENFORCEMENT
                A.   Sanctuary Cities.   Hundreds of sanctuary jurisdic-
                tions release dangerous criminals and empower violent
                cartels like MS-13 by refusing to turn over incarcer-
                ated criminal aliens to Federal authorities. There-
                fore, the Administration proposes blocking sanctuary
                cities from receiving certain grants or cooperative agree-
                ments administered or awarded by the Departments of
                Justice and Homeland Security
                i.   Restrict such grants from being issued to:
                a. Any state or local jurisdiction that fails to cooper-
                ate with any United States government entity regard-
                ing enforcement of federal immigration laws;




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                b. Any entity that provides services or benefits to
                aliens not entitled to receive them under existing Fed-
                eral law; and
                c. Any state or local jurisdiction that provides more
                favorable plea agreements or sentencing for alien crim-
                inal defendants for the purpose of immigration conse-
                quences of convictions.
                ii. Clarify ICE’s detainer authority, and States’ and
                localities’ ability to honor that authority, so that States
                will continue to detain an individual pursuant to civil
                immigration law for up to 48 hours so that ICE may
                assume custody.
                iii. Provide indemnification for State and local gov-
                ernments to protect them from civil liability based
                solely on compliance with immigration detainers and
                transportation of alien detainees.
                iv. Require State and local jurisdictions to provide all
                information requested by ICE relating to aliens in
                their custody and the circumstances surrounding their
                detention.
                v. Clarify the definition of a criminal conviction for
                immigration purposes, to prevent jurisdictions from va-
                cating or modifying criminal convictions to protect il-
                legal immigrants, and roll back erosion of the criminal
                grounds of removal by courts under the “categorical
                approach.”
                B. Immigration Authority for States and Locali-
                ties. The prior Administration suppressed cooperative
                partnerships between the Federal Government and
                State or local governments that wanted to help with
                immigration enforcement, undermining the security of
                our communities. Therefore, the Administration pro-
                poses enhancing State and local cooperation with Fed-




                                                                              AR3282
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                eral immigration law enforcement in order to ensure
                national security and public safety.
                i. Clarify the authority of State and local govern-
                ments to investigate, arrest, detain, or transfer to
                Federal custody aliens for purposes of enforcing Fed-
                eral immigration laws when done in cooperation with
                DHS.
                ii. Authorize State and local governments to pass
                legislation that will support Federal law enforcement
                efforts.
                iii. Incentivize State and local governments to enter
                into agreements with the Federal Government regard-
                ing immigration enforcement efforts.
                iv. Provide the same extent of immunity to State and
                local law enforcement agencies performing immigra-
                tion enforcement duties within the scope of their offi-
                cial role as is provided to Federal law enforcement
                agencies.
                C.  Visa Overstays. Visa overstays account for roughly
                40 percent of illegal immigration. The Administration
                therefore proposes strengthening the removal pro-
                cesses for those who overstay or otherwise violate the
                terms of their visas, and implementing measures to
                prevent future visa overstays which may account for a
                growing percentage of illegal immigration.
                i. Discourage visa overstays by classifying such con-
                duct as a misdemeanor.
                ii. Require that all nonimmigrant visas held by an ali-
                en be cancelled when any one nonimmigrant visa held
                by that alien is cancelled, to ensure that if an alien abuses
                one type of visa, he cannot circumvent the immigration




                                                                                AR3283
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                system by then relying on another type of visa to enter
                the United States.
                iii. Bar all visa overstays from immigration benefits
                for a certain period of time with no waiver.
                iv. Clarify that the government does not bear any
                expense for legal counsel for any visa overstay in re-
                moval or related proceedings.
                v. Require DHS to provide all available data relating
                to any deportable alien to the Department of Justice’s
                National Crime Information Center for purposes of
                that alien’s inclusion in the Immigration Violators File,
                with the exception of aliens who cooperate with DHS
                on criminal investigations.
                vi. Enhance the vetting of bond sponsors for those
                aliens who enter without inspection, to ensure that bond
                sponsors undergo thorough background checks prior to
                being eligible to post or receive a bond.
                vii. Permit the Department of State to release certain
                visa records to foreign governments on a case-by-case
                basis when sharing is in the U.S. national interest.
                viii. Permit the Department of State to review the
                criminal background of foreign diplomats or govern-
                ment officials contained in the National Crime Infor-
                mation Center database before visa adjudication, re-
                gardless of whether the applicant’s fingerprints are in
                the database.
                D.  Necessary Resources. The relatively small number
                of ICE officers is grossly inadequate to serve a nation
                of 320 million people with tens of millions of tourists
                and visitors crossing U.S. ports of entry every year.
                Therefore, the Administration proposes providing more
                resources that are vitally needed to enforce visa laws,




                                                                            AR3284
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                restore immigration enforcement, and dismantle crim-
                inal gangs, networks and cartels.
                i. Seek appropriations to hire an additional 10,000
                ICE officers.
                ii. Seek appropriations to hire an additional 300 Fed-
                eral prosecutors to support Federal immigration pros-
                ecution efforts.
                iii. Reforms to help expedite the responsible addition
                of new ICE personnel.
                E.   Detention Authority.     Various laws and judicial
                rulings have eroded ICE’s ability to detain illegal im-
                migrants (including criminal aliens), such that criminal
                aliens are released from ICE custody into our commu-
                nities. Therefore, the Administration proposes ter-
                minating outdated catch-and-release laws that make it
                difficult to remove illegal immigrants.
                i. Ensure public safety and national security by pro-
                viding a legislative fix for the Zadvydas loophole, and
                authorizing ICE, consistent with the Constitution, to
                retain custody of illegal aliens whose home countries
                will not accept their repatriation.
                ii. Require the detention of an alien: (1) who was not
                inspected and admitted into the United States, who
                holds a revoked nonimmigrant visa (or other nonimmi-
                grant admission document), or who is deportable for
                failing to maintain nonimmigrant status; and (2) who
                has been charged in the United States with a crime
                that resulted in the death or serious bodily injury of
                another person.
                F.   Legal Workforce. Immigrants who come here ille-
                gally and enter the workforce undermine job opportu-
                nities and reduce wages for American workers, as does




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                the abuse of visa programs. Therefore, the Administra-
                tion increasing employment verification and other pro-
                tections for U.S. workers.
                i. Require the use of the electronic status-verification
                system (“E-Verify”) to ensure the maintenance of a
                legal workforce in the United States.
                ii. Preempt any State or local law relating to em-
                ployment of unauthorized aliens.
                iii. Impose strong penalties, including debarment of
                Federal contractors, for failure to comply with E-Verify.
                iv. Increase penalties for any person or entity engag-
                ing in a pattern or practice of violations.
                v. Require the Social Security Administration to
                disclose information to DHS to be used in the enforce-
                ment of immigration laws.
                vi. Expand the definition of unlawful employment
                discrimination to include replacement of U.S. citizen
                workers by nonimmigrant workers or the preferential
                hiring of such foreign workers over U.S. citizen work-
                ers.
                vii. Strengthen laws prohibiting document fraud re-
                lated to employment or to any other immigration bene-
                fit.
                G.  Deportable Aliens. The categories of aliens that
                currently qualify for deportation are insufficiently broad
                to remove aliens who pose a threat to the security of
                the American public. Therefore, the Administration
                proposes expanding and clarifying the type of aliens
                who present a danger to Americans and should there-
                fore be removable on an expedited basis.




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                i. Expand grounds of deportability to explicitly in-
                clude gang members.
                ii. Expand the grounds of deportability to include
                those convicted of multiple drunk driving offenses or a
                single offense involving death or serious injury.
                iii. Expand the grounds of deportability to include
                those who fail to register as a sex offender.
                iv. Clarify the technical definition of “aggravated
                felony” by referring to “an offense relating to” each of
                the categories of crimes, rather than specifying the
                crimes themselves. This will ensure certain kinds of
                homicide, sex offenses, and trafficking offenses are
                encompassed within the statutory definition.
                H. Gang Members. Today, known gang members are
                still able to win immigration benefits despite the dan-
                gers they pose to American society. As such, the Ad-
                ministration proposes implementing measures that would
                deny gang members and those associated with criminal
                gangs from receiving immigration benefits.
                I. Visa Security Improvements. Without sufficient
                resources, the State Department is hindered from ade-
                quately vetting visa applicants. As such, the Adminis-
                tration proposes enhancing State Department visa and
                traveler security resources and authorities.
                i. Expand the Department of State’s authority to use
                fraud prevention and detection fees for programs and
                activities to combat all classes of visa fraud within the
                United States and abroad.
                ii. Ensure funding for the Visa Security Program and
                facilitate its expansion to all high-risk posts.
                iii. Increase the border crossing card fee.




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                iv. Grant the Department of State authority to apply
                the Passport Security Surcharge to the costs of pro-
                tecting U.S. citizens and their interests overseas, and
                to include those costs when adjusting the surcharge.
                v. Strengthen laws prohibiting civil and criminal
                immigration fraud and encourage the use of advanced
                analytics to proactively detect fraud in immigration
                benefit applications.
                3.   MERIT-BASED IMMIGRATION SYSTEM
                A. Merit-Based Immigration. The current immigra-
                tion system prioritizes extended family-based chain
                migration over skills-based immigration and does not
                serve the national interest. Decades of low-skilled im-
                migration has suppressed wages, fueled unemployment
                and strained federal resources. Therefore, the Ad-
                ministration proposes establishing a merit-based im-
                migration system that protects U.S. workers and tax-
                payers, and ending chain migration, to promote finan-
                cial success and assimilation for newcomers.
                i. End extended-family chain migration by limiting
                family-based green cards to spouses and minor children
                and replace it with a merit-based system that prioritizes
                skills and economic contributions over family connec-
                tions.
                ii. Establish a new, points-based system for the
                awarding of Green Cards (lawful permanent residents)
                based on factors that allow individuals to successfully
                assimilate and support themselves financially.
                iii. Eliminate the “Diversity Visa Lottery.”




                                                                            AR3288
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                iv. Limit the number of refugees to prevent abuse of
                the generous U.S. Refugee Admissions Program and
                allow for effective assimilation of admitted refugees
                into the fabric of our society.




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                JUSTICE NEWS

                  Attorney General Sessions Delivers Remarks on DACA
                       Washington, DC ~ Tuesday, Sept. 5, 2017
                 _________________________________________________
                            Remarks as prepared for delivery

                Good morning. I am here today to announce that the
                program known as DACA that was effectuated under
                the Obama Administration is being rescinded.
                The DACA program was implemented in 2012 and
                essentially provided a legal status for recipients for a
                renewable two-year term, work authorization and other
                benefits, including participation in the social security
                program, to 800,000 mostly-adult illegal aliens.
                This policy was implemented unilaterally to great con-
                troversy and legal concern after Congress rejected
                legislative proposals to extend similar benefits on nu-
                merous occasions to this same group of illegal aliens.
                In other words, the executive branch, through DACA,
                deliberately sought to achieve what the legislative
                branch specifically refused to authorize on multiple oc-
                casions. Such an open-ended circumvention of immi-
                gration laws was an unconstitutional exercise of au-
                thority by the Executive Branch.
                The effect of this unilateral executive amnesty, among
                other things, contributed to a surge of unaccompanied
                minors on the southern border that yielded terrible
                humanitarian consequences. It also denied jobs to
                hundreds of thousands of Americans by allowing those
                same jobs to go to illegal aliens.




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                We inherited from our Founders—and have advanced—
                an unsurpassed legal heritage, which is the foundation
                of our freedom, safety, and prosperity.
                As the Attorney General, it is my duty to ensure that
                the laws of the United States are enforced and that the
                Constitutional order is upheld.
                No greater good can be done for the overall health and
                well-being of our Republic, than preserving and streng-
                thening the impartial rule of law. Societies where the
                rule of law is treasured are societies that tend to flour-
                ish and succeed.
                Societies where the rule of law is subject to political
                whims and personal biases tend to become societies
                afflicted by corruption, poverty, and human suffering.
                To have a lawful system of immigration that serves the
                national interest, we cannot admit everyone who would
                like to come here. That is an open border policy and
                the American people have rightly rejected it.
                Therefore, the nation must set and enforce a limit on
                how many immigrants we admit each year and that
                means all can not be accepted.
                This does not mean they are bad people or that our
                nation disrespects or demeans them in any way. It
                means we are properly enforcing our laws as Congress
                has passed them.
                It is with these principles and duties in mind, and in
                light of imminent litigation, that we reviewed the
                Obama Administration’s DACA policy.
                Our collective wisdom is that the policy is vulnerable to
                the same legal and constitutional challenges that the
                courts recognized with respect to the DAPA program,




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                which was enjoined on a nationwide basis in a decision
                affirmed by the Fifth Circuit.
                The Fifth Circuit specifically concluded that DACA had
                not been implemented in a fashion that allowed suffi-
                cient discretion, and that DAPA was “foreclosed by
                Congress’s careful plan.”
                In other words, it was inconsistent with the Constitu-
                tion’s separation of powers. That decision was affirmed
                by the Supreme Court by an equally divided vote.
                If we were to keep the Obama Administration’s execu-
                tive amnesty policy, the likeliest outcome is that it
                would be enjoined just as was DAPA. The Depart-
                ment of Justice has advised the President and the
                Department of Homeland Security that DHS should
                begin an orderly, lawful wind down, including the can-
                cellation of the memo that authorized this program.
                Acting Secretary Duke has chosen, appropriately, to
                initiate a wind down process. This will enable DHS to
                conduct an orderly change and fulfill the desire of this
                administration to create a time period for Congress to
                act—should it so choose. We firmly believe this is the
                responsible path.
                Simply put, if we are to further our goal of strength-
                ening the constitutional order and the rule of law in
                America, the Department of Justice cannot defend this
                type of overreach.
                George Washington University Law School Professor
                Jonathan Turley in testimony before the House Judi-
                ciary Committee was clear about the enormous consti-
                tutional infirmities raised by these policies.
                He said: “In ordering this blanket exception, Presi-
                dent Obama was nullifying part of a law that he simply




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                disagreed with. . . . . If a president can claim
                sweeping discretion to suspend key federal laws, the
                entire legislative process becomes little more than a
                pretense. . . The circumvention of the legislative
                process not only undermines the authority of this
                branch but destabilizes the tripartite system as a
                whole.”
                Ending the previous Administration’s disrespect for
                the legislative process is an important first step. All
                immigration policies should serve the interests of the
                people of the United States—lawful immigrant and
                native born alike.
                Congress should carefully and thoughtfully pursue the
                types of reforms that are right for the American peo-
                ple. Our nation is comprised of good and decent peo-
                ple who want their government’s leaders to fulfill their
                promises and advance an immigration policy that serves
                the national interest.
                We are a people of compassion and we are a people of
                law. But there is nothing compassionate about the
                failure to enforce immigration laws.
                Enforcing the law saves lives, protects communities
                and taxpayers, and prevents human suffering. Fail-
                ure to enforce the laws in the past has put our nation at
                risk of crime, violence and even terrorism.
                The compassionate thing is to end the lawlessness,
                enforce our laws, and, if Congress chooses to make
                changes to those laws, to do so through the process set
                forth by our Founders in a way that advances the in-
                terest of the nation.
                That is what the President has promised to do and has
                delivered to the American people.




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                Under President Trump’s leadership, this administra-
                tion has made great progress in the last few months
                toward establishing a lawful and constitutional immi-
                gration system. This makes us safer and more secure.
                It will further economically the lives of millions who are
                struggling. And it will enable our country to more
                effectively teach new immigrants about our system of
                government and assimilate them to the cultural under-
                standings that support it.
                The substantial progress in reducing illegal immigra-
                tion at our border seen in recent months is almost
                entirely the product of the leadership of President
                Trump and his inspired federal immigration officers.
                But the problem is not solved. And without more ac-
                tion, we could see illegality rise again rather than be
                eliminated.
                As a candidate, and now in office, President Trump has
                offered specific ideas and legislative solutions that
                will protect American workers, increase wages and
                salaries, defend our national security, ensure the public
                safety, and increase the general well-being of the
                American people.
                He has worked closely with many members of Con-
                gress, including in the introduction of the RAISE Act,
                which would produce enormous benefits for our coun-
                try. This is how our democratic process works.
                There are many powerful interest groups in this coun-
                try and every one of them has a constitutional right to
                advocate their views and represent whomever they
                choose.
                But the Department of Justice does not represent any
                narrow interest or any subset of the American people.




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                We represent all of the American people and protect
                the integrity of our Constitution. That is our charge.
                We at Department of Justice are proud and honored to
                work to advance this vision for America and to do our
                best each day to ensure the safety and security of the
                American people.
                Thank you.

                Speaker:
                Attorney General Jeff Sessions

                Attachment(s):
                Download_ag_letter_daca.pdf

                Topic(s):
                Immigration

                Component(s):
                Office of the Attorney General
                                                 Updated Sept. 5, 2017




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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK


                          Case Nos. 1:16-CV-04756 (NGG) (JO)
                                     3:17-CV-05211
                 MARTIN JONATHAN BATALLA VIDAL, ET AL., PLAINTIFFS
                                      v.
                  ELAINE C. DUKE, ACTING SECRETARY DEPARTMENT
                  OF HOMELAND SECURITY, JEFFERSON BEAUREGARD
                  SESSIONS III, ATTORNEY GENERAL OF THE UNITED
                  STATES, AND DONALD J. TRUMP, PRESIDENT OF THE
                            UNITED STATES, DEFENDANTS

                                   Washington, D.C.
                                  Friday, Oct. 20, 2017
                                       9:17 a.m.


                          DEPOSITION OF GENE HAMILTON


                                     *   *    *     *   *
                [205]
                ***     multiple edits made to the document.
                   Q    Did you draft that memorandum?
                        MR. GARDNER:          You can answer that yes or
                no.
                        THE WITNESS:          Principally, yes.
                BY MS. TUMLIN:
                   Q    On what date did you first draft that memo?
                   A    I don’t know.




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                   Q    What month?
                  A August or September. I don’t remember it
                was late August, early September.
                   Q Okay. You previously testified that the final
                decision to terminate DACA was not made until Acting
                Secretary Duke signed the memorandum which you
                principally drafted. Is that correct?
                   A    That is correct.
                   Q Did you also draft an alternative memorandum
                that kept the DACA program in place?
                       MR GARDNER: Objection. Calls for in-
                formation subject to the deliberateive process privi-
                lege. I instruct the witness not to answer.

                                     *     *    *     *   *
                [207]
                ***     the DACA program had been made.       Correct?
                   A That—that is generally correct although I will
                say again no final decision is ever made until there is
                ink on paper. That is the fundamental difference.
                There may have been tentative decision, but until a
                secretary of a cabinet department makes a decision in
                writing or in whatever method is appropriate for the
                circumstances the decision is technically not final.
                   Q Was there a substantively alternative version of
                a DACA memorandum that was circulating prior to
                September 5th that could have been signed by Acting
                Secretary Duke?
                       MR. GARDNER: Objection. Calls for disclo-
                sure of information subject to deliberative process
                privilege. I instruct the witness not the answer.




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                BY MS. TUMLIN:
                   Q Okay. Does DHS have a policy on how the deal
                with litigation risk?
                [208]
                   A    Do we have a policy how to deal with litigation
                risk.
                   Q    Uh huh.
                   A    Nothing in writing.
                   Q Okay. So there is—is there any policy on how
                to deal with threats to sue by state or local officials?
                  A No. And that sounds like the craziest policy
                you could have in a department. You could never do
                anything if you were always worried about being sued.
                   Q Are you familiar with the executive order issued
                by President Trump with respect to sanctuary jurisdic-
                tion?
                   A That—I believe that is in Executive Order
                13768. I am familiar.
                   Q And are you far lay that several municipalities
                have sued the federal government on the basis of that
                executive order?
                   A    In general I am, yes.
                   Q Are you aware that some of these lawsuits have
                successfully blocked part of the executive * * *

                                    *   *     *    *   *




                                                                           AR3301
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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NEW YORK


                                 Civil Action No. 16-cv-4756
                    MARTÍN JONATHAN BATALLA VIDAL, ANTONIO
                   ALARCON, ELIANA FERNANDEZ, CARLOS VARGAS,
                  MARIANO MONDRAGON, AND CAROLINA FUNG FENG,
                 ON BEHALF OF THEMSELVES AND ALL OTHER SIMILARLY
                  SITUATED INDIVIDUALS, AND MAKE THE ROAD NEW
                    YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                 CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS,
                                    PLAINTIFFS
                                             v.
                  ELAINE C. DUKE, ACTING SECRETARY, DEPARTMENT
                  OF HOMELAND SECURITY, JEFFERSON BEAUREGARD
                   SESSIONS III, ATTORNEY GENERAL OF THE UNITED
                  STATES, AND DONALD J. TRUMP, PRESIDENT OF THE
                            UNITED STATES, DEFENDANTS


                                    Filed: Dec. 15, 2017

                   DEFENDANT’S OBJECTIONS AND RESPONSES
                    TO PLAINTIFFS’ FIRST SET OF REQUESTS
                    FOR ADMISSION TO ELAINE DUKE, ACTING
                     SECRETARY OF HOMELAND SECURITY


                (GARAUFIS, J.)
                (ORENSTEIN, M.J.)
                   Pursuant to Federal Rules of Civil Procedure
                26 and 36 and the Local Rules of this Court Defendant
                Elaine Duke, in her official capacity as the Acting Sec-
                retary of the Department of Homeland Security (“De-
                fendant”), by and through counsel, provides the follow-




                                                                           AR3302
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                ing Objections and Responses to Plaintiffs’ First Set of
                Requests for Admission. Defendant’s Objections and
                Responses are based on information known to De-
                fendant at this time, and are made without prejudice to
                additional objections should Defendant subsequently
                identify additional grounds for objection. The infor-
                mation submitted * * *
                                    *   *    *     *   *
                for DACA” as misleading to the extent DACA is not an
                immigration benefit. Defendant objects to the re-
                quest as vague and undefined to the extent plaintiffs
                failed to provide a definition for the phrase “third par-
                ties.”
                RESPONSE TO REQUEST NO. 72:          Defendant admits
                RFA No. 72 only to the extent that certain DACA re-
                questors may have submitted supplementary docu-
                mentation that contains information about third par-
                ties, including family members and that such infor-
                mation, on occasion, may have concerned the country of
                birth information of such other individuals. Defend-
                ant is without sufficient information to admit or deny
                any other allegations in this request that may be con-
                sidered to remain.
                REQUEST NO. 73:     Admit that at least one DACA
                applicant who met the guidelines of the 2012 DACA
                memorandum was nonetheless denied DACA.
                OBJECTION TO REQUEST NO. 73:          Defendant incor-
                porates by reference the above objections to the defini-
                tions and instructions. Defendant objects to the phrase
                “applicants for DACA” as misleading to the extent
                DACA is not an immigration benefit.




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                RESPONSE TO REQUEST NO. 73:          Defendant admits
                only that USCIS has denied a DACA request from at
                least one DACA requestor who met the threshold cri-
                teria for consideration for DACA outlined in the June
                15, 2012 memorandum from former Secretary of Home-
                land Security Janet Napolitano, Exercising Prosecuto-
                rial Discretion with Respect to Individuals Who Came
                to the United States as Children, and the USCIS
                DACA FAQs archived at https://www.uscis.gov/archive/
                frequently-asked-questions (last visited October 17,
                2017)). Defendant is without sufficient information to
                admit or deny any other allegations in this request that
                may be considered to remain.
                REQUEST NO. 74:      Admit that DHS policy before Sep-
                tember 5, 2017 was not to use the information provided
                in DACA applications for immigration-enforcement
                purposes except in narrow circumstances, including to
                identify fraudulent claims, for national security pur-
                poses, to adjudicate DACA requests, or for the inves-
                tigation or prosecution of a criminal offense
                OBJECTION TO REQUEST NO. 74:             Defendant incor-
                porates by reference the above objections to the defini-
                tions and instructions. Defendant objects to the ex-
                tent the request mischaracterizes or otherwise fails to
                fully describe the policy at issue. Defendant objects
                to the request as vague and confusing to the extent
                plaintiffs have failed to define the phrase “immigration-
                enforcement purposes,” and “narrow circumstances.”
                RESPONSE TO REQUEST NO. 74:          Defendant admits
                RFA No. 74 only to the extent that that the current
                policy on sharing information provided by DACA re-
                questors and recipients is reflected in USCIS DACA
                FAQs numbers 19, 20, and 26 (archived at https://www.
                uscis.gov/archive/frequently-asked-questions (last visi-




                                                                            AR3304
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                ted October 17, 2017)), DHS DACA FAQs numbers
                7 and 8 (at https://www.dhs.gov/news/2017/09/05/
                frequentlyasked- * * *
                                  *   *    *     *   *




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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NEW YORK


                                 Civil Action No. 16-cv-4756
                    MARTÍN JONATHAN BATALLA VIDAL, ANTONIO
                   ALARCON, ELIANA FERNANDEZ, CARLOS VARGAS,
                  MARIANO MONDRAGON, AND CAROLINA FUNG FENG,
                 ON BEHALF OF THEMSELVES AND ALL OTHER SIMILARLY
                  SITUATED INDIVIDUALS, AND MAKE THE ROAD NEW
                    YORK, ON BEHALF OF ITSELF, ITS MEMBERS, ITS
                 CLIENTS, AND ALL SIMILARLY SITUATED INDIVIDUALS,
                                    PLAINTIFFS
                                             v.
                  ELAINE C. DUKE, ACTING SECRETARY, DEPARTMENT
                  OF HOMELAND SECURITY, JEFFERSON BEAUREGARD
                   SESSIONS III, ATTORNEY GENERAL OF THE UNITED
                  STATES, AND DONALD J. TRUMP, PRESIDENT OF THE
                            UNITED STATES, DEFENDANTS


                                   Dated: Oct. 18, 2017
                                   Filed: Dec. 15, 2017

                   DEFENDANT’S OBJECTIONS AND RESPONSES
                    TO PLAINTIFFS’ FIRST SET OF REQUESTS
                  FOR ADMISSION TO JEFFERSON BEAUREGARD
                       SESSIONS III, ATTORNEY GENERAL
                            OF THE UNITED STATES


                (GARAUFIS, J.)
                (ORENSTEIN, M.J.)
                   Pursuant to Federal Rules of Civil Procedure
                26 and 36 and the Local Rules of the United States
                District Courts for the Southern and Eastern Districts




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                of New York, in accordance with the Order of the
                Honorable James Orenstein, U.S. Magistrate Judge,
                dated September 27, 2017, Defendant Jefferson Beau-
                regard Sessions III, in his official capacity as the At-
                torney General of the United States (“Defendant”), by
                and through counsel, provides the following Objections
                and Responses to Plaintiffs’ First Set of Requests for
                Admission. Defendant’s Objections and Responses
                are based on information known to Defendant at this
                time, and are made without prejudice to additional ob-
                jections should Defendant subsequently identify addi-
                tional grounds for objection. The information sub-
                mitted herewith is being provided in accordance with
                the Federal * * *
                                    *   *    *     *   *
                REQUEST NO. 38:      Admit that DOJ employees had
                discussions with plaintiffs in Texas v. United States,
                No. 1:14-cv-00254 (S.D. Tex.), regarding the decision to
                terminate the DACA program before the DACA ter-
                mination.
                OBJECTION TO REQUEST NO. 38:          Defendant incor-
                porates by reference the above objections to the defini-
                tions and instructions.
                RESPONSE TO REQUEST NO. 38:         Defendant admits
                RFA No. 38, to the extent that the possibility of ter-
                minating the DACA program was raised in conversa-
                tions with counsel for plaintiffs in Texas v. United
                States, No. 14-cv-254 (S.D. Tex.).
                REQUEST NO. 39:      Admit that DOJ considered the
                arguments raised by plaintiffs in Texas v. United
                States, No. 1:14-cv-00254 (S.D. Tex.), in terminating
                the DACA program.




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                OBJECTION TO REQUEST NO. 39:          Defendant incor-
                porates by reference the above objections to the defini-
                tions and instructions. Defendant objects to this re-
                quest as calling for information protected by the at-
                torney work product doctrine.
                RESPONSE TO REQUEST NO. 39:            Defendant admits
                RFA No. 39, to the extent that, in arriving at its opin-
                ion on the lawfulness of DACA, DOJ considered argu-
                ments raised by plaintiffs to the extent those arguments
                were adopted by the United States District Court of the
                Southern District of Texas, the United States Court of
                Appeals for the Fifth Circuit, or the United States
                Supreme Court in their respective opinions in the Texas
                v. United States litigation, except states that DHS, not
                DOJ, rescinded the DACA program.
                Dated:   Oct. 18, 2017
                               Respectfully submitted,

                               CHAD A. READLER
                               Acting Assistant Attorney General

                               BRIDGET M. ROHDE
                               Acting United States Attorney

                               BRETT A. SHUMATE
                               Deputy Assistant Attorney General

                               JENNIFER D. RICKETTS
                               Director

                               JOHN R. TYLER
                               Assistant Branch Director

                         /s/   BRAD P. ROSENBERG
                               BRAD P. ROSENBERG (DC Bar #467513)




                                                                           AR3308
